Case: 1:18-cv-05587 Document #: 1107-9 Filed: 12/22/21 Page 1 of 191 PageID #:53785




                  Exhibit 3
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 2 of 191 PageID #:53786
                                               ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                      Task Cost
Month                                       Keeper        Rate
   Aug‐18 Asset Disposition     8/27/2018 KBD        $       390.00        0.1 Review correspondence from potential purchaser's counsel. .                                              $           39.00

   Aug‐18 Asset Disposition     8/29/2018 KBD        $      390.00          0.1 exchange correspondence with counsel for potential purchase (.1).                                       $           39.00

   Aug‐18 Asset Disposition     8/29/2018 KBD        $      390.00          0.2 Office conference with E. Duff regarding institutional lenders and global strategy for disposition of   $           78.00
                                                                                receivership assets (.2)
   Aug‐18 Asset Disposition     8/30/2018 KBD        $      390.00          0.2 Office conference with M. Rachlis regarding global resolution options for receivership (.2)             $           78.00

   Aug‐18 Asset Disposition     8/30/2018 KBD        $      390.00          0.3 exchange correspondence regarding expression of interest in property acquisition (.3).                  $         117.00

   Aug‐18 Business              8/20/2018 KBD        $      390.00          0.2 office conference with M. Adler regarding communication with insurance broker and study                 $           78.00
          Operations                                                            correspondence regarding same (.2)
   Aug‐18 Business              8/20/2018 KBD        $      390.00          3.5 Conferences with EquityBuild employees, contractor and A. Porter regarding operations, property         $        1,365.00
          Operations                                                            management, institutional knowledge, assembling of information, employees, corporate structure,
                                                                                litigation, construction, expenses, and various related matters and issues (3.5)

   Aug‐18 Business              8/21/2018 KBD        $      390.00          0.1 review message from and information relating to insurance broker (.1).                                  $           39.00
          Operations
   Aug‐18 Business              8/21/2018 KBD        $      390.00          0.2 review correspondence from and office conferences with N. Mirjanich regarding EquityBuild outside       $           78.00
          Operations                                                            counsel, status of cases, and notice issues (.2)
   Aug‐18 Business              8/21/2018 KBD        $      390.00          2.5 Numerous telephone conferences with EquityBuild employee and independent contractors                    $         975.00
          Operations                                                            regarding receivership, communications from third parties requiring response, and various issues
                                                                                relating to properties (2.5)
   Aug‐18 Business              8/22/2018 KBD        $      390.00          0.3 review correspondence from and office conference with M. Adler regarding communications with            $         117.00
          Operations                                                            insurance broker (.3)
   Aug‐18 Business              8/23/2018 KBD        $      390.00          2.2 study property management records, rent rolls, and profit and loss statements (2.2)                     $         858.00
          Operations
   Aug‐18 Business              8/24/2018 KBD        $      390.00          0.1 Study correspondence from counsel for potential property management or purchase (.1)                    $           39.00
          Operations
   Aug‐18 Business              8/24/2018 KBD        $      390.00          0.2 office conference with A. Porter regarding EquityBuild prior counsel and recovery of records (.2)       $           78.00
          Operations
   Aug‐18 Business              8/24/2018 KBD        $      390.00          0.2 review correspondence from M. Adler regarding payment of insurance premium and properties               $           78.00
          Operations                                                            covered under general liability policy (.2).
   Aug‐18 Business              8/25/2018 KBD        $      390.00          0.1 draft correspondence to M. Adler regarding property insurance issues (.1)                               $           39.00
          Operations
   Aug‐18 Business              8/27/2018 KBD        $      390.00          0.2 exchange correspondence with M. Adler regarding insurance broker communication and coverage        $                78.00
          Operations                                                            issues (.2)
   Aug‐18 Business              8/27/2018 KBD        $      390.00          1.2 conferences with A. Porter regarding strategy for property management, expenses, and institutional $              468.00
          Operations                                                            lender debt (1.2)
   Aug‐18 Business              8/28/2018 KBD        $      390.00          0.1 draft correspondence to bank regarding availability of funds for expenses (.1).                    $                39.00
          Operations
   Aug‐18 Business              8/28/2018 KBD        $      390.00          0.1 review correspondence from M. Adler regarding outstanding insurance deductible (.1)                     $           39.00
          Operations
   Aug‐18 Business              8/28/2018 KBD        $      390.00          0.8 prepare for and attend hearing before Judge Lee and conference with M. Rachlis regarding same           $         312.00
          Operations                                                            and investigation into financial status of EquityBuild (.8)
   Aug‐18 Business              8/30/2018 KBD        $      390.00          0.1 study report on status of real estate taxes (.1)                                                        $           39.00
          Operations
   Aug‐18 Business              8/30/2018 KBD        $      390.00          0.2 office conference with E. Duff and A. Porter regarding cash flow and lockbox issue (.2)                 $           78.00
          Operations
   Aug‐18 Business              8/30/2018 KBD        $      390.00          0.2 Office conference with M. Adler regarding efforts to replace insurance coverage and related             $           78.00
          Operations                                                            requests for information relating to corporate, property, and individual defendants (.2)

   Aug‐18 Business              8/31/2018 KBD        $      390.00          0.1 review correspondence with bank representatives regarding wire transfer request (.1)                    $           39.00
          Operations
   Aug‐18 Business              8/31/2018 KBD        $      390.00          0.1 study correspondence regarding insurance premiums (.1)                                                  $           39.00
          Operations
   Aug‐18 Claims                8/20/2018 KBD        $      390.00          1.1 Exchange correspondence with various financial institution representatives and investors.               $         429.00
          Administration &
          Objections
   Aug‐18 Claims                8/22/2018 KBD        $      390.00          0.1 study correspondence from lender counsel regarding collateral (.1).                                     $           39.00
          Administration &
          Objections
   Aug‐18 Claims                8/22/2018 KBD        $      390.00          0.2 prepare for and telephone conference with counsel for institutional lender (.2)                         $           78.00
          Administration &
          Objections
   Aug‐18 Claims                8/22/2018 KBD        $      390.00          0.2 Telephone conference with contractor regarding priority issues involving properties and investors       $           78.00
          Administration &                                                      (.2)
          Objections
   Aug‐18 Claims                8/27/2018 KBD        $      390.00          0.1 telephone conference with E. Duff regarding institutional lenders and income to debt ratio and          $           39.00
          Administration &                                                      service issues (.1).
          Objections
   Aug‐18 Claims                8/27/2018 KBD        $      390.00          0.2 Office conference with and study correspondence from E. Duff regarding institutional lenders (.2)       $           78.00
          Administration &
          Objections
   Aug‐18 Claims                8/29/2018 KBD        $      390.00          0.1 exchange correspondence with M. Rachlis regarding lender foreclosure threat (.1).                       $           39.00
          Administration &
          Objections
   Aug‐18 Claims                8/29/2018 KBD        $      390.00          0.1 Telephone conference with A. Porter regarding institutional lender foreclosure threat (.1)              $           39.00
          Administration &
          Objections
   Aug‐18 Claims                8/30/2018 KBD        $      390.00          0.2 Office conference with E. Duff regarding communications with institutional lenders regarding            $           78.00
          Administration &                                                      request for information (.2)
          Objections
   Aug‐18 Claims                8/30/2018 KBD        $      390.00          0.2 office conference with M. Rachlis regarding lender's threat of foreclosure and preclusion of same by $              78.00
          Administration &                                                      order appointing receiver (.2)
          Objections
   Aug‐18 Claims                8/30/2018 KBD        $      390.00          0.2 telephone conference and office conference with E. Duff regarding draft email to institutional lender $             78.00
          Administration &                                                      and review same (.2)
          Objections
   Aug‐18 Claims                8/30/2018 KBD        $      390.00          0.5 legal research regarding secured creditors interests and exchange correspondence with A. Porter         $         195.00
          Administration &                                                      regarding same (.5)
          Objections
   Aug‐18 Claims                8/31/2018 KBD        $      390.00          1.3 Office conference with M. Rachlis, A. Porter, and E. Duff regarding EquityBuild transaction             $         507.00
          Administration &                                                      structures, secured interests, investor fund flow, and various related issues.
          Objections




                                                                                           1 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 3 of 191 PageID #:53787
                                               ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                             Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Aug‐18 Asset Disposition     8/30/2018 AEP        $       390.00        0.8 Legal research regarding sale of assets.                                                                 $         312.00

   Aug‐18 Business              8/20/2018 NM         $      260.00           0.1 correspond with E. Duff and K. Pritchard regarding notices (.1)                                        $           26.00
          Operations
   Aug‐18 Business              8/20/2018 NM         $      260.00           0.3 correspond with E. Duff regarding lender letter and institutional lender contact information (.3)      $           78.00
          Operations
   Aug‐18 Business              8/20/2018 NM         $      260.00           4.6 Research Illinois and federal court dockets for attorneys and pending Equitybuild lawsuits,            $        1,196.00
          Operations                                                             correspond with counsel for same, draft letters to same, and correspond with K. Duff on same (4.6)

   Aug‐18 Business              8/22/2018 NM         $      260.00           0.2 study correspondence regarding investors, notices, and other issues (.2)                               $           52.00
          Operations
   Aug‐18 Business              8/23/2018 AEP        $       390.00          0.4 Teleconference with EquityBuild employee regarding difficulties interfacing with property managers $             156.00
          Operations                                                             and scheduling of meeting to discuss critical issues (.4)
   Aug‐18 Business              8/23/2018 AEP        $      390.00             1 numerous discussions with colleagues regarding status of pending administrative and judicial       $             390.00
          Operations                                                             litigation, management of receivership accounts, legal issues pertaining to competing claims of
                                                                                 creditor classes, nature and extent of ponzi scheme as revealed through facts revealed to date,
                                                                                 going forward operating strategy, continued employee tenures, and other matters (1.0)

   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.1 Email exchange with insurance broker regarding additional information relating to premiums owed        $           39.00
          Operations                                                             (.1)
   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.2 further email exchanges and telephone conference with broker relating to status of insurance and       $           78.00
          Operations                                                             premiums and planning as to same (.2)
   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.2 prepare for and conduct telephone conference with potential, new insurance broker regarding            $           78.00
          Operations                                                             investigating options for reducing costs of insurance premiums (.2)
   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.3 conference with Mr. Duff reporting on status of insurance‐related issues, including upcoming           $         117.00
          Operations                                                             deadline for installment payment of financed policy premiums (.3)
   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.3 review material received from broker consisting of back‐up supporting broker's invoice for             $         117.00
          Operations                                                             premiums for change endorsements to Equity Build policies (.3)
   Aug‐18 Business              8/23/2018 MBA        $       390.00          0.5 follow‐up email exchange with him providing him with requested documents for investigating             $         195.00
          Operations                                                             alternate insurance arrangements (.5).
   Aug‐18 Business              8/24/2018 AEP        $       390.00            0 teleconference with EquityBuild employee regarding budgeting issues and going‐forward                  $               ‐
          Operations                                                             management of portfolios.
   Aug‐18 Business              8/24/2018 AEP        $       390.00          0.4 teleconference with property manager regarding lockbox procedures (.4)                                 $         156.00
          Operations
   Aug‐18 Business              8/24/2018 ED         $      390.00           0.9 prepare form of notice letter to lockbox banks (.9).                                                   $         351.00
          Operations
   Aug‐18 Business              8/24/2018 ED         $      390.00             1 calls and email correspondence with property managers regarding same (1.0)                             $         390.00
          Operations
   Aug‐18 Business              8/24/2018 ED         $      390.00           1.2 Review documentation and correspondence relating to lockbox, escrow, and reserve funds (1.2)           $         468.00
          Operations
   Aug‐18 Business              8/24/2018 MBA        $       390.00          0.1 conference with Mr. Porter regarding sums due as premiums (.1)                                         $           39.00
          Operations
   Aug‐18 Business              8/24/2018 MBA        $       390.00          0.2 conference with Mr. Duff as to planning as to insurance‐related matters, including upcoming            $           78.00
          Operations                                                             premium payments (.2)
   Aug‐18 Business              8/24/2018 MBA        $       390.00          0.2 email exchange with broker with wire transfer information for premium payment and toward same          $           78.00
          Operations                                                             to Ms. Pritchard with explanation (.2)
   Aug‐18 Business              8/24/2018 MBA        $       390.00          0.3 pull together additional material requested by potential new insurance broker for exploring            $         117.00
          Operations                                                             alternate insurance coverage, and email exchange with him regarding same (.3).
   Aug‐18 Business              8/24/2018 MBA        $      390.00           0.3 Telephone conference with insurance broker regarding planning, including premiums that are falling     $         117.00
          Operations                                                             due, his questions as to dealings with certain EquityBuild employees as to personal insurance wholly
                                                                                 unrelated to receivership assets, and other details relating to coverage (.3)

   Aug‐18 Business              8/24/2018 MBA        $      390.00           0.8 review insurance premium finance agreement and policies, and begin drafting email to Mr. Duff          $         312.00
          Operations                                                             responding to questions he asked as to details of finance payments and policy deductibles (.8)

   Aug‐18 Business              8/25/2018 AEP        $      390.00           0.5 Teleconference with K. Duff regarding preparation for meeting with property manager, strategy for      $         195.00
          Operations                                                             leveraging employee information and portfolio management and budgeting issues.

   Aug‐18 Business              8/25/2018 AW         $       140.00          1.6 Attention to emails from management companies (1.6)                                                    $         224.00
          Operations
   Aug‐18 Business              8/27/2018 ED         $      390.00           0.4 follow up on acknowledgements from bank regarding lockbox account status (.4).                         $         156.00
          Operations
   Aug‐18 Business              8/27/2018 ED         $      390.00           0.9 Review and analysis of documents and related information regarding lockbox, reserve, and escrow        $         351.00
          Operations                                                             arrangements (.9)
   Aug‐18 Business              8/27/2018 KMP        $       140.00          0.7 Participate in meeting with K. Duff, N. Mirjanich, and A. Watychowicz regarding status of various      $           98.00
          Operations                                                             issues, including provision of notice of receiver's appointment to various individuals and lenders,
                                                                                 concerns relating to day‐to‐day operation of defendant entities, and various other issues.

   Aug‐18 Business              8/27/2018 MBA        $       390.00          0.1 Email exchange with new insurance broker regarding deductibles applicable to current CGL coverage $                39.00
          Operations                                                             (.1)
   Aug‐18 Business              8/27/2018 MBA        $       390.00          0.3 review email from Receiver responding to questions posed by current insurance broker, and email   $              117.00
          Operations                                                             to broker regarding same (.3)
   Aug‐18 Business              8/27/2018 MBA        $      390.00           0.5 finish preparing email to Mr. Duff responding to his insurance‐related questions, including       $              195.00
          Operations                                                             deductibles applicable to coverage, and review of policies in connection with same (.5).

   Aug‐18 Business              8/27/2018 MR         $      390.00           0.4 Prepare for upcoming hearing.                                                                          $         156.00
          Operations
   Aug‐18 Business              8/27/2018 NM         $      260.00           0.2 correspond with M. Rachlis regarding court hearing before Judge Lee tomorrow and regarding case        $           52.00
          Operations                                                             updates (.2).
   Aug‐18 Business              8/28/2018 AEP        $       390.00          0.2 Conference with colleague regarding identification of entities to be insured (.2)                      $           78.00
          Operations
   Aug‐18 Business              8/28/2018 MBA        $       390.00          0.1 conference with Mr. Duff and Mr. Porter reporting on same (.1)                                         $           39.00
          Operations
   Aug‐18 Business              8/28/2018 MBA        $      390.00           0.1 Review and respond to email from potential insurance broker regarding status and preliminary           $           39.00
          Operations                                                             feedback as to potential to replace existing insurance program with coverage entailing lower
                                                                                 premiums (.1)
   Aug‐18 Business              8/28/2018 MBA        $       390.00          0.1 review and respond to emails from Mr. Duff and Mr. Porter relating to insurance‐related issues.(.1)    $           39.00
          Operations
   Aug‐18 Business              8/28/2018 MBA        $       390.00          0.2 conference with Mr. Duff regarding update as to identifying income stream and operating expenses       $           78.00
          Operations                                                             (.2)
   Aug‐18 Business              8/28/2018 MBA        $       390.00          0.3 email exchanges with Mr. Porter regarding updated list of property portfolio (.3).                     $         117.00
          Operations
   Aug‐18 Business              8/28/2018 MR         $      390.00           1.3 Further prepare for and attend hearing and follow up meetings regarding same with K. Duff and N.       $         507.00
          Operations                                                             Mirjanich.




                                                                                            2 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 4 of 191 PageID #:53788
                                               ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Aug‐18 Business              8/28/2018 NM        $       260.00        0.1 correspond with M. Rachlis regarding case updates and court hearing before Judge Lee today (.1)         $            26.00
          Operations
   Aug‐18 Business              8/28/2018 NM        $      260.00           0.6 Study outstanding correspondence from K. Duff, property management company, EquityBuild               $          156.00
          Operations                                                            employees, and others and respond to same (.6)
   Aug‐18 Business              8/29/2018 NM        $      260.00           0.4 correspond with K. Duff and A. Porter regarding status of mortgages and properties (.4).              $          104.00
          Operations
   Aug‐18 Business              8/30/2018 AEP       $      390.00           0.5 conference with K. Duff and N. Mirjanich regarding latest developments in Chicago administrative      $          195.00
          Operations                                                            and housing court actions, procedural options for liquidating property portfolio and potential claims
                                                                                of competing creditor classes, and status of document collection efforts (.5).

   Aug‐18 Business              8/30/2018 AEP       $      390.00           0.7 Teleconference with EquityBuild employee regarding unpaid property security invoices, alleged $                  273.00
          Operations                                                            health and safety issues, and assembly of property appraisals (.7)
   Aug‐18 Business              8/30/2018 AEP       $      390.00           0.8 teleconference with other property managers regarding general background of property          $                  312.00
          Operations                                                            management functions being performed, scope of assets under management, and immediate action
                                                                                items (.8)
   Aug‐18 Business              8/30/2018 AW        $      140.00           0.1 Meeting with N. Mirjanich regarding additional information about investors (.1)               $                    14.00
          Operations
   Aug‐18 Business              8/30/2018 AW        $      140.00           0.4 communicate with M. Adler regarding service of notice on insurance company and serve as per her       $            56.00
          Operations                                                            request (.4)
   Aug‐18 Business              8/30/2018 ED        $      390.00           0.2 Confer with Receiver and counsel regarding lockbox accounts (.2)                                      $            78.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.1 conference with Mr. Duff regarding same (.1)                                                          $            39.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.1 conference with Mr. Duff regarding same (.1).                                                         $            39.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.1 conference with Mr. Duff reporting on same (.1)                                                       $            39.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.1 review and respond to his email confirming same (.1)                                                  $            39.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.2 Revise letter to Insurance Broker regarding order appointing receivership (.2)                        $            78.00
          Operations
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.3 email exchange and follow‐up telephone conference with insurance broker regarding his request for $              117.00
          Operations                                                            immediate repayment of sums advanced by his firm for premiums arising from change
                                                                                endorsements (.3)
   Aug‐18 Business              8/30/2018 MBA       $      390.00           0.3 Telephone conference with potential insurance broker regarding results of his firm's efforts to locate $         117.00
          Operations                                                            equivalent insurance coverage at lower premiums (.3)
   Aug‐18 Business              8/30/2018 MR        $      390.00           0.3 attention to various other issues regarding upcoming document review (.3).                             $         117.00
          Operations
   Aug‐18 Business              8/30/2018 NM        $      260.00           0.1 Study correspondence from K. Duff and A. Porter regarding properties (.1)                             $            26.00
          Operations
   Aug‐18 Business              8/31/2018 AW        $      140.00           0.1 Attention to email from insurance broker (.1)                                                         $            14.00
          Operations
   Aug‐18 Business              8/31/2018 AW        $      140.00           0.5 review same and attachments (.5)                                                                      $            70.00
          Operations
   Aug‐18 Business              8/31/2018 ED        $      390.00           0.8 research regarding disbursement of operating expenses from receivership funds (.8).                   $          312.00
          Operations
   Aug‐18 Business              8/31/2018 KMP       $      140.00           0.2 Communicate with bank representative regarding forms and requirements for initiation of wire          $            28.00
          Operations                                                            transfer for payment of property liability insurance (.2)
   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.1 conference and email exchange with Mr. Duff regarding same (.1)                                       $            39.00
          Operations
   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.1 conference with Mr. Duff relating to insurance premiums and possible efforts to reduce same (.1).     $            39.00
          Operations
   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.1 Review emails from insurance broker regarding request from mortgagee for corrected certificate of $                39.00
          Operations                                                            insurance and regarding updating named insured on policies issued to Receivership Defendants, and
                                                                                forward same for review to Messrs. Duff and Porter (.1)
   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.2 review new Named Insured endorsement received from broker and draft revised language              $                78.00
          Operations                                                            encompass scope of Receivership Estate as defined by Court's order appointing receiver (.2)

   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.3 further email exchanges with broker in follow‐up to material he sent and phone conference (.3)        $          117.00
          Operations
   Aug‐18 Business              8/31/2018 MBA       $      390.00           0.4 Prepare for and conduct telephone interview with insurance broker regarding insurance related         $          156.00
          Operations                                                            issues (.4)
   Aug‐18 Business              8/31/2018 MBA       $      390.00           1.4 review email sent by him in response to Notice of Receivership, and voluminous attachments to         $          546.00
          Operations                                                            same relating to insurance‐related issues (1.4)
   Aug‐18 Business              8/31/2018 MR        $      390.00           1.2 Prepare for and attend hearing and conferences regarding various issues relating to same.             $          468.00
          Operations
   Aug‐18 Business              8/31/2018 NM        $      260.00           0.2 correspond with K. Duff and A. Watychowicz regarding investors, employees, and property status        $            52.00
          Operations                                                            (.2)
   Aug‐18 Claims                8/21/2018 NM        $      260.00           0.3 Institutional lender follow‐up and correspond with E. Duff on same.                                   $            78.00
          Administration &
          Objections
   Aug‐18 Claims                8/22/2018 NM        $      260.00           0.3 Institutional lender follow‐up and correspond with E. Duff on same.                                   $            78.00
          Administration &
          Objections
   Aug‐18 Claims                8/23/2018 ED        $      390.00           0.2 review correspondence from lenders regarding loan defaults and confer with counsel regarding          $            78.00
          Administration &                                                      same (.2).
          Objections
   Aug‐18 Claims                8/23/2018 ED        $      390.00           0.8 prepare further notice letters to lenders and review of correspondence from lenders' counsel to       $          312.00
          Administration &                                                      gather related information (.8)
          Objections
   Aug‐18 Claims                8/23/2018 KMP       $      140.00           0.5 Preparation and transmittal of additional notices of receivership to institutional lenders and        $            70.00
          Administration &                                                      conferences with E. Duff regarding same.
          Objections
   Aug‐18 Claims                8/24/2018 AW        $      140.00           0.1 ; communicate with      K. Duff regarding same (.1).                                                  $            14.00
          Administration &
          Objections
   Aug‐18 Claims                8/24/2018 AW        $      140.00           0.1 Attention to email regarding voicemail from lender (.1)                                               $            14.00
          Administration &
          Objections
   Aug‐18 Claims                8/24/2018 KMP       $      140.00           0.5 Conferences with K. Duff and N. Mirjanich regarding preparation of follow‐up communication to         $            70.00
          Administration &                                                      lenders, and assist in editing same.
          Objections
   Aug‐18 Claims                8/27/2018 AW        $      140.00           1.9 Start work on list of investors/lenders.                                                              $          266.00
          Administration &
          Objections




                                                                                            3 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 5 of 191 PageID #:53789
                                               ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Aug‐18 Claims                8/27/2018 KMP       $       140.00        0.5 Finalize and prepare transmittals of additional notice letters to institutional lenders and conferences $              70.00
          Administration &                                                    with E. Duff regarding same.
          Objections
   Aug‐18 Claims                8/27/2018 MR        $       390.00          0.4 Conferences with K. Duff and E. Duff on status and possible issues with secured lenders.                $          156.00
          Administration &
          Objections
   Aug‐18 Claims                8/28/2018 ED        $       390.00          0.8 emails to lender personnel regarding necessity for reply to Receiver's request for information (.8)     $          312.00
          Administration &
          Objections
   Aug‐18 Claims                8/28/2018 KMP       $       140.00          0.2 communications with bank representative regarding investor spreadsheet data import to database          $            28.00
          Administration &                                                      to track claims and potential disbursements (.2)
          Objections
   Aug‐18 Claims                8/28/2018 KMP       $       140.00          0.3 Follow up on phone inquiries from certain vendors regarding outstanding invoices (.3)                   $            42.00
          Administration &
          Objections
   Aug‐18 Claims                8/28/2018 KMP       $       140.00          0.5 finalize and prepare transmittals of additional notice letters to institutional lenders and conferences $            70.00
          Administration &                                                      with E. Duff regarding same (.5)
          Objections
   Aug‐18 Claims                8/28/2018 KMP       $       140.00          1.1 review and revise spreadsheet in connection with same (1.1).                                            $          154.00
          Administration &
          Objections
   Aug‐18 Claims                8/28/2018 NM        $       260.00          0.3 correspond with E. Duff regarding institutional lenders and investors (.3).                             $            78.00
          Administration &
          Objections
   Aug‐18 Claims                8/28/2018 NM        $       260.00            1 Correspond with A. Watychowicz regarding the investor list, the forensic IT work required and           $          260.00
          Administration &                                                      update from EB employee regarding same, and regarding court orders entered today (1.0)
          Objections
   Aug‐18 Claims                8/29/2018 AEP       $       390.00          0.4 Research regarding mortgage liens allegedly held by former EquityBuild employee.                        $          156.00
          Administration &
          Objections
   Aug‐18 Claims                8/29/2018 ED        $       390.00          0.6 review and respond to email from lenders and counsel regarding requests (.6).                           $          234.00
          Administration &
          Objections
   Aug‐18 Claims                8/29/2018 ED        $       390.00          0.8 confer with Receiver regarding secured loans and other claims (.8)                                      $          312.00
          Administration &
          Objections
   Aug‐18 Claims                8/30/2018 AEP       $       390.00          0.4 Read e‐mails from colleagues, investors, creditors, and property managers regarding priority issues.    $          156.00
          Administration &
          Objections
   Aug‐18 Claims                8/30/2018 ED        $       390.00          0.7 review email correspondence and related documents from new lender claimant and confer with              $          273.00
          Administration &                                                      Receiver's counsel regarding same (.7)
          Objections
   Aug‐18 Claims                8/31/2018 AW        $       140.00          2.1 Assist with correspondence to lenders regarding loan status.                                            $          294.00
          Administration &
          Objections
   Aug‐18 Claims                8/31/2018 ED        $       390.00          0.2 confer with counsel to Receiver regarding loan application information including borrower financial     $            78.00
          Administration &                                                      statements (.2)
          Objections
   Aug‐18 Claims                8/31/2018 KMP       $       140.00          0.7 Participate in webex with bank representative regarding training for implementation of investor         $            98.00
          Administration &                                                      database.
          Objections
   Sep‐18 Asset Disposition      9/2/2018 KBD       $       390.00          1.4 Study and analyze portfolio structure and potential end paths with A. Porter regarding same.            $          546.00

   Sep‐18 Asset Disposition      9/4/2018 KBD       $       390.00          0.1 study message from potential purchaser (.1)                                                             $            39.00

   Sep‐18 Asset Disposition      9/4/2018 KBD       $       390.00          0.1 Study offer to purchase properties (.1)                                                                 $            39.00

   Sep‐18 Asset Disposition      9/4/2018 KBD       $       390.00          0.2 study letters of intent to purchase properties and study correspondence from A. Porter regarding        $            78.00
                                                                                same (.2).
   Sep‐18 Asset Disposition      9/5/2018 KBD       $       390.00          0.1 study correspondence from A. Porter regarding potential real estate broker (.1).                        $            39.00

   Sep‐18 Asset Disposition      9/5/2018 KBD       $       390.00          0.2 study correspondence from potential real estate brokers and draft correspondence to A. Porter           $            78.00
                                                                                regarding same (.2)
   Sep‐18 Asset Disposition      9/5/2018 KBD       $       390.00          0.3 Conferences with M. Rachlis regarding potential liquidation paths and effects (.3)                      $          117.00

   Sep‐18 Asset Disposition      9/5/2018 KBD       $       390.00          1.2 office conference with M. and Rachlis, A. Porter, and N. Mirjanich regarding structure of investor      $          468.00
                                                                                relationships with EquityBuild and properties and potential sale of properties (1.2)

   Sep‐18 Asset Disposition      9/6/2018 KBD       $       390.00          0.1 office conference with M. Rachlis and A. Porter regarding meeting with another potential real estate $               39.00
                                                                                broker (.1).
   Sep‐18 Asset Disposition      9/6/2018 KBD       $       390.00          0.1 Review correspondence from A. Porter regarding potential real estate broker (.1)                     $               39.00

   Sep‐18 Asset Disposition      9/7/2018 KBD       $       390.00          0.9 legal research regarding potential lender issue [priority of liens] and office conference with A. Porter $         351.00
                                                                                regarding same (.9).
   Sep‐18 Asset Disposition      9/7/2018 KBD       $       390.00          1.8 Office conferences with A. Porter and N. Mirjanich regarding global resolution paths, potential          $         702.00
                                                                                liquidation issues, and stakeholder considerations (1.8)
   Sep‐18 Asset Disposition     9/12/2018 KBD       $       390.00          0.1 study correspondence from N. Mirjanich regarding communication to relating potential buyers (.1). $                  39.00

   Sep‐18 Asset Disposition     9/12/2018 KBD       $       390.00          0.2 Study correspondence regarding potential buyers of properties (.2)                                      $            78.00

   Sep‐18 Asset Disposition     9/13/2018 KBD       $       390.00          0.4 study draft correspondence from M. Rachlis regarding request for proposals from real estate             $          156.00
                                                                                brokers (.4).
   Sep‐18 Asset Disposition     9/13/2018 KBD       $       390.00          0.9 Prepare for meetings with prospective brokers (.9)                                                      $          351.00

   Sep‐18 Asset Disposition     9/13/2018 KBD       $       390.00          1.2 office conference is with M. Rachlis and A. Porter regarding same (1.2)                                 $          468.00

   Sep‐18 Asset Disposition     9/13/2018 KBD       $       390.00          2.5 meet with prospective brokers (2.5)                                                                     $          975.00

   Sep‐18 Asset Disposition     9/18/2018 KBD       $       390.00          0.3 exchange correspondence and office conference with A. Porter regarding same (.3).                       $          117.00

   Sep‐18 Asset Disposition     9/18/2018 KBD       $       390.00          0.4 Study correspondence from employee regarding property purchase offers and potential role with    $                 156.00
                                                                                respect the same (.4)
   Sep‐18 Asset Disposition     9/19/2018 KBD       $       390.00          0.1 Study correspondence from A. Porter regarding communications with employee relating to potential $                   39.00
                                                                                sale of properties.




                                                                                            4 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 6 of 191 PageID #:53790
                                               ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Sep‐18 Asset Disposition     9/24/2018 KBD        $       390.00        0.4 Office conference with and study correspondence from M. Rachlis and A. Porter regarding brokers         $         156.00
                                                                               and liquidation plan, Defendants' counsel's conflict, and negotiation with Defendants.

   Sep‐18 Asset Disposition     9/26/2018 KBD        $      390.00           0.1 review correspondence from representative of potential buyer and exchange correspondence with         $           39.00
                                                                                 M. Rachlis regarding same (.1).
   Sep‐18 Asset Disposition     9/26/2018 KBD        $      390.00           0.9 Office conference with M. Rachlis and A. Porter regarding various issues regarding precedent with     $         351.00
                                                                                 respect to creditors, lenders, and portfolio disposition strategy (.9)
   Sep‐18 Business               9/2/2018 KBD        $      390.00           0.1 review correspondence from E. Duff regarding communication as to borrower ownership structure,        $           39.00
          Operations                                                             rent stream, debt service, and property inspection (.1)
   Sep‐18 Business               9/2/2018 KBD        $      390.00           0.3 Analysis of net rental income, secured debt, and costs associated with properties portfolio (.3)      $         117.00
          Operations
   Sep‐18 Business               9/4/2018 KBD        $      390.00           0.1 exchange correspondence with A. Watychowicz regarding invoices for mortgage database and              $           39.00
          Operations                                                             communications with employee regarding same (.1)
   Sep‐18 Business               9/4/2018 KBD        $      390.00           0.1 study correspondence from E. Duff and lender's counsel regarding production of records (.1)           $           39.00
          Operations
   Sep‐18 Business               9/4/2018 KBD        $      390.00           0.1 telephone conference with bank regarding wire transfer for payment of insurance (.1)                  $           39.00
          Operations
   Sep‐18 Business               9/4/2018 KBD        $      390.00           0.2 study various communications from property management and real estate firms regarding real            $           78.00
          Operations                                                             estate related service (.2)
   Sep‐18 Business               9/5/2018 KBD        $      390.00           0.2 exchange correspondence with M. Adler regarding insurance premiums bills, insurance claim, and        $           78.00
          Operations                                                             deductible issue (.2)
   Sep‐18 Business               9/7/2018 KBD        $      390.00           0.2 exchange correspondence and office conferences with E. Duff regarding lenders request for financial   $           78.00
          Operations                                                             information (.2)
   Sep‐18 Business               9/7/2018 KBD        $      390.00           0.2 exchange correspondence with E. Duff regarding investor invoice (.2)                                  $           78.00
          Operations
   Sep‐18 Business              9/10/2018 KBD        $      390.00           0.2 study correspondence from lender's counsel and loan documents (.2)                                    $           78.00
          Operations
   Sep‐18 Business              9/10/2018 KBD        $      390.00           1.4 office conference with A. Porter regarding same, claims process planning, Mississippi properties,     $         546.00
          Operations                                                             employee issue, and real estate taxes (1.4)
   Sep‐18 Business              9/17/2018 KBD        $      390.00           0.1 exchange correspondence with potential property manager (.1).                                         $           39.00
          Operations
   Sep‐18 Business              9/18/2018 KBD        $      390.00           0.1 review correspondence from insurance broker regarding outstanding premium payments (.1)               $           39.00
          Operations
   Sep‐18 Business              9/18/2018 KBD        $      390.00           0.3 study correspondence from and office conference with M. Adler regarding outstanding insurance         $         117.00
          Operations                                                             endorsements and premium payments (.3)
   Sep‐18 Business              9/19/2018 KBD        $      390.00           0.1 office conference with and review correspondence from E. Duff regarding same (.1)                     $           39.00
          Operations
   Sep‐18 Business              9/19/2018 KBD        $      390.00           0.2 study correspondence from lender regarding pending loan applications (.2)                             $           78.00
          Operations
   Sep‐18 Business              9/19/2018 KBD        $      390.00           0.2 Study correspondence regarding payment of insurance (.2)                                              $           78.00
          Operations
   Sep‐18 Business              9/20/2018 KBD        $      390.00           0.1 review correspondence from loan administrator (.1).                                                   $           39.00
          Operations
   Sep‐18 Business              9/20/2018 KBD        $      390.00           0.2 exchange correspondence regarding insurance payment and office conference with K. Pritchard           $           78.00
          Operations                                                             regarding same (.2)
   Sep‐18 Business              9/24/2018 KBD        $      390.00           0.1 draft correspondence to employee regarding communications with respect to offers or interest          $           39.00
          Operations                                                             regarding property portfolio (.1)
   Sep‐18 Business              9/24/2018 KBD        $      390.00           0.1 exchange correspondence with regarding payment of property insurance premium (.1)                     $           39.00
          Operations
   Sep‐18 Business              9/24/2018 KBD        $      390.00           0.3 study correspondence from various brokers and property managers regarding offered services (.3)       $         117.00
          Operations
   Sep‐18 Business              9/24/2018 KBD        $      390.00           0.5 office conference with and study correspondence from A. Porter regarding portfolio valuation,         $         195.00
          Operations                                                             brokerage, real estate taxes, lender claims, and various related issues (.5)
   Sep‐18 Claims                 9/8/2018 KBD        $      390.00           1.5 Analyze potential procedures for treatment of liens, disposition of property, and claims.             $         585.00
          Administration &
          Objections
   Sep‐18 Claims                 9/9/2018 KBD        $      390.00           0.2 exchange correspondence with M. Rachlis regarding same (.2).                                          $           78.00
          Administration &
          Objections
   Sep‐18 Claims                 9/9/2018 KBD        $      390.00           0.2 telephone conference with A. Porter regarding same (.2)                                               $           78.00
          Administration &
          Objections
   Sep‐18 Claims                 9/9/2018 KBD        $      390.00           0.8 Legal research regarding lien priority, property sales, and potential distribution issues (.8)        $         312.00
          Administration &
          Objections
   Sep‐18 Claims                9/10/2018 KBD        $      390.00           0.3 Outline and draft potential claims procedures.                                                        $         117.00
          Administration &
          Objections
   Sep‐18 Claims                9/11/2018 KBD        $      390.00           0.3 Office conference with M. Rachlis regarding claims process (.3)                                       $         117.00
          Administration &
          Objections
   Sep‐18 Claims                9/14/2018 KBD        $      390.00           0.2 study correspondence regarding lender records (.2).                                                   $           78.00
          Administration &
          Objections
   Sep‐18 Claims                9/18/2018 KBD        $      390.00           0.1 review correspondence from regarding financial information sent to lender representatives (.1).       $           39.00
          Administration &
          Objections
   Sep‐18 Claims                9/21/2018 KBD        $      390.00           0.1 review correspondence from lender's counsel (.1)                                                      $           39.00
          Administration &
          Objections
   Sep‐18 Claims                9/25/2018 KBD        $      390.00           0.1 exchange correspondence with lender's counsel regarding lender counsel and loan information (.1)      $           39.00
          Administration &
          Objections
   Sep‐18 Claims                9/25/2018 KBD        $      390.00           0.3 Legal research regarding claim and distribution issue (.3)                                            $         117.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 KBD        $      390.00           0.1 study correspondence from and conference with E. Duff regarding mortgage loans and portfolio          $           39.00
          Administration &                                                       analysis (.1).
          Objections
   Sep‐18 Claims                9/27/2018 KBD        $      390.00           0.2 study communication from IRA administrator regarding client accounts (.2)                             $           78.00
          Administration &
          Objections
   Sep‐18 Claims                9/28/2018 KBD        $      390.00           0.1 Review correspondence from lender's representative regarding loan relationship (.1)                   $           39.00
          Administration &
          Objections




                                                                                             5 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 7 of 191 PageID #:53791
                                               ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                        Task Cost
Month                                       Keeper        Rate
   Sep‐18 Claims                9/28/2018 KBD        $       390.00        0.1 study correspondence from E. Duff regarding servicing agent for lender (.1).                                $           39.00
          Administration &
          Objections
   Sep‐18 Asset Disposition      9/4/2018 AEP        $       390.00          0.3 Teleconference with K. Duff regarding offers to purchase properties in receivership estate, cost‐         $         117.00
                                                                                 cutting measures, and initiation of portfolio valuation, marketing, and sales efforts.
   Sep‐18 Asset Disposition      9/5/2018 AEP        $       390.00          0.3 Teleconference with real estate broker/advisor regarding potential retention in connection with           $         117.00
                                                                                 orderly liquidation of EquityBuild portfolio.
   Sep‐18 Asset Disposition      9/6/2018 AEP        $       390.00          0.6 Teleconference with potential broker in connection with appraisal, marketing, and liquidation of          $         234.00
                                                                                 receivership properties.
   Sep‐18 Asset Disposition      9/6/2018 MR         $       390.00            1 Conferences with K. Duff, A. Porter regarding strategy on disposition of property, review information     $         390.00
                                                                                 and follow up regarding same.
   Sep‐18 Asset Disposition      9/7/2018 MR         $       390.00          0.3 Further conferences regarding liquidation strategy with K. Duff.                                          $         117.00

   Sep‐18 Asset Disposition     9/12/2018 NM         $       260.00          0.2 Telephone conference with former EB employee regarding investors who expressed interest in                $           52.00
                                                                                 purchasing property (.2)
   Sep‐18 Asset Disposition     9/13/2018 AEP        $       390.00          1.5 meeting with other prospective brokers regarding possible engagement to sell portfolio assets (1.5)       $         585.00

   Sep‐18 Asset Disposition     9/13/2018 AEP        $       390.00          1.5 Meeting with prospective brokers regarding possible engagement to sell portfolio assets (1.5)             $         585.00

   Sep‐18 Asset Disposition     9/13/2018 AEP        $       390.00          1.5 meeting with third group of prospective brokers regarding possible engagement to sell portfolio           $         585.00
                                                                                 assets (1.5).
   Sep‐18 Asset Disposition     9/13/2018 MR         $       390.00            1 draft letter regarding same (1.0).                                                                        $         390.00

   Sep‐18 Asset Disposition     9/13/2018 MR         $       390.00          5.8 Attention to issues regarding various strategies on disposition of properties and meetings regarding      $        2,262.00
                                                                                 same with K.Duff, A. Porter and third party experts (5.8)
   Sep‐18 Asset Disposition     9/13/2018 NM         $       260.00          0.4 Office conference with K. Duff, A. Porter, E. Duff, and M. Rachlis regarding conversations re potential   $         104.00
                                                                                 real estate brokers' presentations.
   Sep‐18 Asset Disposition     9/14/2018 ED         $       390.00          0.3 Review information regarding valuation of properties and potential offers and confer with M.              $         117.00
                                                                                 Rachlis regarding same.
   Sep‐18 Asset Disposition     9/18/2018 NM         $       260.00          0.2 Telephone call with property broker interested in receivership updates.                                   $           52.00

   Sep‐18 Business               9/4/2018 AEP        $       390.00          0.6 teleconference with EquityBuild employee regarding proposed offers to purchase various portfolio          $         234.00
          Operations                                                             properties, methodology for orderly liquidation, appraisal issues, secured creditors, and
                                                                                 outstanding loan balances, as well as status of retail leasing transaction at property (.6).

   Sep‐18 Business               9/4/2018 AW         $       140.00          0.1 attention to email regarding same (.1)                                                                    $           14.00
          Operations
   Sep‐18 Business               9/4/2018 AW         $       140.00          0.1 communicate with K. Duff regarding same (.1)                                                              $           14.00
          Operations
   Sep‐18 Business               9/4/2018 AW         $       140.00          0.1 communicate with K. Duff regarding same (.1)                                                              $           14.00
          Operations
   Sep‐18 Business               9/5/2018 MBA        $       390.00          0.2 Review email from insurance broker and attached correspondence from CGL insurer regarding sums $                      78.00
          Operations                                                             claimed as deductible due on settlement claim (.2)
   Sep‐18 Business              9/11/2018 AW         $       140.00          0.3 Attention to emails from vendors requesting immediate payments of outstanding invoices (.3)    $                      42.00
          Operations
   Sep‐18 Business              9/13/2018 MBA        $       390.00          0.1 confer with K. Duff about proposed response to same (.1).                                                 $           39.00
          Operations
   Sep‐18 Business              9/13/2018 MBA        $       390.00          0.1 Review most recent email from insurance broker requesting payment of invoice and draft response $                     39.00
          Operations                                                             to same (.1)
   Sep‐18 Business              9/18/2018 AW         $       140.00          0.1 Attention to email regarding outstanding insurance invoice and communicate with K. Duff regarding $                   14.00
          Operations                                                             same (.1)
   Sep‐18 Business              9/18/2018 AW         $       140.00          0.3 search through emails for information regarding same (.3)                                         $                   42.00
          Operations
   Sep‐18 Business              9/18/2018 KMP        $       140.00          0.2 Conference with K. Duff and review communications from M. Adler regarding required payments to            $           28.00
          Operations                                                             insurer and agent (.2)
   Sep‐18 Business              9/18/2018 MBA        $       390.00          0.1 conference with K. Duff reporting on same and emails to broker, K. Duff, and K. Pritchard regarding       $           39.00
          Operations                                                             same, as well as planning as to upcoming deadline to pay premium finance installment (.1).

   Sep‐18 Business              9/18/2018 MBA        $       390.00          0.1 Review emails and voicemails from insurance broker and K. Duff relating to outstanding invoice from $                 39.00
          Operations                                                             broker (.1)
   Sep‐18 Business              9/18/2018 MBA        $       390.00          0.1 telephone conference with broker regarding same (.1)                                                $                 39.00
          Operations
   Sep‐18 Business              9/19/2018 AW         $       140.00          0.1 email K. Duff and N. Mirjanich regarding same and discuss what steps to take (.1)                         $           14.00
          Operations
   Sep‐18 Business              9/19/2018 AW         $       140.00          0.5 search email accounts for information regarding same (.5)                                                 $           70.00
          Operations
   Sep‐18 Business              9/19/2018 KMP        $       140.00          0.1 Communications with insurer requesting confirmation of accepted methods of payment and                    $           14.00
          Operations                                                             conference with K. Duff regarding same (.1)
   Sep‐18 Business              9/19/2018 MBA        $       390.00          0.1 Conference with Mr. Duff regarding insurance‐related matters.                                             $           39.00
          Operations
   Sep‐18 Business              9/21/2018 NM         $       260.00          0.1 correspond with creditor (.1)                                                                             $           26.00
          Operations
   Sep‐18 Business              9/24/2018 KMP        $       140.00          0.2 Review communications from insurance broker regarding cancellation notice for property insurance, $                   28.00
          Operations                                                             and communications with K. Duff and M. Adler regarding scheduling payment (.2)

   Sep‐18 Business              9/24/2018 KMP        $       140.00          0.3 communications with bank representative following up on training, access, and formatting issues           $           42.00
          Operations                                                             relating to investor database (.3).
   Sep‐18 Business              9/27/2018 AW         $       140.00          0.1 download content and communicate with E. Duff regarding same (.1)                                         $           14.00
          Operations
   Sep‐18 Business              9/27/2018 AW         $       140.00          0.1 email counsel regarding same (.1)                                                                         $           14.00
          Operations
   Sep‐18 Business              9/27/2018 AW         $       140.00          0.3 compile exhibits and communicate regarding same (.3)                                                      $           42.00
          Operations
   Sep‐18 Business              9/27/2018 KMP        $       140.00          0.1 Review email communication from insurance broker regarding cancellation notices for additional   $                    14.00
          Operations                                                             insurance policies (.1)
   Sep‐18 Business              9/28/2018 MBA        $       390.00          0.1 Review email from insurance broker relating to upcoming deadlines to pay insurance premiums, and $                    39.00
          Operations                                                             forward to K. Duff and K. Pritchard.
   Sep‐18 Claims                 9/4/2018 AW         $       140.00          0.1 Attention to email containing responsive documents from lenders (.1)                             $                    14.00
          Administration &
          Objections
   Sep‐18 Claims                 9/4/2018 AW         $       140.00          0.1 attention to email exchanges regarding same (.1).                                                         $           14.00
          Administration &
          Objections




                                                                                            6 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 8 of 191 PageID #:53792
                                               ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Sep‐18 Claims                 9/4/2018 AW        $       140.00        0.1 communicate with E. Duff regarding hard drives from lender that will be delivered tomorrow (.1)           $           14.00
          Administration &
          Objections
   Sep‐18 Claims                 9/4/2018 AW        $      140.00           0.2 save to file and communicate with E. Duff regarding same (.2)                                           $           28.00
          Administration &
          Objections
   Sep‐18 Claims                 9/4/2018 ED        $      390.00           0.2 review and respond to emails regarding pending issues and questions from lenders (.2)                   $           78.00
          Administration &
          Objections
   Sep‐18 Claims                 9/4/2018 ED        $      390.00           0.3 review of loan documents (.3).                                                                          $         117.00
          Administration &
          Objections
   Sep‐18 Claims                 9/5/2018 ED        $      390.00           0.1 review list of properties in which individual investors have debt or equity interests against list of   $           39.00
          Administration &                                                      properties mortgaged to institutional lenders (.1)
          Objections
   Sep‐18 Claims                 9/5/2018 ED        $      390.00           0.9 review and reply to email messages from lenders and counsel (.9)                                        $         351.00
          Administration &
          Objections
   Sep‐18 Claims                 9/5/2018 KMP       $      140.00           0.1 Communication with vendor representative regarding information for establishment of investor            $           14.00
          Administration &                                                      database.
          Objections
   Sep‐18 Claims                 9/6/2018 AW        $      140.00           0.2 communicate with E. Duff regarding issues with hard drive from institutional lender (.2).               $           28.00
          Administration &
          Objections
   Sep‐18 Claims                 9/6/2018 ED        $      390.00           0.7 Call to counsel for special servicer re securitized loan, and forward emails regarding Receiver's       $         273.00
          Administration &                                                      requests for information (.7)
          Objections
   Sep‐18 Claims                 9/6/2018 ED        $      390.00           0.9 follow‐up emails to and from counsel with information regarding the same, and review of                 $         351.00
          Administration &                                                      documents regarding loans from A Porter (.9)
          Objections
   Sep‐18 Claims                 9/6/2018 KMP       $      140.00           0.8 study screenshot of fields for investor claims database, conference with A. Watychowicz regarding       $         112.00
          Administration &                                                      investor information for population of database fields, prepare email communication to vendor
          Objections                                                            forwarding updated investor spreadsheet and detailing spreadsheet information to populate claims
                                                                                database (.8).
   Sep‐18 Claims                 9/6/2018 KMP       $      140.00           1.8 Draft and revise creditor spreadsheet (1.8)                                                             $         252.00
          Administration &
          Objections
   Sep‐18 Claims                 9/7/2018 ED        $      390.00           0.4 confer with A. Porter regarding loan information on EquityBuild servers, A. Watychowicz regarding       $         156.00
          Administration &                                                      documents received in database format, and N. Mirjanich regarding pending litigation and
          Objections                                                            communication with investors (.4)
   Sep‐18 Claims                 9/7/2018 ED        $      390.00           0.5 call with counsel for lender, preparation for same, and send update to Receiver regarding same (.5)     $         195.00
          Administration &
          Objections
   Sep‐18 Claims                 9/7/2018 ED        $      390.00           0.9 search EquityBuild Dropbox account for loan documents and reporting information (.9).                   $         351.00
          Administration &
          Objections
   Sep‐18 Claims                 9/9/2018 MR        $      390.00             5 Research, study and follow up communications with K. Duff and A. Porter regarding associated            $        1,950.00
          Administration &                                                      issues on potential claims and distribution issues and secured and unsecured creditors.
          Objections
   Sep‐18 Claims                9/10/2018 KMP       $      140.00           0.2 Attention to various vendors' efforts to collect payments for goods provided and/or services            $           28.00
          Administration &                                                      performed and confirm such vendors are on creditor's list.
          Objections
   Sep‐18 Claims                9/11/2018 KMP       $      140.00           0.3 review accounts payable information from entities' accountant to identify creditors that need to        $           42.00
          Administration &                                                      receive notice, communicate with N. Mirjanich and A. Watychowicz regarding same (.3).
          Objections
   Sep‐18 Claims                9/12/2018 AW        $      140.00           0.1 Communicate with K. Pritchard regarding meeting about notices to creditors (.1)                         $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/12/2018 AW        $      140.00           0.7 ; meeting with K. Pritchard and N. Mirjanich regarding same (.7).                                       $           98.00
          Administration &
          Objections
   Sep‐18 Claims                9/12/2018 KMP       $      140.00           0.2 Prepare email communication to database vendor requesting update on creation of database and            $           28.00
          Administration &                                                      information relating to generating claims notices.
          Objections
   Sep‐18 Claims                9/12/2018 MR        $      390.00           0.4 Attention to various issues on claims for expenses and issues regarding compliance with order on        $         156.00
          Administration &                                                      production.
          Objections
   Sep‐18 Claims                9/12/2018 NM        $      260.00           0.1 correspond with E. Duff and A. Watychowicz regarding service list for same (.1).                        $           26.00
          Administration &
          Objections
   Sep‐18 Claims                9/12/2018 NM        $      260.00           1.8 Draft motion regarding claims issues (1.8)                                                              $         468.00
          Administration &
          Objections
   Sep‐18 Claims                9/13/2018 KMP       $      140.00           0.1 conference with K. Duff and A. Watychowicz regarding necessity of retaining and paying for certain      $           14.00
          Administration &                                                      software containing investor records (.1)
          Objections
   Sep‐18 Claims                9/13/2018 KMP       $      140.00           2.7 prepare notice letters and transmittals to various creditors and research relating to contact           $         378.00
          Administration &                                                      information for same (2.7).
          Objections
   Sep‐18 Claims                9/13/2018 NM        $      260.00           0.4 draft motion regarding lender issue and legal research relating to same (.4)                            $         104.00
          Administration &
          Objections
   Sep‐18 Claims                9/14/2018 KMP       $      140.00           0.3 attention to follow‐up correspondence from database specialist regarding data entry question and        $           42.00
          Administration &                                                      communications with A. Watychowicz and N. Mirjanich regarding same (.3).
          Objections
   Sep‐18 Claims                9/14/2018 KMP       $      140.00           1.3 Prepare for and participate in telephone conference with database specialist from receivership          $         182.00
          Administration &                                                      estate bank regarding details of importing investor spreadsheet information into database and
          Objections                                                            status of completion of same (1.3)
   Sep‐18 Claims                9/14/2018 MR        $      390.00           1.3 Attention to issues on responses to emails from lenders and strategy.                                   $         507.00
          Administration &
          Objections
   Sep‐18 Claims                9/17/2018 AW        $      140.00           0.1 follow‐up regarding same with K. Pritchard (.1).                                                        $           14.00
          Administration &
          Objections




                                                                                            7 of 190
    Case: 1:18-cv-05587 Document #:EquityBuild
                                     1107-9          Filed: 12/22/21 Page 9 of 191 PageID #:53793
                                               ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Sep‐18 Claims                9/17/2018 MR        $       390.00        0.7 Attention to various issues on strategy moving forward regarding potential claims and distribution        $         273.00
          Administration &                                                    planning.
          Objections
   Sep‐18 Claims                9/18/2018 AW        $       140.00          0.1 locate notice sent to creditor and follow‐up with K. Duff regarding same (.1)                           $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/18/2018 MR        $       390.00          2.6 Conferences and research regarding issues associated with distributions and secured lenders.            $        1,014.00
          Administration &
          Objections
   Sep‐18 Claims                9/19/2018 AW        $       140.00            1 Video conference on database for claims process.                                                        $         140.00
          Administration &
          Objections
   Sep‐18 Claims                9/19/2018 ED        $       390.00          0.1 review correspondence from lender regarding declination of loan applications (.1).                      $           39.00
          Administration &
          Objections
   Sep‐18 Claims                9/19/2018 ED        $       390.00          0.2 confer with Receiver regarding communication to mortgage lenders and communication from                 $           78.00
          Administration &                                                      lender regarding declined loan applications (.2)
          Objections
   Sep‐18 Claims                9/20/2018 NM        $       260.00          0.2 Correspond with E. Duff regarding correspondence to institutional lender.                               $           52.00
          Administration &
          Objections
   Sep‐18 Claims                9/21/2018 AW        $       140.00          0.1 Attention to email from A. Porter regarding additional investors (.1)                                   $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/21/2018 AW        $       140.00          0.1 attention to statement concerning receivership assets and email E. Duff regarding same (.1)             $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/21/2018 AW        $       140.00          0.2 call with creditor representative (.2)                                                                  $           28.00
          Administration &
          Objections
   Sep‐18 Claims                9/21/2018 ED        $       390.00          0.1 confer with A .Porter regarding properties securing mortgage loans (.1).                                $           39.00
          Administration &
          Objections
   Sep‐18 Claims                9/24/2018 MR        $       390.00          0.3 Attention to creditors filings.                                                                         $         117.00
          Administration &
          Objections
   Sep‐18 Claims                9/25/2018 AW        $       140.00          0.1 ; conference with K. Duff regarding same (.1).                                                          $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/25/2018 KMP       $       140.00          0.3 Review EB bank statements for information relating to investor payment and conferences with A.          $           42.00
          Administration &                                                      Watychowicz regarding same.
          Objections
   Sep‐18 Claims                9/25/2018 MR        $       390.00          1.4 Attention to various emails and strategy on various issues on properties, creditors and distribution,   $         546.00
          Administration &                                                      expenses and brief and conferences on same with K. Duff and N. Mirjanich.
          Objections
   Sep‐18 Claims                9/25/2018 NM        $       260.00          0.1 Correspond with A. Watychowicz regarding notices to creditors (.1)                                      $           26.00
          Administration &
          Objections
   Sep‐18 Claims                9/25/2018 NM        $       260.00          0.1 correspond with E. Duff regarding loans and related documents (.1).                                     $           26.00
          Administration &
          Objections
   Sep‐18 Claims                9/26/2018 MR        $       390.00          6.5 Research on various assertions by creditors to priorities and additional monies.                        $        2,535.00
          Administration &
          Objections
   Sep‐18 Claims                9/26/2018 NM        $       260.00          0.3 Correspond with A. Porter and K. Duff regarding lenders and potential motion (.3)                       $           78.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 AW        $       140.00          0.1 attention to creditor statement filed with court (.1)                                                   $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 AW        $       140.00          0.1 Attention to voicemail from creditor (.1)                                                               $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 AW        $       140.00          0.1 email K. Duff and E. Duff regarding same (.1).                                                          $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 AW        $       140.00          0.1 respond to same (.1)                                                                                    $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 AW        $       140.00          0.4 draft notices to creditors (.4)                                                                         $           56.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 ED        $       390.00            0 Confer with Receiver regarding responses to lenders' queries, and consequences of post‐                 $               ‐
          Administration &                                                      Receivership defaults
          Objections
   Sep‐18 Claims                9/27/2018 ED        $       390.00          0.7 review of documents and notes regarding same (.7)                                                       $         273.00
          Administration &
          Objections
   Sep‐18 Claims                9/27/2018 ED        $       390.00          1.3 email correspondence with company employee regarding financial reporting to mortgage lenders            $         507.00
          Administration &                                                      and pending loan applications, review of related documents (1.3)
          Objections
   Sep‐18 Claims                9/28/2018 AW        $       140.00          0.1 attention to filed statement concerning receivership assets filed by institutional lender and email     $           14.00
          Administration &                                                      counsel regarding same (.1).
          Objections
   Sep‐18 Claims                9/28/2018 AW        $       140.00          0.1 attention to statement concerning receivership assets filed by creditor (.1)                            $           14.00
          Administration &
          Objections
   Sep‐18 Claims                9/28/2018 KMP       $       140.00          0.2 Conferences with S. Zjalic regarding preparation of list of creditors (.2)                              $           28.00
          Administration &
          Objections
   Sep‐18 Claims                9/28/2018 KMP       $       140.00          0.5 review and revise list (.5).                                                                            $           70.00
          Administration &
          Objections




                                                                                            8 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 10 of 191 PageID #:53794
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                                Task Description                                                Task Cost
Month                                       Keeper        Rate
   Sep‐18 Claims                9/28/2018 SZ         $       110.00        3.6 Creditors claim list consolidation.                                                                        $         396.00
          Administration &
          Objections
   Oct‐18 Asset Disposition     10/3/2018 KBD        $       390.00          0.1 study correspondence from potential purchaser regarding interest in property portfolio (.1).             $           39.00

   Oct‐18 Asset Disposition     10/5/2018 KBD        $       390.00          0.1 study correspondence from potential buyer for properties (.1).                                           $           39.00

   Oct‐18 Asset Disposition     10/8/2018 KBD        $       390.00          0.1 study correspondence from potential property buyer (.1).                                                 $           39.00

   Oct‐18 Asset Disposition    10/11/2018 KBD        $       390.00          0.1 review communications from potential buyers (.1).                                                        $           39.00

   Oct‐18 Asset Disposition    10/12/2018 KBD        $       390.00          0.4 Study potential offers for properties (.4)                                                               $         156.00

   Oct‐18 Asset Disposition    10/12/2018 KBD        $       390.00          2.7 office conferences with M. Rachlis and A. Porter regarding portfolio valuation, disposition strategy,    $        1,053.00
                                                                                 analysis of lender documents, lender positions, and communications with lenders (2.7).

   Oct‐18 Asset Disposition    10/17/2018 KBD        $       390.00          0.1 exchange correspondence with A. Porter regarding same (.1)                                               $           39.00

   Oct‐18 Asset Disposition    10/17/2018 KBD        $       390.00          0.2 Exchange correspondence with A. Watychowicz regarding purchase offers and study same (.2)                $           78.00

   Oct‐18 Asset Disposition    10/17/2018 KBD        $       390.00          0.3 exchange correspondence with M. Rachlis regarding communication with defendants' counsel                 $         117.00
                                                                                 regarding engagement of real estate broker and asset manager and potential purchasers (.3)

   Oct‐18 Asset Disposition    10/17/2018 KBD        $       390.00          0.4 study and revise press release regarding retention of broker and asset manager (.4).                     $         156.00

   Oct‐18 Asset Disposition    10/17/2018 KBD        $       390.00          2.3 Several telephone conferences and exchange correspondence with broker variously M. Rachlis, A.           $         897.00
                                                                                 Porter, E. Duff, and N. Mirjanich regarding and portfolio analysis, prioritization for disposition and
                                                                                 repair of properties, press release, and City violation issues (2.3)

   Oct‐18 Asset Disposition    10/18/2018 KBD        $       390.00          0.1 Draft correspondence to A. Porter regarding purchase offers and communication with real estate           $           39.00
                                                                                 broker regarding same (.1)
   Oct‐18 Asset Disposition    10/18/2018 KBD        $       390.00          0.1 exchange correspondence with M. Rachlis regarding communication with defendants' counsel                 $           39.00
                                                                                 regarding real estate broker and purchase offers (.1).
   Oct‐18 Asset Disposition    10/22/2018 KBD        $       390.00          0.1 draft correspondence to real estate broker regarding terms for sales (.1).                               $           39.00

   Oct‐18 Asset Disposition    10/22/2018 KBD        $       390.00          0.1 Study correspondence from A. Porter regarding purchase offers (.1)                                       $           39.00

   Oct‐18 Asset Disposition    10/22/2018 KBD        $       390.00          0.7 lega research regarding sale procedures(.7)                                                              $         273.00

   Oct‐18 Asset Disposition    10/24/2018 KBD        $       390.00          0.3 study updated portfolio analysis summary (.3)                                                            $         117.00

   Oct‐18 Asset Disposition    10/24/2018 KBD        $       390.00          1.5 conference with real estate broker regarding portfolio analysis, strategy for property disposition,      $         585.00
                                                                                 and prioritization (1.5)
   Oct‐18 Asset Disposition    10/25/2018 KBD        $       390.00          0.1 exchange correspondence with real estate broker regarding potential property purchasers (.1)             $           39.00

   Oct‐18 Asset Disposition    10/25/2018 KBD        $       390.00          0.2 Office conference with A. Porter and M. Rachlis regarding sale process and communications with           $           78.00
                                                                                 lender's counsel (.2)
   Oct‐18 Asset Disposition    10/25/2018 KBD        $       390.00          0.2 study and revise correspondence to lender and office conference with E. Duff regarding same (.2)         $           78.00

   Oct‐18 Asset Disposition    10/25/2018 KBD        $       390.00          0.3 study draft sealed bid instructions (.3).                                                                $         117.00

   Oct‐18 Asset Disposition    10/26/2018 KBD        $       390.00          0.2 Exchange correspondence with real estate broker and M. Rachlis regarding public sale advertising.        $           78.00

   Oct‐18 Asset Disposition    10/29/2018 KBD        $       390.00          0.2 office conference with N. Mirjanich regarding presentation of asset disposition plan to the court (.2). $            78.00

   Oct‐18 Asset Disposition    10/29/2018 KBD        $       390.00          0.2 Telephone conference and exchange correspondence with real estate broker regarding potential             $           78.00
                                                                                 purchasers, public sale process procedures, and disposition strategy, and status report and
                                                                                 adequacy of disclosure of property information (.2)
   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.1 draft correspondence to same (.1)                                                                        $           39.00

   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.1 office conference with N. Mirjanich regarding telephone conference with prospective purchaser (.1)       $           39.00

   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.1 review correspondence from M. Rachlis and asset manager regarding properties to list for sale (.1)       $           39.00

   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.2 exchange correspondence with real estate broker regarding potential purchasers (.2)                      $           78.00

   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.4 office conference with M. Rachlis regarding same and implications of sale as to claims and               $         156.00
                                                                                 distribution issues (.4)
   Oct‐18 Asset Disposition    10/31/2018 KBD        $       390.00          0.7 Telephone conference with broker and asset management firm representatives, M. Rachlis, and A.           $         273.00
                                                                                 Porter regarding disposition strategy and timing (.7)
   Oct‐18 Business              10/2/2018 KBD        $       390.00          0.1 study correspondence from A. Porter regarding title company recordings, releases, and security           $           39.00
          Operations                                                             priority (.1).
   Oct‐18 Business              10/4/2018 KBD        $       390.00          0.1 draft correspondence to M. Rachlis regarding communication with EB vendor regarding preservation         $           39.00
          Operations                                                             of data (.1).
   Oct‐18 Business              10/4/2018 KBD        $       390.00          0.2 office conference with and review correspondence from A. Watychowicz regarding online records            $           78.00
          Operations                                                             and data platform continuing costs and communications with recalcitrant vendors and review
                                                                                 scheduled expenses (.2)
   Oct‐18 Business              10/4/2018 KBD        $       390.00          0.2 office conference with K. Pritchard and review correspondence from insurance payment and                 $           78.00
          Operations                                                             telephone conference with bank representative regarding same (.2)
   Oct‐18 Business              10/8/2018 KBD        $       390.00          0.7 Office conference with and study correspondence from M. Rachlis regarding lender                         $         273.00
          Operations                                                             communications, property manager accounting processes, and tax firm work(.7)
   Oct‐18 Business             10/11/2018 KBD        $       390.00          0.1 exchange correspondence with A. Porter regarding insurance endorsement issue (.1).                       $           39.00
          Operations
   Oct‐18 Business             10/14/2018 KBD        $       390.00          0.2 study portfolio spreadsheet prepared by A. Porter (.2).                                                  $           78.00
          Operations
   Oct‐18 Business             10/15/2018 KBD        $       390.00          0.1 telephone conference with bank representative regarding wire transfer (.1).                              $           39.00
          Operations
   Oct‐18 Business             10/16/2018 KBD        $       390.00          0.1 exchange correspondence with A. Porter regarding meeting with asset management firm regarding            $           39.00
          Operations                                                             potential financial issue (.1)
   Oct‐18 Business             10/16/2018 KBD        $       390.00          0.1 exchange correspondence with property manager regarding funds transfer (.1)                              $           39.00
          Operations
   Oct‐18 Business             10/17/2018 KBD        $       390.00          0.1 review correspondence from M. Adler regarding insurance premium and fees (.1)                            $           39.00
          Operations
   Oct‐18 Business             10/19/2018 KBD        $       390.00          0.1 exchange correspondence with representative for potential property management services firm (.1) $                   39.00
          Operations




                                                                                             9 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 11 of 191 PageID #:53795
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Oct‐18 Business             10/21/2018 KBD        $       390.00        0.4 Study correspondence from A. Porter and M. Rachlis regarding potential receivership expenses and       $         156.00
          Operations                                                           real estate portfolio.
   Oct‐18 Business             10/22/2018 KBD        $       390.00        0.1 exchange various correspondence regarding lender appraisal request (.1)                                $           39.00
          Operations
   Oct‐18 Business             10/22/2018 KBD        $      390.00           0.1 study correspondence from E. Duff regarding portfolio analysis and outstanding loans (.1).           $           39.00
          Operations
   Oct‐18 Business             10/23/2018 KBD        $      390.00           0.1 office conference with and K. Pritchard regarding payment of real estate taxes (.1).                 $           39.00
          Operations
   Oct‐18 Business             10/25/2018 KBD        $      390.00           0.4 prepare for hearing and office conference with M. Rachlis regarding same (.4)                        $         156.00
          Operations
   Oct‐18 Business             10/25/2018 KBD        $      390.00           0.6 appear before Judge Lee (.6)                                                                         $         234.00
          Operations
   Oct‐18 Business             10/26/2018 KBD        $      390.00           0.2 study correspondence from M. Adler regarding insurance coverage for lenders under CGL policy (.2)    $           78.00
          Operations
   Oct‐18 Business             10/31/2018 KBD        $      390.00           0.2 study revised portfolio spreadsheetfrom A. Porter (.2)                                               $           78.00
          Operations
   Oct‐18 Claims                10/3/2018 KBD        $      390.00           0.2 Study loan information (.2)                                                                          $           78.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 KBD        $      390.00           0.1 Review correspondence from lender's counsel regarding rents (.1)                                     $           39.00
          Administration &
          Objections
   Oct‐18 Claims                10/8/2018 KBD        $      390.00           0.2 office conference with A. Porter regarding lender and broker issues (.2)                             $           78.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 KBD        $      390.00           0.1 review correspondence from N. Mirjanich regarding communication from lender's counsel (.1).          $           39.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 KBD        $      390.00           0.1 study correspondence from M. Rachlis regarding communication from lender's counsel regarding         $           39.00
          Administration &                                                       rent and default issues (.1)
          Objections
   Oct‐18 Claims                10/9/2018 KBD        $      390.00           0.1 telephone conference with E. Duff regarding communication from institutional lender (.1)             $           39.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 KBD        $      390.00           0.2 Office conference with A. Porter and A. Watychowicz regarding institutional lender documents (.2)    $           78.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 KBD        $      390.00           0.2 Telephone conference with E. Duff regarding communications from institutional lenders and            $           78.00
          Administration &                                                       response efforts (.2)
          Objections
   Oct‐18 Claims               10/11/2018 KBD        $      390.00           0.1 draft correspondence to E. Duff regarding production of rent roll information to lenders ( .1)       $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/11/2018 KBD        $      390.00           0.2 exchange correspondence with E. Duff regarding communications with lenders counsel and property $                78.00
          Administration &                                                       managers (.2)
          Objections
   Oct‐18 Claims               10/11/2018 KBD        $      390.00           0.2 exchange correspondence with property managers regarding lender request for information and          $           78.00
          Administration &                                                       efficient communications (.2).
          Objections
   Oct‐18 Claims               10/15/2018 KBD        $      390.00           0.1 exchange correspondence with K. Pritchard regarding notice of receivership to creditor (.1).         $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 KBD        $      390.00           0.1 draft correspondence to K. Pritchard regarding same (.1)                                             $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 KBD        $      390.00           0.1 study mortgage statement and exchange correspondence with A. Watychowicz regarding same (.1).        $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 KBD        $      390.00           0.2 analysis of debt service and exchange correspondence with E. Duff regarding same (.2)                $           78.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 KBD        $      390.00           0.1 exchange correspondence with A. Porter regarding lender (.1)                                         $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 KBD        $      390.00           0.2 study correspondence from E. Duff regarding communication with lender's counsel (.2).                $           78.00
          Administration &
          Objections
   Oct‐18 Claims               10/21/2018 KBD        $      390.00           0.1 Review correspondence from construction firm regarding unpaid invoices and exchange                  $           39.00
          Administration &                                                       correspondence with N. Mirjanich regarding same (.1)
          Objections
   Oct‐18 Claims               10/21/2018 KBD        $      390.00           0.2 Study correspondence from E. Duff regarding lenders documentation and additional information (.2) $              78.00
          Administration &
          Objections
   Oct‐18 Claims               10/25/2018 KBD        $      390.00           0.1 Study correspondence from and office conference with M. Rachlis regarding communication with         $           39.00
          Administration &                                                       lender's counsel relating to retention of real estate broker (.1)
          Objections
   Oct‐18 Claims               10/25/2018 KBD        $      390.00           0.1 study statement from lender (.1).                                                                    $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/28/2018 KBD        $      390.00           0.1 Draft correspondence to K. Pritchard regarding potential creditors.                                  $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 KBD        $      390.00           0.1 Draft correspondence to M. Rachlis regarding investor priority concerns.                             $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/30/2018 KBD        $      390.00           0.1 Study correspondence from the lenders counsel (.1)                                                   $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/30/2018 KBD        $      390.00           0.4 study correspondence from A. Porter and M. Rachlis regarding analysis and legal research regarding   $         156.00
          Administration &                                                       mortgage priority issues (.4).
          Objections
   Oct‐18 Claims               10/31/2018 KBD        $      390.00           0.2 exchange correspondence with A. Porter, N. Mirjanich, and M. Rachlis regarding properties for        $           78.00
          Administration &                                                       which investors claim equity ownership interests (.2)
          Objections




                                                                                            10 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 12 of 191 PageID #:53796
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Oct‐18 Claims               10/31/2018 KBD        $       390.00        0.2 study correspondence from E. Duff regarding key loan documents (.2).                                    $           78.00
          Administration &
          Objections
   Oct‐18 Claims               10/31/2018 KBD        $      390.00          0.2 Telephone conference with accounting firm representative regarding investigation in anticipation of $              78.00
          Administration &                                                      claims analysis and distribution planning (.2)
          Objections
   Oct‐18 Asset Disposition     10/1/2018 ED         $      390.00          0.3 Email to A. Porter regarding status of properties pending purchase.                                    $         117.00

   Oct‐18 Asset Disposition     10/3/2018 AW         $      140.00          0.4 Research regarding sale of real estate. .                                                              $           56.00

   Oct‐18 Asset Disposition     10/8/2018 MR         $      390.00          0.2 Attention to asset disposition issues.                                                                 $           78.00

   Oct‐18 Asset Disposition    10/12/2018 AEP        $      390.00          1.5 Conference with receivership team and brokerage firm regarding immediate needs of receivership         $         585.00
                                                                                estate, legal options, assignment of responsibilities, and confidentiality issues.

   Oct‐18 Asset Disposition    10/12/2018 AW         $      140.00          0.1 communicate with property manager regarding updated rent rolls (.1)                                    $           14.00

   Oct‐18 Asset Disposition    10/15/2018 AEP        $      390.00          0.7 meeting with K. Duff, E. Duff, and M. Rachlis regarding asset disposition strategies (.7).             $         273.00

   Oct‐18 Asset Disposition    10/16/2018 AEP        $      390.00          0.2 Teleconference with potential purchaser seeking acquisition of entire EquityBuild portfolio.           $           78.00

   Oct‐18 Asset Disposition    10/16/2018 AW         $      140.00          0.1 Communicate with retained broker regarding issues with requested reports.                              $           14.00

   Oct‐18 Asset Disposition    10/17/2018 AEP        $      390.00          1.7 Conference call with K. Duff, E. Duff, M. Rachlis, and N. Mirjanich and receivership brokers regarding $         663.00
                                                                                status of investigation into values of portfolio assets and suitability of certain properties for
                                                                                immediate versus deferred sale.
   Oct‐18 Asset Disposition    10/17/2018 ED         $      390.00          1.3 Call with real estate advisors.                                                                        $         507.00

   Oct‐18 Asset Disposition    10/18/2018 AW         $      140.00          0.1 brief phone call with broker regarding same (.1).                                                      $           14.00

   Oct‐18 Asset Disposition    10/18/2018 AW         $      140.00          0.1 email K. Duff and A. Porter regarding same (.1)                                                        $           14.00

   Oct‐18 Asset Disposition    10/18/2018 AW         $      140.00          1.1 Create a list of potential buyers of EB portfolio based on emails, voicemails, and notes (1.1)         $         154.00

   Oct‐18 Asset Disposition    10/19/2018 AEP        $      390.00          1.5 teleconference with colleagues and receivership brokers regarding status of plan for selling           $         585.00
                                                                                properties and raising immediate cash for estate (1.5).
   Oct‐18 Asset Disposition    10/19/2018 AEP        $      390.00          1.8 Conference with receivership brokers regarding identification of properties for potentially            $         702.00
                                                                                immediate sale (1.8)
   Oct‐18 Asset Disposition    10/19/2018 AW         $      140.00          0.1 Communicate with counsel regarding offers to purchase properties.                                      $           14.00

   Oct‐18 Asset Disposition    10/19/2018 ED         $      390.00          0.9 Conference call with Receiver, M. Rachlis, A. Porter, N. Mirjanich and property advisor regarding      $         351.00
                                                                                possible strategies for sale of properties in portfolio.
   Oct‐18 Asset Disposition    10/19/2018 MR         $      390.00          0.2 follow up on same (.2).                                                                                $           78.00

   Oct‐18 Asset Disposition    10/19/2018 MR         $      390.00          0.9 Participate in call with broker, E. Duff, K. Duff and A.Porter (.9)                                    $         351.00

   Oct‐18 Asset Disposition    10/22/2018 ED         $      390.00          0.6 preparation for same (.6)                                                                              $         234.00

   Oct‐18 Asset Disposition    10/22/2018 ED         $      390.00            1 review information from property advisor and email regarding notes and comments (1.0).                 $         390.00

   Oct‐18 Asset Disposition    10/22/2018 ED         $      390.00          2.2 Meet with property advisor, Receiver, M. Rachlis, A. Porter, and N. Mirjanich regarding development $            858.00
                                                                                of strategy for portfolio liquidation (2.2)
   Oct‐18 Asset Disposition    10/22/2018 MR         $      390.00          2.2 Prepare for and participate in call with broker regarding various issues and on strategy for sales. $            858.00

   Oct‐18 Asset Disposition    10/23/2018 MR         $      390.00          0.3 Attention to issues on possible opportunities for sales.                                               $         117.00

   Oct‐18 Asset Disposition    10/24/2018 AEP        $      390.00          1.5 Conference call with receivership team and outside brokers regarding latest strategies for marketing $           585.00
                                                                                and selling portfolio properties.
   Oct‐18 Asset Disposition    10/25/2018 MR         $      390.00          0.3 attention to redemption issues (.3).                                                                 $           117.00

   Oct‐18 Asset Disposition    10/25/2018 MR         $      390.00          0.4 Attention to sealed bid instruction (.4)                                                               $         156.00

   Oct‐18 Asset Disposition    10/26/2018 MR         $      390.00          0.5 Emails and follow up on public sale issue (.5)                                                         $         195.00

   Oct‐18 Asset Disposition    10/29/2018 AW         $      140.00          0.1 Attention to email exchanges with broker regarding potential buyers.                                   $           14.00

   Oct‐18 Asset Disposition    10/29/2018 MR         $      390.00          0.8 Attention to issues on upcoming motions on bid and interest.                                           $         312.00

   Oct‐18 Asset Disposition    10/30/2018 MR         $      390.00          0.6 Conference regarding issues on liquidation.                                                            $         234.00

   Oct‐18 Asset Disposition    10/31/2018 AEP        $      390.00          0.5 Conference call with title company representatives regarding title search needs associated with        $         195.00
                                                                                investigation into EBF loans and future closings (.5)
   Oct‐18 Asset Disposition    10/31/2018 MR         $      390.00          1.4 participate in conference call on liquidation issues and follow up regarding various issues on same    $         546.00
                                                                                (1.4).
   Oct‐18 Business              10/1/2018 AW         $      140.00          0.1 contact FL Secretary of State regarding same (.1)                                                      $           14.00
          Operations
   Oct‐18 Business              10/1/2018 AW         $      140.00          0.1 research regarding same (.1)                                                                           $           14.00
          Operations
   Oct‐18 Business              10/1/2018 NM         $      260.00            1 study and respond to email correspondence relating to creditor and in EquityBuild account from         $         260.00
          Operations                                                            investors, other stakeholders, and former EB employees to obtain factual background (1.0).

   Oct‐18 Business              10/3/2018 KMP        $      140.00          0.1 Draft form for receivership estate bank relating to wire transfer for payment of premium insurance     $           14.00
          Operations                                                            funding and conference with K. Duff regarding execution of same (.1)
   Oct‐18 Business              10/4/2018 KMP        $      140.00          0.1 communications with insurance broker confirming payment of same (.1).                                  $           14.00
          Operations
   Oct‐18 Business              10/4/2018 KMP        $      140.00          0.1 Communications with receivership estate bank forwarding executed form for wire transfer for            $           14.00
          Operations                                                            payment of premium insurance funding (.1)
   Oct‐18 Business              10/5/2018 NM         $      260.00          0.9 study and respond to email correspondence relating to device imaging, relationships with subsidy       $         234.00
          Operations                                                            programs and EB properties, code violations and default orders on same, and in the EquityBuild
                                                                                account from investors to obtain factual background (.9).
   Oct‐18 Business              10/8/2018 NM         $      260.00          0.8 Study email correspondence in the EquityBuild account from investors to obtain background and          $         208.00
          Operations                                                            relating to lender rent motion (.8)
   Oct‐18 Business             10/12/2018 NM         $      260.00          0.8 Study email correspondence in the EquityBuild account from investors, lenders, and other               $         208.00
          Operations                                                            stakeholders to obtain factual background, relating to lenders regarding property, city matters, and
                                                                                violations (.8)




                                                                                           11 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 13 of 191 PageID #:53797
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Oct‐18 Business             10/15/2018 NM        $       260.00        0.4 Telephone conference with creditor and correspond with A. Watychowicz and K. Pritchard regarding       $          104.00
          Operations                                                          same and account with same (.4)
   Oct‐18 Business             10/16/2018 KMP       $       140.00        0.1 Review communications relating to insurance premiums and conferences with K. Duff and M. Adler         $            14.00
          Operations                                                          regarding same.
   Oct‐18 Business             10/16/2018 NM        $       260.00        0.4 Correspond with K. Duff regarding letter to creditor, investor, and unencumbered properties with       $          104.00
          Operations                                                          violations (.4)
   Oct‐18 Business             10/16/2018 NM        $       260.00        0.6 draft and revise letter to creditor based on K. Duff comments (.6).                                    $          156.00
          Operations
   Oct‐18 Business             10/17/2018 KMP       $      140.00          0.1 Review additional communications relating to insurance premiums and conference with M. Adler          $            14.00
          Operations                                                           regarding same (.1)
   Oct‐18 Business             10/17/2018 KMP       $      140.00          0.3 prepare wire transfer forms for payment of September property expenses and October insurance          $            42.00
          Operations                                                           premium financing agreement and communications with bank to initiate same (.3).

   Oct‐18 Business             10/17/2018 KMP       $      140.00          0.4 compile information and conference with K. Duff and M. Rachlis regarding operating income and         $            56.00
          Operations                                                           various expenses (.4)
   Oct‐18 Business             10/17/2018 MBA       $      390.00          0.1 email confirming same to broker (.1).                                                                 $            39.00
          Operations
   Oct‐18 Business             10/17/2018 MBA       $      390.00          0.1 review email from insurance broker regarding renewed inquiry by insurer for payment of deductible $                39.00
          Operations                                                           owed for settlement and respond to same by phone (.1)
   Oct‐18 Business             10/17/2018 MBA       $      390.00          0.2 email to Mr. Duff and Ms. Pritchard providing response to this question (.2)                      $                78.00
          Operations
   Oct‐18 Business             10/17/2018 MBA       $      390.00          0.2 Telephone conference with insurance broker requesting information sought by Receiver as to exact $                 78.00
          Operations                                                           amount, including finance charges and late fees of sums owed to bring premium finance account
                                                                               current for property and CGL coverage (.2)
   Oct‐18 Business             10/17/2018 MBA       $      390.00          0.6 email exchanges with broker relating to, seeking clarification of, and obtaining corrected calculation $         234.00
          Operations                                                           of same (.6)
   Oct‐18 Business             10/18/2018 AEP       $      390.00          1.9 review and analyze e‐ mails, correspondence, and documents and begin preparation of sources and $                741.00
          Operations                                                           uses spreadsheet to identify immediate cash needs of receivership estate (1.9).

   Oct‐18 Business             10/19/2018 AEP       $      390.00          3.3 Review and analyze e‐mails, correspondence, and other documents and continue preparation of           $         1,287.00
          Operations                                                           sources and uses spreadsheet identifying all immediate expenses to be paid by estate.

   Oct‐18 Business             10/20/2018 AEP       $      390.00          5.5 Continue reviewing e‐mails and documents and preparing sources and uses spreadsheet reflecting        $         2,145.00
          Operations                                                           all immediately payable expenses.
   Oct‐18 Business             10/21/2018 AEP       $      390.00          0.3 Prepare e‐mail to receivership team summarizing immediate cash needs of estate.                       $          117.00
          Operations
   Oct‐18 Business             10/21/2018 MR        $      390.00          4.8 Work on various pleadings, status report and attention to various issues regarding sales and strategy $         1,872.00
          Operations                                                           regarding upcoming hearing and other prospective motions.
   Oct‐18 Business             10/22/2018 AEP       $      390.00          1.4 Research current property tax delinquency amounts.                                                    $          546.00
          Operations
   Oct‐18 Business             10/23/2018 MBA       $      390.00          0.1 conference with E. Duff regarding identity and terms of lending documents relating to K. Duff's       $            39.00
          Operations                                                           request to determine their status as additional insureds (.1).
   Oct‐18 Business             10/23/2018 MBA       $      390.00          0.2 Conference with K. Duff regarding confirmation that specified lenders are additional insureds under   $            78.00
          Operations                                                           EquityBuild's policies, as well as other insurance questions posed by him (.2)

   Oct‐18 Business             10/24/2018 AW        $      140.00          0.1 email counsel regarding same (.1)                                                                     $            14.00
          Operations
   Oct‐18 Business             10/24/2018 AW        $      140.00          0.4 revise draft and email E. Duff regarding same (.4).                                                   $            56.00
          Operations
   Oct‐18 Business             10/25/2018 AW        $      140.00          0.1 email counsel regarding same (.1).                                                                    $            14.00
          Operations
   Oct‐18 Business             10/25/2018 AW        $      140.00          0.2 scan received receipts and email counsel regarding same (.2)                                          $            28.00
          Operations
   Oct‐18 Business             10/25/2018 ED        $      390.00          0.2 Confer with M. Adler regarding review of insurance coverages required under loan documents.           $            78.00
          Operations
   Oct‐18 Business             10/25/2018 MBA       $      390.00          0.1 conference and email to Ms. Watychowicz relating to assignment for her to determine whether           $            39.00
          Operations                                                           properties are scheduled on Property and CGL policies (.1).
   Oct‐18 Business             10/25/2018 MBA       $      390.00          0.1 conference with Mr. Duff reporting on status of project (.1)                                          $            39.00
          Operations
   Oct‐18 Business             10/25/2018 MBA       $      390.00          0.3 draft email to broker with follow‐up questions, including terms and conditions of Property Master     $          117.00
          Operations                                                           Agreement compared to insurance specifications of lending agreements (.3)

   Oct‐18 Business             10/25/2018 MBA       $      390.00          1.3 Review insurance requirements of those lending agreements compared to CGL policy, including           $          507.00
          Operations                                                           whether specified properties are scheduled on CGL and Property policies (1.3)
   Oct‐18 Business             10/26/2018 AW        $      140.00          0.1 report results (.1).                                                                                  $            14.00
          Operations
   Oct‐18 Business             10/26/2018 AW        $      140.00          1.3 work on project from M. Adler regarding comparison of different properties schedules (1.3)            $          182.00
          Operations
   Oct‐18 Business             10/26/2018 MBA       $      390.00          0.1 Conference with A. Watychowicz regarding assignment to compare properties listed on specified       $              39.00
          Operations                                                           lending documents with those scheduled on property and CGL policies (.1)
   Oct‐18 Business             10/26/2018 MBA       $      390.00          0.2 review email from insurance broker regarding questions posed relating to property and CLG policies, $              78.00
          Operations                                                           and forward same to K. Duff with cover note (.2).
   Oct‐18 Business             10/29/2018 MBA       $      390.00          0.2 email exchange with broker following‐up on Receiver's request to confirm coverage (.2).             $              78.00
          Operations
   Oct‐18 Business             10/29/2018 MBA       $      390.00          0.3 Review work sheets received from A. Watychowicz reflecting her comparison of the list of properties $            117.00
          Operations                                                           identified on certain lending documents, compared to the property scheduled on the CGL and
                                                                               Property policies (.3)
   Oct‐18 Business             10/29/2018 MBA       $      390.00          1.5 review email from insurance broker responding to questions (1.5)                                    $            585.00
          Operations
   Oct‐18 Business             10/30/2018 AEP       $      390.00          0.4 Research regarding status of property tax delinquencies.                                              $          156.00
          Operations
   Oct‐18 Claims                10/1/2018 AW        $      140.00          0.1 Attention to email from creditor.                                                                     $            14.00
          Administration &
          Objections
   Oct‐18 Claims                10/1/2018 ED        $      390.00          0.2 emails to company employee regarding requested information about loan applications, financial         $            78.00
          Administration &                                                     reporting, and other matters (.2).
          Objections
   Oct‐18 Claims                10/1/2018 NM        $      260.00          0.1 Correspond with K. Duff and A. Watychowicz regarding invoice from creditor.                           $            26.00
          Administration &
          Objections
   Oct‐18 Claims                10/2/2018 AEP       $      390.00          0.4 Read latest correspondence received from various institutional lenders and update spreadsheet         $          156.00
          Administration &                                                     accordingly.
          Objections




                                                                                          12 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 14 of 191 PageID #:53798
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Oct‐18 Claims                10/2/2018 AW        $       140.00        0.1 Attention to email from creditor and bring to K. Duff's attention (.1)                                     $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/2/2018 AW        $       140.00           0.1 update creditors' list (.1)                                                                             $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/2/2018 AW        $       140.00           0.8 gather detailed information and draft notices to vendors/creditors (.8)                                 $         112.00
          Administration &
          Objections
   Oct‐18 Claims                10/3/2018 AW        $       140.00           0.1 Attention to email from creditor regarding suspended service (.1)                                       $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/3/2018 AW        $       140.00           0.2 communicate with N. Mirjanich regarding notices to creditors (.2)                                       $           28.00
          Administration &
          Objections
   Oct‐18 Claims                10/3/2018 AW        $       140.00           0.4 gather detailed information and draft notices to creditors (.4)                                         $           56.00
          Administration &
          Objections
   Oct‐18 Claims                10/3/2018 AW        $       140.00           0.8 gather detailed information and draft additional notices to creditors (.8)                              $         112.00
          Administration &
          Objections
   Oct‐18 Claims                10/3/2018 ED        $       390.00           1.5 update summaries of loan information and status and draft emails to Receiver and counsel                $         585.00
          Administration &                                                       regarding same (1.5).
          Objections
   Oct‐18 Claims                10/3/2018 KMP       $       140.00           1.7 Work on notices and updates to creditor's claim list.                                                   $         238.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 AW        $       140.00           0.1 attention to email regarding same (.1)                                                                  $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 AW        $       140.00           0.1 calculate amount owed to creditor (.1)                                                                  $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 AW        $       140.00           0.1 email K. Duff and K. Pritchard regarding same and provide explanation of calculation (.1).              $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 AW        $       140.00           0.2 meeting with K. Duff and N. Mirjanich regarding same (.2)                                               $           28.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 KMP       $       140.00           0.2 Conferences with S. Zjalic regarding updating creditor claims list (.2)                                 $           28.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 KMP       $       140.00           0.3 review and revise updated list (.3).                                                                    $           42.00
          Administration &
          Objections
   Oct‐18 Claims                10/4/2018 NM        $       260.00           0.3 Correspond with K. Duff and A. Watychowicz regarding creditor and study correspondence relating         $           78.00
          Administration &                                                       to same.
          Objections
   Oct‐18 Claims                10/4/2018 SZ        $       110.00           1.7 Creditor list editing and updating.                                                                     $         187.00
          Administration &
          Objections
   Oct‐18 Claims                10/6/2018 ED        $       390.00           0.2 Call with Receiver to discuss lender requests.                                                          $           78.00
          Administration &
          Objections
   Oct‐18 Claims                10/8/2018 MR        $       390.00           0.5 conferences with K. Duff regarding various issues with creditors (.5).                                  $         195.00
          Administration &
          Objections
   Oct‐18 Claims                10/8/2018 MR        $       390.00             3 Attention to strategy issues and research in response to creditor related issues and issues raised by   $        1,170.00
          Administration &                                                       creditors (3.0)
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 Attention to email from creditor (.1)                                                                   $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 attention to email from creditor demanding payment (.1)                                                 $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 attention to invoice from creditor and communicate with N. Mirjanich regarding same (.1)                $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 attention to invoices from creditor (.1)                                                                $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 attention to statement from institutional lender and email E. Duff regarding same (.1).                 $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.1 communicate with K. Duff regarding same (.1)                                                            $           14.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.2 attention to four emails from institutional lender containing requested documents (.2)                  $           28.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.2 review emails, download attachments, and confirm with counsel completeness of production                $           28.00
          Administration &                                                       subject to E. Duff's review (.2)
          Objections
   Oct‐18 Claims                10/9/2018 AW        $       140.00           0.4 compare notices of default received from institutional lender (.4)                                      $           56.00
          Administration &
          Objections
   Oct‐18 Claims                10/9/2018 MR        $       390.00           0.4 Attention to strategy on correspondence with institutional lenders (.4)                                 $         156.00
          Administration &
          Objections
   Oct‐18 Claims               10/10/2018 AW        $       140.00           0.1 Attention to email from creditor (.1)                                                                   $           14.00
          Administration &
          Objections




                                                                                             13 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 15 of 191 PageID #:53799
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Oct‐18 Claims               10/10/2018 AW        $       140.00        0.1 attention to email regarding voicemail from creditor's counsel (.1).                                     $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/10/2018 AW        $       140.00          0.1 attention to voicemail from creditor (.1)                                                              $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/10/2018 AW        $       140.00          0.2 draft notice letter and serve on creditor (.2)                                                         $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/10/2018 KMP       $       140.00          0.4 Prepare draft notices and follow up notices for various creditors.                                     $           56.00
          Administration &
          Objections
   Oct‐18 Claims               10/10/2018 NM        $       260.00          0.1 Correspond with A. Watychowicz regarding a creditor.                                                   $           26.00
          Administration &
          Objections
   Oct‐18 Claims               10/11/2018 AW        $       140.00          0.2 ; communicate with N. Mirjanich and K. Duff regarding same (.2).                                       $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/11/2018 AW        $       140.00          0.2 Phone call with creditor's counsel (.2)                                                                $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/12/2018 AW        $       140.00          0.2 organize and file documentation received from creditor (.2).                                           $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/12/2018 KMP       $       140.00          0.1 review communications from creditor and confirm that notice was sent (.1).                             $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/12/2018 KMP       $       140.00          0.2 Update creditors list (.2)                                                                             $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/15/2018 ED        $       390.00          1.8 prepare outline of loan document provisions [re assignments of rents and leases] and memorandum $                702.00
          Administration &                                                      to Receiver and counsel regarding same (1.8)
          Objections
   Oct‐18 Claims               10/15/2018 KMP       $       140.00          0.3 Attention to communications from and verify transmittal of notices to certain creditors.               $           42.00
          Administration &
          Objections
   Oct‐18 Claims               10/15/2018 NM        $       260.00          0.2 Correspond with E. Duff regarding lender meeting and investor correspondence regarding investor.       $           52.00
          Administration &
          Objections
   Oct‐18 Claims               10/16/2018 AW        $       140.00          0.1 attention to email from new creditor and communicate with K. Pritchard regarding same (.1).            $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/16/2018 AW        $       140.00          0.1 attention to new link and download documents (.1)                                                      $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/16/2018 AW        $       140.00          0.1 Contact institutional lender regarding issue with access to provided link (.1)                         $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/16/2018 AW        $       140.00          0.1 follow‐up with institutional lender and E. Duff regarding same (.1)                                    $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/17/2018 AW        $       140.00          0.2 Meeting with N. Mirjanich regarding notice to creditor, revise notice and serve on creditor.           $           28.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 AW        $       140.00          0.1 attention to billing statement from institutional lender (.1)                                          $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 AW        $       140.00          0.1 email counsel regarding same (.1)                                                                      $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 AW        $       140.00          0.1 email K. Duff, et al regarding same (.1).                                                              $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/18/2018 AW        $       140.00          0.3 prepare notice of appointment for newly discovered creditor and serve via facsimile and email (.3)     $           42.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 AW        $       140.00          0.1 Communicate with K. Duff regarding emails from institutional lender.                                   $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 ED        $       390.00          0.2 review of rent rolls for mortgaged properties in preparation for calls with lenders and counsel (.2)   $           78.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 ED        $       390.00          0.3 review information regarding debt service requirements for mortgaged properties (.3).                  $         117.00
          Administration &
          Objections
   Oct‐18 Claims               10/19/2018 ED        $       390.00          0.6 Review and reply to correspondence and inquiries from lenders and counsel (.6)                         $         234.00
          Administration &
          Objections
   Oct‐18 Claims               10/21/2018 ED        $       390.00          0.4 review correspondence from lenders and counsel, update list of pending issues for followup (.4)        $         156.00
          Administration &
          Objections
   Oct‐18 Claims               10/22/2018 AEP       $       390.00          0.8 Research public records for existence and priority of unreleased mortgage liens.                       $         312.00
          Administration &
          Objections
   Oct‐18 Claims               10/23/2018 ED        $       390.00          0.4 Review correspondence and documents relating to mortgage loans encumbering properties in               $         156.00
          Administration &                                                      portfolio (.4)
          Objections
   Oct‐18 Claims               10/23/2018 MR        $       390.00            3 Research on issues relating to lender.                                                                 $        1,170.00
          Administration &
          Objections
   Oct‐18 Claims               10/24/2018 ED        $       390.00          0.5 confer with Receiver and property advisor regarding loan balances on mortgaged properties (.5).        $         195.00
          Administration &
          Objections




                                                                                           14 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 16 of 191 PageID #:53800
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                Task Cost
Month                                      Keeper        Rate
   Oct‐18 Claims               10/24/2018 MR        $       390.00        1.3 Work on draft motion relating to lender issue.                                                        $         507.00
          Administration &
          Objections
   Oct‐18 Claims               10/25/2018 AW        $      140.00           0.1 ; email counsel regarding same (.1).                                                                $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/25/2018 AW        $      140.00           0.1 Attention to institutional lender's motion to determine its rights (.1)                             $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/25/2018 MBA       $      390.00           0.2 Conference with E. Duff relating to lenders who have requested confirmation as to insurance         $           78.00
          Administration &                                                      coverage.
          Objections
   Oct‐18 Claims               10/26/2018 AW        $      140.00           0.1 ; attention to email from creditor and email Mirjanich regarding same (.1).                         $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/26/2018 AW        $      140.00           0.1 Attention to email from creditor (.1)                                                               $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/26/2018 ED        $      390.00           0.1 call to accountant regarding financial reporting to lenders (.1)                                    $           39.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 AEP       $      390.00             1 conferences with K. Duff and M. Rachlis regarding potential priority issue (1.0).                   $         390.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 AEP       $      390.00           4.1 Review list of EquityBuild properties and research title histories (4.1)                            $        1,599.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 AW        $      140.00           0.1 email K. Duff regarding same (.1).                                                                  $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 ED        $      390.00           0.3 confer with counsel to Receiver regarding insurance coverage questions from lenders' counsel (.3)   $         117.00
          Administration &
          Objections
   Oct‐18 Claims               10/29/2018 MBA       $      390.00           0.3 Conferences with E. Duff relating to inquiries from lenders seeking confirmation as existence of    $         117.00
          Administration &                                                      insurance coverage, including editing draft response to one lender.
          Objections
   Oct‐18 Claims               10/29/2018 NM        $      260.00           0.1 Correspond with A. Watychowicz regarding notice to creditor.                                        $           26.00
          Administration &
          Objections
   Oct‐18 Claims               10/30/2018 AEP       $      390.00           2.5 Research regarding continuing priority of mortgages.                                                $         975.00
          Administration &
          Objections
   Oct‐18 Claims               10/30/2018 AW        $      140.00           0.1 Communicate with E. Duff regarding closing statement received from institutional lender (.1)        $           14.00
          Administration &
          Objections
   Oct‐18 Claims               10/30/2018 NM        $      260.00           0.2 Correspond with A. Watychowicz regarding notice to creditor and revise same.                        $           52.00
          Administration &
          Objections
   Nov‐18 Asset Disposition     11/1/2018 KBD       $      390.00           0.3 office conference with N. Mirjanich regarding liquidation plan preparation and content (.3)         $         117.00

   Nov‐18 Asset Disposition     11/1/2018 KBD       $      390.00           0.3 Study broker portfolio analysis and comparison to alternative approaches (.3)                       $         117.00

   Nov‐18 Asset Disposition     11/2/2018 KBD       $      390.00           0.1 Study correspondence from broker regarding proposed revisions to property sale procedures.          $           39.00

   Nov‐18 Asset Disposition     11/5/2018 KBD       $      390.00           0.2 Telephone conference with asset management firm regarding sale procedures, priority of sales, and   $           78.00
                                                                                property repair cost.
   Nov‐18 Asset Disposition     11/6/2018 KBD       $      390.00           0.2 Office conference with N. Mirjanich regarding liquidation plan apprach timing, gathering            $           78.00
                                                                                information from broker, and ex parte considerations
   Nov‐18 Asset Disposition     11/7/2018 KBD       $      390.00           0.2 study correspondence from N. Mirjanich and asset manager regarding liquidation plan (.2).           $           78.00

   Nov‐18 Asset Disposition     11/8/2018 KBD       $      390.00           0.5 Study revised portfolio analysis (.5)                                                               $         195.00

   Nov‐18 Asset Disposition     11/8/2018 KBD       $      390.00           1.4 telephone conference with broker, M. Rachlis, A. Porter and N. Mirjanich regarding same and         $         546.00
                                                                                strategy (1.4)
   Nov‐18 Asset Disposition    11/11/2018 KBD       $      390.00           0.2 study revisions to draft liquidation plan (.2).                                                     $           78.00

   Nov‐18 Asset Disposition    11/12/2018 KBD       $      390.00           0.1 study motion for leave to file under seal (.1)                                                      $           39.00

   Nov‐18 Asset Disposition    11/12/2018 KBD       $      390.00           0.2 Study draft liquidation plan (.2)                                                                   $           78.00

   Nov‐18 Asset Disposition    11/13/2018 KBD       $      390.00           0.2 office conference with N. Mirjanich regarding same (.2)                                             $           78.00

   Nov‐18 Asset Disposition    11/13/2018 KBD       $      390.00           0.5 Study and revise draft liquidation plan (.5)                                                        $         195.00

   Nov‐18 Asset Disposition    11/14/2018 KBD       $      390.00           0.2 Study lender opposition to motion to present liquidation plan in camera (.2)                        $           78.00

   Nov‐18 Asset Disposition    11/14/2018 KBD       $      390.00           0.5 study revisions to liquidation plan and exchange correspondence with N. Mirjanich regarding same    $         195.00
                                                                                (.5).
   Nov‐18 Asset Disposition    11/15/2018 KBD       $      390.00           0.2 study lender objections to liquidation plan (.2)                                                    $           78.00

   Nov‐18 Asset Disposition    11/15/2018 KBD       $      390.00           0.4 telephone conference with and study correspondence from asset manager and broker regarding          $         156.00
                                                                                same and sale planning (.4)
   Nov‐18 Asset Disposition    11/15/2018 KBD       $      390.00           0.5 Study revised draft liquidation plan and various correspondence regarding same (.5)                 $         195.00

   Nov‐18 Asset Disposition    11/16/2018 KBD       $      390.00           0.1 study correspondence from city official and Mirjanich regarding liquidation plan and request for    $           39.00
                                                                                meeting (.1)
   Nov‐18 Asset Disposition    11/16/2018 KBD       $      390.00           0.3 study revised liquidation plan and review correspondence from N. Mirjanich regarding same (.3)      $         117.00

   Nov‐18 Asset Disposition    11/16/2018 KBD       $      390.00           0.4 telephone conference with M. Rachlis and broker representatives regarding same (.4)                 $         156.00

   Nov‐18 Asset Disposition    11/16/2018 KBD       $      390.00           0.6 Telephone conference with broker representatives, M. Rachlis, and N. Mirjanich regarding draft      $         234.00
                                                                                liquidation plan and confidentiality considerations (.6)
   Nov‐18 Asset Disposition    11/16/2018 KBD       $      390.00             1 appear before Judge Kim for hearing on motions to approve sale procedures and file liquidation plan $         390.00
                                                                                (1.0)




                                                                                           15 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 17 of 191 PageID #:53801
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                              Task Description                                              Task Cost
Month                                       Keeper        Rate
   Nov‐18 Asset Disposition    11/17/2018 KBD        $       390.00        0.2 Study potential offers for assets.                                                                     $           78.00

   Nov‐18 Asset Disposition    11/18/2018 KBD        $       390.00          0.3 Study revised liquidation plan and review correspondence from M. Rachlis regarding same.             $         117.00

   Nov‐18 Asset Disposition    11/19/2018 KBD        $       390.00          0.1 study correspondence and revisions from E. Duff (.1).                                                $           39.00

   Nov‐18 Asset Disposition    11/19/2018 KBD        $       390.00          0.4 Study and revise liquidation plan (.4)                                                               $         156.00

   Nov‐18 Asset Disposition    11/20/2018 KBD        $       390.00          0.1 exchange correspondence with real estate broker regarding inclusion of marketing costs within        $           39.00
                                                                                 commission structure (.1).
   Nov‐18 Asset Disposition    11/20/2018 KBD        $       390.00          0.2 Office conference with and study correspondence from N. Mirjanich and M. Rachlis regarding           $           78.00
                                                                                 revised draft liquidation plan (.2)
   Nov‐18 Asset Disposition    11/21/2018 KBD        $       390.00          0.1 study correspondence from E. Duff regarding revisions to liquidation plan (.1)                       $           39.00

   Nov‐18 Asset Disposition    11/21/2018 KBD        $       390.00          0.2 study liquidation plan (.2)                                                                          $           78.00

   Nov‐18 Asset Disposition    11/26/2018 KBD        $       390.00          0.5 Study revised draft liquidation plan and telephone conference with N. Mirjanich regarding same (.5) $          195.00

   Nov‐18 Asset Disposition    11/30/2018 KBD        $       390.00          0.1 Exchange correspondence with buyer's representative regarding potential interest in properties for   $           39.00
                                                                                 sale ( .1)
   Nov‐18 Asset Disposition    11/30/2018 KBD        $       390.00          0.1 exchange correspondence with real estate broker regarding agent of potentially interested buyer      $           39.00
                                                                                 (.1)
   Nov‐18 Asset Disposition    11/30/2018 KBD        $       390.00          0.1 telephone conference with potential buyer regarding interest in properties and exchange              $           39.00
                                                                                 correspondence with real estate broker regarding same (.1).
   Nov‐18 Business              11/1/2018 KBD        $       390.00          0.1 study correspondence regarding potential property manager (.1)                                       $           39.00
          Operations
   Nov‐18 Business              11/1/2018 KBD        $       390.00          0.2 study correspondence from M. Adler and A. Porter regarding reconciliation of insurance schedule      $           78.00
          Operations                                                             information (.2).
   Nov‐18 Business              11/2/2018 KBD        $       390.00          0.1 Study correspondence from asset manager regarding lender communication and property                  $           39.00
          Operations                                                             management (.1)
   Nov‐18 Business              11/7/2018 KBD        $       390.00          0.8 office conference with M. Rachlis and N. Mirjanich regarding motion to approve public sale, motion   $         312.00
          Operations                                                             regarding liquidation plan, motion to amend order appointing receiver, motion regarding potential
                                                                                 abandonment of property, motion regarding lender issue, and issue relative to corporate entities
                                                                                 (.8)
   Nov‐18 Business              11/9/2018 KBD        $       390.00          0.1 study correspondence from E. Duff and property managers regarding profit and loss reporting for      $           39.00
          Operations                                                             lender properties ( .1)
   Nov‐18 Business              11/9/2018 KBD        $       390.00          0.1 study correspondence from M. Rachlis and asset manager regarding potential use of lender reserves    $           39.00
          Operations                                                             (.1)
   Nov‐18 Business             11/16/2018 KBD        $       390.00          0.2 attention to payment of property insurance and communication with bank regarding wire                $           78.00
          Operations                                                             transfer(.2)
   Nov‐18 Business             11/18/2018 KBD        $       390.00          0.3 Exchange correspondence with A. Porter and M. Rachlis regarding mortgage release issue [and study    $         117.00
          Operations                                                             legal research regarding same] (.3)
   Nov‐18 Business             11/20/2018 KBD        $       390.00          0.1 review mortgage company statement and exchange correspondence with E. Duff regarding same            $           39.00
          Operations                                                             (.1)
   Nov‐18 Business             11/20/2018 KBD        $       390.00          0.2 study past property net operating income figures and exchange correspondence with asset manager      $           78.00
          Operations                                                             regarding same (.2)
   Nov‐18 Business             11/21/2018 KBD        $       390.00          0.1 office conference with N. Mirjanich regarding lender communications (.1)                             $           39.00
          Operations
   Nov‐18 Business             11/21/2018 KBD        $       390.00          0.1 study correspondence from property manager representative regarding tax issues of properties (.1)    $           39.00
          Operations
   Nov‐18 Business             11/21/2018 KBD        $       390.00          0.2 study correspondence from A Porter regarding corporate ownership and structure for receivership      $           78.00
          Operations                                                             entities (.2).
   Nov‐18 Business             11/21/2018 KBD        $       390.00          0.4 study servicing agreement and draft correspondence to M. Rachlis regarding same (.4)                 $         156.00
          Operations
   Nov‐18 Business             11/26/2018 KBD        $       390.00          0.3 exchange correspondence with K. Pritchard and bank representative and further telephone              $         117.00
          Operations                                                             conference with bank representative regarding payment of property insurance (.3)
   Nov‐18 Business             11/30/2018 KBD        $       390.00          0.1 telephone conference with real estate firm representative regarding potential sales, property        $           39.00
          Operations                                                             management, and construction services (.1)
   Nov‐18 Business             11/30/2018 KBD        $       390.00          0.2 study correspondence to and telephone conference with bank representative regarding wire             $           78.00
          Operations                                                             transfer for insurance payments (.2)
   Nov‐18 Business             11/30/2018 KBD        $       390.00          0.3 exchange correspondence with employee and A. Watychowicz regarding transactional records             $         117.00
          Operations                                                             relating to loans (.3)
   Nov‐18 Claims                11/1/2018 KBD        $       390.00          0.1 exchange correspondence with M. Rachlis, E. Duff, and asset manager regarding same (.1).             $           39.00
          Administration &
          Objections
   Nov‐18 Claims                11/1/2018 KBD        $       390.00          0.1 study correspondence from lender's counsel relating to various loan related issues and               $           39.00
          Administration &                                                       communicate E. Duff regarding same (.1)
          Objections
   Nov‐18 Claims                11/2/2018 KBD        $       390.00          0.3 draft correspondence to N. Mirjanich regarding claims process and timing (.3)                        $         117.00
          Administration &
          Objections
   Nov‐18 Claims                11/2/2018 KBD        $       390.00          0.5 Analysis of potential claims process, claim form, and related issues (.5)                            $         195.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 KBD        $       390.00          0.1 study correspondence from counsel for investor lender regarding loan and rents (.1)                  $           39.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 KBD        $       390.00          0.2 study correspondence from M. Rachlis regarding various lender issues relating to reserves and        $           78.00
          Administration &                                                       disposition timing (.2).
          Objections
   Nov‐18 Claims                11/9/2018 KBD        $       390.00          0.1 Review creditor voice message and exchange correspondence with A. Watychowicz regarding same. $                  39.00
          Administration &
          Objections
   Nov‐18 Claims               11/12/2018 KBD        $       390.00          0.2 study correspondence from E. Duff and M. Rachlis regarding priority, providing information to        $           78.00
          Administration &                                                       lenders, and timing for property sales (.2).
          Objections
   Nov‐18 Claims               11/13/2018 KBD        $       390.00          0.2 study correspondence from K. Pritchard and potential claims vendor regarding claims processing       $           78.00
          Administration &                                                       services (.2)
          Objections
   Nov‐18 Claims               11/14/2018 KBD        $       390.00          0.1 exchange correspondence with M. Rachlis regarding objections to motions and court                    $           39.00
          Administration &                                                       communications (.1)
          Objections
   Nov‐18 Claims               11/14/2018 KBD        $       390.00          0.1 review correspondence from E. Duff regarding lender payoff letter and communications (.1)            $           39.00
          Administration &
          Objections




                                                                                            16 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 18 of 191 PageID #:53802
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Nov‐18 Claims               11/14/2018 KBD        $       390.00        0.2 study correspondence from M. Rachlis and asset manager regarding lender issue (.2)                      $           78.00
          Administration &
          Objections
   Nov‐18 Claims               11/27/2018 KBD        $      390.00           0.1 Exchange correspondence with M. Rachlis regarding follow up communications with lender's              $           39.00
          Administration &                                                       counsel regarding rent collections (.1)
          Objections
   Nov‐18 Claims               11/27/2018 KBD        $      390.00           0.1 study correspondence from lender's counsel regarding expenses inquiry and exchange                    $           39.00
          Administration &                                                       correspondence with M. Rachlis and E. Duff regarding same (.1)
          Objections
   Nov‐18 Claims               11/29/2018 KBD        $      390.00           0.1 study motion for leave to file objections to liquidation plan (.1).                                   $           39.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 KBD        $      390.00           0.2 study correspondence from E. Duff regarding inquiries from lender's counsel regarding property        $           78.00
          Administration &                                                       manager financial reporting (.2)
          Objections
   Nov‐18 Claims               11/29/2018 KBD        $      390.00           0.3 telephone conference with A. Porter regarding analysis of lender priority claims issues (.3)          $         117.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 KBD        $      390.00           0.4 Office conference with M. Rachlis regarding distribution analysis and potential methodologies (.4)    $         156.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 KBD        $      390.00           0.1 study correspondence from lender's counsel regarding property management information (.1).            $           39.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 KBD        $      390.00           0.1 study lender motion for leave to file objections to liquidation plan (.1)                             $           39.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 KBD        $      390.00           0.3 Office conference with M. Rachlis regarding framework for claims analysis and potential distribution $          117.00
          Administration &                                                       methodologies (.3)
          Objections
   Nov‐18 Claims               11/30/2018 KBD        $      390.00           0.4 office conference with M. Rachlis regarding analysis of lender legal positions and potential          $         156.00
          Administration &                                                       resolutions (.4)
          Objections
   Nov‐18 Asset Disposition     11/1/2018 NM         $      260.00           0.1 Correspond with A Watychowicz regarding disposition of properties identified by the real estate       $           26.00
                                                                                 broker.
   Nov‐18 Asset Disposition     11/5/2018 NM         $      260.00           3.8 Draft the liquidation plan.                                                                           $         988.00

   Nov‐18 Asset Disposition     11/6/2018 NM         $      260.00           0.4 correspond with K. Duff regarding liquidation plan, additional potential motion, motion for public    $         104.00
                                                                                 sale, and priority and filing of same (.4).
   Nov‐18 Asset Disposition     11/6/2018 NM         $      260.00           1.4 Draft and revise distribution plan and motion to file same under seal (1.4)                           $         364.00

   Nov‐18 Asset Disposition     11/7/2018 MR         $      390.00           0.6 Conferences regarding various issues regarding asset disposition and motions regarding same (.6)      $         234.00

   Nov‐18 Asset Disposition     11/7/2018 NM         $      260.00           1.5 Draft and revise liquidation plan and motion to file same under seal (1.5)                            $         390.00

   Nov‐18 Asset Disposition     11/8/2018 AEP        $      390.00           0.8 Teleconference with receivership team and broker advisors regarding current strategy for tranching    $         312.00
                                                                                 and selling properties and debt service issues.
   Nov‐18 Asset Disposition     11/8/2018 MR         $      390.00           1.4 Participate in call with real estate broker on disposition related issues.                            $         546.00

   Nov‐18 Asset Disposition     11/8/2018 NM         $      260.00             1 draft and revise liquidation plan and motion to file same under seal and correspond with K. Duff      $         260.00
                                                                                 regarding same (1.0)
   Nov‐18 Asset Disposition     11/8/2018 NM         $      260.00           1.6 telephone conference with K. Duff, M. Rachlis, A Porter, and real estate broker regarding portfolio   $         416.00
                                                                                 liquidation and updates to same (1.6)
   Nov‐18 Asset Disposition     11/9/2018 MR         $      390.00             1 Work on liquidation plan related issues and motion on same (1.0)                                      $         390.00

   Nov‐18 Asset Disposition     11/9/2018 NM         $      260.00           0.2 correspond with K. Duff regarding same (.2)                                                           $           52.00

   Nov‐18 Asset Disposition     11/9/2018 NM         $      260.00           4.2 Draft and revise liquidation plan (4.2)                                                               $        1,092.00

   Nov‐18 Asset Disposition    11/11/2018 MR         $      390.00           1.3 Review and comment regarding issues and items for liquidation plan.                                   $         507.00

   Nov‐18 Asset Disposition    11/12/2018 MR         $      390.00           0.5 Attention to issues related to liquidation plan (.5)                                                  $         195.00

   Nov‐18 Asset Disposition    11/12/2018 NM         $      260.00           5.5 Draft and revise motion for public sale and for in camera liquidation plan, draft and revise          $        1,430.00
                                                                                 liquidation plan, study comments from M. Rachlis and K. Duff on same and correspond with real
                                                                                 estate broker, property managers, E. Duff, and A. Watychowicz regarding same.

   Nov‐18 Asset Disposition    11/14/2018 AEP        $      390.00           2.4 Study and revise draft liquidation plan.                                                              $         936.00

   Nov‐18 Asset Disposition    11/14/2018 ED         $      390.00           0.6 confer with counsel for Receiver regarding same (.6).                                                 $         234.00

   Nov‐18 Asset Disposition    11/14/2018 ED         $      390.00           1.3 Review and comment on draft of Receiver's liquidation plan (1.3)                                      $         507.00

   Nov‐18 Asset Disposition    11/14/2018 NM         $      260.00           1.5 Study liquidation plan, study comments from E. Duff and A. Porter on same, and correspond with K.     $         390.00
                                                                                 Duff on same.
   Nov‐18 Asset Disposition    11/15/2018 AW         $      140.00           0.1 Attention to financial reports from management company (.1)                                           $           14.00

   Nov‐18 Asset Disposition    11/15/2018 AW         $      140.00           0.2 download reports and share same with broker (.2).                                                     $           28.00

   Nov‐18 Asset Disposition    11/15/2018 MR         $      390.00           1.4 Conferences on liquidation plan.                                                                      $         546.00

   Nov‐18 Asset Disposition    11/15/2018 NM         $      260.00           0.2 study correspondence and offering memoranda from broker (.2).                                         $           52.00

   Nov‐18 Asset Disposition    11/15/2018 NM         $      260.00           1.1 correspond with M. Rachlis and K. Duff regarding same (1.1)                                           $         286.00

   Nov‐18 Asset Disposition    11/15/2018 NM         $      260.00           2.3 Revise liquidation plan and proposed redactions for same (2.3)                                        $         598.00

   Nov‐18 Asset Disposition    11/16/2018 AW         $      140.00           0.2 update electronic records for broker (.2)                                                             $           28.00

   Nov‐18 Asset Disposition    11/16/2018 MR         $      390.00           0.8 conferences regarding liquidation plan (.8).                                                          $         312.00

   Nov‐18 Asset Disposition    11/16/2018 NM         $      260.00           0.4 correspond with M. Rachlis and E. Duff regarding same and revisions to liquidation plan following     $         104.00
                                                                                 Court order and directive (.4).
   Nov‐18 Asset Disposition    11/16/2018 NM         $      260.00           0.4 Revise liquidation plan (.4)                                                                          $         104.00




                                                                                            17 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 19 of 191 PageID #:53803
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Nov‐18 Asset Disposition    11/16/2018 NM        $       260.00        0.9 telephone conference with real estate broker, M. Rachlis, and K. Duff regarding same and further         $          234.00
                                                                              correspond with M. Rachlis and K. Duff regarding same and revisions to liquidation plan (.9)

   Nov‐18 Asset Disposition    11/17/2018 MR        $      390.00           0.7 Further review and work on liquidation plan.                                                           $          273.00

   Nov‐18 Asset Disposition    11/19/2018 AW        $      140.00           0.1 Compile purchase offers for K. Duff.                                                                   $            14.00

   Nov‐18 Asset Disposition    11/19/2018 MR        $      390.00           1.7 Meetings on upcoming assignments and related issues on motions and other aspects of recovery           $          663.00
                                                                                and disposition related items.
   Nov‐18 Asset Disposition    11/19/2018 NM        $      260.00           0.3 Study comments on liquidation plan and correspond with K. Duff regarding same.                         $            78.00

   Nov‐18 Asset Disposition    11/20/2018 MR        $      390.00           0.4 Comment and follow up on liquidation plan related issues.                                              $          156.00

   Nov‐18 Asset Disposition    11/20/2018 NM        $      260.00             2 Revise liquidation plan with comments from E. Duff and K. Duff and correspond with same and with       $          520.00
                                                                                M. Rachlis on same (2.0)
   Nov‐18 Asset Disposition    11/21/2018 ED        $      390.00           0.3 confer with N. Mirjanich regarding same (.3).                                                          $          117.00

   Nov‐18 Asset Disposition    11/21/2018 ED        $      390.00           0.6 Review draft of Receiver's Liquidation Plan (.6)                                                       $          234.00

   Nov‐18 Asset Disposition    11/21/2018 KMP       $      140.00           0.1 conferences with A. Watychowicz regarding anticipated filing of same (.1).                             $            14.00

   Nov‐18 Asset Disposition    11/21/2018 KMP       $      140.00           0.2 Review draft liquidation plan and communication with N. Mirjanich regarding receivership estate        $            28.00
                                                                                funds (.2)
   Nov‐18 Asset Disposition    11/21/2018 MR        $      390.00           0.4 Further review and comment on liquidation plan issues.                                                 $          156.00

   Nov‐18 Asset Disposition    11/21/2018 NM        $      260.00           0.8 Revise liquidation plan and correspond with E. Duff and K. Duff regarding same (.8)                    $          208.00

   Nov‐18 Asset Disposition    11/26/2018 AW        $      140.00           0.1 Communicate with M. Rachlis and N. Mirjanich regarding liquidation plan (.1)                           $            14.00

   Nov‐18 Asset Disposition    11/26/2018 AW        $      140.00           0.1 request revisions from K. Pritchard (.1)                                                               $            14.00

   Nov‐18 Asset Disposition    11/26/2018 AW        $      140.00           0.2 file redacted liquidation plan (.2).                                                                   $            28.00

   Nov‐18 Asset Disposition    11/26/2018 AW        $      140.00           0.3 proofread liquidation plan (.3)                                                                        $            42.00

   Nov‐18 Asset Disposition    11/26/2018 AW        $      140.00           0.5 finalize liquidation plan, apply requested redactions, and prepare liquidation plan with Highly        $            70.00
                                                                                Confidential designation (.5)
   Nov‐18 Asset Disposition    11/26/2018 MR        $      390.00           0.8 Conferences and follow up regarding issues on liquidation plan (.8)                                    $          312.00

   Nov‐18 Asset Disposition    11/27/2018 KMP       $      140.00           0.2 Conferences with N. Mirjanich regarding placement of advertisements for public sale of certain         $            28.00
                                                                                properties and make arrangements for payment in connection with same.
   Nov‐18 Asset Disposition    11/27/2018 NM        $      260.00           0.1 correspond with E. Duff regarding service of unredacted plan on lenders' counsel (.1)                  $            26.00

   Nov‐18 Asset Disposition    11/27/2018 NM        $      260.00           0.2 Draft cover letter for Judge Lee for unredacted liquidation plan and correspond with A. Watychowicz $               52.00
                                                                                regarding same (.2)
   Nov‐18 Asset Disposition    11/29/2018 MR        $      390.00           0.3 Attention to motions challenging liquidation plan (.3)                                              $             117.00

   Nov‐18 Asset Disposition    11/30/2018 AEP       $      390.00           0.4 Teleconference with receivership brokers regarding recently received offers to purchase portfolio       $         156.00
                                                                                and other pressing issues.
   Nov‐18 Business              11/1/2018 MBA       $      390.00           1.5 Insurance‐related emails with broker, and internal emails and conferences with A. Porter, E. Duff,      $         585.00
          Operations                                                            and N. Mirjanich relating to reconciling schedules of insured premises with internal list of properties
                                                                                owned by the Receivership Estate, confirming to lenders that properties are insured, and responding
                                                                                to inquiry directed to broker from ostensible lender seeking access to insurance documents for
                                                                                premises previously owned by EquityBuild, before Receivership imposed.

   Nov‐18 Business              11/1/2018 NM        $      260.00           0.8 Study and respond to outstanding email correspondence relating to documents from investors,            $          208.00
          Operations                                                            creditor correspondence, bank records from the SEC, insurance broker and properties (.8)

   Nov‐18 Business              11/2/2018 AEP       $      390.00           0.2 Respond to insurance agent inquiries regarding properties contained in EquityBuild portfolio.          $            78.00
          Operations
   Nov‐18 Business              11/2/2018 ED        $      390.00           0.6 review financial reporting information and follow up on requests (.6).                                 $          234.00
          Operations
   Nov‐18 Business              11/2/2018 MBA       $      390.00           0.2 Email exchanges with insurance broker and A Porter relating to reconciling discrepancies between       $            78.00
          Operations                                                            schedules of insured premises under CGL and Property policies, and with schedule of Receivership
                                                                                properties. Business Operations
   Nov‐18 Business              11/5/2018 KMP       $      140.00           0.2 Review payment schedule for premium finance agreement and conference with K. Duff regarding            $            28.00
          Operations                                                            same. Business Operations
   Nov‐18 Business              11/7/2018 ED        $      390.00           0.1 confer with Receiver regarding lender disbursements (.1)                                               $            39.00
          Operations
   Nov‐18 Business              11/7/2018 ED        $      390.00           0.9 email correspondence with lender and property managers regarding same (.9).                            $          351.00
          Operations
   Nov‐18 Business              11/7/2018 NM        $      260.00           0.2 Study and respond to outstanding emails relating to creditors and in EB account (.2)                   $            52.00
          Operations
   Nov‐18 Business             11/14/2018 NM        $      260.00           1.5 Study and respond to outstanding emails, including those relating to motions and briefs filed today,   $          390.00
          Operations                                                            objections to redaction and sale motion up tomorrow, marketing materials from real estate broker,
                                                                                and outstanding City litigation (1.5);
   Nov‐18 Business             11/16/2018 AEP       $      390.00           0.4 Reconcile discrepancies between master list of receivership properties with schedule of properties     $          156.00
          Operations                                                            being insured (.4)
   Nov‐18 Business             11/16/2018 MBA       $      390.00           0.2 conference with K. Duff relating to same, including determining whether premises are Receivership      $            78.00
          Operations                                                            assets (.2)
   Nov‐18 Business             11/16/2018 MBA       $      390.00           0.2 Email exchange with insurance broker regarding expiring CGL (.2)                                       $            78.00
          Operations
   Nov‐18 Business             11/16/2018 MBA       $      390.00           0.2 follow‐up phone call with him regarding same, including identifying nature of premises insured (.2)    $            78.00
          Operations
   Nov‐18 Business             11/16/2018 MBA       $      390.00           0.3 compare own copies of insurance schedules and of receivership property portfolios to try to address $             117.00
          Operations                                                            questions from broker (.3)
   Nov‐18 Business             11/16/2018 MBA       $      390.00           0.6 email exchanges with A. Porter seeking confirmation as to same as well as general project to identify $           234.00
          Operations                                                            and reconcile any discrepancies on receivership records of portfolio and insurance schedules (.6).

   Nov‐18 Business             11/16/2018 NM        $      260.00           0.5 Study and respond to outstanding emails relating to ownership of property, property tax appeals,       $          130.00
          Operations                                                            and financials for lenders in EB account (.5)
   Nov‐18 Business             11/20/2018 AEP       $      390.00           2.1 Research into current status of unpaid property tax bills and anticipated first installment 2018       $          819.00
          Operations                                                            liability.
   Nov‐18 Business             11/21/2018 NM        $      260.00           0.2 Study and respond to outstanding emails relating to lender communications, property tax appeals,       $            52.00
          Operations                                                            entity information, and in the EB account (.2)




                                                                                           18 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 20 of 191 PageID #:53804
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Nov‐18 Business             11/26/2018 KMP       $       140.00        0.2 Prepare wire transfer request form for insurance installment payment and communicate with K.             $            28.00
          Operations                                                          Duff regarding same (.2)
   Nov‐18 Business             11/27/2018 AW        $       140.00        0.1 attention to email exchanges between K. Duff and EquityBuild employee regarding same (.1).               $            14.00
          Operations
   Nov‐18 Business             11/27/2018 AW        $      140.00          0.1 confer with K. Duff regarding lender statement of accounts (.1)                                         $            14.00
          Operations
   Nov‐18 Business             11/27/2018 AW        $      140.00          0.1 confer with N. Mirjanich and K. Duff regarding same (.1)                                                $            14.00
          Operations
   Nov‐18 Business             11/27/2018 AW        $      140.00          0.1 follow up with N. Mirjanich regarding same (.1)                                                         $            14.00
          Operations
   Nov‐18 Business             11/27/2018 AW        $      140.00          0.2 research regarding same (.2)                                                                            $            28.00
          Operations
   Nov‐18 Business             11/30/2018 NM        $      260.00          0.5 Study outstanding emails relating to EB records and correspondence with former EB counsel on            $          130.00
          Operations                                                           same, creditors and invoices from the same, email correspondence in the EB email account (.5)

   Nov‐18 Claims                11/1/2018 AW        $      140.00          0.1 Attention to voicemail from counsel for creditor real estate market analysis provider (.1)              $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/1/2018 AW        $      140.00          0.2 communicate with N. Mirjanich regarding same and need to follow‐up on Monday (.2).                      $            28.00
          Administration &
          Objections
   Nov‐18 Claims                11/1/2018 ED        $      390.00          0.2 confer with Receiver regarding funds received from lender (.2).                                         $            78.00
          Administration &
          Objections
   Nov‐18 Claims                11/1/2018 NM        $      260.00          0.1 Correspond with A. Watychowicz regarding creditor (.1)                                                  $            26.00
          Administration &
          Objections
   Nov‐18 Claims                11/2/2018 KMP       $      140.00          0.2 Conference with K. Duff regarding planning for claims form distribution and information gathering       $            28.00
          Administration &                                                     (.2)
          Objections
   Nov‐18 Claims                11/5/2018 AW        $      140.00          0.1 attention to email from N. Mirjanich regarding motion filed by institutional lender (.1).               $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/5/2018 AW        $      140.00          0.1 respond to creditor's email requesting legal documentation (.1)                                         $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/6/2018 ED        $      390.00          0.3 review and revise draft of Receiver's Opposition to motion and confer with M. Rachlis regarding         $          117.00
          Administration &                                                     same (.3)
          Objections
   Nov‐18 Claims                11/6/2018 NM        $      260.00          0.1 Exchange correspondence with attorneys for creditor (.1)                                                $            26.00
          Administration &
          Objections
   Nov‐18 Claims                11/7/2018 AW        $      140.00          0.1 Attention to email from new creditor (.1)                                                               $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/7/2018 AW        $      140.00          0.1 communicate with N. Mirjanich regarding same (.1)                                                       $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 AW        $      140.00          0.1 attention to email exchange between K. Duff and N. Mirjanich regarding same (.1)                        $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 AW        $      140.00          0.1 attention to email from collection firm (.1)                                                            $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 AW        $      140.00          0.1 Attention to email from creditor (.1)                                                                   $            14.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 AW        $      140.00          1.3 meeting with N. Mirjanich and responses to creditors who received notice but requested additional       $          182.00
          Administration &                                                     documentation or further explanation and send email responses (1.3).
          Objections
   Nov‐18 Claims                11/8/2018 KMP       $      140.00          0.2 Conferences with A Watychowicz regarding notices to potential creditors (.2)                            $            28.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 KMP       $      140.00          0.3 prepare notices and transmittals in connection with same (.3).                                          $            42.00
          Administration &
          Objections
   Nov‐18 Claims                11/8/2018 NM        $      260.00          1.4 Correspond with A Watychowicz regarding correspondence to creditors and draft same.                     $          364.00
          Administration &
          Objections
   Nov‐18 Claims               11/12/2018 AW        $      140.00          0.1 Attention to email from creditor regarding outstanding balance.                                         $            14.00
          Administration &
          Objections
   Nov‐18 Claims               11/13/2018 AW        $      140.00          0.1 attention to motion filed by institutional lender requesting additional pages and filings following (.1) $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/13/2018 AW        $      140.00          0.9 meeting with K. Pritchard and N. Mirjanich regarding claims process (.9).                               $          126.00
          Administration &
          Objections
   Nov‐18 Claims               11/13/2018 KMP       $      140.00          0.1 email vendor representatives inquiring as to level and cost of assistance vendor can provide (.1).      $            14.00
          Administration &
          Objections
   Nov‐18 Claims               11/13/2018 KMP       $      140.00          1.3 Participate in meeting with N. Mirjanich and A Watychowicz regarding proposed schedule, forms           $          182.00
          Administration &                                                     and procedures for, and various other issues in connection with claims process (1.3)
          Objections
   Nov‐18 Claims               11/13/2018 MR        $      390.00            5 Work on various drafts of motions, liquidation plan and response to lender's motion, and follow up      $         1,950.00
          Administration &                                                     regarding same.
          Objections
   Nov‐18 Claims               11/13/2018 NM        $      260.00          0.1 Correspond with K. Duff regarding claims process (.1)                                                   $            26.00
          Administration &
          Objections
   Nov‐18 Claims               11/13/2018 NM        $      260.00          0.2 draft and revise motion to approve claims (.2).                                                         $            52.00
          Administration &
          Objections




                                                                                          19 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 21 of 191 PageID #:53805
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Nov‐18 Claims               11/13/2018 NM        $       260.00          1 correspond with A Watychowicz and K. Pritchard regarding claims process and logistics for                $         260.00
          Administration &                                                    administering same (1.0)
          Objections
   Nov‐18 Claims               11/14/2018 AW        $      140.00           0.1 attention to email regarding same (.1)                                                                 $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/14/2018 AW        $      140.00           0.1 communicate with E. Duff regarding revisions to objection (.1).                                        $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/14/2018 AW        $      140.00           0.1 Communicate with K. Pritchard regarding affidavit in support of objection to institutional lender's    $           14.00
          Administration &                                                      motion (.1)
          Objections
   Nov‐18 Claims               11/14/2018 MR        $      390.00           0.6 and various conferences regarding same (.6).                                                           $         234.00
          Administration &
          Objections
   Nov‐18 Claims               11/14/2018 MR        $      390.00           1.8 review various objections on pending motions to issues on upcoming hearing and follow up on            $         702.00
          Administration &                                                      various emails regarding same (1.8)
          Objections
   Nov‐18 Claims               11/14/2018 NM        $      260.00           3.8 Draft and revise motion for claim process, claims form, notice for same, K. Duff affidavit for same,   $         988.00
          Administration &                                                      and correspond with K. Duff on same.
          Objections
   Nov‐18 Claims               11/15/2018 AW        $      140.00           0.1 attention to draft response to motion filed by institutional lender and affidavit (.1)                 $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/15/2018 AW        $      140.00           0.2 attention to objections to Receiver's motion filed by institutional lenders (.2)                       $           28.00
          Administration &
          Objections
   Nov‐18 Claims               11/15/2018 KMP       $      140.00           0.7 Telephone conference with vendor representative and N. Mirjanich regarding ancillary services       $              98.00
          Administration &                                                      offered by vendor in connection with claims process for receivership, and follow up conference with
          Objections                                                            N. Mirjanich regarding same (.7)
   Nov‐18 Claims               11/15/2018 NM        $      260.00           0.4 telephone conference with claims vendor and K. Pritchard regarding claims process (.4).             $            104.00
          Administration &
          Objections
   Nov‐18 Claims               11/15/2018 NM        $      260.00           1.5 Draft and revise claims motion, claims form, and notice form and research for same (1.5)               $         390.00
          Administration &
          Objections
   Nov‐18 Claims               11/16/2018 AW        $      140.00           0.1 Attention to emails from and regarding creditors (.1)                                                  $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/16/2018 KMP       $      140.00           0.3 Prepare notice letter and transmittals to creditor and communication with N. Mirjanich regarding       $           42.00
          Administration &                                                      same.
          Objections
   Nov‐18 Claims               11/19/2018 AW        $      140.00           0.1 ; email counsel regarding same (.1).                                                                   $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/19/2018 AW        $      140.00           0.1 Attention to supplemental statement filed by institutional lender (.1)                                 $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/20/2018 AW        $      140.00           0.1 attention to invoice from institutional lender and email K. Duff and E. Duff regarding same (.1).      $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/20/2018 KMP       $      140.00           0.2 conference with N. Mirjanich regarding issues relating to claims process and motion for approval of    $           28.00
          Administration &                                                      same (.2).
          Objections
   Nov‐18 Claims               11/20/2018 MR        $      390.00           1.2 attention to communications with opposing counsel in effort to reach resolution, conferences           $         468.00
          Administration &                                                      regardingstrategy and issues regarding same (1.2)
          Objections
   Nov‐18 Claims               11/21/2018 AW        $      140.00           0.1 Attention to email exchanges regarding creditor.                                                       $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/21/2018 ED        $      390.00           0.1 Confer with Receiver regarding documentation received from lenders.                                    $           39.00
          Administration &
          Objections
   Nov‐18 Claims               11/27/2018 AW        $      140.00           0.1 attention to email from creditor (.1)                                                                  $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/27/2018 AW        $      140.00           0.1 attention to email from legal team for creditor, attention to email from creditor (.1)                 $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/27/2018 AW        $      140.00           0.1 re‐sent notice of receivership to same (.1)                                                            $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 AW        $      140.00           0.1 attention to correspondence from creditor (.1)                                                         $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 AW        $      140.00           0.1 attention to further email exchanges between K. Duff and EquityBuild employee regarding same (.1) $                14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 AW        $      140.00           0.1 Confer with K. Duff regarding lender statement of accounts (.1)                                        $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 AW        $      140.00           0.1 confer with N. Mirjanich regarding response to creditor (.1).                                          $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 AW        $      140.00           0.1 follow up with N. Mirjanich regarding same (.1)                                                        $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/28/2018 KMP       $      140.00           0.1 Communications with N. Mirjanich and vendor representative regarding status of fee proposal for        $           14.00
          Administration &                                                      administration of electronic claims process (.1)
          Objections
   Nov‐18 Claims               11/28/2018 KMP       $      140.00           0.2 communications with K. Duff and accountant regarding preparation of lender statements of account $                 28.00
          Administration &                                                      (.2).
          Objections




                                                                                           20 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 22 of 191 PageID #:53806
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                               Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Nov‐18 Claims               11/28/2018 KMP       $       140.00        0.2 update creditor claims list (.2)                                                                           $           28.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 AW        $       140.00          0.1 Attention to email from creditor's legal department (.1)                                                 $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 AW        $       140.00          0.1 attention to motion filed by institutional lenders opposing liquidation plan (.1)                        $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 AW        $       140.00          0.1 email counsel regarding same (.1).                                                                       $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 MR        $       390.00          0.1 conferences with E. Duff regarding inspection requests from lenders (.1)                                 $           39.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 MR        $       390.00          0.3 conferences regarding creditors (.3)                                                                     $         117.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 MR        $       390.00          0.9 conferences on issues regarding distribution (.9).                                                       $         351.00
          Administration &
          Objections
   Nov‐18 Claims               11/29/2018 SZ        $       110.00          0.5 Correspondence to EquityBuild creditor.                                                                  $           55.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 AW        $       140.00          0.1 attention to creditor's motion for leave to file response to Receiver's liquidation Plan (.1).           $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 AW        $       140.00          0.1 Attention to email from creditor (.1)                                                                    $           14.00
          Administration &
          Objections
   Nov‐18 Claims               11/30/2018 KMP       $       140.00          0.2 Communications with vendor representatives regarding proposal for electronic management of               $           28.00
          Administration &                                                      claims and distributions processes and conference with N. Mirjanich regarding same.
          Objections
   Nov‐18 Claims               11/30/2018 MR        $       390.00          0.6 attention to various lender requests for information (.6).                                               $         234.00
          Administration &
          Objections
   Dec‐18 Asset Disposition     12/3/2018 KBD       $       390.00          0.2 ; telephone conference and exchange correspondence with broker regarding same and commission             $           78.00
                                                                                disclosure (.2).
   Dec‐18 Asset Disposition     12/3/2018 KBD       $       390.00          0.2 Telephone conference with and study correspondence from agent for potential buyer (.2)                   $           78.00

   Dec‐18 Asset Disposition     12/4/2018 KBD       $       390.00          0.1 Study court order regarding liquidation plan approval and objections.                                    $           39.00

   Dec‐18 Asset Disposition    12/10/2018 KBD       $       390.00          0.2 Study correspondence from and telephone conference with asset manage firm representatives                $           78.00
                                                                                regarding sale priority, property repairs, and cost benefit analysis (.2)
   Dec‐18 Asset Disposition    12/11/2018 KBD       $       390.00          0.1 Exchange correspondence with real estate broker regarding marketing and market information.              $           39.00

   Dec‐18 Asset Disposition    12/17/2018 KBD       $       390.00          0.2 Office conferences with M. Rachlis regarding underwriting files, investor communication regarding        $           78.00
                                                                                interest in property for sale, and insurance payment (.2)
   Dec‐18 Asset Disposition    12/24/2018 KBD       $       390.00          0.1 draft correspondence to potential buyer regarding status of sale of property and future listings (.1).   $           39.00

   Dec‐18 Asset Disposition    12/26/2018 KBD       $       390.00          0.1 Study correspondence from A. Porter regarding documentation needed for conveying title at real     $                 39.00
                                                                                estate closings (.1)
   Dec‐18 Asset Disposition    12/27/2018 KBD       $       390.00          0.1 Draft correspondence to real estate broker regarding marketing distribution list and communication $                 39.00
                                                                                with counsel for potentially interested buyer (.1)
   Dec‐18 Asset Disposition    12/27/2018 KBD       $       390.00          0.1 exchange correspondence with investor regarding potentially interested buyers of real estate (.1)  $                 39.00

   Dec‐18 Asset Disposition    12/28/2018 KBD       $       390.00          0.1 draft correspondence to M. Rachlis regarding communications with potential buyer and notice of           $           39.00
                                                                                property listings (.1)
   Dec‐18 Asset Disposition    12/28/2018 KBD       $       390.00          0.1 exchange correspondence with potential buyer regarding interest in properties (.1)                       $           39.00

   Dec‐18 Asset Disposition    12/28/2018 KBD       $       390.00          0.1 Exchange correspondence with real estate broker regarding marketing distribution list and                $           39.00
                                                                                communication with potential buyer (.1)
   Dec‐18 Business              12/2/2018 KBD       $       390.00          0.1 Study correspondence from property manager regarding tenant voucher programs and eviction                $           39.00
          Operations                                                            costs.
   Dec‐18 Business              12/3/2018 KBD       $       390.00          0.2 review correspondence from broker and city agent regarding potential lease interest (.2)                 $           78.00
          Operations
   Dec‐18 Business              12/4/2018 KBD       $       390.00          0.5 study servicing agreements and exchange correspondence with M. Rachlis and E. Duff regarding             $         195.00
          Operations                                                            same (.5)
   Dec‐18 Business              12/5/2018 KBD       $       390.00          0.3 telephone conference with real estate broker and N. Mirjanich regarding same, payment of real            $         117.00
          Operations                                                            estate taxes, purchase and sale agreement, evaluation of market and economic factors, and
                                                                                portfolio analysis (.3)
   Dec‐18 Business             12/17/2018 KBD       $       390.00          0.1 study correspondence from insurance broker regarding insurance payments (.1)                             $           39.00
          Operations
   Dec‐18 Business             12/17/2018 KBD       $       390.00          0.1 telephone conference with bank representative regarding wire transfer for insurance payment (.1)         $           39.00
          Operations
   Dec‐18 Business             12/19/2018 KBD       $       390.00          0.1 telephone conference with bank representative regarding wire transfer for property expenses (.1)         $           39.00
          Operations
   Dec‐18 Business             12/28/2018 KBD       $       390.00          0.2 study correspondence from M. Adler and insurance broker regarding insurance records and covered $                    78.00
          Operations                                                            properties (.2)
   Dec‐18 Claims                12/3/2018 KBD       $       390.00          0.1 review correspondence from property manager regarding creditor (.1)                             $                    39.00
          Administration &
          Objections
   Dec‐18 Claims                12/3/2018 KBD       $       390.00          0.2 study correspondence from E. Duff regarding lender communications and financial reporting (.2).          $           78.00
          Administration &
          Objections
   Dec‐18 Claims                12/3/2018 KBD       $       390.00          0.8 Office conference with M. Rachlis, A. Porter and N. Mirjanich regarding preservation of funds for        $         312.00
          Administration &                                                      claims and distribution and approach to claims process (.8)
          Objections
   Dec‐18 Claims                12/4/2018 KBD       $       390.00          0.1 Office conference with N. Mirjanich regarding claim form and claims process administration               $           39.00
          Administration &                                                      planning (.1)
          Objections
   Dec‐18 Claims                12/4/2018 KBD       $       390.00          0.1 review various communications from lenders counsel and E. Duff regarding representation and              $           39.00
          Administration &                                                      properties (.1).
          Objections




                                                                                           21 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 23 of 191 PageID #:53807
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                Task Cost
Month                                       Keeper        Rate
   Dec‐18 Claims                12/5/2018 KBD        $       390.00        0.1 exchange correspondence with K. Pritchard regarding communications with accounting firm               $           39.00
          Administration &                                                     representative relating to investor statements (.1)
          Objections
   Dec‐18 Claims                12/5/2018 KBD        $      390.00          0.1 office conference with N. Mirjanich regarding lender statements of account and analysis of same (.1) $           39.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 KBD        $      390.00          0.3 Office conference with N. Mirjanich regarding claims process administration and planning (.3)        $         117.00
          Administration &
          Objections
   Dec‐18 Claims                12/7/2018 KBD        $      390.00          0.3 Study and revise draft claims form (.3)                                                              $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KBD        $      390.00          0.1 draft correspondence to K. Pritchard regarding creditors list (.1)                                   $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KBD        $      390.00          0.1 Office conference with N. Mirjanich regarding claims process motion (.1)                             $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KBD        $      390.00          0.1 study correspondence regarding communication with lender's counsel regarding various financial       $           39.00
          Administration &                                                      reporting issues (.1).
          Objections
   Dec‐18 Claims               12/10/2018 KBD        $      390.00          0.1 study correspondence regarding lender request for property inspections and appraisals (.1)           $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KBD        $      390.00          0.3 research regarding claims and distribution planning (.3)                                             $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/11/2018 KBD        $      390.00          0.1 office conference with E. Duff regarding analysis of lender fees (.1)                                $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/11/2018 KBD        $      390.00          0.3 Study draft claims form and review correspondence from N. Mirjanich regarding same (.3)              $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/12/2018 KBD        $      390.00          0.1 Study correspondence from counsel for creditor and draft correspondence to M. Rachlis regarding      $           39.00
          Administration &                                                      follow up (.1)
          Objections
   Dec‐18 Claims               12/13/2018 KBD        $      390.00          0.1 study lender notices of default (.1).                                                                $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/13/2018 KBD        $      390.00          0.1 study various correspondence from E. Duff regarding property visits and inspections (.1)             $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/14/2018 KBD        $      390.00          0.1 Study correspondence from claims service provider regarding claims portal and claim form (.1)        $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/14/2018 KBD        $      390.00          0.2 study correspondence from lender's counsel and M. Rachlis regarding common lender questions and $                78.00
          Administration &                                                      financial reporting (.2).
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.1 review correspondence from vendor regarding same (.1)                                                $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.1 study correspondence from lender's counsel regarding requests to conduct appraisals and review       $           39.00
          Administration &                                                      correspondence from E. Duff regarding same (.1)
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.1 study correspondence from N. Mirjanich to accounting firm representative regarding same (.1)         $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.1 study correspondence from special servicing agent and draft correspondence to E. Duff regarding      $           39.00
          Administration &                                                      same (.1).
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.3 study claims process motion and correspondence from N. Mirjanich regarding same (.3)                 $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 KBD        $      390.00          0.7 Office conferences with N. Mirjanich regarding claims process, claim form, claim portal, investor‐   $         273.00
          Administration &                                                      based spreadsheet reports, and EquityBuild records (.7)
          Objections
   Dec‐18 Claims               12/18/2018 KBD        $      390.00          0.1 Study correspondence from accounting firm representative regarding lender statements, claims,        $           39.00
          Administration &                                                      and accounting format (.1)
          Objections
   Dec‐18 Claims               12/18/2018 KBD        $      390.00          0.2 study correspondence from E. Duff regarding lender requests for inspections and appraisals (.2).     $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/19/2018 KBD        $      390.00          0.5 Study claims process motion (.5)                                                                     $         195.00
          Administration &
          Objections
   Dec‐18 Claims               12/21/2018 KBD        $      390.00          0.4 Analysis of potential claims and distribution methodologies (.4)                                     $         156.00
          Administration &
          Objections
   Dec‐18 Claims               12/23/2018 KBD        $      390.00          0.1 Exchange correspondence with A. Porter regarding draft claims form .                                 $           39.00
          Administration &
          Objections
   Dec‐18 Claims               12/26/2018 KBD        $      390.00          0.2 Study claims form (.2)                                                                               $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/26/2018 KBD        $      390.00          0.2 telephone conference with A. Porter regarding same (.2)                                              $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/26/2018 KBD        $      390.00          0.2 telephone conference with N. Mirjanich regarding same (.2)                                           $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/27/2018 KBD        $      390.00          0.1 study questions from institutional lenders (.1).                                                     $           39.00
          Administration &
          Objections




                                                                                           22 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 24 of 191 PageID #:53808
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Dec‐18 Claims               12/27/2018 KBD        $       390.00        0.2 office conference with E. Duff and N. Mirjanich regarding claim form, electronic interface, and        $           78.00
          Administration &                                                     process issues (.2)
          Objections
   Dec‐18 Claims               12/27/2018 KBD        $       390.00          0.2 study revisions to claims form and review correspondence from E. Duff regarding same (.2)            $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/27/2018 KBD        $       390.00          0.3 Exchange correspondence with M. Rachlis regarding lender inquiry about claims process (.3)           $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/30/2018 KBD        $       390.00          0.1 Draft correspondence to N. Mirjanich regarding communication with investor regarding priority        $           39.00
          Administration &                                                       issue.
          Objections
   Dec‐18 Claims               12/31/2018 KBD        $       390.00          0.8 Study revised claims process motion and form.                                                        $         312.00
          Administration &
          Objections
   Dec‐18 Asset Disposition     12/3/2018 NM         $       260.00          0.2 Study correspondence from real estate broker and attachments to same in advance of office            $           52.00
                                                                                 conference (.2)
   Dec‐18 Asset Disposition     12/3/2018 NM         $       260.00          0.6 office conference with K. Duff, M. Rachlis, and A. Porter regarding liquidation of properties and    $         156.00
                                                                                 future plans for same (.6).
   Dec‐18 Asset Disposition     12/5/2018 AEP        $       390.00          0.1 Read e‐mail regarding interest of outside investor in purchasing portfolio and reply thereto (.1)    $           39.00

   Dec‐18 Asset Disposition     12/5/2018 AEP        $       390.00          0.4 review and analyze contract submitted on behalf of proposed purchaser of entire portfolio and        $         156.00
                                                                                 prepare e‐mail response thereto (.4).
   Dec‐18 Asset Disposition     12/5/2018 ED         $       390.00          0.4 Confer with Receiver and email to property advisor regarding confirmation of mortgages               $         156.00
                                                                                 encumbering various properties.
   Dec‐18 Asset Disposition     12/7/2018 AEP        $       390.00          2.7 Continue reading, editing, revising, and customizing purchase and sale agreement and making notes    $        1,053.00
                                                                                 of unresolved issues.
   Dec‐18 Business              12/3/2018 MR         $       390.00          0.4 Attention to various emails on creditor issues (.4)                                                  $         156.00
          Operations
   Dec‐18 Business              12/3/2018 NM         $       260.00          0.3 Study and respond to outstanding emails relating to creditors and invoices from same, and in the EB $            78.00
          Operations                                                             account (.3)
   Dec‐18 Business              12/7/2018 SZ         $       110.00          2.4 Review and organize collateral agency and servicing agreements.                                     $          264.00
          Operations
   Dec‐18 Business             12/17/2018 KMP        $       140.00          0.1 Communication with insurance broker to confirm amount of payment due on premium finance              $           14.00
          Operations                                                             installment loan (.1)
   Dec‐18 Business             12/17/2018 KMP        $       140.00          0.1 communications with bank representative regarding processing wire transfer request (.1)              $           14.00
          Operations
   Dec‐18 Business             12/17/2018 KMP        $       140.00          0.1 prepare wire transfer request form for same for execution by K. Duff (.1)                            $           14.00
          Operations
   Dec‐18 Business             12/17/2018 MR         $       390.00          0.2 conferences with K. Duff regarding same (.2)                                                         $           78.00
          Operations
   Dec‐18 Business             12/17/2018 MR         $       390.00          2.2 Preparation for upcoming hearing (2.2)                                                               $         858.00
          Operations
   Dec‐18 Business             12/17/2018 NM         $       260.00          0.6 Study and respond to outstanding emails relating to city litigation, creditors and notice to same,   $         156.00
          Operations                                                             transcripts, correspondence to lenders, EB lender statement of accounts, and correspondence with
                                                                                 former employees (.6)
   Dec‐18 Business             12/19/2018 KMP        $       140.00          0.1 Review transaction history of Receivership Estate account to confirm receipt of rental income from   $           14.00
          Operations                                                             property manager (.1)
   Dec‐18 Business             12/27/2018 ED         $       390.00          1.7 Review and reply to email correspondence from lenders' counsel and inspectors regarding financial    $         663.00
          Operations                                                             reporting and confer with counsel to Receiver [M. Rachlis] regarding same.
   Dec‐18 Business             12/28/2018 KMP        $       140.00          0.1 Attention to communications with insurance broker regarding discrepancies relating to EB             $           14.00
          Operations                                                             ownership of listed insured properties.
   Dec‐18 Business             12/28/2018 MBA        $       390.00          0.4 draft detailed follow‐up email to broker regarding other discrepancies between insurance schedules   $         156.00
          Operations                                                             of properties and our records of Receivership portfolio (.4).
   Dec‐18 Claims                12/3/2018 AW         $       140.00          0.1 attention to emails from creditor (.1).                                                              $           14.00
          Administration &
          Objections
   Dec‐18 Claims                12/3/2018 AW         $       140.00          0.1 attention to repeated email from creditor and provide response containing information regarding      $           14.00
          Administration &                                                       claims process (.1)
          Objections
   Dec‐18 Claims                12/3/2018 AW         $       140.00          0.1 confirm meeting with N. Mirjanich and K. Pritchard regarding same (.1)                               $           14.00
          Administration &
          Objections
   Dec‐18 Claims                12/3/2018 NM         $       260.00          1.8 Revise claims form, motion for approval of same, and notice for same and correspond with K. Duff     $         468.00
          Administration &                                                       regarding same.
          Objections
   Dec‐18 Claims                12/3/2018 SZ         $       110.00          0.8 Draft correspondence to creditors.                                                                   $           88.00
          Administration &
          Objections
   Dec‐18 Claims                12/4/2018 AW         $       140.00          0.6 Meeting with N. Mirjanich and K. Pritchard regarding claims process.                                 $           84.00
          Administration &
          Objections
   Dec‐18 Claims                12/4/2018 KMP        $       140.00          0.2 communications with vendor representatives regarding scheduling follow‐up conference call to         $           28.00
          Administration &                                                       discuss vendor's proposal (.2).
          Objections
   Dec‐18 Claims                12/4/2018 KMP        $       140.00          1.6 Meeting with N. Mirjanich and A. Watychowicz to discuss feasibility of vendor's proposal for         $         224.00
          Administration &                                                       electronic claims process and potential other options (1.6)
          Objections
   Dec‐18 Claims                12/4/2018 MR         $       390.00          0.4 Attention to rent related issues (.4)                                                                $         156.00
          Administration &
          Objections
   Dec‐18 Claims                12/4/2018 MR         $       390.00          0.4 follow up on emails from creditors regarding reporting and inspection and conferences regarding      $         156.00
          Administration &                                                       same (.4)
          Objections
   Dec‐18 Claims                12/4/2018 NM         $       260.00          2.4 Revise claims form and correspond with K. Pritchard, A. Watychowicz, and K. Duff regarding same      $         624.00
          Administration &                                                       and regarding claims process.
          Objections
   Dec‐18 Claims                12/5/2018 AW         $       140.00          0.1 Attention to email regarding agreements relating to institutional lender's loans (.1)                $           14.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 AW         $       140.00          0.3 several attempts to download files relating to institutional lender's agreements (.3).               $           42.00
          Administration &
          Objections




                                                                                            23 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 25 of 191 PageID #:53809
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                       Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Dec‐18 Claims                12/5/2018 KMP       $       140.00        0.1 communication with accountant regarding status of preparation of investor summary reports (.1).        $           14.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 KMP       $      140.00           0.3 follow‐up conference with N. Mirjanich regarding same and other related issues (.3)                  $           42.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 KMP       $      140.00           0.7 Conference call with N. Mirjanich and vendor representatives to discuss logistics and other issues   $           98.00
          Administration &                                                      regarding proposal for electronic claims and distribution processes (.7)
          Objections
   Dec‐18 Claims                12/5/2018 NM        $      260.00           0.2 Prepare for telephone conference with claims vendor regarding claims portal administration (.2)      $           52.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 NM        $      260.00           0.5 correspond with K. Duff regarding same and claims process (.5).                                      $         130.00
          Administration &
          Objections
   Dec‐18 Claims                12/5/2018 NM        $      260.00            1 telephone call with same and K. Pritchard regarding same and correspond with K. Pritchard             $         260.00
          Administration &                                                     regarding same after (1.0)
          Objections
   Dec‐18 Claims                12/5/2018 NM        $      260.00           2.1 revise claims form and claims motion (2.1)                                                           $         546.00
          Administration &
          Objections
   Dec‐18 Claims                12/6/2018 AEP       $      390.00           0.9 Participate in team meeting regarding claims process.                                                $         351.00
          Administration &
          Objections
   Dec‐18 Claims                12/6/2018 AW        $      140.00           0.1 Attention to email regarding agreements relating to institutional lender's loans (.1)                $           14.00
          Administration &
          Objections
   Dec‐18 Claims                12/6/2018 NM        $      260.00           0.4 Revise claims form.                                                                                  $         104.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 AW        $      140.00           0.1 Attention to emails from K. Duff regarding loan agreements and respond to same.                      $           14.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 ED        $      390.00           0.2 confer with N. Mirjanich regarding claims process (.2).                                              $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 ED        $      390.00           2.8 review documents regarding cash inflow and outflow relating to mortgaged properties (2.8)            $        1,092.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KMP       $      140.00           0.1 communication with K. Duff, A. Watychowicz, and tech support representatives regarding same (.1). $              14.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 KMP       $      140.00           0.2 Telephone conference and email communications with accountant regarding issues with generating $                 28.00
          Administration &                                                      Lender of Statement of Accounts from records platform (.2)
          Objections
   Dec‐18 Claims               12/10/2018 NM        $      260.00            3 Revise claims form and correspond with K. Duff and E. Duff regarding same.                            $         780.00
          Administration &
          Objections
   Dec‐18 Claims               12/10/2018 SZ        $      110.00           2.6 Cross referenced the lists of properties against those of guarantors/borrowers as provided by N.     $         286.00
          Administration &                                                      Mirjanich and E. Duff.
          Objections
   Dec‐18 Claims               12/11/2018 AW        $      140.00           0.1 Attention to termination email to creditor.                                                          $           14.00
          Administration &
          Objections
   Dec‐18 Claims               12/11/2018 NM        $      260.00           1.1 Revise claims form and motion for approval of same.                                                  $         286.00
          Administration &
          Objections
   Dec‐18 Claims               12/12/2018 AEP       $      390.00           1.2 Preliminary review and analysis of various agreements.                                               $         468.00
          Administration &
          Objections
   Dec‐18 Claims               12/12/2018 MR        $      390.00           0.4 Attention to requests to meet with property managers and follow up on same with K. Duff and          $         156.00
          Administration &                                                      related issues (.4)
          Objections
   Dec‐18 Claims               12/13/2018 KMP       $      140.00           0.1 Attention to communication from vendor regarding additional details of claims management             $           14.00
          Administration &                                                      software platform.
          Objections
   Dec‐18 Claims               12/13/2018 NM        $      260.00           0.7 Revise and analyze claims motion and form.                                                           $         182.00
          Administration &
          Objections
   Dec‐18 Claims               12/14/2018 NM        $      260.00           1.7 Revise claims form and claims motion and correspond with K. Duff and claims vendor regarding         $         442.00
          Administration &                                                      claims portal.
          Objections
   Dec‐18 Claims               12/17/2018 AW        $      140.00           0.1 Confer with K. Duff regarding investors information regarding properties that are up for sale (.1)   $           14.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 ED        $      390.00           0.2 confer with N. Mirjanich regarding same (.2).                                                        $           78.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 ED        $      390.00           0.7 review drafts of Claims Process and Proof of Claim Form (.7)                                         $         273.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 KMP       $      140.00           0.1 Attention to communications with vendor representative regarding ability to include additional       $           14.00
          Administration &                                                      fields in online claims form platform.
          Objections
   Dec‐18 Claims               12/17/2018 MR        $      390.00           0.3 Attention to issues on claims process.                                                               $         117.00
          Administration &
          Objections
   Dec‐18 Claims               12/17/2018 NM        $      260.00           0.1 Study and respond to correspondence relating to claims and potential data from vendor and            $           26.00
          Administration &                                                      accountants analysis of the same (.1)
          Objections
   Dec‐18 Claims               12/17/2018 NM        $      260.00           0.4 correspond with M. Rachlis regarding hearing on motion to lift stay and the claims process (.4).     $         104.00
          Administration &
          Objections




                                                                                           24 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 26 of 191 PageID #:53810
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                         Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Dec‐18 Claims                12/17/2018 NM        $       260.00        4.1 revise claims motion and correspond with K. Duff, E. Duff, and A. Porter regarding same and claims      $        1,066.00
           Administration &                                                    form (4.1)
           Objections
   Dec‐18 Claims                12/18/2018 AEP       $       390.00          1.1 Conferences with K. Duff and M. Rachlis regarding planning for claims process.                        $         429.00
           Administration &
           Objections
   Dec‐18 Claims                12/18/2018 ED        $       390.00          0.7 review and comment on draft of Proof of Claim Form (.7).                                              $         273.00
           Administration &
           Objections
   Dec‐18 Claims                12/18/2018 MR        $       390.00            1 Conference and attention to claims process and motion.                                                $         390.00
           Administration &
           Objections
   Dec‐18 Claims                12/19/2018 MR        $       390.00          0.7 Attention to draft claims form.                                                                       $         273.00
           Administration &
           Objections
   Dec‐18 Claims                12/19/2018 NM        $       260.00          0.6 Study comments on claims form and motion from E. Duff and M. Rachlis, correspond with M. Rachlis $              156.00
           Administration &                                                      regarding same, and correspond with accountant regarding same and claims form data extraction.
           Objections
   Dec‐18 Claims                12/27/2018 ED        $       390.00          1.6 Review and prepare proposed revisions to draft claim form.                                            $         624.00
           Administration &
           Objections
   Dec‐18 Claims                12/27/2018 NM        $       260.00          0.2 Correspond with K. Duff and E. Duff regarding claims.                                                 $           52.00
           Administration &
           Objections
   Dec‐18 Claims                12/28/2018 AW        $       140.00          0.1 Attention to email from creditor (.1)                                                                 $           14.00
           Administration &
           Objections
   Dec‐18 Claims                12/28/2018 AW        $       140.00          0.1 response email to creditor (.1).                                                                      $           14.00
           Administration &
           Objections
   Dec‐18 Claims                12/28/2018 AW        $       140.00          0.2 confer with N. Mirjanich and K. Duff regarding appropriate response (.2)                              $           28.00
           Administration &
           Objections
   Dec‐18 Claims                12/28/2018 AW        $       140.00          0.2 research regarding individual that owns the property that creditor is servicing (.2)                  $           28.00
           Administration &
           Objections
   Dec‐18 Claims                12/31/2018 NM        $       260.00          1.5 Revise claims form and motion and correspond with K. Duff regarding same.                             $         390.00
           Administration &
           Objections
    Jan‐19 Asset Disposition      1/3/2019 KBD       $      390.00           0.1 exchange correspondence with M. Rachlis regarding communication with potential purchaser's            $           39.00
                                                                                 counsel (.1).
   Jan‐19 Asset Disposition       1/3/2019 KBD       $      390.00           0.1 exchange correspondence with potential purchaser regarding broker contact information (.1)            $           39.00

   Jan‐19 Asset Disposition       1/3/2019 KBD       $      390.00           0.2 Study correspondence from real estate broker regarding property valuation and recommendation          $           78.00
                                                                                 for future listings (.2)
   Jan‐19 Asset Disposition       1/3/2019 KBD       $      390.00           2.2 telephone conference with real estate firm representatives, M. Rachlis, A. Porter, and N. Mirjanich   $         858.00
                                                                                 regarding portfolio analysis, properties to list for sale, and various related issues (2.2)

   Jan‐19 Asset Disposition      1/24/2019 KBD       $      390.00           0.1 study correspondence from N. Mirjanich regarding same (.1).                                           $           39.00

   Jan‐19 Asset Disposition      1/24/2019 KBD       $      390.00           2.8 Analysis and planning with M. Rachlis, N. Mirjanich, and E. Duff regarding process for approval and   $        1,092.00
                                                                                 use of real estate sales proceeds, potential distribution issues (2.8)
   Jan‐19 Business                1/9/2019 KBD       $       390.00          0.9 telephone conference with A. Porter and N. Mirjanich regarding tax appeal proration, property         $         351.00
          Operations                                                             surveys, title reports, claims process, and potential distribution issues (.9).
   Jan‐19 Business               1/10/2019 KBD       $       390.00          0.4 office conference with M. Rachlis and A. Porter regarding potential claims analysis issues and        $         156.00
          Operations                                                             distribution planning (.4)
   Jan‐19 Business               1/15/2019 KBD       $       390.00          0.2 exchange correspondence and office conference with K. Pritchard and telephone conference with         $           78.00
          Operations                                                             bank representative regarding payment of property insurance (.2)
   Jan‐19 Business               1/18/2019 KBD       $       390.00          0.1 review correspondence from insurance broker regarding amended to policies (.1)                        $           39.00
          Operations
   Jan‐19 Business               1/29/2019 KBD       $       390.00          0.2 study insurance schedule by property and exchange correspondence with insurance broker                $           78.00
          Operations                                                             regarding same (.2)
   Jan‐19 Business               1/31/2019 KBD       $       390.00          0.1 study correspondence from insurance broker regarding insurance premiums (.1)                          $           39.00
          Operations
   Jan‐19 Claims                  1/3/2019 KBD       $       390.00          0.1 review correspondence from N. Mirjanich, A. Porter, and E. Duff regarding same (.1).                  $           39.00
          Administration &
          Objections
   Jan‐19 Claims                  1/3/2019 KBD       $       390.00          0.2 Analysis regarding claims form (.2)                                                                   $           78.00
          Administration &
          Objections
   Jan‐19 Claims                  1/4/2019 KBD       $       390.00          0.3 Further review of draft claim form (.3)                                                               $         117.00
          Administration &
          Objections
   Jan‐19 Claims                  1/4/2019 KBD       $       390.00          0.4 plan with N. Mirjanich regarding claims process schedule (.4).                                        $         156.00
          Administration &
          Objections
   Jan‐19 Claims                  1/5/2019 KBD       $       390.00          0.9 study correspondence from N. Mirjanich regarding revised claim form and analysis of form (.9).        $         351.00
          Administration &
          Objections
   Jan‐19 Claims                  1/7/2019 KBD       $       390.00          0.2 Study revisions to claims form.                                                                       $           78.00
          Administration &
          Objections
   Jan‐19 Claims                  1/9/2019 KBD       $       390.00          1.1 Conference with accounting firm representative regarding forensic accounting, claims planning and     $         429.00
          Administration &                                                       analysis, distribution, and tax work.
          Objections
   Jan‐19 Claims                 1/11/2019 KBD       $       390.00          1.5 Study and revise claim form.                                                                          $         585.00
          Administration &
          Objections
   Jan‐19 Claims                 1/13/2019 KBD       $       390.00          0.1 exchange correspondence with A. Porter regarding claims form (.1).                                    $           39.00
          Administration &
          Objections
   Jan‐19 Claims                 1/14/2019 KBD       $       390.00          0.2 study correspondence from E. Duff regarding changes to claims form analysis, revisions, and process $             78.00
          Administration &                                                       (.2)
          Objections




                                                                                            25 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 27 of 191 PageID #:53811
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                         Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jan‐19 Claims                1/14/2019 KBD        $       390.00        0.2 study updated claims form from A. Porter (.2).                                                            $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/14/2019 KBD        $      390.00          5.9 Work with M. Rachlis, A. Porter, E. Duff and N. Mirjanich regarding claims form (5.9)                    $        2,301.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 KBD        $      390.00          0.2 Study revised claims form (.2)                                                                           $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/22/2019 KBD        $      390.00          0.3 study revised claims form (.3).                                                                          $         117.00
           Administration &
           Objections
    Jan‐19 Claims                1/26/2019 KBD        $      390.00          0.1 Exchange correspondence with M. Rachlis regarding meeting with counsel for institutional lenders.        $           39.00
           Administration &
           Objections
    Jan‐19 Claims                1/28/2019 KBD        $      390.00          0.2 Office conference with N. Mirjanich regarding various issues relating to claims form.                    $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 KBD        $      390.00          1.1 telephone conference with M. Rachlis, N. Mirjanich, E. Duff and A. Porter regarding claims form and      $         429.00
           Administration &                                                      process (1.1)
           Objections
    Jan‐19 Claims                1/30/2019 KBD        $      390.00          1.4 Study and revise claims form (1.4)                                                                       $         546.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 KBD        $      390.00          1.4 Study revised claims for and correspondence regarding same (1.4)                                         $         546.00
           Administration &
           Objections
    Jan‐19 Asset Disposition      1/3/2019 AEP        $      390.00          0.1 Respond to e‐mail from counsel for prospective buyer regarding necessity of proof‐of‐funds letter        $           39.00
                                                                                 (.1)
   Jan‐19 Asset Disposition       1/3/2019 AEP        $      390.00          0.4 read and respond to latest correspondence from counsel for prospective buyer (.4).                       $         156.00

   Jan‐19 Asset Disposition       1/3/2019 MR         $      390.00          0.4 Follow up on email regarding sales and conferences regarding same.                                       $         156.00

   Jan‐19 Asset Disposition       1/3/2019 NM         $      260.00          0.4 telephone conference with real estate broker and K. Duff, M. Rachlis, and A. Porter regarding            $         104.00
                                                                                 disposition of properties (.4).
   Jan‐19 Asset Disposition       1/3/2019 NM         $      260.00          0.5 Study document provided by real estate broker in advance of telephone conference with same (.5)          $         130.00

   Jan‐19 Asset Disposition       1/4/2019 AEP        $      390.00          0.4 Read and reply to e‐mails from counsel for prospective buyer.                                            $         156.00

   Jan‐19 Asset Disposition      1/24/2019 ED         $      390.00          1.8 meeting with Receiver, M. Rachlis, and N. Mirjanich to discuss handling and application of proceeds      $         702.00
                                                                                 of sale of properties (1.8).
   Jan‐19 Asset Disposition      1/24/2019 MR         $      390.00          3.5 Attention to various issues on property disposition and meetings regarding same.                         $        1,365.00

   Jan‐19 Business                1/8/2019 AW         $      140.00          0.1 Attention to email regarding investor that filed lis pendens against EquityBuild (.1)                    $           14.00
          Operations
   Jan‐19 Business               1/10/2019 MR         $      390.00            1 Conferences and follow up regarding various strategic issues and other issues relating to properties     $         390.00
          Operations                                                             and lenders.
   Jan‐19 Business               1/11/2019 NM         $      260.00          0.1 correspond with K. Duff regarding claims, status report, and filing of motion to approve sale of         $           26.00
          Operations                                                             properties (.1).
   Jan‐19 Business               1/11/2019 NM         $      260.00          0.3 correspond with E. Duff regarding disposition of properties, statement of receivership assets filed by   $           78.00
          Operations                                                             lenders, and claims (.3)
   Jan‐19 Business               1/15/2019 KMP        $      140.00          0.2 conference with K. Duff and communications with bank representative regarding same (.2).                 $           28.00
          Operations
   Jan‐19 Business               1/15/2019 KMP        $      140.00          0.2 Review online bank records for Receivership Estate account, and prepare wire transfer request for        $           28.00
          Operations                                                             payment of property insurance premium (.2)
   Jan‐19 Business               1/17/2019 KMP        $      140.00          0.1 Attention to communications with EB employee regarding original loan records (.1)                        $           14.00
          Operations
   Jan‐19 Business               1/24/2019 NM         $      260.00          0.5 Correspond with K. Duff, M. Rachlis, and E. Duff regarding meeting with lenders, offer to Defendant, $             130.00
          Operations                                                             and meeting regarding City and code violations (.5).
   Jan‐19 Business               1/29/2019 NM         $      260.00          0.6 exchange correspondence with M. Rachlis regarding question from lender (.6).                         $             156.00
          Operations
   Jan‐19 Business               1/30/2019 ED         $      390.00          0.2 review information regarding insurance coverage for mortgaged properties and email to M. Rachlis         $           78.00
          Operations                                                             regarding same (.2)
   Jan‐19 Claims                  1/1/2019 AEP        $      390.00          3.2 Review and analyze current draft of proof of claim form and begin revising same.                         $        1,248.00
          Administration &
          Objections
   Jan‐19 Claims                  1/2/2019 ED         $      390.00          0.2 confer with N. Mirjanich regarding claims form (.2).                                                     $           78.00
          Administration &
          Objections
   Jan‐19 Claims                  1/2/2019 ED         $      390.00          0.4 Telephone conference with claims vendor regarding electronic claims form (.4)                            $         156.00
          Administration &
          Objections
   Jan‐19 Claims                  1/2/2019 ED         $      390.00          0.5 preparation for same (.5)                                                                                $         195.00
          Administration &
          Objections
   Jan‐19 Claims                  1/2/2019 KMP        $      140.00          0.2 brief follow‐up conference with E. Duff and N. Mirjanich (.2).                                           $           28.00
          Administration &
          Objections
   Jan‐19 Claims                  1/2/2019 KMP        $      140.00          0.5 Teleconference with bank IT representative, E. Duff and N. Mirjanich regarding additional                $           70.00
          Administration &                                                       information relating to claims database and mechanics of platform for claimants' submission of
          Objections                                                             claims information (.5)
   Jan‐19 Claims                  1/2/2019 NM         $      260.00          1.5 Address matters with respect to the claims process including a telephone conference with vendor          $         390.00
          Administration &                                                       regarding the claims portal, correspond with E. Duff and K. Duff regarding same, correspond with E.
          Objections                                                             Duff regarding sale proceeds and claims form.
   Jan‐19 Claims                  1/3/2019 AEP        $      390.00          0.4 Teleconference with receivership team regarding issues associated with preparation of proof of           $         156.00
          Administration &                                                       claim form.
          Objections
   Jan‐19 Claims                  1/3/2019 ED         $      390.00          1.2 conferences with Receiver, N. Mirjanich, and A. Porter regarding same (1.2).                             $         468.00
          Administration &
          Objections
   Jan‐19 Claims                  1/3/2019 ED         $      390.00          7.6 Review and revise draft of claims form (7.6)                                                             $        2,964.00
          Administration &
          Objections




                                                                                            26 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 28 of 191 PageID #:53812
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                              Task Description                                                Task Cost
Month                                       Keeper        Rate
    Jan‐19 Claims                 1/3/2019 MR        $       390.00        0.4 Discussions on claims issues.                                                                            $         156.00
           Administration &
           Objections
    Jan‐19 Claims                 1/3/2019 NM        $      260.00           0.4 Correspond with K. Duff, E. Duff, M. Rachlis, and A. Porter regarding the claims motion and form (.4) $          104.00
           Administration &
           Objections
    Jan‐19 Claims                 1/3/2019 NM        $      260.00           0.7 correspond with E. Duff regarding claims form (.7).                                                    $         182.00
           Administration &
           Objections
    Jan‐19 Claims                 1/4/2019 AW        $      140.00           0.2 confer with N. Mirjanich regarding results (.2).                                                       $           28.00
           Administration &
           Objections
    Jan‐19 Claims                 1/4/2019 AW        $      140.00           0.3 Meeting with N. Mirjanich regarding claims process form and additional information necessary to        $           42.00
           Administration &                                                      complete form (.3)
           Objections
    Jan‐19 Claims                 1/4/2019 AW        $      140.00           0.9 research regarding same (.9)                                                                           $         126.00
           Administration &
           Objections
    Jan‐19 Claims                 1/4/2019 NM        $      260.00           5.3 Revise motion to approve claims process and claims forms, study comments from E. Duff and A.           $        1,378.00
           Administration &                                                      Porter regarding same, and correspond with K. Duff regarding same.
           Objections
    Jan‐19 Claims                 1/5/2019 NM        $      260.00           2.6 Revise claims form and motion for same and draft correspondence regarding same and proposed            $         676.00
           Administration &                                                      timeline.
           Objections
    Jan‐19 Claims                 1/7/2019 ED        $      390.00           2.8 Review and revise draft of claims form.                                                                $        1,092.00
           Administration &
           Objections
    Jan‐19 Claims                 1/9/2019 AEP       $      390.00           0.2 Teleconference with K. Duff and N. Mirjanich regarding claims form process.                            $           78.00
           Administration &
           Objections
    Jan‐19 Claims                 1/9/2019 KMP       $      140.00           1.3 Participate in meeting with accountant, K. Duff, M. Rachlis, and N. Mirjanich regarding issues         $         182.00
           Administration &                                                      relating to claims forms and review and analysis of information to be submitted by claimants, and
           Objections                                                            discussing various accounting and legal issues relating to same.
    Jan‐19 Claims                 1/9/2019 NM        $      260.00           0.2 Study E. Duff comments on draft claims form.                                                           $           52.00
           Administration &
           Objections
    Jan‐19 Claims                1/13/2019 AEP       $      390.00           2.5 Study, edit and revise latest draft of proposed proof of claim form.                                   $         975.00
           Administration &
           Objections
    Jan‐19 Claims                1/14/2019 AEP       $      390.00           5.9 Meeting with receivership team to discuss modifications to proof of claim form and claims process.     $        2,301.00
           Administration &
           Objections
    Jan‐19 Claims                1/14/2019 ED        $      390.00           4.5 Confer with Receiver, M. Rachlis, A. Porter, and N. Mirjanich regarding claims process and revisions   $        1,755.00
           Administration &                                                      to proof of claim form.
           Objections
    Jan‐19 Claims                1/14/2019 MR        $      390.00           5.9 review draft claims form and work on various aspects of claims form with K. Duff, E. Duff, N.          $        2,301.00
           Administration &                                                      Mirjanich, and A. Porter (5.9).
           Objections
    Jan‐19 Claims                1/14/2019 NM        $      260.00           0.2 Prepare for meeting regarding claims form by studying latest draft of same (.2)                        $           52.00
           Administration &
           Objections
    Jan‐19 Claims                1/14/2019 NM        $      260.00           0.2 revise claims form (.2).                                                                               $           52.00
           Administration &
           Objections
    Jan‐19 Claims                1/14/2019 NM        $      260.00           5.9 office conference with K. Duff, M. Rachlis, E. Duff, and A. Porter to work through claims form and     $        1,534.00
           Administration &                                                      claims process (5.9)
           Objections
    Jan‐19 Claims                1/15/2019 NM        $      260.00           4.6 Revise claims form and correspond with K. Duff and M. Rachlis regarding same.                          $        1,196.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 AW        $      140.00           0.1 email N. Mirjanich regarding same (.1).                                                                $           14.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 AW        $      140.00           0.2 Meeting with N. Mirjanich regarding revisions to claim form (.2)                                       $           28.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 AW        $      140.00           0.4 apply requested revisions (.4)                                                                         $           56.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 ED        $      390.00           0.4 Confer with N. Mirjanich regarding revisions to proof of claim form.                                   $         156.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 MR        $      390.00           0.4 Attention to email to lenders and follow up regarding same with E. Duff.                               $         156.00
           Administration &
           Objections
    Jan‐19 Claims                1/16/2019 NM        $      260.00           2.2 Revise claims form and motion for approval of same, and correspond with E. Duff and A.                 $         572.00
           Administration &                                                      Watychowicz regarding same.
           Objections
    Jan‐19 Claims                1/17/2019 AW        $      140.00           1.1 Study claims form and email N. Mirjanich regarding same.                                               $         154.00
           Administration &
           Objections
    Jan‐19 Claims                1/17/2019 NM        $      260.00           0.4 Study comments from A. Watychowicz on draft claims form and draft questions to claims portal           $         104.00
           Administration &                                                      vendor regarding claims form.
           Objections
    Jan‐19 Claims                1/18/2019 AW        $      140.00           0.1 Attention to email from creditor and follow up with N. Mirjanich regarding same.                       $           14.00
           Administration &
           Objections
    Jan‐19 Claims                1/18/2019 ED        $      390.00           1.3 Draft language for proof of claims form relating to claims by institutional lenders.                   $         507.00
           Administration &
           Objections
    Jan‐19 Claims                1/18/2019 NM        $      260.00           0.2 correspond with K. Pritchard regarding creditor and study emails and other documents to determine $                52.00
           Administration &                                                      status and if notice was sent (.2).
           Objections




                                                                                            27 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 29 of 191 PageID #:53813
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                     Task Cost
Month                                       Keeper        Rate
    Jan‐19 Claims                1/18/2019 NM        $       260.00        0.5 Study comments from E. Duff on draft claims form and draft questions to claims portal vendor              $         130.00
           Administration &                                                    regarding claims form (.5)
           Objections
    Jan‐19 Claims                1/21/2019 NM        $      260.00           0.3 Study comments on claims form from A. Watychowicz and E. Duff and study list of all LLC entities in     $           78.00
           Administration &                                                      connection with motion for same (.3)
           Objections
    Jan‐19 Claims                1/22/2019 MR        $      390.00           0.2 conferences on issues with claims process (.2).                                                         $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/22/2019 NM        $      260.00           0.2 correspond with K. Duff regarding claims process (.2).                                                  $           52.00
           Administration &
           Objections
    Jan‐19 Claims                1/22/2019 NM        $      260.00           0.6 Revise claims form and send to K. Duff, E. Duff, M. Rachlis, and A. Porter for comment (.6)             $         156.00
           Administration &
           Objections
    Jan‐19 Claims                1/24/2019 NM        $      260.00           0.2 Correspond with K. Duff and K. Pritchard regarding notice to creditor and outstanding invoice from      $           52.00
           Administration &                                                      same.
           Objections
    Jan‐19 Claims                1/25/2019 KMP       $      140.00           0.4 Conference with N. Mirjanich and S. Zjalic regarding preparation of spreadsheet identifying             $           56.00
           Administration &                                                      investors, lenders, and others having potential claims to any of the EB properties currently for sale
           Objections                                                            for notice purposes.
    Jan‐19 Claims                1/26/2019 MR        $      390.00           0.5 Attention to revised claims process issue (.5)                                                          $         195.00
           Administration &
           Objections
    Jan‐19 Claims                1/29/2019 MR        $      390.00           0.3 follow up and attention to claims process related issues (.3).                                          $         117.00
           Administration &
           Objections
    Jan‐19 Claims                1/29/2019 SZ        $      110.00           0.3 office conference with Nicole Mirjanich about the same (.3).                                            $           33.00
           Administration &
           Objections
    Jan‐19 Claims                1/29/2019 SZ        $      110.00           3.2 Continued to work on notice list for claims process (3.2)                                               $         352.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 AEP       $      390.00           1.5 Teleconference with receivership team regarding latest draft of proposed claims form.                   $         585.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 ED        $      390.00           0.2 preparation for same (.2).                                                                              $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 ED        $      390.00           2.3 Conference call with K. Duff, M. Rachlis, A. Porter, and N. Mirjanich regarding claims form and claims $          897.00
           Administration &                                                      process (2.3)
           Objections
    Jan‐19 Claims                1/30/2019 NM        $      260.00           0.3 revise claims motion (.3).                                                                              $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 NM        $      260.00           2.1 revise claims form (2.1)                                                                                $         546.00
           Administration &
           Objections
    Jan‐19 Claims                1/30/2019 NM        $      260.00           2.3 Telephone conference with K. Duff, M. Rachlis, A. Porter, and E. Duff regarding claims form (2.3)       $         598.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 AEP       $      390.00           3.3 Read, edit, and revise latest draft of proof of claim form.                                             $        1,287.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 AW        $      140.00           1.4 Confirm exact names of entities listed on exhibit A of claims form (1.4)                                $         196.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 ED        $      390.00           1.8 Review and revise updated draft of proof of claim form.                                                 $         702.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 MR        $      390.00           0.2 Attention to revised claims process pleadings (.2)                                                      $           78.00
           Administration &
           Objections
    Jan‐19 Claims                1/31/2019 NM        $      260.00           0.4 Study A. Porter and E. Duff revisions and comments on claims form.                                      $         104.00
           Administration &
           Objections
   Feb‐19 Asset Disposition       2/6/2019 KBD       $      390.00           0.1 Exchange correspondence with real estate broker regarding potential purchaser (.1)                      $           39.00

   Feb‐19 Asset Disposition      2/14/2019 KBD       $      390.00           0.3 draft correspondence to real estate broker regarding updated portfolio summary and study same           $         117.00
                                                                                 (.3).
   Feb‐19 Asset Disposition      2/18/2019 KBD       $      390.00           0.1 review correspondence regarding potential purchaser (.1).                                               $           39.00

   Feb‐19 Asset Disposition      2/19/2019 KBD       $      390.00           0.1 exchange correspondence with potential purchaser regarding interest in properties and draft             $           39.00
                                                                                 correspondence to real estate broker regarding same (.1).
   Feb‐19 Business                2/4/2019 KBD       $      390.00           0.1 telephone conference and exchange correspondence with bank representative regarding wire                $           39.00
          Operations                                                             transfer for insurance payment (.1).
   Feb‐19 Business               2/11/2019 KBD       $      390.00           0.2 study analysis of property sale projections and debt (.2)                                               $           78.00
          Operations
   Feb‐19 Business               2/14/2019 KBD       $      390.00           0.8 telephone conference with accounting firm representative and N. Mirjanich regarding accounting          $         312.00
          Operations                                                             for real estate properties to comply with court order (.8)
   Feb‐19 Business               2/19/2019 KBD       $      390.00           0.2 exchange correspondence with D. Weinberg regarding real estate taxes and office conference with         $           78.00
          Operations                                                             M. Rachlis regarding same (.2)
   Feb‐19 Business               2/19/2019 KBD       $      390.00           0.2 Review property insurance issues with E. Duff (.2)                                                      $           78.00
          Operations
   Feb‐19 Business               2/20/2019 KBD       $      390.00           0.4 analysis of real estate taxes, payment options, and timing and office conferences with E. Duff and M.   $         156.00
          Operations                                                             Rachlis regarding same (.4)
   Feb‐19 Business               2/25/2019 KBD       $      390.00           0.2 Attention to bank records and available funds, insurance costs, and accounting for property related     $           78.00
          Operations                                                             expenses with K. Pritchard (.2)
   Feb‐19 Business               2/25/2019 KBD       $      390.00           0.3 exchange correspondence with K. Pritchard and insurance broker regarding policy term information        $         117.00
          Operations                                                             and renewal (.3)
   Feb‐19 Business               2/26/2019 KBD       $      390.00           0.4 telephone conferences and exchange correspondence with property managers regarding financial            $         156.00
          Operations                                                             reporting, property reserves, and real estate taxes (.4)
   Feb‐19 Business               2/27/2019 KBD       $      390.00           0.3 study various correspondence from M. Rachlis, E. Duff, and K. Pritchard regarding real estate tax       $         117.00
          Operations                                                             planning (.3)




                                                                                            28 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 30 of 191 PageID #:53814
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Feb‐19 Business              2/28/2019 KBD        $       390.00        0.1 study correspondence from insurance broker and K. Pritchard regarding premium finance                    $           39.00
          Operations                                                           installment payments (.1).
   Feb‐19 Claims                 2/1/2019 KBD        $       390.00        2.2 Study revised claims form and motion to approve claims process (2.2)                                     $         858.00
          Administration &
          Objections
   Feb‐19 Claims                 2/3/2019 KBD        $      390.00          0.2 Study revised motion to approve claims process.                                                         $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 KBD        $      390.00          1.6 Study and revise claims form and instructions, study further revisions, and confer with N. Mirjanich    $         624.00
          Administration &                                                      regarding same.
          Objections
   Feb‐19 Claims                 2/8/2019 KBD        $      390.00          0.3 review claim form and changes to motion seeking approval of claim process with M. Rachlis (.3)          $         117.00
          Administration &
          Objections
   Feb‐19 Claims                 2/8/2019 KBD        $      390.00          0.3 telephone conference with claims process vendor regarding claim form (.3)                               $         117.00
          Administration &
          Objections
   Feb‐19 Claims                 2/8/2019 KBD        $      390.00          0.5 study claims motion and revisions to same and exchange correspondence regarding same (.5).              $         195.00
          Administration &
          Objections
   Feb‐19 Claims                 2/9/2019 KBD        $      390.00          0.1 draft correspondence to K. Pritchard regarding creditors list (.1).                                     $           39.00
          Administration &
          Objections
   Feb‐19 Claims                 2/9/2019 KBD        $      390.00          0.2 Study revised claims process motion (.2)                                                                $           78.00
          Administration &
          Objections
   Feb‐19 Claims                2/12/2019 KBD        $      390.00          0.1 study correspondence from vendor representative regarding claims process (.1).                          $           39.00
          Administration &
          Objections
   Feb‐19 Claims                2/12/2019 KBD        $      390.00          0.2 Work with N. Mirjanich on motion to approve claims process and communications with vendor               $           78.00
          Administration &                                                      regarding claim form (.2)
          Objections
   Feb‐19 Claims                2/15/2019 KBD        $      390.00          0.2 study correspondence from E. Duff regarding financial reporting issues (.2).                            $           78.00
          Administration &
          Objections
   Feb‐19 Claims                2/19/2019 KBD        $      390.00          0.1 confer with E. Duff regarding same and property manager communications (.1)                             $           39.00
          Administration &
          Objections
   Feb‐19 Claims                2/19/2019 KBD        $      390.00          0.2 telephone conference with accounting firm representative regarding accounting for property rent         $           78.00
          Administration &                                                      and reporting planning (.2)
          Objections
   Feb‐19 Claims                2/19/2019 KBD        $      390.00          1.3 Study and revise motion to approve claims process and office conference with N. Mirjanich               $         507.00
          Administration &                                                      regarding same (1.3)
          Objections
   Feb‐19 Claims                2/20/2019 KBD        $      390.00          0.3 Study and revise proposed claims form (.3)                                                              $         117.00
          Administration &
          Objections
   Feb‐19 Claims                2/20/2019 KBD        $      390.00            1 study and revise motion for approval of claims process and claim form (1.0)                             $         390.00
          Administration &
          Objections
   Feb‐19 Claims                2/21/2019 KBD        $      390.00          0.9 Work with M. Rachlis and N. Mirjanich on motion to approve claims process and lender                    $         351.00
          Administration &                                                      communications (.9)
          Objections
   Feb‐19 Claims                2/22/2019 KBD        $      390.00          0.1 study correspondence from E. Duff regarding various issues in lender communications (.1).               $           39.00
          Administration &
          Objections
   Feb‐19 Claims                2/22/2019 KBD        $      390.00          0.2 Exchange correspondence and telephone conference with N. Mirjanich regarding claims process             $           78.00
          Administration &                                                      motion and affidavit (.2)
          Objections
   Feb‐19 Claims                2/22/2019 KBD        $      390.00          0.3 study claims motion and affidavit (.3)                                                                  $         117.00
          Administration &
          Objections
   Feb‐19 Asset Disposition     2/19/2019 AEP        $      390.00            6 Lengthy meeting with J. Rak to review the entire asset disposition process from initial motion for      $        2,340.00
                                                                                leave to closing of sale, update closing checklists for properties in first marketing tranche, create
                                                                                closing checklists for properties in second marketing tranche, analyze title history for property in
                                                                                second marketing tranche (638 N Avers), prepare initial drafts of various closing documents, and
                                                                                contact property managers requesting information needed for closings.

   Feb‐19 Asset Disposition     2/19/2019 JR         $      140.00          0.5 Prepare for closing process with A. Porter (.5)                                                         $           70.00

   Feb‐19 Asset Disposition     2/19/2019 JR         $      140.00          1.8 review and further prepare closing checklist and create various closing documents and templates for $             252.00
                                                                                all properties (1.8)
   Feb‐19 Asset Disposition     2/19/2019 JR         $      140.00          2.3 begin preparation of closing documents for same (2.3).                                              $             322.00

   Feb‐19 Asset Disposition     2/21/2019 JR         $      140.00          1.2 confirm delinquent 2017 Real Estate Taxes and 1st installment payment for 2018 Real Estate Taxes        $         168.00
                                                                                along with the proration percentage (1.2)
   Feb‐19 Asset Disposition     2/28/2019 JR         $      140.00          0.5 Telephone communication regarding payment of delinquent taxes (.5)                                      $           70.00

   Feb‐19 Asset Disposition     2/28/2019 JR         $      140.00          2.5 created an excel spreadsheet regarding 2017 and 2018 taxes, proofread and finalize (2.5)                $         350.00

   Feb‐19 Business               2/1/2019 KMP        $      140.00          0.1 conference with K. Duff regarding upcoming payment for property insurance (.1).                         $           14.00
          Operations
   Feb‐19 Business               2/4/2019 KMP        $      140.00          0.2 Prepare wire transfer request form for insurance premium payment and communications with bank $                     28.00
          Operations                                                            regarding processing of wire transfer.
   Feb‐19 Business               2/6/2019 ED         $      390.00          0.3 review questions from lender regarding financial reporting, and related information from property $               117.00
          Operations                                                            managers (.3)
   Feb‐19 Business              2/11/2019 AW         $      140.00          0.1 meeting with K. Duff regarding steps to take relating to same (.1)                                $                 14.00
          Operations
   Feb‐19 Business              2/11/2019 AW         $      140.00          0.1 attention to email regarding online vendor (.1)                                                         $           14.00
          Operations
   Feb‐19 Business              2/11/2019 AW         $      140.00          0.2 draft language for revision to website to inform investors regarding necessity to whitelist emails and $            28.00
          Operations                                                            email team regarding same (.2).
   Feb‐19 Business              2/11/2019 AW         $      140.00          0.5 analysis of notice to all creditors, investors, and others and confer with N. Mirjanich regarding same $            70.00
          Operations                                                            (.5)




                                                                                           29 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 31 of 191 PageID #:53815
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Feb‐19 Business              2/14/2019 NM        $       260.00        0.8 telephone conference with K. Duff and accountant regarding accounting on property by property           $         208.00
          Operations                                                          basis pursuant to court's ruling on the rents motion (.8)
   Feb‐19 Business              2/17/2019 AEP       $       390.00        0.4 read e‐mail received from lender‐investor regarding issue in most recent status report, research        $         156.00
          Operations                                                          corresponding investments, and prepare reply (.4).
   Feb‐19 Business              2/19/2019 ED        $       390.00        0.1 discussion with K. Duff for property taxes and insurance (.1).                                          $           39.00
          Operations
   Feb‐19 Business              2/19/2019 ED        $      390.00           0.3 review insurance coverage for properties portfolio and emails to broker, K. Duff and K. Pritchard     $         117.00
          Operations                                                            regarding same (.3)
   Feb‐19 Business              2/20/2019 ED        $      390.00           0.2 property managers (.2) regarding same                                                                 $           78.00
          Operations
   Feb‐19 Business              2/20/2019 ED        $      390.00           0.4 confer with J. Rak (.4)                                                                               $         156.00
          Operations
   Feb‐19 Business              2/20/2019 ED        $      390.00           0.9 prepare report for K. Duff regarding real estate tax liabilities (.9)                                 $         351.00
          Operations
   Feb‐19 Business              2/21/2019 ED        $      390.00           0.7 organize information for follow up on pending issues and questions from lenders and counsel (.7)      $         273.00
          Operations
   Feb‐19 Business              2/25/2019 AW        $      140.00           0.3 Revise and assemble income statement breakdown provided by E. Duff.                                   $           42.00
          Operations
   Feb‐19 Business              2/25/2019 KMP       $      140.00           0.1 communication with accountant to forward record of insurance expenses identified by property (.1) $               14.00
          Operations
   Feb‐19 Business              2/25/2019 KMP       $      140.00           0.2 communications with insurance broker regarding property liability insurance expiration dates and      $           28.00
          Operations                                                            related expiration of premium finance agreement, and discuss same with K. Duff (.2).

   Feb‐19 Business              2/26/2019 ED        $      390.00           0.3 calls to property manager and asset manager regarding financial information related to tax analysis   $         117.00
          Operations                                                            (.3)
   Feb‐19 Business              2/26/2019 JR        $      140.00           1.1 Spreadsheet relating to insurance.                                                                    $         154.00
          Operations
   Feb‐19 Business              2/27/2019 NM        $      260.00           0.2 Study creditors' motion to extend time to object to claims motion (.2)                                $           52.00
          Operations
   Feb‐19 Business              2/28/2019 KMP       $      140.00           0.2 Communications with K. Duff and insurance broker regarding terms of premium finance installment       $           28.00
          Operations                                                            agreement on property insurance and issues relating to payments and payoff (.2)

   Feb‐19 Claims                 2/1/2019 MR        $      390.00           0.5 Attention to issues on claims process (.5)                                                            $         195.00
          Administration &
          Objections
   Feb‐19 Claims                 2/3/2019 MR        $      390.00           1.3 Issues on motion for claims process.                                                                  $         507.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 MR        $      390.00           2.2 Issues on claims process form (2.2)                                                                   $         858.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 NM        $      260.00           0.2 correspond with K. Duff regarding claims form (.2)                                                    $           52.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 NM        $      260.00           0.3 correspond with E. Duff regarding claims form (.3)                                                    $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 NM        $      260.00           0.3 study comments from M. Rachlis on claims form and motion for same (.3).                               $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 NM        $      260.00           1.8 Revise claims form (1.8)                                                                              $         468.00
          Administration &
          Objections
   Feb‐19 Claims                 2/4/2019 SZ        $      110.00           3.2 Continued to work on notice list for investors by searching email communication with creditors (3.2) $          352.00
          Administration &
          Objections
   Feb‐19 Claims                 2/5/2019 KMP       $      140.00           0.2 Briefly review draft claims form and related requests for additional information from bank regarding $            28.00
          Administration &                                                      online claims platform and procedures.
          Objections
   Feb‐19 Claims                 2/5/2019 MR        $      390.00           0.3 Issues on claims process and conferences regarding same (.3)                                          $         117.00
          Administration &
          Objections
   Feb‐19 Claims                 2/5/2019 MR        $      390.00           0.3 issues regarding secured creditors and follow up on sales process (.3).                               $         117.00
          Administration &
          Objections
   Feb‐19 Claims                 2/5/2019 MR        $      390.00             2 prepare for and participate in meetings relating to same (2.0)                                        $         780.00
          Administration &
          Objections
   Feb‐19 Claims                 2/5/2019 NM        $      260.00           0.1 Revise claims form (.1)                                                                               $           26.00
          Administration &
          Objections
   Feb‐19 Claims                 2/5/2019 NM        $      260.00           0.3 send draft claims form and questions to claims vendor (.3).                                           $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/6/2019 KMP       $      140.00           0.3 Further review and comment on draft claims form.                                                      $           42.00
          Administration &
          Objections
   Feb‐19 Claims                 2/6/2019 NM        $      260.00           0.3 Revise motion to approve claims.                                                                      $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/7/2019 NM        $      260.00           0.1 correspond with A. Watychowicz regarding claims process and investor status for same (.1)             $           26.00
          Administration &
          Objections
   Feb‐19 Claims                 2/7/2019 NM        $      260.00           0.3 Correspond with K. Duff regarding claims process and property accounting (.3)                         $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/7/2019 NM        $      260.00           0.5 revise claims motion (.5).                                                                            $         130.00
          Administration &
          Objections
   Feb‐19 Claims                 2/8/2019 NM        $      260.00           0.3 Revise claims motion (.3)                                                                             $           78.00
          Administration &
          Objections
   Feb‐19 Claims                 2/8/2019 NM        $      260.00           0.5 review claims form (.5).                                                                              $         130.00
          Administration &
          Objections




                                                                                           30 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 32 of 191 PageID #:53816
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Feb‐19 Claims                 2/9/2019 MR        $       390.00        5.5 Work on various motions and briefs including claims motion and claims form, motions adding              $           2,145.00
          Administration &                                                    additional parties, claims form and approval for first round of sales, and follow up on several e‐mails
          Objections                                                          regarding same.
   Feb‐19 Claims                2/11/2019 NM        $       260.00        0.3 Study M. Rachlis revisions to the claims motion.                                                        $              78.00
          Administration &
          Objections
   Feb‐19 Claims                2/12/2019 NM        $       260.00            1 Study comments from claims vendor and answers to questions from same and revise claims form              $         260.00
          Administration &                                                      accordingly for K. Duff review.
          Objections
   Feb‐19 Claims                2/18/2019 MR        $       390.00          0.2 Attention to claims process motion and claims form.                                                      $           78.00
          Administration &
          Objections
   Feb‐19 Claims                2/20/2019 MR        $       390.00          0.3 attention to issues on claims process (.3).                                                              $         117.00
          Administration &
          Objections
   Feb‐19 Claims                2/20/2019 NM        $       260.00          0.3 revise claims form and send to vendor along with request for telephone conference (.3)                   $           78.00
          Administration &
          Objections
   Feb‐19 Claims                2/20/2019 NM        $       260.00          2.3 Study comments from K. Duff to claims motion and form and revise accordingly and correspond with $                 598.00
          Administration &                                                      K. Duff regarding same (2.3)
          Objections
   Feb‐19 Claims                2/21/2019 MR        $       390.00          0.3 attention to claims motion (.3).                                                                         $         117.00
          Administration &
          Objections
   Feb‐19 Claims                2/21/2019 NM        $       260.00          0.7 Exchange various correspondence and drafts relating to claims form.                                      $         182.00
          Administration &
          Objections
   Feb‐19 Claims                2/22/2019 MR        $       390.00          0.4 Conferences and attention to claims motion and issues regarding same.                                    $         156.00
          Administration &
          Objections
   Feb‐19 Claims                2/22/2019 NM        $       260.00          0.8 file and serve motion to approve claims process (.8).                                                    $         208.00
          Administration &
          Objections
   Feb‐19 Claims                2/22/2019 NM        $       260.00          3.2 Study and revise motion to approve claims process and correspond with K. Duff regarding same and         $         832.00
          Administration &                                                      finalize same for filing and correspond with S. Zjalic regarding same (3.2)
          Objections
   Feb‐19 Claims                2/25/2019 KMP       $       140.00          0.2 Conference with N. Mirjanich regarding updating and finalizing creditors' list for notices relating to   $           28.00
          Administration &                                                      claims process.
          Objections
   Feb‐19 Claims                2/25/2019 MR        $       390.00          0.1 Attention to claims issues.                                                                              $           39.00
          Administration &
          Objections
   Mar‐19 Asset Disposition      3/5/2019 KBD       $       390.00          0.1 exchange correspondence with city official regarding local real estate firm (.1).                        $           39.00

  Mar‐19 Asset Disposition      3/12/2019 KBD       $       390.00          0.3 study revised portfolio summary (.3).                                                                    $         117.00

  Mar‐19 Asset Disposition      3/12/2019 KBD       $       390.00          0.4 Prepare for meeting with asset manager and counsel regarding portfolio analysis and strategy (.4)        $         156.00

  Mar‐19 Asset Disposition      3/24/2019 KBD       $       390.00          0.1 Draft correspondence to M. Rachlis regarding approach to liquidating properties (.1)                     $           39.00

  Mar‐19 Business                3/1/2019 KBD       $       390.00          0.1 study correspondence from insurance broker regarding insurance coverage, finance agreement, and $                    39.00
         Operations                                                             payment history (.1)
  Mar‐19 Business                3/6/2019 KBD       $       390.00          0.2 study correspondence from E. Duff and insurance broker regarding insurance premium payments     $                    78.00
         Operations                                                             (.2).
  Mar‐19 Business               3/14/2019 KBD       $       390.00          0.1 exchange correspondence with K. Pritchard regarding efforts for insurance renewal (.1).         $                    39.00
         Operations
  Mar‐19 Business               3/15/2019 KBD       $       390.00          0.1 review correspondence from insurance broker and E. Duff regarding premium allocation (.1)                $           39.00
         Operations
  Mar‐19 Business               3/19/2019 KBD       $       390.00          0.2 study analysis of receivership revenue, recoveries, and expenses (.2)                                    $           78.00
         Operations
  Mar‐19 Business               3/20/2019 KBD       $       390.00          0.1 study lender billing statement and exchange correspondence with A. Watychowicz regarding same            $           39.00
         Operations                                                             (.1)
  Mar‐19 Business               3/28/2019 KBD       $       390.00          0.2 study correspondence from insurance broker regarding policy renewal information and estimate             $           78.00
         Operations                                                             costs (.2)
  Mar‐19 Claims                  3/5/2019 KBD       $       390.00          1.1 work on claims process with M. Rachlis and N. Mirjanich (1.1)                                            $         429.00
         Administration &
         Objections
  Mar‐19 Claims                 3/21/2019 KBD       $       390.00          0.2 Exchange correspondence with A. Watychowicz regarding responses to investors about status and            $           78.00
         Administration &                                                       claims process.
         Objections
  Mar‐19 Claims                 3/22/2019 KBD       $       390.00          0.1 Study correspondence from claims vendor regarding issues to address in portal planning.                  $           39.00
         Administration &
         Objections
  Mar‐19 Claims                 3/25/2019 KBD       $       390.00          1.4 Telephone conference with claims service provider team and E. Duff, N. Mirjanich, and A.                 $         546.00
         Administration &                                                       Watychowicz regarding claims form and process.
         Objections
  Mar‐19 Claims                 3/26/2019 KBD       $       390.00          0.1 study correspondence from investor regarding claims process and investor communications (.1).            $           39.00
         Administration &
         Objections
  Mar‐19 Claims                 3/26/2019 KBD       $       390.00          0.3 Office conferences with and review and revise draft correspondence from S. Zjalic regarding notice       $         117.00
         Administration &                                                       to creditors (.3)
         Objections
  Mar‐19 Claims                 3/27/2019 KBD       $       390.00          0.3 study investor records regarding claim to interest in property (.3).                                     $         117.00
         Administration &
         Objections
  Mar‐19 Asset Disposition       3/6/2019 JR        $       140.00          0.5 telephone communication with the Cook County Treasurer's office to confirm property balances (.5). $                 70.00

  Mar‐19 Asset Disposition       3/6/2019 KMP       $       140.00          0.2 Communications with insurance broker and E. Duff regarding breakdown of premium payments,                $           28.00
                                                                                finance charges and fines on a per‐property basis in connection with sale of properties.

  Mar‐19 Asset Disposition       3/7/2019 JR        $       140.00          3.2 Update EquityBuild portfolio spreadsheet with updated real estate tax balances which include             $         448.00
                                                                                accrued interest from March.
  Mar‐19 Asset Disposition      3/27/2019 JR        $       140.00          0.2 continue update spreadsheet of outstanding real estate taxes for K. Duff (.2).                           $           28.00




                                                                                           31 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 33 of 191 PageID #:53817
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                       Task Cost
Month                                       Keeper        Rate
   Mar‐19 Asset Disposition     3/28/2019 AEP        $       390.00        0.5 conference call with receivership broker regarding change in disposition strategy (.5).                      $         195.00

  Mar‐19 Asset Disposition      3/29/2019 JR         $       140.00           0.2 ; exchange correspondence with K. Duff regarding same (.2).                                               $           28.00

  Mar‐19 Asset Disposition      3/29/2019 JR         $       140.00           0.7 Completed real estate tax balance excel spreadsheet (.7)                                                  $           98.00

  Mar‐19 Business                3/1/2019 ED         $       390.00           0.2 review email from lender's counsel regarding proposal for payment of real estate taxes and confer         $           78.00
         Operations                                                               with J. Rak and K. Duff regarding same, and regarding payment of property tax balance from
                                                                                  available refund (.2).
  Mar‐19 Business                3/5/2019 AW         $       140.00           0.1 draft notice of subpoenas (.1)                                                                            $           14.00
         Operations
  Mar‐19 Business                3/5/2019 AW         $       140.00           0.3 Communicate with A. Porter and N. Mirjanich regarding subpoenas to title companies (.3)                   $           42.00
         Operations
  Mar‐19 Business                3/5/2019 AW         $       140.00           0.4 draft subpoenas for five title companies (.4)                                                             $           56.00
         Operations
  Mar‐19 Business                3/7/2019 NM         $       260.00           0.1 Study email correspondence relating to tax filing information and a property in the EquityBuild           $           26.00
         Operations                                                               account (.1)
  Mar‐19 Business                3/8/2019 NM         $       260.00           0.2 correspond with E. Duff regarding financial reporting spreadsheets and hearings set before Judge          $           52.00
         Operations                                                               Kim (.2).
  Mar‐19 Business               3/11/2019 ED         $       390.00           0.1 confer with K. Duff regarding same (.1)                                                                   $           39.00
         Operations
  Mar‐19 Business               3/11/2019 ED         $       390.00           0.3 calls and email correspondence with insurance broker regarding sources of payments received for           $         117.00
         Operations                                                               premiums following appointment of Receiver (.3)
  Mar‐19 Business               3/11/2019 ED         $       390.00           0.3 confer with J. Rak regarding updated figures for outstanding real estate taxes by property (.3)           $         117.00
         Operations
  Mar‐19 Business               3/11/2019 ED         $       390.00           1.1 prepare and send information to K. Duff analyzing potential approaches for optimizing timing of           $         429.00
         Operations                                                               payments of real estate taxes (1.1)
  Mar‐19 Business               3/14/2019 ED         $       390.00           0.1 email correspondence with lender to set up call to discuss real estate taxes and collateral issues (.1)   $           39.00
         Operations
  Mar‐19 Business               3/14/2019 NM         $       260.00           0.3 correspond with E. Duff regarding accounting and claims response (.3)                                     $           78.00
         Operations
  Mar‐19 Business               3/15/2019 ED         $       390.00           1.4 review of financial reporting for February (1.4)                                                          $         546.00
         Operations
  Mar‐19 Business               3/20/2019 ED         $       390.00           0.4 confer with K. Duff and M. Rachlis regarding application of proceeds of property sales (.4).              $         156.00
         Operations
  Mar‐19 Business               3/22/2019 ED         $       390.00           0.3 review of information regarding sources for payment of real estate taxes (.3)                             $         117.00
         Operations
  Mar‐19 Business               3/25/2019 AEP        $       390.00           0.4 Review property insurance regime, confirm EquityBuild status as named insured, and provide notice         $         156.00
         Operations                                                               of claim pursuant to policy provisions.
  Mar‐19 Business               3/27/2019 ED         $       390.00           0.3 confer with N. Mirjanich regarding corporate status issue, various claims related issues, and             $         117.00
         Operations                                                               upcoming expenses payable by receivership (.3).
  Mar‐19 Business               3/27/2019 KMP        $       140.00           0.2 Communications with K. Duff and insurance broker regarding status of property insurance marketing         $           28.00
         Operations                                                               and anticipated initial payments.
  Mar‐19 Business               3/28/2019 AEP        $       390.00           0.3 conference call with K. Duff and E. Duff regarding issues with management company (.3).                   $         117.00
         Operations
  Mar‐19 Business               3/28/2019 KMP        $       140.00           0.2 Communications with N. Mirjanich and insurance broker regarding status of property insurance              $           28.00
         Operations                                                               marketing and anticipated initial payments.
  Mar‐19 Business               3/31/2019 ED         $       390.00           0.2 Calls with K. Duff to discuss financing options and expenses coming due (.2)                              $           78.00
         Operations
  Mar‐19 Business               3/31/2019 ED         $       390.00           0.4 conference calls with property advisor and K. Duff regarding same (.4)                                    $         156.00
         Operations
  Mar‐19 Claims                  3/5/2019 KMP        $       140.00           0.2 update chart with subcontractor information at N. Mirjanich's request (.2).                               $           28.00
         Administration &
         Objections
  Mar‐19 Claims                  3/5/2019 KMP        $       140.00           1.2 Review various files and documents to compile contact and claim information relating to former            $         168.00
         Administration &                                                         employees and update creditors' claims chart (1.2)
         Objections
  Mar‐19 Claims                  3/5/2019 MR         $       390.00           0.1 follow up on claims motion and objections (.1).                                                           $           39.00
         Administration &
         Objections
  Mar‐19 Claims                  3/5/2019 MR         $       390.00           1.1 conferences on claims process and issues on discovery with K. Duff and N. Mirjanich (1.1)                 $         429.00
         Administration &
         Objections
  Mar‐19 Claims                  3/5/2019 NM         $       260.00           0.3 correspond with K. Duff, A. Watychowicz, and K. Pritchard regarding notice of claims (.3).                $           78.00
         Administration &
         Objections
  Mar‐19 Claims                  3/8/2019 AW         $       140.00           0.9 Meeting with N. Mirjanich and K. Pritchard regarding claims and notice.                                   $         126.00
         Administration &
         Objections
  Mar‐19 Claims                  3/8/2019 KMP        $       140.00            1 Meeting with N. Mirjanich and A. Watychowicz regarding issues relating to claims notices and               $         140.00
         Administration &                                                        identification of potential claimants and capturing contact information on creditors' list.
         Objections
  Mar‐19 Claims                  3/8/2019 NM         $       260.00            1 Correspond with K. Pritchard and A. Watychowicz regarding notice list for claims process.                  $         260.00
         Administration &
         Objections
  Mar‐19 Claims                 3/12/2019 AEP        $       390.00           0.7 Conference with K. Duff and M. Rachlis regarding competing methods for administering claims               $         273.00
         Administration &                                                         process based on facts discovered to date.
         Objections
  Mar‐19 Claims                 3/12/2019 KMP        $       140.00           3.1 Continue work on revisions to creditors' list, including reviewing notices sent to or received from       $         434.00
         Administration &                                                         various potential claimants and adding same to list.
         Objections
  Mar‐19 Claims                 3/12/2019 MR         $       390.00           0.1 Conference with lender's counsel regarding claims process.                                                $           39.00
         Administration &
         Objections
  Mar‐19 Claims                 3/13/2019 AW         $       140.00           0.3 Attention to numerous objections to motion to approve claims process.                                     $           42.00
         Administration &
         Objections
  Mar‐19 Claims                 3/13/2019 KMP        $       140.00           2.8 Review notices sent to or received from various potential claimants and continue working on               $         392.00
         Administration &                                                         revisions to creditors' list.
         Objections
  Mar‐19 Claims                 3/13/2019 MR         $       390.00           0.1 and conferences regarding same with K. Duff (.1).                                                         $           39.00
         Administration &
         Objections




                                                                                             32 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 34 of 191 PageID #:53818
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                               Task Cost
Month                                      Keeper        Rate
   Mar‐19 Claims                3/13/2019 MR        $       390.00        0.6 Attention to filings on claims process and upcoming hearing (.6)                                      $         234.00
          Administration &
          Objections
   Mar‐19 Claims                3/14/2019 KMP       $       140.00          2.7 Continue to review notices sent to or received from various potential claimants and continue        $         378.00
          Administration &                                                      working on revisions to creditors' list.
          Objections
   Mar‐19 Claims                3/14/2019 MR        $      390.00           0.5 conferences with K. Duff regarding same (.5).                                                       $         195.00
          Administration &
          Objections
   Mar‐19 Claims                3/14/2019 MR        $      390.00           1.2 Review response from lenders regarding claims process and evaluate possible reasons (1.2)           $         468.00
          Administration &
          Objections
   Mar‐19 Claims                3/15/2019 KMP       $       140.00          3.1 Continue to review notices sent to or received from various potential claimants and continue        $         434.00
          Administration &                                                      working on revisions to creditors' list.
          Objections
   Mar‐19 Claims                3/19/2019 AW        $       140.00          1.3 Continue work on comprehensive and detailed investor list for claims process purpose.               $         182.00
          Administration &
          Objections
   Mar‐19 Claims                3/20/2019 AW        $       140.00          0.1 attention to statement from institutional lender and forward to K. Duff. (.1).                      $           14.00
          Administration &
          Objections
   Mar‐19 Claims                3/20/2019 AW        $       140.00          2.1 Continue work on comprehensive and detailed investor list for claims process purpose (2.1)          $         294.00
          Administration &
          Objections
   Mar‐19 Claims                3/21/2019 AW        $       140.00          0.4 start preparation of notices of receivership to newly discovered creditors (.4).                    $           56.00
          Administration &
          Objections
   Mar‐19 Claims                3/21/2019 AW        $       140.00          0.8 Confer with N. Mirjanich regarding additional creditors and search regarding same (.8)              $         112.00
          Administration &
          Objections
   Mar‐19 Claims                3/21/2019 MR        $      390.00           0.3 attention to issues on claims process (.3).                                                         $         117.00
          Administration &
          Objections
   Mar‐19 Claims                3/21/2019 NM        $      260.00             1 correspond with A. Watychowicz regarding search of potential creditors in EB email accounts and     $         260.00
          Administration &                                                      search for same (1.0).
          Objections
   Mar‐19 Claims                3/22/2019 AW        $       140.00          0.1 ; follow up with N. Mirjanich regarding same (.1).                                                  $           14.00
          Administration &
          Objections
   Mar‐19 Claims                3/22/2019 AW        $       140.00          0.8 Find addresses and contact information for new creditors (.8)                                       $         112.00
          Administration &
          Objections
   Mar‐19 Claims                3/22/2019 ED        $      390.00           0.2 Confer with N. Mirjanich regarding review of claims form with vendor.                               $           78.00
          Administration &
          Objections
   Mar‐19 Claims                3/22/2019 NM        $      260.00           0.4 Exchange correspondence with vendor regarding claims form and correspond with E. Duff, K. Duff,     $         104.00
          Administration &                                                      M. Rachlis, K. Pritchard, and A. Watychowicz regarding scheduling a call to discuss same.
          Objections
   Mar‐19 Claims                3/25/2019 AW        $       140.00          1.4 Teleconference regarding claims form.                                                               $         196.00
          Administration &
          Objections
   Mar‐19 Claims                3/25/2019 ED        $      390.00           1.4 Conference call with vendor, K. Duff, N. Mirjanich, and A. to review online claims form, and        $         546.00
          Administration &                                                      discussion of comments and next steps.
          Objections
   Mar‐19 Claims                3/25/2019 MR        $      390.00           0.3 follow up on claims process issues (.3).                                                            $         117.00
          Administration &
          Objections
   Mar‐19 Claims                3/25/2019 NM        $      260.00           0.3 prepare for telephone call with vendor to review claims form (.3)                                   $           78.00
          Administration &
          Objections
   Mar‐19 Claims                3/25/2019 NM        $      260.00           1.4 telephone call with vendor, K. Duff, E. Duff, and A. Watychowicz regarding same (1.4).              $         364.00
          Administration &
          Objections
   Mar‐19 Claims                3/26/2019 NM        $      260.00           0.1 correspond with S. Zjalic regarding draft notice letter for creditors (.1).                         $           26.00
          Administration &
          Objections
   Mar‐19 Claims                3/26/2019 SZ        $      110.00           0.5 office conference with the Receiver, N. Mirjanich and A. Watychowicz about the same (.5).           $           55.00
          Administration &
          Objections
   Mar‐19 Claims                3/26/2019 SZ        $      110.00             3 Revised and drafted notices for new creditors reflecting additional receivership defendants (3.0)   $         330.00
          Administration &
          Objections
   Mar‐19 Claims                3/27/2019 MR        $      390.00           0.3 Attention to issues on upcoming response to objections on claims process (.3)                       $         117.00
          Administration &
          Objections
   Mar‐19 Claims                3/28/2019 MR        $      390.00             3 Review, draft and revise claims process response brief (3.0)                                        $        1,170.00
          Administration &
          Objections
   Apr‐19 Asset Disposition      4/3/2019 KBD       $      390.00           0.2 Telephone conference with asset manager regarding revisions to portfolio summary and priority of    $           78.00
                                                                                property sales, analysis of cost benefit of sale timing and potential improvement, and balancing
                                                                                costs against timing for all remaining properties (.2)
   Apr‐19 Asset Disposition      4/3/2019 KBD       $      390.00           0.5 analysis of same (.5)                                                                               $         195.00

   Apr‐19 Asset Disposition     4/30/2019 KBD       $      390.00           0.1 exchange correspondence with real estate broker regarding potential purchasers (.1).                $           39.00

   Apr‐19 Business               4/1/2019 KBD       $      390.00           0.1 study correspondence from and office conference with M. Rachlis regarding lender's request for      $           39.00
          Operations                                                            extension on motion for discovery (.1)
   Apr‐19 Business               4/1/2019 KBD       $      390.00           0.3 analysis of unpaid real estate taxes and exchange correspondence with J. Rak regarding same (.3)    $         117.00
          Operations
   Apr‐19 Business               4/1/2019 KBD       $      390.00           1.1 analysis of receivership funds, property related expenses, and planning and draft correspondence to $         429.00
          Operations                                                            E. Duff regarding same (1.1).
   Apr‐19 Business               4/3/2019 KBD       $      390.00           0.2 study updated spreadsheet regarding outstanding real estate taxes (.2)                              $           78.00
          Operations
   Apr‐19 Business               4/5/2019 KBD       $      390.00           0.3 analysis of sources and uses (.3).                                                                  $         117.00
          Operations




                                                                                           33 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 35 of 191 PageID #:53819
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                           Task Cost
Month                                       Keeper        Rate
   Apr‐19 Business               4/5/2019 KBD        $       390.00        0.3 Exchange correspondence with asset manager and J. Rak regarding analysis of real estate taxes (.3)           $         117.00
          Operations
   Apr‐19 Business               4/8/2019 KBD        $      390.00           0.2 Study additional information from J. Rak regarding real estate taxes (.2)                                  $           78.00
          Operations
   Apr‐19 Business               4/8/2019 KBD        $      390.00           0.5 draft correspondence to A. Porter, E. Duff, J. Rak, and N. Mirjanich regarding financing loan, filing of   $         195.00
          Operations                                                             motion, payment of taxes, and hearing before Judge Lee (.5).
   Apr‐19 Business               4/9/2019 KBD        $      390.00           0.1 Exchange correspondence with insurance broker regarding renewal of coverage (.1)                           $           39.00
          Operations
   Apr‐19 Business              4/11/2019 KBD        $      390.00           0.5 analyze cash position of properties (.5)                                                                   $         195.00
          Operations
   Apr‐19 Business              4/12/2019 KBD        $      390.00           0.1 study correspondence from insurance broker regarding insurance renewal (.1)                                $           39.00
          Operations
   Apr‐19 Business              4/16/2019 KBD        $      390.00           0.2 exchange correspondence with E. Duff regarding communications with lender's counsel (.2).                  $           78.00
          Operations
   Apr‐19 Business              4/18/2019 KBD        $      390.00           0.7 analysis and development of options associated with real estate portfolio (.7)                             $         273.00
          Operations
   Apr‐19 Business              4/18/2019 KBD        $      390.00           4.8 Analyze portfolio expenses at length and work through same with E. Duff (4.8)                              $        1,872.00
          Operations
   Apr‐19 Business              4/23/2019 KBD        $      390.00           0.2 study real estate tax information from J. Rak (.2)                                                         $           78.00
          Operations
   Apr‐19 Business              4/23/2019 KBD        $      390.00           0.9 Analysis, strategy, and planning with M. Rachlis regarding issues for hearing before Judge Lee             $         351.00
          Operations                                                             regarding interim financing, property sales, and various issues raised by institutional lenders (.9)

   Apr‐19 Business              4/24/2019 KBD        $      390.00           0.2 draft correspondence to insurance broker regarding update on effort to obtain replacement                  $           78.00
          Operations                                                             insurance coverage and cost relating to same (.2)
   Apr‐19 Business              4/25/2019 KBD        $      390.00           0.1 Office conference with E. Duff regarding communications with insurance broker (.1)                         $           39.00
          Operations
   Apr‐19 Business              4/29/2019 KBD        $      390.00           0.4 exchange correspondence with insurance broker and office conference with E. Duff regarding                 $         156.00
          Operations                                                             renewal or replacement of general liability, umbrella, and property insurance policies (.4)

   Apr‐19 Claims                 4/3/2019 KBD        $      390.00           0.1 review voice message from counsel for investor and draft correspondence to A. Watychowicz                  $           39.00
          Administration &                                                       regarding claims process (.1)
          Objections
   Apr‐19 Claims                 4/3/2019 KBD        $      390.00           0.1 Study online claims form through claims portal and office conference with N. Mirjanich regarding           $           39.00
          Administration &                                                       same (.1)
          Objections
   Apr‐19 Claims                 4/3/2019 KBD        $      390.00           0.2 exchange correspondence with E. Duff regarding claimant request for property inspection (.2).              $           78.00
          Administration &
          Objections
   Apr‐19 Claims                4/12/2019 KBD        $      390.00           0.1 review communication from investor and draft correspondence to N. Mirjanich regarding follow up            $           39.00
          Administration &                                                       (.1).
          Objections
   Apr‐19 Claims                4/12/2019 KBD        $      390.00           0.1 review correspondence from M. Rachlis regarding lender request for financial reporting (.1)                $           39.00
          Administration &
          Objections
   Apr‐19 Claims                4/15/2019 KBD        $      390.00           0.5 Study and evaluate potential approaches to claims analysis.                                                $         195.00
          Administration &
          Objections
   Apr‐19 Asset Disposition      4/8/2019 AEP        $      390.00           0.2 read e‐mails from K. Duff and M. Rachlis regarding sequencing of closings in accordance with cash          $           78.00
                                                                                 needs and respond thereto (.2)
   Apr‐19 Business               4/3/2019 JR         $      140.00           1.7 Finalized and emailed updated delinquent real estate taxes for 2017 and 2018 per K. Duff.                  $         238.00
          Operations
   Apr‐19 Business              4/11/2019 NM         $      260.00           0.2 Study correspondence in EquityBuild email account relating to properties and transfers to property $                   52.00
          Operations                                                             managers (.2)
   Apr‐19 Business              4/12/2019 KMP        $       140.00          0.1 Attention to communication from insurance broker requesting endorsement as agents of record (.1) $                     14.00
          Operations
   Apr‐19 Business              4/12/2019 KMP        $       140.00          0.1 prepare email communication to insurance broker forwarding executed copy of same (.1).                     $           14.00
          Operations
   Apr‐19 Business              4/17/2019 ED         $      390.00           0.1 Call with asset manager regarding financial analysis of properties (.1)                                    $           39.00
          Operations
   Apr‐19 Business              4/17/2019 JR         $      140.00           0.2 exchange correspondence with E. Duff regarding same (.2).                                                  $           28.00
          Operations
   Apr‐19 Business              4/18/2019 ED         $      390.00           0.2 asset manager (.2) regarding same.                                                                         $           78.00
          Operations
   Apr‐19 Business              4/18/2019 ED         $      390.00           0.2 calls with A. Porter (.2)                                                                                  $           78.00
          Operations
   Apr‐19 Business              4/18/2019 ED         $      390.00           1.2 confer with K. Duff regarding sources of funds to address expenses pending sale of properties (1.2)        $         468.00
          Operations
   Apr‐19 Business              4/25/2019 NM         $      260.00           0.1 exchange correspondence with City regarding meeting with water department (.1).                            $           26.00
          Operations
   Apr‐19 Claims                 4/1/2019 AEP        $      390.00           2.3 Continue reviewing files from former EquityBuild counsel and creating chronology of transactions           $         897.00
          Administration &                                                       associated with properties in receivership portfolio in anticipation of claims process.
          Objections
   Apr‐19 Claims                 4/2/2019 MR         $      390.00           0.3 follow up on lender inquiries (.3).                                                                        $         117.00
          Administration &
          Objections
   Apr‐19 Claims                 4/3/2019 NM         $      260.00           0.2 Exchange correspondence with vendor regarding claims form and portal and study same.                       $           52.00
          Administration &
          Objections
   Apr‐19 Claims                4/11/2019 AEP        $      390.00           0.8 Read and respond to e‐mail inquiries from multiple investors regarding status of resolution of             $         312.00
          Administration &                                                       claims.
          Objections
   Apr‐19 Claims                4/12/2019 ED         $      390.00           0.2 Review pleadings of certain secured creditors relating to priority and other issues (.2)                   $           78.00
          Administration &
          Objections
   Apr‐19 Claims                4/12/2019 NM         $      260.00           0.2 Study institutional lenders' reply to cross‐motion for expedited discovery and priority hearing.           $           52.00
          Administration &
          Objections
   Apr‐19 Claims                4/22/2019 AW         $      140.00           0.3 Attention to numerous objections filed by institutional lenders.                                           $           42.00
          Administration &
          Objections
   Apr‐19 Claims                4/22/2019 NM         $      260.00           0.3 Study objections by lenders to interim financing motion.                                                   $           78.00
          Administration &
          Objections




                                                                                             34 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 36 of 191 PageID #:53820
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                  Task Cost
Month                                      Keeper        Rate
   Apr‐19 Claims                4/24/2019 MR        $       390.00        0.3 Attention to lender issues on claims process.                                                           $         117.00
          Administration &
          Objections
   Apr‐19 Claims                4/25/2019 NM        $      260.00           0.1 Exchange correspondence with M. Rachlis regarding issue relating to secured creditors.                $           26.00
          Administration &
          Objections
   Apr‐19 Claims                4/29/2019 ED        $      390.00           0.6 Email correspondence with lenders' counsel regarding renewal of insurance coverage on mortgaged $               234.00
          Administration &                                                      properties.
          Objections
   May‐19 Asset Disposition      5/7/2019 KBD       $      390.00           0.5 research regarding same (.5)                                                                          $         195.00

  May‐19 Asset Disposition       5/7/2019 KBD       $      390.00           0.6 further discussion with M. Rachlis regarding same (.6).                                               $         234.00

  May‐19 Asset Disposition      5/15/2019 KBD       $      390.00           0.1 exchange correspondence with lenders counsel regarding sales proceeds plan (.1)                       $           39.00

  May‐19 Business               5/16/2019 KBD       $      390.00           0.1 study correspondence and analysis from E. Duff regarding property account balances and payment        $           39.00
         Operations                                                             of real estate taxes (.1)
  May‐19 Claims                  5/1/2019 KBD       $      390.00           0.2 office conference with N. Mirjanich regarding claims process and notice planning (.2)                 $           78.00
         Administration &
         Objections
  May‐19 Claims                  5/1/2019 KBD       $      390.00           0.2 study and revise notice to claimants and request for mailing addresses (.2).                          $           78.00
         Administration &
         Objections
  May‐19 Claims                  5/1/2019 KBD       $      390.00           0.2 Study order regarding claims process, notice to claimants, and schedule and office conference with    $           78.00
         Administration &                                                       A. Watychowicz regarding same (.2)
         Objections
  May‐19 Claims                  5/1/2019 KBD       $      390.00           0.4 telephone conference and exchange correspondence with claims processing firm regarding order,         $         156.00
         Administration &                                                       form of notice, preparation of claims portal, and timing (.4)
         Objections
  May‐19 Claims                  5/2/2019 KBD       $      390.00           0.2 Exchange correspondence and confer with A. Watychowicz regarding notice to potential claimants        $           78.00
         Administration &                                                       regarding claims process and request for mailing information (.2)
         Objections
  May‐19 Claims                  5/2/2019 KBD       $      390.00           0.2 telephone conference with investor regarding claims and process (.2)                                  $           78.00
         Administration &
         Objections
  May‐19 Claims                  5/2/2019 KBD       $      390.00           0.3 numerous conferences and communications with A. Watychowicz regarding investor                        $         117.00
         Administration &                                                       communications in response to request for confirmation of mailing address (.3).
         Objections
  May‐19 Claims                  5/3/2019 KBD       $      390.00           0.1 Draft correspondence to K. Pritchard regarding confirmation of employees on claims notice list (.1)   $           39.00
         Administration &
         Objections
  May‐19 Claims                  5/3/2019 KBD       $      390.00           0.1 review correspondence from claims vendor regarding mailing addresses for notice (.1).                 $           39.00
         Administration &
         Objections
  May‐19 Claims                  5/6/2019 KBD       $      390.00           0.1 study correspondence from claims vendor regarding portal development and claims notice mailing        $           39.00
         Administration &                                                       (.1).
         Objections
  May‐19 Claims                  5/6/2019 KBD       $      390.00           0.2 Exchange correspondence with A. Watychowicz regarding communications with investors (.2)              $           78.00
         Administration &
         Objections
  May‐19 Claims                  5/9/2019 KBD       $      390.00           0.1 planning with N. Mirjanich regarding claims portal and communications with vendor (.1)                $           39.00
         Administration &
         Objections
  May‐19 Claims                  5/9/2019 KBD       $      390.00           0.2 exchange correspondence regarding notice of claims process (.2).                                      $           78.00
         Administration &
         Objections
  May‐19 Claims                 5/10/2019 KBD       $      390.00           0.2 exchange correspondence with A. Watychowicz regarding investor inquiry as to claims process (.2).     $           78.00
         Administration &
         Objections
  May‐19 Claims                 5/10/2019 KBD       $      390.00           0.2 study and revise claims form and notice (.2)                                                          $           78.00
         Administration &
         Objections
  May‐19 Claims                 5/13/2019 KBD       $      390.00           0.2 Exchange correspondence with A. Watychowicz regarding draft communications to investors               $           78.00
         Administration &                                                       regarding claims, defendants, and accounts (.2)
         Objections
  May‐19 Claims                 5/14/2019 KBD       $      390.00           0.4 work with and study correspondence from N. Mirjanich regarding communications with claims             $         156.00
         Administration &                                                       vendor and changes to claims form and claims portal consistent with court order approving claims
         Objections                                                             process (.4).
  May‐19 Claims                 5/16/2019 KBD       $      390.00           0.3 Study claims procedure notice and instructions and confer with N. Mirjanich regarding same.           $         117.00
         Administration &
         Objections
  May‐19 Claims                 5/17/2019 KBD       $      390.00           0.2 Review communications with claims vendor with N. Mirjanich.                                           $           78.00
         Administration &
         Objections
  May‐19 Claims                 5/19/2019 KBD       $      390.00           0.1 Exchange correspondence with claims vendor regarding list for notice of claims process.               $           39.00
         Administration &
         Objections
  May‐19 Claims                 5/20/2019 KBD       $      390.00           0.1 Study correspondence from N. Mirjanich and claims vendor regarding investor list and claims notice    $           39.00
         Administration &                                                       (.1)
         Objections
  May‐19 Claims                 5/20/2019 KBD       $      390.00           0.4 study procedures relating to claims process, notice, portal, and various correspondence relating to   $         156.00
         Administration &                                                       same (.4).
         Objections
  May‐19 Claims                 5/21/2019 KBD       $      390.00           0.1 office conference with N. Mirjanich regarding claims portal and notice (.1)                           $           39.00
         Administration &
         Objections
  May‐19 Claims                 5/22/2019 KBD       $      390.00           0.4 Study and revise draft correspondence to claimants regarding claims process, notice, and portal link. $         156.00
         Administration &
         Objections
  May‐19 Claims                 5/23/2019 KBD       $      390.00           0.2 Confer with N. Mirjanich regarding notice issues, certification, and claimant communications.         $           78.00
         Administration &
         Objections
  May‐19 Claims                 5/24/2019 KBD       $      390.00           0.1 Attention to communication from investor regarding claim and draft correspondence to N. Mirjanich $               39.00
         Administration &                                                       regarding same (.1)
         Objections




                                                                                          35 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 37 of 191 PageID #:53821
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                 Task Cost
Month                                       Keeper        Rate
   May‐19 Claims                5/24/2019 KBD        $       390.00        0.1 attention to status of claims submissions (.1).                                                         $           39.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 KBD        $       390.00          0.1 Attention to communication from investor regarding claims portal and exchange correspondence          $           39.00
          Administration &                                                       with N. Mirjanich regarding same (.1)
          Objections
   May‐19 Claims                5/28/2019 KBD        $       390.00          0.1 review draft certification of claims bar date notice (.1)                                             $           39.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 KBD        $       390.00          0.3 study and revise responses to frequent questions relating to claims process (.3)                      $         117.00
          Administration &
          Objections
   May‐19 Claims                5/29/2019 KBD        $       390.00          0.2 Address claimant questions relating to claims process with N. Mirjanich (.2)                          $           78.00
          Administration &
          Objections
   May‐19 Claims                5/29/2019 KBD        $       390.00          0.4 work with N. Mirjanich regarding claimant questions and responses relating to claims process and      $         156.00
          Administration &                                                       claims portal (.4).
          Objections
   May‐19 Claims                5/29/2019 KBD        $       390.00          0.5 study and revise draft answers to frequent questions (.5)                                             $         195.00
          Administration &
          Objections
   May‐19 Claims                5/30/2019 KBD        $       390.00          0.6 Study revised responses to frequently asked questions by claimants relating to claims process and     $         234.00
          Administration &                                                       portal and review with N. Mirjanich.
          Objections
   May‐19 Claims                5/31/2019 KBD        $       390.00          0.1 Review message from investor regarding claim submission.                                              $           39.00
          Administration &
          Objections
   May‐19 Asset Disposition      5/3/2019 AEP        $      390.00           0.3 Prepare with J. Rak and N. Mirjanich for meeting with Chicago Water Department (.3)                   $         117.00

  May‐19 Asset Disposition       5/3/2019 AEP        $      390.00           0.8 attend meeting with Chicago Water Department regarding payoff of outstanding water balances           $         312.00
                                                                                 and full payment water certificate processing (.8)
  May‐19 Asset Disposition      5/15/2019 AEP        $      390.00           0.3 revise correspondence to lender (.3).                                                                 $         117.00

  May‐19 Business                5/9/2019 ED         $      390.00           0.7 review financial information regarding properties with positive NOI (.7)                              $         273.00
         Operations
  May‐19 Business               5/31/2019 ED         $       390.00          0.2 telephone conference with K. Duff regarding various pending issues. (.2).                             $           78.00
         Operations
  May‐19 Claims                  5/1/2019 MR         $      390.00           0.3 Attention to claims process order and follow up.                                                      $         117.00
         Administration &
         Objections
  May‐19 Claims                  5/1/2019 NM         $       260.00          1.1 Study claims order and revise notice and form to reflect same and correspond with K. Duff and A.      $         286.00
         Administration &                                                        Watychowicz regarding same.
         Objections
  May‐19 Claims                  5/2/2019 AW         $       140.00          0.2 communicate with K. Duff regarding language for email regarding claims (.2)                           $           28.00
         Administration &
         Objections
  May‐19 Claims                  5/2/2019 AW         $       140.00          1.2 send emails to all investors requesting mailing address update for the claims process purpose (1.2)   $         168.00
         Administration &
         Objections
  May‐19 Claims                  5/2/2019 AW         $       140.00          5.6 attention to emails from investors [over 250] with updated mailing information and follow up          $         784.00
         Administration &                                                        questions and record same (5.6).
         Objections
  May‐19 Claims                  5/2/2019 KMP        $       140.00          0.2 communications with former EB employee and accountant requesting information relating to              $           28.00
         Administration &                                                        extracting data from investor/lender database (.2)
         Objections
  May‐19 Claims                  5/2/2019 KMP        $       140.00          0.2 Conferences with K. Duff and A. Watychowicz regarding issue relating to claims process (.2)           $           28.00
         Administration &
         Objections
  May‐19 Claims                  5/2/2019 KMP        $       140.00          0.3 conferences with K. Duff and A. Watychowicz regarding communication with investors regarding          $           42.00
         Administration &                                                        information required for claims notices and consideration of tasks to be accomplished relating to
         Objections                                                              same (.3).
  May‐19 Claims                  5/3/2019 AW         $       140.00          0.1 Attention to email from claims vendor regarding specifications to excel spreadsheet containing        $           14.00
         Administration &                                                        claimants' information (.1)
         Objections
  May‐19 Claims                  5/3/2019 AW         $       140.00          0.2 meeting with K. Duff regarding same (.2)                                                              $           28.00
         Administration &
         Objections
  May‐19 Claims                  5/3/2019 AW         $       140.00          0.5 conference call with retained professional regarding same and follow up email containing sample       $           70.00
         Administration &                                                        spreadsheet (.5)
         Objections
  May‐19 Claims                  5/3/2019 AW         $       140.00          0.6 apply revisions as per suggestions during conference call (.6)                                        $           84.00
         Administration &
         Objections
  May‐19 Claims                  5/3/2019 AW         $       140.00          2.9 attention to emails from investors [+125] with updated mailing information and follow up questions $            406.00
         Administration &                                                        and record same (2.9).
         Objections
  May‐19 Claims                  5/3/2019 KMP        $       140.00          0.3 draft and revise email communication to accountant requesting potential creditors, and conference     $           42.00
         Administration &                                                        with K. Duff regarding same (.3).
         Objections
  May‐19 Claims                  5/3/2019 KMP        $       140.00          0.3 Prepare notice letter and transmittal to additional potential creditor, and add information to        $           42.00
         Administration &                                                        creditors' claims list (.3)
         Objections
  May‐19 Claims                  5/3/2019 NM         $       260.00          0.3 Correspond with A. Watychowicz regarding investor addresses for claims notice.                        $           78.00
         Administration &
         Objections
  May‐19 Claims                  5/3/2019 SZ         $      110.00           0.1 communicate with A. Watychowicz about the same (.1).                                                  $           11.00
         Administration &
         Objections
  May‐19 Claims                  5/3/2019 SZ         $      110.00           3.2 Reviewed and updated master list of all lenders against lender statement of accounts (3.2)            $         352.00
         Administration &
         Objections
  May‐19 Claims                  5/4/2019 SZ         $      110.00           2.9 Continue to review and update master list of all lenders against lender statement of accounts.        $         319.00
         Administration &
         Objections




                                                                                            36 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 38 of 191 PageID #:53822
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                   Task Cost
Month                                      Keeper        Rate
   May‐19 Claims                 5/6/2019 AW        $       140.00        2.7 Continue updating investors' mailing addresses for notice purposes.                                    $          378.00
          Administration &
          Objections
   May‐19 Claims                 5/6/2019 KMP       $      140.00           0.1 Prepare email communication to accountant requesting information gathering in connection with        $            14.00
          Administration &                                                      claims process.
          Objections
   May‐19 Claims                 5/8/2019 AW        $      140.00           3.8 Continue review of available records and information for updating investors' mailing addresses.      $          532.00
          Administration &
          Objections
   May‐19 Claims                 5/8/2019 NM        $      260.00           0.1 and study and exchange email correspondence regarding same (.1).                                     $            26.00
          Administration &
          Objections
   May‐19 Claims                 5/8/2019 NM        $      260.00           0.1 Correspond with vendor regarding claims portal and setup for same (.1)                               $            26.00
          Administration &
          Objections
   May‐19 Claims                 5/8/2019 NM        $      260.00           0.2 correspond with K. Duff and K. Pritchard regarding same (.2)                                         $            52.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 AW        $      140.00           2.6 Continue updating investors' mailing addresses for claims process.                                   $          364.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 KMP       $      140.00           0.1 conference with N. Mirjanich regarding claims process deadlines and related issues (.1).             $            14.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 KMP       $      140.00           0.2 Briefly review claims form, notice form and email regarding claims vendors issues relating to same in $           28.00
          Administration &                                                      preparation for call with claims vendors and N. Mirjanich (.2)
          Objections
   May‐19 Claims                 5/9/2019 KMP       $      140.00           0.2 participate in call with claims vendor regarding claims process (.2)                                 $            28.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 NM        $      260.00           0.1 Study and exchange correspondence relating to claims process (.1)                                    $            26.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 NM        $      260.00           0.2 correspond with A. Watychowicz regarding correspondence received from claimants relating to          $            52.00
          Administration &                                                      claims (.2).
          Objections
   May‐19 Claims                 5/9/2019 NM        $      260.00           0.9 telephone call with vendor regarding same and portal (.9)                                            $          234.00
          Administration &
          Objections
   May‐19 Claims                 5/9/2019 NM        $      260.00           2.2 revise claims form and notice and complete vendor claims portal as each type of claimant (2.2)       $          572.00
          Administration &
          Objections
   May‐19 Claims                5/10/2019 AW        $      140.00           1.3 Continue updating investors' mailing addresses.                                                      $          182.00
          Administration &
          Objections
   May‐19 Claims                5/10/2019 NM        $      260.00           2.1 Revise claims form and notice and correspond with K. Duff and claims vendor regarding same.          $          546.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 AW        $      140.00           0.2 attention to email exchanges with claims vendor regarding revisions to claims form (.2)              $            28.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 AW        $      140.00           0.8 prepare electronic notice to 150+ investors renewing request to provide current mailing address (.8) $          112.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 AW        $      140.00           1.1 attention to emails from investors in response to second blast email [+35 emails] (1.1).             $          154.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 AW        $      140.00           1.6 Complete review of emails from investors with requested mailing addresses (1.6)                      $          224.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 ED        $      390.00           0.2 Email correspondence and confer with N. Mirjanich regarding comments to online claims form.          $            78.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 KMP       $      140.00           0.2 Attention to communications with bank representatives regarding revisions to online claims portal    $            28.00
          Administration &                                                      and costs for mass mailing of claims notices.
          Objections
   May‐19 Claims                5/13/2019 MR        $      390.00           0.2 Attention to various emails regarding claims process.                                                $            78.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 NM        $      260.00           0.2 correspond with A. Watychowicz regarding the same and addresses for notice of same (.2)              $            52.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 NM        $      260.00           0.4 revise creditors claim list for service of same (.4).                                                $          104.00
          Administration &
          Objections
   May‐19 Claims                5/13/2019 NM        $      260.00             1 Correspond with vendor regarding claims portal (1.0)                                                 $          260.00
          Administration &
          Objections
   May‐19 Claims                5/14/2019 AW        $      140.00           0.1 confer with N. Mirjanich regarding accounts that have no record of mailing address (.1).             $            14.00
          Administration &
          Objections
   May‐19 Claims                5/14/2019 AW        $      140.00           1.1 rely on EquityBuild files to supplement approximately 100 missing mailing addresses (1.1)            $          154.00
          Administration &
          Objections
   May‐19 Claims                5/14/2019 AW        $      140.00           1.2 Process emails received overnight and this morning with updated mailing addresses (1.2)              $          168.00
          Administration &
          Objections
   May‐19 Claims                5/14/2019 NM        $      260.00           0.2 revise notice to reflect same (.2).                                                                  $            52.00
          Administration &
          Objections
   May‐19 Claims                5/14/2019 NM        $      260.00           0.4 Correspond with A. Watychowicz regarding claims and investor addresses for same (.4)                 $          104.00
          Administration &
          Objections




                                                                                           37 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 39 of 191 PageID #:53823
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                     Task Cost
Month                                      Keeper        Rate
   May‐19 Claims                5/14/2019 NM        $       260.00        1.4 correspond with vendor regarding claims portal and correspond with K. Duff regarding same (1.4)          $         364.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 AW        $      140.00           0.1 confer with N. Mirjanich regarding list of addresses for institutional lenders (.1)                    $           14.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 AW        $      140.00           0.2 prepare timeline and process of creating list for notice of claims process (.2)                        $           28.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 AW        $      140.00           0.5 send out individual emails to individuals that did not respond to previous requests and whose          $           70.00
          Administration &                                                      address was not in EB files (.5)
          Objections
   May‐19 Claims                5/15/2019 AW        $      140.00           0.7 create list based on court docket and recent pleadings (.7).                                           $           98.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 AW        $      140.00           3.1 Continue work on list of mailing addresses for purpose of notice of claims process and converting list $         434.00
          Administration &                                                      as per claims vendor recommendations (3.1)
          Objections
   May‐19 Claims                5/15/2019 ED        $      390.00           0.2 Confer with N. Mirjanich regarding claims form, process and timing for relocation of tenants to        $           78.00
          Administration &                                                      address city violation (.2)
          Objections
   May‐19 Claims                5/15/2019 NM        $      260.00           0.2 correspond with E. Duff regarding same and claims form (.2).                                           $           52.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 NM        $      260.00           0.5 Correspond with A. Watychowicz regarding investor and creditor claims list for claims portal (.5)      $         130.00
          Administration &
          Objections
   May‐19 Claims                5/15/2019 NM        $      260.00           2.2 revise creditor's claims list for portal (2.2)                                                         $         572.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 AW        $      140.00           0.1 Confer with N. Mirjanich regarding current for notice of claim process list (.1)                       $           14.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 AW        $      140.00           0.4 supplement list with information found in EquityBuild spreadsheets (.4)                                $           56.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 AW        $      140.00           0.5 review creditors mailing list and apply revisions (.5).                                                $           70.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 AW        $      140.00           0.6 revisions to same and forward to N. Mirjanich for purpose of notice of claims process (.6)             $           84.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 AW        $      140.00           0.7 final review and email N. Mirjanich regarding same (.7)                                                $           98.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 NM        $      260.00           0.4 Correspond with A. Watychowicz regarding investor and creditor claims lists (.4)                       $         104.00
          Administration &
          Objections
   May‐19 Claims                5/16/2019 NM        $      260.00           1.5 study claims portal, claims notice, and create creditors list and correspond with K. Duff and vendor   $         390.00
          Administration &                                                      (1.5).
          Objections
   May‐19 Claims                5/17/2019 KMP       $      140.00           0.2 Attention to communications with claims vendor relating to finalization of investor and creditor lists $           28.00
          Administration &                                                      for claims form mass mailing and related issues.
          Objections
   May‐19 Claims                5/17/2019 NM        $      260.00           0.2 correspond with K. Duff regarding same and claims analysis and documents needed for accountant         $           52.00
          Administration &                                                      for same (.2)
          Objections
   May‐19 Claims                5/17/2019 NM        $      260.00           0.3 correspond with vendor regarding notice and claimant list (.3)                                         $           78.00
          Administration &
          Objections
   May‐19 Claims                5/17/2019 NM        $      260.00           0.4 correspond with vendor regarding changes to claims portal (.4).                                        $         104.00
          Administration &
          Objections
   May‐19 Claims                5/17/2019 NM        $      260.00           2.3 Study claims portal and revise notice and claimant list for vendor (2.3)                               $         598.00
          Administration &
          Objections
   May‐19 Claims                5/20/2019 KMP       $      140.00           0.2 attention to continued communications with claims vendor regarding mass mailing of claims notices $                28.00
          Administration &                                                      and issues relating to functionality of claims portal (.2).
          Objections
   May‐19 Claims                5/20/2019 KMP       $      140.00           0.2 Conference with N. Mirjanich regarding anticipated necessity for preparing mailing of certain claims   $           28.00
          Administration &                                                      notices (.2)
          Objections
   May‐19 Claims                5/20/2019 MR        $      390.00           0.2 Attention to objections to lender's motion.                                                            $           78.00
          Administration &
          Objections
   May‐19 Claims                5/20/2019 NM        $      260.00           0.3 search EquityBuild email addresses for unknown investor mailing addresses (.3)                         $           78.00
          Administration &
          Objections
   May‐19 Claims                5/20/2019 NM        $      260.00           0.4 revise creditor claimant list (.4)                                                                     $         104.00
          Administration &
          Objections
   May‐19 Claims                5/20/2019 NM        $      260.00           0.9 Exchange correspondence with vendor regarding claims notice, list of claimants, and portal itself      $         234.00
          Administration &                                                      and correspond with K. Duff and K. Pritchard regarding updates to same (.9)
          Objections
   May‐19 Claims                5/21/2019 NM        $      260.00           0.5 Correspond with vendor regarding notice for claims process and correspond with K. Duff regarding       $         130.00
          Administration &                                                      same.
          Objections
   May‐19 Claims                5/22/2019 KMP       $      140.00           0.3 Prepare mailing of claims forms to certain investors and conference with N. Mirjanich regarding        $           42.00
          Administration &                                                      same.
          Objections
   May‐19 Claims                5/22/2019 NM        $      260.00           2.1 Revise investor list for notices, study claims portal, and exchange correspondence with K. Duff, M.    $         546.00
          Administration &                                                      Pritchard, vendor, and IT consultant regarding same.
          Objections




                                                                                            38 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 40 of 191 PageID #:53824
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                                   Task Cost
Month                                      Keeper        Rate
   May‐19 Claims                5/23/2019 KMP       $       140.00        0.6 Assist N. Mirjanich with transmission of electronic notice to investors and other potential claimants     $           84.00
          Administration &                                                    regarding notice of claims form and link to claims portal.
          Objections
   May‐19 Claims                5/23/2019 MR        $       390.00           0.2 Attention to questions on claims process.                                                              $           78.00
          Administration &
          Objections
   May‐19 Claims                5/23/2019 NM        $       260.00           0.2 Correspond with vendor and IT consultant regarding claims process (.2)                                 $           52.00
          Administration &
          Objections
   May‐19 Claims                5/23/2019 NM        $       260.00           1.5 study responses to same and begin drafting responses for frequently asked questions (1.5).             $         390.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 AW        $       140.00           0.1 confer with N. Mirjanich and K. Duff regarding same (.1)                                               $           14.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 AW        $       140.00           0.2 attention to emails from investors with questions regarding claims, portal, deadlines, and various     $           28.00
          Administration &                                                       other issues (.2)
          Objections
   May‐19 Claims                5/28/2019 AW        $       140.00           0.2 confer with N. Mirjanich regarding how to handle most of the questions and upcoming meeting with $                 28.00
          Administration &                                                       K. Duff regarding same (.2).
          Objections
   May‐19 Claims                5/28/2019 NM        $       260.00           0.2 revise list of claimants for notice purposes (.2).                                                     $           52.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 NM        $       260.00           0.5 correspond with vendor regarding same and claims portal review (.5)                                    $         130.00
          Administration &
          Objections
   May‐19 Claims                5/28/2019 NM        $       260.00           2.4 Draft responses to common questions posed by claimants and correspond with K. Duff and A.              $         624.00
          Administration &                                                       Watychowicz regarding same (2.4)
          Objections
   May‐19 Claims                5/29/2019 KMP       $       140.00           0.2 attention to communications from claims vendor and investors regarding issues with claims notice       $           28.00
          Administration &                                                       and submission of claims (.2).
          Objections
   May‐19 Claims                5/29/2019 KMP       $       140.00           0.2 Conference with N. Mirjanich regarding issues relating to claims portal and review form of database    $           28.00
          Administration &                                                       relating to same (.2)
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.2 correspond with M. Rachlis and A. Watychowicz regarding filing of notice of certification of mailing   $           52.00
          Administration &                                                       of bar date notice (.2)
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.3 correspond with A. Watychowicz regarding same and addressing outstanding claims matters (.3)           $           78.00
          Administration &
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.3 correspond with K. Duff and draft correspondence to accountant meeting to discuss accountant's         $           78.00
          Administration &                                                       role in claims process (.3).
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.4 correspond with K. Duff regarding same and revisions to same (.4)                                      $         104.00
          Administration &
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.6 correspond with K. Pritchard, vendor, and K. Duff regarding claims portal details and submissions to   $         156.00
          Administration &                                                       same (.6)
          Objections
   May‐19 Claims                5/29/2019 NM        $       260.00           0.8 Draft responses to common questions posed by claimants (.8)                                            $         208.00
          Administration &
          Objections
   May‐19 Claims                5/30/2019 AW        $       140.00           0.2 Confer with N. Mirjanich regarding draft responses to questions regarding claims' submission (.2)      $           28.00
          Administration &
          Objections
   May‐19 Claims                5/30/2019 AW        $       140.00           1.6 respond to emails received from investors (1.6).                                                       $         224.00
          Administration &
          Objections
   May‐19 Claims                5/30/2019 KMP       $       140.00           0.2 Attention to communications from claims vendor and regarding issues with claims notice and             $           28.00
          Administration &                                                       submission of claims, and scheduling of conference call to discuss same.
          Objections
   May‐19 Claims                5/30/2019 NM        $       260.00           0.1 Correspond with K. Duff regarding questions from claimants on the claims process (.1)                  $           26.00
          Administration &
          Objections
   May‐19 Claims                5/30/2019 NM        $       260.00            2 ; correspond with A. Watychowicz regarding same and respond to same (2.0).                              $         520.00
          Administration &
          Objections
   May‐19 Claims                5/31/2019 AW        $       140.00           0.2 identify investors through their voicemails regarding claims process and follow up with N. Mirjanich   $           28.00
          Administration &                                                       regarding same (.2)
          Objections
   May‐19 Claims                5/31/2019 AW        $       140.00           0.4 respond to additional inquiries from investors (.4).                                                   $           56.00
          Administration &
          Objections
   May‐19 Claims                5/31/2019 AW        $       140.00           0.7 conference call with claims vendor regarding communications relating to claimant submission issues $               98.00
          Administration &                                                       (.7)
          Objections
   May‐19 Claims                5/31/2019 AW        $       140.00           1.3 Respond to emails from investors regarding claims process and submissions (1.3)                        $         182.00
          Administration &
          Objections
   May‐19 Claims                5/31/2019 KMP       $       140.00           0.1 briefly review claims spreadsheet received from claims vendor (.1).                                    $           14.00
          Administration &
          Objections
   May‐19 Claims                5/31/2019 KMP       $       140.00           0.8 Participate in web conference with N. Mirjanich, A. Watychowicz, and bank representatives              $         112.00
          Administration &                                                       regarding claims notice portal and issues relating to claims entry, including navigating portal, and
          Objections                                                             exporting information from portal (.8)
   May‐19 Claims                5/31/2019 NM        $       260.00           0.1 correspond with K. Duff regarding same and claims process (.1).                                        $           26.00
          Administration &
          Objections
   May‐19 Claims                5/31/2019 NM        $       260.00           0.1 prepare for conference with vendor regarding claims portal questions and process (.1)                  $           26.00
          Administration &
          Objections




                                                                                            39 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 41 of 191 PageID #:53825
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                Task Cost
Month                                       Keeper        Rate
   May‐19 Claims                 5/31/2019 NM        $       260.00        0.6 correspond with vendor, K. Pritchard, and A. Watychowicz regarding same (.6)                         $         156.00
           Administration &
           Objections
   May‐19 Claims                 5/31/2019 NM        $      260.00           1.7 Correspond with A. Watychowicz regarding questions from claimants on the claims process and        $         442.00
           Administration &                                                      respond to same (1.7)
           Objections
    Jun‐19 Business              6/17/2019 KBD       $      390.00           0.1 evaluate return of insurance premium (.1).                                                         $           39.00
           Operations
    Jun‐19 Claims                 6/3/2019 KBD       $      390.00           0.1 Review correspondence from claim administrator regarding manual data input and exchange            $           39.00
           Administration &                                                      correspondence with N. Mirjanich regarding same (.1)
           Objections
    Jun‐19 Claims                 6/3/2019 KBD       $      390.00           0.4 study claims and correspondence from various investors and discuss responses with N. Mirjanich     $         156.00
           Administration &                                                      regarding same (.4).
           Objections
    Jun‐19 Claims                 6/4/2019 KBD       $      390.00           0.2 Confer with N. Mirjanich regarding received claims forms (.2)                                      $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/4/2019 KBD       $      390.00           0.4 study communications from claimants relating to claims form and draft responses to same (.4)       $         156.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 KBD       $      390.00           0.2 Exchange correspondence with A. Watychowicz regarding investor claim submission (.2)               $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 KBD       $      390.00           0.2 study correspondence regarding claims portal access issue (.2).                                    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 KBD       $      390.00           0.3 analysis of claims submissions, potential categories, and supporting documentation issues (.3)     $         117.00
           Administration &
           Objections
    Jun‐19 Claims                 6/6/2019 KBD       $      390.00           0.2 Exchange correspondence relating to investor claims submission.                                    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/7/2019 KBD       $      390.00           0.2 study claim form and information gathering and address same with N. Mirjanich (.2).                $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/7/2019 KBD       $      390.00           0.3 Exchange correspondence regarding communications with claimant (.3)                                $         117.00
           Administration &
           Objections
    Jun‐19 Claims                 6/8/2019 KBD       $      390.00           0.1 Review correspondence from A. Porter regarding potential claimants for notice of claims process.   $           39.00
           Administration &
           Objections
    Jun‐19 Claims                 6/9/2019 KBD       $      390.00           0.7 Study and exchange various correspondence with M. Rachlis and A. Porter regarding claims process   $         273.00
           Administration &                                                      and property sales and analysis of related issues.
           Objections
    Jun‐19 Claims                6/10/2019 KBD       $      390.00           0.1 exchange correspondence with A. Watychowicz regarding claims notice (.1).                          $           39.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 KBD       $      390.00           0.2 Exchange correspondence with N. Mirjanich regarding claims received (.2)                           $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 KBD       $      390.00           0.2 study correspondence from counsel for claimant and draft response to same (.2)                     $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 KBD       $      390.00           0.2 Study draft claims reminder email.                                                                 $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 KBD       $      390.00           0.2 Exchange correspondence with N. Mirjanich and E. Duff regarding information for response to        $           78.00
           Administration &                                                      claimant inquiry and documentation issue (.2)
           Objections
    Jun‐19 Claims                6/13/2019 KBD       $      390.00           0.3 address claimant inquiries regarding verification of claim and other submission questions (.3).    $         117.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 KBD       $      390.00           0.1 Attention to claimant communication regarding claims submission (.1)                               $           39.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 KBD       $      390.00           0.2 attention to investor communications regarding claims with N. Mirjanich and A. Watychowicz (.2)    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 KBD       $      390.00           0.2 work on claims processing and amendments to claims forms and related communications with           $           78.00
           Administration &                                                      claims vendor (.2)
           Objections
    Jun‐19 Claims                6/19/2019 KBD       $      390.00           0.2 Attention to communications with claimants regarding form of submission.                           $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 KBD       $      390.00           0.2 review same with M. Rachlis and N. Mirjanich (.2)                                                  $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 KBD       $      390.00           0.2 study court orders regarding claims issue (.2)                                                     $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 KBD       $      390.00           0.4 Study correspondence from lenders counsel regarding claims form questions and analysis of same     $         156.00
           Administration &                                                      (.4)
           Objections
    Jun‐19 Claims                6/20/2019 KBD       $      390.00           0.7 attention to various voice messages from numerous investors regarding request for information,     $         273.00
           Administration &                                                      status of receivership, and claims process (.7).
           Objections
    Jun‐19 Claims                6/21/2019 KBD       $      390.00           0.2 exchange correspondence with A. Watychowicz regarding posting to web site regarding claims         $           78.00
           Administration &                                                      information (.2)
           Objections
    Jun‐19 Claims                6/21/2019 KBD       $      390.00           0.2 study draft notice of claims submission deadline and correspondence regarding same (.2).           $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 KBD       $      390.00           0.3 attention to claimants messages about claims submission and follow up (.3)                         $         117.00
           Administration &
           Objections




                                                                                            40 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 42 of 191 PageID #:53826
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                         Task Description                                                 Task Cost
Month                                        Keeper        Rate
    Jun‐19 Claims                6/22/2019 KBD        $       390.00        0.1 Study correspondence from claimant regarding account information and submission and draft            $           39.00
           Administration &                                                     correspondence to N. Mirjanich regarding same.
           Objections
    Jun‐19 Claims                6/24/2019 KBD        $      390.00          0.2 exchange correspondence with N. Mirjanich regarding information gathering on claim form (.2)        $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 KBD        $      390.00          0.2 review inquiry about potential claimant submitting claim and exchange correspondence regarding      $           78.00
           Administration &                                                      same (.2).
           Objections
    Jun‐19 Claims                6/24/2019 KBD        $      390.00          0.3 exchange further correspondence with N. Mirjanich regarding various responses to lender inquiries   $         117.00
           Administration &                                                      (.3)
           Objections
    Jun‐19 Claims                6/24/2019 KBD        $      390.00          0.3 study draft response to FAQs and exchange correspondence with N. Mirjanich regarding same (.3)      $         117.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 KBD        $      390.00          0.9 Attention to communication from numerous claimants and exchange correspondence with A.              $         351.00
           Administration &                                                      Watychowicz regarding response to same (.9)
           Objections
    Jun‐19 Claims                6/25/2019 KBD        $      390.00          0.2 and work on same with M. Rachlis and N. Mirjanich (.2).                                             $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 KBD        $      390.00          0.3 evaluate assignment of claim issue (.3)                                                             $         117.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 KBD        $      390.00          0.3 telephone conference with lenders counsel regarding claims form issues (.3)                         $         117.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 KBD        $      390.00          0.8 work on various communications and revisions to claimants (.8)                                      $         312.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 KBD        $      390.00          1.4 Attention to numerous telephone calls and voice messages from claimants and exchange                $         546.00
           Administration &                                                      correspondence with A. Watychowicz and N. Mirjanich regarding same (1.4)
           Objections
    Jun‐19 Claims                6/26/2019 KBD        $      390.00          0.2 revise response to FAQ (.2).                                                                        $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 KBD        $      390.00          0.3 attention to various claimant inquiries (.3)                                                        $         117.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 KBD        $      390.00          0.4 Attention to voice message from and draft correspondence to claimant regarding extenuating          $         156.00
           Administration &                                                      circumstances and submission of claim form (.4)
           Objections
    Jun‐19 Claims                6/26/2019 KBD        $      390.00          0.4 exchange correspondence and conferences regarding lender inquiry regarding claim submission         $         156.00
           Administration &                                                      questions (.4)
           Objections
    Jun‐19 Claims                6/27/2019 KBD        $      390.00          0.2 Draft correspondence to N. Mirjanich regarding communication with investors (.2)                    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/27/2019 KBD        $      390.00          0.2 study correspondence from lender's counsel regarding assignment issue and exchange                  $           78.00
           Administration &                                                      correspondence with M. Rachlis regarding same (.2).
           Objections
    Jun‐19 Claims                6/28/2019 KBD        $      390.00          0.2 exchange further correspondence regarding claims submissions and communications with lender         $           78.00
           Administration &                                                      group (.2).
           Objections
    Jun‐19 Claims                6/28/2019 KBD        $      390.00          0.3 Exchange correspondence with N. Mirjanich and K. Pritchard regarding communications with            $         117.00
           Administration &                                                      claimants regarding method of submission and bar date (.3)
           Objections
    Jun‐19 Claims                6/30/2019 KBD        $      390.00          0.2 Exchange correspondence with M. Rachlis regarding communication with lender's counsel relating      $           78.00
           Administration &                                                      to resolution of claim submissions issue (.2)
           Objections
    Jun‐19 Asset Disposition     6/25/2019 JR         $      140.00          0.3 exchange correspondence with E. Duff regarding same (.3).                                           $           42.00

   Jun‐19 Business               6/14/2019 ED         $      390.00          0.1 email correspondence with K. Duff regarding insurance issues (.1).                                  $           39.00
          Operations
   Jun‐19 Business               6/17/2019 NM         $      260.00          0.2 study and organize mail sent by former EB attorney with several code violations and related         $           52.00
          Operations                                                             documents (.2).
   Jun‐19 Claims                  6/3/2019 AW         $      140.00          0.1 Attention to claim forms and documents received in hard copy (.1)                                   $           14.00
          Administration &
          Objections
   Jun‐19 Claims                  6/3/2019 AW         $      140.00          1.7 attention to emails [15] from investors with questions regarding claim process and respond to same $          238.00
          Administration &                                                       (1.7).
          Objections
   Jun‐19 Claims                  6/3/2019 NM         $      260.00          0.1 correspond with vendor regarding same and spreadsheet (.1)                                          $           26.00
          Administration &
          Objections
   Jun‐19 Claims                  6/3/2019 NM         $      260.00          0.2 Study EquityBuild claims account for email questions to claims process (.2)                         $           52.00
          Administration &
          Objections
   Jun‐19 Claims                  6/3/2019 NM         $      260.00          0.3 correspond with A. Watychowicz regarding responses to same (.3)                                     $           78.00
          Administration &
          Objections
   Jun‐19 Claims                  6/3/2019 NM         $      260.00          0.6 study spreadsheet sent by vendor with claim details submitted and study claims form for data to     $         156.00
          Administration &                                                       import in Receiver's claims database (.6).
          Objections
   Jun‐19 Claims                  6/4/2019 AW         $      140.00          0.1 attention to claim forms and documents received in hard copy (.1)                                   $           14.00
          Administration &
          Objections
   Jun‐19 Claims                  6/4/2019 AW         $      140.00          0.3 Attention to claim forms and documents received in hard copy (.3)                                   $           42.00
          Administration &
          Objections
   Jun‐19 Claims                  6/4/2019 AW         $      140.00          0.6 attention to emails containing scanned documents of same and organize in case file (.6)             $           84.00
          Administration &
          Objections




                                                                                            41 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 43 of 191 PageID #:53827
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                           Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                 6/4/2019 AW        $       140.00        0.9 attention to emails [10] from investors with questions regarding claim process and respond to same $              126.00
           Administration &                                                    (.9).
           Objections
    Jun‐19 Claims                 6/4/2019 AW        $      140.00           1.5 scan and organize electronic files relating to claims received (1.5)                                  $         210.00
           Administration &
           Objections
    Jun‐19 Claims                 6/4/2019 NM        $      260.00           0.3 Correspond with A. Watychowicz regarding claims emails received from claimants (.3)                   $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/4/2019 NM        $      260.00           0.3 study same and respond to same (.3)                                                                   $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/4/2019 NM        $      260.00           0.5 study claims form for imports to claims portal and correspond with K. Duff and vendor regarding       $         130.00
           Administration &                                                      same (.5)
           Objections
    Jun‐19 Claims                 6/4/2019 NM        $      260.00           1.7 study claims forms received in claims portal and compare to hard copy submissions (1.7).              $         442.00
           Administration &
           Objections
    Jun‐19 Claims                 6/4/2019 SZ        $      110.00           2.3 Review and organize investors' claims received in hard copy.                                          $         253.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 AW        $      140.00           0.1 attention to claim forms and documents received in hard copy (.1)                                     $           14.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 AW        $      140.00           0.1 confer with K. Duff regarding communications with claimants (.1).                                     $           14.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 AW        $      140.00           0.2 multiple communications with N. Mirjanich regarding claimant inquiries regarding claims portal (.2)   $           28.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 AW        $      140.00           0.5 teleconference with claims vendor representatives regarding claims portal, claim forms received in    $           70.00
           Administration &                                                      hard copy, and logistics (.5)
           Objections
    Jun‐19 Claims                 6/5/2019 AW        $      140.00           1.2 Attention to emails [15] from investors with questions regarding claim process and respond to same $            168.00
           Administration &                                                      (1.2)
           Objections
    Jun‐19 Claims                 6/5/2019 KMP       $      140.00           0.2 attention to voice mail messages from several claimants regarding questions relating to claims        $           28.00
           Administration &                                                      process (.2).
           Objections
    Jun‐19 Claims                 6/5/2019 KMP       $      140.00           0.6 Participate in conference call with N. Mirjanich, A. Watychowicz and bank representative regarding    $           84.00
           Administration &                                                      portal access and methods of analysis and reporting on entered claims (.6)
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           0.2 correspond with K. Pritchard and A. Watychowicz regarding same (.2).                                  $           52.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           0.3 correspond with vendor regarding imports from claims portal to review platform (.3)                   $           78.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           0.5 correspond with vendor, K. Pritchard, and A. Watychowicz regarding same (.5)                          $         130.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           0.7 correspond with K. Duff and accountant regarding documents from same for claims and study same        $         182.00
           Administration &                                                      (.7)
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           0.7 correspond with K. Duff regarding same and claims analysis (.7)                                       $         182.00
           Administration &
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           1.2 correspond with A. Watychowicz regarding claims emails received from claimants and study and          $         312.00
           Administration &                                                      respond to same (1.2)
           Objections
    Jun‐19 Claims                 6/5/2019 NM        $      260.00           1.6 Study bank records and create spreadsheet for claims analysis (1.6)                                   $         416.00
           Administration &
           Objections
    Jun‐19 Claims                 6/6/2019 AW        $      140.00           1.7 Attention to emails from investors with questions regarding claim process [+20] and work on           $         238.00
           Administration &                                                      responses to same with K. Duff and N. Mirjanich.
           Objections
    Jun‐19 Claims                 6/6/2019 KMP       $      140.00           0.2 attention to voice mail messages from several claimants regarding questions relating to claims        $           28.00
           Administration &                                                      process (.2).
           Objections
    Jun‐19 Claims                 6/6/2019 MR        $      390.00           0.8 Attention to issues on claims.                                                                        $         312.00
           Administration &
           Objections
    Jun‐19 Claims                 6/6/2019 NM        $      260.00           0.1 Study claimant correspondence regarding claims (.1)                                                   $           26.00
           Administration &
           Objections
    Jun‐19 Claims                 6/6/2019 NM        $      260.00           0.5 correspond with accountant and K. Pritchard regarding spreadsheet with property‐by‐ property          $         130.00
           Administration &                                                      investor information and search for same (.5)
           Objections
    Jun‐19 Claims                 6/6/2019 NM        $      260.00           1.4 correspond with A. Watychowicz regarding claims emails received from claimants and study and          $         364.00
           Administration &                                                      respond to same (1.4).
           Objections
    Jun‐19 Claims                 6/7/2019 AW        $      140.00           0.2 forward several emails with unique questions to claims vendor (.2).                                   $           28.00
           Administration &
           Objections
    Jun‐19 Claims                 6/7/2019 AW        $      140.00           0.9 Attention to emails from investors with questions regarding claim process and respond to same (.9)    $         126.00
           Administration &
           Objections
    Jun‐19 Claims                 6/7/2019 KMP       $      140.00           0.2 Attention to communications from potential claimants regarding claims portal.                         $           28.00
           Administration &
           Objections
    Jun‐19 Claims                 6/7/2019 NM        $      260.00           0.1 correspond with E. Duff regarding claims process (.1)                                                 $           26.00
           Administration &
           Objections




                                                                                            42 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 44 of 191 PageID #:53828
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                 6/7/2019 NM        $       260.00        0.1 correspond with K. Duff and A. Watychowicz regarding claims process and responses received from        $           26.00
           Administration &                                                    claimants (.1)
           Objections
    Jun‐19 Claims                 6/7/2019 NM        $      260.00          0.4 correspond with K. Duff and A. Watychowicz regarding default notice received from claimant and        $         104.00
           Administration &                                                     borrower identity on same (.4).
           Objections
    Jun‐19 Claims                 6/7/2019 NM        $      260.00          0.5 Correspond with A. Watychowicz regarding claims emails received from claimants and study and          $         130.00
           Administration &                                                     respond to same (.5)
           Objections
    Jun‐19 Claims                 6/7/2019 NM        $      260.00          0.5 exchange correspondence with vendor regarding information needed for claims portal and process        $         130.00
           Administration &                                                     (.5)
           Objections
    Jun‐19 Claims                 6/7/2019 NM        $      260.00          0.8 correspond with vendor, K. Pritchard, and A. Watychowicz regarding use of database software to        $         208.00
           Administration &                                                     manually import claims information (.8)
           Objections
    Jun‐19 Claims                 6/7/2019 SZ        $      110.00          0.9 Review and organize investors' claims.                                                                $           99.00
           Administration &
           Objections
    Jun‐19 Claims                6/10/2019 AW        $      140.00          0.3 email exchanges with claims vendor regarding claimants inquiries (.3)                                 $           42.00
           Administration &
           Objections
    Jun‐19 Claims                6/10/2019 AW        $      140.00          0.7 prepare notices to send via mail and email and serve notices accordingly (.7).                        $           98.00
           Administration &
           Objections
    Jun‐19 Claims                6/10/2019 AW        $      140.00          1.1 locate email addresses and mailing addresses for potential claimants (1.1)                            $         154.00
           Administration &
           Objections
    Jun‐19 Claims                6/10/2019 AW        $      140.00          1.9 Attention to emails from investors with questions regarding claim process [+20] and respond to        $         266.00
           Administration &                                                     same (1.9)
           Objections
    Jun‐19 Claims                6/10/2019 KMP       $      140.00          0.3 Attention to communications from potential claimants regarding claims portal and conferences with $               42.00
           Administration &                                                     N. Mirjanich and A. Watychowicz regarding same.
           Objections
    Jun‐19 Claims                6/10/2019 NM        $      260.00          0.6 Correspond with A. Watychowicz and K. Pritchard regarding claims emails received from claimants       $         156.00
           Administration &                                                     and study and respond to same (.6)
           Objections
    Jun‐19 Claims                6/10/2019 NM        $      260.00          1.5 study records provided by bank in connection with records needed for claims process (1.5).            $         390.00
           Administration &
           Objections
    Jun‐19 Claims                6/10/2019 SZ        $      110.00          0.5 Review and organize investors' hard copy claims.                                                      $           55.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 AW        $      140.00          0.1 attention to claim forms received by mail (.1).                                                       $           14.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 AW        $      140.00          0.2 Reach out to Axos with questions from claimants regarding claims portal (.2)                          $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 AW        $      140.00          1.2 continue responding to emails from claimants regarding claims process and portal (1.2)                $         168.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 KMP       $      140.00          0.2 attention to communications from potential claimants regarding issues accessing or using portal to    $           28.00
           Administration &                                                     document claims and conferences with N. Mirjanich and A. Watychowicz regarding same (.2).
           Objections
    Jun‐19 Claims                6/11/2019 KMP       $      140.00          0.3 Review files to locate original claims spreadsheet used to set up portal and communications with N.   $           42.00
           Administration &                                                     Mirjanich regarding same (.3)
           Objections
    Jun‐19 Claims                6/11/2019 NM        $      260.00          0.2 correspond with K. Duff regarding claims process and claimant question (.2)                           $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/11/2019 NM        $      260.00          0.5 Correspond with A. Watychowicz regarding claims emails received from claimants and study and          $         130.00
           Administration &                                                     respond to same (.5)
           Objections
    Jun‐19 Claims                6/11/2019 NM        $      260.00          0.5 study and respond to emails relating to claims portal questions and correspond with vendor            $         130.00
           Administration &                                                     regarding same and outstanding claims questions (.5).
           Objections
    Jun‐19 Claims                6/11/2019 SZ        $      110.00          4.7 Review and organize investors' claims.                                                                $         517.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 AW        $      140.00          0.3 confer with N. Mirjanich regarding revisions to answers to FAQ and apply revisions (.3)               $           42.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 AW        $      140.00          0.6 Attention claims portal information to address claimant inquiries (.6)                                $           84.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 AW        $      140.00          1.3 continue responding to emails and voicemails from claimants regarding claims process and portal       $         182.00
           Administration &                                                     (1.3).
           Objections
    Jun‐19 Claims                6/12/2019 KMP       $      140.00          0.2 Continued attention to communications from potential claimants regarding claims portal and            $           28.00
           Administration &                                                     conferences with N. Mirjanich and A. Watychowicz regarding same.
           Objections
    Jun‐19 Claims                6/12/2019 NM        $      260.00          0.1 study and respond to emails relating to claims portal questions and correspond with vendor            $           26.00
           Administration &                                                     regarding same and outstanding claims questions (.1)
           Objections
    Jun‐19 Claims                6/12/2019 NM        $      260.00          0.2 draft correspondence to send to claimants for Bar Date reminder (.2)                                  $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 NM        $      260.00          0.2 study questions in claims and EB email accounts (.2).                                                 $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/12/2019 NM        $      260.00          0.5 Correspond with A. Watychowicz regarding claims emails received from claimants and study and          $         130.00
           Administration &                                                     respond to same (.5)
           Objections




                                                                                           43 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 45 of 191 PageID #:53829
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                         Task Description                                                   Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                6/13/2019 AW        $       140.00        0.2 Confer with N. Mirjanich regarding reminder email to claimants (.2)                                    $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 AW        $      140.00           0.2 reach out to claims vendor with specific questions from claimants (.2).                              $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 AW        $      140.00           0.3 confer with N. Mirjanich regarding revisions to FAQ and apply further revisions (.3)                 $           42.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 AW        $      140.00           0.6 revise and prepare new answers to questions from claimants (.6)                                      $           84.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 AW        $      140.00           0.8 prepare and send emails to all claimants with email addresses (.8)                                   $         112.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 AW        $      140.00           3.1 continue responding by email to emails and voicemails [+30] from claimants regarding special         $         434.00
           Administration &                                                      circumstances, claims process, deadline to file, amendments, and portal (3.1)
           Objections
    Jun‐19 Claims                6/13/2019 ED        $      390.00           0.1 review and comment on draft reply to claimant (.1)                                                   $           39.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 KMP       $      140.00           0.1 Continued attention to communications from potential claimants regarding issues accessing or using $             14.00
           Administration &                                                      portal to document claims and conferences with N. Mirjanich and A. Watychowicz regarding same.
           Objections
    Jun‐19 Claims                6/13/2019 MR        $      390.00           0.2 Attention to various emails on issues regarding claims submissions.                                  $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 NM        $      260.00           0.1 correspond with K. Duff regarding claims process and questions relating to same (.1).                $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 NM        $      260.00           0.3 draft correspondence to creditor regarding claims question and correspond with E. Duff regarding     $           78.00
           Administration &                                                      same (.3)
           Objections
    Jun‐19 Claims                6/13/2019 NM        $      260.00           1.4 correspond with claimants regarding same and with vendor regarding same (1.4)                        $         364.00
           Administration &
           Objections
    Jun‐19 Claims                6/13/2019 NM        $      260.00           1.9 Correspond with A. Watychowicz regarding claims emails received from claimants and study and         $         494.00
           Administration &                                                      respond to same (1.9)
           Objections
    Jun‐19 Claims                6/14/2019 AW        $      140.00           0.2 return claimant's call regarding claim (.2).                                                         $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 AW        $      140.00           0.3 Reach out to claims vendor with additional questions from claimants (.3)                             $           42.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 AW        $      140.00             1 conference call with claims vendor regarding claims process portal (1.0)                             $         140.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 AW        $      140.00           2.4 continue responding by email to emails and voicemails [+25] from claimants regarding special         $         336.00
           Administration &                                                      circumstances, claims process, deadline to file, amendments, and issues with portal (2.4)
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00           0.1 Study email correspondence in EB and claims email accounts (.1)                                      $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00           0.2 correspond with K. Duff regarding claims process (.2).                                               $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00           0.4 correspond with A. Watychowicz regarding claims emails received from claimants and study and         $         104.00
           Administration &                                                      respond to same (.4)
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00           0.6 correspond with A. Watychowicz regarding claims emails received from claimants and study and         $         156.00
           Administration &                                                      respond to same following responses received from vendor to claimant questions (.6)
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00           0.6 prepare for telephone call with vendor regarding claims portal progress and questions relating to    $         156.00
           Administration &                                                      same and study claims submissions in advance of same (.6)
           Objections
    Jun‐19 Claims                6/14/2019 NM        $      260.00             1 telephone call with vendor and A. Watychowicz regarding claims portal progress and questions         $         260.00
           Administration &                                                      relating to same (1.0)
           Objections
    Jun‐19 Claims                6/17/2019 AW        $      140.00           0.2 attention to voicemails regarding claims process and respond to same via email (.2)                  $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 AW        $      140.00           0.2 attention to voluminous mailing containing claims submissions (.2)                                   $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 AW        $      140.00           0.3 attention to specific files and meeting with N. Mirjanich on how to address submission issues (.3)   $           42.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 AW        $      140.00           0.5 organize hard copies of submissions (.5).                                                            $           70.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 AW        $      140.00           1.7 Continue responding via email to emails and voicemails [+15] from claimants regarding special        $         238.00
           Administration &                                                      circumstances, claims process, deadline to file, amendments, and issues with portal (1.7)
           Objections
    Jun‐19 Claims                6/17/2019 MR        $      390.00           0.2 conferences and exchanges with K. Duff on claims (.2).                                               $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 MR        $      390.00           0.4 Conferences with N. Mirjanich regarding claims issues and filings (.4)                               $         156.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 NM        $      260.00           0.1 correspond with K. Duff and A. Watychowicz regarding same (.1)                                       $           26.00
           Administration &
           Objections




                                                                                            44 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 46 of 191 PageID #:53830
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                           Task Description                                               Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                6/17/2019 NM        $       260.00        0.1 correspond with K. Duff regarding claims issues (.1)                                                 $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 NM        $      260.00           0.3 respond to claimants and vendor regarding claimant questions and amendment (.3)                    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 NM        $      260.00           0.3 Study email correspondence in EB and claims email accounts (.3)                                    $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/17/2019 NM        $      260.00           0.7 correspond with A. Watychowicz regarding claims emails received from claimants and study and       $         182.00
           Administration &                                                      respond to same (.7)
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           0.1 confer with N. Mirjanich regarding same (.1).                                                      $           14.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           0.2 reach out to claims vendor with request to activate specific portal users (.2)                     $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           0.4 call with claims vendor regarding claims portal and amendments (.4)                                $           56.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           0.6 attention to voluminous mailing containing claims submissions and review of same (.6)              $           84.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           0.8 Prepare spreadsheet containing information regarding proof of claims forms received by mail and    $         112.00
           Administration &                                                      addressing submissions (.8)
           Objections
    Jun‐19 Claims                6/18/2019 AW        $      140.00           2.8 continue responding by email to emails and voicemails [+25] from claimants regarding claims        $         392.00
           Administration &                                                      process, amendments, technical issues, and options to submit claim by mail (2.8)
           Objections
    Jun‐19 Claims                6/18/2019 KMP       $      140.00           0.1 communications with N. Mirjanich and A. Watychowicz regarding same (.1).                           $           14.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 KMP       $      140.00           0.2 Attention to communications from bank representatives and potential claimants relating to issues   $           28.00
           Administration &                                                      with and submissions to claims portal (.2)
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.1 correspond with K. Duff regarding same and claims process (.1)                                     $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.1 correspond with lender regarding a meeting to discuss claims questions (.1)                        $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.2 correspond with K. Duff and M. Rachlis regarding same (.2)                                         $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.3 correspond with A. Watychowicz regarding same (.3)                                                 $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.3 correspond with E. Duff regarding same (.3)                                                        $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.3 draft notice to creditor and correspond with K. Pritchard regarding service of same (.3).          $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.3 telephone conference with vendor and A. Watychowicz regarding claims portal (.3)                   $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           0.7 study claims submissions (.7)                                                                      $         182.00
           Administration &
           Objections
    Jun‐19 Claims                6/18/2019 NM        $      260.00           1.1 Correspond with A. Watychowicz regarding claims emails received from claimants and study and       $         286.00
           Administration &                                                      respond to same (1.1)
           Objections
    Jun‐19 Claims                6/19/2019 AW        $      140.00           0.2 attention to voluminous mailing containing claims submissions and review of same (.2)              $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/19/2019 AW        $      140.00           0.2 reach out to claims vendor regarding issues from claimants (.2).                                   $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/19/2019 AW        $      140.00           1.4 Continue responding by email to emails and voicemails [+10] from claimants regarding claims        $         196.00
           Administration &                                                      process, amendments, technical issues, and by mail submissions (1.4)
           Objections
    Jun‐19 Claims                6/19/2019 MR        $      390.00           0.2 and upon claims process issues (.2).                                                               $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/19/2019 NM        $      260.00           0.2 correspond with A. Watychowicz regarding spreadsheets with investor information to assist claims   $           52.00
           Administration &                                                      process (.2)
           Objections
    Jun‐19 Claims                6/19/2019 NM        $      260.00           0.2 respond to claimant questions (.2)                                                                 $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/19/2019 NM        $      260.00           0.5 study EB records for same (.5).                                                                    $         130.00
           Administration &
           Objections
    Jun‐19 Claims                6/19/2019 NM        $      260.00           1.1 Correspond with A. Watychowicz regarding claims emails received from claimants and study and       $         286.00
           Administration &                                                      respond to same (1.1)
           Objections
    Jun‐19 Claims                6/20/2019 AW        $      140.00           0.2 attention to voluminous mailing containing claims submissions and review of same (.2)              $           28.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 AW        $      140.00           0.4 reach out to claims vendor on multiple occasions regarding isolated issues from claimants (.4).    $           56.00
           Administration &
           Objections




                                                                                            45 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 47 of 191 PageID #:53831
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                         Task Description                                                   Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                6/20/2019 AW        $       140.00        2.2 Continue responding by email to emails and voicemails [+20] from claimants regarding claims           $          308.00
           Administration &                                                    process, amendments, technical issues, and mail submissions (2.2)
           Objections
    Jun‐19 Claims                6/20/2019 ED        $      390.00           0.1 review and forward information for handling messages from investors relating to claims process (.1) $            39.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 ED        $      390.00           0.1 Review and forward messages from investors relating to claims process (.1)                          $            39.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 ED        $      390.00           0.8 confer with N. Mirjanich regarding claimants' questions about claims form (.8)                      $          312.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 ED        $      390.00           0.8 confer with N. Mirjanich regarding claimants' questions about claims form (.8).                     $          312.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 KMP       $      140.00           0.2 Attention to communications from potential claimants relating to issues with and submissions to     $            28.00
           Administration &                                                      claims portal and communications with N. Mirjanich and A. Watychowicz regarding same.
           Objections
    Jun‐19 Claims                6/20/2019 MR        $      390.00           0.8 Conferences on claims form and issues.                                                              $          312.00
           Administration &
           Objections
    Jun‐19 Claims                6/20/2019 NM        $      260.00            1 Correspond with A. Watychowicz regarding claims emails received from claimants and study and         $          260.00
           Administration &                                                     respond to same (1.0)
           Objections
    Jun‐19 Claims                6/20/2019 NM        $      260.00           1.2 study claims form and correspond with K. Duff, E. Duff, and M. Rachlis regarding potential issues   $          312.00
           Administration &                                                      (1.2)
           Objections
    Jun‐19 Claims                6/21/2019 AW        $      140.00           0.1 confer with E. Duff regarding documentation for institutional lenders (.1)                          $            14.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 AW        $      140.00           0.2 attention to voluminous mailing containing claims submissions and review of same (.2)               $            28.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 AW        $      140.00           0.2 reach out to claims vendor regarding several blocked and/or inactive user accounts (.2)             $            28.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 AW        $      140.00           1.7 prepare documentation regarding same (1.7).                                                         $          238.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 AW        $      140.00           2.3 Continue responding by email to emails and voicemails [+15] from claimants regarding claims         $          322.00
           Administration &                                                      process, amendments, technical issues, confirmation requests, deadlines, and mail and email
           Objections                                                            submissions (2.3)
    Jun‐19 Claims                6/21/2019 ED        $      390.00           0.5 Confer with N. Mirjanich regarding questions from various lenders' counsel regarding claims form.   $          195.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 MR        $      390.00           0.6 edit communication on claims form (.6).                                                             $          234.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 NM        $      260.00           0.4 draft correspondence to send to all claimants regarding Bar Date (.4).                              $          104.00
           Administration &
           Objections
    Jun‐19 Claims                6/21/2019 NM        $      260.00           0.5 Correspond with A. Watychowicz regarding claims emails received from claimants and study and        $          130.00
           Administration &                                                      respond to same (.5)
           Objections
    Jun‐19 Claims                6/23/2019 MR        $      390.00           0.3 Further review of responses on claims form.                                                         $          117.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.1 attention to voluminous mailing containing claims submissions and review of same (.1)               $            14.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.1 phone call with claimant regarding claims process (.1)                                              $            14.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.2 confer with N. Mirjanich regarding final reminder email to claimants (.2)                           $            28.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.2 revise email relating to same (.2)                                                                  $            28.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.4 reach out to claims vendor on multiple occasions regarding blocked and/or inactive user accounts    $            56.00
           Administration &                                                      (.4)
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           0.7 prepare and send emails to all claimants email addresses (.7).                                      $            98.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 AW        $      140.00           3.9 Continue responding by email to emails and voicemails [+35] from claimants regarding claims         $          546.00
           Administration &                                                      process, amendments, technical issues, confirmation requests, deadlines, and mail and email
           Objections                                                            submissions (3.9)
    Jun‐19 Claims                6/24/2019 ED        $      390.00           0.1 and confer with N. Mirjanich regarding comments to same (.1).                                       $            39.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 ED        $      390.00           0.4 Review information to respond to queries from lenders' counsel regarding claims form (.4)           $          156.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 MR        $      390.00           0.4 Attention to claims process email and status (.4)                                                   $          156.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 MR        $      390.00           1.5 further work on other materials (1.5).                                                              $          585.00
           Administration &
           Objections
    Jun‐19 Claims                6/24/2019 NM        $      260.00           0.4 revise responses to lender questions and correspond with E. Duff, K. Duff, M. Rachlis regarding same $         104.00
           Administration &                                                      and send to lender's counsel (.4)
           Objections




                                                                                            46 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 48 of 191 PageID #:53832
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jun‐19 Claims                6/24/2019 NM        $       260.00        0.4 telephone conference with vendor regarding claims submissions and data import following Bar Date $             104.00
           Administration &                                                    next week (.4).
           Objections
    Jun‐19 Claims                6/24/2019 NM        $      260.00          0.5 revise correspondence to claimants as reminder for Bar Date and correspond with K. Duff and A.      $         130.00
           Administration &                                                     Watychowicz regarding same (.5)
           Objections
    Jun‐19 Claims                6/24/2019 NM        $      260.00          2.2 Correspond with A. Watychowicz regarding claims emails received from claimants and study and        $         572.00
           Administration &                                                     respond to same (2.2)
           Objections
    Jun‐19 Claims                6/24/2019 SZ        $      110.00          4.2 Review and organize investors' claims.                                                              $         462.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 AW        $      140.00          4.3 Continue responding by email to emails and voicemails [+30] from claimants regarding claims         $         602.00
           Administration &                                                     process, amendments, technical issues, confirmation requests, deadlines, and mail and email
           Objections                                                           submissions.
    Jun‐19 Claims                6/25/2019 ED        $      390.00          0.4 Confer with N. Mirjanich regarding questions from lenders' counsel regarding document               $         156.00
           Administration &                                                     submissions with claims form.
           Objections
    Jun‐19 Claims                6/25/2019 KMP       $      140.00          0.2 Attention to communications from potential claimants regarding submission of claims forms, and      $           28.00
           Administration &                                                     communications with N. Mirjanich and A. Watychowicz regarding same.
           Objections
    Jun‐19 Claims                6/25/2019 NM        $      260.00          0.1 correspond with K. Duff and M. Rachlis regarding call with lenders to address questions and         $           26.00
           Administration &                                                     exchange correspondence with same (.1)
           Objections
    Jun‐19 Claims                6/25/2019 NM        $      260.00          0.2 prepare for telephone call with lender group to address claims questions (.2)                       $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 NM        $      260.00          0.2 Study correspondence relating to claims questions (.2)                                              $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 NM        $      260.00          0.4 telephone call with lender group regarding claims questions (.4)                                    $         104.00
           Administration &
           Objections
    Jun‐19 Claims                6/25/2019 NM        $      260.00          0.6 correspond with A. Watychowicz regarding claims emails received from claimants and study and        $         156.00
           Administration &                                                     respond to same (.6)
           Objections
    Jun‐19 Claims                6/25/2019 SZ        $      110.00          5.5 Review and organize claims received by mail.                                                        $         605.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 ED        $      390.00          0.2 Email correspondence with K. Duff, M. Rachlis, and N. Mirjanich regarding questions from lender's   $           78.00
           Administration &                                                     counsel regarding claims submission.
           Objections
    Jun‐19 Claims                6/26/2019 KMP       $      140.00          0.3 Attention to communications from potential claimants regarding submission of claims forms, and      $           42.00
           Administration &                                                     communications with N. Mirjanich and A. Watychowicz regarding same and other claims‐related
           Objections                                                           issues.
    Jun‐19 Claims                6/26/2019 MR        $      390.00          0.6 Attention to questions and issues regarding claims process.                                         $         234.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.1 correspond with K. Duff regarding response to claims question from lender's counsel (.1)            $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.1 correspond with vendor regarding same (.1)                                                          $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.1 draft response to same (.1)                                                                         $           26.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.2 correspond with A. Watychowicz and K. Duff regarding title searches (.2).                           $           52.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.2 correspond with K. Duff regarding claims review process and correspondence relating to same         $           52.00
           Administration &                                                     before Bar Date (.2)
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.3 exchange correspondence with vendor regarding questions received from claimants (.3)                $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.3 study claims in progress (.3)                                                                       $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          0.6 Correspond with A. Watychowicz regarding claims emails received from claimants and study and        $         156.00
           Administration &                                                     respond to same (.6)
           Objections
    Jun‐19 Claims                6/26/2019 NM        $      260.00          1.1 study correspondence from claimants regarding claims process questions and respond to same (1.1) $            286.00
           Administration &
           Objections
    Jun‐19 Claims                6/27/2019 ED        $      390.00          0.2 Email correspondence with K. Duff, M. Rachlis, and N. Mirjanich regarding questions from lender's   $           78.00
           Administration &                                                     counsel regarding claims submission.
           Objections
    Jun‐19 Claims                6/27/2019 KMP       $      140.00          0.4 various communications regarding same and other claims‐related issues (.4).                         $           56.00
           Administration &
           Objections
    Jun‐19 Claims                6/27/2019 KMP       $      140.00          2.2 Attention to and prepare responses to communications from potential claimants regarding             $         308.00
           Administration &                                                     submission of claims forms and related issues (2.2)
           Objections
    Jun‐19 Claims                6/27/2019 MR        $      390.00          0.2 Attention to emails regarding issues on claims.                                                     $           78.00
           Administration &
           Objections
    Jun‐19 Claims                6/27/2019 NM        $      260.00          0.7 Study questions in email and voicemail from claimants in connection with submission and Bar Date    $         182.00
           Administration &                                                     and correspond with K. Pritchard and respond to same.
           Objections
    Jun‐19 Claims                6/27/2019 SZ        $      110.00          4.8 Review and organize claims received by mail.                                                        $         528.00
           Administration &
           Objections




                                                                                           47 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 49 of 191 PageID #:53833
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
             Billing Category   Entry Date                           Task Hours                                         Task Description                                                     Task Cost
Month                                        Keeper        Rate
    Jun‐19 Claims                 6/28/2019 KMP       $       140.00        0.3 communications with K. Duff and N. Mirjanich regarding same and other claims‐related issues (.3).        $           42.00
            Administration &
            Objections
    Jun‐19 Claims                 6/28/2019 KMP       $      140.00           1.2 Attention to and prepare responses to communications from potential claimants regarding                $         168.00
            Administration &                                                      submission of claims forms and related issues (1.2)
            Objections
    Jun‐19 Claims                 6/28/2019 MR        $      390.00           0.6 Follow up issues on claims and phone conferences regarding same.                                       $         234.00
            Administration &
            Objections
    Jun‐19 Claims                 6/28/2019 NM        $      260.00           2.6 Study questions in email and voicemail from claimants in connection with submission and Bar Date       $         676.00
            Administration &                                                      and respond to same.
            Objections
    Jun‐19 Claims                 6/28/2019 SZ        $      110.00           5.6 Review and organize claims received by mail.                                                           $         616.00
            Administration &
            Objections
    Jun‐19 Claims                 6/30/2019 NM        $      260.00           1.5 Study questions in email and voicemail from claimants in connection with submission and Bar Date       $         390.00
            Administration &                                                      and respond to same.
            Objections
     Jul‐19 Business              7/12/2019 KBD       $      390.00           0.2 exchange correspondence with M. Rachlis and E. Duff regarding same and lender inquiry about real       $           78.00
            Operations                                                            estate taxes (.2)
     Jul‐19 Claims                 7/1/2019 KBD       $      390.00           0.4 review submitted claims (.4).                                                                          $         156.00
            Administration &
            Objections
     Jul‐19 Claims                 7/1/2019 KBD       $      390.00           0.7 exchange correspondence with A. Watychowicz regarding communications with claimants regarding $                  273.00
            Administration &                                                      claims (.7)
            Objections
     Jul‐19 Claims                 7/2/2019 KBD       $      390.00           0.2 study correspondence from claimants regarding submission of claim (.2)                                 $           78.00
            Administration &
            Objections
     Jul‐19 Claims                 7/2/2019 KBD       $      390.00           0.2 work on communications from claimants about claims submissions with A. Watychowicz (.2)                $           78.00
            Administration &
            Objections
     Jul‐19 Claims                 7/2/2019 KBD       $      390.00           0.3 exchange correspondence with A. Watychowicz regarding response to FAQ (.3)                             $         117.00
            Administration &
            Objections
     Jul‐19 Claims                 7/2/2019 KBD       $      390.00           0.7 appear for hearing before Judge Kim (.7)                                                               $         273.00
            Administration &
            Objections
     Jul‐19 Claims                 7/3/2019 KBD       $      390.00           0.2 Study information from claims vendor regarding submitted claims (.2)                                   $           78.00
            Administration &
            Objections
     Jul‐19 Claims                 7/6/2019 KBD       $      390.00           0.2 Review correspondence from claimant requesting additional time and follow up on same.                  $           78.00
            Administration &
            Objections
     Jul‐19 Claims                 7/7/2019 KBD       $      390.00           0.2 Draft correspondence to A. Watychowicz regarding investor request for extension to file claim and      $           78.00
            Administration &                                                      review correspondence from N. Mirjanich relating to same.
            Objections
     Jul‐19 Claims                 7/8/2019 KBD       $      390.00           0.2 Study list of claimants by property and office conference with S. Zjalic regarding same (.2)           $           78.00
            Administration &
            Objections
     Jul‐19 Claims                 7/8/2019 KBD       $      390.00           0.4 exchange correspondence with A. Watychowicz regarding draft response to FAQ and other claim            $         156.00
            Administration &                                                      inquiries (.4).
            Objections
     Jul‐19 Claims                 7/9/2019 KBD       $      390.00           0.1 exchange correspondence with A. Watychowicz regarding claimant communication (.1)                      $           39.00
            Administration &
            Objections
     Jul‐19 Claims                7/12/2019 KBD       $      390.00           0.1 draft correspondence to A. Watychowicz regarding draft response to claimant regarding claims           $           39.00
            Administration &                                                      process timing (.1).
            Objections
     Jul‐19 Claims                7/12/2019 KBD       $      390.00           0.2 Study and revise draft response to claimant inquiry regarding claims submission (.2)                   $           78.00
            Administration &
            Objections
     Jul‐19 Claims                7/16/2019 KBD       $      390.00           0.4 work on same and claims information from claimants and claims vendor with N. Mirjanich (.4)            $         156.00
            Administration &
            Objections
     Jul‐19 Claims                7/18/2019 KBD       $      390.00           0.2 Review correspondence from lender's counsel regarding priority and study correspondence from           $           78.00
            Administration &                                                      and address same with M. Rachlis (.2)
            Objections
     Jul‐19 Claims                7/19/2019 KBD       $      390.00           0.3 telephone conference with claims service provider regarding potential additional services (.3)         $         117.00
            Administration &
            Objections
     Jul‐19 Claims                7/19/2019 KBD       $      390.00           1.2 Analysis of claims and priority considerations with M. Rachlis (1.2)                                   $         468.00
            Administration &
            Objections
     Jul‐19 Claims                7/23/2019 KBD       $      390.00           0.1 confer with M. Rachlis regarding communications with lender's counsel (.1)                             $           39.00
            Administration &
            Objections
     Jul‐19 Claims                7/23/2019 KBD       $      390.00           0.1 evaluate investor lender debt on portfolio with E. Duff (.1)                                           $           39.00
            Administration &
            Objections
     Jul‐19 Claims                7/23/2019 KBD       $      390.00           0.4 telephone conference with asset manager, M. Rachlis, and A. Porter regarding same (.4)                 $         156.00
            Administration &
            Objections
     Jul‐19 Claims                7/24/2019 KBD       $      390.00           0.2 evaluate jurisdictional issue (.2).                                                                    $           78.00
            Administration &
            Objections
     Jul‐19 Claims                7/24/2019 KBD       $      390.00           0.3 Work with N. Mirjanich on preliminary reports on claims and various issues implicated by claims to     $         117.00
            Administration &                                                      be addressed in the reporting (.3)
            Objections
     Jul‐19 Claims                7/25/2019 KBD       $      390.00           0.1 exchange correspondence with A. Porter regarding lender loan (.1).                                     $           39.00
            Administration &
            Objections
     Jul‐19 Claims                7/29/2019 KBD       $      390.00           1.1 Work on claims reporting, priority issues, property histories, report structure, and various related   $         429.00
            Administration &                                                      issues with A. Porter and N. Mirjanich (1.1)
            Objections




                                                                                             48 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 50 of 191 PageID #:53834
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                        Task Description                                                  Task Cost
Month                                        Keeper        Rate
    Jul‐19 Claims                7/30/2019 KBD        $       390.00        0.1 exchange correspondence with A. Porter and N. Mirjanich regarding claimant's documentation (.1)      $           39.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 KBD        $      390.00          0.1 telephone conference with lender's counsel regarding preliminary assessment of claims process       $           39.00
           Administration &                                                      planning and meeting to discuss issues unique to lender (.1)
           Objections
    Jul‐19 Claims                7/30/2019 KBD        $      390.00          0.4 Exchange correspondence with E. Duff and M. Rachlis regarding lender issue (.4)                     $         156.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 KBD        $      390.00          0.4 study spreadsheets regarding claims relating to properties and lenders (.4).                        $         156.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          0.1 exchange correspondence with A. Porter regarding claimant documentation (.1).                       $           39.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding claimant inquiry about claims submission      $           39.00
           Administration &                                                      (.1)
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          0.2 telephone conference with E. Duff and real estate broker regarding lender request for property      $           78.00
           Administration &                                                      inspection (.2)
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          0.2 work on same with N. Mirjanich (.2)                                                                 $           78.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          0.7 study draft claims report and revisions to same (.7)                                                $         273.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 KBD        $      390.00          1.7 Study and revise draft preliminary report on undisputed liens (1.7)                                 $         663.00
           Administration &
           Objections
    Jul‐19 Asset Disposition      7/9/2019 AEP        $      390.00          0.2 Teleconference with receivership brokers regarding coordination of earnest money deposits by        $           78.00
                                                                                 buyers of properties in second series (.2)
    Jul‐19 Asset Disposition      7/9/2019 AEP        $      390.00          0.3 review all due diligence folders for properties in second series managed by receivership property   $         117.00
                                                                                 manager to ensure completeness (.3).
    Jul‐19 Asset Disposition      7/9/2019 AEP        $      390.00          0.4 prepare wiring instructions for various purchasers of property in second series (.4)                $         156.00

    Jul‐19 Asset Disposition      7/9/2019 JR         $      140.00          0.1 exchange correspondence with A. Porter relating to same (.1)                                        $           14.00

    Jul‐19 Asset Disposition     7/18/2019 AW         $      140.00          0.1 Attention to email regarding payment for publication and provide requested information to N.        $           14.00
                                                                                 Mirjanich (.1)
    Jul‐19 Business               7/2/2019 AW         $      140.00          0.2 confirm list with K. Pritchard and forward to K. Duff and M. Rachlis (.2).                          $           28.00
           Operations
    Jul‐19 Business               7/2/2019 AW         $      140.00          0.3 create list of all attorney appearances before Judge Lee (.3)                                       $           42.00
           Operations
    Jul‐19 Business               7/2/2019 AW         $      140.00          0.3 Teleconference with court reporter regarding counsel and parties they represent that were a part of $           42.00
           Operations                                                            hearings before Judge Kim (.3)
    Jul‐19 Business               7/8/2019 AW         $      140.00          0.2 proofread same and email M. Rachlis regarding same (.2).                                            $           28.00
           Operations
    Jul‐19 Business               7/8/2019 ED         $      390.00          0.1 email correspondence with insurance broker regarding policy documents (.1).                         $           39.00
           Operations
    Jul‐19 Business              7/15/2019 KMP        $      140.00          0.1 conference with K. Duff regarding disposition of various other EB business expenses (.1).           $           14.00
           Operations
    Jul‐19 Claims                 7/1/2019 AW         $      140.00          0.1 request detailed report on online submission of claims (.1).                                        $           14.00
           Administration &
           Objections
    Jul‐19 Claims                 7/1/2019 AW         $      140.00          0.8 response to numerous voicemails from claimants (.8)                                                 $         112.00
           Administration &
           Objections
    Jul‐19 Claims                 7/1/2019 AW         $      140.00          1.3 attention to submissions received by mail and messengers, check claims submissions for proof of     $         182.00
           Administration &                                                      claim form and supporting documentation (1.3)
           Objections
    Jul‐19 Claims                 7/1/2019 AW         $      140.00          4.6 Attention to email submissions and response to emails regarding claims [+40] (4.6)                  $         644.00
           Administration &
           Objections
    Jul‐19 Claims                 7/1/2019 NM         $      260.00          0.4 Study and respond to email correspondence relating to claims submissions and study same in portal. $          104.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.1 attention to emails from claimants (.1)                                                             $           14.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.2 Attention to recent claims (.2)                                                                     $           28.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.2 confer with K. Duff regarding special circumstances for some claimants (.2)                         $           28.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.3 attention to spreadsheets from claims vendor and initial review of same (.3)                        $           42.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.4 respond to claimants (.4).                                                                          $           56.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.6 research and conference with claims vendor regarding same (.6)                                      $           84.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.7 draft answers to frequently asked questions (.7)                                                    $           98.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 AW         $      140.00          0.8 attention to voluminous mailings containing supplements to claims (.8)                              $         112.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 KMP        $      140.00          0.2 Communications with N. Mirjanich, A. Watychowicz, and claims portal vendor regarding issues         $           28.00
           Administration &                                                      relating to portal, claims spreadsheet, and submission of claims.
           Objections




                                                                                            49 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 51 of 191 PageID #:53835
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                   Task Cost
Month                                       Keeper        Rate
    Jul‐19 Claims                 7/2/2019 NM        $       260.00        0.3 Study and respond to email correspondence relating to claims submissions and study same in portal. $              78.00
           Administration &
           Objections
    Jul‐19 Claims                 7/2/2019 SZ        $      110.00           5.8 Review and organization of investors' claims received by mail.                                      $         638.00
           Administration &
           Objections
    Jul‐19 Claims                 7/3/2019 AW        $      140.00           0.2 Email exchanges and confer with K. Duff regarding reporting from claims vendor.                     $           28.00
           Administration &
           Objections
    Jul‐19 Claims                 7/6/2019 NM        $      260.00           0.2 Study and respond to email correspondence relating to claims submissions and study same in          $           52.00
           Administration &                                                      EquityBuild and claims email accounts.
           Objections
    Jul‐19 Claims                 7/8/2019 AW        $      140.00           0.4 Attention to emails from claimants and documentation submitted in support of claims (.4)            $           56.00
           Administration &
           Objections
    Jul‐19 Claims                 7/8/2019 AW        $      140.00           0.4 confer with K. Duff regarding claimants that did not submit claims on time and appropriate          $           56.00
           Administration &                                                      responses to such submissions (.4)
           Objections
    Jul‐19 Claims                 7/8/2019 AW        $      140.00           0.6 correspond with several investors [+10] regarding late submissions and circumstances (.6).          $           84.00
           Administration &
           Objections
    Jul‐19 Claims                 7/8/2019 MR        $      390.00           0.3 Exchanges regarding claims submissions.                                                             $         117.00
           Administration &
           Objections
    Jul‐19 Claims                 7/8/2019 NM        $      260.00           0.2 Correspond with A. Watychowicz and vendor regarding claims submissions.                             $           52.00
           Administration &
           Objections
    Jul‐19 Claims                 7/8/2019 SZ        $      110.00           0.9 Review and organize investors' claims received by mail (.9)                                         $           99.00
           Administration &
           Objections
    Jul‐19 Claims                 7/9/2019 AW        $      140.00           0.1 Attention to emails from claimants transmitting claims (.1)                                         $           14.00
           Administration &
           Objections
    Jul‐19 Claims                 7/9/2019 AW        $      140.00           0.1 communicate with claims vendor with request to provide information regarding claims against         $           14.00
           Administration &                                                      property (.1)
           Objections
    Jul‐19 Claims                 7/9/2019 AW        $      140.00           0.1 confer with S. Zjalic regarding processing of claims (.1)                                           $           14.00
           Administration &
           Objections
    Jul‐19 Claims                 7/9/2019 AW        $      140.00           0.2 respond to same (.2)                                                                                $           28.00
           Administration &
           Objections
    Jul‐19 Claims                 7/9/2019 AW        $      140.00           0.5 analyze spreadsheet regarding same and start process of obtaining proof of claims forms and         $           70.00
           Administration &                                                      supporting documentation from claims portal (.5).
           Objections
    Jul‐19 Claims                7/10/2019 AW        $      140.00           0.1 confer with M. Rachlis regarding institutional lender's claim against same property (.1)            $           14.00
           Administration &
           Objections
    Jul‐19 Claims                7/10/2019 AW        $      140.00           0.2 confer with N. Mirjanich regarding claims analysis process and logistics (.2).                      $           28.00
           Administration &
           Objections
    Jul‐19 Claims                7/10/2019 AW        $      140.00           0.8 obtain electronic copies of claims from claims portal (.8)                                          $         112.00
           Administration &
           Objections
    Jul‐19 Claims                7/10/2019 MR        $      390.00           1.5 Prepare for upcoming hearing on claims issues and several conferences regarding same.               $         585.00
           Administration &
           Objections
    Jul‐19 Claims                7/10/2019 NM        $      260.00           0.3 study and respond to correspondence with vendor and study documents sent by same (.3).              $           78.00
           Administration &
           Objections
    Jul‐19 Claims                7/11/2019 NM        $      260.00           0.1 correspond with K. Duff and A. Watychowicz regarding the same and timing for same (.1)              $           26.00
           Administration &
           Objections
    Jul‐19 Claims                7/11/2019 NM        $      260.00           0.3 exchange correspondence with vendor regarding information needed on properties and study            $           78.00
           Administration &                                                      spreadsheet from same (.3).
           Objections
    Jul‐19 Claims                7/11/2019 NM        $      260.00           0.3 Telephone conference with vendor regarding questions to finalize data import into database for      $           78.00
           Administration &                                                      claims review (.3)
           Objections
    Jul‐19 Claims                7/11/2019 SZ        $      110.00           3.8 Review and organize investors' claims received by mail.                                             $         418.00
           Administration &
           Objections
    Jul‐19 Claims                7/12/2019 AW        $      140.00           0.1 confer with K. Duff regarding same (.1)                                                             $           14.00
           Administration &
           Objections
    Jul‐19 Claims                7/12/2019 AW        $      140.00           0.2 draft response emails for K. Duff's review (.2)                                                     $           28.00
           Administration &
           Objections
    Jul‐19 Claims                7/12/2019 AW        $      140.00           0.3 Attention to emails and voicemails from claimants requesting information regarding their claim or   $           42.00
           Administration &                                                      extension to submit (.3)
           Objections
    Jul‐19 Claims                7/12/2019 AW        $      140.00           0.3 respond to claimants (.3).                                                                          $           42.00
           Administration &
           Objections
    Jul‐19 Claims                7/12/2019 NM        $      260.00           0.2 correspond with A. Watychowicz regarding additional responses to claimants (.2).                    $           52.00
           Administration &
           Objections
    Jul‐19 Claims                7/12/2019 SZ        $      110.00            6 Review and organize investors' claims received by mail.                                              $         660.00
           Administration &
           Objections
    Jul‐19 Claims                7/15/2019 AW        $      140.00           0.1 attention to email from claimant requesting extension of time to submit claim (.1)                  $           14.00
           Administration &
           Objections




                                                                                            50 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 52 of 191 PageID #:53836
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jul‐19 Claims                7/15/2019 AW        $       140.00        0.1 confer with K. Duff regarding same and discuss appropriate response (.1).                              $           14.00
           Administration &
           Objections
    Jul‐19 Claims                7/15/2019 AW        $      140.00           1.4 Review and organize claims received by mail (1.4)                                                    $         196.00
           Administration &
           Objections
    Jul‐19 Claims                7/15/2019 MR        $      390.00           0.2 Attention to supplemental information on claims.                                                     $           78.00
           Administration &
           Objections
    Jul‐19 Claims                7/15/2019 NM        $      260.00           1.4 analyze the same and revise spreadsheet with additional claimant information (1.4)                   $         364.00
           Administration &
           Objections
    Jul‐19 Claims                7/15/2019 SZ        $      110.00             4 Review and organize investors' claims received by mail.                                              $         440.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 AW        $      140.00           0.1 attention to email from claimant and consult N. Mirjanich on response (.1)                           $           14.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 AW        $      140.00           0.2 Confer with N. Mirjanich regarding claims review (.2)                                                $           28.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 AW        $      140.00           0.2 confirm receipt of submissions from claimants (.2).                                                  $           28.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 AW        $      140.00           0.5 teleconference with claims vendor regarding claims processing (.5)                                   $           70.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 ED        $      390.00           0.4 confer with N. Mirjanich regarding preliminary analysis of claims received (.4).                     $         156.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 MR        $      390.00           0.3 Attention to issues on preliminary review of claims.                                                 $         117.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.1 correspond with M. Rachlis (.1)                                                                      $           26.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.1 exchange email correspondence relating to the same (.1)                                              $           26.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.2 and K. Duff (.2) regarding the same                                                                  $           52.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.3 analyze claims spreadsheet sent by vendor with all properties for which a claim was made against a   $           78.00
           Administration &                                                      specific property (.3).
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.4 correspond with E. Duff regarding preliminary claims analysis (.4)                                   $         104.00
           Administration &
           Objections
    Jul‐19 Claims                7/16/2019 NM        $      260.00           0.5 Telephone conference with vendor and A. Watychowicz regarding claims input to review platform        $         130.00
           Administration &                                                      (.5)
           Objections
    Jul‐19 Claims                7/16/2019 SZ        $      110.00           3.5 Review and organize investors' claims received by mail.                                              $         385.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 AW        $      140.00           0.1 confer with N. Mirjanich regarding entering of information from claims received via mail and email   $           14.00
           Administration &                                                      (.1)
           Objections
    Jul‐19 Claims                7/17/2019 AW        $      140.00           0.3 attention to voicemails from claimants and respond to same via email (.3)                            $           42.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 AW        $      140.00           0.5 Analyze and revise spreadsheets containing claims detail received from claims vendor (.5)            $           70.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 AW        $      140.00           0.5 attention to claims entry procedures (.5).                                                           $           70.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 NM        $      260.00           0.1 correspond with A. Watychowicz regarding responses to claimant inquiries (.1).                       $           26.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 NM        $      260.00           0.2 correspond with A. Watychowicz and with vendor regarding the same and claims platform (.2)           $           52.00
           Administration &
           Objections
    Jul‐19 Claims                7/17/2019 NM        $      260.00           0.6 Study claims spreadsheet sent by vendor and preliminary claims review (.6)                           $         156.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 AW        $      140.00           0.1 contact claims vendor regarding issues relating to same (.1).                                        $           14.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 AW        $      140.00           0.2 confer with N. Mirjanich and K. Pritchard regarding same (.2)                                        $           28.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 AW        $      140.00           0.4 Prepare detailed materials regarding claims submission for K. Duff (.4)                              $           56.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 AW        $      140.00           0.5 teleconference with claims vendor directing how to enter and search through claims (.5)              $           70.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 AW        $      140.00           0.5 work on claims in claims platform (.5)                                                               $           70.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 KMP       $      140.00           0.1 follow‐up conference with N. Mirjanich and A. Watychowicz regarding same and other claims issues     $           14.00
           Administration &                                                      (.1).
           Objections




                                                                                            51 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 53 of 191 PageID #:53837
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                           Task Description                                                   Task Cost
Month                                       Keeper        Rate
    Jul‐19 Claims                7/18/2019 KMP       $       140.00        0.6 Participate in conference with N. Mirjanich, A. Watychowicz and claims vendor (.6)                      $            84.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 NM        $      260.00           0.1 correspond with K. Pritchard and A. Watychowicz regarding the same (.1)                               $            26.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 NM        $      260.00           0.1 Exchange email correspondence with vendor regarding claims process platform (.1)                      $            26.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 NM        $      260.00           0.1 study K. Duff correspondence to investor regarding claim (.1)                                         $            26.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 NM        $      260.00           0.5 correspond with A. Watychowicz regarding claims platform and analysis of claims (.5).                 $          130.00
           Administration &
           Objections
    Jul‐19 Claims                7/18/2019 NM        $      260.00           0.6 telephone conference with vendor, K. Pritchard, and A. Watychowicz regarding accessing and use of $              156.00
           Administration &                                                      platform (.6)
           Objections
    Jul‐19 Claims                7/18/2019 SZ        $      110.00             5 Review and organize investors' claims received by mail.                                               $          550.00
           Administration &
           Objections
    Jul‐19 Claims                7/19/2019 AW        $      140.00           0.1 Attention to email from claims vendor regarding updates to portal (.1)                                $            14.00
           Administration &
           Objections
    Jul‐19 Claims                7/19/2019 AW        $      140.00           0.1 confer with K. Duff regarding same (.1).                                                              $            14.00
           Administration &
           Objections
    Jul‐19 Claims                7/19/2019 AW        $      140.00           1.1 attention to voluminous claim (1.1)                                                                   $          154.00
           Administration &
           Objections
    Jul‐19 Claims                7/19/2019 MR        $      390.00           1.2 Conferences regarding claims process related issues with K. Duff.                                     $          468.00
           Administration &
           Objections
    Jul‐19 Claims                7/22/2019 AW        $      140.00           0.1 Confer with S. Zjalic regarding emails from claimants.                                                $            14.00
           Administration &
           Objections
    Jul‐19 Claims                7/23/2019 NM        $      260.00           0.2 correspond with K. Duff regarding the same (.2).                                                      $            52.00
           Administration &
           Objections
    Jul‐19 Claims                7/23/2019 NM        $      260.00           7.4 Analyze claims submitted and draft status report on claims and summary of status of claims            $         1,924.00
           Administration &                                                      submitted (7.4)
           Objections
    Jul‐19 Claims                7/23/2019 SZ        $      110.00           2.5 Review and organize investors' claims received by mail.                                               $          275.00
           Administration &
           Objections
    Jul‐19 Claims                7/24/2019 ED        $      390.00           0.3 confer with N. Mirjanich regarding claims received, status of initial review, and information required $         117.00
           Administration &                                                      for further analysis (.3)
           Objections
    Jul‐19 Claims                7/24/2019 NM        $      260.00           0.2 telephone conference with vendor regarding spreadsheet of claims submitted against selected           $            52.00
           Administration &                                                      properties (.2).
           Objections
    Jul‐19 Claims                7/24/2019 NM        $      260.00           2.3 Analyze claims submitted and draft status report on claims and summary of status of claims            $          598.00
           Administration &                                                      submitted (2.3)
           Objections
    Jul‐19 Claims                7/25/2019 AW        $      140.00           0.1 Attention to spreadsheets received from claims vendor and confer with N. Mirjanich regarding          $            14.00
           Administration &                                                      same.
           Objections
    Jul‐19 Claims                7/26/2019 NM        $      260.00           3.1 Analyze claims submitted and draft status report on claims and summary of status of claims            $          806.00
           Administration &                                                      submitted.
           Objections
    Jul‐19 Claims                7/28/2019 MR        $      390.00           0.4 Attention to investor inquiry and follow up with K. Duff regarding same.                              $          156.00
           Administration &
           Objections
    Jul‐19 Claims                7/29/2019 AW        $      140.00           0.2 respond to inquiries from claimants (.2).                                                             $            28.00
           Administration &
           Objections
    Jul‐19 Claims                7/29/2019 ED        $      390.00           0.1 email to lender's counsel regarding additional requested reporting (.1).                              $            39.00
           Administration &
           Objections
    Jul‐19 Claims                7/29/2019 NM        $      260.00           0.1 correspond with A. Watychowicz regarding responding to claimant questions and emails to the           $            26.00
           Administration &                                                      same (.1)
           Objections
    Jul‐19 Claims                7/29/2019 NM        $      260.00           0.2 correspond with E. Duff regarding the claims process and claims submitted by institutional lenders    $            52.00
           Administration &                                                      (.2).
           Objections
    Jul‐19 Claims                7/29/2019 NM        $      260.00           1.1 correspond with K. Duff and A. Porter regarding the claims process and reports on the same (1.1)      $          286.00
           Administration &
           Objections
    Jul‐19 Claims                7/29/2019 NM        $      260.00           1.1 revise claims status report (1.1)                                                                     $          286.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 AW        $      140.00           0.2 Attention to emails from claimants and respond to same (.2)                                           $            28.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 AW        $      140.00           0.3 confer with N. Mirjanich regarding preparation of spreadsheet containing information on email and     $            42.00
           Administration &                                                      mail submissions (.3)
           Objections
    Jul‐19 Claims                7/30/2019 AW        $      140.00           0.8 start working on detailed spreadsheet (.8).                                                           $          112.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 MR        $      390.00           0.8 Attention to issues on claims and research regarding same.                                            $          312.00
           Administration &
           Objections




                                                                                            52 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 54 of 191 PageID #:53838
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                      Task Cost
Month                                       Keeper        Rate
    Jul‐19 Claims                7/30/2019 NM        $       260.00        0.3 correspond with A. Watychowicz regarding review of claims submissions directly to Receiver (.3)         $            78.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 NM        $      260.00           0.6 study submissions from other claims on a non‐property basis (.6).                                     $          156.00
           Administration &
           Objections
    Jul‐19 Claims                7/30/2019 NM        $      260.00           2.6 Revise first report on claims (2.6)                                                                   $          676.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 AW        $      140.00           0.1 respond to claimant regarding submission of claim (.1).                                               $            14.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 AW        $      140.00           0.2 Attention to claims submission from institutional lender and email K. Duff regarding same (.2)        $            28.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 AW        $      140.00           0.2 attention to email from claimant and draft response email and discuss same with K. Duff (.2)          $            28.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 AW        $      140.00           0.3 confer with N. Mirjanich and confirm information for purpose of status on claims (.3)                 $            42.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 AW        $      140.00           0.4 continue working on spreadsheet with detailed information regarding submitted claims (.4)             $            56.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 ED        $      390.00           0.4 Confer with N. Mirjanich regarding claims received relating to multiple properties, and next steps for $         156.00
           Administration &                                                      information gathering and analysis (.4)
           Objections
    Jul‐19 Claims                7/31/2019 KMP       $      140.00           0.1 review court order relating to claims process (.1)                                                    $            14.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 MR        $      390.00           1.4 Review and comment on initial claims status report.                                                   $          546.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 NM        $      260.00           0.1 Analyze claims submitted (.1)                                                                         $            26.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 NM        $      260.00           0.7 correspond with E. Duff regarding claims on properties and lenders claims (.7)                        $          182.00
           Administration &
           Objections
    Jul‐19 Claims                7/31/2019 NM        $      260.00           1.8 revise claims report and study K. Duff revisions to the same (1.8).                                   $          468.00
           Administration &
           Objections
   Aug‐19 Claims                  8/1/2019 KBD       $      390.00           3.5 Study and revise draft preliminary report regarding undisputed liens (3.5)                            $         1,365.00
           Administration &
           Objections
   Aug‐19 Claims                  8/5/2019 KBD       $      390.00           0.2 Study correspondence from N. Mirjanich regarding status report and claims process planning and        $            78.00
           Administration &                                                      procedures.
           Objections
   Aug‐19 Claims                  8/6/2019 KBD       $      390.00           0.8 Telephone conference with claims vendor and N. Mirjanich regarding potential additional claims        $          312.00
           Administration &                                                      review and support (.8)
           Objections
   Aug‐19 Claims                  8/6/2019 KBD       $      390.00           2.2 work on claims review and process with N. Mirjanich, A. Porter, E. Duff, and M. Rachlis (2.2).        $          858.00
           Administration &
           Objections
   Aug‐19 Claims                  8/7/2019 KBD       $      390.00           0.2 Study and revise draft correspondence to investors regarding claims (.2)                              $            78.00
           Administration &
           Objections
   Aug‐19 Claims                  8/7/2019 KBD       $      390.00           0.2 study correspondence from N. Mirjanich regarding claims data (.2).                                    $            78.00
           Administration &
           Objections
   Aug‐19 Claims                  8/8/2019 KBD       $      390.00           0.1 review spreadsheets relating to claims and correspondence from A. Watychowicz regarding same          $            39.00
           Administration &                                                      (.1)
           Objections
   Aug‐19 Claims                  8/8/2019 KBD       $      390.00           0.3 exchange correspondence with claimant regarding claims process and claimed amounts (.3).              $          117.00
           Administration &
           Objections
   Aug‐19 Claims                  8/8/2019 KBD       $      390.00           0.8 work on potential resolution of claims disputes with M. Rachlis and A. Porter (.8)                    $          312.00
           Administration &
           Objections
   Aug‐19 Claims                 8/13/2019 KBD       $      390.00           0.7 work on same, progression of analysis, common issues for resolution, and framing schedule for the     $          273.00
           Administration &                                                      Court with N. Mirjanich (.7).
           Objections
   Aug‐19 Claims                 8/13/2019 KBD       $      390.00           1.8 study and revise preliminary report on disputed claims (1.8)                                          $          702.00
           Administration &
           Objections
   Aug‐19 Claims                 8/14/2019 KBD       $      390.00           0.3 research regarding summary proceedings in claims process (.3)                                         $          117.00
           Administration &
           Objections
   Aug‐19 Claims                 8/14/2019 KBD       $      390.00             1 Draft claims status report and exchange correspondence regarding same (1.0)                           $          390.00
           Administration &
           Objections
   Aug‐19 Claims                 8/15/2019 KBD       $      390.00           0.5 exchange correspondence with M. Rachlis regarding same and confer with N. Mirjanich regarding         $          195.00
           Administration &                                                      same (.5)
           Objections
   Aug‐19 Claims                 8/15/2019 KBD       $      390.00           4.7 Study and revise status report regarding claims (4.7)                                                 $         1,833.00
           Administration &
           Objections
   Aug‐19 Claims                 8/16/2019 KBD       $      390.00           0.1 exchange correspondence with E. Duff regarding communications with lender and insurance broker        $            39.00
           Administration &                                                      representative regarding property insurance premium (.1)
           Objections
   Aug‐19 Claims                 8/16/2019 KBD       $      390.00           0.3 exchange correspondence with A. Watychowicz regarding communications with claimants relating          $          117.00
           Administration &                                                      to claims submissions (.3).
           Objections




                                                                                            53 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 55 of 191 PageID #:53839
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                             Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Aug‐19 Claims                8/20/2019 KBD        $       390.00        0.3 review of title reports to identify potentially interested parties and gather information with J. Rak      $         117.00
          Administration &                                                     and A. Porter (.3).
          Objections
   Aug‐19 Claims                8/20/2019 KBD        $       390.00           1.8 Work on claims process with M. Rachlis, A. Porter, E. Duff, and N. Mirjanich regarding claims           $         702.00
          Administration &                                                        analysis, process, prioritization of review, and preparations written plan (1.8)
          Objections
   Aug‐19 Claims                8/21/2019 KBD        $       390.00           0.8 Study memorandum from N. Mirjanich regarding claims review, analysis, and planning (.8)                 $         312.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 KBD        $       390.00           0.4 draft correspondence to N. Mirjanich regarding review of claims and priority of claims issue (.4).      $         156.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 KBD        $       390.00           1.3 Appear for hearing before Judge Kim regarding claims process (1.3)                                      $         507.00
          Administration &
          Objections
   Aug‐19 Claims                8/27/2019 KBD        $       390.00           0.6 Financial analysis of investments and confer with N. Mirjanich regarding same (.6)                      $         234.00
          Administration &
          Objections
   Aug‐19 Claims                8/29/2019 KBD        $       390.00           0.3 Draft correspondence to claimant regarding reporting on claimants and claims and claims analysis        $         117.00
          Administration &                                                        criteria (.3)
          Objections
   Aug‐19 Claims                8/30/2019 KBD        $       390.00           0.2 Work on claims analysis and review with N. Mirjanich.                                                   $           78.00
          Administration &
          Objections
   Aug‐19 Asset Disposition     8/16/2019 AEP        $       390.00           0.1 read e‐mail from E. Duff regarding rent restoration totals for all receivership properties (.1).        $           39.00

   Aug‐19 Asset Disposition     8/20/2019 AEP        $       390.00           0.1 communications with title company regarding preparation of title invoices for third series properties   $           39.00
                                                                                  (.1)
   Aug‐19 Asset Disposition     8/20/2019 AEP        $       390.00           0.1 Teleconference with receivership broker regarding status of completion of closing cost estimates for    $           39.00
                                                                                  third series properties (.1)
   Aug‐19 Business               8/2/2019 NM         $       260.00           0.3 Study EB email account for service of process, code violation documents, and other key documents        $           78.00
          Operations                                                              (.3)
   Aug‐19 Business               8/6/2019 AW         $       140.00           0.1 Confer with K. Pritchard and research regarding complete list of EquityBuild affiliated entities (.1)   $           14.00
          Operations
   Aug‐19 Business               8/6/2019 AW         $       140.00           0.3 attention to email exchanges regarding EINs and search for same (.3).                                   $           42.00
          Operations
   Aug‐19 Business               8/6/2019 KMP        $       140.00           0.4 Review and compare comprehensive list of receivership entities to list of known EB entities             $           56.00
          Operations                                                              organized in state of Delaware (.4)
   Aug‐19 Business               8/9/2019 JR         $       140.00           0.7 Review additional receiver report for June (.7)                                                         $           98.00
          Operations
   Aug‐19 Business              8/28/2019 AW         $       140.00           0.3 Confer with N. Mirjanich regarding order allowing filing of lien by creditor, research same, and email $            42.00
          Operations                                                              regarding same (.3)
   Aug‐19 Claims                 8/1/2019 AEP        $       390.00           1.8 Proofread, edit, and revise draft report on status of claims process.                                  $          702.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 AW         $       140.00           0.2 Attention to draft claims status report and preliminary review (.2)                                     $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 AW         $       140.00           0.5 compile redacted exhibits and email N. Mirjanich regarding same (.5)                                    $           70.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 AW         $       140.00           1.2 continue work on spreadsheet containing detailed information regarding claims submitted via mail        $         168.00
          Administration &                                                        and email (1.2)
          Objections
   Aug‐19 Claims                 8/1/2019 AW         $       140.00           3.2 proofread claims status report, email exchanges and confer with N. Mirjanich and K. Duff regarding      $         448.00
          Administration &                                                        same, revise exhibits, finalize report, file on‐line, and serve (3.2)
          Objections
   Aug‐19 Claims                 8/1/2019 MR         $       390.00           0.1 Attention to emails on claims (.1)                                                                      $           39.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 MR         $       390.00           0.4 attention to further revisions on claims report (.4).                                                   $         156.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 NM         $       260.00           0.3 Draft agenda for claims meeting with K. Duff, A. Porter, and E. Duff (.3)                               $           78.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 NM         $       260.00           4.2 revise claims status report (4.2).                                                                      $        1,092.00
          Administration &
          Objections
   Aug‐19 Claims                 8/1/2019 SZ         $       110.00             2 Review and organize investors' claims received by mail.                                                 $         220.00
          Administration &
          Objections
   Aug‐19 Claims                 8/2/2019 AW         $       140.00           0.2 Respond to emails from claimants.                                                                       $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/2/2019 MR         $       390.00           0.4 Attention to various issues on claims and property related issues.                                      $         156.00
          Administration &
          Objections
   Aug‐19 Claims                 8/2/2019 SZ         $       110.00           3.7 Review and organize investors' claims received by mail.                                                 $         407.00
          Administration &
          Objections
   Aug‐19 Claims                 8/5/2019 AW         $       140.00           2.8 Continue work on spreadsheet containing detailed information regarding claims submitted via mail        $         392.00
          Administration &                                                        and email (2.8)
          Objections
   Aug‐19 Claims                 8/5/2019 NM         $       260.00           0.3 Correspond with A. Watychowicz regarding claims and hard copy submissions to the Receiver (.3)          $           78.00
          Administration &
          Objections
   Aug‐19 Claims                 8/5/2019 NM         $       260.00             4 study claims on property‐by‐property basis for August 15th claims report and meeting with               $        1,040.00
          Administration &                                                        Receiver's team to address review process for the same (4.0).
          Objections
   Aug‐19 Claims                 8/6/2019 AEP        $       390.00           0.2 Review claims summary spreadsheet received from N. Mirjanich in preparation for receivership            $           78.00
          Administration &                                                        team meeting (.2)
          Objections




                                                                                             54 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 56 of 191 PageID #:53840
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Aug‐19 Claims                 8/6/2019 AEP        $       390.00        1.5 participate in receivership team meeting regarding claims process (1.5).                                   $         585.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 AW         $       140.00          0.2 draft template emails to claimants for K. Duff's review (.2)                                             $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 AW         $       140.00          0.3 Confer with K. Duff regarding notice of claims process (.3)                                              $           42.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 AW         $       140.00          0.3 respond to claimants' emails (.3).                                                                       $           42.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 ED         $       390.00          2.2 meeting with K. Duff, M. Rachlis, A. Porter, and N. Mirjanich to discuss status of preliminary review    $         858.00
          Administration &                                                       of information regarding claims received, and next steps (2.2).
          Objections
   Aug‐19 Claims                 8/6/2019 KMP        $       140.00          0.1 compile claims spreadsheet (.1).                                                                         $           14.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 KMP        $       140.00          0.2 Assist N. Mirjanich in annotating electronic version of claims form for claims portal vendor to assist   $           28.00
          Administration &                                                       with their manual entry of certain claim information (.2)
          Objections
   Aug‐19 Claims                 8/6/2019 MR         $       390.00          0.5 Review claims related charts to prepare for meeting (.5)                                                 $         195.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 MR         $       390.00          1.4 attend meeting with A. Porter, K. Duff and N. Mirjanich regarding claims process (1.4).                  $         546.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.1 prepare for telephone call with claims vendor and K. Duff (.1)                                           $           26.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.2 Correspond with A. Watychowicz regarding claims (.2)                                                     $           52.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.2 follow‐up telephone call with vendor regarding the same (.2)                                             $           52.00
          Administration &
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.4 prepare for meeting with receivership team regarding claims process review strategy and second           $         104.00
          Administration &                                                       status report on claims (.4)
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.6 exchange email correspondence with vendor regarding the same and correspond with K. Pritchard            $         156.00
          Administration &                                                       regarding the same (.6)
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          0.9 telephone call with same regarding claims process and additional vendor services in advance of           $         234.00
          Administration &                                                       August 15th claims report (.9)
          Objections
   Aug‐19 Claims                 8/6/2019 NM         $       260.00          2.2 confer with K. Duff, M. Rachlis, E. Duff, and A. Porter regarding claims process review strategy and     $         572.00
          Administration &                                                       second status report on claims (2.2).
          Objections
   Aug‐19 Claims                 8/7/2019 AW         $       140.00          0.2 draft template emails to claimants for K. Duff's review (.2)                                             $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/7/2019 AW         $       140.00          0.4 Meeting with N. Mirjanich regarding processing of claims received via mail and email and transfer to $               56.00
          Administration &                                                       vendor for entry to database (.4)
          Objections
   Aug‐19 Claims                 8/7/2019 AW         $       140.00          0.4 respond to claimants' emails (.4)                                                                        $           56.00
          Administration &
          Objections
   Aug‐19 Claims                 8/7/2019 KMP        $       140.00          0.2 Attention to requests from claimants for verification of receipt of claims information and               $           28.00
          Administration &                                                       communications with A. Watychowicz regarding same.
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.1 correspond with A. Porter regarding claimant (.1)                                                        $           26.00
          Administration &
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.1 Correspond with K. Duff regarding claims (.1)                                                            $           26.00
          Administration &
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.3 correspond with A. Watychowicz regarding email correspondence to claimants (.3)                          $           78.00
          Administration &
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.4 correspond with A. Watychowicz regarding the same and downloading claims documents for E. Duff $                   104.00
          Administration &                                                       review (.4)
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.6 telephone conference with vendor regarding claims imports and exchange email correspondence              $         156.00
          Administration &                                                       relating to the same (.6)
          Objections
   Aug‐19 Claims                 8/7/2019 NM         $       260.00          0.8 draft second claims report and follow‐up from meeting with receivership team on the same (.8)            $         208.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 AEP        $       390.00          2.6 Prepare for and attend meeting with K. Duff, M. Rachlis, and counsel for servicer to institutional       $        1,014.00
          Administration &                                                       lender.
          Objections
   Aug‐19 Claims                 8/8/2019 AW         $       140.00          0.1 attention to email exchanges regarding vendor entering information to online database (.1)               $           14.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 AW         $       140.00          0.2 Confer with and assist S. Zjalic regarding processing and organization of claims documents (.2)          $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 AW         $       140.00          0.2 discuss with N. Mirjanich regarding manual upload to online database (.2)                                $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 AW         $       140.00          0.4 attention to data entry relating to claimant and confer with vendor regarding issues (.4).               $           56.00
          Administration &
          Objections




                                                                                            55 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 57 of 191 PageID #:53841
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Aug‐19 Claims                 8/8/2019 AW        $       140.00        2.7 continue work on spreadsheet containing detailed information regarding claims submitted by mail        $         378.00
          Administration &                                                    and email (2.7)
          Objections
   Aug‐19 Claims                 8/8/2019 NM        $      260.00           0.1 Correspond with A. Watychowicz regarding institutional lender claims (.1)                            $           26.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 NM        $      260.00           0.1 correspond with K. Duff regarding claims submitted by lender in advance of meeting with same (.1)    $           26.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 NM        $      260.00           0.2 correspond with A. Watychowicz, S. Zjalic, and K. Duff regarding claims (.2)                         $           52.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 NM        $      260.00           0.2 exchange correspondence with vendor regarding entry of hard copy claims into database (.2)           $           52.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 NM        $      260.00           0.3 enter a claim into database with A. Watychowicz (.3).                                                $           78.00
          Administration &
          Objections
   Aug‐19 Claims                 8/8/2019 SZ        $      110.00           4.2 Review and organize investors' claims.                                                               $         462.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 AW        $      140.00           0.2 confer with N. Mirjanich regarding submissions to vendor and options suggested by vendor (.2)        $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 AW        $      140.00           0.2 respond to emails from claimants (.2).                                                               $           28.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 AW        $      140.00           0.8 Call with vendor regarding claims database (.8)                                                      $         112.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 AW        $      140.00           0.8 prepare submissions for vendor (.8)                                                                  $         112.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 AW        $      140.00           3.3 complete work on spreadsheet containing detailed information regarding claims submitted by mail      $         462.00
          Administration &                                                      and email (3.3)
          Objections
   Aug‐19 Claims                 8/9/2019 NM        $      260.00           0.5 correspond with A. Watychowicz regarding the same and enter claim into database for review by        $         130.00
          Administration &                                                      vendor (.5)
          Objections
   Aug‐19 Claims                 8/9/2019 NM        $      260.00           0.8 telephone call with vendor and A. Watychowicz regarding the same and to explain claims data entry $            208.00
          Administration &                                                      (.8)
          Objections
   Aug‐19 Claims                 8/9/2019 NM        $      260.00           1.2 Email correspondence and follow‐up phone calls with vendor and A. Watychowicz regarding claims       $         312.00
          Administration &                                                      entry into database (1.2)
          Objections
   Aug‐19 Claims                 8/9/2019 NM        $      260.00           1.4 draft second claims report (1.4).                                                                    $         364.00
          Administration &
          Objections
   Aug‐19 Claims                 8/9/2019 SZ        $      110.00           4.4 Continue to review and organize investors' claims.                                                   $         484.00
          Administration &
          Objections
   Aug‐19 Claims                8/12/2019 AW        $      140.00           0.1 respond to email from claimant (.1).                                                                 $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/12/2019 MR        $      390.00           0.4 Issues on claims review and submission (.4)                                                          $         156.00
          Administration &
          Objections
   Aug‐19 Claims                8/12/2019 NM        $      260.00           5.5 Draft second claims report and exhibit to the same.                                                  $        1,430.00
          Administration &
          Objections
   Aug‐19 Claims                8/13/2019 MR        $      390.00            4 Work on draft claims status report and draft and edit same, review materials regarding same.          $        1,560.00
          Administration &
          Objections
   Aug‐19 Claims                8/13/2019 NM        $      260.00           0.2 telephone conference and email exchange with vendor regarding entry of hard copy claims data to      $           52.00
          Administration &                                                      portal and questions from same (.2)
          Objections
   Aug‐19 Claims                8/13/2019 NM        $      260.00           0.7 correspond with K. Duff regarding claims review process and second claims report (.7)                $         182.00
          Administration &
          Objections
   Aug‐19 Claims                8/13/2019 NM        $      260.00            1 Revise claims report and send to receivership team and study K. Duff comments to the same (1.0)       $         260.00
          Administration &
          Objections
   Aug‐19 Claims                8/13/2019 SZ        $      110.00           3.7 Review and organize investors' claims.                                                               $         407.00
          Administration &
          Objections
   Aug‐19 Claims                8/14/2019 NM        $      260.00           2.9 Revise claims report and study comments from M. Rachlis and K. Duff to incorporate same into the     $         754.00
          Administration &                                                      next draft of report (2.9)
          Objections
   Aug‐19 Claims                8/15/2019 AW        $      140.00           0.1 confer with N. Mirjanich regarding revisions to same (.1)                                            $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/15/2019 AW        $      140.00           0.2 Attention to emails from claimants and respond to same (.2)                                          $           28.00
          Administration &
          Objections
   Aug‐19 Claims                8/15/2019 AW        $      140.00           0.5 review second status report on claims (.5)                                                           $           70.00
          Administration &
          Objections
   Aug‐19 Claims                8/15/2019 AW        $      140.00           1.1 email exchanges regarding additional revisions to status report, calls with N. Mirjanich regarding   $         154.00
          Administration &                                                      same, finalize and file report, and serve on defendant (1.1).
          Objections
   Aug‐19 Claims                8/15/2019 ED        $      390.00           0.3 Review and revise draft of Receiver's second report regarding claims (.3)                            $         117.00
          Administration &
          Objections




                                                                                           56 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 58 of 191 PageID #:53842
                                              ‐ General Allocation Task Detail



Invoice                                         Time      Time Keeper
           Billing Category   Entry Date                               Task Hours                                          Task Description                                                    Task Cost
Month                                          Keeper        Rate
   Aug‐19 Claims                8/15/2019 JR            $       140.00        0.5 Confer with N. Mirjanich regarding claims project and listing potential EBF mortgagees and potential $               70.00
          Administration &                                                        parties on a single spreadsheet.
          Objections
   Aug‐19 Claims                8/15/2019 MR            $      390.00           2.9 Review and follow up on claims status report and provide comments and edits (2.9)                      $        1,131.00
          Administration &
          Objections
   Aug‐19 Claims                8/15/2019 NM            $      260.00           6.8 Revise claims status report and study comments from K. Duff, M. Rachlis, and E. Duff to incorporate    $        1,768.00
          Administration &                                                          the same and correspond with K. Duff and M. Rachlis regarding the same (6.8)
          Objections
   Aug‐19 Claims                8/16/2019 AW            $      140.00           0.1 Response by email to voicemail from claimant (.1)                                                      $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/16/2019 AW            $      140.00           0.7 response to emails from claimants (.7).                                                                $           98.00
          Administration &
          Objections
   Aug‐19 Claims                8/16/2019 NM            $      260.00           0.1 study and respond to email correspondence relating to claims (.1)                                      $           26.00
          Administration &
          Objections
   Aug‐19 Claims                8/16/2019 NM            $      260.00           0.2 correspond with A. Watychowicz regarding claims emails and responses to the same (.2)                  $           52.00
          Administration &
          Objections
   Aug‐19 Claims                8/19/2019 AW            $      140.00           0.3 Attention to emails from claimants and respond to same (.3)                                            $           42.00
          Administration &
          Objections
   Aug‐19 Claims                8/19/2019 NM            $      260.00           0.1 Correspond with A. Watychowicz regarding claims and correspondence from claimants (.1)                 $           26.00
          Administration &
          Objections
   Aug‐19 Claims                8/19/2019 NM            $      260.00           0.1 prepare for claims meeting with receivership team (.1)                                                 $           26.00
          Administration &
          Objections
   Aug‐19 Claims                8/20/2019 AEP           $      390.00             2 Conference with receivership team regarding status of claims process, analysis of individual claims,   $         780.00
          Administration &                                                          and discovery issues.
          Objections
   Aug‐19 Claims                8/20/2019 ED            $      390.00           1.8 meeting with K. Duff, A. Porter, M. Rachlis and N. Mirjanich regarding claims analysis (1.8).          $         702.00
          Administration &
          Objections
   Aug‐19 Claims                8/20/2019 MR            $      390.00           0.3 Prepare for meeting on claims issues (.3)                                                              $         117.00
          Administration &
          Objections
   Aug‐19 Claims                8/20/2019 MR            $      390.00             2 attend meeting regarding claims issues and conferences regarding same (2.0)                            $         780.00
          Administration &
          Objections
   Aug‐19 Claims                8/20/2019 NM            $      260.00           1.1 Prepare for claims meeting with receivership team and study previously filed status reports for same $           286.00
          Administration &                                                          and for process to review claims in advance of claims status conference (1.1)
          Objections
   Aug‐19 Claims                8/20/2019 NM            $      260.00             2 confer with K. Duff, M. Rachlis, A. Porter, E. Duff work on claims process, issues to address in       $         520.00
          Administration &                                                          advance of status conference on claims with K. Duff, M. Rachlis, A. Porter, and E. Duff (2.0)
          Objections
   Aug‐19 Claims                8/20/2019 NM            $      260.00           2.3 summarize notes from the same and draft outline of claims review process and issues to address for $             598.00
          Administration &                                                          the same (2.3).
          Objections
   Aug‐19 Claims                8/21/2019 AW            $      140.00           0.1 Attention to voicemail from claimant and email response to same (.1)                                   $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/21/2019 AW            $      140.00           0.3 draft responses to multiple claimants (.3)                                                             $           42.00
          Administration &
          Objections
   Aug‐19 Claims                8/21/2019 MR            $      390.00             2 Prepare for upcoming hearing on claims and review various materials regarding same (2.0)               $         780.00
          Administration &
          Objections
   Aug‐19 Claims                8/21/2019 NM            $      260.00           0.1 Correspond with A. Watychowicz regarding claims (.1)                                                   $           26.00
          Administration &
          Objections
   Aug‐19 Claims                8/21/2019 NM            $      260.00           1.5 draft summary of the same and claims process review in advance of status hearing on claims (1.5)       $         390.00
          Administration &
          Objections
   Aug‐19 Claims                8/21/2019 NM            $      260.00           4.9 create list of all known claimants and claimed amounts based on export of data from database (4.9)     $        1,274.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 MR            $      390.00           1.3 attend hearing and conferences regarding same (1.3).                                                   $         507.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 MR            $      390.00           1.4 Prepare for upcoming hearing on claims (1.4)                                                           $         546.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00           0.2 correspond with K. Duff and M. Rachlis regarding same (.2)                                             $           52.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00           0.3 correspond with A. Watychowicz regarding responses to claimant emails (.3)                             $           78.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00           0.3 correspond with K. Duff regarding claimant and investigate claim for same (.3)                         $           78.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00             1 Prepare for status hearing on claims (1.0)                                                             $         260.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00           1.3 attend status conference on claims before Judge Kim (1.3)                                              $         338.00
          Administration &
          Objections
   Aug‐19 Claims                8/22/2019 NM            $      260.00           1.7 correspond with K. Duff and J. Rak regarding claims process and review of the same (1.7).              $         442.00
          Administration &
          Objections




                                                                                               57 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 59 of 191 PageID #:53843
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                             Task Description                                              Task Cost
Month                                      Keeper        Rate
   Aug‐19 Claims                8/23/2019 AW        $       140.00        0.2 Respond to emails from claimants.                                                                     $           28.00
          Administration &
          Objections
   Aug‐19 Claims                8/23/2019 NM        $      260.00          0.3 correspond with A. Watychowicz regarding claims for review and claimant responses (.3).              $           78.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.1 attention to revisions from K. Duff, revise email, and send to claimant (.1)                         $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.1 confer with K. Duff regarding same and draft email response (.1)                                     $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.2 Attention to email from claimant and research regarding claim (.2)                                   $           28.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.3 work on claims form review (.3).                                                                     $           42.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.6 attention to email from claims vendor regarding revisions and updates in online database and         $           84.00
          Administration &                                                     update claimants addresses (.6)
          Objections
   Aug‐19 Claims                8/26/2019 AW        $      140.00          0.7 respond to claimants inquiries regarding claims process and status of same by email (.7)             $           98.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 NM        $      260.00          0.2 correspond with A. Watychowicz regarding correspondence to claimant questions (.2)                   $           52.00
          Administration &
          Objections
   Aug‐19 Claims                8/26/2019 NM        $      260.00          0.2 Correspond with E. Duff regarding claims review (.2)                                                 $           52.00
          Administration &
          Objections
   Aug‐19 Claims                8/27/2019 NM        $      260.00          0.4 correspond with K. Duff regarding claims analysis (.4)                                               $         104.00
          Administration &
          Objections
   Aug‐19 Claims                8/27/2019 NM        $      260.00          0.6 legal research regarding claims analysis and correspond with K. Duff regarding same (.6)             $         156.00
          Administration &
          Objections
   Aug‐19 Claims                8/27/2019 NM        $      260.00          1.3 Draft process for claims review and analyze prior notes regarding claims review process (1.3)        $         338.00
          Administration &
          Objections
   Aug‐19 Claims                8/29/2019 AW        $      140.00          0.1 attention to email from institutional lender and call with E. Duff regarding same (.1)               $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/29/2019 AW        $      140.00          0.1 confer with K. Duff regarding same and respond to email (.1).                                        $           14.00
          Administration &
          Objections
   Aug‐19 Claims                8/29/2019 AW        $      140.00          0.6 Response to emails sent to both receivership emails and emails requesting update on claims (.6)      $           84.00
          Administration &
          Objections
   Aug‐19 Claims                8/30/2019 AW        $      140.00          0.1 Email in response to voicemail regarding claims (.1)                                                 $           14.00
          Administration &
          Objections
   Sep‐19 Business               9/6/2019 KBD       $      390.00          0.1 exchange correspondence with E. Duff regarding lender communications (.1).                           $           39.00
          Operations
   Sep‐19 Business              9/17/2019 KBD       $      390.00          0.1 ; exchange correspondence with accounting firm representative regarding same (.1).                   $           39.00
          Operations
   Sep‐19 Claims                 9/1/2019 KBD       $      390.00          0.1 draft correspondence to N. Mirjanich and J. Rak regarding notice of claims process (.1).             $           39.00
          Administration &
          Objections
   Sep‐19 Claims                 9/1/2019 KBD       $      390.00          0.2 exchange correspondence with A. Porter regarding claims issue (.2)                                   $           78.00
          Administration &
          Objections
   Sep‐19 Claims                 9/2/2019 KBD       $      390.00          0.1 Exchange correspondence with N. Mirjanich regarding notice of claims process.                        $           39.00
          Administration &
          Objections
   Sep‐19 Claims                 9/3/2019 KBD       $      390.00          0.2 study and revise motion to approve claims vendor invoice and approve continuing work (.2).           $           78.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 KBD       $      390.00          0.2 study revised motion to approve claims vendor invoice and approve continuing work (.2)               $           78.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 KBD       $      390.00          0.3 Analysis of secured status of claims and approach to reviewing claims with N. Mirjanich (.3)         $         117.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 KBD       $      390.00          0.1 Work on claims review and procedures with N. Mirjanich (.1)                                          $           39.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 KBD       $      390.00          0.1 Study correspondence from A. Watychowicz regarding investor communication relating to claims         $           39.00
          Administration &                                                     process (.1)
          Objections
   Sep‐19 Claims                9/17/2019 KBD       $      390.00          0.2 Exchange correspondence with M. Rachlis and A. Porter regarding lender claim and property            $           78.00
          Administration &                                                     disposition (.2)
          Objections
   Sep‐19 Claims                9/18/2019 KBD       $      390.00          0.1 study draft correspondence to representative of investor regarding tax form and claim process (.1)   $           39.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 KBD       $      390.00          0.2 analysis of same with M. Rachlis (.2)                                                                $           78.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 KBD       $      390.00          0.2 confer with M. Rachlis regarding hearing before Judge Lee on various motions and issues (.2).        $           78.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 KBD       $      390.00          0.2 Study correspondence from investor regarding property sales and claim and exchange                   $           78.00
          Administration &                                                     correspondence with N. Mirjanich regarding same (.2)
          Objections




                                                                                          58 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 60 of 191 PageID #:53844
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                            Task Cost
Month                                       Keeper        Rate
   Sep‐19 Claims                9/26/2019 KBD        $       390.00        0.1 Exchange correspondence with A. Watychowicz regarding communication with claimant regarding                   $           39.00
          Administration &                                                     claim and claims process.
          Objections
   Sep‐19 Asset Disposition     9/12/2019 JR         $      140.00          0.1 exchange correspondence with A. Porter regarding earnest money deposits for the third series (.1)            $           14.00

   Sep‐19 Asset Disposition     9/12/2019 JR         $      140.00          0.1 telephone conference with broker pertaining to wire instructions for properties currently under              $           14.00
                                                                                contract for the third series (.1)
   Sep‐19 Asset Disposition     9/12/2019 JR         $      140.00          0.4 exchange correspondence with property manager pertaining to a request for due diligence                      $           56.00
                                                                                documents for properties in the third series (.4)
   Sep‐19 Asset Disposition     9/13/2019 AW         $      140.00          0.1 attention to emails from claimant and respond to same (.1).                                                  $           14.00

   Sep‐19 Asset Disposition     9/13/2019 JR         $      140.00          0.6 confer with K. Pritchard and review draft EquityBuild spreadsheets to confirm accuracy for same (.6). $                  84.00

   Sep‐19 Asset Disposition     9/13/2019 JR         $      140.00          2.8 finalize review of title reports relating to additional creditors listed on title on all the properties in   $         392.00
                                                                                the EquityBuild portfolio (2.8)
   Sep‐19 Asset Disposition     9/18/2019 NM         $      260.00          0.7 draft answers to frequently asked questions by stakeholders in connection with sales motions and             $         182.00
                                                                                correspond with K. Duff regarding the same (.7)
   Sep‐19 Business               9/3/2019 KMP        $      140.00          1.1 download and review accountant documents (1.1).                                                              $         154.00
          Operations
   Sep‐19 Business              9/10/2019 JR         $      140.00          1.2 ; produce and review financial statements regarding same (1.2).                                              $         168.00
          Operations
   Sep‐19 Business              9/23/2019 KMP        $      140.00          0.4 review property and entity records to compile tax identification numbers in connection with same             $           56.00
          Operations                                                            (.4)
   Sep‐19 Business              9/23/2019 KMP        $      140.00          1.1 continue reviewing records and communications with asset holder to prepare additional document               $         154.00
          Operations                                                            requests (1.1)
   Sep‐19 Business              9/24/2019 KMP        $      140.00          0.3 conferences with K. Duff and N. Mirjanich regarding request for asset holder's documents and issues          $           42.00
          Operations                                                            relating to analysis of same (.3)
   Sep‐19 Business              9/24/2019 KMP        $      140.00          0.6 draft correspondence to asset holder requesting updated balances and records for restricted                  $           84.00
          Operations                                                            accounts and confer with K. Duff regarding same (.6)
   Sep‐19 Business              9/24/2019 KMP        $      140.00          0.6 further review of property and entity records to compile tax identification numbers in connection            $           84.00
          Operations                                                            with same (.6).
   Sep‐19 Business              9/24/2019 KMP        $      140.00          1.2 review records regarding asset holder (1.2)                                                                  $         168.00
          Operations
   Sep‐19 Business              9/25/2019 KMP        $      140.00          0.2 Conferences with K. Duff and M. Rachlis regarding correspondence to asset holder to request                  $           28.00
          Operations                                                            updated balances and records for restricted accounts (.2)
   Sep‐19 Claims                 9/3/2019 JR         $      140.00          0.3 ; confer with N. Mirjanich regarding same (.3).                                                              $           42.00
          Administration &
          Objections
   Sep‐19 Claims                 9/3/2019 NM         $      260.00          0.1 exchange correspondence with claims vendor regarding the same and next phase of claims                       $           26.00
          Administration &                                                      processing (.1)
          Objections
   Sep‐19 Claims                 9/3/2019 NM         $      260.00          0.2 correspond with K. Duff and A. Watychowicz regarding claims analysis (.2)                                    $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/3/2019 NM         $      260.00          0.2 finalize the same and send to M. Rachlis (.2)                                                                $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/3/2019 NM         $      260.00          0.4 study chronology of loans sent by A. Porter (.4)                                                             $         104.00
          Administration &
          Objections
   Sep‐19 Claims                 9/3/2019 NM         $      260.00          2.2 Draft motion to approve claims portal vendor and correspond with K. Duff regarding the same (2.2)            $         572.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 AW         $      140.00          0.1 email response to voice message from claimant (.1)                                                           $           14.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 AW         $      140.00          0.1 meeting with N. Mirjanich regarding files delivered to vendor for entry into database (.1)                   $           14.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 AW         $      140.00          0.3 attention to emails from claimants requesting update and response to same (.3).                              $           42.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 AW         $      140.00          0.7 Meeting with N. Mirjanich and J. Rak regarding claims against specific properties (.7)                       $           98.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 AW         $      140.00          2.1 work on confirming transmittals of claims notice (2.1)                                                       $         294.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 JR         $      140.00          0.7 Confer with N. Mirjanich regarding assisting in the claims process (.7)                                      $           98.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 MR         $      390.00          0.3 Attention to vendor issues, claims process, and motion.                                                      $         117.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.1 correspond with A. Watychowicz regarding emails to claimants (.1)                                            $           26.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.2 correspond with A. Watychowicz regarding the same (.2)                                                       $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.2 correspond with K. Duff regarding claims analysis, bank records review, and notice to all EBF                $           52.00
          Administration &                                                      mortgagees (.2)
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.2 email correspondence relating to the same (.2)                                                               $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.2 revise claims to‐do list following the same (.2)                                                             $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.2 study notes from vendor regarding hard copy claim uploads (.2)                                               $           52.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM         $      260.00          0.3 prepare for meeting with A. Watychowicz and J. Rak regarding claims notice and confirm same (.3)             $           78.00
          Administration &
          Objections




                                                                                           59 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 61 of 191 PageID #:53845
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Sep‐19 Claims                 9/4/2019 NM        $       260.00        0.4 Telephone conference with claims vendor regarding uploading additional documents from hard            $         104.00
          Administration &                                                    copy claims submissions (.4)
          Objections
   Sep‐19 Claims                 9/4/2019 NM        $      260.00          0.7 conference regarding the same (.7)                                                                   $         182.00
          Administration &
          Objections
   Sep‐19 Claims                 9/4/2019 NM        $      260.00          3.3 study claims forms, bank records, and email accounts of former EB employees (3.3).                   $         858.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 AW        $      140.00          0.1 email claimant regarding update (.1).                                                                $           14.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 AW        $      140.00          2.4 Continue work on confirming transmittals of claims notice (2.4)                                      $         336.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 NM        $      260.00          0.1 correspond with K. Duff regarding claims process and the same (.1)                                   $           26.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 NM        $      260.00          0.3 Correspond with A. Watychowicz regarding claims notice (.3)                                          $           78.00
          Administration &
          Objections
   Sep‐19 Claims                 9/5/2019 NM        $      260.00          0.3 correspond with K. Duff regarding the same, claims analysis, and claims analysis on other properties $           78.00
          Administration &                                                     (.3)
          Objections
   Sep‐19 Claims                 9/5/2019 NM        $      260.00          0.3 draft summary of claims analysis on other properties following conversation with K. Duff on the      $           78.00
          Administration &                                                     same (.3).
          Objections
   Sep‐19 Claims                 9/9/2019 NM        $      260.00          0.4 correspond with accountant regarding claims analysis (.4)                                            $         104.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 AW        $      140.00          0.2 prepare list of claimants for which documents and proof of claim forms need to be uploaded to        $           28.00
          Administration &                                                     claims platform (.2)
          Objections
   Sep‐19 Claims                9/10/2019 AW        $      140.00          0.3 attention to email and voicemail from claimants and respond to same (.3).                            $           42.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 AW        $      140.00          0.3 confer with N. Mirjanich regarding claims notice and additional tasks (.3)                           $           42.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 AW        $      140.00          0.9 Work with N. Mirjanich regarding incomplete claims and draft correspondence to claimants (.9)        $         126.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 AW        $      140.00          1.3 continue work on claims notice (1.3)                                                                 $         182.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 NM        $      260.00          0.2 correspond with A. Watychowicz regarding the same (.2)                                               $           52.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 NM        $      260.00          0.3 study correspondence from claims vendor regarding data upload and incomplete information and         $           78.00
          Administration &                                                     respond to the same (.3)
          Objections
   Sep‐19 Claims                9/10/2019 NM        $      260.00          1.1 Correspond with A. Watychowicz regarding claims notice, email from vendor regarding data upload      $         286.00
          Administration &                                                     and compiling documents for the same, and responses to incomplete claims submissions (1.1)
          Objections
   Sep‐19 Claims                9/10/2019 NM        $      260.00          1.5 study claim information for mortgagees who may not have been given notice of claims from the         $         390.00
          Administration &                                                     properties in the first through third tranche of sales (1.5)
          Objections
   Sep‐19 Claims                9/10/2019 SZ        $      110.00          0.3 work on same with A. Watychowicz (.3).                                                               $           33.00
          Administration &
          Objections
   Sep‐19 Claims                9/10/2019 SZ        $      110.00          4.4 Cross‐referenced investors claims to establish a list of documents and proof of claim forms that     $         484.00
          Administration &                                                     need to be uploaded to claims platform (4.4)
          Objections
   Sep‐19 Claims                9/12/2019 AW        $      140.00          0.1 draft responses to and confer with K. Duff regarding emails from claimants with specific questions   $           14.00
          Administration &                                                     (.1).
          Objections
   Sep‐19 Claims                9/12/2019 AW        $      140.00          0.2 Attention to emails from claimants and respond to same (.2)                                          $           28.00
          Administration &
          Objections
   Sep‐19 Claims                9/12/2019 JR        $      140.00          2.8 Continue review of title reports for properties in EquityBuild portfolio for additional claimant     $         392.00
          Administration &                                                     information.
          Objections
   Sep‐19 Claims                9/17/2019 NM        $      260.00          0.5 Review claims forms for properties.                                                                  $         130.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 AW        $      140.00          0.3 attention to voicemail from claimant, contact claimant, and respond with detailed email (.3)         $           42.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 MR        $      390.00          0.2 attention to order on upcoming hearing and follow up regarding same (.2)                             $           78.00
          Administration &
          Objections
   Sep‐19 Claims                9/18/2019 NM        $      260.00          0.2 Correspond with A. Watychowicz regarding claims correspondence and call about tax form from          $           52.00
          Administration &                                                     investor (.2)
          Objections
   Sep‐19 Claims                9/18/2019 NM        $      260.00          2.7 study public records and search emails for documents to analyze properties (2.7)                     $         702.00
          Administration &
          Objections
   Sep‐19 Claims                9/19/2019 AW        $      140.00          0.1 Telephone call from claimant regarding his claim (.1)                                                $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/19/2019 AW        $      140.00          0.9 respond to emails from claimants (.9).                                                               $         126.00
          Administration &
          Objections




                                                                                          60 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 62 of 191 PageID #:53846
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Sep‐19 Claims                9/19/2019 NM        $       260.00        2.5 Study claims forms and supporting documents and study emails for documents to analyze                  $         650.00
          Administration &                                                    properties (2.5)
          Objections
   Sep‐19 Claims                9/20/2019 AW        $      140.00          0.4 Respond to emails from claimants regarding status and other properties' specific questions (.4)       $           56.00
          Administration &
          Objections
   Sep‐19 Claims                9/20/2019 NM        $      260.00          0.1 correspond with E. Duff regarding claims analysis (.1).                                               $           26.00
          Administration &
          Objections
   Sep‐19 Claims                9/20/2019 NM        $      260.00          3.5 Claim analysis and study EB email accounts for documents relating to properties and funds (3.5)       $         910.00
          Administration &
          Objections
   Sep‐19 Claims                9/21/2019 NM        $      260.00          5.2 Claims analysis by evaluating claims forms submitted against properties.                              $        1,352.00
          Administration &
          Objections
   Sep‐19 Claims                9/23/2019 NM        $      260.00          0.6 correspond with K. Duff regarding the same (.6).                                                      $         156.00
          Administration &
          Objections
   Sep‐19 Claims                9/23/2019 NM        $      260.00            1 legal research regarding claims issue (1.0)                                                           $         260.00
          Administration &
          Objections
   Sep‐19 Claims                9/23/2019 NM        $      260.00          2.2 correspond with E. Duff regarding claims (2.2)                                                        $         572.00
          Administration &
          Objections
   Sep‐19 Claims                9/23/2019 NM        $      260.00          4.1 study claims form from both the portal and received in hard copy relating to properties (4.1)         $        1,066.00
          Administration &
          Objections
   Sep‐19 Claims                9/24/2019 AW        $      140.00          0.1 Attention to voicemail from claimant and email response (.1)                                          $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/24/2019 AW        $      140.00          0.1 confer with N. Mirjanich regarding update email to investors (.1)                                     $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/24/2019 AW        $      140.00          1.8 continue work on claims notice (1.8).                                                                 $         252.00
          Administration &
          Objections
   Sep‐19 Claims                9/24/2019 NM        $      260.00          1.7 Study E. Duff notes from claims analysis and study claims forms and documents from EB email           $         442.00
          Administration &                                                     accounts to provide additional information to claims analysis memorandum (1.7)
          Objections
   Sep‐19 Claims                9/24/2019 SZ        $      110.00          0.3 ; communicated with E. Duff regarding same (.3).                                                      $           33.00
          Administration &
          Objections
   Sep‐19 Claims                9/24/2019 SZ        $      110.00          2.7 Analysis of records relating to property bank accounts (2.7)                                          $         297.00
          Administration &
          Objections
   Sep‐19 Claims                9/25/2019 AW        $      140.00          0.4 serve claimants and their counsel with September 24 order (.4).                                       $           56.00
          Administration &
          Objections
   Sep‐19 Claims                9/25/2019 AW        $      140.00          1.3 Prepare updated service list (1.3)                                                                    $         182.00
          Administration &
          Objections
   Sep‐19 Claims                9/25/2019 SZ        $      110.00          0.2 ; confer with A. Watychowicz regarding same (.2).                                                     $           22.00
          Administration &
          Objections
   Sep‐19 Claims                9/25/2019 SZ        $      110.00          1.3 Cross‐referenced investor lists to ensure consistency and accuracy between claims vendor's list and   $         143.00
          Administration &                                                     master list (1.3)
          Objections
   Sep‐19 Claims                9/26/2019 AW        $      140.00          0.1 Attention to emails from claimants and confer with N. Mirjanich regarding responses (.1)              $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/26/2019 AW        $      140.00          0.8 responses to emails from claimants (.8)                                                               $         112.00
          Administration &
          Objections
   Sep‐19 Claims                9/26/2019 AW        $      140.00          0.9 complete work on claims notice (.9).                                                                  $         126.00
          Administration &
          Objections
   Sep‐19 Claims                9/26/2019 NM        $      260.00          0.2 correspond with A. Watychowicz, K. Duff, and M. Rachlis regarding the same and exchange draft         $           52.00
          Administration &                                                     responses (.2).
          Objections
   Sep‐19 Claims                9/26/2019 NM        $      260.00          0.7 Correspond with A. Watychowicz regarding responses to claimant questions (.7)                         $         182.00
          Administration &
          Objections
   Sep‐19 Claims                9/27/2019 NM        $      260.00          0.3 Study and respond to email relating to claims with K. Duff and J. Rak and vendor (.3)                 $           78.00
          Administration &
          Objections
   Sep‐19 Claims                9/27/2019 NM        $      260.00            2 continue revising exhibit for third claims status report (2.0).                                       $         520.00
          Administration &
          Objections
   Sep‐19 Claims                9/30/2019 AW        $      140.00          0.1 Attention to submission from claimant and review same (.1)                                            $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/30/2019 AW        $      140.00          0.1 confer with N. Mirjanich regarding completion of work on claims notice and new tasks including        $           14.00
          Administration &                                                     transmittal of remaining documents to claims vendor (.1).
          Objections
   Sep‐19 Claims                9/30/2019 AW        $      140.00          0.1 exchange email correspondence and confer with N. Mirjanich regarding claimant's submission (.1)       $           14.00
          Administration &
          Objections
   Sep‐19 Claims                9/30/2019 AW        $      140.00          0.2 draft email responses to claimants and forward same to N. Mirjanich (.2)                              $           28.00
          Administration &
          Objections
   Sep‐19 Claims                9/30/2019 AW        $      140.00          0.4 respond to emails from claimants (.4)                                                                 $           56.00
          Administration &
          Objections




                                                                                          61 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 63 of 191 PageID #:53847
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Sep‐19 Claims                9/30/2019 NM        $       260.00        0.6 correspond with A. Watychowicz regarding responses to claimant questions, documents to send to         $         156.00
          Administration &                                                    vendor to upload to portal, and notice of the claims process (.6)
          Objections
   Sep‐19 Claims                9/30/2019 NM        $      260.00          1.6 Revise exhibit of claim information for third claims status report (1.6)                              $         416.00
          Administration &
          Objections
   Sep‐19 Claims                9/30/2019 NM        $      260.00            2 search through EB records relating to notice of claims process (2.0).                                 $         520.00
          Administration &
          Objections
   Oct‐19 Asset Disposition    10/28/2019 KBD       $      390.00          1.2 prepare for meeting with Court regarding sales planning and valuation issues with real estate         $         468.00
                                                                               broker, A. Porter, and M. Rachlis (1.2).
   Oct‐19 Claims                10/1/2019 KBD       $      390.00          0.1 attention to communication from investor's counsel and draft correspondence to N. Mirjanich           $           39.00
          Administration &                                                     regarding same (.1)
          Objections
   Oct‐19 Claims                10/1/2019 KBD       $      390.00          0.1 exchange correspondence with A. Watychowicz regarding investor's communication regarding claim $                  39.00
          Administration &                                                     timing (.1)
          Objections
   Oct‐19 Claims                10/1/2019 KBD       $      390.00          0.1 study correspondence from N. Mirjanich regarding investor contact information (.1).                   $           39.00
          Administration &
          Objections
   Oct‐19 Claims                10/1/2019 KBD       $      390.00          0.1 Work on claims analysis and preparation of next status report with N. Mirjanich (.1)                  $           39.00
          Administration &
          Objections
   Oct‐19 Claims                10/2/2019 KBD       $      390.00          0.2 exchange correspondence regarding communication with investor about claim (.2).                       $           78.00
          Administration &
          Objections
   Oct‐19 Claims                10/4/2019 KBD       $      390.00          0.2 discussion of claims analysis with N. Mirjanich (.2).                                                 $           78.00
          Administration &
          Objections
   Oct‐19 Claims                10/7/2019 KBD       $      390.00          0.3 Study N. Mirjanich notes regarding claims analysis.                                                   $         117.00
          Administration &
          Objections
   Oct‐19 Claims                10/8/2019 KBD       $      390.00          0.2 Work through claims analysis and distribution issues with A. Porter.                                  $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/11/2019 KBD       $      390.00          0.2 Study information regarding recently identified potentially interested parties and study and revise   $           78.00
          Administration &                                                     claims notice for same (.2)
          Objections
   Oct‐19 Claims               10/12/2019 KBD       $      390.00          0.2 Exchange correspondence with N. Mirjanich regarding investor spreadsheet.                             $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/13/2019 KBD       $      390.00          0.3 Study draft claims status report and correspondence from N. Mirjanich regarding same.                 $         117.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 KBD       $      390.00          0.3 Study correspondence from investor regarding information relating to investment and draft             $         117.00
          Administration &                                                     correspondence in response regarding failure to submit a claim.
          Objections
   Oct‐19 Claims               10/14/2019 KBD       $      390.00          0.4 work on same with N. Mirjanich (.4).                                                                  $         156.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 KBD       $      390.00          7.3 Study and revise claims status report (7.3)                                                           $        2,847.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 KBD       $      390.00          0.2 exchange correspondence with M. Rachlis and N. Mirjanich regarding same (.2).                         $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 KBD       $      390.00          4.6 Study and revise several drafts of claims status report (4.6)                                         $        1,794.00
          Administration &
          Objections
   Oct‐19 Claims               10/16/2019 KBD       $      390.00          0.1 Attention to messages from claimant regarding claim and status report (.1)                            $           39.00
          Administration &
          Objections
   Oct‐19 Claims               10/16/2019 KBD       $      390.00          0.2 review correspondence from lender's counsel and related correspondence regarding credit bid and       $           78.00
          Administration &                                                     letter of credit issues (.2).
          Objections
   Oct‐19 Claims               10/18/2019 KBD       $      390.00          0.2 attention to communication from claimant and draft correspondence to N. Mirjanich regarding           $           78.00
          Administration &                                                     same (.2).
          Objections
   Oct‐19 Claims               10/20/2019 KBD       $      390.00          0.2 Study correspondence from M. Rachlis regarding claims status report.                                  $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 KBD       $      390.00          0.1 study information regarding claimant claimed amounts for response to claimant (.1).                   $           39.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 KBD       $      390.00          0.6 Prepare for hearing before Judge Kim regarding claims process and planning (.6)                       $         234.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 KBD       $      390.00          1.4 prepare with M. Rachlis and N. Mirjanich regarding claims analysis and hearing before Judge Kim       $         546.00
          Administration &                                                     (1.4)
          Objections
   Oct‐19 Claims               10/21/2019 KBD       $      390.00          1.8 telephone conference with accounting firm representatives and N. Mirjanich regarding claims and       $         702.00
          Administration &                                                     accounting records and analysis (1.8)
          Objections
   Oct‐19 Claims               10/22/2019 KBD       $      390.00          1.6 Prepare for and appear for hearing before Judge Kim regarding claims, including revising points to    $         624.00
          Administration &                                                     report for the court.
          Objections
   Oct‐19 Claims               10/23/2019 KBD       $      390.00          0.2 exchange correspondence with N. Mirjanich regarding bar date (.2).                                    $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/24/2019 KBD       $      390.00          0.2 draft correspondence to claimant (.2).                                                                $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/25/2019 KBD       $      390.00          0.2 telephone conference with real estate broker regarding same (.2).                                     $           78.00
          Administration &
          Objections




                                                                                          62 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 64 of 191 PageID #:53848
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                       Task Cost
Month                                       Keeper        Rate
   Oct‐19 Claims               10/25/2019 KBD        $       390.00        0.7 prepare for meeting with Judge Lee with M. Rachlis (.7)                                                   $          273.00
          Administration &
          Objections
   Oct‐19 Claims               10/28/2019 KBD        $      390.00          0.2 exchange correspondence with N. Mirjanich and A. Watychowicz regarding claimants'                        $            78.00
          Administration &                                                      correspondence (.2).
          Objections
   Oct‐19 Claims               10/30/2019 KBD        $      390.00          0.2 exchange correspondence with claimant regarding claim submitted (.2).                                    $            78.00
          Administration &
          Objections
   Oct‐19 Claims               10/30/2019 KBD        $      390.00          0.8 analysis of potential paths for claims procedures with M. Rachlis (.8)                                   $          312.00
          Administration &
          Objections
   Oct‐19 Asset Disposition    10/28/2019 AEP        $      390.00          1.2 conference with K. Duff, M. Rachlis, and receivership broker regarding preparation for 10/30              $         468.00
                                                                                hearing, timing of marketing and sale of all future property tranches, closing issues, credit bid issues,
                                                                                and miscellaneous other matters (1.2)
   Oct‐19 Asset Disposition    10/28/2019 ED         $      390.00          0.6 Confer with A. Porter regarding calculations of amounts reimbursable from sales proceeds of               $         234.00
                                                                                properties with net operating losses.
   Oct‐19 Asset Disposition    10/28/2019 MR         $      390.00          0.1 conferences with N. Mirjanich regarding hearing (.1).                                                     $           39.00

   Oct‐19 Asset Disposition    10/30/2019 AEP        $      390.00          0.2 prepare customized spreadsheet of information for M. Rachlis in preparation for conference with          $            78.00
                                                                                Judge Lee (.2)
   Oct‐19 Asset Disposition    10/30/2019 AEP        $      390.00          0.4 conference with K. Duff and M. Rachlis regarding results of hearing before Judge Lee (.4).               $          156.00

   Oct‐19 Business              10/3/2019 ED         $      390.00          0.3 Email correspondence with accountant regarding portfolio reporting requirements and related              $          117.00
          Operations                                                            property information (.3)
   Oct‐19 Business              10/3/2019 ED         $      390.00          0.4 and call regarding reporting content and presentation (.4).                                              $          156.00
          Operations
   Oct‐19 Business              10/3/2019 NM         $      260.00          0.1 and exchange email correspondence with K. Duff and E. Duff regarding the same (.1).                      $            26.00
          Operations
   Oct‐19 Business             10/29/2019 AW         $      140.00          0.3 finalize filing, file with court, and serve on Defendant (.3).                                           $            42.00
          Operations
   Oct‐19 Business             10/29/2019 AW         $      140.00          2.1 Attention to response to lenders' motion to permit bankruptcy and proofread same (2.1)                   $          294.00
          Operations
   Oct‐19 Business             10/29/2019 AW         $      140.00          2.2 various intraoffice conferences, email exchanges, and multiple revisions to opposition to bankruptcy $              308.00
          Operations                                                            motion (2.2)
   Oct‐19 Business             10/29/2019 KMP        $      140.00          0.8 Study and provide comments on draft response to lenders' bankruptcy motion and conferences with $                   112.00
          Operations                                                            A. Watychowicz regarding same.
   Oct‐19 Business             10/30/2019 MR         $      390.00          1.6 attend hearing before Judge Lee (1.6)                                                                $              624.00
          Operations
   Oct‐19 Claims                10/1/2019 AW         $      140.00          0.1 Confer with K. Duff regarding emails from claimants' inquiries (.1)                                      $            14.00
          Administration &
          Objections
   Oct‐19 Claims                10/1/2019 AW         $      140.00          0.1 follow up with K. Duff regarding revisions that M. Rachlis suggested to responses to claimants'          $            14.00
          Administration &                                                      inquiries (.1).
          Objections
   Oct‐19 Claims                10/1/2019 AW         $      140.00          0.9 prepare documents and claims received from claimants via email and mail for upload to claims             $          126.00
          Administration &                                                      database and confirm there are no duplicates or inconsistencies (.9)
          Objections
   Oct‐19 Claims                10/1/2019 MR         $      390.00          0.1 attention to inquiries on claims (.1).                                                                   $            39.00
          Administration &
          Objections
   Oct‐19 Claims                10/1/2019 NM         $      260.00          0.2 correspond with K. Duff regarding the claims process (.2).                                               $            52.00
          Administration &
          Objections
   Oct‐19 Claims                10/1/2019 NM         $      260.00          0.4 correspond with A. Watychowicz and former EB employee regarding notice of claims process and             $          104.00
          Administration &                                                      revise spreadsheet of additional potential claimants to reflect same (.4)
          Objections
   Oct‐19 Claims                10/1/2019 NM         $      260.00          0.4 Correspond with A. Watychowicz regarding documents to send to vendor to upload to portal and             $          104.00
          Administration &                                                      draft cover letter for the same (.4)
          Objections
   Oct‐19 Claims                10/1/2019 NM         $      260.00          2.8 study claims form and draft exhibit for third status report detailing all claims submitted against       $          728.00
          Administration &                                                      properties in the estate and amount of each claim and investment (2.8)
          Objections
   Oct‐19 Claims                10/2/2019 AW         $      140.00          0.2 Attention to voicemail from claimant regarding his claim, confirm that claim was never submitted,        $            28.00
          Administration &                                                      and draft email response regarding same (.2)
          Objections
   Oct‐19 Claims                10/2/2019 AW         $      140.00          0.3 compile authority cited in motion to permit bankruptcy and email N. Mirjanich regarding same (.3).       $            42.00
          Administration &
          Objections
   Oct‐19 Claims                10/2/2019 AW         $      140.00          0.9 begin work on confirming EBF mortgagees' receipt of claims notice (.9)                                   $          126.00
          Administration &
          Objections
   Oct‐19 Claims                10/2/2019 NM         $      260.00          0.1 correspond with A. Watychowicz regarding correspondence to claimant emails and questions (.1).           $            26.00
          Administration &
          Objections
   Oct‐19 Claims                10/2/2019 NM         $      260.00          6.8 Study claims form and draft exhibit for third status report detailing all claims submitted against       $         1,768.00
          Administration &                                                      properties in the estate and amount of each claim and investment (6.8)
          Objections
   Oct‐19 Claims                10/3/2019 NM         $      260.00          3.4 Study claims form and draft exhibit for third status report detailing all claims submitted against       $          884.00
          Administration &                                                      properties in the estate and amount of each claim and investment.
          Objections
   Oct‐19 Claims                10/4/2019 NM         $      260.00          0.1 Correspond with K. Duff regarding the claims submissions (.1)                                            $            26.00
          Administration &
          Objections
   Oct‐19 Claims                10/4/2019 NM         $      260.00          0.2 additional analysis of claim submissions (.2)                                                            $            52.00
          Administration &
          Objections
   Oct‐19 Claims                10/4/2019 NM         $      260.00          3.5 study claims form and draft exhibit for third status report detailing all claims submitted against       $          910.00
          Administration &                                                      properties in the estate and amount of each claim and investment (3.5)
          Objections
   Oct‐19 Claims                10/4/2019 SZ         $      110.00          0.3 ; correspond with A. Watychowicz regarding same (.3).                                                    $            33.00
          Administration &
          Objections




                                                                                           63 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 65 of 191 PageID #:53849
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Oct‐19 Claims                10/4/2019 SZ         $       110.00        5.2 Cross‐referenced investor lists to ensure consistency and accuracy of claims information (5.2)           $          572.00
          Administration &
          Objections
   Oct‐19 Claims                10/5/2019 NM         $       260.00            2 Study claims forms for additional claimants making claims.                                             $          520.00
          Administration &
          Objections
   Oct‐19 Claims                10/5/2019 SZ         $       110.00            3 Continue to cross‐reference investor lists to ensure consistency and accuracy between list held by     $          330.00
          Administration &                                                       claims vendor and the Receiver's master list.
          Objections
   Oct‐19 Claims                10/6/2019 SZ         $       110.00            3 Continue to cross‐reference investor lists to ensure consistency and accuracy of claims information.   $          330.00
          Administration &
          Objections
   Oct‐19 Claims                10/7/2019 NM         $       260.00          0.3 study EquityBuild documents for the same (.3)                                                          $            78.00
          Administration &
          Objections
   Oct‐19 Claims                10/7/2019 NM         $       260.00          1.8 study claims form and draft exhibit for third status report detailing all claims submitted against     $          468.00
          Administration &                                                       properties in the estate and amount of each claim and investment (1.8).
          Objections
   Oct‐19 Claims                10/7/2019 NM         $       260.00          2.1 Study claims forms for additional claimants (2.1)                                                      $          546.00
          Administration &
          Objections
   Oct‐19 Claims                10/7/2019 NM         $       260.00          3.2 revise memorandum written by E. Duff regarding the same and analysis of the same (3.2)                 $          832.00
          Administration &
          Objections
   Oct‐19 Claims                10/7/2019 SZ         $       110.00          0.6 Continue to cross‐reference investor lists to ensure consistency and accuracy of claims information.   $            66.00
          Administration &
          Objections
   Oct‐19 Claims                10/8/2019 NM         $       260.00          5.9 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $         1,534.00
          Administration &                                                       properties in the estate and amount of each claim and investment.
          Objections
   Oct‐19 Claims                10/9/2019 AW         $       140.00          0.3 Review and supplement work regarding claims notice.                                                    $            42.00
          Administration &
          Objections
   Oct‐19 Claims                10/9/2019 NM         $       260.00          5.6 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $         1,456.00
          Administration &                                                       properties in the estate and amount of each claim and investment.
          Objections
   Oct‐19 Claims               10/10/2019 AW         $       140.00          0.3 Consult with N. Mirjanich regarding property‐oriented inquiries from claimants and respond to          $            42.00
          Administration &                                                       emails from claimants.
          Objections
   Oct‐19 Claims               10/10/2019 NM         $       260.00          0.1 correspond with A. Watychowicz regarding claimant responses (.1)                                       $            26.00
          Administration &
          Objections
   Oct‐19 Claims               10/10/2019 NM         $       260.00          0.2 correspond with K. Duff regarding the same (.2)                                                        $            52.00
          Administration &
          Objections
   Oct‐19 Claims               10/10/2019 NM         $       260.00          4.3 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $         1,118.00
          Administration &                                                       properties in the estate and amount of each claim and investment (4.3)
          Objections
   Oct‐19 Claims               10/11/2019 AW         $       140.00            3 Work on claims notice with N. Mirjanich, including preparation of list, review of records, distribution $         420.00
          Administration &                                                       of notice, and various communications relating to same.
          Objections
   Oct‐19 Claims               10/11/2019 NM         $       260.00          0.8 draft third claims status report (.8)                                                                  $          208.00
          Administration &
          Objections
   Oct‐19 Claims               10/11/2019 NM         $       260.00          1.6 correspond with A. Watychowicz and K. Duff regarding potential claimants recently discovered and       $          416.00
          Administration &                                                       draft notice letter for same (1.6).
          Objections
   Oct‐19 Claims               10/11/2019 NM         $       260.00          4.6 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $         1,196.00
          Administration &                                                       properties in the estate and amount of each claim and investments (4.6)
          Objections
   Oct‐19 Claims               10/12/2019 NM         $       260.00          4.4 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $         1,144.00
          Administration &                                                       properties in the estate and amount of each claim and investments.
          Objections
   Oct‐19 Claims               10/13/2019 MR         $       390.00          1.4 Review and edit status report.                                                                         $          546.00
          Administration &
          Objections
   Oct‐19 Claims               10/13/2019 NM         $       260.00            3 draft and revise third status report (3.0).                                                            $          780.00
          Administration &
          Objections
   Oct‐19 Claims               10/13/2019 NM         $       260.00            3 Study claims forms and draft exhibit for third status report detailing all claims submitted against    $          780.00
          Administration &                                                       properties in the estate and amount of each claim and investments (3.0)
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 Attention to email from claimant regarding claim and response email from K. Duff (.1)                  $            14.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 attention to email from potential claimant (.1)                                                        $            14.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 communicate with N. Mirjanich regarding claimant's hard copy files and details of claim (.1)           $            14.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 confer with K. Duff regarding response and reply to email (.1)                                         $            14.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 confer with N. Mirjanich regarding claims status report, exhibits, and timing for filing (.1)          $            14.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.1 work to upload additional documentation to online claims portal and communicate with claims            $            14.00
          Administration &                                                       vendor regarding same (.1)
          Objections
   Oct‐19 Claims               10/14/2019 AW         $       140.00          0.2 attention to multiple emails from claimant regarding claim and communicate with K. Duff and N.         $            28.00
          Administration &                                                       Mirjanich regarding same (.2).
          Objections




                                                                                            64 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 66 of 191 PageID #:53850
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Oct‐19 Claims               10/14/2019 AW        $       140.00        0.9 prepare spreadsheet containing information regarding post bar date submissions and email N.             $         126.00
          Administration &                                                    Mirjanich regarding same (.9)
          Objections
   Oct‐19 Claims               10/14/2019 MR        $      390.00          0.3 conferences regarding same (.3).                                                                       $         117.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 MR        $      390.00          1.8 Work on report on claims (1.8)                                                                         $         702.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 NM        $      260.00          0.2 correspond with K. Duff regarding the same (.2).                                                       $           52.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 NM        $      260.00          3.1 draft and revise third status report (3.1)                                                             $         806.00
          Administration &
          Objections
   Oct‐19 Claims               10/14/2019 NM        $      260.00          5.6 Study claims forms and revise exhibit for third status report detailing all claims submitted against   $        1,456.00
          Administration &                                                     properties in the estate and amount of each claim and investments (5.6)
          Objections
   Oct‐19 Claims               10/15/2019 AW        $      140.00          0.3 review spreadsheet regarding claims and report to N. Mirjanich regarding same (.3)                     $           42.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 MR        $      390.00          0.3 and conferences regarding same (.3).                                                                   $         117.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 MR        $      390.00            2 Attention to drafts of claims report and edit same (2.0)                                               $         780.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 NM        $      260.00          0.1 correspond with A. Watychowicz regarding correspondence to claimant questions (.1).                    $           26.00
          Administration &
          Objections
   Oct‐19 Claims               10/15/2019 NM        $      260.00          1.5 Study claims forms and revise exhibit for third status report detailing all claims submitted against   $         390.00
          Administration &                                                     properties in the estate and amount of each claim and investments (1.5)
          Objections
   Oct‐19 Claims               10/15/2019 NM        $      260.00          5.7 draft and revise third status report and finalize for filing and study comments from K. Duff and M.    $        1,482.00
          Administration &                                                     Rachlis and correspondence regarding the same (5.7)
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.1 draft response to claimants regarding status report on claims (.1)                                     $           14.00
          Administration &
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.1 respond to emails from claimants (.1).                                                                 $           14.00
          Administration &
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.2 attention to email from counsel regarding status report and communicate with N. Mirjanich              $           28.00
          Administration &                                                     regarding same (.2)
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.2 attention to email from K. Duff regarding email from claimants counsel, download claim forms, and      $           28.00
          Administration &                                                     email K. Duff details of claims (.2)
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.2 confer with N. Mirjanich regarding contacting claims vendor about more detailed spreadsheet and        $           28.00
          Administration &                                                     attention to email regarding same (.2)
          Objections
   Oct‐19 Claims               10/16/2019 AW        $      140.00          0.3 Attention to several voicemails from claimant regarding exhibit to status report (.3)                  $           42.00
          Administration &
          Objections
   Oct‐19 Claims               10/17/2019 AW        $      140.00          0.1 Attention to email from claims vendor regarding list of claimants and review same (.1)                 $           14.00
          Administration &
          Objections
   Oct‐19 Claims               10/17/2019 AW        $      140.00          0.1 email exchange with N. Mirjanich regarding issue with spreadsheets received from claims vendor         $           14.00
          Administration &                                                     (.1).
          Objections
   Oct‐19 Claims               10/18/2019 AW        $      140.00          0.2 attention to email from claimant regarding status report (.2).                                         $           28.00
          Administration &
          Objections
   Oct‐19 Claims               10/18/2019 AW        $      140.00          0.2 Attention to email from claimant regarding third status report on claims (.2)                          $           28.00
          Administration &
          Objections
   Oct‐19 Claims               10/20/2019 MR        $      390.00          1.5 Prepare for upcoming hearing before Judge Kim and develop issues regarding same.                       $         585.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 MR        $      390.00            3 Prepare for hearing on claims issues before Judge Kim and conferences regarding same.                  $        1,170.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 NM        $      260.00          0.2 draft response to K. Duff to claimant question (.2)                                                    $           52.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 NM        $      260.00          0.3 exchange correspondence with vendor regarding additional claimant information and study                $           78.00
          Administration &                                                     spreadsheet sent by same (.3).
          Objections
   Oct‐19 Claims               10/21/2019 NM        $      260.00          1.4 confer with M. Rachlis and K. Duff regarding claims status conference before Judge Kim (1.4)           $         364.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 NM        $      260.00          1.8 correspond with K. Duff and accountants regarding claims analysis (1.8)                                $         468.00
          Administration &
          Objections
   Oct‐19 Claims               10/21/2019 NM        $      260.00          3.9 Prepare for claims status conference tomorrow and study pleadings and working spreadsheets for         $        1,014.00
          Administration &                                                     same (3.9)
          Objections
   Oct‐19 Claims               10/22/2019 AW        $      140.00          0.1 attention to emails from investor regarding claim and confer with K. Duff regarding same (.1)          $           14.00
          Administration &
          Objections
   Oct‐19 Claims               10/22/2019 AW        $      140.00          0.3 attention to communications between investor and the Receiver and inquiries with claims vendor         $           42.00
          Administration &                                                     (.3).
          Objections




                                                                                          65 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 67 of 191 PageID #:53851
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Oct‐19 Claims               10/22/2019 AW        $       140.00        0.3 Attention to emails from claimants regarding third status report on claims, obtain copies of their      $           42.00
          Administration &                                                    claim forms, and respond to claimants (.3)
          Objections
   Oct‐19 Claims               10/22/2019 MR        $       390.00          0.3 confer regarding same with K. Duff and N. Mirjanich (.3).                                             $         117.00
          Administration &
          Objections
   Oct‐19 Claims               10/22/2019 MR        $       390.00            2 Further preparation for and attend hearing before Judge Kim (2.0)                                     $         780.00
          Administration &
          Objections
   Oct‐19 Claims               10/22/2019 NM        $       260.00          0.5 appear for status conference before Judge Kim (.5).                                                   $         130.00
          Administration &
          Objections
   Oct‐19 Claims               10/22/2019 NM        $       260.00            1 Prepare for status conference on claims before Judge Kim (1.0)                                        $         260.00
          Administration &
          Objections
   Oct‐19 Claims               10/23/2019 NM        $       260.00          0.3 Study and respond to email correspondence relating to claims.                                         $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/24/2019 AW        $       140.00          0.2 Confer with K. Duff regarding response to claimant and prepare response.                              $           28.00
          Administration &
          Objections
   Oct‐19 Claims               10/28/2019 AEP       $       390.00          0.7 Confer with K. Duff, M. Rachlis, and N. Mirjanich regarding factual overview of Defendants' scheme    $         273.00
          Administration &                                                      and approaches to claims process.
          Objections
   Oct‐19 Claims               10/28/2019 AW        $       140.00          0.8 Attention to emails from claimants, draft responses to same, confer with N. Mirjanich regarding       $         112.00
          Administration &                                                      revisions, and send email responses.
          Objections
   Oct‐19 Claims               10/28/2019 NM        $       260.00          0.1 send email to the same regarding the same (.1).                                                       $           26.00
          Administration &
          Objections
   Oct‐19 Claims               10/28/2019 NM        $       260.00          0.3 correspond with claimant regarding questions to third claims status report (.3)                       $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/28/2019 NM        $       260.00          0.6 Correspond with K. Duff and A. Watychowicz regarding correspondence to claimants (.6)                 $         156.00
          Administration &
          Objections
   Oct‐19 Claims               10/29/2019 NM        $       260.00          0.9 Confer with K. Duff, M. Rachlis, and A. Porter regarding the claims process plan and hearing before   $         234.00
          Administration &                                                      Judge Lee regarding the same.
          Objections
   Oct‐19 Claims               10/30/2019 AW        $       140.00          0.1 Review email regarding request for amendment and bring to K. Duff's attention.                        $           14.00
          Administration &
          Objections
   Oct‐19 Claims               10/30/2019 NM        $       260.00          0.3 and appear for same (.3)                                                                              $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/30/2019 NM        $       260.00          0.3 Prepare for status conference before Judge Lee (.3)                                                   $           78.00
          Administration &
          Objections
   Oct‐19 Claims               10/30/2019 NM        $       260.00          0.8 correspond with receivership team regarding the same (.8).                                            $         208.00
          Administration &
          Objections
   Oct‐19 Claims               10/30/2019 NM        $       260.00          1.6 attend in chambers discussion with Judge Lee relating to claims and Receiver's process going          $         416.00
          Administration &                                                      forward (1.6)
          Objections
   Nov‐19 Claims                11/1/2019 KBD       $       390.00          0.3 Exchange correspondence with N. Mirjanich regarding claims bar date language.                         $         117.00
          Administration &
          Objections
   Nov‐19 Claims                11/2/2019 KBD       $       390.00          0.2 Telephone conference with M. Rachlis regarding claims procedure issues.                               $           78.00
          Administration &
          Objections
   Nov‐19 Claims                11/4/2019 KBD       $       390.00          0.3 Work on draft bar date language and exchange correspondence regarding same (.3)                       $         117.00
          Administration &
          Objections
   Nov‐19 Claims                11/5/2019 KBD       $       390.00          0.2 Analysis of options for resolution of property and lender issues with E. Duff (.2)                    $           78.00
          Administration &
          Objections
   Nov‐19 Claims                11/5/2019 KBD       $       390.00          0.2 study and revise notice relating to claims update and web site posting (.2).                          $           78.00
          Administration &
          Objections
   Nov‐19 Claims                11/8/2019 KBD       $       390.00          0.1 Draft correspondence to N. Mirjanich regarding claims document repository.                            $           39.00
          Administration &
          Objections
   Nov‐19 Claims               11/11/2019 KBD       $       390.00          0.1 Study correspondence from A. Watychowicz regarding claimant message about claims submission           $           39.00
          Administration &                                                      (.1)
          Objections
   Nov‐19 Claims               11/11/2019 KBD       $       390.00          0.3 study correspondence from claimant, draft response, and request information from N. Mirjanich         $         117.00
          Administration &                                                      relating to same (.3)
          Objections
   Nov‐19 Claims               11/12/2019 KBD       $       390.00          0.1 attention to voice message from claimants and draft correspondence regarding follow up (.1)           $           39.00
          Administration &
          Objections
   Nov‐19 Claims               11/12/2019 KBD       $       390.00          0.1 confer with N. Mirjanich regarding repository for production of claims related information and        $           39.00
          Administration &                                                      procedures (.1)
          Objections
   Nov‐19 Claims               11/12/2019 KBD       $       390.00          0.1 review correspondence from real estate broker regarding same (.1)                                     $           39.00
          Administration &
          Objections
   Nov‐19 Claims               11/12/2019 KBD       $       390.00          0.5 analysis of and draft correspondence to M. Rachlis regarding considerations for approach to claims    $         195.00
          Administration &                                                      analysis and procedure (.5).
          Objections
   Nov‐19 Claims               11/18/2019 KBD       $       390.00          0.1 study correspondence from claimant regarding claim documents and another claimant regarding           $           39.00
          Administration &                                                      submission (.1)
          Objections




                                                                                           66 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 68 of 191 PageID #:53852
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                      Task Cost
Month                                       Keeper        Rate
   Nov‐19 Claims               11/18/2019 KBD        $       390.00        0.2 Exchange correspondence regarding document repository (.2)                                              $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/18/2019 KBD        $      390.00          0.3 planning for hearing before Judge Lee regarding claims (.3).                                           $         117.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 KBD        $      390.00          0.1 exchange correspondence with vendor regarding document repository services (.1).                       $           39.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 KBD        $      390.00          0.8 further discussions with M. Rachlis and A. Porter regarding same (.8)                                  $         312.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 KBD        $      390.00            2 Analyze approaches to claims analysis and establishing claims document repository with M. Rachlis,     $         780.00
          Administration &                                                      A. Porter, and N. Mirjanich (2.0)
          Objections
   Nov‐19 Claims               11/20/2019 KBD        $      390.00          0.2 study information regarding potential document repository services (.2).                               $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/20/2019 KBD        $      390.00          1.1 further work with M. Rachlis regarding claims analysis procedures and separate analysis of same        $         429.00
          Administration &                                                      (1.1)
          Objections
   Nov‐19 Claims               11/21/2019 KBD        $      390.00          0.1 study correspondence from counsel for claimant regarding claim and proposal for resolution (.1).       $           39.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 KBD        $      390.00          0.2 confer with M. Rachlis and N. Mirjanich regarding same and process planning issues (.2)                $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 KBD        $      390.00          0.3 research regarding potential document repository vendors and exchange correspondence regarding $                 117.00
          Administration &                                                      same (.3)
          Objections
   Nov‐19 Claims               11/21/2019 KBD        $      390.00          1.3 appear before Judge Lee for meeting on claims process (1.3)                                            $         507.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 KBD        $      390.00          1.3 Draft and revise approach to claims analysis and work on same with M. Rachlis and N. Mirjanich         $         507.00
          Administration &                                                      (1.3)
          Objections
   Nov‐19 Claims               11/22/2019 KBD        $      390.00          0.5 Telephone conference with investor regarding claims process (.5)                                       $         195.00
          Administration &
          Objections
   Nov‐19 Claims               11/25/2019 KBD        $      390.00          0.2 Study correspondence from claimant regarding claim and exchange correspondence with N.                 $           78.00
          Administration &                                                      Mirjanich regarding same.
          Objections
   Nov‐19 Asset Disposition    11/15/2019 JR         $      140.00          0.8 organize financial statements received from property managers and from the accounting firm for all $             112.00
                                                                                properties in preparation for review (0.8)
   Nov‐19 Asset Disposition    11/21/2019 SZ         $      110.00          0.8 Preparation of documents for status hearing before Judge Lee.                                      $               88.00

   Nov‐19 Business              11/6/2019 KMP        $      140.00          0.4 conferences with K. Duff and E. Duff regarding valuation and loss documents requested by insurer,      $           56.00
          Operations                                                            and provide hard copies of requested documents to E. Duff for review (.4).
   Nov‐19 Business             11/19/2019 JR         $      140.00          0.7 exchange correspondence with E. Duff, A. Porter and K. Duff relating to same (.7).                     $           98.00
          Operations
   Nov‐19 Business             11/25/2019 KMP        $      140.00          0.2 revise draft statements of value and loss history relating to property insurance and conference with   $           28.00
          Operations                                                            K. Duff regarding same (.2).
   Nov‐19 Business             11/26/2019 KMP        $      140.00          0.3 Finalize executed statements of value and loss for property insurance and communications with K.       $           42.00
          Operations                                                            Duff regarding same.
   Nov‐19 Business             11/28/2019 JR         $      140.00          0.1 ; exchange correspondence to K. Duff regarding same (.1).                                              $           14.00
          Operations
   Nov‐19 Claims                11/1/2019 NM         $      260.00          0.4 Correspond with A. Watychowicz regarding claimant responses.                                           $         104.00
          Administration &
          Objections
   Nov‐19 Claims                11/2/2019 MR         $      390.00          0.2 Attention to issues with lenders and upcoming meeting.                                                 $           78.00
          Administration &
          Objections
   Nov‐19 Claims                11/4/2019 NM         $      260.00          0.1 draft correspondence to the court for entry of the same (.1)                                           $           26.00
          Administration &
          Objections
   Nov‐19 Claims                11/4/2019 NM         $      260.00          0.2 Exchange correspondence with K. Duff and M. Rachlis regarding the order setting claims deadlines       $           52.00
          Administration &                                                      and revise the same (.2)
          Objections
   Nov‐19 Claims                11/5/2019 AW         $      140.00          0.3 Work with N. Mirjanich on blast email to claimants and creditors regarding final claims deadline.      $           42.00
          Administration &
          Objections
   Nov‐19 Claims                11/5/2019 NM         $      260.00            1 Correspond with A. Watychowicz regarding website updates and draft email to claimants regarding        $         260.00
          Administration &                                                      claims bar and amendment date.
          Objections
   Nov‐19 Claims               11/11/2019 AW         $      140.00          0.1 Attention to claim form and documentation from claimant and respond to email (.1)                      $           14.00
          Administration &
          Objections
   Nov‐19 Claims               11/11/2019 AW         $      140.00          0.2 work with N. Mirjanich on draft email to claimants regarding bar and amendment date (.2).              $           28.00
          Administration &
          Objections
   Nov‐19 Claims               11/11/2019 NM         $      260.00          0.1 Correspond with K. Duff, vendor, and A. Watychowicz regarding claims portal (.1)                       $           26.00
          Administration &
          Objections
   Nov‐19 Claims               11/11/2019 NM         $      260.00          0.4 correspond with A. Watychowicz and K. Duff regarding email to claimants with new bar date              $         104.00
          Administration &                                                      information and revise the same (.4).
          Objections
   Nov‐19 Claims               11/12/2019 AW         $      140.00          0.7 Prepare and send notice to claimants, creditors, and potentially interested parties regarding newly    $           98.00
          Administration &                                                      set deadline for submission or amendment of claim (.7)
          Objections
   Nov‐19 Claims               11/12/2019 AW         $      140.00          0.9 attention to email responses from claimants, review their submissions, and prepare summary for N.      $         126.00
          Administration &                                                      Mirjanich (.9).
          Objections
   Nov‐19 Claims               11/12/2019 NM         $      260.00          0.7 Correspond with A. Watychowicz regarding emails from claimants and responses to the same (.7)          $         182.00
          Administration &
          Objections




                                                                                          67 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 69 of 191 PageID #:53853
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                       Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Nov‐19 Claims               11/12/2019 NM        $       260.00        0.9 telephone conference with vendor document repository for claims (.9).                                   $         234.00
          Administration &
          Objections
   Nov‐19 Claims               11/18/2019 AW        $      140.00          1.3 Work with N. Mirjanich on responses to emails received from claimants in follow up to new deadline $             182.00
          Administration &                                                     set by the Court.
          Objections
   Nov‐19 Claims               11/18/2019 MR        $      390.00          0.2 Attention to issues regarding claims and document repository for upcoming hearing.                     $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          0.2 Correspond with A. Watychowicz regarding responses to claimant questions (.2)                          $           52.00
          Administration &
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          0.3 correspond with K. Duff and M. Rachlis regarding the claims status before Judge Lee and document       $           78.00
          Administration &                                                     repository (.3).
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          0.7 correspond with K. Duff, vendor, and IT consultant regarding creating a document repository for        $         182.00
          Administration &                                                     claims (.7)
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          1.2 and respond to the same (1.2)                                                                          $         312.00
          Administration &
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          1.5 study email correspondence from claimants and claims forms for the same following email to all         $         390.00
          Administration &                                                     with new claims bar and amendment date (1.5)
          Objections
   Nov‐19 Claims               11/18/2019 NM        $      260.00          2.2 study claims documents to determine number of claimants and amount claimed (2.2)                       $         572.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 AEP       $      390.00          0.4 Meeting with K. Duff, M. Rachlis, and N. Mirjanich regarding document repository issues (.4)           $         156.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 AEP       $      390.00          1.4 meeting with K. Duff, M. Rachlis, and N. Mirjanich regarding classification and presentation of fact   $         546.00
          Administration &                                                     patterns and claims issues to court (1.4).
          Objections
   Nov‐19 Claims               11/19/2019 MR        $      390.00          0.3 analysis of notes and preparation for upcoming hearing (.3).                                           $         117.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 MR        $      390.00          0.8 further conference with A. Porter and K. Duff (.8)                                                     $         312.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 MR        $      390.00          1.8 Analyze approaches to claims analysis and claims repository with K. Duff, A. Porter and N. Mirjanich   $         702.00
          Administration &                                                     (1.8)
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          0.1 and email to same regarding volume of data for claims submissions (.1)                                 $           26.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          0.2 Study responses from claimants (.2)                                                                    $           52.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          0.3 revise master spreadsheet of all claimants to obtain updated number and claimed amount (.3)            $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          0.4 telephone call with vendor regarding document repository (.4)                                          $         104.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          0.5 telephone conference with vendor regarding document repository (.5)                                    $         130.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00          1.4 prepare for in chambers discussion with Judge Lee (1.4)                                                $         364.00
          Administration &
          Objections
   Nov‐19 Claims               11/19/2019 NM        $      260.00            2 correspond with M. Rachlis, K. Duff, and A. Porter regarding claims process and in chambers            $         520.00
          Administration &                                                     discussion with Judge Lee regarding the same (2.0).
          Objections
   Nov‐19 Claims               11/20/2019 AW        $      140.00          0.2 Confer with N. Mirjanich regarding responses to emails from claimants and attention to claims          $           28.00
          Administration &                                                     submitted via email.
          Objections
   Nov‐19 Claims               11/20/2019 MR        $      390.00          0.6 participate in call with SEC (.6).                                                                     $         234.00
          Administration &
          Objections
   Nov‐19 Claims               11/20/2019 MR        $      390.00            1 conference regarding same with K. Duff and N. Mirjanich regarding same (1.0)                           $         390.00
          Administration &
          Objections
   Nov‐19 Claims               11/20/2019 MR        $      390.00            1 Further work and preparation for upcoming meetings on claims process (1.0)                             $         390.00
          Administration &
          Objections
   Nov‐19 Claims               11/20/2019 NM        $      260.00            1 correspond with M. Rachlis and K. Duff regarding the claims process and in chambers discussion         $         260.00
          Administration &                                                     with Judge Lee (1.0)
          Objections
   Nov‐19 Claims               11/20/2019 NM        $      260.00          3.2 Prepare for in chambers discussion with Judge Lee including by revising master spreadsheet of all $              832.00
          Administration &                                                     claimants to obtain updated number and claimed amount for the same and by tending to document
          Objections                                                           repository and other matters relating to claims and EB data (3.2)

   Nov‐19 Claims               11/21/2019 AW        $      140.00          0.4 Confer with N. Mirjanich regarding options to make data available for claimants' review and            $           56.00
          Administration &                                                     research regarding same.
          Objections
   Nov‐19 Claims               11/21/2019 MR        $      390.00          0.2 conference with N. Mirjanich and K. Duff regarding same (.2).                                          $           78.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 MR        $      390.00          1.2 Further preparation for (1.2)                                                                          $         468.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 MR        $      390.00          1.3 and attend hearing on claims process (1.3)                                                             $         507.00
          Administration &
          Objections




                                                                                           68 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 70 of 191 PageID #:53854
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Nov‐19 Claims               11/21/2019 NM        $       260.00        0.2 correspond with A. Watychowicz regarding the same (.2)                                              $           52.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 NM        $      260.00          0.2 correspond with M. Rachlis and K. Duff regarding the same prior to court and after court (.2).     $           52.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 NM        $      260.00          1.3 appear for in chambers discussion with Judge Lee regarding claims process (1.3)                    $         338.00
          Administration &
          Objections
   Nov‐19 Claims               11/21/2019 NM        $      260.00          1.8 Prepare for status hearing and determine amount claimed by lender and on only EBF properties       $         468.00
          Administration &                                                     (1.8)
          Objections
   Nov‐19 Claims               11/22/2019 AW        $      140.00          0.1 draft email response and confer with K. Duff's regarding claimant (.1)                             $           14.00
          Administration &
          Objections
   Nov‐19 Claims               11/22/2019 AW        $      140.00          0.2 assist N. Mirjanich with responses to claimants' emails (.2).                                      $           28.00
          Administration &
          Objections
   Nov‐19 Claims               11/22/2019 AW        $      140.00          0.2 Attention to received emails from claimants and responses (.2)                                     $           28.00
          Administration &
          Objections
   Nov‐19 Claims               11/22/2019 NM        $      260.00          0.9 Prepare memorandum following hearing on claims before Judge Lee.                                   $         234.00
          Administration &
          Objections
   Nov‐19 Claims               11/25/2019 NM        $      260.00          0.2 exchange email correspondence relating to document repository and options for the same following $             52.00
          Administration &                                                     status hearing before Judge Lee (.2).
          Objections
   Nov‐19 Claims               11/27/2019 MR        $      390.00          0.3 Follow up on issues raised by lender and attention to other issues.                                $         117.00
          Administration &
          Objections
   Dec‐19 Claims                12/2/2019 KBD       $      390.00          0.1 Attention to correspondence from claimant (.1)                                                     $           39.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 KBD       $      390.00          0.1 study correspondence from claimant regarding claim (.1)                                            $           39.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 KBD       $      390.00          0.2 Review document repository research and options with N. Mirjanich (.2)                             $           78.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 KBD       $      390.00          0.2 study correspondence from claimant regarding claim (.2).                                           $           78.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 KBD       $      390.00          0.2 Telephone conference with N. Mirjanich regarding investor communication with respect to claim      $           78.00
          Administration &                                                     and claims reporting to court (.2)
          Objections
   Dec‐19 Claims                12/5/2019 KBD       $      390.00          0.2 work on communication to claimants' inquiries regarding claims process, potential recovery, and    $           78.00
          Administration &                                                     timing (.2)
          Objections
   Dec‐19 Claims                12/6/2019 KBD       $      390.00          0.1 review correspondence from claimant regarding inquiries as to claims (.1).                         $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/10/2019 KBD       $      390.00          0.1 Attention to communication from claimant regarding submitted claim.                                $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/11/2019 KBD       $      390.00          0.1 exchange correspondence with N. Mirjanich regarding update for claimants regarding status of       $           39.00
          Administration &                                                     claims process (.1).
          Objections
   Dec‐19 Claims               12/12/2019 KBD       $      390.00          0.1 review draft communication to claimants regarding claims process status and timing (.1).           $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/12/2019 KBD       $      390.00          0.3 Work on claims review logistics relating to claims vendor and claims with N. Mirjanich (.3)        $         117.00
          Administration &
          Objections
   Dec‐19 Claims               12/16/2019 KBD       $      390.00          0.1 Exchange correspondence regarding claimant request for information relating fund properties (.1)   $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/16/2019 KBD       $      390.00          0.1 study additional related information (.1).                                                         $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/17/2019 KBD       $      390.00          0.1 Exchange correspondence with accounting firm representative regarding claimant request as to IRA   $           39.00
          Administration &                                                     (.1)
          Objections
   Dec‐19 Claims               12/18/2019 KBD       $      390.00          0.1 exchange correspondence with N. Mirjanich regarding claims notice to potential claimant (.1).      $           39.00
          Administration &
          Objections
   Dec‐19 Claims               12/19/2019 KBD       $      390.00          0.2 Exchange correspondence with vendor representative regarding potential document repository         $           78.00
          Administration &                                                     services and exchange correspondence with N. Mirjanich regarding same.
          Objections
   Dec‐19 Claims               12/20/2019 KBD       $      390.00          0.2 Draft correspondence to claimants regarding status and timing of claims process (.2)               $           78.00
          Administration &
          Objections
   Dec‐19 Claims               12/30/2019 KBD       $      390.00          0.1 Attention to communication from claimant about submission of claim and draft correspondence to     $           39.00
          Administration &                                                     N. Mirjanich regarding same.
          Objections
   Dec‐19 Claims               12/31/2019 KBD       $      390.00          0.1 Attention to communication from claimant regarding claim and exchange correspondence with N.       $           39.00
          Administration &                                                     Mirjanich regarding same (.1)
          Objections
   Dec‐19 Claims               12/31/2019 KBD       $      390.00          0.2 study proposal from potential service provider for document repository (.2).                       $           78.00
          Administration &
          Objections
   Dec‐19 Asset Disposition     12/9/2019 MR        $      390.00          0.2 preparation for upcoming hearing (.2)                                                              $           78.00

   Dec‐19 Business             12/10/2019 AW        $      140.00          1.3 finalize letters (1.3).                                                                            $         182.00
          Operations




                                                                                           69 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 71 of 191 PageID #:53855
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                  Task Cost
Month                                      Keeper        Rate
   Dec‐19 Claims                12/2/2019 AW        $       140.00        0.1 Attention to email regarding submission from claimant and confirm same with K. Duff.                   $           14.00
          Administration &
          Objections
   Dec‐19 Claims                12/2/2019 NM        $      260.00            1 Study and respond to various claimants' inquiries.                                                    $         260.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 AW        $      140.00           0.1 Attention to voicemail from claimant regarding update, confer with N. Mirjanich regarding possible   $           14.00
          Administration &                                                      relation to another claimant, and email address update.
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.2 Correspond with A. Watychowicz regarding claimant emails and voicemails (.2)                         $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.2 prepare for telephone calls with vendors regarding claims services and document repository (.2)      $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.2 send email corresponding to vendor following the same (.2).                                          $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.2 summarize notes from the same (.2)                                                                   $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.4 and summarize notes from the same (.4)                                                               $         104.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           0.6 telephone conference with vendor regarding the same (.6)                                             $         156.00
          Administration &
          Objections
   Dec‐19 Claims                12/3/2019 NM        $      260.00           1.1 telephone conference with vendor regarding the same (1.1)                                            $         286.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 AW        $      140.00           0.2 Attention to email from claimant, review his claim, and after consulting with K. Duff respond to     $           28.00
          Administration &                                                      same.
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.3 Correspond with A. Watychowicz regarding claimant emails and responses (.3)                          $           78.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.4 correspond with K. Duff regarding the same (.4)                                                      $         104.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.5 study notes from last status conference regarding claims and prepare for telephone calls with        $         130.00
          Administration &                                                      vendors regarding the same and additional tasks to accomplish (.5)
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.5 telephone call with potential vendor regarding claims repository and e‐discovery (.5)                $         130.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.6 summarize notes from the same and revise claims task list (.6).                                      $         156.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.6 telephone call with another potential vendor regarding claims repository and e‐discovery (.6)        $         156.00
          Administration &
          Objections
   Dec‐19 Claims                12/4/2019 NM        $      260.00           0.7 study claimant emails and respond to the same (.7)                                                   $         182.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 AW        $      140.00           0.1 attention to claimant's emails and respond to same (.1).                                             $           14.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 AW        $      140.00           0.2 Prepare draft email to claimants requesting additional information regarding claims process, timing, $           28.00
          Administration &                                                      and potential return of investments and email K. Duff and N. Mirjanich regarding same (.2)
          Objections
   Dec‐19 Claims                12/5/2019 NM        $      260.00           0.1 and exchange correspondence with K. Duff regarding the same (.1)                                     $           26.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 NM        $      260.00           0.2 Correspond with K. Duff regarding claimant correspondence (.2)                                       $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 NM        $      260.00           0.2 draft response to claimant (.2)                                                                      $           52.00
          Administration &
          Objections
   Dec‐19 Claims                12/5/2019 NM        $      260.00           0.6 call with potential vendor regarding claims repository and e‐discovery (.6).                         $         156.00
          Administration &
          Objections
   Dec‐19 Claims                12/6/2019 AW        $      140.00           0.1 Attention to email from A. Porter requesting contact information for two claimants and respond to    $           14.00
          Administration &                                                      same.
          Objections
   Dec‐19 Claims                12/6/2019 NM        $      260.00           0.4 Exchange correspondence with potential vendors and summarize notes from telephone call from          $         104.00
          Administration &                                                      potential vendor (.4)
          Objections
   Dec‐19 Claims                12/6/2019 NM        $      260.00           0.6 correspond with A. Porter regarding claimant contact information and claim submissions and           $         156.00
          Administration &                                                      respond to claimant questions (.6).
          Objections
   Dec‐19 Claims                12/9/2019 AW        $      140.00           0.1 confer with K. Duff regarding multiple emails from claimant and how to respond (.1).                 $           14.00
          Administration &
          Objections
   Dec‐19 Claims               12/10/2019 AW        $      140.00           0.4 Work with N. Mirjanich on various responses to claimants.                                            $           56.00
          Administration &
          Objections
   Dec‐19 Claims               12/10/2019 NM        $      260.00           0.1 correspond with K. Pritchard regarding the same and features in portal (.1).                         $           26.00
          Administration &
          Objections
   Dec‐19 Claims               12/10/2019 NM        $      260.00           0.2 email correspondence following call with related information (.2)                                    $           52.00
          Administration &
          Objections




                                                                                           70 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 72 of 191 PageID #:53856
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                         Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Dec‐19 Claims                12/10/2019 NM        $       260.00        0.4 Correspond with potential vendors regarding claims data services and document repository for             $         104.00
           Administration &                                                    claims (.4)
           Objections
   Dec‐19 Claims                12/10/2019 NM        $      260.00           0.5 telephone call with vendor regarding the same (.5)                                                     $         130.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 AW        $      140.00           0.2 Attention to voicemail from claimant, review claim, and respond to email.                              $           28.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 NM        $      260.00           0.1 correspond with A. Watychowicz and K. Duff regarding the same (.1).                                    $           26.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 NM        $      260.00           0.1 correspond with K. Duff regarding updating responses to frequently asked questions (.1)                $           26.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 NM        $      260.00           0.2 Correspond with A. Watychowicz regarding claimant responses (.2)                                       $           52.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 NM        $      260.00           0.6 study and respond to claimants regarding questions about claims submissions (.6)                       $         156.00
           Administration &
           Objections
   Dec‐19 Claims                12/11/2019 NM        $      260.00           0.6 telephone call with vendor regarding claims portal and setting up claimant library on property basis   $         156.00
           Administration &                                                      (.6)
           Objections
   Dec‐19 Claims                12/12/2019 AW        $      140.00           0.1 Communicate with N. Mirjanich and K. Duff regarding updated response to question regarding             $           14.00
           Administration &                                                      claims process timing.
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.1 Study and respond to claimant correspondence (.1)                                                      $           26.00
           Administration &
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.2 confer with K. Duff regarding claims process (.2)                                                      $           52.00
           Administration &
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.2 confer with K. Duff regarding same (.2)                                                                $           52.00
           Administration &
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.3 telephone conference with potential vendor regarding claims database (.3)                              $           78.00
           Administration &
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.4 summarize notes from the same and revise claims process checklist and plan of action to account for $            104.00
           Administration &                                                      same (.4).
           Objections
   Dec‐19 Claims                12/12/2019 NM        $      260.00           0.4 telephone conference with another potential vendor regarding claims database (.4)                      $         104.00
           Administration &
           Objections
   Dec‐19 Claims                12/16/2019 AW        $      140.00           0.1 Attention to email from claimant regarding investment, communicate with K. Duff regarding his call     $           14.00
           Administration &                                                      with claimant, respond to email.
           Objections
   Dec‐19 Claims                12/18/2019 NM        $      260.00           0.3 Study and respond to claimant questions.                                                               $           78.00
           Administration &
           Objections
   Dec‐19 Claims                12/19/2019 NM        $      260.00           0.1 ; confer with M. Rachlis regarding same (.1).                                                          $           26.00
           Administration &
           Objections
   Dec‐19 Claims                12/19/2019 NM        $      260.00           0.5 Telephone conference with potential vendor regarding claims database (.5)                              $         130.00
           Administration &
           Objections
   Dec‐19 Claims                12/27/2019 AW        $      140.00           1.4 Attention to submissions and questions from review claims, and work with N. Mirjanich on               $         196.00
           Administration &                                                      responses to claimants' emails.
           Objections
   Dec‐19 Claims                12/27/2019 NM        $      260.00           0.6 Correspond with A. Watychowicz regarding claimant responses.                                           $         156.00
           Administration &
           Objections
   Dec‐19 Claims                12/30/2019 NM        $      260.00           0.4 Respond to claimants regarding claims submissions and questions.                                       $         104.00
           Administration &
           Objections
   Dec‐19 Claims                12/31/2019 NM        $      260.00           0.3 Study and respond to claimants.                                                                        $           78.00
           Administration &
           Objections
   Dec‐19 Claims                12/31/2019 SZ        $      110.00           0.8 Review and organize claims submissions received.                                                       $           88.00
           Administration &
           Objections
    Jan‐20 Claims                 1/6/2020 KBD       $      390.00           0.2 Attention to communications from claimants and response to same.                                       $           78.00
           Administration &
           Objections
    Jan‐20 Claims                 1/8/2020 KBD       $      390.00           0.1 attention to communication from claimant regarding investors and timing (.1).                          $           39.00
           Administration &
           Objections
    Jan‐20 Claims                 1/8/2020 KBD       $      390.00           0.1 exchange correspondence with investor counsel regarding status of property sale (.1)                   $           39.00
           Administration &
           Objections
    Jan‐20 Claims                 1/8/2020 KBD       $      390.00           0.2 Confer with N. Mirjanich regarding document repository quotes and options (.2)                         $           78.00
           Administration &
           Objections
    Jan‐20 Claims                1/10/2020 KBD       $      390.00            1 Work on claims planning, logistics, timing and related issues with M. Rachlis and N. Mirjanich.         $         390.00
           Administration &
           Objections
    Jan‐20 Claims                1/13/2020 KBD       $      390.00           0.5 confer with and study correspondence from M. Rachlis and N. Mirjanich regarding same (.5)              $         195.00
           Administration &
           Objections
    Jan‐20 Claims                1/13/2020 KBD       $      390.00           0.5 legal research regarding issue relating to claim (.5).                                                 $         195.00
           Administration &
           Objections




                                                                                            71 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 73 of 191 PageID #:53857
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                           Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jan‐20 Claims                1/13/2020 KBD        $       390.00          1 Telephone conference with A. Porter, E. Duff, and N. Mirjanich regarding analysis of information            $         390.00
           Administration &                                                     relating to nature of claims and corresponding properties (1.0)
           Objections
    Jan‐20 Claims                1/14/2020 KBD        $       390.00          0.4 additional discussions with A. Porter regarding same (.4)                                                 $         156.00
           Administration &
           Objections
    Jan‐20 Claims                1/14/2020 KBD        $       390.00          0.8 Work on issues relating to claims, security interests in properties, and various related issues with A.   $         312.00
           Administration &                                                       Porter, E. Duff, and N. Mirjanich (.8)
           Objections
    Jan‐20 Claims                1/15/2020 KBD        $       390.00          0.1 Confer with A. Watychowicz regarding and study and revise draft correspondence to claimant                $           39.00
           Administration &                                                       regarding potential amendment to claim (.1)
           Objections
    Jan‐20 Claims                1/16/2020 KBD        $       390.00          0.2 Confer with N. Mirjanich regarding claims review and preparation of report to court (.2)                  $           78.00
           Administration &
           Objections
    Jan‐20 Claims                1/21/2020 KBD        $       390.00          0.2 study revised list of claimants and receivership entities (.2).                                           $           78.00
           Administration &
           Objections
    Jan‐20 Claims                1/23/2020 KBD        $       390.00          0.2 evaluate information from potential vendor regarding document repository services and confer with $                   78.00
           Administration &                                                       N. Mirjanich regarding same (.2)
           Objections
    Jan‐20 Claims                1/23/2020 KBD        $       390.00          0.3 Study correspondence from lenders counsel regarding claims process and meeting (.3)                       $         117.00
           Administration &
           Objections
    Jan‐20 Claims                1/24/2020 KBD        $       390.00          0.2 study correspondence from lender's counsel regarding claims process and exchange correspondence $                     78.00
           Administration &                                                       with M. Rachlis regarding same (.2).
           Objections
    Jan‐20 Claims                1/24/2020 KBD        $       390.00          1.3 work on claims process with N. Mirjanich (1.3)                                                            $         507.00
           Administration &
           Objections
    Jan‐20 Claims                1/25/2020 KBD        $       390.00          1.5 Work on claims process, and further study correspondence from lenders counsel regarding claims            $         585.00
           Administration &                                                       process (1.5)
           Objections
    Jan‐20 Claims                1/26/2020 KBD        $       390.00          0.4 Study memorandum regarding claims process, development of procedures, document repository,                $         156.00
           Administration &                                                       sequence and timing, and various related issues (.4)
           Objections
    Jan‐20 Claims                1/26/2020 KBD        $       390.00          0.8 work on claims process (.8).                                                                              $         312.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          0.1 attention to communications from claimant regarding claim (.1)                                            $           39.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          0.1 review correspondence from claimant regarding claim as to various properties (.1).                        $           39.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          0.3 confer with N. Mirjanich regarding stages of process (.3)                                                 $         117.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          0.6 Work on claims process (.6)                                                                               $         234.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          0.7 further work with M. Rachlis and N. Mirjanich regarding design of process (.7)                            $         273.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 KBD        $       390.00          2.8 work further on claims process with M. Rachlis regarding various additional aspects of claims             $        1,092.00
           Administration &                                                       process (2.8)
           Objections
    Jan‐20 Claims                1/28/2020 KBD        $       390.00          0.1 review correspondence regarding potential document repository vendor costs (.1).                          $           39.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 KBD        $       390.00          0.2 confer with M. Rachlis and N. Mirjanich regarding same (.2)                                               $           78.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 KBD        $       390.00          1.2 further work on claims process with M. Rachlis and N. Mirjanich (1.2)                                     $         468.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 KBD        $       390.00          1.2 Telephone conference with SEC and M. Rachlis (1.2)                                                        $         468.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 KBD        $       390.00          1.9 participate in conference with various lenders' counsel and SEC (1.9)                                     $         741.00
           Administration &
           Objections
    Jan‐20 Claims                1/29/2020 KBD        $       390.00          0.1 exchange correspondence with lender's counsel regarding potential document repository vendor              $           39.00
           Administration &                                                       and follow‐up regarding same (.1)
           Objections
    Jan‐20 Claims                1/29/2020 KBD        $       390.00          0.1 review correspondence regarding potential claimant (.1).                                                  $           39.00
           Administration &
           Objections
    Jan‐20 Claims                1/29/2020 KBD        $       390.00          0.2 study correspondence from claimant and draft correspondence to A. Porter regarding same (.2)              $           78.00
           Administration &
           Objections
    Jan‐20 Claims                1/29/2020 KBD        $       390.00          2.6 Work on claims process (2.6)                                                                              $        1,014.00
           Administration &
           Objections
    Jan‐20 Claims                1/29/2020 KBD        $       390.00          3.1 study and revise draft report on claims and work on same with M. Rachlis (3.1)                            $        1,209.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 KBD        $       390.00          0.1 confer with lenders' counsel regarding same (.1)                                                          $           39.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 KBD        $       390.00          0.4 study draft vendor contract and draft correspondence regarding same (.4).                                 $         156.00
           Administration &
           Objections




                                                                                             72 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 74 of 191 PageID #:53858
                                              ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                          Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jan‐20 Claims                1/30/2020 KBD        $       390.00          1 participate in meeting with Judge Lee and various counsel regarding claims process (1.0)                   $         390.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 KBD        $       390.00          1.7 Prepare for claims process meeting with Judge Lee and draft outline for presentation of information $              663.00
           Administration &                                                       to participants (1.7)
           Objections
    Jan‐20 Asset Disposition      1/6/2020 JR         $       140.00          0.2 exchange correspondence with K. Duff and K. Pritchard regarding same (.2)                                $           28.00

   Jan‐20 Business               1/15/2020 AW         $       140.00          0.3 ; file applications to reinstate entities and inform property manager regarding same (.3).               $           42.00
          Operations
   Jan‐20 Claims                  1/2/2020 AW         $       140.00          0.5 Attention to amended claims received via email and communicate regarding processing of same              $           70.00
          Administration &                                                        with N. Mirjanich (.5)
          Objections
   Jan‐20 Claims                  1/2/2020 NM         $       260.00          0.3 Work with A. Watychowicz regarding responses to claimant correspondence.                                 $           78.00
          Administration &
          Objections
   Jan‐20 Claims                  1/2/2020 SZ         $       110.00            2 Review and organize claims and amendments received under 12‐31‐19 deadline.                              $         220.00
          Administration &
          Objections
   Jan‐20 Claims                  1/3/2020 AW         $       140.00          0.2 Attention to voicemails from claimant and respond to same.                                               $           28.00
          Administration &
          Objections
   Jan‐20 Claims                  1/3/2020 MR         $       390.00          0.3 Attention to emails on status and attention to issues that need addressing on properties and claims. $             117.00
          Administration &
          Objections
   Jan‐20 Claims                  1/3/2020 NM         $       260.00          0.5 Work with A. Watychowicz regarding responses to claimant correspondence.                                 $         130.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.1 correspond with K. Duff regarding the same (.1)                                                          $           26.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.1 review claim form and notes relating to same in advance of call (.1)                                     $           26.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.2 and review claim form and notes relating to same in advance of call (.2)                                 $           52.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.2 correspond with A. Watychowicz regarding responses to claimant communication (.2).                       $           52.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.3 telephone call with investor (.3)                                                                        $           78.00
          Administration &
          Objections
   Jan‐20 Claims                  1/6/2020 NM         $       260.00          0.3 Telephone call with investor [M. Thomas] (.3)                                                            $           78.00
          Administration &
          Objections
   Jan‐20 Claims                  1/8/2020 NM         $       260.00          0.1 Correspond with A. Watychowicz regarding claims (.1)                                                     $           26.00
          Administration &
          Objections
   Jan‐20 Claims                  1/8/2020 NM         $       260.00          0.1 correspond with E. Duff regarding claims (.1)                                                            $           26.00
          Administration &
          Objections
   Jan‐20 Claims                  1/8/2020 NM         $       260.00            1 tend to claims process matters in advance of January 30th status conference such as communicating $                260.00
          Administration &                                                        with vendors and revising notes for claims process following same and correspond with K. Duff
          Objections                                                              regarding same (1.0).
   Jan‐20 Claims                  1/9/2020 ED         $       390.00          1.8 Work with N. Mirjanich on process for reviewing and organizing claims content in preparation for   $               702.00
          Administration &                                                        priority analysis, outline of information to be recorded in initial document analysis timing, next
          Objections                                                              steps, and resources for project (1.8)
   Jan‐20 Claims                  1/9/2020 NM         $       260.00          0.2 exchange email correspondence relating to claims (.2)                                              $                 52.00
          Administration &
          Objections
   Jan‐20 Claims                  1/9/2020 NM         $       260.00          0.4 Prepare for meeting with E. Duff regarding claims process and study previous notes from same (.4)        $         104.00
          Administration &
          Objections
   Jan‐20 Claims                  1/9/2020 NM         $       260.00          1.8 work with E. Duff on claims process and first batch of properties for review of claims for same (1.8).   $         468.00
          Administration &
          Objections
   Jan‐20 Claims                  1/9/2020 SZ         $       110.00          4.3 Review and organize claims documentation received under 12‐31‐19 deadline.                               $         473.00
          Administration &
          Objections
   Jan‐20 Claims                 1/10/2020 MR         $       390.00            1 Conference with K. Duff and N. Mirjanich on claims.                                                      $         390.00
          Administration &
          Objections
   Jan‐20 Claims                 1/10/2020 NM         $       260.00            1 confer with K. Duff and M. Rachlis regarding claims process and selection of first batch of properties   $         260.00
          Administration &                                                        for review (1.0).
          Objections
   Jan‐20 Claims                 1/10/2020 NM         $       260.00          3.7 Revise spreadsheet with claimant information following December 31, 2019 bar date (3.7)                  $         962.00
          Administration &
          Objections
   Jan‐20 Claims                 1/13/2020 AW         $       140.00          0.2 reach out to claims vendor and request address updates for claimants and respond to follow up            $           28.00
          Administration &                                                        questions (.2)
          Objections
   Jan‐20 Claims                 1/13/2020 AW         $       140.00          0.2 work with N. Mirjanich to obtain complete set of documents that we received along with proof of          $           28.00
          Administration &                                                        claim form from institutional lender (.2).
          Objections
   Jan‐20 Claims                 1/13/2020 AW         $       140.00          0.8 Attention to emails from claimants regarding updates, claims, status, and timing, confer with N.         $         112.00
          Administration &                                                        Mirjanich regarding responses and respond by emails to claimants (.8)
          Objections
   Jan‐20 Claims                 1/13/2020 ED         $       390.00          0.2 Review correspondence from lender and related documents and correspondence from M. Rachlis               $           78.00
          Administration &                                                        and A. Porter (.2)
          Objections
   Jan‐20 Claims                 1/13/2020 NM         $       260.00          0.2 Correspond with A. Watychowicz regarding claimant responses (.2)                                         $           52.00
          Administration &
          Objections




                                                                                             73 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 75 of 191 PageID #:53859
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                           Task Description                                                Task Cost
Month                                       Keeper        Rate
    Jan‐20 Claims                1/14/2020 NM        $       260.00        0.5 correspond with K. Duff, M. Rachlis, and A. Porter regarding claims submitted and previous filings    $         130.00
           Administration &                                                    with court (.5).
           Objections
    Jan‐20 Claims                1/14/2020 NM        $       260.00          0.6 revise spreadsheet with claimant information following December 31, 2019 bar date (.6)              $         156.00
           Administration &
           Objections
    Jan‐20 Claims                1/14/2020 NM        $       260.00          1.5 Study bank records and claims (1.5)                                                                 $         390.00
           Administration &
           Objections
    Jan‐20 Claims                1/15/2020 AW        $       140.00          0.1 attention to voicemail from claimant and communicate with K. Duff regarding email response (.1).    $           14.00
           Administration &
           Objections
    Jan‐20 Claims                1/15/2020 AW        $       140.00          0.1 communicate with claim vendor regarding update to contact information for claimant (.1)             $           14.00
           Administration &
           Objections
    Jan‐20 Claims                1/15/2020 NM        $       260.00          0.7 Correspond with A. Watychowicz regarding claimant responses (.7)                                    $         182.00
           Administration &
           Objections
    Jan‐20 Claims                1/15/2020 NM        $       260.00            2 revise spreadsheet with claimant information following December 31, 2019 bar date (2.0).            $         520.00
           Administration &
           Objections
    Jan‐20 Claims                1/16/2020 NM        $       260.00          1.5 Revise spreadsheet with claimant information following December 31, 2019 bar date (1.5)             $         390.00
           Administration &
           Objections
    Jan‐20 Claims                1/20/2020 AW        $       140.00          0.1 Work with N. Mirjanich to access and analyze claim.                                                 $           14.00
           Administration &
           Objections
    Jan‐20 Claims                1/20/2020 NM        $       260.00          0.4 Correspond with A. Watychowicz regarding responses to claimants (.4)                                $         104.00
           Administration &
           Objections
    Jan‐20 Claims                1/20/2020 NM        $       260.00          3.1 revise third status report Exhibit 1 to reflect recent claim submissions and amendments and analyze $         806.00
           Administration &                                                      same and properties in order to determine batches of properties for claims review (3.1).
           Objections
    Jan‐20 Claims                1/21/2020 AEP       $       390.00          0.5 Conference with N. Mirjanich regarding selection of properties encumbered by competing secured      $         195.00
           Administration &                                                      mortgages for presentation to court in preview of claims process.
           Objections
    Jan‐20 Claims                1/21/2020 NM        $       260.00          0.2 K. Duff (.2) regarding same                                                                         $           52.00
           Administration &
           Objections
    Jan‐20 Claims                1/21/2020 NM        $       260.00          0.4 and correspond with A. Porter (.4)                                                                  $         104.00
           Administration &
           Objections
    Jan‐20 Claims                1/21/2020 NM        $       260.00          0.6 exchange correspond with vendors and professionals regarding depository for claims and database     $         156.00
           Administration &                                                      review platform (.6).
           Objections
    Jan‐20 Claims                1/21/2020 NM        $       260.00          2.8 Revise third status report Exhibit 1 to reflect recent claim submissions and amendments and analyze $         728.00
           Administration &                                                      same and properties in order to determine batches of properties for claims review (2.8)
           Objections
    Jan‐20 Claims                1/22/2020 NM        $       260.00          0.5 Exchange correspondence with claims vendors regarding document repository and create                $         130.00
           Administration &                                                      spreadsheet for one vendor's analysis for same.
           Objections
    Jan‐20 Claims                1/23/2020 MR        $       390.00          0.3 ; follow up regarding same with K. Duff (.3).                                                       $         117.00
           Administration &
           Objections
    Jan‐20 Claims                1/23/2020 MR        $       390.00          0.7 Attention to letter on claims and related issues (.7)                                               $         273.00
           Administration &
           Objections
    Jan‐20 Claims                1/23/2020 NM        $       260.00          0.2 correspond with A. Watychowicz regarding responses to claimants (.2).                               $           52.00
           Administration &
           Objections
    Jan‐20 Claims                1/23/2020 NM        $       260.00          0.2 correspond with K. Duff regarding same (.2)                                                         $           52.00
           Administration &
           Objections
    Jan‐20 Claims                1/23/2020 NM        $       260.00          0.4 Correspond with vendor regarding document repository and database for EB document review (.4)       $         104.00
           Administration &
           Objections
    Jan‐20 Claims                1/24/2020 MR        $       390.00          0.3 conferences with K. Duff regarding same (.3).                                                       $         117.00
           Administration &
           Objections
    Jan‐20 Claims                1/24/2020 MR        $       390.00          1.1 Attention to letter from lenders and begin evaluation of same (1.1)                                 $         429.00
           Administration &
           Objections
    Jan‐20 Claims                1/24/2020 NM        $       260.00          3.3 Study claims notes and outline process for review of same, including document repository.           $         858.00
           Administration &
           Objections
    Jan‐20 Claims                1/25/2020 MR        $       390.00          0.9 Conference with K. Duff regarding various issues associated with claims process and upcoming        $         351.00
           Administration &                                                      meeting with lenders.
           Objections
    Jan‐20 Claims                1/26/2020 NM        $       260.00          2.1 Study claims notes and outline process for review of same, including document repository, and       $         546.00
           Administration &                                                      research regarding same.
           Objections
    Jan‐20 Claims                1/27/2020 MR        $       390.00          1.2 research and work to prepare for upcoming meeting with lenders (1.2).                               $         468.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 MR        $       390.00          2.8 Meeting with K. Duff on variety of issues and strategies for claims process and upcoming meetings   $        1,092.00
           Administration &                                                      (2.8)
           Objections
    Jan‐20 Claims                1/27/2020 NM        $       260.00          0.2 follow‐up email correspondence from same and summarize same into notes for M. Rachlis and K.        $           52.00
           Administration &                                                      Duff (.2).
           Objections
    Jan‐20 Claims                1/27/2020 NM        $       260.00          0.3 Correspond with K. Duff regarding proposed claims process (.3)                                      $           78.00
           Administration &
           Objections




                                                                                            74 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 76 of 191 PageID #:53860
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
    Jan‐20 Claims                1/27/2020 NM        $       260.00        0.3 telephone conference with vendor regarding claims organization and document repository (.3)           $            78.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 NM        $      260.00          0.6 correspond with M. Rachlis regarding proposed claims process (.6)                                    $          156.00
           Administration &
           Objections
    Jan‐20 Claims                1/27/2020 NM        $      260.00          0.7 correspond with K. Duff and M. Rachlis regarding proposed claims process (.7)                        $          182.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 AW        $      140.00          0.2 Attention to email from claimant, review and supplement her claim, and respond to same.              $            28.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 MR        $      390.00          0.5 conferences regarding same (.5)                                                                      $          195.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 MR        $      390.00            2 attend meeting with lenders and follow up with K. Duff and N. Mirjanich (2.0).                       $          780.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 MR        $      390.00          2.5 Continue research and prepare for upcoming meeting and hearing (2.5)                                 $          975.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 NM        $      260.00          0.2 Study proposal from vendor relating to transmittal of claimant documents (.2)                        $            52.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 NM        $      260.00          0.3 summarize status of document repository and conversations with vendors for same for status           $            78.00
           Administration &                                                     conference with Judge Lee (.3)
           Objections
    Jan‐20 Claims                1/28/2020 NM        $      260.00          0.5 and telephone conference with same (.5)                                                              $          130.00
           Administration &
           Objections
    Jan‐20 Claims                1/28/2020 NM        $      260.00          1.2 correspond with M. Rachlis and K. Duff regarding claims process and prepare for meeting with         $          312.00
           Administration &                                                     institutional lenders regarding same (1.2)
           Objections
    Jan‐20 Claims                1/28/2020 NM        $      260.00            2 confer with K. Duff, M. Rachlis, SEC, and institutional lender team regarding proposed claims process $         520.00
           Administration &                                                     in advance of status conference with Judge Lee (2.0).
           Objections
    Jan‐20 Claims                1/29/2020 MR        $      390.00          0.3 conferences with K. Duff regarding same and upcoming hearing (.3).                                   $          117.00
           Administration &
           Objections
    Jan‐20 Claims                1/29/2020 MR        $      390.00            5 Prepare draft summary report and research regarding same attempting to address concerns from         $         1,950.00
           Administration &                                                     meeting and other related issues, review comments from K. Duff and materials for upcoming
           Objections                                                           conference (5.0)
    Jan‐20 Claims                1/30/2020 MR        $      390.00          0.2 follow up and review materials regarding claims and issues that need to be addressed (.2).           $            78.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 MR        $      390.00          0.3 conferences with K. Duff regarding same (.3)                                                         $          117.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 MR        $      390.00            1 attend hearing (1.0)                                                                                 $          390.00
           Administration &
           Objections
    Jan‐20 Claims                1/30/2020 MR        $      390.00          1.2 Prepare for upcoming hearing (1.2)                                                                   $          468.00
           Administration &
           Objections
    Jan‐20 Claims                1/31/2020 AW        $      140.00          0.2 Attention to email regarding supporting documentation and confer with K. Duff regarding pre claims $              28.00
           Administration &                                                     process emails and files.
           Objections
    Jan‐20 Claims                1/31/2020 MR        $      390.00          0.2 Follow up on issues raised at hearing.                                                               $            78.00
           Administration &
           Objections
   Feb‐20 Business                2/4/2020 KBD       $      390.00          0.2 telephone conference with bank representative regarding same (.2)                                    $            78.00
           Operations
   Feb‐20 Claims                  2/3/2020 KBD       $      390.00          0.3 Confer with N. Mirjanich regarding claims process, procedure, discovery, timing, planning, and       $          117.00
           Administration &                                                     preparation of motion to approve.
           Objections
   Feb‐20 Claims                  2/4/2020 KBD       $      390.00          0.4 analyze secured claim issues relating to properties and issues with transactional documents (.4).    $          156.00
           Administration &
           Objections
   Feb‐20 Claims                  2/6/2020 KBD       $      390.00          0.2 Work on electronic document repository issues with N. Mirjanich.                                     $            78.00
           Administration &
           Objections
   Feb‐20 Claims                  2/7/2020 KBD       $      390.00          0.2 study correspondence from A. Watychowicz and N. Mirjanich regarding data for claims vendor (.2).     $            78.00
           Administration &
           Objections
   Feb‐20 Claims                 2/12/2020 KBD       $      390.00          0.1 confer with N. Mirjanich regarding same (.1)                                                         $            39.00
           Administration &
           Objections
   Feb‐20 Claims                 2/12/2020 KBD       $      390.00          0.5 Analysis, legal research, and draft motion regarding claims process (.5)                             $          195.00
           Administration &
           Objections
   Feb‐20 Claims                 2/17/2020 KBD       $      390.00          0.3 Confer with M. Rachlis regarding claims process motion contents.                                     $          117.00
           Administration &
           Objections
   Feb‐20 Claims                 2/18/2020 KBD       $      390.00          0.2 confer with A. Watychowicz and N. Mirjanich regarding notice issues (.2)                             $            78.00
           Administration &
           Objections
   Feb‐20 Claims                 2/18/2020 KBD       $      390.00          1.8 Draft and revise claims process motion (1.8)                                                         $          702.00
           Administration &
           Objections
   Feb‐20 Claims                 2/19/2020 KBD       $      390.00          0.1 confer with N. Mirjanich regarding claims relating to properties subject of claims motion (.1)       $            39.00
           Administration &
           Objections
   Feb‐20 Claims                 2/19/2020 KBD       $      390.00          0.1 study correspondence from N. Mirjanich regarding claims vendor issue (.1).                           $            39.00
           Administration &
           Objections




                                                                                           75 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 77 of 191 PageID #:53861
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                               Task Cost
Month                                       Keeper        Rate
   Feb‐20 Claims                2/19/2020 KBD        $       390.00        0.8 legal research regarding claims process (.8)                                                         $          312.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 KBD        $       390.00            1 telephone conference with document repository vendor regarding document database and costs         $          390.00
          Administration &                                                       (1.0)
          Objections
   Feb‐20 Claims                2/19/2020 KBD        $       390.00          2.3 Study and revise draft claims process motion and confer with M. Rachlis regarding same (2.3)       $          897.00
          Administration &
          Objections
   Feb‐20 Claims                2/20/2020 KBD        $       390.00          0.5 Confer with A. Porter regarding claims process motion.                                             $          195.00
          Administration &
          Objections
   Feb‐20 Claims                2/23/2020 KBD        $       390.00          3.1 Draft and revise motion to approve dispute claims resolution process.                              $         1,209.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 KBD        $       390.00          0.1 study claimant response to lender objections (.1)                                                  $            39.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 KBD        $       390.00          0.2 confer with and study correspondence from A. Watychowicz regarding claimant information (.2).      $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 KBD        $       390.00          0.3 confer with M. Rachlis and N. Mirjanich regarding claims process motion (.3)                       $          117.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 KBD        $       390.00          1.5 Confer with M. Rachlis regarding sequence for properties in claims process and communications      $          585.00
          Administration &                                                       with lender's counsel (1.5)
          Objections
   Feb‐20 Claims                2/25/2020 KBD        $       390.00          0.1 discuss vendor efforts to prepare claims forms and documentation for participants with N. Mirjanich $           39.00
          Administration &                                                       (.1)
          Objections
   Feb‐20 Claims                2/25/2020 KBD        $       390.00          0.5 confer with M. Rachlis regarding claims process and document sharing (.5)                          $          195.00
          Administration &
          Objections
   Feb‐20 Claims                2/25/2020 KBD        $       390.00          0.7 Confer with and draft correspondence to M. Rachlis regarding approach to claims process and        $          273.00
          Administration &                                                       motion (.7)
          Objections
   Feb‐20 Claims                2/25/2020 KBD        $       390.00          0.8 revise protective order for claims and exchange correspondence with M. Rachlis regarding same (.8) $          312.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 KBD        $       390.00          0.3 exchange correspondence with M. Rachlis regarding communications with lenders' counsel             $          117.00
          Administration &                                                       regarding claims process (.3)
          Objections
   Feb‐20 Claims                2/26/2020 KBD        $       390.00          0.3 Telephone conference with claimant regarding claims process, sale of properties, and various       $          117.00
          Administration &                                                       related issues (.3)
          Objections
   Feb‐20 Claims                2/26/2020 KBD        $       390.00          0.4 exchange correspondence and confer with M. Rachlis and study related correspondence regarding      $          156.00
          Administration &                                                       same (.4)
          Objections
   Feb‐20 Claims                2/26/2020 KBD        $       390.00          5.8 study and revise draft motion to approve process for secured claims dispute resolution (5.8)       $         2,262.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 KBD        $       390.00          0.1 study correspondence from lenders regarding claims process motion and exchange correspondence      $            39.00
          Administration &                                                       with M. Rachlis regarding same (.1).
          Objections
   Feb‐20 Claims                2/27/2020 KBD        $       390.00          0.2 exchange correspondence with A. Porter regarding claims and releases (.2)                          $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 KBD        $       390.00          0.3 confer with M. Rachlis and N. Mirjanich regarding same (.3)                                        $          117.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 KBD        $       390.00          0.5 study and revise draft protective order and confer with J. Wine regarding same (.5)                $          195.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 KBD        $       390.00          0.5 Study and revise multiple versions of claims dispute process motion (.5)                           $          195.00
          Administration &
          Objections
   Feb‐20 Claims                2/28/2020 KBD        $       390.00          3.1 Study and revise claims process motion and confer with M. Rachlis and N. Mirjanich relating to same $        1,209.00
          Administration &                                                       (3.1)
          Objections
   Feb‐20 Claims                2/29/2020 KBD        $       390.00          0.2 Exchange correspondence regarding claims process motion, identification of claimants, and master   $            78.00
          Administration &                                                       claims spreadsheet.
          Objections
   Feb‐20 Asset Disposition     2/17/2020 JR         $      140.00           0.2 exchange correspondence with A. Watychowicz regarding closing spreadsheet (.2)                     $            28.00

   Feb‐20 Asset Disposition     2/24/2020 AW         $      140.00           0.1 Attention to email from potential property buyer and respond to same (.1)                          $            14.00

   Feb‐20 Asset Disposition     2/25/2020 JR         $      140.00           0.1 exchange correspondence with K. Duff regarding same (.1)                                           $            14.00

   Feb‐20 Asset Disposition     2/25/2020 MR         $      390.00           0.5 Conferences regarding motion on process and access to materials with K. Duff.                      $          195.00

   Feb‐20 Asset Disposition     2/26/2020 AEP        $      390.00           0.6 teleconference with N. Mirjanich regarding factual background to chains of title for selected      $          234.00
                                                                                 receivership properties (.6)
   Feb‐20 Business               2/4/2020 AW         $       140.00          0.1 communicate with property manager regarding same (.1).                                             $            14.00
          Operations
   Feb‐20 Claims                 2/3/2020 MR         $      390.00           0.3 conferences regarding same with N. Mirjanich (.3).                                                 $          117.00
          Administration &
          Objections
   Feb‐20 Claims                 2/3/2020 MR         $      390.00           0.3 Review and prepare materials regarding claims issues (.3)                                          $          117.00
          Administration &
          Objections
   Feb‐20 Claims                 2/3/2020 NM         $       260.00          0.3 correspond with M. Rachlis regarding in chambers claims discussion and process (.3).               $            78.00
          Administration &
          Objections




                                                                                           76 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 78 of 191 PageID #:53862
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Feb‐20 Claims                 2/3/2020 NM        $       260.00        0.5 Study and respond to correspondence relating to claims process and status conference on same (.5)       $         130.00
          Administration &
          Objections
   Feb‐20 Claims                 2/4/2020 AW        $      140.00           0.6 Attention to emails from claimants regarding their claims and work with N. Mirjanich to respond to    $           84.00
          Administration &                                                      same.
          Objections
   Feb‐20 Claims                 2/4/2020 NM        $      260.00           0.4 study email correspondence from claimants and correspond with A. Watychowicz regarding                $         104.00
          Administration &                                                      responses to same (.4).
          Objections
   Feb‐20 Claims                 2/4/2020 NM        $      260.00           2.5 Study notes from claims status conference from K. Duff and M. Rachlis and revise claims to‐do list    $         650.00
          Administration &                                                      and process notes to reflect same and next steps in claims process (2.5)
          Objections
   Feb‐20 Claims                 2/6/2020 AW        $      140.00           0.6 Attention to and respond to emails from claimants.                                                    $           84.00
          Administration &
          Objections
   Feb‐20 Claims                 2/6/2020 NM        $      260.00           0.2 correspond with A. Watychowicz regarding claims process and vendor (.2).                              $           52.00
          Administration &
          Objections
   Feb‐20 Claims                 2/6/2020 NM        $      260.00           0.7 Study email correspondence from claimants and correspond with A. Watychowicz regarding                $         182.00
          Administration &                                                      responses to same (.7)
          Objections
   Feb‐20 Claims                 2/7/2020 MR        $      390.00           0.3 Attention to issues regarding claims process and relations to various properties.                     $         117.00
          Administration &
          Objections
   Feb‐20 Claims                 2/7/2020 NM        $      260.00           0.5 telephone call with potential vendor (.5).                                                            $         130.00
          Administration &
          Objections
   Feb‐20 Claims                 2/7/2020 NM        $      260.00            2 Revise claims process notes (2.0)                                                                      $         520.00
          Administration &
          Objections
   Feb‐20 Claims                2/10/2020 NM        $      260.00           0.5 correspond with K. Duff regarding same (.5).                                                          $         130.00
          Administration &
          Objections
   Feb‐20 Claims                2/10/2020 NM        $      260.00           0.5 telephone call with institutional lenders regarding document repository for claims (.5)               $         130.00
          Administration &
          Objections
   Feb‐20 Claims                2/10/2020 NM        $      260.00           0.8 Revise claims process notes (.8)                                                                      $         208.00
          Administration &
          Objections
   Feb‐20 Claims                2/12/2020 AW        $      140.00           0.1 attention to voicemail from claimant regarding claim and errors in submitted form, obtain copies of   $           14.00
          Administration &                                                      claims, and confer with N. Mirjanich regarding further review (.1)
          Objections
   Feb‐20 Claims                2/12/2020 AW        $      140.00           0.1 confer with N. Mirjanich regarding documents received from claimants prior to claims process and      $           14.00
          Administration &                                                      attention to email regarding same (.1)
          Objections
   Feb‐20 Claims                2/12/2020 AW        $      140.00           0.2 attention to and respond to emails from claimants (.2)                                                $           28.00
          Administration &
          Objections
   Feb‐20 Claims                2/12/2020 NM        $      260.00           0.2 correspond with A. Watychowicz regarding claimant responses and claims submissions (.2).              $           52.00
          Administration &
          Objections
   Feb‐20 Claims                2/13/2020 NM        $      260.00           0.2 Correspond with A. Watychowicz regarding claims (.2)                                                  $           52.00
          Administration &
          Objections
   Feb‐20 Claims                2/13/2020 NM        $      260.00           0.2 correspond with claims vendors regarding document repository and database (.2).                       $           52.00
          Administration &
          Objections
   Feb‐20 Claims                2/14/2020 MR        $      390.00           0.1 follow up regarding same with N. Mirjanich (.1).                                                      $           39.00
          Administration &
          Objections
   Feb‐20 Claims                2/14/2020 MR        $      390.00           0.2 Review email regarding claims process (.2)                                                            $           78.00
          Administration &
          Objections
   Feb‐20 Claims                2/14/2020 NM        $      260.00           0.2 attention to claims process (.2).                                                                     $           52.00
          Administration &
          Objections
   Feb‐20 Claims                2/14/2020 NM        $      260.00           0.4 Correspond with vendors regarding document repository (.4)                                            $         104.00
          Administration &
          Objections
   Feb‐20 Claims                2/17/2020 AW        $      140.00           0.2 Attention to emails from claimants and respond to same.                                               $           28.00
          Administration &
          Objections
   Feb‐20 Claims                2/17/2020 MR        $      390.00           6.8 Further work on claims process motion and research regarding same.                                    $        2,652.00
          Administration &
          Objections
   Feb‐20 Claims                2/17/2020 NM        $      260.00           0.1 correspond with A. Watychowicz regrading claimant responses (.1).                                     $           26.00
          Administration &
          Objections
   Feb‐20 Claims                2/17/2020 NM        $      260.00           0.4 Correspond with vendors regarding claims document repository (.4)                                     $         104.00
          Administration &
          Objections
   Feb‐20 Claims                2/18/2020 AW        $      140.00           0.1 Attention to email regarding update on claims process and respond to same (.1)                        $           14.00
          Administration &
          Objections
   Feb‐20 Claims                2/18/2020 MR        $      390.00           0.3 Attention and follow up on claims motion and related issues (.3)                                      $         117.00
          Administration &
          Objections
   Feb‐20 Claims                2/18/2020 NM        $      260.00           0.1 Correspond with A. Watychowicz regarding claims (.1)                                                  $           26.00
          Administration &
          Objections
   Feb‐20 Claims                2/18/2020 NM        $      260.00           0.2 correspond with claims vendors and receivership team regarding setting up demo for same (.2)          $           52.00
          Administration &
          Objections




                                                                                           77 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 79 of 191 PageID #:53863
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                Task Cost
Month                                      Keeper        Rate
   Feb‐20 Claims                2/19/2020 AW        $       140.00        0.2 confer with K. Duff and confirm process of service of notice of extended bar date for claim         $            28.00
          Administration &                                                    submissions (.2)
          Objections
   Feb‐20 Claims                2/19/2020 AW        $       140.00          1.4 participate in video presentation of document repository service with receivership team (1.4).    $          196.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 MR        $       390.00          0.2 attention to research on claims issues (.2)                                                       $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 MR        $       390.00          0.2 follow up regarding document administration and management issues and presentation (.2).          $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 MR        $       390.00          0.2 Review issues on indemnity regarding claims (.2)                                                  $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 NM        $       260.00          0.1 and K. Pritchard (.1) regarding vendors for claims                                                $            26.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 NM        $       260.00          0.1 correspond with A. Watychowicz (.1)                                                               $            26.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 NM        $       260.00          0.1 correspond with A. Watychowicz regarding claims submitted by creditor (.1).                       $            26.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 NM        $       260.00          0.3 correspond with A. Watychowicz regarding claims and spreadsheet from vendor (.3)                  $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/19/2020 NM        $       260.00          0.5 Correspond with A. Watychowicz regarding claims process motion and claims against lender          $          130.00
          Administration &                                                      property (.5)
          Objections
   Feb‐20 Claims                2/21/2020 AW        $       140.00          1.8 Begin review of files received from claimants before claims process.                              $          252.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 AW        $       140.00          0.5 confer with N. Mirjanich regarding amendments and new claims, review spreadsheet, and confirm     $            70.00
          Administration &                                                      proposed revisions (.5).
          Objections
   Feb‐20 Claims                2/24/2020 MR        $       390.00          0.4 and K. Duff (.4)                                                                                  $          156.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 MR        $       390.00          0.8 Conferences regarding claims with counsel (.8)                                                    $          312.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 MR        $       390.00          2.1 additional conferences and work on claims motion and follow up with N. Mirjanich (2.1)            $          819.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 NM        $       260.00          0.3 correspond with K. Duff and M. Rachlis regarding claims process and sales (.3).                   $            78.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 NM        $       260.00            1 Study and revise claims process motion and correspond with M. Rachlis regarding same (1.0)        $          260.00
          Administration &
          Objections
   Feb‐20 Claims                2/24/2020 NM        $       260.00          1.5 study claims notes to reflect amendments and submissions and create list to send to vendor to make $         390.00
          Administration &                                                      same (1.5)
          Objections
   Feb‐20 Claims                2/25/2020 AW        $       140.00          0.2 Meeting with N. Mirjanich regarding means of service of court documents on claimants (.2)         $            28.00
          Administration &
          Objections
   Feb‐20 Claims                2/25/2020 AW        $       140.00          0.7 update comprehensive mailing list with claims submissions received prior to December 31, 2019 bar $            98.00
          Administration &                                                      date (.7)
          Objections
   Feb‐20 Claims                2/25/2020 AW        $       140.00          0.7 work with N. Mirjanich on spreadsheet to provide to claims vendor with amendments and claimant    $            98.00
          Administration &                                                      detail updates (.7).
          Objections
   Feb‐20 Claims                2/25/2020 ED        $       390.00          1.1 review and comment on Motion for Approval of Process for Resolution of Claims Disputes (1.1)      $          429.00
          Administration &
          Objections
   Feb‐20 Claims                2/25/2020 KMP       $       140.00          0.2 Review claims database regarding claims submitted via online platform and confer with N. Mirjanich $           28.00
          Administration &                                                      regarding same.
          Objections
   Feb‐20 Claims                2/25/2020 NM        $       260.00          3.8 Study and revise claims process motion.                                                           $          988.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 AW        $       140.00          0.6 Complete work with N. Mirjanich on spreadsheet to provide to claims vendor with amendments and $               84.00
          Administration &                                                      claimant detail updates (.6)
          Objections
   Feb‐20 Claims                2/26/2020 JRW       $       260.00          0.5 Review and revise draft protective order.                                                         $          130.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 KMP       $       140.00          0.3 Several communications regarding establishment of process for gathering claims records on         $            42.00
          Administration &                                                      claimant by claimant basis for analysis by accountant.
          Objections
   Feb‐20 Claims                2/26/2020 MR        $       390.00          0.5 several conferences regarding same (.5).                                                          $          195.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 MR        $       390.00          1.5 Further work on draft of motion regarding claims (1.5)                                            $          585.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 NM        $       260.00          0.1 correspond with vendor regarding FTP link with claimant data (.1)                                 $            26.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 NM        $       260.00          0.2 study revised claims process motion (.2)                                                          $            52.00
          Administration &
          Objections




                                                                                           78 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 80 of 191 PageID #:53864
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Feb‐20 Claims                2/26/2020 NM        $       260.00        0.3 exchange correspondence relating to deposits and withdrawals for same (.3).                           $           78.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 NM        $      260.00           0.9 Draft schedule for claims process motion (.9)                                                       $         234.00
          Administration &
          Objections
   Feb‐20 Claims                2/26/2020 NM        $      260.00           2.3 revise amendments and submissions list and correspond with A. Watychowicz and send to vendor        $         598.00
          Administration &                                                      (2.3)
          Objections
   Feb‐20 Claims                2/27/2020 AEP       $      390.00           3.2 Read, edit, and revise draft memorandum regarding proposal for claims process to be administered    $        1,248.00
          Administration &                                                      by federal court.
          Objections
   Feb‐20 Claims                2/27/2020 AW        $      140.00           5.7 Compile email attachments received from claimants prior to claims process in claims vendor          $         798.00
          Administration &                                                      approved format and prepare transmittal of same.
          Objections
   Feb‐20 Claims                2/27/2020 ED        $      390.00           0.4 Continue review and revision of Motion for Approval of Process for Resolving Claims Disputes.       $         156.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 JRW       $      260.00           1.4 Continued drafting and revision of protective order.                                                $         364.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 MR        $      390.00           0.2 conference with and review email on same (.2)                                                       $           78.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 MR        $      390.00           0.3 conferences with N. Mirjanich and K. Duff (.3)                                                      $         117.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 MR        $      390.00           2.1 Work on drafts of motion for approval of claims process and protective order (2.1)                  $         819.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 NM        $      260.00           0.2 correspond with vendor regarding document uploads and claims repository (.2).                       $           52.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 NM        $      260.00           0.5 draft proposed order for same (.5)                                                                  $         130.00
          Administration &
          Objections
   Feb‐20 Claims                2/27/2020 NM        $      260.00           1.9 Study revised claims process motion and further revise same and exhibits to same (1.9)              $         494.00
          Administration &
          Objections
   Feb‐20 Claims                2/28/2020 AW        $      140.00           0.2 assist in preparation of protective order for purpose of motion related to claims (.2)              $           28.00
          Administration &
          Objections
   Feb‐20 Claims                2/28/2020 AW        $      140.00           1.6 assist in finalizing, filing, and serving of claims motion (1.6)                                    $         224.00
          Administration &
          Objections
   Feb‐20 Claims                2/28/2020 KMP       $      140.00           0.8 Review and revise draft motion for approval of claims process and confer with N. Mirjanich and A.   $         112.00
          Administration &                                                      Watychowicz regarding same.
          Objections
   Feb‐20 Claims                2/28/2020 MR        $      390.00           4.3 Further work to review and revise motion and several conferences regarding same (4.3)               $        1,677.00
          Administration &
          Objections
   Feb‐20 Claims                2/28/2020 NM        $      260.00           3.5 Revise claims process motion and exhibits and correspond with receiver's team regarding same (3.5) $          910.00
          Administration &
          Objections
   Mar‐20 Asset Disposition     3/27/2020 KBD       $      390.00           0.2 study correspondence and spreadsheet from J. Rak regarding property sale process (.2).              $           78.00

  Mar‐20 Business               3/19/2020 KBD       $      390.00           0.2 exchange correspondence regarding document repository vendor services (.2)                          $           78.00
         Operations
  Mar‐20 Business               3/30/2020 KBD       $      390.00           0.1 exchange correspondence with J. Wine regarding evaluation of document repository services (.1)      $           39.00
         Operations
  Mar‐20 Claims                  3/1/2020 KBD       $      390.00           0.2 Study correspondence from A. Porter regarding communication with claimant relating to various       $           78.00
         Administration &                                                       property‐related questions (.2)
         Objections
  Mar‐20 Claims                  3/2/2020 KBD       $      390.00           0.1 exchange correspondence with M. Rachlis regarding draft protective order (.1).                      $           39.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 KBD       $      390.00           0.5 Attention to communications from claimants and draft correspondence to A. Watychowicz               $         195.00
         Administration &                                                       regarding response to same (.5)
         Objections
  Mar‐20 Claims                  3/3/2020 KBD       $      390.00           0.3 Exchange various correspondence regarding and communications with claimants regarding claims        $         117.00
         Administration &                                                       process motion.
         Objections
  Mar‐20 Claims                  3/4/2020 KBD       $      390.00           0.3 Draft correspondence to claimants regarding process, timing, and representation by counsel and      $         117.00
         Administration &                                                       exchange correspondence with M. Rachlis regarding same (.3)
         Objections
  Mar‐20 Claims                  3/4/2020 KBD       $      390.00           0.3 exchange correspondence with J. Wine and A. Watychowicz regarding communications with               $         117.00
         Administration &                                                       claimants (.3)
         Objections
  Mar‐20 Claims                  3/4/2020 KBD       $      390.00           0.4 study and revise draft responses to FAQ for communications with claimants (.4)                      $         156.00
         Administration &
         Objections
  Mar‐20 Claims                  3/5/2020 KBD       $      390.00           0.1 exchange correspondence with A. Watychowicz regarding claimant change of name (.1)                  $           39.00
         Administration &
         Objections
  Mar‐20 Claims                  3/5/2020 KBD       $      390.00           0.1 exchange correspondence with J. Wine regarding communications with claimants regarding master       $           39.00
         Administration &                                                       claims spreadsheet (.1).
         Objections
  Mar‐20 Claims                  3/5/2020 KBD       $      390.00           0.1 Exchange correspondence with N. Mirjanich regarding submitted claims (.1)                           $           39.00
         Administration &
         Objections
  Mar‐20 Claims                  3/6/2020 KBD       $      390.00           0.1 Exchange correspondence with N. Mirjanich regarding claims (.1)                                     $           39.00
         Administration &
         Objections




                                                                                            79 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 81 of 191 PageID #:53865
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Mar‐20 Claims                 3/6/2020 KBD        $       390.00        0.1 study correspondence from J. Wine regarding claimant submissions (.1).                               $           39.00
          Administration &
          Objections
   Mar‐20 Claims                 3/6/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding claimant communication regarding master claims      $           78.00
          Administration &                                                       spreadsheet and roll‐overs (.2)
          Objections
   Mar‐20 Claims                 3/9/2020 KBD        $      390.00           0.2 Draft correspondence to J. Wine regarding rollover issue with claim.                               $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 KBD        $      390.00           0.2 exchange correspondence with A. Watychowicz regarding response to claimant inquiry on              $           78.00
          Administration &                                                       properties status (.2).
          Objections
   Mar‐20 Claims                3/10/2020 KBD        $      390.00           1.5 Work with J. Wine and J. Rak on claims (1.5)                                                       $         585.00
          Administration &
          Objections
   Mar‐20 Claims                3/11/2020 KBD        $      390.00           0.5 telephone conference with document repository vendor and J. Wine regarding vendor services and     $         195.00
          Administration &                                                       available technology (.5).
          Objections
   Mar‐20 Claims                3/11/2020 KBD        $      390.00           1.3 Work on claims analysis, including and exchange correspondence with J. Wine on claims analysis     $         507.00
          Administration &                                                       and review of claimants' information (1.3)
          Objections
   Mar‐20 Claims                3/12/2020 KBD        $      390.00           0.2 draft correspondence to claimant regarding potential distribution inquiry (.2)                     $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 KBD        $      390.00           0.3 Confer with J. Wine regarding vendor work to process claims (.3)                                   $         117.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 KBD        $      390.00           0.7 study correspondence from claimants regarding claims process and asserted property interests and   $         273.00
          Administration &                                                       other inquiries and exchange correspondence regarding same (.7).
          Objections
   Mar‐20 Claims                3/12/2020 KBD        $      390.00           2.5 meeting with claims vendor representative regarding claim form, documentation processing, and      $         975.00
          Administration &                                                       work to produce records to claimants (2.5)
          Objections
   Mar‐20 Claims                3/13/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding work with claims vendor to address claims           $           78.00
          Administration &                                                       processing issues (.2).
          Objections
   Mar‐20 Claims                3/13/2020 KBD        $      390.00           0.2 Study correspondence from claims vendor regarding claims processing issues (.2)                    $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding work on claims review vendor cost (.1).             $           39.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 KBD        $      390.00           0.1 work on communications with claimants relating to claims submissions (.1)                          $           39.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding review of claimant submission (.2)                  $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 KBD        $      390.00           0.2 review communications from lender's counsel and exchange correspondence regarding same (.2).       $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 KBD        $      390.00           0.4 exchange correspondence and telephone conference with J. Wine regarding claimant identity and      $         156.00
          Administration &                                                       type (.4)
          Objections
   Mar‐20 Claims                3/18/2020 KBD        $      390.00           0.4 Exchange correspondence with J. Wine and A. Watychowicz regarding answers to FAQ for claims        $         156.00
          Administration &                                                       process, revise same, and amendment to master claims spreadsheet (.4)
          Objections
   Mar‐20 Claims                3/19/2020 KBD        $      390.00           0.3 Exchange correspondence with A. Watychowicz and J. Wine regarding communications with              $         117.00
          Administration &                                                       claimants regarding claims process and timing.
          Objections
   Mar‐20 Claims                3/20/2020 KBD        $      390.00           0.2 Exchange correspondence with J. Wine regarding communication with claimant relating to claims      $           78.00
          Administration &                                                       submission.
          Objections
   Mar‐20 Claims                3/23/2020 KBD        $      390.00           0.2 exchange correspondence with A. Watychowicz and J. Wine regarding response to claimant inquiry     $           78.00
          Administration &                                                       (.2).
          Objections
   Mar‐20 Claims                3/23/2020 KBD        $      390.00           0.2 Telephone conference with J. Wine regarding work by vendor (.2)                                    $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 KBD        $      390.00           0.4 telephone conference with vendor representative (.4)                                               $         156.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding claims and supporting documents (.2)                $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 KBD        $      390.00           0.2 study correspondence from A. Watychowicz regarding communication with claimant relating to         $           78.00
          Administration &                                                       claim (.2).
          Objections
   Mar‐20 Claims                3/24/2020 KBD        $      390.00           0.3 telephone conference with M. Rachlis and J. Wine regarding same (.3)                               $         117.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 KBD        $      390.00           0.6 telephone conference and exchange correspondence with J. Wine and J. Rak regarding master claim $            234.00
          Administration &                                                       spreadsheet, claim form analysis, and rollover data (.6)
          Objections
   Mar‐20 Claims                3/24/2020 KBD        $      390.00           1.2 Telephone conference with lenders counsel regarding claims process, motion, and background (1.2)   $         468.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 KBD        $      390.00           0.2 Exchange correspondence with A. Watychowicz communications with claimant regarding claim           $           78.00
          Administration &                                                       process and timing (.2)
          Objections
   Mar‐20 Claims                3/25/2020 KBD        $      390.00           0.4 study spreadsheet regarding rollovers, correspondence from J. Wine regarding same, and related     $         156.00
          Administration &                                                       claims (.4)
          Objections




                                                                                           80 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 82 of 191 PageID #:53866
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Mar‐20 Claims                3/26/2020 KBD        $       390.00        0.4 Study correspondence from claimant and exchange correspondence regarding status of claim and            $         156.00
          Administration &                                                     draft correspondence regarding status of claims process (.4)
          Objections
   Mar‐20 Claims                3/27/2020 KBD        $      390.00          0.3 exchange correspondence and telephone conference with J. Wine regarding claims analysis and            $         117.00
          Administration &                                                      study spreadsheet (.3).
          Objections
   Mar‐20 Claims                3/27/2020 KBD        $      390.00          0.3 Exchange correspondence with A. Watychowicz regarding communications with claimant (.3)                $         117.00
          Administration &
          Objections
   Mar‐20 Claims                3/28/2020 KBD        $      390.00          0.2 Exchange correspondence with M. Rachlis and A. Watychowicz regarding communication with                $           78.00
          Administration &                                                      claimant (.2)
          Objections
   Mar‐20 Claims                3/30/2020 KBD        $      390.00          0.1 exchange correspondence with E. Duff regarding lender request for claims information (.1).             $           39.00
          Administration &
          Objections
   Mar‐20 Asset Disposition      3/2/2020 AEP        $      390.00          0.4 lender objections to claims resolution procedures (.4)                                                 $         156.00

  Mar‐20 Asset Disposition      3/10/2020 JRW        $      260.00          0.4 Review spreadsheets from real estate broker and A. Porter tracking status of property sales.           $         104.00

  Mar‐20 Asset Disposition      3/17/2020 JRW        $      260.00          0.1 and related email exchange (.1).                                                                       $           26.00

  Mar‐20 Asset Disposition      3/17/2020 JRW        $      260.00          0.4 Review and revise draft emergency motion for relief from amended general order (.4)                    $         104.00

  Mar‐20 Asset Disposition      3/25/2020 JRW        $      260.00          0.7 Study asset portfolio spreadsheet.                                                                     $         182.00

  Mar‐20 Business                3/5/2020 JR         $      140.00          1.2 organize receivership documents regarding expenditures related to all properties for January (1.2)     $         168.00
         Operations
  Mar‐20 Business                3/9/2020 AW         $      140.00          0.1 confer with K. Duff regarding same and respond to property manager (.1)                                $           14.00
         Operations
  Mar‐20 Business               3/20/2020 AW         $      140.00          0.1 arrange for transfer of records to A. Porter (.1).                                                     $           14.00
         Operations
  Mar‐20 Business               3/20/2020 AW         $      140.00          0.3 Communicate with K. Duff regarding documents and arrange for transfer of same (.3)                     $           42.00
         Operations
  Mar‐20 Business               3/24/2020 JRW        $      260.00          0.3 telephone conference with K. Duff and M. Rachlis regarding pending matters (.3).                       $           78.00
         Operations
  Mar‐20 Business               3/26/2020 AW         $      140.00          0.1 Attention to email from E. Duff regarding properties and insurance of same (.1)                        $           14.00
         Operations
  Mar‐20 Business               3/26/2020 AW         $      140.00          0.1 call with E. Duff regarding details of this project (.1)                                               $           14.00
         Operations
  Mar‐20 Business               3/26/2020 AW         $      140.00          1.8 review provided spreadsheets, supplement as per call with E. Duff, and detailed email regarding        $         252.00
         Operations                                                             same (1.8).
  Mar‐20 Business               3/26/2020 JRW        $      260.00          1.1 Create new spreadsheet for tracking code violations and fines (1.1)                                    $         286.00
         Operations
  Mar‐20 Business               3/30/2020 AW         $      140.00          0.1 execute final list as per K. Duff's authorization and forward for submission to broker (.1).           $           14.00
         Operations
  Mar‐20 Business               3/30/2020 AW         $      140.00          0.3 Communicate with E. Duff regarding properties and insurance issues, finalize list of same, and email   $           42.00
         Operations                                                             final spreadsheet to E. Duff and K. Duff (.3)
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          0.1 confer with N. Mirjanich regarding emails from claimants (.1)                                          $           14.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          0.2 additional attempt to serve seven individuals via email (.2)                                           $           28.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          0.3 Attention to email from K. Duff regarding claimant's voicemail related to claims process motion,       $           42.00
         Administration &                                                       review emails with similar concerns, and email receivership team regarding same (.3)
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          0.6 prepare service and serve claims motion via mail (.6)                                                  $           84.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          1.2 attention to emails from claimants with specific questions relating to their claims, respond to        $         168.00
         Administration &                                                       several emails, and prepare draft responses (1.2).
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          1.5 work on claims process (1.5)                                                                           $         210.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 AW         $      140.00          1.9 attention to emails that bounced, research origin of email addresses used, research claims             $         266.00
         Administration &                                                       submitted, confer with K. Duff regarding same, and confirm service method (1.9)
         Objections
  Mar‐20 Claims                  3/2/2020 JRW        $      260.00            2 Review and resolve email and voicemail inquiries from multiple claimants.                              $         520.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 KMP        $      140.00          1.5 Work on claims process motion and plan for compiling and organizing information necessary to           $         210.00
         Administration &                                                       prepare required framing reports and analyses of claims, and regarding other claims‐related issues.
         Objections
  Mar‐20 Claims                  3/2/2020 MR         $      390.00          0.2 Attention to e‐mails regarding claims related issues (.2)                                              $           78.00
         Administration &
         Objections
  Mar‐20 Claims                  3/2/2020 MR         $      390.00          0.3 attention to protective order related issues and follow up regarding same (.3).                        $         117.00
         Administration &
         Objections
  Mar‐20 Claims                  3/3/2020 AW         $      140.00          0.1 Attention to and respond to voicemails from claimant (.1)                                              $           14.00
         Administration &
         Objections
  Mar‐20 Claims                  3/3/2020 AW         $      140.00          0.1 obtain claimant contact information and attention to email response regarding same (.1).               $           14.00
         Administration &
         Objections
  Mar‐20 Claims                  3/3/2020 AW         $      140.00          0.3 work on claims issues (.3)                                                                             $           42.00
         Administration &
         Objections
  Mar‐20 Claims                  3/3/2020 JRW        $      260.00          3.1 Research regarding claimant inquiries and amendment of Exhibit 1 to claims process motion.             $         806.00
         Administration &
         Objections
  Mar‐20 Claims                  3/3/2020 MR         $      390.00          0.2 review e‐mails regarding protective order and follow conferences regarding protective order issues     $           78.00
         Administration &                                                       (.2).
         Objections




                                                                                            81 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 83 of 191 PageID #:53867
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                               Task Cost
Month                                      Keeper        Rate
   Mar‐20 Claims                 3/3/2020 MR        $       390.00        0.3 Follow up regarding inquiry from investors on claims (.3)                                           $         117.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 AW        $      140.00          0.1 obtain copies of claims submissions and email J. Wine regarding same (.1).                         $           14.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 AW        $      140.00          0.2 attention to and respond to emails from claimants (.2)                                             $           28.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 AW        $      140.00          0.6 Work on answers to FAQ (.6)                                                                        $           84.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 AW        $      140.00          1.3 attention and revise responses to emails from claimants and respond to emails (1.3)                $         182.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 JRW       $      260.00          0.6 Revise protective order to address comments provided by lender's counsel [Napoli] (.6)             $         156.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 JRW       $      260.00          1.2 draft and revise stock responses to FAQs (1.2)                                                     $         312.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 JRW       $      260.00          3.8 research and respond to multiple claimant inquiries and related update on status (3.8)             $         988.00
          Administration &
          Objections
   Mar‐20 Claims                 3/4/2020 MR        $      390.00          0.1 follow up regarding issues on claims process (.1).                                                 $           39.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 AW        $      140.00          0.1 Attention to revisions to FAQ (.1)                                                                 $           14.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 AW        $      140.00          0.2 apply revisions to FAQ (.2).                                                                       $           28.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 AW        $      140.00          0.9 continue work on responses to claimants' emails and voicemails (.9)                                $         126.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 JRW       $      260.00          0.3 review and revise responses to frequently asked questions (.3).                                    $           78.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 JRW       $      260.00          2.9 Attention to reviewing, investigating, and responding to claimants' inquiries regarding claims     $         754.00
          Administration &                                                     submissions (2.9)
          Objections
   Mar‐20 Claims                 3/5/2020 KMP       $      140.00          1.7 Begin review of document files received from accountant for claims‐related information.            $         238.00
          Administration &
          Objections
   Mar‐20 Claims                 3/5/2020 MR        $      390.00          0.3 Attention to various issues and objections and further issues on claims process.                   $         117.00
          Administration &
          Objections
   Mar‐20 Claims                 3/6/2020 AW        $      140.00          0.7 attention to proof of claims forms (.7).                                                           $           98.00
          Administration &
          Objections
   Mar‐20 Claims                 3/6/2020 AW        $      140.00          1.4 Work on claims administration and responses to emails from claimants (1.4)                         $         196.00
          Administration &
          Objections
   Mar‐20 Claims                 3/6/2020 JRW       $      260.00          3.9 Continued work to resolve multiple inquiries from claimants and amendment of master claims         $        1,014.00
          Administration &                                                     spreadsheet listing claims against properties.
          Objections
   Mar‐20 Claims                 3/9/2020 AW        $      140.00          1.1 Work on claims process, claims portal, claims administration, and review.                          $         154.00
          Administration &
          Objections
   Mar‐20 Claims                 3/9/2020 MR        $      390.00          0.2 Further attention to protective order issues.                                                      $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 AW        $      140.00          0.1 research claims for claimants (.1).                                                                $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 AW        $      140.00          0.8 Draft responses, study proposed revisions, and respond via email to claimants (.8)                 $         112.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 JRW       $      260.00          0.1 review revised draft confidentiality order (.1).                                                   $           26.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 JRW       $      260.00          0.7 work on procedures for analysis and tracking of rollover claims (.7)                               $         182.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 JRW       $      260.00          3.9 Review, investigate, and respond to numerous claimant inquiries regarding claims submitted (3.9)   $        1,014.00
          Administration &
          Objections
   Mar‐20 Claims                3/10/2020 MR        $      390.00          0.2 Additional review of comments and follow up regarding same relative to elements of protective      $           78.00
          Administration &                                                     order.
          Objections
   Mar‐20 Claims                3/11/2020 AW        $      140.00          0.1 confer with J. Rak regarding claimant and rollover (.1).                                           $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/11/2020 AW        $      140.00          0.4 Study proposed responses and respond to claimants (.4)                                             $           56.00
          Administration &
          Objections
   Mar‐20 Claims                3/11/2020 AW        $      140.00          0.5 research and address claims for claimants with inquiries (.5)                                      $           70.00
          Administration &
          Objections
   Mar‐20 Claims                3/11/2020 AW        $      140.00          1.1 work on master spreadsheet of claims on property by property basis (1.1)                           $         154.00
          Administration &
          Objections




                                                                                          82 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 84 of 191 PageID #:53868
                                              ‐ General Allocation Task Detail



Invoice                                         Time      Time Keeper
           Billing Category   Entry Date                               Task Hours                                        Task Description                                                      Task Cost
Month                                          Keeper        Rate
   Mar‐20 Claims                3/11/2020 JR            $       140.00        0.1 exchange correspondence with J. Wine regarding master EquityBuild spreadsheet (.1).                      $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/11/2020 JRW           $      260.00          0.6 telephone conference with document repository vendor and K. Duff regarding potential services,          $         156.00
          Administration &                                                         and related conference with K. Duff (.6).
          Objections
   Mar‐20 Claims                3/11/2020 JRW           $      260.00          0.8 review spreadsheet and communications to vendor regarding updating database with additional or          $         208.00
          Administration &                                                         amended claim documentation (.8)
          Objections
   Mar‐20 Claims                3/11/2020 JRW           $      260.00          2.4 Review, investigate and respond to various claimants' inquiries regarding claim submissions (2.4)       $         624.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 AW            $      140.00          0.2 Several revisions FAQ list and communicate with J. Wine regarding same (.2)                             $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 AW            $      140.00          0.8 respond to emails from claimants as per K. Duff's and J. Wine's suggested reviews (.8)                  $         112.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 AW            $      140.00          2.5 meeting with claims vendor (2.5).                                                                       $         350.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 JRW           $      260.00          1.4 Investigate and respond to claimant inquiries (1.4)                                                     $         364.00
          Administration &
          Objections
   Mar‐20 Claims                3/12/2020 JRW           $      260.00          3.5 prepare for and attend meeting with claims vendor, K. Duff, A. Watychowicz and J. Rak regarding         $         910.00
          Administration &                                                         issues with claims databases, proofs of claim, and migration of supporting data (3.5).
          Objections
   Mar‐20 Claims                3/13/2020 JRW           $      260.00          0.1 review email summary of meeting with claims vendor (.1).                                                $           26.00
          Administration &
          Objections
   Mar‐20 Claims                3/13/2020 JRW           $      260.00          1.3 Review, investigate and respond to claimants' inquiries regarding claims submissions (1.3)              $         338.00
          Administration &
          Objections
   Mar‐20 Claims                3/14/2020 AW            $      140.00          0.6 Call with J. Wine regarding master spreadsheet and requests to claims vendor.                           $           84.00
          Administration &
          Objections
   Mar‐20 Claims                3/14/2020 JRW           $      260.00          0.3 attention to claimant inquiry (.3).                                                                     $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/14/2020 JRW           $      260.00          0.6 Telephone conference with A. Watychowicz regarding claims vendor project for updating and               $         156.00
          Administration &                                                         correcting claimant data (.6)
          Objections
   Mar‐20 Claims                3/15/2020 JRW           $      260.00          2.8 Update spreadsheet listing corrections and additions to claimant information and related email to       $         728.00
          Administration &                                                         claims vendor.
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00          0.1 and claimant who did not fill out claim form correctly (.1)                                             $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00          0.1 communicate with J. Wine regarding response to claimant with multiple claims (.1)                       $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00          0.4 respond to emails from claimants and update claims spreadsheet (.4)                                     $           56.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00          0.6 work with J. Wine on revisions to master spreadsheet (.6)                                               $           84.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00          0.7 review files prepared for transfer to claims vendor, draft cover letter regarding same, and             $           98.00
          Administration &                                                         communicate about details with J. Wine (.7).
          Objections
   Mar‐20 Claims                3/16/2020 AW            $      140.00            1 Teleconference with claims vendor and J. Wine regarding revisions to database and new tasks (1.0)       $         140.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 JRW           $      260.00          0.2 email to claimant responding to inquiry (.2)                                                            $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 JRW           $      260.00          0.2 related email exchanges with K. Duff and claims vendor regarding statement of work (.2)                 $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/16/2020 JRW           $      260.00            1 telephone conference with claims vendor regarding claims database issues and additional work on         $         260.00
          Administration &                                                         claim amendments and supplementation (1.0)
          Objections
   Mar‐20 Claims                3/16/2020 JRW           $      260.00          4.1 Continue researching claimant information on claims database (4.1)                                      $        1,066.00
          Administration &
          Objections
   Mar‐20 Claims                3/17/2020 AW            $      140.00          0.1 proofread letter and follow up with J. Wine regarding revisions (.1).                                   $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/17/2020 AW            $      140.00          0.4 Call with J. Wine regarding transfer of files to claims vendor and reorganize files as discussed (.4)   $           56.00
          Administration &
          Objections
   Mar‐20 Claims                3/17/2020 JRW           $      260.00          0.6 related telephone conference with A. Watychowicz and correspondence to claims vendor regarding          $         156.00
          Administration &                                                         provided documents (.6)
          Objections
   Mar‐20 Claims                3/17/2020 JRW           $      260.00          0.8 review and investigate claimant inquiry and prepare response (.8).                                      $         208.00
          Administration &
          Objections
   Mar‐20 Claims                3/17/2020 JRW           $      260.00          1.3 Study claims documentation and group into new claims, amended or supplemented claims (1.3)              $         338.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 AW            $      140.00          0.1 attention to spreadsheets from claims vendor (.1)                                                       $           14.00
          Administration &
          Objections




                                                                                              83 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 85 of 191 PageID #:53869
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Mar‐20 Claims                3/18/2020 AW        $       140.00        0.1 attention to voicemail from lender's counsel and communicate with K. Duff regarding same (.1).           $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 AW        $      140.00           0.2 Communicate with claims vendor regarding transfer of files and questions (.2)                          $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 AW        $      140.00           0.2 update to FAQ (.2)                                                                                     $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 JRW       $      260.00           0.4 study spreadsheet from vendor of proof of claim data (.4)                                              $         104.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 JRW       $      260.00           0.4 work with J. Rak on master spreadsheet and investigation of rollovers (.4).                            $         104.00
          Administration &
          Objections
   Mar‐20 Claims                3/18/2020 JRW       $      260.00           1.2 work with A. Watychowicz and K. Duff to revise and supplement standard responses to frequently         $         312.00
          Administration &                                                      asked questions (1.2)
          Objections
   Mar‐20 Claims                3/18/2020 JRW       $      260.00           2.9 Attention to investigating claimant inquiries and responding to same (2.9)                             $         754.00
          Administration &
          Objections
   Mar‐20 Claims                3/19/2020 JRW       $      260.00           0.2 Confer with A. Watychowicz regarding responses to claimant inquiries.                                  $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/19/2020 MR        $      390.00           0.4 Attention to issues regarding claims process and related matters.                                      $         156.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.1 communicate with J. Wine regarding additional revision (.1)                                            $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.1 confer with J. Wine regarding institutional lender's claims and properties (.1).                       $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.1 respond to email from claimant (.1)                                                                    $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.2 and vendor's update (.2)                                                                               $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.2 follow up call with J. Wine regarding same (.2)                                                        $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.3 update Master Spreadsheet (.3)                                                                         $           42.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 AW        $      140.00           0.8 Participate in conference call with J. Wine, A. Pruitt and claims vendor regarding transfer of data,   $         112.00
          Administration &                                                      accuracy of same, and further steps (.8)
          Objections
   Mar‐20 Claims                3/20/2020 JRW       $      260.00           0.2 conference with J. Rak regarding master claims spreadsheet (.2).                                       $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 JRW       $      260.00           0.2 conference with vendor regarding access to claims database (.2)                                        $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 JRW       $      260.00           0.8 conference call with claims vendor, A. Watychowicz and A. Pruitt regarding claims databases and        $         208.00
          Administration &                                                      problem solving (.8)
          Objections
   Mar‐20 Claims                3/20/2020 JRW       $      260.00           1.2 Research regarding claimant inquiries (1.2)                                                            $         312.00
          Administration &
          Objections
   Mar‐20 Claims                3/20/2020 JRW       $      260.00           3.7 work on database research of claims and updating master spreadsheet (3.7)                              $         962.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 AW        $      140.00           0.3 Attention to emails from claimants, draft responses and respond via email.                             $           42.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 JRW       $      260.00           0.1 attention to correspondence with counsel for lender regarding claims process (.1)                      $           26.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 JRW       $      260.00           0.1 communicate with K. Duff regarding vendor project (.1).                                                $           26.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 JRW       $      260.00           0.3 Work on responding to inquiry from claimants (.3)                                                      $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/23/2020 JRW       $      260.00           0.5 communicate with J. Rak and A. Pruitt regarding claims analysis and revisions to master claims         $         130.00
          Administration &                                                      spreadsheet (.5)
          Objections
   Mar‐20 Claims                3/24/2020 AP        $      260.00           0.8 ; telephone conference with J. Wine regarding same (.8).                                               $         208.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 AP        $      260.00           3.4 Analyze claims with respect to claim amount and claims vendor data extraction (3.4)                    $         884.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 AW        $      140.00           0.2 Attention to email from claimant, confirm claim, and email response regarding same (.2)                $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 AW        $      140.00           0.2 attention to follow up email, draft detailed response and communicate with K. Duff regarding same      $           28.00
          Administration &                                                      (.2)
          Objections
   Mar‐20 Claims                3/24/2020 JR        $      140.00           0.6 Review email from K. Duff and compare and contrast properties (.6)                                     $           84.00
          Administration &
          Objections




                                                                                           84 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 86 of 191 PageID #:53870
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Mar‐20 Claims                3/24/2020 JRW        $       260.00        1.1 conference call with counsel for institutional lender, K. Duff and M. Rachlis regarding claims process, $         286.00
          Administration &                                                     pending motion and potential resolution of claims (1.1)
          Objections
   Mar‐20 Claims                3/24/2020 MR         $       390.00          0.3 further follow up with K. Duff and J. Wine (.3).                                                     $          117.00
          Administration &
          Objections
   Mar‐20 Claims                3/24/2020 MR         $       390.00          1.1 Conference with lender's counsel (1.1)                                                               $          429.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AP         $       260.00          0.5 review and organize claims analysis information (.5).                                                $          130.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AP         $       260.00          0.6 further analyze claims with respect to same (.6)                                                     $          156.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AP         $       260.00          0.7 Telephone conference with J. Wine regarding analysis of claim amount and claims vendor data          $          182.00
          Administration &                                                       extraction (.7)
          Objections
   Mar‐20 Claims                3/25/2020 AW         $       140.00          0.1 Communicate with J. Wine regarding claims database issue (.1)                                        $            14.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AW         $       140.00          0.2 attention to emails from claimant and prepare responses to same (.2)                                 $            28.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AW         $       140.00          0.2 work with A. Pruitt to deliver requested files to J. Wine (.2)                                       $            28.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 AW         $       140.00          0.7 call with J. Wine, J. Rak, and A. Pruitt regarding claims projects (.7).                             $            98.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 JRW        $       260.00          0.7 conference call with A. Pruitt, A. Watychowicz and J. Rak regarding procedure for investigating      $          182.00
          Administration &                                                       claims export of claims data and rollover claims (.7)
          Objections
   Mar‐20 Claims                3/25/2020 JRW        $       260.00          1.4 investigate rollover claims, pull claim submissions and related correspondence to K. Duff (1.4).     $          364.00
          Administration &
          Objections
   Mar‐20 Claims                3/25/2020 JRW        $       260.00          1.6 Multiple conference calls with claims vendor regarding data export from claims database, revisions $            416.00
          Administration &                                                       to enhance search capability in claims database, property numbers, and revisions to claimant
          Objections                                                             information (1.6)
   Mar‐20 Claims                3/25/2020 JRW        $       260.00          2.5 research regarding claim submissions and related revisions to master claims spreadsheet and follow‐ $           650.00
          Administration &                                                       up correspondence to claims vendor (2.5)
          Objections
   Mar‐20 Claims                3/26/2020 AP         $       260.00          0.7 Confer with J. Wine regarding claims analysis (.7)                                                   $          182.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 AP         $       260.00          5.9 continue analysis of claims submissions for claim amount in reference to claims vendor data for      $         1,534.00
          Administration &                                                       properties (5.9).
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.1 call with J. Wine regarding instance IDs and proposed simplification (.1)                            $            14.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.1 submit update request as per claimant's email and update Receiver's records (.1).                    $            14.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.1 Update FAQ (.1)                                                                                      $            14.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.2 attention to claimant's follow up email provide email submission to K. Duff (.2)                     $            28.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.2 attention to email from claimant clarifying his claim and communicate with J. Wine regarding same    $            28.00
          Administration &                                                       (.2)
          Objections
   Mar‐20 Claims                3/26/2020 AW         $       140.00          0.2 submit update request regarding same (.2)                                                            $            28.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 JRW        $       260.00          0.2 exchange correspondence with claims vendor regarding status of various projects (.2).                $            52.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 JRW        $       260.00          0.7 Work with A. Pruitt on investigation and amendment of claims data for multiple claimants (.7)        $          182.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 JRW        $       260.00          0.8 review, investigate, and respond to claimants' inquiries regarding claims submissions (.8)           $          208.00
          Administration &
          Objections
   Mar‐20 Claims                3/26/2020 KMP        $       140.00          3.6 Continued review of documents received from EB accountant for potential claims‐related               $          504.00
          Administration &                                                       information.
          Objections
   Mar‐20 Claims                3/27/2020 AP         $       260.00          0.1 telephone conference with claims vendor representative regarding property designations in master     $            26.00
          Administration &                                                       claims spreadsheet (.1).
          Objections
   Mar‐20 Claims                3/27/2020 AP         $       260.00            1 work with J. Wine to analyze claims submissions (1.0)                                                $          260.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 AP         $       260.00          3.6 Analyze claims with respect to claim amount and claims vendor data extraction (3.6)                  $          936.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 AW         $       140.00          0.1 attention to exchange regarding claimant's submission and email J. Wine regarding same (.1)          $            14.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 AW         $       140.00          0.1 follow up with K. Duff regarding claimant issue and attention to email exchanges regarding same      $            14.00
          Administration &                                                       (.1).
          Objections




                                                                                            85 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 87 of 191 PageID #:53871
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                              Task Description                                              Task Cost
Month                                      Keeper        Rate
   Mar‐20 Claims                3/27/2020 AW        $       140.00        0.3 Respond to emails from claimants (.3)                                                                  $           42.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 JRW       $      260.00          0.3 correspondence with K. Duff and A. Watychowicz and review proofs of claim (.3).                       $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 JRW       $      260.00          0.4 telephone conference with K. Duff regarding rollovers (.4)                                            $         104.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 JRW       $      260.00          0.7 Research and respond to claimant inquiries and update master claims spreadsheet (.7)                  $         182.00
          Administration &
          Objections
   Mar‐20 Claims                3/27/2020 JRW       $      260.00            1 work with A. Pruitt on analyzing rollovers and updating claimant information on master claims         $         260.00
          Administration &                                                     spreadsheet (1.0)
          Objections
   Mar‐20 Claims                3/28/2020 MR        $      390.00          0.9 Attention to e‐mails and follow up on various issues raised by claimant (.9)                          $         351.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 AP        $      260.00          0.4 work with J. Wine to analyze claims (.4).                                                             $         104.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 AP        $      260.00          2.7 Analyze claims submissions for claim amount in reference to claims vendor data for properties (2.7)   $         702.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 AW        $      140.00          0.1 Confer with J. Wine regarding revisions by vendor and incorporate on master spreadsheet (.1)          $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 AW        $      140.00          0.2 attention to email exchanges regarding second amended order regarding COVID‐19 and timing             $           28.00
          Administration &                                                     issues, file objection as per K. Duff's approval, and serve on defendant (.2).
          Objections
   Mar‐20 Claims                3/30/2020 AW        $      140.00          0.4 start revisions to master list (.4)                                                                   $           56.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 JRW       $      260.00          0.1 Review instruction for proof of claim form (.1)                                                       $           26.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 JRW       $      260.00          0.2 confer with A. Watychowicz regarding updating of master claims spreadsheet (.2)                       $           52.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 JRW       $      260.00          0.3 related telephone conference with claims vendor (.3)                                                  $           78.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 JRW       $      260.00          0.4 work with A. Pruitt on researching rollover transactions (.4).                                        $         104.00
          Administration &
          Objections
   Mar‐20 Claims                3/30/2020 JRW       $      260.00          2.5 review and respond to notes and questions from claims vendor regarding revisions to claimant          $         650.00
          Administration &                                                     information (2.5)
          Objections
   Mar‐20 Claims                3/31/2020 AP        $      260.00          0.3 Work with J. Wine to analyze claims submissions for claim amount in reference to claims vendor        $           78.00
          Administration &                                                     data for properties (.3)
          Objections
   Mar‐20 Claims                3/31/2020 AP        $      260.00          1.7 further analyze claims submissions for same (1.7).                                                    $         442.00
          Administration &
          Objections
   Mar‐20 Claims                3/31/2020 AW        $      140.00          0.1 attention to email regarding appendices to claims forms and call regarding same (.1)                  $           14.00
          Administration &
          Objections
   Mar‐20 Claims                3/31/2020 AW        $      140.00          0.2 attention to email from claimant, research, and respond to same requesting additional information     $           28.00
          Administration &                                                     (.2)
          Objections
   Mar‐20 Claims                3/31/2020 AW        $      140.00          0.2 Attention to email from claims vendor regarding updated claims (.2)                                   $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/31/2020 AW        $      140.00          0.2 communicate with J. Wine regarding amended claim, research, and forward key documents (.2)            $           28.00
          Administration &
          Objections
   Mar‐20 Claims                3/31/2020 JRW       $      260.00          0.3 correspondence to claims vendor regarding remedy for recurring issue regarding claims submissions $               78.00
          Administration &                                                     (.3).
          Objections
   Mar‐20 Claims                3/31/2020 JRW       $      260.00          0.4 related oral and written communications with A. Pruitt regarding amendment of master claims           $         104.00
          Administration &                                                     spreadsheet (.4)
          Objections
   Mar‐20 Claims                3/31/2020 JRW       $      260.00          0.6 Work with A. Watychowicz regarding response to claimant inquiries and claim files (.6)                $         156.00
          Administration &
          Objections
   Mar‐20 Claims                3/31/2020 JRW       $      260.00          5.1 attention to researching and updating rollover claim submissions of multiple claimants (5.1)          $        1,326.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 KBD       $      390.00          0.4 telephone conference with J. Wine regarding claims analysis and communications with claims            $         156.00
          Administration &                                                     vendor (.4).
          Objections
   Apr‐20 Claims                 4/1/2020 KBD       $      390.00            1 video conference with potential document repository vender (1.0)                                      $         390.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 KBD       $      390.00          0.1 work on response to claimant inquiry (.1).                                                            $           39.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 KBD       $      390.00          0.3 Exchange correspondence with J. Wine and A. Watychowicz regarding claims submissions and claims $               117.00
          Administration &                                                     vendor records (.3)
          Objections
   Apr‐20 Claims                 4/6/2020 KBD       $      390.00          0.1 Draft correspondence to claimant regarding information relating to claimant (.1)                      $           39.00
          Administration &
          Objections




                                                                                           86 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 88 of 191 PageID #:53872
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Apr‐20 Claims                 4/9/2020 KBD        $       390.00        0.6 Evaluate document repository database and exchange correspondence with vendor regarding same           $         234.00
          Administration &                                                     (.6)
          Objections
   Apr‐20 Claims                4/10/2020 KBD        $      390.00          0.2 exchange correspondence with claims vendor regarding statement of work, progress, and timing          $           78.00
          Administration &                                                      (.2).
          Objections
   Apr‐20 Claims                4/10/2020 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding claims review and funds (.2)                           $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 KBD        $      390.00          0.3 Exchange correspondence with M. Rachlis regarding briefing on claims process motion and               $         117.00
          Administration &                                                      communications with claimants' counsel and SEC relating to same (.3)
          Objections
   Apr‐20 Claims                4/13/2020 KBD        $      390.00          0.2 Telephone conference with M. Rachlis regarding claims analysis and letter of credit issues (.2)       $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 KBD        $      390.00          0.2 work on response to claimant with A. Watychowicz (.2).                                                $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 KBD        $      390.00          0.1 review claimants submission of documentation relating to death of co‐claimant spouse and              $           39.00
          Administration &                                                      exchange correspondence with A. Watychowicz regarding same (.1)
          Objections
   Apr‐20 Claims                4/14/2020 KBD        $      390.00          0.2 study correspondence from claims vendor and J. Wine regarding claims review (.2)                      $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 KBD        $      390.00          1.1 telephone conference with M. Rachlis and E. Duff regarding same, claims process, and potential        $         429.00
          Administration &                                                      claims (1.1)
          Objections
   Apr‐20 Claims                4/14/2020 KBD        $      390.00          1.4 telephone conference with A. Porter and M. Rachlis regarding claims analysis and review and           $         546.00
          Administration &                                                      various related EquityBuild documentation (1.4)
          Objections
   Apr‐20 Claims                4/14/2020 KBD        $      390.00          1.4 Telephone conference with J. Wine and M. Rachlis regarding claims review, challenges, process, and $            546.00
          Administration &                                                      timing (1.4)
          Objections
   Apr‐20 Claims                4/15/2020 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding communication with claimants (.1).              $           39.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 KBD        $      390.00          1.3 Telephone conference with M. Rachlis, A. Porter, and J. Wine regarding claims analysis, master     $            507.00
          Administration &                                                      claims spreadsheet, process for identifying roll‐over claims and other amendments to master claims
          Objections                                                            spreadsheet, and various related issues (1.3)
   Apr‐20 Claims                4/16/2020 KBD        $      390.00          0.1 exchange correspondence with claimant regarding claims process and representation by counsel (.1) $               39.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 KBD        $      390.00          0.3 Attention to further communication from claimant regarding claims process (.3)                        $         117.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 KBD        $      390.00          0.1 work on response to claimant (.1).                                                                    $           39.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 KBD        $      390.00          0.2 telephone conference with M. Rachlis regarding same and approach to claims process, framing           $           78.00
          Administration &                                                      report, and related issues (.2)
          Objections
   Apr‐20 Claims                4/20/2020 KBD        $      390.00          0.2 Telephone conference with J. Wine regarding master claims spreadsheet analysis (.2)                   $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 KBD        $      390.00          0.4 work on response to claimant inquiries (.4)                                                           $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 KBD        $      390.00          0.1 exchange correspondence with J. Wine and A. Watychowicz regarding responses to claimant               $           39.00
          Administration &                                                      inquiries (.1).
          Objections
   Apr‐20 Claims                4/22/2020 KBD        $      390.00          0.3 Work on responses to claimant inquiries (.3)                                                          $         117.00
          Administration &
          Objections
   Apr‐20 Claims                4/23/2020 KBD        $      390.00          0.2 Work on response to claimant inquiry.                                                                 $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/27/2020 KBD        $      390.00          0.2 exchange correspondence regarding review of claims (.2)                                               $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/27/2020 KBD        $      390.00          0.2 Telephone conference with J. Wine regarding claims analysis work (.2)                                 $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/28/2020 KBD        $      390.00          0.7 Telephone conference with M. Rachlis regarding claims process (.7)                                    $         273.00
          Administration &
          Objections
   Apr‐20 Claims                4/29/2020 KBD        $      390.00          0.1 study correspondence from J. Wine regarding review of claims (.1).                                    $           39.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 KBD        $      390.00          0.2 work on response to claimant communication (.2)                                                       $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 KBD        $      390.00          1.2 Telephone conference with J. Wine, M. Rachlis, and A. Watychowicz regarding claims analysis           $         468.00
          Administration &                                                      duplicate claims, roll‐overs, incomplete submitted forms, institutional lender forms and supporting
          Objections                                                            documents, non‐lender claims, communications with claimants, and amendment to master claims
                                                                                spreadsheet (1.2)
   Apr‐20 Asset Disposition     4/14/2020 JRW        $      260.00          0.2 telephone conference with A. Porter regarding priority disputes and related legal research (.2).      $           52.00

   Apr‐20 Asset Disposition     4/15/2020 AEP        $      390.00          2.4 review entire file of newly‐ received judgments entered in water department cases, sort by            $         936.00
                                                                                property, compare with title commitments, eliminate inapplicable judgments and prepare
                                                                                spreadsheet for review by property managers to determine whether judgments were paid (2.4)

   Apr‐20 Asset Disposition     4/21/2020 AEP        $      390.00          1.1 review spreadsheet of judgments against EquityBuild affiliates produced by corporation counsel,      $          429.00
                                                                                reconcile with existing information, create amended spreadsheet listing all presently known
                                                                                judgments, and prepare e‐mail to corporation counsel with requests for additional information (1.1).




                                                                                           87 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 89 of 191 PageID #:53873
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                Task Cost
Month                                       Keeper        Rate
   Apr‐20 Asset Disposition     4/23/2020 AEP        $       390.00        2.2 review latest spreadsheet of building code judgments entered against receivership entities, research $           858.00
                                                                               cases online, reconcile and consolidate information with current spreadsheet, and sort by entity
                                                                               (2.2).
   Apr‐20 Asset Disposition     4/29/2020 JRW        $       260.00        0.1 exchange correspondence with J. Rak regarding property closings (.1).                                $             26.00

   Apr‐20 Business               4/9/2020 JRW        $      260.00           0.1 exchange correspondence with A. Porter regarding judgments entered against properties owned by       $           26.00
          Operations                                                             fund (.1)
   Apr‐20 Claims                 4/1/2020 AP         $      260.00           0.5 Telephone conference with claims vendor representatives, J. Wine, and A. Watychowicz regarding       $         130.00
          Administration &                                                       claim records and claims information entry into spreadsheet to enhance accessibility (.5)
          Objections
   Apr‐20 Claims                 4/1/2020 AP         $      260.00           3.1 analyze claims submissions for claim amount in reference to claims vendor data for properties (3.1). $         806.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 AW         $      140.00           0.2 communicate with J. Wine regarding claimant's question about fund and email exchanges with A.        $           28.00
          Administration &                                                       Porter regarding same (.2)
          Objections
   Apr‐20 Claims                 4/1/2020 AW         $      140.00           0.4 continue revisions to master list (.4).                                                              $           56.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 AW         $      140.00           0.5 Call with vendor regarding appendices to claims forms (.5)                                           $           70.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00           0.4 telephone conference with K. Duff regarding claims process and status of amendments to master        $         104.00
          Administration &                                                       claims spreadsheet and segregation of supporting documentation by property (.4)
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00           0.5 video conference with claims vendor regarding PDF appendices to submitted proof of claim forms       $         130.00
          Administration &                                                       (.5)
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00           0.6 work with A. Pruitt on entries on master claim spreadsheet (.6)                                      $         156.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00           0.8 attention to researching claims and amendment of master claims spreadsheet (.8)                      $         208.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00             1 conference call with potential vendor regarding demonstration of document repository platform        $         260.00
          Administration &                                                       (1.0).
          Objections
   Apr‐20 Claims                 4/1/2020 JRW        $      260.00           1.4 study and update list of property numbers and related correspondence with claims vendor (1.4)        $         364.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 KMP        $      140.00           1.7 Continue to review documents received from accounting firm to identify those potentially relating    $         238.00
          Administration &                                                       to claims.
          Objections
   Apr‐20 Claims                 4/1/2020 MR         $      390.00           0.4 Attention to issues on institutional lender's claims (.4)                                            $         156.00
          Administration &
          Objections
   Apr‐20 Claims                 4/1/2020 MR         $      390.00             1 participate in presentation regarding potential document repository (1.0).                           $         390.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 AEP        $      390.00           0.4 Review J. Wine spreadsheet of properties subject to investor‐lender claims but not subsumed within $           156.00
          Administration &                                                       receivership estate and reconcile spreadsheet against list of non‐receivership properties.
          Objections
   Apr‐20 Claims                 4/2/2020 AP         $      260.00           3.6 Analyze claims with respect to claim amount by property in connection with claims vendor             $         936.00
          Administration &                                                       automation process.
          Objections
   Apr‐20 Claims                 4/2/2020 AW         $      140.00           0.1 respond to claimant regarding his fund inquiry (.1)                                                  $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 AW         $      140.00           0.2 attention to email from claimant, research her claim, and communicate with J. Wine regarding same $              28.00
          Administration &                                                       (.2). Claims Administration and Objections
          Objections
   Apr‐20 Claims                 4/2/2020 AW         $      140.00           0.5 Continue revisions to master list as per instructions (.5)                                           $           70.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 AW         $      140.00           0.8 attention to email regarding missing claim forms for investors, locate claims if any, and provide    $         112.00
          Administration &                                                       detailed explanation to J. Wine regarding same (.8)
          Objections
   Apr‐20 Claims                 4/2/2020 JRW        $      260.00           0.2 Attention to reviewing and responding to claimants' inquiries regarding claims submissions (.2)      $           52.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 JRW        $      260.00           0.2 investigate and correspond with claim vendor regarding miscoding of properties (.2)                  $           52.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 JRW        $      260.00           0.4 exchange correspondence with claims vendor regarding necessary revisions to claims database (.4)     $         104.00
          Administration &
          Objections
   Apr‐20 Claims                 4/2/2020 JRW        $      260.00           3.3 continued investigation of rollover claim submissions of various claimants and related revision of   $         858.00
          Administration &                                                       master claims spreadsheet (3.3)
          Objections
   Apr‐20 Claims                 4/3/2020 AP         $      260.00           2.6 Analyze claims submissions for claim amount in reference to claims vendor data for properties.       $         676.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 AW         $      140.00           0.1 consult with J. Wine about claimants' email request (.1)                                             $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 AW         $      140.00           0.1 Respond to claimant's email (.1)                                                                     $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 AW         $      140.00           0.1 update responses to FAQ (.1)                                                                         $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 AW         $      140.00           0.2 communicate with J. Wine and A. Pruitt regarding future updates to database and create               $           28.00
          Administration &                                                       spreadsheets as per discussion (.2)
          Objections




                                                                                            88 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 90 of 191 PageID #:53874
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Apr‐20 Claims                 4/3/2020 AW        $       140.00        0.2 email exchanges with claims vendor regarding revisions to database and attention to further          $           28.00
          Administration &                                                    exchanges regarding same (.2)
          Objections
   Apr‐20 Claims                 4/3/2020 AW        $      140.00           0.3 communicate with J. Wine regarding claimants regarding multiple claims and details of same (.3)    $           42.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 AW        $      140.00           1.3 continue updates to master spreadsheet through review of claims portal database and hard copy      $         182.00
          Administration &                                                      submissions (1.3).
          Objections
   Apr‐20 Claims                 4/3/2020 JRW       $      260.00           0.1 confer with claims vendor regarding amendments to claimant names (.1)                              $           26.00
          Administration &
          Objections
   Apr‐20 Claims                 4/3/2020 JRW       $      260.00           0.2 email exchange with claims vendor, K. Duff, and A. Watychowicz regarding unmatched documents       $           52.00
          Administration &                                                      on flash drive (.2)
          Objections
   Apr‐20 Claims                 4/3/2020 JRW       $      260.00           0.5 telephone conference with A. Porter and J. Rak regarding properties owned by funds and the         $         130.00
          Administration &                                                      processing of claims against (.5)
          Objections
   Apr‐20 Claims                 4/3/2020 JRW       $      260.00           0.6 Review proof of claim appendices and related correspondence to claims vendor regarding matching    $         156.00
          Administration &                                                      appendices to claims against individual properties (.6)
          Objections
   Apr‐20 Claims                 4/6/2020 AP        $      260.00           1.5 Review and organize claims analysis information.                                                   $         390.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.1 communicate with J. Wine regarding claim details and (.1)                                          $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.1 follow up with J. Wine regarding revisions to property list and coding (.1)                        $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.1 respond to claimant regarding update and Receiver's communications (.1)                            $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.2 Attention to email from claimant regarding passing of his spouse and respond to same (.2)          $           28.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.3 email exchange with J. Wine regarding claimant with multiple amendments, review his submissions, $             42.00
          Administration &                                                      and communicate with J. Wine regarding finally submitted claims (.3)
          Objections
   Apr‐20 Claims                 4/6/2020 AW        $      140.00           0.3 revisions to updates to database (.3).                                                             $           42.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 JRW       $      260.00           0.1 Exchange correspondence with A. Watychowicz regarding response to claimant inquiry (.1)            $           26.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 JRW       $      260.00           0.2 confer with claims vendor regarding claims appendices and issues with claims database (.2)         $           52.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 JRW       $      260.00           0.3 work with A. Watychowicz on revisions to master property number list (.3)                          $           78.00
          Administration &
          Objections
   Apr‐20 Claims                 4/6/2020 JRW       $      260.00           0.6 exchange correspondence with claims vendor and A. Watychowicz regarding various claim              $         156.00
          Administration &                                                      submissions (.6)
          Objections
   Apr‐20 Claims                 4/6/2020 JRW       $      260.00           1.1 continue investigating rollover claims (1.1)                                                       $         286.00
          Administration &
          Objections
   Apr‐20 Claims                 4/7/2020 AP        $      260.00           3.8 Review and organize claims analysis information.                                                   $         988.00
          Administration &
          Objections
   Apr‐20 Claims                 4/7/2020 AW        $      140.00           0.1 Follow up with claimant regarding power of attorney issues and required documentation (.1)         $           14.00
          Administration &
          Objections
   Apr‐20 Claims                 4/7/2020 AW        $      140.00           0.2 attention to email from claimant, research her claim, email draft response to J. Wine (.2)         $           28.00
          Administration &
          Objections
   Apr‐20 Claims                 4/7/2020 AW        $      140.00           2.9 continue work on project (2.9).                                                                    $         406.00
          Administration &
          Objections
   Apr‐20 Claims                 4/7/2020 JRW       $      260.00           0.5 Continue analysis of claims submissions and updating of vendor data (.5)                           $         130.00
          Administration &
          Objections
   Apr‐20 Claims                 4/8/2020 AP        $      260.00           1.1 Review and organize claims analysis information for properties (1.1)                               $         286.00
          Administration &
          Objections
   Apr‐20 Claims                 4/8/2020 AP        $      260.00           4.8 review and organize claims analysis information by properties and claimants (4.8).                 $        1,248.00
          Administration &
          Objections
   Apr‐20 Claims                 4/8/2020 AW        $      140.00           0.2 Email J. Wine regarding claims that are still not resolved (.2)                                    $           28.00
          Administration &
          Objections
   Apr‐20 Claims                 4/8/2020 AW        $      140.00           1.1 apply further revisions to spreadsheet, cross reference vendor's results and communicate with      $         154.00
          Administration &                                                      vendor regarding revisions (1.1).
          Objections
   Apr‐20 Claims                 4/8/2020 JRW       $      260.00           0.3 exchange correspondence with claims vendor regarding corrections to claims data (.3)               $           78.00
          Administration &
          Objections
   Apr‐20 Claims                 4/8/2020 JRW       $      260.00           3.1 continue analyzing multiple proofs of claim and related updating of information in claims vendor   $         806.00
          Administration &                                                      database and master claims spreadsheet with information regarding loan rollovers (3.1).
          Objections
   Apr‐20 Claims                 4/9/2020 AP        $      260.00           4.8 Review and organize claims analysis information by properties and claimants.                       $        1,248.00
          Administration &
          Objections




                                                                                           89 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 91 of 191 PageID #:53875
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Apr‐20 Claims                 4/9/2020 AW        $       140.00        0.2 Communicate with J. Wine regarding review of claims with multiple addresses listed in section 3 of     $           28.00
          Administration &                                                    proof of claim form (.2)
          Objections
   Apr‐20 Claims                 4/9/2020 AW        $       140.00          4.5 start working on review of claims and update to Master spreadsheet and revisions (4.5).              $         630.00
          Administration &
          Objections
   Apr‐20 Claims                 4/9/2020 JRW       $       260.00          0.1 correspondence with claims vendor regarding proofs of claim in claims databases (.1).                $           26.00
          Administration &
          Objections
   Apr‐20 Claims                 4/9/2020 JRW       $       260.00          0.4 Analyze submitted claims in response to inquiry from claims vendor (.4)                              $         104.00
          Administration &
          Objections
   Apr‐20 Claims                 4/9/2020 JRW       $       260.00          0.4 work with A. Watychowicz and A. Pruitt on claims analysis (.4)                                       $         104.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AP        $       260.00          0.5 Work on claims analysis for properties and claimants (.5)                                            $         130.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AP        $       260.00          3.2 review and organize claims analysis information by properties and claimants (3.2).                   $         832.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.1 communicate with J. Wine regarding coding (.1)                                                       $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.2 Attention to approvals from counsel and respond to claimants' emails (.2)                            $           28.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.2 communicate with J. Wine follow up with vendor regarding appearance of some claim forms (.2)         $           28.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.3 call with vendor regarding properties and coding (.3)                                                $           42.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.7 communicate with J. Wine regarding claims against EquityBuild's former office buildings, research    $           98.00
          Administration &                                                      regarding same, and email exchanges with J. Wine regarding results (.7)
          Objections
   Apr‐20 Claims                4/10/2020 AW        $       140.00          0.8 continue working on review of claims and update to master spreadsheet and revisions (.8).            $         112.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 JRW       $       260.00          0.1 attention to draft response to claimant (.1).                                                        $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 JRW       $       260.00          0.2 review sample claims appendix from claims vendor and related report to K. Duff (.2)                  $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 JRW       $       260.00          0.4 work with A. Watychowicz to investigate claims listing an EquityBuild office address on claim form   $         104.00
          Administration &                                                      and amendment of same (.4)
          Objections
   Apr‐20 Claims                4/10/2020 JRW       $       260.00          0.6 review claim forms and related conference with A. Watychowicz regarding same (.6)                    $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/10/2020 JRW       $       260.00          1.5 Analyze claims made by claimant and related email exchange with A. Watychowicz regarding             $         390.00
          Administration &                                                      documentation (1.5)
          Objections
   Apr‐20 Claims                4/10/2020 MR        $       390.00          0.7 Attention to issues on claims, related review and exchanges regarding same with K. Duff.             $         273.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 AP        $       260.00            3 Work on claims analysis for properties and claimants.                                                $         780.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 AW        $       140.00          0.1 attention to email from claimant and draft response (.1)                                             $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 AW        $       140.00          0.1 communicate with J. Wine regarding details of claim and account statements (.1)                      $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 AW        $       140.00          0.2 Attention to email from vendor regarding vendor's notes on claims and respond to same (.2)           $           28.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 AW        $       140.00          0.3 email exchange with J. Wine regarding real estate portfolio and number of properties, compare        $           42.00
          Administration &                                                      vendor's and Receiver's list, review emails regarding same, and confirmation email to J. Wine (.3)
          Objections
   Apr‐20 Claims                4/13/2020 JRW       $       260.00          0.1 review and comment on draft response to claimant inquiry (.1)                                        $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 JRW       $       260.00          0.3 review EB records regarding specific claimants (.3).                                                 $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/13/2020 JRW       $       260.00          0.9 work with A. Pruitt regarding claims analysis information for specific claimants against multiple    $         234.00
          Administration &                                                      properties and funds and related email exchange (.9)
          Objections
   Apr‐20 Claims                4/14/2020 AEP       $       390.00          1.3 Teleconference with K. Duff and M. Rachlis regarding strategies for streamlining and refining        $         507.00
          Administration &                                                      approach to claims process.
          Objections
   Apr‐20 Claims                4/14/2020 AP        $       260.00          3.9 Review and organize claims analysis information for properties.                                      $        1,014.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 AW        $       140.00          0.1 attention to documents from claimant and communicate with K. Duff regarding same (.1)                $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 AW        $       140.00          0.2 Review claim (.2)                                                                                    $           28.00
          Administration &
          Objections




                                                                                           90 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 92 of 191 PageID #:53876
                                              ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Apr‐20 Claims                4/14/2020 AW        $       140.00        0.3 review multiple claims submitted by same claimant and email exchange with vendor regarding                $           42.00
          Administration &                                                    claimant's supporting documents and updated claim (.3)
          Objections
   Apr‐20 Claims                4/14/2020 AW        $      140.00          0.4 attention to emails from claimants, review claims, and respond via email (.4)                            $           56.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 AW        $      140.00          4.9 continued review of claims and updates to master and database (4.9).                                     $         686.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 JRW       $      260.00          0.1 analyze claim (.1)                                                                                       $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 JRW       $      260.00          0.1 exchange correspondence with claims vendor regarding assets in estate (.1)                               $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 JRW       $      260.00          0.6 work with A. Watychowicz on database revisions and claims against former EquityBuild properties          $         156.00
          Administration &                                                     (.6)
          Objections
   Apr‐20 Claims                4/14/2020 JRW       $      260.00          0.7 study EquityBuild statements and spreadsheet and related summary to K. Duff and M. Rachlis (.7)          $         182.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 JRW       $      260.00          1.4 Extensive telephone conference with K. Duff and M. Rachlis regarding claims process (1.4)                $         364.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 MR        $      390.00          1.3 further conferences with A. Porter and K. Duff relating to claims (1.3)                                  $         507.00
          Administration &
          Objections
   Apr‐20 Claims                4/14/2020 MR        $      390.00          1.8 Conferences with K. Duff and J. Wine regarding claims and prepare for same (1.8)                         $         702.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 AEP       $      390.00            1 Teleconference with K. Duff, M. Rachlis, and J. Wine regarding complexities associated with              $         390.00
          Administration &                                                     administration of claims process and alternative strategies for streamlining claimant lists and claims
          Objections                                                           analysis.
   Apr‐20 Claims                4/15/2020 AP        $      260.00          3.2 Review and organize claims analysis information for properties.                                          $         832.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 AW        $      140.00          0.6 conference with J. Wine regarding suggested revisions and re‐coding of master and work on same           $           84.00
          Administration &                                                     (.6).
          Objections
   Apr‐20 Claims                4/15/2020 AW        $      140.00          4.5 Continued review of claims, updates to master and database, and multiple communications with J.          $         630.00
          Administration &                                                     Wine regarding issues with claims (4.5)
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.1 telephone conference with claims vendor regarding projected completion of project (.1)                   $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.2 research and related email exchange with A. Watychowicz regarding claimant name (.2)                     $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.3 attention to responding to claimant inquiries (.3)                                                       $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.4 Review client history spreadsheet (.4)                                                                   $         104.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.7 review and revise notes in master claims spreadsheet, and related email exchanges with A.                $         182.00
          Administration &                                                     Watychowicz and A. Pruitt (.7)
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          0.7 telephone conferences with A. Watychowicz regarding procedures for evaluating claims (.7).               $         182.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00          1.4 telephone conference with K. Duff, M. Rachlis and A. Porter regarding claims process (1.4)               $         364.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 JRW       $      260.00            2 review multiple proofs of claim and update master claims spreadsheet and necessary corrections to        $         520.00
          Administration &                                                     claims database (2.0)
          Objections
   Apr‐20 Claims                4/15/2020 MR        $      390.00          0.5 Prepare for (.5)                                                                                         $         195.00
          Administration &
          Objections
   Apr‐20 Claims                4/15/2020 MR        $      390.00          1.4 and participate in lengthy call regarding claims process issues with K. Duff, J. Wine and A. Porter      $         546.00
          Administration &                                                     (1.4).
          Objections
   Apr‐20 Claims                4/16/2020 AW        $      140.00          0.1 respond to claimant's inquiry (.1)                                                                       $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 AW        $      140.00          0.4 attention to voicemail from claimant, multiple email exchanges regarding response (.4)                   $           56.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 AW        $      140.00          0.7 Continue review of claims and revisions to Master (.7)                                                   $           98.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 AW        $      140.00          1.1 continue review of claims (1.1).                                                                         $         154.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 AW        $      140.00          3.5 start claim review as per new instructions and report to J. Wine regarding progress (3.5)                $         490.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 JRW       $      260.00          0.1 attention to responding to claimant inquiry (.1).                                                        $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 JRW       $      260.00          0.1 confer with A. Porter regarding EquityBuild portfolio and properties (.1)                                $           26.00
          Administration &
          Objections




                                                                                          91 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 93 of 191 PageID #:53877
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Apr‐20 Claims                4/16/2020 JRW        $       260.00        0.1 review correspondence regarding claimant inquiry (.1)                                                 $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 JRW        $      260.00          0.2 correspond with claims vendor regarding next set of revisions to claims database (.2)                $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 JRW        $      260.00          0.6 work with A. Watychowicz on claims analysis procedures (.6)                                          $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/16/2020 JRW        $      260.00          4.5 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $          1,170.00
          Administration &                                                      claims spreadsheet, and update information in claims database for claimants (4.5)
          Objections
   Apr‐20 Claims                4/16/2020 MR         $      390.00          0.2 Exchange regarding follow up from investor and attention to issues on scheduling regarding claim     $           78.00
          Administration &                                                      process motion and related issues.
          Objections
   Apr‐20 Claims                4/17/2020 AW         $      140.00          0.3 Correspond with J. Wine regarding response to claimants' emails (.3)                                 $           42.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 AW         $      140.00          4.9 continued review of claims and update to master claims list (4.9).                                   $         686.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00          0.4 technical support from claims vendor regarding database problems (.4).                               $         104.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00          0.4 telephone conference with K. Duff regarding claims process (.4)                                      $         104.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00          0.5 work with A. Watychowicz on investigation and respond to claimant inquiries (.5)                     $         130.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00          0.6 study proofs of claim and update master claims spreadsheet and revisions list (.6)                   $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00            1 investigate and respond to issues raised by claims vendor (1.0)                                      $         260.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 JRW        $      260.00          2.6 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           676.00
          Administration &                                                      claims spreadsheet, and update information in claims database for claimants (2.6)
          Objections
   Apr‐20 Claims                4/17/2020 MR         $      390.00          0.2 Attention to claims related issues (.2)                                                              $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/17/2020 MR         $      390.00          0.4 conference with K. Duff on claims process issues (.4).                                               $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 AW         $      140.00          0.1 attention to spreadsheet emailed by J. Wine and review same (.1)                                     $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 AW         $      140.00          0.1 call with J. Wine regarding claim and supporting documents (.1)                                      $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 AW         $      140.00          0.1 Follow up with K. Duff regarding responses to claimants (.1)                                         $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 AW         $      140.00          3.5 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $         490.00
          Administration &                                                      claims spreadsheet, and update information in claims database for claimants (3.5).
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          0.2 email exchange and telephone conference with claims vendor regarding coding of claims against        $           52.00
          Administration &                                                      funds (.2).
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          0.2 work with A. Watychowicz on procedures for analyzing claims (.2)                                     $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          0.3 Attention to reviewing and responding to claimants' inquiries regarding claims submissions (.3)      $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          0.8 study records regarding claimant (.8)                                                                $         208.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          1.3 study records regarding claimant (1.3)                                                               $         338.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 JRW        $      260.00          4.7 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $        1,222.00
          Administration &                                                      claims spreadsheet, and update information in claims database for claimants (4.7)
          Objections
   Apr‐20 Claims                4/20/2020 KMP        $      140.00          0.6 Work with A. Watychowicz on process for claims review.                                               $           84.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 MR         $      390.00          0.2 and additional conferences with K. Duff regarding same (.2).                                         $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 MR         $      390.00          0.3 follow up with K. Duff regarding same (.3)                                                           $         117.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 MR         $      390.00          0.7 Review materials regarding claims on properties (.7)                                                 $         273.00
          Administration &
          Objections
   Apr‐20 Claims                4/20/2020 MR         $      390.00          0.8 attention to various claim process related issues and emails (.8)                                    $         312.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 AP         $      260.00          1.5 Work with J. Wine on claims analysis for properties (1.5)                                            $         390.00
          Administration &
          Objections




                                                                                           92 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 94 of 191 PageID #:53878
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Apr‐20 Claims                4/21/2020 AP         $       260.00        3.8 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master     $         988.00
          Administration &                                                     claims spreadsheet, and update information in claims database for claimants (3.8).
          Objections
   Apr‐20 Claims                4/21/2020 AW         $      140.00           0.1 attention to email from claimant regarding change of mailing address and update same (.1)            $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 AW         $      140.00           0.2 attention to revised responses to claimants and reply via email (.2).                                $           28.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 AW         $      140.00           0.5 locate, analyze, and discuss with J. Wine multiple claims submissions from claimant (.5)             $           70.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 AW         $      140.00           3.8 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           532.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (3.8)
          Objections
   Apr‐20 Claims                4/21/2020 JRW        $      260.00           0.1 review responses to claimant inquiries (.1).                                                         $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 JRW        $      260.00           0.4 telephone conferences with A. Watychowicz regarding claims analysis (.4)                             $         104.00
          Administration &
          Objections
   Apr‐20 Claims                4/21/2020 JRW        $      260.00           3.2 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           832.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (3.2)
          Objections
   Apr‐20 Claims                4/22/2020 AP         $      260.00             3 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           780.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants.
          Objections
   Apr‐20 Claims                4/22/2020 AW         $      140.00           0.1 follow up with K. Duff regarding draft responses to claimants (.1)                                   $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 AW         $      140.00           0.3 attention to correspondence from claimants, review their claims, and respond to same (.3)            $           42.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 AW         $      140.00           8.3 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $          1,162.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (8.3)
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           0.1 attention to claimant inquiries (.1)                                                                 $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           0.2 exchange correspondence with K. Duff regarding property and funds (.2).                              $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           0.2 investigate and exchange correspondence with A. Pruitt and A. Porter regarding claimant's claim      $           52.00
          Administration &                                                       against fund (.2)
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           0.2 work with A. Pruitt on claims (.2)                                                                   $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           0.6 telephone conferences with A. Watychowicz regarding claims analysis (.6)                             $         156.00
          Administration &
          Objections
   Apr‐20 Claims                4/22/2020 JRW        $      260.00           4.9 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $          1,274.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (4.9)
          Objections
   Apr‐20 Claims                4/22/2020 SZ         $      110.00             5 Review of 31 individual claims to ensure accuracy between investors' submissions and those on        $         550.00
          Administration &                                                       record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/23/2020 AP         $      260.00           5.8 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $          1,508.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants.
          Objections
   Apr‐20 Claims                4/23/2020 AW         $      140.00           0.1 attention to email from claimant and respond to same (.1).                                           $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/23/2020 AW         $      140.00           0.4 Attention to voice message from claimant regarding his claim, identify claimant, review submitted    $           56.00
          Administration &                                                       claim, draft email response, and confirm with J. Wine claim classification (.4)
          Objections
   Apr‐20 Claims                4/23/2020 AW         $      140.00           6.4 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $         896.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (6.4)
          Objections
   Apr‐20 Claims                4/23/2020 JRW        $      260.00           0.1 attention to claimant inquiry (.1)                                                                   $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/23/2020 JRW        $      260.00           0.1 exchange correspondence with claims vendor regarding updates to claims data (.1).                    $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/23/2020 JRW        $      260.00           1.8 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           468.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (1.8)
          Objections
   Apr‐20 Claims                4/23/2020 SZ         $      110.00           4.5 Continued to review individual claims to ensure accuracy between investors' submissions and those    $         495.00
          Administration &                                                       on record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/24/2020 AP         $      260.00           0.2 Review correspondence from J. Wine and vendor and respond regarding analysis of claim for            $           52.00
          Administration &                                                       claimant (.2)
          Objections
   Apr‐20 Claims                4/24/2020 AP         $      260.00           2.4 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $         624.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (2.4).
          Objections
   Apr‐20 Claims                4/24/2020 AW         $      140.00           0.4 communicate with J. Wine regarding claimant, review claim and search for supporting documents        $           56.00
          Administration &                                                       (.4).
          Objections
   Apr‐20 Claims                4/24/2020 JRW        $      260.00           0.2 work with A. Watychowicz regarding claims submitted by claimants (.2)                                $           52.00
          Administration &
          Objections




                                                                                            93 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 95 of 191 PageID #:53879
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Apr‐20 Claims                4/24/2020 JRW        $       260.00        5.8 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $            1,508.00
          Administration &                                                     claims spreadsheet, and update information in claims database for claimants (5.8)
          Objections
   Apr‐20 Claims                4/24/2020 SZ         $      110.00           4.5 Reviewed property and monetary claims submitted by investors to ensure accuracy between              $         495.00
          Administration &                                                       investors' submissions and those on record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/27/2020 AP         $      260.00           1.7 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           442.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants.
          Objections
   Apr‐20 Claims                4/27/2020 AW         $      140.00           0.1 Respond to email follow‐up from claimant (.1)                                                        $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/27/2020 AW         $      140.00           5.4 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $         756.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (5.4).
          Objections
   Apr‐20 Claims                4/27/2020 JRW        $      260.00           0.2 confer with E. Duff , A. Watychowicz and K. Duff regarding claims (.2).                              $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/27/2020 JRW        $      260.00           5.5 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $          1,430.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (5.5)
          Objections
   Apr‐20 Claims                4/27/2020 SZ         $      110.00           4.3 Reviewed property and monetary claims submitted by investors to ensure accuracy between              $         473.00
          Administration &                                                       investors' submissions and those on record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/28/2020 AW         $      140.00           5.5 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $         770.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (5.5).
          Objections
   Apr‐20 Claims                4/28/2020 JRW        $      260.00           0.3 correspond with E. Duff, A. Porter and A. Watychowicz regarding institutional lender claims and      $           78.00
          Administration &                                                       related revision of TNET report for claims vendor (.3).
          Objections
   Apr‐20 Claims                4/28/2020 JRW        $      260.00           2.5 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           650.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (2.5)
          Objections
   Apr‐20 Claims                4/28/2020 MR         $      390.00           0.7 Conferences with K. Duff regarding claims process review.                                            $         273.00
          Administration &
          Objections
   Apr‐20 Claims                4/28/2020 SZ         $      110.00           4.2 Reviewed property and monetary claims submitted by investors to ensure accuracy between              $         462.00
          Administration &                                                       investors' submissions and those on record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/29/2020 AEP        $      390.00           0.2 Read e‐mail from J. Wine regarding fund entities (.2)                                                $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/29/2020 AW         $      140.00           2.7 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           378.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (2.7)
          Objections
   Apr‐20 Claims                4/29/2020 JRW        $      260.00           0.2 prepare new set of revisions to claims database and related correspondence to claims vendor (.2)     $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/29/2020 JRW        $      260.00           0.3 analyze duplicate claims and related correspondence to claims vendor (.3).                           $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/29/2020 JRW        $      260.00           2.1 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           546.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (2.1)
          Objections
   Apr‐20 Claims                4/29/2020 SZ         $      110.00           4.2 Reviewed property and monetary claims submitted by investors to ensure accuracy between              $         462.00
          Administration &                                                       investors' submissions and those on record with Receiver and claims vendor.
          Objections
   Apr‐20 Claims                4/30/2020 AW         $      140.00           0.1 attention to encrypted message from vendor (.1).                                                     $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 AW         $      140.00           0.1 draft email response to claimant (.1)                                                                $           14.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 AW         $      140.00           1.2 conference call with J. Wine, K. Duff, and M. Rachlis regarding claims (1.2)                         $         168.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 AW         $      140.00           3.6 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $           504.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (3.6)
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           0.1 exchange correspondence with claims vendor regarding corrections to claims database (.1)             $           26.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           0.2 related review of supporting documentation (.2)                                                      $           52.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           0.3 study claims from trade creditor related email to A. Porter (.3)                                     $           78.00
          Administration &
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           0.4 study claims of claimant and update master claims spreadsheet and related telephone conference       $         104.00
          Administration &                                                       with A. Watychowicz (.4)
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           0.4 telephone conference with claims vendor regarding unmatched claims in database and                   $         104.00
          Administration &                                                       documentation in support of claimant (.4)
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00            1 study records regarding claims made by independent contractors, trade creditors, and institutional    $         260.00
          Administration &                                                      lenders, and claims designated as type "other" (1.0).
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           1.1 work with A. Watychowicz and S. Zjalic regarding master claims spreadsheet, and remaining            $         286.00
          Administration &                                                       questions regarding claims (1.1)
          Objections
   Apr‐20 Claims                4/30/2020 JRW        $      260.00           1.2 telephone conference with K. Duff, M. Rachlis and A. Watychowicz regarding status of claims          $         312.00
          Administration &                                                       analysis, treatment of rollovers and duplicate claims, and institutional lender and trade creditor
          Objections                                                             claims (1.2)




                                                                                            94 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 96 of 191 PageID #:53880
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Apr‐20 Claims                4/30/2020 JRW        $       260.00        1.4 Analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master $             364.00
          Administration &                                                     claims spreadsheet, and update information in claims database for claimants (1.4)
          Objections
   Apr‐20 Claims                4/30/2020 MR         $      390.00           1.2 Conference with J. Wine, K. Duff and A. Watychowicz regarding attention to claims analysis, rollover $         468.00
          Administration &                                                       issues and other claims.
          Objections
   May‐20 Claims                 5/1/2020 KBD        $      390.00           0.2 Study claimant submission (.2)                                                                      $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/1/2020 KBD        $      390.00           0.2 work on response to claimant communication (.2)                                                     $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/2/2020 KBD        $      390.00           0.2 Exchange correspondence with A. Watychowicz regarding rollovers.                                    $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/3/2020 KBD        $      390.00           0.2 work on correspondence regarding potential resolution of claim (.2)                                 $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/3/2020 KBD        $      390.00           0.2 work on issues regarding production of documents relating to claims (.2).                           $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 KBD        $      390.00           0.1 work on responses to claimant (.1).                                                                 $            39.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 KBD        $      390.00           0.2 study rollover analysis for certain investors (.2)                                                  $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 KBD        $      390.00           0.2 Telephone conference with J. Wine regarding removal of duplicate claims and institutional lender    $            78.00
          Administration &                                                       claims (.2)
          Objections
   May‐20 Claims                 5/5/2020 KBD        $      390.00           0.1 exchange correspondence with K. Pritchard regarding claim (.1)                                      $            39.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 KBD        $      390.00           0.1 Telephone conference with J. Wine regarding claims analysis and review (.1)                         $            39.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 KBD        $      390.00           0.2 study analysis of claims (.2).                                                                      $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 KBD        $      390.00           0.2 study correspondence regarding same (.2)                                                            $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 KBD        $      390.00           0.1 Telephone conference with J. Wine regarding master claims spreadsheet, amounts claimed, and         $            39.00
          Administration &                                                       information gaps in claim forms (.1)
          Objections
   May‐20 Claims                 5/7/2020 KBD        $      390.00           0.4 work on response to claimant communication (.4)                                                     $          156.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 KBD        $      390.00           0.1 exchange correspondence with A. Porter regarding claim components (.1)                              $            39.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 KBD        $      390.00           0.2 study correspondence with claimants' counsel regarding marketing of properties (.2).                $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 KBD        $      390.00           0.3 exchange correspondence with J. Wine regarding claims analysis (.3)                                 $          117.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 KBD        $      390.00           0.1 draft correspondence to J. Wine regarding potential document repository (.1)                        $            39.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 KBD        $      390.00           0.1 draft correspondence to M. Rachlis regarding claims process motion (.1)                             $            39.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 KBD        $      390.00           0.1 exchange correspondence regarding amendment of claims process motion exhibits (.1).                 $            39.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 KBD        $      390.00           0.2 Exchange correspondence with A. Watychowicz regarding communication with claimant regarding         $            78.00
          Administration &                                                       potential distribution timing (.2)
          Objections
   May‐20 Claims                5/11/2020 KBD        $      390.00           0.2 work on response to claimants inquiries (.2)                                                        $            78.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 KBD        $      390.00           0.3 study draft notice of amendment of master claims exhibit and exchange correspondence regarding      $          117.00
          Administration &                                                       same (.3)
          Objections
   May‐20 Claims                5/12/2020 KBD        $      390.00           3.1 Draft and revise various communications with various claimants and exchange correspondence with $             1,209.00
          Administration &                                                       A. Watychowicz regarding same (3.1)
          Objections
   May‐20 Claims                5/13/2020 KBD        $      390.00           0.1 telephone conference with J. Wine regarding claims analysis (.1)                                    $            39.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 KBD        $      390.00           0.5 Exchange correspondence with A. Watychowicz regarding responses to claimant inquiries and           $          195.00
          Administration &                                                       corrections to claims spreadsheet (.5)
          Objections
   May‐20 Claims                5/14/2020 KBD        $      390.00           0.2 study claims review update (.2).                                                                    $            78.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 KBD        $      390.00           0.3 Work on responses to claimant communications (.3)                                                   $          117.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 KBD        $      390.00           0.2 Exchange correspondence with J. Wine regarding claims review, unsecured claims, and process (.2)    $            78.00
          Administration &
          Objections




                                                                                            95 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 97 of 191 PageID #:53881
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   May‐20 Claims                5/15/2020 KBD        $       390.00        0.6 attention to claimant communications and responses (.6).                                               $         234.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 KBD        $      390.00          0.1 Attention to claim and related documents (.1)                                                         $           39.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 KBD        $      390.00          0.1 work on response to claimant (.1).                                                                    $           39.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 KBD        $      390.00          0.2 review claim issue (.2)                                                                               $           78.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 KBD        $      390.00          0.8 Work on response to claimants (.8)                                                                    $         312.00
          Administration &
          Objections
   May‐20 Claims                5/21/2020 KBD        $      390.00          0.2 exchange correspondence with claimant's counsel regarding request for claims information and          $           78.00
          Administration &                                                      exchange correspondence with A. Watychowicz regarding same (.2).
          Objections
   May‐20 Claims                5/21/2020 KBD        $      390.00          0.2 further work with J. Wine on claims relating to rollover issue and presenting claims spreadsheet in   $           78.00
          Administration &                                                      alternate formats (.2)
          Objections
   May‐20 Claims                5/21/2020 KBD        $      390.00          0.3 Work on analysis of rollover issues with J. Wine and A. Watychowicz relating to submitted claims      $         117.00
          Administration &                                                      and updating information on master claims spreadsheet (.3)
          Objections
   May‐20 Claims                5/21/2020 KBD        $      390.00            1 draft responses to claimants regarding various aspect of claims submissions and claims process and    $         390.00
          Administration &                                                      communicate with A. Watychowicz relating to same (1.0)
          Objections
   May‐20 Claims                5/22/2020 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding document repository vendor (.1).                       $           39.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding claims spreadsheet and nature of claims (.2)           $           78.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 KBD        $      390.00          0.8 Work on responses to claimant inquiries (.8)                                                          $         312.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 KBD        $      390.00          0.5 work on responses to various claimants and review of analysis for claims (.5).                        $         195.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 KBD        $      390.00          0.1 review correspondence regarding potential document repository (.1)                                    $           39.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 KBD        $      390.00          0.1 review draft notice to potential claimant (.1)                                                        $           39.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 KBD        $      390.00          1.3 attention to responses to claimants (1.3)                                                             $         507.00
          Administration &
          Objections
   May‐20 Claims                5/28/2020 KBD        $      390.00          0.1 attention to correspondence with claimant's counsel regarding updated claims spreadsheet (.1).        $           39.00
          Administration &
          Objections
   May‐20 Claims                5/28/2020 KBD        $      390.00          0.2 review potential terms for agreement relating to document repository (.2)                             $           78.00
          Administration &
          Objections
   May‐20 Claims                5/28/2020 KBD        $      390.00          0.4 Work on responses to claimants (.4)                                                                   $         156.00
          Administration &
          Objections
   May‐20 Claims                5/29/2020 KBD        $      390.00          0.1 draft correspondence to claimant's counsel regarding status report and claimant list (.1)             $           39.00
          Administration &
          Objections
   May‐20 Claims                5/29/2020 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding claims process (.1)                                    $           39.00
          Administration &
          Objections
   May‐20 Claims                5/29/2020 KBD        $      390.00          0.1 work on potential document vendor with J. Wine (.1)                                                   $           39.00
          Administration &
          Objections
   May‐20 Claims                5/29/2020 KBD        $      390.00          2.3 Attention to communication from claimants (2.3)                                                       $         897.00
          Administration &
          Objections
   May‐20 Claims                5/31/2020 KBD        $      390.00          0.1 work on responses to claimants (.1).                                                                  $           39.00
          Administration &
          Objections
   May‐20 Asset Disposition      5/1/2020 AW         $      140.00          0.1 Communicate with J. Wine regarding publication order (.1)                                             $           14.00

  May‐20 Asset Disposition       5/1/2020 AW         $      140.00          0.1 communicate with J. Wine regarding state notices and attention to email regarding same (.1).          $           14.00

  May‐20 Business                5/5/2020 AW         $      140.00          0.9 Attention to email from K. Duff regarding and work on draft response brief.                           $         126.00
         Operations
  May‐20 Claims                  5/1/2020 AW         $      140.00          0.1 attention to follow up email from claimant and communicate with K. Duff regarding response (.1)       $           14.00
         Administration &
         Objections
  May‐20 Claims                  5/1/2020 AW         $      140.00          0.1 attention to questions from claims vendor regarding claimant, research, and respond to same (.1)      $           14.00
         Administration &
         Objections
  May‐20 Claims                  5/1/2020 AW         $      140.00          0.2 call with J. Wine regarding outstanding responses to claimants (.2).                                  $           28.00
         Administration &
         Objections
  May‐20 Claims                  5/1/2020 AW         $      140.00          0.2 Respond to emails from claimants (.2)                                                                 $           28.00
         Administration &
         Objections
  May‐20 Claims                  5/1/2020 JRW        $      260.00          0.7 Respond to questions from claims vendor regarding revisions to claims database (.7)                   $         182.00
         Administration &
         Objections




                                                                                           96 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 98 of 191 PageID #:53882
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                 Task Cost
Month                                       Keeper        Rate
   May‐20 Claims                 5/1/2020 JRW        $       260.00        3.9 analyze rollover claims and related revision of master claims spreadsheet and update information in $            1,014.00
          Administration &                                                     database (3.9).
          Objections
   May‐20 Claims                 5/2/2020 JRW        $      260.00           0.4 prepare summary of rollover claims (.4).                                                             $          104.00
          Administration &
          Objections
   May‐20 Claims                 5/2/2020 JRW        $      260.00           2.3 Continued analysis of rollover claims and related revision of master claims spreadsheet and          $          598.00
          Administration &                                                       updating of information in database (2.3)
          Objections
   May‐20 Claims                 5/3/2020 MR         $      390.00           0.3 Attention to issues on components of claims library and claims process.                              $          117.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 AW         $      140.00           0.1 Follow up with J. Wine regarding response to claimant's email and respond to same (.1)               $            14.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 AW         $      140.00           0.4 communicate with K. Duff regarding claimants' inquiries and research regarding their claims (.4).    $            56.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 AW         $      140.00           0.8 supplement master claims sheet with numerous funds coding and review claimant's submission (.8)      $          112.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 AW         $      140.00           1.9 attention to communication regarding claims, research EquityBuild emails, and report on same (1.9) $            266.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           0.1 confer with A. Watychowicz regarding rollover claims (.1)                                            $            26.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           0.2 related review and revision of form responses to frequently asked questions (.2)                     $            52.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           0.2 Review and revise responses to inquiries from claimants (.2)                                         $            52.00
          Administration &
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           0.4 correspond with claims vendor regarding numbering of claims against funds and prepare                $          104.00
          Administration &                                                       spreadsheet regarding same (.4)
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           0.9 analyze proof of claim forms, supporting documents, and related EquityBuild records, revise master   $          234.00
          Administration &                                                       claims spreadsheet, and update information in claims database for claimants (.9)
          Objections
   May‐20 Claims                 5/4/2020 JRW        $      260.00           5.9 conduct analysis of submitted claims to prepare estimates of number of claims and aggregate          $         1,534.00
          Administration &                                                       amounts by property (5.9).
          Objections
   May‐20 Claims                 5/5/2020 AW         $      140.00           0.5 review exhibit filed with claims motion to confirm what claims should be included on amended         $            70.00
          Administration &                                                       exhibit and email exchange with J. Wine regarding same (.5)
          Objections
   May‐20 Claims                 5/5/2020 AW         $      140.00           0.6 start working on draft amended exhibit related to claims motion (.6).                                $            84.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 ED         $      390.00           0.3 ;and email correspondence regarding summary information relating to same (.3).                       $          117.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 ED         $      390.00           0.6 Call with J. Wine to discuss work on claims (.6)                                                     $          234.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.1 correspondence to claims vendor regarding data missing from claim appendix (.1)                      $            26.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.2 correspondence to K. Duff regarding results of analysis to estimate aggregate claims by property (.2) $           52.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.2 telephone conference with K. Duff regarding claims analysis (.2)                                     $            52.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.3 analyze proof of claim form and supporting documents for claimant (.3)                               $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.3 email exchange with A. Watychowicz regarding amended exhibit 1 (.3)                                  $            78.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.4 Finalize analysis of submitted claims to prepare estimates of number of claims and aggregate         $          104.00
          Administration &                                                       amounts by property (.4)
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           0.6 telephone conference with E. Duff regarding claims (.6)                                              $          156.00
          Administration &
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00             1 study proofs of claim and respond to questions from claims vendor regarding requested updates to     $          260.00
          Administration &                                                       database (1.0).
          Objections
   May‐20 Claims                 5/5/2020 JRW        $      260.00           2.1 study asset portfolio, mortgage loan summary, and proof of claim, and update records regarding       $          546.00
          Administration &                                                       institutional lender claims (2.1)
          Objections
   May‐20 Claims                 5/6/2020 AW         $      140.00           0.1 respond to emails from claimants (.1).                                                               $            14.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 AW         $      140.00           0.4 communicate with J. Wine regarding issues with database, claimants, and revisions to master          $            56.00
          Administration &                                                       spreadsheet (.4)
          Objections
   May‐20 Claims                 5/6/2020 AW         $      140.00           2.8 Review claims and update master spreadsheet with claim numbers and additional information (2.8)      $          392.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 AW         $      140.00           3.8 continue revisions to master spreadsheet based on review of claims for claimants (3.8)               $          532.00
          Administration &
          Objections




                                                                                            97 of 190
   Case: 1:18-cv-05587 Document #:EquityBuild
                                   1107-9          Filed: 12/22/21 Page 99 of 191 PageID #:53883
                                              ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                 Task Cost
Month                                       Keeper        Rate
   May‐20 Claims                 5/6/2020 JRW        $       260.00        0.1 confer with A. Watychowicz regarding institutional lender claims (.1)                                $           26.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.1 exchange correspondence with claims vendor regarding database records for claimant (.1)            $           26.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.2 analyze proof of claim form and supporting documents, revise master claims spreadsheet, and        $           52.00
          Administration &                                                       update information in claims database for claimant (.2)
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.2 confer with A. Watychowicz regarding generating amended exhibit to claims process motion and       $           52.00
          Administration &                                                       related revisions to master claims spreadsheet (.2)
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.3 Confer with claims vendor regarding updates to claims database (.3)                                $           78.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.3 telephone conference with A. Watychowicz regarding multiple issues related to claims (.3)          $           78.00
          Administration &
          Objections
   May‐20 Claims                 5/6/2020 JRW        $       260.00          0.7 review correspondence, proof of claim and supporting documentation from claimant and update        $         182.00
          Administration &                                                       master claims spreadsheet and claims database (.7)
          Objections
   May‐20 Claims                 5/7/2020 AW         $       140.00          0.2 Attention to email from claimant, review his claim, and draft response to same.                    $           28.00
          Administration &
          Objections
   May‐20 Claims                 5/7/2020 JRW        $       260.00          0.2 Exchange correspondence with claims vendor regarding total number of submitted claims (.2)         $           52.00
          Administration &
          Objections
   May‐20 Claims                 5/7/2020 JRW        $       260.00          0.2 investigate claim submission and work with A. Watychowicz and K. Duff to respond to claimant       $           52.00
          Administration &                                                       inquiry (.2).
          Objections
   May‐20 Claims                 5/7/2020 MR         $       390.00          0.1 attention to various claims issues (.1).                                                           $           39.00
          Administration &
          Objections
   May‐20 Claims                 5/7/2020 MR         $       390.00          0.5 Review and revise response regarding property sales to claimants' counsel (.5)                     $         195.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 AW         $       140.00          0.1 attention to communications regarding claims process and number of submitted claims (.1).          $           14.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 AW         $       140.00          0.1 Respond to email from claimant (.1)                                                                $           14.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 JRW        $       260.00          0.1 Exchange correspondence with claims vendor regarding claims submissions received (.1)              $           26.00
          Administration &
          Objections
   May‐20 Claims                 5/8/2020 JRW        $       260.00          0.4 exchange correspondence with K. Duff regarding institutional lender claims and related review of   $         104.00
          Administration &                                                       records in claims database (.4).
          Objections
   May‐20 Claims                 5/8/2020 JRW        $       260.00          0.5 analyze number of claims received and related report to K. Duff (.5)                               $         130.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 AW         $       140.00          0.2 respond to emails from claimants (.2)                                                              $           28.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 AW         $       140.00          0.3 communicate with J. Wine regarding additional claims (.3).                                         $           42.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 AW         $       140.00          0.7 Attention to emails from claimant, review claims, and draft email responses (.7)                   $           98.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 AW         $       140.00          0.9 attention to email response regarding claims and apply revisions (.9)                              $         126.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.1 review and comment on draft responses to claimant inquiries (.1).                                  $           26.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.2 correspond with claims vendor regarding fields for export of data for all claims records (.2)      $           52.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.3 review pleadings and draft correspondence to K. Duff and M. Rachlis regarding notice of amended    $           78.00
          Administration &                                                       exhibits (.3)
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.4 related exchange of correspondence with claims vendor regarding revisions to claims records and    $         104.00
          Administration &                                                       supplementation of documentation in claims database (.4)
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.6 update records in claims database for various claimants (.6)                                       $         156.00
          Administration &
          Objections
   May‐20 Claims                5/11/2020 JRW        $       260.00          0.9 Analyze claims and related telephone conference with A. Watychowicz (.9)                           $         234.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 AW         $       140.00          0.1 review notice of filing of amended exhibit to claims motion (.1).                                  $           14.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 AW         $       140.00          0.3 call with J. Wine regarding same (.3)                                                              $           42.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 AW         $       140.00          0.3 request substantial revisions in claims portal (.3)                                                $           42.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 AW         $       140.00          0.6 respond to emails from claimants (.6)                                                              $           84.00
          Administration &
          Objections




                                                                                            98 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 100 of 191 PageID #:53884
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                Task Cost
Month                                      Keeper        Rate
   May‐20 Claims                5/12/2020 AW        $       140.00        1.3 continue review of claims and revisions to master claims sheet (1.3)                                  $         182.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 AW        $       140.00          1.8 Attention to emails from claimant, review their claims, and draft email responses (1.8)             $         252.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 JRW       $       260.00          0.2 telephone conference and email exchange with claims vendor regarding listing of claims in database $            52.00
          Administration &                                                      (.2)
          Objections
   May‐20 Claims                5/12/2020 JRW       $       260.00          0.5 draft notice of filing amended exhibits to claims process motion (.5).                              $         130.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 JRW       $       260.00          0.7 Exchange correspondence with claims vendor regarding revisions to claims records and                $         182.00
          Administration &                                                      supplementation of documentation in claims database and related review of records (.7)
          Objections
   May‐20 Claims                5/12/2020 JRW       $       260.00          0.8 attention to responding to claimant inquiries (.8)                                                  $         208.00
          Administration &
          Objections
   May‐20 Claims                5/12/2020 JRW       $       260.00          0.9 attention to creation of amended master claims exhibit and related communications with S. Zjalic    $         234.00
          Administration &                                                      and A. Watychowicz (.9)
          Objections
   May‐20 Claims                5/12/2020 SZ        $       110.00          5.6 Completed review of numerous entries from master list against claims forms.                         $         616.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 AW        $       140.00          0.1 request database update as per claimant request (.1)                                                $           14.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 AW        $       140.00          0.2 communicate with claims vendor regarding upload of additional claims and means to transfer (.2).    $           28.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 AW        $       140.00          0.3 communicate with K. Duff regarding inquiries from claimants and requests to update claims (.3)      $           42.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 AW        $       140.00          0.8 Respond to emails from claimants (.8)                                                               $         112.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 JRW       $       260.00          0.1 attention to responding to claimant inquiries (.1).                                                 $           26.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 JRW       $       260.00          0.5 review trade creditor, independent contractor and "other" claims (.5)                               $         130.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 JRW       $       260.00          2.1 Attention to reconciling claims in database with master claims spreadsheet (2.1)                    $         546.00
          Administration &
          Objections
   May‐20 Claims                5/13/2020 SZ        $       110.00          7.5 Further review of master claims list against claims forms.                                          $         825.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 AW        $       140.00          0.2 communicate with claims vendor regarding submitted claims and related coding (.2)                   $           28.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 AW        $       140.00          0.2 communicate with J. Wine regarding issue with claim and solution (.2).                              $           28.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 AW        $       140.00          0.6 Respond to emails from claimants (.6)                                                               $           84.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          0.1 attention to responding to claimant inquiries (.1)                                                  $           26.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          0.2 Confer with claims vendor regarding claims questions (.2)                                           $           52.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          0.3 prepare summary of claims reconciliation progress and remaining issues (.3).                        $           78.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          0.5 related conferences with A. Watychowicz and claims vendor (.5)                                      $         130.00
          Administration &
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          0.8 research regarding multiple claims submitted by claimant and related email regarding revisions to   $         208.00
          Administration &                                                      claims database (.8)
          Objections
   May‐20 Claims                5/14/2020 JRW       $       260.00          4.5 continued attention to reconciling claims in database with master claims spreadsheet (4.5)          $        1,170.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 AW        $       140.00          0.1 Communicate with K. Duff regarding submitted claim (.1)                                             $           14.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 AW        $       140.00          0.1 correspond with J. Wine regarding claims submitted by former EquityBuild employees (.1)             $           14.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 AW        $       140.00          0.3 respond to emails from claimants (.3)                                                               $           42.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 AW        $       140.00          1.2 start review of unique claims without assigned property (1.2)                                       $         168.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 JRW       $       260.00          0.1 attention to responding to claimant inquiries (.1)                                                  $           26.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 JRW       $       260.00          0.4 prepare analysis regarding treatment of claims against former EquityBuild properties and other      $         104.00
          Administration &                                                      unsecured claims and related telephone conference with K. Duff (.4)
          Objections




                                                                                           99 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 101 of 191 PageID #:53885
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   May‐20 Claims                5/15/2020 JRW        $       260.00        0.6 Exchange correspondence with claims vendor regarding additional revisions to claims database for       $         156.00
          Administration &                                                     individual claims (.6)
          Objections
   May‐20 Claims                5/15/2020 JRW        $      260.00           0.7 conferences with A. Watychowicz regarding analysis of claims in database (.7)                        $         182.00
          Administration &
          Objections
   May‐20 Claims                5/15/2020 JRW        $      260.00           0.8 study claim form, supporting documentation, and responsive email from A. Porter, related             $         208.00
          Administration &                                                       conference with K. Duff and draft follow‐up response to claimant (.8)
          Objections
   May‐20 Claims                5/15/2020 JRW        $      260.00           1.4 review claims in database, revise master claims spreadsheet, and update information in claims        $         364.00
          Administration &                                                       database for multiple claimants (1.4).
          Objections
   May‐20 Claims                5/18/2020 AW         $      140.00           0.1 communicate with claims vendor regarding access to database (.1)                                     $           14.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 AW         $      140.00           0.4 Attention to emails from claimants, draft email responses for K. Duff's approval, and respond to     $           56.00
          Administration &                                                       claimants (.4)
          Objections
   May‐20 Claims                5/18/2020 AW         $      140.00           2.3 continue analysis of proof of claim forms, supporting documents, and related EquityBuild records,    $         322.00
          Administration &                                                       revise master claims spreadsheet, and update information in claims database for claimants (2.3).
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           0.1 correspondence with claims vendor regarding checked out documents (.1)                               $           26.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           0.2 investigate claimant inquiry an related email to A. Porter (.2)                                      $           52.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           0.2 review and revise responses to claimant inquiries (.2)                                               $           52.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           0.2 review draft confidentiality order and related correspondence with M. Rachlis and counsel for        $           52.00
          Administration &                                                       claimant (.2)
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           0.3 Compile claims for claimant (.3)                                                                     $           78.00
          Administration &
          Objections
   May‐20 Claims                5/18/2020 JRW        $      260.00           2.4 review claims in database, revise master claims spreadsheet, and update information in claims        $         624.00
          Administration &                                                       database for multiple claimants (2.4).
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           0.1 email exchange with claims vendor regarding additional updates to database (.1).                     $           14.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           0.2 Attention to emails from claimants (.2)                                                              $           28.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           0.2 email exchange with claims vendor regarding updates requested by claimants (.2)                      $           28.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           0.3 respond to emails from claimants (.3)                                                                $           42.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           0.3 review their claims, and draft responses for K. Duff's consideration (.3)                            $           42.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 AW         $      140.00           1.3 continue analysis of proof of claim forms, supporting documents, and related EquityBuild records,    $         182.00
          Administration &                                                       revise master claims spreadsheet, and update information in claims database for claimants (1.3)
          Objections
   May‐20 Claims                5/19/2020 JRW        $      260.00           0.1 attention to responding to claimant inquiries (.1)                                                   $           26.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 JRW        $      260.00           0.1 correspondence with claims vendor regarding database record for claimant (.1)                        $           26.00
          Administration &
          Objections
   May‐20 Claims                5/19/2020 JRW        $      260.00           0.2 exchange correspondence with counsel for institutional lender and related review of revisions to     $           52.00
          Administration &                                                       amended confidentiality order (.2).
          Objections
   May‐20 Claims                5/19/2020 JRW        $      260.00             2 Review claims in database, revise master claims spreadsheet, and update information in claims        $         520.00
          Administration &                                                       database for multiple claimants (2.0)
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.1 email K. Duff regarding claimants' inquiries related to notice of filing of amended exhibits (.1).   $           14.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.2 Correspond with claims vendor regarding requested revisions to database (.2)                         $           28.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.4 attention to email from claimants, correspond with K. Duff regarding same, and respond to            $           56.00
          Administration &                                                       claimants (.4)
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.4 prepare exhibits to notice of filing of amended exhibits and revise certificate of service (.4)      $           56.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.5 finalize notice, file with court, and serve as per service list (.5)                                 $           70.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           0.9 communicate with J. Wine regarding amended exhibit to claims motion, revisions to amended            $         126.00
          Administration &                                                       exhibit, and generate same (.9)
          Objections
   May‐20 Claims                5/20/2020 AW         $      140.00           1.4 continue analysis of proof of claim forms, supporting documents, and related EquityBuild records,    $         196.00
          Administration &                                                       revise master claims spreadsheet, and update information in claims database for claimants (1.4)
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00           0.2 and related exchange of correspondence with SEC (.2)                                                 $           52.00
          Administration &
          Objections




                                                                                            100 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 102 of 191 PageID #:53886
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                       Task Cost
Month                                       Keeper        Rate
   May‐20 Claims                5/20/2020 JRW        $       260.00        0.2 correspondence with K. Duff and A. Watychowicz regarding claim (.2)                                       $           52.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00          0.2 Review and revise response to claimant inquiries (.2)                                                    $           52.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00          0.2 revisions to proposed confidentiality order (.2)                                                         $           52.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00          0.4 proof and finalize amended exhibit 1 to claims process motion (.4)                                       $         104.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00          0.5 revise, finalize and file notice of filing amended exhibits to claims process motion (.5)                $         130.00
          Administration &
          Objections
   May‐20 Claims                5/20/2020 JRW        $      260.00          0.6 telephone conferences with A. Watychowicz regarding master claims exhibit (.6)                           $         156.00
          Administration &
          Objections
   May‐20 Claims                5/21/2020 AW         $      140.00          0.2 communicate with claims vendor regarding updates to database (.2).                                       $           28.00
          Administration &
          Objections
   May‐20 Claims                5/21/2020 AW         $      140.00          1.8 continue analysis of proof of claim forms, supporting documents, and related EquityBuild records,        $         252.00
          Administration &                                                      revise master claims spreadsheet, and update information in claims database for claimants (1.8)
          Objections
   May‐20 Claims                5/21/2020 AW         $      140.00          3.1 Attention to emails from claimants in response to recently filed notice of filing of amended exhibits,   $         434.00
          Administration &                                                      attention to claims, email exchanges with K. Duff and J. Wine regarding responses, and respond to
          Objections                                                            claimants (3.1)
   May‐20 Claims                5/21/2020 JRW        $      260.00          0.4 telephone conference with K. Duff and A. Watychowicz regarding treatment of rollover claims and          $         104.00
          Administration &                                                      strategy for responding to claimant inquiries (.4).
          Objections
   May‐20 Claims                5/21/2020 JRW        $      260.00          1.2 attention to drafting and revision of responses to multiple claimant inquiries (1.2)                     $         312.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 AW         $      140.00          0.6 Attention to emails from claimants in response to recently filed notice of filing of amended exhibits,   $           84.00
          Administration &                                                      attention to their claims, email exchanges with K. Duff and J. Wine regarding responses, and
          Objections                                                            respond to claimants (.6)
   May‐20 Claims                5/22/2020 AW         $      140.00          2.4 continued revisions to master claims spreadsheet based on review of submitted claims (2.4).              $         336.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 JRW        $      260.00          0.5 work with A. Watychowicz on formatting and finalizing master claims exhibit (.5).                        $         130.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 JRW        $      260.00          0.6 Attention to investigating and responding to claimant inquiries (.6)                                     $         156.00
          Administration &
          Objections
   May‐20 Claims                5/22/2020 JRW        $      260.00          0.9 review claim submissions to confirm updated in master spreadsheet (.9)                                   $         234.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 AW         $      140.00          0.1 Communicate with claims vendor regarding revisions to database (.1)                                      $           14.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 AW         $      140.00          0.1 communicate with J. Wine regarding emails from claimants (.1)                                            $           14.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 AW         $      140.00          0.1 communicate with K. Duff regarding amended exhibit (.1)                                                  $           14.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 AW         $      140.00          0.2 call with claimant representative and follow up via email (.2)                                           $           28.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 AW         $      140.00          0.6 draft email responses to claimants and follow up communication with K. Duff regarding same (.6).         $           84.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 JRW        $      260.00          0.3 Attention to responding to claimant inquiries (.3)                                                       $           78.00
          Administration &
          Objections
   May‐20 Claims                5/26/2020 JRW        $      260.00          0.9 study proof of claim and supporting documentation from claimant and related correspondence with $                  234.00
          Administration &                                                      K. Duff regarding inquiry from same (.9).
          Objections
   May‐20 Claims                5/27/2020 AW         $      140.00          5.9 Attention to emails from claimants, revisions to master claims list, request updates to database,        $         826.00
          Administration &                                                      work on responses to emails, and respond to emails from claimants.
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.1 email exchange with K. Duff regarding potential contract with e‐discovery vendor (.1).                   $           26.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.2 confer with A. Watychowicz regarding buyouts and loan purchases (.2)                                     $           52.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.2 related telephone conference with A. Watychowicz (.2)                                                    $           52.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.3 telephone conference with potential vendor regarding demo database (.3)                                  $           78.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.4 research regarding e‐ discovery databases (.4)                                                           $         104.00
          Administration &
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.6 exchange correspondence with K. Duff and A. Watychowicz regarding entity bringing claims and             $         156.00
          Administration &                                                      related review of proof of claim (.6)
          Objections
   May‐20 Claims                5/27/2020 JRW        $      260.00          0.7 related testing of demo database (.7)                                                                    $         182.00
          Administration &
          Objections




                                                                                          101 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 103 of 191 PageID #:53887
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                          Task Description                                                   Task Cost
Month                                        Keeper        Rate
   May‐20 Claims                 5/27/2020 JRW        $       260.00        1.2 Attention to investigating and responding to claimant inquiries (1.2)                                   $         312.00
           Administration &
           Objections
   May‐20 Claims                 5/28/2020 AW         $       140.00          0.4 Work with K. Duff on responses to claimants' inquiries.                                               $           56.00
           Administration &
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.1 exchange correspondence regarding inquiry from counsel for claimant regarding amendment to            $           26.00
           Administration &                                                       master claim sheet (.1)
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.3 review statement of work and email exchange with potential claims repository vendor regarding         $           78.00
           Administration &                                                       terms of agreement (.3)
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.4 Exchange correspondence regarding response to claimant inquiry and related review of claims           $         104.00
           Administration &                                                       documentation (.4)
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.4 telephone conference with potential e‐discovery vendor regarding e‐discovery platform (.4)            $         104.00
           Administration &
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.4 telephone conference with vendor (.4).                                                                $         104.00
           Administration &
           Objections
   May‐20 Claims                 5/28/2020 JRW        $       260.00          0.9 review master services agreement from potential e‐ discovery vendor and related correspondence        $         234.00
           Administration &                                                       regarding terms (.9)
           Objections
   May‐20 Claims                 5/29/2020 AW         $       140.00          6.7 Work on responses and respond to emails from claimants regarding master claims list, and request      $         938.00
           Administration &                                                       updates to claims database (6.7)
           Objections
   May‐20 Claims                 5/29/2020 JRW        $       260.00          0.4 review inquiries from multiple claimants and related exchange of draft responses with A.              $         104.00
           Administration &                                                       Watychowicz and K. Duff (.4).
           Objections
   May‐20 Claims                 5/29/2020 JRW        $       260.00          0.4 telephone conference with potential document repository vendor regarding logistics and statement $              104.00
           Administration &                                                       of work (.4)
           Objections
   May‐20 Claims                 5/29/2020 JRW        $       260.00          0.4 Telephone conference with potential email discovery vendor regarding project needs (.4)               $         104.00
           Administration &
           Objections
   May‐20 Claims                 5/29/2020 MR         $       390.00          0.4 Attention to response to claims issues (.4)                                                           $         156.00
           Administration &
           Objections
    Jun‐20 Claims                 6/1/2020 KBD        $       390.00          0.6 attention to responses to claimants' inquiries (.6).                                                  $         234.00
           Administration &
           Objections
    Jun‐20 Claims                 6/2/2020 KBD        $       390.00          0.7 Work on responses to claimant inquiries (.7)                                                          $         273.00
           Administration &
           Objections
    Jun‐20 Claims                 6/3/2020 KBD        $       390.00          0.3 exchange correspondence with M. Rachlis regarding process for claims on properties (.3)               $         117.00
           Administration &
           Objections
    Jun‐20 Claims                 6/3/2020 KBD        $       390.00          0.5 attention to claimants' inquiries (.5)                                                                $         195.00
           Administration &
           Objections
    Jun‐20 Claims                 6/3/2020 KBD        $       390.00          0.8 Work on various responses to claimants regarding claims process, timing, and various related issues   $         312.00
           Administration &                                                       (.8)
           Objections
    Jun‐20 Claims                 6/3/2020 KBD        $       390.00          0.9 work on claims process with J. Wine (.9)                                                              $         351.00
           Administration &
           Objections
    Jun‐20 Claims                 6/4/2020 KBD        $       390.00          0.1 review correspondence to claims vendor regarding invoice (.1).                                        $           39.00
           Administration &
           Objections
    Jun‐20 Claims                 6/4/2020 KBD        $       390.00          0.4 Work on responses to various claimants' inquiries (.4)                                                $         156.00
           Administration &
           Objections
    Jun‐20 Claims                 6/5/2020 KBD        $       390.00          0.3 attention to responses to claimants' inquiries (.3)                                                   $         117.00
           Administration &
           Objections
    Jun‐20 Claims                 6/8/2020 KBD        $       390.00          0.2 study information regarding analysis of claims on properties (.2)                                     $           78.00
           Administration &
           Objections
    Jun‐20 Claims                 6/8/2020 KBD        $       390.00          0.2 work on claims vendor assembly of institutional lender documents including telephone conference       $           78.00
           Administration &                                                       with A. Watychowicz (.2)
           Objections
    Jun‐20 Claims                 6/8/2020 KBD        $       390.00          0.4 Work on issues raised by claimants and communications relating to same (.4)                           $         156.00
           Administration &
           Objections
    Jun‐20 Claims                 6/9/2020 KBD        $       390.00          0.2 Attention to claimant inquiries and responses (.2)                                                    $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/10/2020 KBD        $       390.00          0.7 telephone conference with A. Watychowicz, J. Wine, and M. Rachlis regarding claims document           $         273.00
           Administration &                                                       logistics for providing to claimants and work with claims vendors and review correspondence and
           Objections                                                             information regarding same (.7).
    Jun‐20 Claims                6/11/2020 KBD        $       390.00          0.1 review draft correspondence regarding claim correction (.1)                                           $           39.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 KBD        $       390.00          0.2 attention to communications relating to investigation of claims (.2)                                  $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 KBD        $       390.00          0.2 exchange correspondence regarding claims conferences (.2)                                             $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 KBD        $       390.00          0.4 attention to receiver role and summary proceedings (.4).                                              $         156.00
           Administration &
           Objections




                                                                                            102 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 104 of 191 PageID #:53888
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                        Task Description                                                   Task Cost
Month                                        Keeper        Rate
    Jun‐20 Claims                6/12/2020 KBD        $       390.00        0.1 exchange correspondence with potential document repository vendor (.1)                                $           39.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 KBD        $      390.00          0.9 work on responses to claimants (.9)                                                                  $         351.00
           Administration &
           Objections
    Jun‐20 Claims                6/14/2020 KBD        $      390.00          5.2 Draft reply in support of claims process motion.                                                     $        2,028.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 KBD        $      390.00          0.2 attention to request for information from claimant's counsel and draft correspondence to M. Rachlis $            78.00
           Administration &                                                      regarding same (.2).
           Objections
    Jun‐20 Claims                6/15/2020 KBD        $      390.00          0.2 review correspondence from claimants (.2)                                                            $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/16/2020 KBD        $      390.00          0.1 draft correspondence to J. Wine and A. Watychowicz regarding EB employees and claims (.1).           $           39.00
           Administration &
           Objections
    Jun‐20 Claims                6/17/2020 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding filed claims [employees] (.1)                  $           39.00
           Administration &
           Objections
    Jun‐20 Claims                6/17/2020 KBD        $      390.00          0.1 exchange correspondence with claimant counsel regarding insurance certificate and draft              $           39.00
           Administration &                                                      correspondence requesting same (.1)
           Objections
    Jun‐20 Claims                6/17/2020 KBD        $      390.00          1.8 Study and revise draft reply brief regarding claims process (1.8)                                    $         702.00
           Administration &
           Objections
    Jun‐20 Claims                6/18/2020 KBD        $      390.00          0.1 attention communications with claimant (.1).                                                         $           39.00
           Administration &
           Objections
    Jun‐20 Claims                6/18/2020 KBD        $      390.00          0.2 exchange correspondence with A. Watychowicz regarding claims data (.2)                               $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/18/2020 KBD        $      390.00          5.7 Study and revise claims process reply brief (5.7)                                                    $        2,223.00
           Administration &
           Objections
    Jun‐20 Claims                6/19/2020 KBD        $      390.00          0.2 exchange correspondence with A. Watychowicz and J. Wine claim statistics (.2)                        $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/19/2020 KBD        $      390.00          0.2 study correspondence from claimant regarding sale of property (.2).                                  $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/20/2020 KBD        $      390.00          4.7 Draft and revise claims motion reply and exchange correspondence with M. Rachlis regarding same      $        1,833.00
           Administration &                                                      (4.7)
           Objections
    Jun‐20 Claims                6/21/2020 KBD        $      390.00          2.3 Draft and revise claims motion reply.                                                                $         897.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 KBD        $      390.00          0.2 exchange correspondence regarding language for order relating to earnest money issue and             $           78.00
           Administration &                                                      communication with claimant's counsel regarding same (.2)
           Objections
    Jun‐20 Claims                6/22/2020 KBD        $      390.00            4 Work on claims motion reply with M. Rachlis, J. Wine and A. Watychowicz (4.0)                        $        1,560.00
           Administration &
           Objections
    Jun‐20 Claims                6/23/2020 KBD        $      390.00          0.2 exchange correspondence with E. Duff and M. Rachlis regarding accounting reports and insurance       $           78.00
           Administration &                                                      adjustments (.2)
           Objections
    Jun‐20 Claims                6/23/2020 KBD        $      390.00          0.4 Draft and revise correspondence to claimants regarding inquiries (.4)                                $         156.00
           Administration &
           Objections
    Jun‐20 Claims                6/24/2020 KBD        $      390.00          0.4 work on response to claimant (.4)                                                                    $         156.00
           Administration &
           Objections
    Jun‐20 Claims                6/24/2020 KBD        $      390.00          1.2 Telephone conference with and study correspondence from M. Rachlis and J. Wine regarding lender $              468.00
           Administration &                                                      motion for oral argument, reimbursement motion, and claims process motion (1.2)
           Objections
    Jun‐20 Claims                6/25/2020 KBD        $      390.00          0.2 work on response to claimant (.2).                                                                   $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/30/2020 KBD        $      390.00          0.1 work on responses to claimants (.1).                                                                 $           39.00
           Administration &
           Objections
    Jun‐20 Asset Disposition      6/1/2020 JR         $      140.00          0.3 research information related to same and communication with K. Pritchard regarding same (.3).        $           42.00

   Jun‐20 Asset Disposition       6/3/2020 AEP        $      390.00          0.5 Continue reviewing spreadsheet received from City of Chicago regarding unpaid judgments on           $         195.00
                                                                                 receivership properties and begin allocating expenses among receivership properties (.5)

   Jun‐20 Asset Disposition       6/4/2020 AEP        $      390.00          0.2 begin reviewing most recent judgments filed against receivership properties and updating master      $           78.00
                                                                                 judgment spreadsheet accordingly (.2).
   Jun‐20 Asset Disposition       6/5/2020 AEP        $      390.00          0.4 review copies of new judgments against receivership properties received from title company and       $         156.00
                                                                                 begin updating spreadsheet of all judgments against receivership properties (.4)

   Jun‐20 Asset Disposition       6/8/2020 AEP        $      390.00          0.5 conference call with J. Rak regarding organization of pleadings relating to all administrative and   $         195.00
                                                                                 judicial proceedings and strategy for ascertaining current status of each, as well as status of
                                                                                 preparation of closing documents for all future sales (.5)
   Jun‐20 Asset Disposition      6/17/2020 JR         $      140.00          0.1 exchange correspondence with the leasing manager regarding same (.1)                                 $           14.00

   Jun‐20 Asset Disposition      6/18/2020 AEP        $      390.00          1.8 continue reviewing and analyzing all notices of violation and complaints associated with any         $         702.00
                                                                                 receivership property, attempting to check status of same on City of Chicago Department of
                                                                                 Buildings website, reconciling information with spreadsheet of violations, and communicating with
                                                                                 City of Chicago corporation counsel regarding payment status and existence of publicly recorded
                                                                                 notices of judgment associated with recently entered judgments (1.8)




                                                                                           103 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 105 of 191 PageID #:53889
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                            Task Description                                              Task Cost
Month                                        Keeper        Rate
    Jun‐20 Asset Disposition     6/20/2020 AEP        $       390.00        0.8 pull all remaining documents pertaining to administrative and housing court proceedings filed       $          312.00
                                                                                against receivership properties from folders maintained by former EquityBuild counsel in connection
                                                                                with final judgment reconciliation with City of Chicago (.8)
   Jun‐20 Business               6/29/2020 JRW        $       260.00        0.2 Review new general notice posted on City of Chicago administrative hearings website and related     $            52.00
          Operations                                                            correspondence to team (.2)
   Jun‐20 Claims                  6/1/2020 AW         $       140.00        0.3 email exchanges with claims vendor regarding revisions to database (.3)                             $            42.00
          Administration &
          Objections
   Jun‐20 Claims                  6/1/2020 AW         $      140.00           1.9 Attention to emails from claimants regarding Master Claims List, draft responses for K. Duff's     $         266.00
          Administration &                                                        approval, apply revisions to Master Claims List and database, and respond to emails (1.9)
          Objections
   Jun‐20 Claims                  6/2/2020 AW         $      140.00           0.3 Respond to claimants' emails relating to recently filed status report.                             $           42.00
          Administration &
          Objections
   Jun‐20 Claims                  6/2/2020 JRW        $      260.00           1.2 study private placement memoranda and subscription agreements (1.2)                                $         312.00
          Administration &
          Objections
   Jun‐20 Claims                  6/2/2020 JRW        $      260.00           1.4 Review multiple claimant inquiries and responses and related exchange of correspondence with A.    $         364.00
          Administration &                                                        Watychowicz and K. Duff regarding proposed responses (1.4)
          Objections
   Jun‐20 Claims                  6/3/2020 AW         $      140.00           0.1 request additional revisions to database (.1).                                                     $           14.00
          Administration &
          Objections
   Jun‐20 Claims                  6/3/2020 AW         $      140.00           0.2 communicate with K. Duff and J. Wine regarding outstanding responses to claimants and attention    $           28.00
          Administration &                                                        to revised drafts (.2)
          Objections
   Jun‐20 Claims                  6/3/2020 AW         $      140.00           0.2 email exchange with J. Wine and research regarding coding practice for claims against funds (.2)   $           28.00
          Administration &
          Objections
   Jun‐20 Claims                  6/3/2020 ED         $      390.00           0.3 Review files and email correspondence relating to documents submitted by institutional lender      $         117.00
          Administration &                                                        relating to claims and email correspondence with A. Watychowicz and M. Rachlis regarding same.
          Objections
   Jun‐20 Claims                  6/3/2020 JRW        $      260.00           0.1 correspond with A. Watychowicz regarding analysis of claims against properties in funds (.1)       $           26.00
          Administration &
          Objections
   Jun‐20 Claims                  6/3/2020 JRW        $      260.00           0.9 telephone conference with K. Duff regarding claimant issues, structure of EquityBuild funds, and   $         234.00
          Administration &                                                        second claims process motion (.9)
          Objections
   Jun‐20 Claims                  6/3/2020 JRW        $      260.00           2.4 Investigate and correspond with K. Duff and A. Watychowicz regarding issues raised in claimant     $         624.00
          Administration &                                                        inquiries (2.4)
          Objections
   Jun‐20 Claims                  6/4/2020 AW         $      140.00           0.4 follow up with counsel regarding requests from claimants and draft responses (.4).                 $           56.00
          Administration &
          Objections
   Jun‐20 Claims                  6/4/2020 JRW        $      260.00           0.1 confer with A. Watychowicz regarding documentation supporting claims from institutional lender     $           26.00
          Administration &                                                        (.1).
          Objections
   Jun‐20 Claims                  6/4/2020 JRW        $      260.00           0.2 correspond with K. Duff and A. Watychowicz regarding response to claimant inquiry (.2)             $           52.00
          Administration &
          Objections
   Jun‐20 Claims                  6/4/2020 JRW        $      260.00           0.5 Research regarding claims process and related review of prior briefing and orders (.5)             $         130.00
          Administration &
          Objections
   Jun‐20 Claims                  6/5/2020 AW         $      140.00           0.1 communicate with K. Duff regarding responses to claimants (.1).                                    $           14.00
          Administration &
          Objections
   Jun‐20 Claims                  6/5/2020 AW         $      140.00           0.3 Communicate with J. Wine regarding claims and native sheets submitted with claims and supporting $             42.00
          Administration &                                                        documentation (.3)
          Objections
   Jun‐20 Claims                  6/5/2020 AW         $      140.00           1.3 review claims and further communication with J. Wine regarding same (1.3)                          $         182.00
          Administration &
          Objections
   Jun‐20 Claims                  6/5/2020 JRW        $      260.00           0.3 attention to drafting responses to claimant inquiries (.3).                                        $           78.00
          Administration &
          Objections
   Jun‐20 Claims                  6/5/2020 JRW        $      260.00           0.7 Study claims and work with A. Watychowicz on updating claims database (.7)                         $         182.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 AW         $      140.00           0.1 attention to voicemail from claimant and communicate with K. Duff regarding response (.1).         $           14.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 AW         $      140.00           0.2 call with K. Duff regarding same (.2)                                                              $           28.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 AW         $      140.00           0.3 email exchanges with claims vendor regarding revisions to database (.3)                            $           42.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 AW         $      140.00           0.6 Work on outstanding responses to claimants (.6)                                                    $           84.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 AW         $      140.00           0.8 prepare additional files for upload to database and share with claims vendor (.8)                  $         112.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 JRW        $      260.00           0.1 exchange correspondence with K. Duff regarding claimant's amendment of claim (.1)                  $           26.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 JRW        $      260.00           0.1 revise draft response to claimant inquiry (.1)                                                     $           26.00
          Administration &
          Objections
   Jun‐20 Claims                  6/8/2020 JRW        $      260.00           0.2 exchange correspondence with A. Watychowicz and K. Duff regarding notice to counsel for            $           52.00
          Administration &                                                        institutional lenders regarding correction to master claims spreadsheet and related review of
          Objections                                                              signature blocks (.2)
   Jun‐20 Claims                  6/8/2020 JRW        $      260.00           0.2 update master spreadsheet for claimant and related correspondence with A. Watychowicz (.2)         $           52.00
          Administration &
          Objections




                                                                                            104 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 106 of 191 PageID #:53890
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                        Task Description                                                   Task Cost
Month                                        Keeper        Rate
    Jun‐20 Claims                 6/8/2020 JRW        $       260.00        0.4 Review claim forms and exchange correspondence with A. Watychowicz and K. Duff regarding              $         104.00
           Administration &                                                     format of production (.4)
           Objections
    Jun‐20 Claims                 6/8/2020 JRW        $      260.00          0.5 review correspondence regarding claimant inquiries and draft responses to same (.5)                  $         130.00
           Administration &
           Objections
    Jun‐20 Claims                 6/8/2020 JRW        $      260.00          0.8 study objections to claims process motion (.8).                                                      $         208.00
           Administration &
           Objections
    Jun‐20 Claims                 6/8/2020 JRW        $      260.00          1.3 attention to proposed process for claims on properties (1.3)                                         $         338.00
           Administration &
           Objections
    Jun‐20 Claims                 6/9/2020 AW         $      140.00          0.1 ; attention to communication from claimant and communicate with counsel regarding same (.1).         $           14.00
           Administration &
           Objections
    Jun‐20 Claims                 6/9/2020 JRW        $      260.00          0.2 review proof of claim and related correspondence with A. Porter and K. Duff (.2)                     $           52.00
           Administration &
           Objections
    Jun‐20 Claims                6/10/2020 AW         $      140.00          0.2 call with J. Wine regarding processing of voluminous production from claimant (.2).                  $           28.00
           Administration &
           Objections
    Jun‐20 Claims                6/10/2020 AW         $      140.00          0.2 Email exchanges with claims vendor regarding revisions and supplements to lenders' claims and        $           28.00
           Administration &                                                      extraction of Excel files for depository purpose (.2)
           Objections
    Jun‐20 Claims                6/10/2020 AW         $      140.00          0.7 conference with M. Rachlis, K. Duff, and J. Wine regarding claims, database, and upcoming projects   $           98.00
           Administration &                                                      (.7)
           Objections
    Jun‐20 Claims                6/10/2020 JRW        $      260.00          0.2 follow‐up call with A. Watychowicz regarding claims database issues (.2).                            $           52.00
           Administration &
           Objections
    Jun‐20 Claims                6/10/2020 JRW        $      260.00          0.2 review claim forms and spreadsheet in preparation for same (.2)                                      $           52.00
           Administration &
           Objections
    Jun‐20 Claims                6/10/2020 JRW        $      260.00          0.6 Conference call with K. Duff, M. Rachlis and A. Watychowicz regarding handling of spreadsheets and $           156.00
           Administration &                                                      claimant's supporting documentation in claims database (.6)
           Objections
    Jun‐20 Claims                6/11/2020 AW         $      140.00          0.2 email M. Rachlis materials relating to preparation of reply in support of claims motion (.2).        $           28.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 AW         $      140.00          2.3 start processing claimants documents, convert to pdf files, Bates label, and start indexing (2.3)    $         322.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 JRW        $      260.00          0.1 Confer with A. Watychowicz regarding claims documentation (.1)                                       $           26.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 JRW        $      260.00            1 study objections to claims process motion (1.0)                                                      $         260.00
           Administration &
           Objections
    Jun‐20 Claims                6/11/2020 JRW        $      260.00          2.2 work with K. Duff and M. Rachlis on reply brief in support of claims process motion (2.2).           $         572.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 AW         $      140.00          0.1 communicate with J. Wine regarding issues with supporting documents from claimant (.1).              $           14.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 AW         $      140.00          0.1 Correspond with claimant's counsel regarding removal from mailing list (.1)                          $           14.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 AW         $      140.00          1.2 correspond with K. Duff and J. Wine regarding responses to claimants (1.2)                           $         168.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 JRW        $      260.00            1 correspond with A. Watychowicz and K. Duff regarding responding to claimant inquiries (1.0)          $         260.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 JRW        $      260.00          1.7 Legal research for reply to motion for approval of claims process (1.7)                              $         442.00
           Administration &
           Objections
    Jun‐20 Claims                6/12/2020 MR         $      390.00            1 Participate in meeting regarding claims issues.                                                      $         390.00
           Administration &
           Objections
    Jun‐20 Claims                6/13/2020 MR         $      390.00          5.5 Work on claims process response brief.                                                               $        2,145.00
           Administration &
           Objections
    Jun‐20 Claims                6/14/2020 MR         $      390.00            6 Work on claims process response brief.                                                               $        2,340.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 AW         $      140.00          0.1 attention to revisions in database (.1)                                                              $           14.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 AW         $      140.00          0.2 respond to emails from claimants (.2)                                                                $           28.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 AW         $      140.00          0.3 lengthy email to claims vendor regarding upload of voluminous supporting documents (.3).             $           42.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 AW         $      140.00          0.4 Attention to emails from claimants and correspond with K. Duff and J. Wine regarding responses (.4) $            56.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 JRW        $      260.00          0.1 confer with A. Watychowicz regarding claims documentation (.1)                                       $           26.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 JRW        $      260.00          0.3 Research regarding claimants (.3)                                                                    $           78.00
           Administration &
           Objections




                                                                                           105 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 107 of 191 PageID #:53891
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                          Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jun‐20 Claims                6/15/2020 JRW        $       260.00        0.7 prepare notes regarding claims process reply brief (.7).                                                   $         182.00
           Administration &
           Objections
    Jun‐20 Claims                6/15/2020 JRW        $      260.00          0.8 review inquiries from claimants and related investigation and correspondence with K. Duff, A.             $         208.00
           Administration &                                                      Watychowicz and A. Porter (.8)
           Objections
    Jun‐20 Claims                6/16/2020 AW         $      140.00          0.2 Respond to emails from claimants (.2)                                                                     $           28.00
           Administration &
           Objections
    Jun‐20 Claims                6/16/2020 AW         $      140.00          0.7 attention to former EquityBuild employee list and make appropriate notes to master claims list (.7).      $           98.00
           Administration &
           Objections
    Jun‐20 Claims                6/16/2020 JRW        $      260.00          1.5 Continued legal research and drafting of reply to claims process motion.                                  $         390.00
           Administration &
           Objections
    Jun‐20 Claims                6/17/2020 AW         $      140.00          0.6 Further attention to former EquityBuild employee list and complete notes to master claims list and        $           84.00
           Administration &                                                      email K. Duff and J. Wine regarding same.
           Objections
    Jun‐20 Claims                6/17/2020 JRW        $      260.00          1.5 Continued drafting of reply brief for claims process motion.                                              $         390.00
           Administration &
           Objections
    Jun‐20 Claims                6/17/2020 MR         $      390.00          4.5 Further work researching and revising claim process reply brief and communications regarding              $        1,755.00
           Administration &                                                      same.
           Objections
    Jun‐20 Claims                6/18/2020 AW         $      140.00          0.1 communicate with claims vendor regarding completion supporting documents upload (.1)                      $           14.00
           Administration &
           Objections
    Jun‐20 Claims                6/18/2020 AW         $      140.00          0.2 attention to email from claimant and communicate with K. Duff and J. Wine regarding same and              $           28.00
           Administration &                                                      related issues (.2)
           Objections
    Jun‐20 Claims                6/18/2020 AW         $      140.00          0.3 attention to email regarding potential claimant, research regarding same, and communicate results         $           42.00
           Administration &                                                      to K. Duff and J. Wine (.3).
           Objections
    Jun‐20 Claims                6/18/2020 AW         $      140.00          1.4 Attention to email from K. Duff regarding claims statistics, work on same, and report results to K.       $         196.00
           Administration &                                                      Duff and J. Wine (1.4)
           Objections
    Jun‐20 Claims                6/18/2020 MR         $      390.00          1.4 Further work on claims process draft brief.                                                               $         546.00
           Administration &
           Objections
    Jun‐20 Claims                6/19/2020 JRW        $      260.00          0.3 Communicate with K. Duff and A. Watychowicz regarding claim statistics and claimant designations          $           78.00
           Administration &                                                      (.3)
           Objections
    Jun‐20 Claims                6/19/2020 JRW        $      260.00          1.9 review and revise reply brief in support of claims process motion (1.9).                                  $         494.00
           Administration &
           Objections
    Jun‐20 Claims                6/19/2020 MR         $      390.00            1 Further revisions to draft claims process reply brief and follow up regarding same.                       $         390.00
           Administration &
           Objections
    Jun‐20 Claims                6/20/2020 AW         $      140.00          1.1 attention to follow up email from K. Duff regarding claims statistics, work on same, and report           $         154.00
           Administration &                                                      results to K. Duff and J. Wine (1.1).
           Objections
    Jun‐20 Claims                6/20/2020 AW         $      140.00          1.1 Attention to reply in support of claims motion, proofread, and prepare table of authorities and table $             154.00
           Administration &                                                      of contents (1.1)
           Objections
    Jun‐20 Claims                6/21/2020 MR         $      390.00          2.5 Further work on claims Process reply brief and follow up regarding same.                                  $         975.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 AW         $      140.00          0.1 Attention to exchange with claimant and save to Receiver's email (.1)                                     $           14.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 AW         $      140.00          0.6 attention to current reply draft, proofread and email counsel regarding same (.6)                         $           84.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 AW         $      140.00          1.4 attention to communication from claims vendor regarding claimant's submission and volume,                 $         196.00
           Administration &                                                      communicate with J. Wine regarding same and research regarding difference in reported claims
           Objections                                                            (1.4).
    Jun‐20 Claims                6/22/2020 AW         $      140.00          2.1 attention to final drafts, apply final revisions to brief, table of contents, and table of authorities,   $         294.00
           Administration &                                                      communicate with M. Rachlis and K. Duff regarding same, finalize reply, file with the court, and
           Objections                                                            serve as per service list (2.1)
    Jun‐20 Claims                6/22/2020 JRW        $      260.00          0.3 review SEC response brief and related analysis to M. Rachlis and K. Duff (.3).                            $           78.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 JRW        $      260.00          0.4 confer with A. Watychowicz regarding Schedule A and related report to receivership team (.4)              $         104.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 JRW        $      260.00          0.7 Correspond with claims vendor regarding file size of claims documentation in potential claims             $         182.00
           Administration &                                                      tranche and perform related calculations (.7)
           Objections
    Jun‐20 Claims                6/22/2020 JRW        $      260.00          1.9 read, revise and communicate with M. Rachlis and K. Duff regarding revision and finalization of reply $             494.00
           Administration &                                                      brief in support of claims process motion (1.9)
           Objections
    Jun‐20 Claims                6/22/2020 MR         $      390.00          0.3 attention to issues on claims exhibit (.3).                                                               $         117.00
           Administration &
           Objections
    Jun‐20 Claims                6/22/2020 MR         $      390.00          6.5 Further work on claims process brief (6.5)                                                                $        2,535.00
           Administration &
           Objections
    Jun‐20 Claims                6/23/2020 AW         $      140.00          0.3 Attention to email from claimant and communicate with K. Duff regarding responses (.3)                    $           42.00
           Administration &
           Objections
    Jun‐20 Claims                6/23/2020 AW         $      140.00          0.3 respond to claimant's emails (.3)                                                                         $           42.00
           Administration &
           Objections




                                                                                            106 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 108 of 191 PageID #:53892
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
             Billing Category   Entry Date                           Task Hours                                            Task Description                                              Task Cost
Month                                        Keeper        Rate
    Jun‐20 Claims                 6/23/2020 AW        $       140.00        0.4 email A. Porter regarding details of claims (.4)                                                     $           56.00
            Administration &
            Objections
    Jun‐20 Claims                 6/23/2020 JRW       $       260.00          0.2 Review proof of claim submitted by claimant and related correspondence with K. Duff and A.         $           52.00
            Administration &                                                      Watychowicz (.2)
            Objections
    Jun‐20 Claims                 6/23/2020 JRW       $       260.00          0.2 work with claims vendor regarding checked out documents (.2)                                       $           52.00
            Administration &
            Objections
    Jun‐20 Claims                 6/23/2020 JRW       $       260.00          0.4 revise draft of second claims process motion (.4).                                                 $         104.00
            Administration &
            Objections
    Jun‐20 Claims                 6/23/2020 JRW       $       260.00          0.4 work with A. Watychowicz and K. Duff on responses to claimant inquiries (.4)                       $         104.00
            Administration &
            Objections
    Jun‐20 Claims                 6/24/2020 AW        $       140.00          0.2 Communicate with K. Duff regarding draft response to claimant's inquiry.                           $           28.00
            Administration &
            Objections
    Jun‐20 Claims                 6/24/2020 JRW       $       260.00          0.2 work with A. Watychowicz and K. Duff regarding response to claimant inquiry (.2)                   $           52.00
            Administration &
            Objections
    Jun‐20 Claims                 6/24/2020 JRW       $       260.00          0.6 study claims and prepare notes regarding same (.6).                                                $         156.00
            Administration &
            Objections
    Jun‐20 Claims                 6/24/2020 JRW       $       260.00          0.8 extended telephone conference with K. Duff and M. Rachlis regarding claims process and framing     $         208.00
            Administration &                                                      reports (.8)
            Objections
    Jun‐20 Claims                 6/24/2020 JRW       $       260.00          1.4 Continued analysis of claims against properties and prepare notes and spreadsheet regarding same   $         364.00
            Administration &                                                      (1.4)
            Objections
    Jun‐20 Claims                 6/24/2020 MR        $       390.00          0.5 Review motion for oral argument (.5)                                                               $         195.00
            Administration &
            Objections
    Jun‐20 Claims                 6/24/2020 MR        $       390.00          1.2 conferences with K. Duff and J. Wine regarding same and additional motions (1.2).                  $         468.00
            Administration &
            Objections
    Jun‐20 Claims                 6/26/2020 AW        $       140.00          0.5 updates to master claims sheet and property addresses as per J. Wine's instructions (.5).          $           70.00
            Administration &
            Objections
    Jun‐20 Claims                 6/26/2020 JRW       $       260.00          0.6 Review claims process motion and prepare notes regarding format for framing reports.               $         156.00
            Administration &
            Objections
    Jun‐20 Claims                 6/29/2020 AW        $       140.00          0.1 communicate with J. Wine regarding possible amendment to claim (.1).                               $           14.00
            Administration &
            Objections
    Jun‐20 Claims                 6/29/2020 AW        $       140.00          0.2 Communicate with K. Duff and J. Wine regarding follow up email from claimant and remaining         $           28.00
            Administration &                                                      outstanding emails (.2)
            Objections
    Jun‐20 Claims                 6/29/2020 AW        $       140.00          0.3 respond to claimant's email (.3)                                                                   $           42.00
            Administration &
            Objections
    Jun‐20 Claims                 6/29/2020 JRW       $       260.00          0.1 Correspond with K. Duff regarding late claim submission (.1)                                       $           26.00
            Administration &
            Objections
    Jun‐20 Claims                 6/29/2020 JRW       $       260.00          0.6 telephone conference with A. Watychowicz regarding claims process and claimant documentation       $         156.00
            Administration &                                                      (.6).
            Objections
    Jun‐20 Claims                 6/29/2020 JRW       $       260.00          1.1 work with A. Watychowicz and K. Duff on investigating and responding to claimant inquiries (1.1)   $         286.00
            Administration &
            Objections
     Jul‐20 Business               7/1/2020 KBD       $       390.00          0.2 exchange correspondence with J. Rak regarding real estate taxes (.2)                               $           78.00
            Operations
     Jul‐20 Business              7/16/2020 KBD       $       390.00          0.2 exchange correspondence with J. Rak regarding property sales and real estate taxes (.2)            $           78.00
            Operations
     Jul‐20 Business              7/22/2020 KBD       $       390.00          0.1 exchange correspondence regarding real estate taxes (.1)                                           $           39.00
            Operations
     Jul‐20 Claims                 7/1/2020 KBD       $       390.00          0.2 telephone conference with M. Rachlis regarding same (.2)                                           $           78.00
            Administration &
            Objections
     Jul‐20 Claims                 7/1/2020 KBD       $       390.00          0.3 work on claims review with J. Wine (.3)                                                            $         117.00
            Administration &
            Objections
     Jul‐20 Claims                 7/1/2020 KBD       $       390.00          0.6 telephone conference with potential counsel for claimants regarding procedural status (.6)         $         234.00
            Administration &
            Objections
     Jul‐20 Claims                 7/2/2020 KBD       $       390.00          0.3 Work on response to claimants (.3)                                                                 $         117.00
            Administration &
            Objections
     Jul‐20 Claims                 7/7/2020 KBD       $       390.00          0.2 Work on communication with claimant.                                                               $           78.00
            Administration &
            Objections
     Jul‐20 Claims                 7/8/2020 KBD       $       390.00          0.4 Work on responses to claimant inquiries (.4)                                                       $         156.00
            Administration &
            Objections
     Jul‐20 Claims                7/10/2020 KBD       $       390.00          0.5 Work on response to claimants.                                                                     $         195.00
            Administration &
            Objections
     Jul‐20 Claims                7/14/2020 KBD       $       390.00          0.2 attention to correspondence with claimant regarding insurance issue (.2).                          $           78.00
            Administration &
            Objections
     Jul‐20 Claims                7/14/2020 KBD       $       390.00          0.5 review alternate proposal for claims process from lender's counsel (.5)                            $         195.00
            Administration &
            Objections




                                                                                            107 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 109 of 191 PageID #:53893
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                          Task Description                                          Task Cost
Month                                        Keeper        Rate
    Jul‐20 Claims                7/14/2020 KBD        $       390.00        1.5 Prepare for hearing before Judge Lee regarding claims process (1.5)                            $         585.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 KBD        $      390.00           1.6 work on claims process with M. Rachlis and J. Wine (1.6)                                     $         624.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 KBD        $      390.00           0.3 review correspondence from claimants and work on responses to same (.3).                     $         117.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 KBD        $      390.00           0.8 work on claims process issues relating to hearing with M. Rachlis and J. Wine and exchange   $         312.00
           Administration &                                                       correspondence with M. Rachlis relating to same (.8)
           Objections
    Jul‐20 Claims                7/15/2020 KBD        $      390.00           1.3 participate in hearing before Judge Lee (1.3)                                                $         507.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 KBD        $      390.00             2 Prepare for hearing before Judge Lee regarding claims process (2.0)                          $         780.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 KBD        $      390.00           0.1 attention to documents inventory for communications with institutional lenders (.1).         $           39.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 KBD        $      390.00           0.2 Attention to claimant communications (.2)                                                    $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 KBD        $      390.00           0.2 telephone conference with claimant's counsel regarding same (.2)                             $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 KBD        $      390.00           0.3 telephone conference with M. Rachlis regarding document issues (.3).                         $         117.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 KBD        $      390.00           0.4 draft correspondence to J. Wine regarding same (.4)                                          $         156.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 KBD        $      390.00           0.8 confer with M. Rachlis and J. Wine regarding same (.8)                                       $         312.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 KBD        $      390.00             1 Work on internal EB document collection and production issues (1.0)                          $         390.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 KBD        $      390.00           0.3 Work on responses to claimant communications (.3)                                            $         117.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 KBD        $      390.00           0.1 study claimant list of requested documents (.1)                                              $           39.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 KBD        $      390.00           0.4 telephone conference with M. Rachlis and J. Wine regarding same (.4)                         $         156.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 KBD        $      390.00           0.4 work on responses to claimant inquiries (.4).                                                $         156.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 KBD        $      390.00           0.6 Prepare for call with claimants' counsel relating to document repository and exchange        $         234.00
           Administration &                                                       correspondence with M. Rachlis and J. Wine relating to same (.6)
           Objections
    Jul‐20 Claims                7/22/2020 KBD        $      390.00           0.9 telephone conference with claimants' counsel regarding document repository, EB documents,    $         351.00
           Administration &                                                       custodians, various logistics, and costs (.9)
           Objections
    Jul‐20 Claims                7/23/2020 KBD        $      390.00           0.2 attention to standard interrogatories and requests for production (.2)                       $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/23/2020 KBD        $      390.00           0.2 exchange correspondence with claimant regarding hearings and counsel (.2).                   $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/23/2020 KBD        $      390.00           0.2 study claim and exchange correspondence with J. Wine relating to same (.2)                   $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/23/2020 KBD        $      390.00           0.3 telephone conference with property regarding communications with claimant and draft          $         117.00
           Administration &                                                       correspondence to claimant relating to same (.3)
           Objections
    Jul‐20 Claims                7/23/2020 KBD        $      390.00           0.3 work on employee list for production of documents and study related information (.3)         $         117.00
           Administration &
           Objections
    Jul‐20 Claims                7/24/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding claimants' proof of claim forms (.2)          $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/26/2020 KBD        $      390.00           0.1 Work on response to claimant inquiry (.1)                                                    $           39.00
           Administration &
           Objections
    Jul‐20 Claims                7/26/2020 KBD        $      390.00           0.2 study motion to intervene (.2).                                                              $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 KBD        $      390.00           0.1 Exchange correspondence regarding potential claimant (.1)                                    $           39.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 KBD        $      390.00           0.6 work on claimants' counsel's request for clients' claims form submissions (.6).              $         234.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 KBD        $      390.00           1.2 work on responses to various claimant communications (1.2)                                   $         468.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 KBD        $      390.00           0.3 work on standard discovery requests (.3).                                                    $         117.00
           Administration &
           Objections




                                                                                            108 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 110 of 191 PageID #:53894
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                         Task Description                                                  Task Cost
Month                                        Keeper        Rate
    Jul‐20 Claims                7/28/2020 KBD        $       390.00        0.5 Work on responses to various claimant communications (.5)                                            $          195.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 KBD        $      390.00          0.1 work on response to claimant (.1)                                                                   $            39.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 KBD        $      390.00          0.4 exchange correspondence with J. Wine and M. Rachlis regarding collecting records requested by       $          156.00
           Administration &                                                      claimants and repository vendors (.4).
           Objections
    Jul‐20 Claims                7/29/2020 KBD        $      390.00          0.7 telephone conference with claimants' counsel, M. Rachlis, and J. Wine regarding plan for production $          273.00
           Administration &                                                      of internal EquityBuild documents (.7)
           Objections
    Jul‐20 Claims                7/29/2020 KBD        $      390.00          0.8 Telephone conferences and exchange correspondence with M. Rachlis and J. Wine regarding             $          312.00
           Administration &                                                      collection and production of internal EquityBuild documents (.8)
           Objections
    Jul‐20 Claims                7/30/2020 KBD        $      390.00          0.2 Attention to response to claimant inquiry.                                                          $            78.00
           Administration &
           Objections
    Jul‐20 Asset Disposition      7/7/2020 JR         $      140.00          0.1 Review email from K. Pritchard regarding closed properties and account numbers for each property    $            14.00
                                                                                 net proceeds (.1)
    Jul‐20 Asset Disposition      7/7/2020 JR         $      140.00          0.5 update spreadsheet with all bank account numbers and exchange correspondence with K. Pritchard      $            70.00
                                                                                 regarding same (.5)
    Jul‐20 Asset Disposition     7/13/2020 JR         $      140.00          0.1 exchange communication with the Cook County clerk's office regarding process for certification      $            14.00
                                                                                 amid the pandemic (.1).
    Jul‐20 Asset Disposition     7/21/2020 JR         $      140.00          0.2 update master due diligence spreadsheet regarding same (.2).                                        $            28.00

    Jul‐20 Business               7/5/2020 JR         $      140.00          0.2 review email from K. Duff regarding certificate of insurance for various properties and exchange     $           28.00
           Operations                                                            correspondence regarding same (.2).
    Jul‐20 Business               7/7/2020 KMP        $      140.00          0.1 Further communications with K. Duff and J. Rak regarding exhibits for second restoration motion (.1) $           14.00
           Operations
    Jul‐20 Business               7/9/2020 KMP        $      140.00          0.7 Review financial records and revise exhibit for second restoration motion.                          $            98.00
           Operations
    Jul‐20 Business              7/24/2020 KMP        $      140.00          2.1 Revise consolidated motion for restoration and to approve sales and exhibits, and prepare same and $           294.00
           Operations                                                            related materials for filing (2.1)
    Jul‐20 Claims                 7/2/2020 AW         $      140.00          0.5 Attention to emails from claimants, email exchanges with K. Duff and J. Wine regarding responses,  $             70.00
           Administration &                                                      and provide same to claimants (.5)
           Objections
    Jul‐20 Claims                 7/6/2020 AW         $      140.00          0.2 attention to claimant's submission and communicate with J. Wine regarding same (.2)                 $            28.00
           Administration &
           Objections
    Jul‐20 Claims                 7/6/2020 AW         $      140.00          0.4 work in database in multiple claims (.4).                                                           $            56.00
           Administration &
           Objections
    Jul‐20 Claims                 7/6/2020 AW         $      140.00          0.6 Attention to emails from claimants, email exchanges with K. Duff and J. Wine regarding responses,   $            84.00
           Administration &                                                      and provide same to claimants (.6)
           Objections
    Jul‐20 Claims                 7/7/2020 AW         $      140.00          0.4 Attention to follow up emails from claimant, email exchanges with K. Duff and J. Wine regarding     $            56.00
           Administration &                                                      responses, and provide same to claimant.
           Objections
    Jul‐20 Claims                 7/8/2020 AW         $      140.00          0.2 email responses to claimants' inquiries (.2).                                                       $            28.00
           Administration &
           Objections
    Jul‐20 Claims                 7/8/2020 AW         $      140.00          0.4 Attention to correspondence from claimants and communicate with K. Duff regarding draft             $            56.00
           Administration &                                                      responses (.4)
           Objections
    Jul‐20 Claims                 7/8/2020 JRW        $      260.00          0.3 Attention to claimant inquiries.                                                                    $            78.00
           Administration &
           Objections
    Jul‐20 Claims                 7/9/2020 AW         $      140.00          0.4 Attention to emails and voice messages from claimants and work with K. Duff and J. Wine on          $            56.00
           Administration &                                                      responses to same.
           Objections
    Jul‐20 Claims                 7/9/2020 JRW        $      260.00          0.2 Attention to responses to claimant inquiries.                                                       $            52.00
           Administration &
           Objections
    Jul‐20 Claims                7/13/2020 MR         $      390.00          1.5 preparation for upcoming hearing (1.5).                                                             $          585.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 AW         $      140.00          0.2 Work on and respond to email from claimant.                                                         $            28.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.2 telephone conference with K. Duff regarding document vendor (.2)                                    $            52.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.3 prepare notes regarding same and related email to M. Rachlis and K. Duff (.3)                       $            78.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.3 review master services agreement and prior correspondence regarding same (.3)                       $            78.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.4 study alternative claims process proposed by institutional lenders (.4)                             $          104.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.4 telephone conference with vendor regarding proposal for document processing and hosting (.4)        $          104.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          0.5 Study briefing on claims process motion in preparation for hearing (.5)                             $          130.00
           Administration &
           Objections
    Jul‐20 Claims                7/14/2020 JRW        $      260.00          1.6 conference with K. Duff and M. Rachlis regarding mortgagee's alternative procedures and             $          416.00
           Administration &                                                      preparation for hearing on claims process motion (1.6).
           Objections
    Jul‐20 Claims                7/14/2020 MR         $      390.00          0.5 continued preparation for hearing (.5).                                                             $          195.00
           Administration &
           Objections




                                                                                           109 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 111 of 191 PageID #:53895
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                             Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jul‐20 Claims                7/14/2020 MR        $       390.00        1.6 Participate in call regarding alternative procedures filed by lenders with K. Duff and J. Wine (1.6)      $         624.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 AW        $       140.00           0.1 communicate with J. Wine regarding claims submission and size of same (.1)                             $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 AW        $       140.00           0.1 communicate with K. Duff regarding prior correspondence with investors (.1)                            $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 AW        $       140.00           0.1 respond to emails from claimants (.1)                                                                  $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 AW        $       140.00           0.4 Communicate with K. Duff and J. Wine regarding inquiries from claimants (.4)                           $           56.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 AW        $       140.00           1.8 start work on detailed inventory of all documents preserved during first months of receivership,       $         252.00
           Administration &                                                       phone call, and email follow up with J. Wine regarding same (1.8).
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.1 compare filed demonstrative exhibit with draft alternative processes from institutional lenders (.1)   $           26.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.1 confer with claims vendor regarding total volume of claims documents (.1)                              $           26.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.2 review and comment on notes for oral argument (.2)                                                     $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.2 review Judge Lee conference instructions (.2)                                                          $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.3 confer with document repository vendor regarding logistics for file transfer and acknowledgement       $           78.00
           Administration &                                                       of confidentiality obligations (.3)
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.4 analyze properties and related email to K. Duff and M. Rachlis (.4)                                    $         104.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           0.8 conference with K. Duff and M. Rachlis regarding Judge Lee's rulings, composition and volume of        $         208.00
           Administration &                                                       EquityBuild documents, and process for same (.8).
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00           1.4 attend hearing on claims process motion (1.4)                                                          $         364.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 JRW       $       260.00             2 Work with M. Rachlis and K. Duff to prepare for claims process motion and related discussion with      $         520.00
           Administration &                                                       A. Watychowicz regarding EquityBuild documents (2.0)
           Objections
    Jul‐20 Claims                7/15/2020 MR        $       390.00           0.5 Further preparation for hearing (.5)                                                                   $         195.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 MR        $       390.00           0.8 conferences with K. Duff and J. Wine regarding various issues resulting from hearing (.8).             $         312.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 MR        $       390.00           1.4 attend hearing (1.4)                                                                                   $         546.00
           Administration &
           Objections
    Jul‐20 Claims                7/15/2020 MR        $       390.00             2 and conferences with K. Duff and J. Wine regarding same (2.0)                                          $         780.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 AW        $       140.00           0.2 email exchange with the Receivership team regarding inventory and current status of documents          $           28.00
           Administration &                                                       (.2)
           Objections
    Jul‐20 Claims                7/16/2020 AW        $       140.00           0.3 communicate with K. Duff and J. Wine regarding inquiries from claimants and investment details (.3) $              42.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 AW        $       140.00           0.5 Conference call with J. Wine regarding claims motion hearing and preparation to meet deadline          $           70.00
           Administration &                                                       regarding EquityBuild, Inc's documents (.5)
           Objections
    Jul‐20 Claims                7/16/2020 AW        $       140.00           2.1 start work on detailed inventory of documents in online portal (2.1).                                  $         294.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 JRW       $       260.00           0.3 exchange correspondence regarding claimant inquiries (.3).                                             $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/16/2020 JRW       $       260.00           0.4 Confer with A. Watychowicz regarding inventory of documents and efforts to collect same (.4)           $         104.00
           Administration &
           Objections
    Jul‐20 Claims                7/17/2020 AW        $       140.00           0.8 Complete work on detailed inventory of documents in e‐sign online portal, review data collected by     $         112.00
           Administration &                                                       IT consultant, and email counsel regarding same.
           Objections
    Jul‐20 Claims                7/17/2020 JRW       $       260.00           0.4 related exchange of correspondence with K. Duff and M. Rachlis, counsel for institutional lender and $           104.00
           Administration &                                                       document vendor (.4).
           Objections
    Jul‐20 Claims                7/17/2020 JRW       $       260.00           1.2 Conference call with K. Duff and M. Rachlis regarding plan for producing EquityBuild documents to      $         312.00
           Administration &                                                       claimants (1.2)
           Objections
    Jul‐20 Claims                7/17/2020 MR        $       390.00           1.2 Attention to various issues on claims process matters associated with documents and conferences        $         468.00
           Administration &                                                       regarding same with A. Watychowicz, J. Wine and K. Duff.
           Objections
    Jul‐20 Claims                7/20/2020 AW        $       140.00           0.2 respond to email from claimant (.2)                                                                    $           28.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 AW        $       140.00           0.4 Attention to email communications from claimants (.4)                                                  $           56.00
           Administration &
           Objections




                                                                                            110 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 112 of 191 PageID #:53896
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                Task Cost
Month                                       Keeper        Rate
    Jul‐20 Claims                7/20/2020 AW        $       140.00        0.7 conference with IT consultant regarding EquityBuild, Inc.'s documents and finalize inventory (.7)    $           98.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 AW        $       140.00          0.8 communicate with J. Wine regarding available bank statements and start supplementing available     $         112.00
           Administration &                                                      records (.8).
           Objections
    Jul‐20 Claims                7/20/2020 JRW       $       260.00          0.2 Exchange correspondence with eDiscovery vendor regarding proposal (.2)                             $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 JRW       $       260.00          0.4 attention to responding to claimant inquiries (.4)                                                 $         104.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 JRW       $       260.00          1.2 study tax returns from accountant for relevance to claims and related analysis to K. Duff (1.2)    $         312.00
           Administration &
           Objections
    Jul‐20 Claims                7/20/2020 JRW       $       260.00          1.7 further investigation of EquityBuild documents and related review of notes from forensic IT        $         442.00
           Administration &                                                      consultant (1.7).
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          0.1 follow up with A. Watychowicz and K. Pritchard regarding categories of documents (.1)              $           26.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          0.1 review memorandum from counsel for institutional lender regarding preliminary list of requested    $           26.00
           Administration &                                                      documents (.1).
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          0.2 attention to responses to claimant inquiries (.2)                                                  $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          0.8 conference call with claimant counsel, K. Duff and M. Rachlis regarding EB documents (.8)          $         208.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          0.8 conference with K. Duff and M. Rachlis regarding document collection, information regarding        $         208.00
           Administration &                                                      EquityBuild employees, priority status of secured lender claims and motion practice (.8)
           Objections
    Jul‐20 Claims                7/22/2020 JRW       $       260.00          1.5 research and update document inventory and confer with M. Rachlis in preparation for same (1.5)    $         390.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 MR        $       390.00          0.3 attention to claims files regarding lender issues (.3)                                             $         117.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 MR        $       390.00          0.8 and participate in call with claimant's counsel regarding EB documents and data base issues (.8)   $         312.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 MR        $       390.00          0.8 discussions regarding same with K. Duff and J. Wine (.8)                                           $         312.00
           Administration &
           Objections
    Jul‐20 Claims                7/22/2020 MR        $       390.00          1.2 Prepare for (1.2)                                                                                  $         468.00
           Administration &
           Objections
    Jul‐20 Claims                7/23/2020 JRW       $       260.00          0.3 review claimant inquiries and responses (.3).                                                      $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/23/2020 JRW       $       260.00          0.3 Review lists of EquityBuild employees to compile information to counsel for claimant (.3)          $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/24/2020 JRW       $       260.00          0.3 email exchange with claims vendor regarding amended claims (.3).                                   $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/24/2020 JRW       $       260.00          0.4 Exchange correspondence with K. Duff regarding claims submitted on behalf of claimants and         $         104.00
           Administration &                                                      correspondence from claimant's counsel (.4)
           Objections
    Jul‐20 Claims                7/24/2020 JRW       $       260.00          0.8 related review of claim forms, amendments submitted through portal and supporting materials (.8)   $         208.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 AW        $       140.00          0.1 attention to voicemail from claimant and respond to same (.1)                                      $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 AW        $       140.00          0.2 Review claim submission, revision to master claim sheet, and respond to email from claimant        $           28.00
           Administration &                                                      regarding same (.2)
           Objections
    Jul‐20 Claims                7/27/2020 AW        $       140.00          0.4 attention to emails from claimant and communicate with counsel regarding same (.4).                $           56.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 JRW       $       260.00          0.2 Exchange correspondence with claims vendor regarding procedure for amending claims (.2)            $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 JRW       $       260.00          0.2 related communications with K. Duff regarding response to claimant's counsel (.2)                  $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 JRW       $       260.00          0.2 review and revise response to claimant inquiries (.2).                                             $           52.00
           Administration &
           Objections
    Jul‐20 Claims                7/27/2020 JRW       $       260.00          0.3 telephone conference with A. Watychowicz regarding amendments to claims in portal (.3)             $           78.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 AW        $       140.00          0.1 communicate with J. Wine regarding inception of template for master claims spreadsheet (.1)        $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 AW        $       140.00          0.1 communicate with K. Duff regarding recently filed mortgagees' motion to intervene (.1).            $           14.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 AW        $       140.00          0.1 finalize notice of receivership to vendor (.1)                                                     $           14.00
           Administration &
           Objections




                                                                                           111 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 113 of 191 PageID #:53897
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jul‐20 Claims                7/28/2020 AW        $       140.00        0.2 Review claim submission, revision to master claim sheet, and respond to email from claimant           $            28.00
           Administration &                                                    regarding same (.2)
           Objections
    Jul‐20 Claims                7/28/2020 AW        $      140.00           0.3 review and revisions to lengthy response to claimant inquiry (.3)                                   $            42.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 JRW       $      260.00           0.2 Confer with A. Watychowicz regarding claimant inquiries (.2)                                        $            52.00
           Administration &
           Objections
    Jul‐20 Claims                7/28/2020 JRW       $      260.00           0.2 related response to claimant (.2).                                                                  $            52.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 AW        $      140.00           0.1 communicate with IT consultant regarding online storage inventory (.1)                              $            14.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 AW        $      140.00           0.1 communicate with K. Duff regarding lenders' motion to intervene (.1).                               $            14.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 AW        $      140.00           0.3 Continue work on inventory of EquityBuild documents and communicate with J. Wine regarding          $            42.00
           Administration &                                                      same (.3)
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.2 telephone conference with A. Watychowicz regarding bank records (.2)                                $            52.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.3 emails to counsel for claimant regarding EquityBuild documents and potential e‐discovery vendor     $            78.00
           Administration &                                                      (.3).
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.4 telephone conference with K. Duff and M. Rachlis regarding inventory of EquityBuild documents (.4) $           104.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.5 research status of code violations and related exchange of correspondence with counsel for          $          130.00
           Administration &                                                      claimant (.5)
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.5 Telephone conference with potential e‐discovery vendor (.5)                                         $          130.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.7 telephone conference with claimant's counsel regarding EquityBuild documents and database (.7)      $          182.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           0.8 review documents from EquityBuild counsel (.8)                                                      $          208.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 JRW       $      260.00           1.5 prepare spreadsheet of EquityBuild documents for lender's counsel (1.5)                             $          390.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 MR        $      390.00           0.3 Conferences regarding production issues with K. Duff (.3)                                           $          117.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 MR        $      390.00           0.4 J. Wine (.4)                                                                                        $          156.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 MR        $      390.00           0.4 review materials regarding same (.4)                                                                $          156.00
           Administration &
           Objections
    Jul‐20 Claims                7/29/2020 MR        $      390.00           0.7 participate in call with claimant's counsel (.7).                                                   $          273.00
           Administration &
           Objections
    Jul‐20 Claims                7/30/2020 AW        $      140.00           0.2 attention to email from claimant regarding legal representation and consult with K. Duff and J. Wine $           28.00
           Administration &                                                      regarding same (.2).
           Objections
    Jul‐20 Claims                7/30/2020 AW        $      140.00           0.4 Work with K. Duff and J. Wine on responses to claimants' emails (.4)                                $            56.00
           Administration &
           Objections
    Jul‐20 Claims                7/30/2020 JRW       $      260.00           0.1 email exchange with claimant's counsel and potential vendor regarding meeting (.1).                 $            26.00
           Administration &
           Objections
    Jul‐20 Claims                7/30/2020 JRW       $      260.00           0.3 attention to responding to claimant inquiries (.3)                                                  $            78.00
           Administration &
           Objections
    Jul‐20 Claims                7/30/2020 JRW       $      260.00           0.5 Legal research regarding lender's motion to intervene (.5)                                          $          130.00
           Administration &
           Objections
    Jul‐20 Claims                7/31/2020 AW        $      140.00           0.3 review claim submission and previous correspondence from claimant, and respond to email from        $            42.00
           Administration &                                                      claimant regarding same (.3).
           Objections
    Jul‐20 Claims                7/31/2020 AW        $      140.00           0.7 Attention to emails from claimants and work with K. Duff and J. Wine on responses (.7)              $            98.00
           Administration &
           Objections
    Jul‐20 Claims                7/31/2020 JRW       $      260.00           1.1 Attention to responding to claimant inquiries (1.1)                                                 $          286.00
           Administration &
           Objections
   Aug‐20 Claims                  8/3/2020 KBD       $      390.00           0.2 study correspondence from M. Rachlis regarding claimants' counsel's request for claim forms (.2)    $            78.00
           Administration &
           Objections
   Aug‐20 Claims                  8/3/2020 KBD       $      390.00           0.5 Work on protective order and legal research regarding same (.5)                                     $          195.00
           Administration &
           Objections
   Aug‐20 Claims                  8/3/2020 KBD       $      390.00           0.9 attention to communications with claimants regarding claims, claims process, and timing (.9)        $          351.00
           Administration &
           Objections
   Aug‐20 Claims                  8/4/2020 KBD       $      390.00           0.1 study correspondence from and draft correspondence to claimant regarding claims submission and      $            39.00
           Administration &                                                      reporting of same (.1).
           Objections




                                                                                            112 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 114 of 191 PageID #:53898
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                Task Cost
Month                                       Keeper        Rate
   Aug‐20 Claims                 8/4/2020 KBD        $       390.00        0.3 Exchange correspondence with J. Wine and M. Rachlis regarding document discovery issues and         $         117.00
          Administration &                                                     communications with claimants' counsel (.3)
          Objections
   Aug‐20 Claims                 8/4/2020 KBD        $      390.00          0.3 work on protective order and standard written discovery requests for all claimants and exchange    $         117.00
          Administration &                                                      correspondence with J. Wine and M. Rachlis regarding same (.3)
          Objections
   Aug‐20 Claims                 8/5/2020 KBD        $      390.00          0.2 study further correspondence from claimant regarding claims submission and reporting of same and $             78.00
          Administration &                                                      work on response (.2)
          Objections
   Aug‐20 Claims                 8/5/2020 KBD        $      390.00          0.4 Exchange correspondence with M. Rachlis regarding correspondence with claimant's counsel           $         156.00
          Administration &                                                      regarding requests for records (.4)
          Objections
   Aug‐20 Claims                 8/5/2020 KBD        $      390.00            1 work on response to claimants' inquiries regarding claims process and timing (1.0).                $         390.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 KBD        $      390.00          0.6 Work on responses to claimants (.6)                                                                $         234.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 KBD        $      390.00          0.3 attention to response to claimant communications relating to claims (.3).                          $         117.00
          Administration &
          Objections
   Aug‐20 Claims                 8/9/2020 KBD        $      390.00          0.2 Attention to claim and supporting documents and exchange correspondence with A. Watychowicz        $           78.00
          Administration &                                                      regarding same.
          Objections
   Aug‐20 Claims                8/10/2020 KBD        $      390.00          0.7 Study standard written discovery requests and exchange correspondence regarding same.              $         273.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 KBD        $      390.00          0.1 review correspondence from M. Rachlis regarding preparation for hearing (.1)                       $           39.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 KBD        $      390.00          0.4 legal research regarding claims (.4).                                                              $         156.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 KBD        $      390.00            2 Prepare for hearing before Judge Lee (2.0)                                                         $         780.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 KBD        $      390.00          0.1 review correspondence from counsel for claimant regarding status of claims (.1)                    $           39.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 KBD        $      390.00          1.1 Confer with M. Rachlis and J. Wine regarding standard discovery, claimants' intervention motion,   $         429.00
          Administration &                                                      corporation status issues, and preparation for hearing before Judge Lee (1.1)
          Objections
   Aug‐20 Claims                8/13/2020 KBD        $      390.00          0.1 exchange correspondence relating to communication with claimant's counsel regarding claims         $           39.00
          Administration &                                                      process (.1)
          Objections
   Aug‐20 Claims                8/13/2020 KBD        $      390.00          0.3 telephone conference with J. Wine and M. Rachlis regarding standard discovery requests, draft      $         117.00
          Administration &                                                      protective order, and intervention motion (.3)
          Objections
   Aug‐20 Claims                8/13/2020 KBD        $      390.00          1.2 appear for hearing before Judge Lee (1.2)                                                          $         468.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 KBD        $      390.00          1.2 confer with M. Rachlis and J. Wine regarding various issues raised during hearing (1.2)            $         468.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 KBD        $      390.00          1.5 Prepare for hearing before Judge Lee on claims process (1.5)                                       $         585.00
          Administration &
          Objections
   Aug‐20 Claims                8/16/2020 KBD        $      390.00          0.3 Review draft standard discovery requests.                                                          $         117.00
          Administration &
          Objections
   Aug‐20 Claims                8/17/2020 KBD        $      390.00          0.1 Exchange correspondence with J. Wine regarding communication with investor (.1)                    $           39.00
          Administration &
          Objections
   Aug‐20 Claims                8/18/2020 KBD        $      390.00          0.2 work on responses to various claimant communications (.2).                                         $           78.00
          Administration &
          Objections
   Aug‐20 Claims                8/18/2020 KBD        $      390.00          0.4 Telephone conference with and study correspondence from M. Rachlis and J. Wine regarding claims $            156.00
          Administration &                                                      documentation and claimants' request for records (.4)
          Objections
   Aug‐20 Claims                8/18/2020 KBD        $      390.00            1 telephone conference with claimants' counsel regarding requests for various EquityBuild records    $         390.00
          Administration &                                                      (1.0)
          Objections
   Aug‐20 Claims                8/20/2020 KBD        $      390.00          0.2 Work on response to claimant communication and exchange correspondence with A. Watychowicz         $           78.00
          Administration &                                                      regarding same (.2)
          Objections
   Aug‐20 Claims                8/25/2020 KBD        $      390.00          0.2 study claims by property information and correspondence from J. Wine relating to same (.2)         $           78.00
          Administration &
          Objections
   Aug‐20 Claims                8/25/2020 KBD        $      390.00          0.5 work on inquiries from and responses to claimants (.5).                                            $         195.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 KBD        $      390.00          0.1 attention to responses to claimants (.1)                                                           $           39.00
          Administration &
          Objections
   Aug‐20 Claims                8/29/2020 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding response to claimant (.1).                          $           39.00
          Administration &
          Objections
   Aug‐20 Claims                8/29/2020 KBD        $      390.00          0.2 draft correspondence to J. Wine and A. Porter regarding communication with claimant regarding      $           78.00
          Administration &                                                      investment custodian (.2)
          Objections
   Aug‐20 Claims                8/29/2020 KBD        $      390.00          0.2 Exchange correspondence with J. Wine and A. Watychowicz regarding counting claims (.2)             $           78.00
          Administration &
          Objections




                                                                                          113 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 115 of 191 PageID #:53899
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Aug‐20 Claims                8/31/2020 KBD        $       390.00        0.2 work on response to claimant's counsel (.2).                                                           $           78.00
          Administration &
          Objections
   Aug‐20 Asset Disposition     8/11/2020 JR         $      140.00          0.1 exchange correspondence with property management regarding same (.1)                                  $           14.00

   Aug‐20 Asset Disposition     8/11/2020 JR         $      140.00          0.1 review email from J. Wine relating to status of closing regarding property (7501 S. Essex) (.1)       $           14.00

   Aug‐20 Asset Disposition     8/11/2020 JR         $      140.00          0.2 further research status and reply to J. Wine regarding same (7501 Essex) (.2)                         $           28.00

   Aug‐20 Asset Disposition     8/11/2020 JR         $      140.00          0.5 update and finalize notices to tenants regarding same (.5)                                            $           70.00

   Aug‐20 Asset Disposition     8/25/2020 AEP        $      390.00          0.2 communications with counsel for prospective purchaser of receivership property (7840 S Calumet)       $           78.00
                                                                                regarding request for extension of inspection period (.2)
   Aug‐20 Claims                 8/3/2020 AW         $      140.00          0.1 Communicate with claims vendor regarding revisions to database (.1)                                   $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 AW         $      140.00          0.1 communicate with J. Wine regarding volume of gathered bank statements (.1).                           $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 AW         $      140.00          0.1 reach out to claims vendor regarding claim (.1)                                                       $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 AW         $      140.00          0.7 work with K. Duff and J. Wine on responses to claimants' emails (.7)                                  $           98.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00          0.1 correspondence to claimant's counsel regarding volume of data (.1)                                    $           26.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00          0.1 Research regarding claimant (.1)                                                                      $           26.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00          0.2 and related follow‐up communication (.2).                                                             $           52.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00          0.6 review and revise draft protective order and related communications with M. Rachlis and K. Duff (.6) $          156.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00            1 review and confer with A. Watychowicz regarding draft responses to claimant inquiries (1.0)           $         260.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 JRW        $      260.00          1.3 prepare for and attend conference with potential discovery vendor and claimant's counsel regarding $            338.00
          Administration &                                                      database proposal (1.3)
          Objections
   Aug‐20 Claims                 8/3/2020 MR         $      390.00          0.3 Attention to protective order issues (.3)                                                             $         117.00
          Administration &
          Objections
   Aug‐20 Claims                 8/3/2020 MR         $      390.00          0.3 follow up and review materials regarding claimants' motion to intervene (.3)                          $         117.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.1 Attention to email from claimant and discuss same with K. Duff (.1)                                   $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.1 communicate with K. Duff and J. Wine regarding claimant's communication (.1)                          $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.2 communicate with IT consultant regarding former EquityBuild employees' email accounts and follow $                28.00
          Administration &                                                      up with J. Wine regarding same (.2).
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.2 email claimant regarding potential claim and response to follow‐up email (.2)                         $           28.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.2 research and follow up with J. Wine regarding proposed protective order (.2)                          $           28.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 AW         $      140.00          0.6 work on claimant's communications regarding claim and multiple communications with claims             $           84.00
          Administration &                                                      vendor regarding same (.6)
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.1 correspondence with claims vendor regarding deleted clams (.1)                                        $           26.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.1 exchange correspondence with M. Rachlis and K. Duff regarding standard interrogatories and            $           26.00
          Administration &                                                      requests for production (.1)
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.2 further revision of protective order (.2)                                                             $           52.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.7 Legal research regarding protective order issue and related analysis to K. Duff and M. Rachlis (.7)   $         182.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.7 review standard interrogatories and document requests, and prepare email analysis of same (.7)        $         182.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          0.9 attention to researching claimant inquiries (.9)                                                      $         234.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 JRW        $      260.00          1.2 legal research regarding claims analysis issue (1.2).                                                 $         312.00
          Administration &
          Objections
   Aug‐20 Claims                 8/4/2020 MR         $      390.00          0.4 Attention to issues on standard discovery and issues on EB document library.                          $         156.00
          Administration &
          Objections
   Aug‐20 Claims                 8/5/2020 AW         $      140.00          0.3 work with claims vendor regarding claim and other issues (.3)                                         $           42.00
          Administration &
          Objections




                                                                                          114 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 116 of 191 PageID #:53900
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                  Task Cost
Month                                      Keeper        Rate
   Aug‐20 Claims                 8/5/2020 AW        $       140.00        0.7 Communicate with K. Duff regarding responses to claimants and finalize responses (.7)                $           98.00
          Administration &
          Objections
   Aug‐20 Claims                 8/5/2020 JRW       $      260.00           0.1 correspondence with claims vendor regarding claim (.1)                                             $           26.00
          Administration &
          Objections
   Aug‐20 Claims                 8/5/2020 JRW       $      260.00           0.2 Exchange correspondence with K. Duff and M. Rachlis regarding revised protective order and         $           52.00
          Administration &                                                      forward same to counsel for institutional (.2)
          Objections
   Aug‐20 Claims                 8/5/2020 JRW       $      260.00             1 study multiple claim submissions (1.0)                                                             $         260.00
          Administration &
          Objections
   Aug‐20 Claims                 8/5/2020 JRW       $      260.00           1.4 review records for various funds and update property spreadsheet (1.4).                            $         364.00
          Administration &
          Objections
   Aug‐20 Claims                 8/5/2020 JRW       $      260.00           3.7 prepare responses and related correspondence with K. Duff and A. Watychowicz regarding multiple    $         962.00
          Administration &                                                      claimant inquiries (3.7)
          Objections
   Aug‐20 Claims                 8/5/2020 MR        $      390.00           0.3 Review communications to claimants and attention to protective order.                              $         117.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 AW        $      140.00           0.1 communicate with K. Duff and J. Wine regarding further communication from claimant and email       $           14.00
          Administration &                                                      claims status update to claimant (.1)
          Objections
   Aug‐20 Claims                 8/6/2020 AW        $      140.00           0.3 attention to late claim (.3)                                                                       $           42.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 AW        $      140.00           0.3 communicate with claimants regarding their claims submissions (.3).                                $           42.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 AW        $      140.00           0.8 Work on issue regarding records submitted by claimant and resolution with claims vendor and J.     $         112.00
          Administration &                                                      Wine (.8)
          Objections
   Aug‐20 Claims                 8/6/2020 JRW       $      260.00           0.3 Email exchanges with K. Duff, A. Watychowicz and claims vendor regarding claim and available claim $           78.00
          Administration &                                                      numbers (.3)
          Objections
   Aug‐20 Claims                 8/6/2020 JRW       $      260.00           0.3 telephone conference with A. Watychowicz regarding same (.3)                                       $           78.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 JRW       $      260.00           0.6 respond to claimant inquiries (.6)                                                                 $         156.00
          Administration &
          Objections
   Aug‐20 Claims                 8/6/2020 JRW       $      260.00           1.6 confer with K. Duff regarding analysis of claims (1.6).                                            $         416.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 AW        $      140.00           0.1 follow up with counsel regarding responses to claimants (.1)                                       $           14.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 AW        $      140.00           0.2 review draft standard discovery requests to claimants and email exchanges with J. Wine regarding   $           28.00
          Administration &                                                      same (.2).
          Objections
   Aug‐20 Claims                 8/7/2020 AW        $      140.00           0.3 Email detailed responses to communications from claimants (.3)                                     $           42.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 JRW       $      260.00           0.3 attention to claimant inquiries and related correspondence with K. Duff and A. Watychowicz (.3)    $           78.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 JRW       $      260.00           1.5 Conference call with counsel for claimants and potential documents database vendor regarding       $         390.00
          Administration &                                                      database proposal (1.5)
          Objections
   Aug‐20 Claims                 8/7/2020 JRW       $      260.00           1.5 continued analysis of claims by property (1.5).                                                    $         390.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 MR        $      390.00           0.1 attention regarding response to claimant (.1).                                                     $           39.00
          Administration &
          Objections
   Aug‐20 Claims                 8/7/2020 MR        $      390.00           0.9 Conferences on issues regarding claims related issues (.9)                                         $         351.00
          Administration &
          Objections
   Aug‐20 Claims                8/10/2020 AW        $      140.00           0.1 Confirm receipt of claim (.1)                                                                      $           14.00
          Administration &
          Objections
   Aug‐20 Claims                8/10/2020 AW        $      140.00           0.2 review and communicate with J. Wine regarding potential responses and interrogatories to           $           28.00
          Administration &                                                      claimants (.2).
          Objections
   Aug‐20 Claims                8/10/2020 AW        $      140.00           0.4 review claims, update master claims list and request update to claims database and removal of      $           56.00
          Administration &                                                      duplicate (.4)
          Objections
   Aug‐20 Claims                8/10/2020 JRW       $      260.00           0.7 Attention to draft standard interrogatories and document requests and related exchange of          $         182.00
          Administration &                                                      comments with M. Rachlis and K. Duff (.7)
          Objections
   Aug‐20 Claims                8/10/2020 JRW       $      260.00           1.4 continued analysis of claims by property and fund balances by property (1.4).                      $         364.00
          Administration &
          Objections
   Aug‐20 Claims                8/10/2020 MR        $      390.00           1.5 Work on discovery related issues and court order.                                                  $         585.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 AW        $      140.00           0.2 Attention to voice message from claimant and work with K. Duff and J. Wine on response to same     $           28.00
          Administration &                                                      (.2)
          Objections
   Aug‐20 Claims                8/11/2020 AW        $      140.00           0.4 review and communicate with J. Wine regarding claim and amounts claimed (.4).                      $           56.00
          Administration &
          Objections




                                                                                          115 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 117 of 191 PageID #:53901
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Aug‐20 Claims                8/11/2020 JRW        $       260.00        0.3 Review proofs of claim and work with A. Watychowicz regarding duplicative claims (.3)                  $            78.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 JRW        $      260.00           0.4 telephone conference with SEC (.4)                                                                   $          104.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 JRW        $      260.00           1.7 draft revised set of standard interrogatories to investors (1.7).                                    $          442.00
          Administration &
          Objections
   Aug‐20 Claims                8/11/2020 MR         $      390.00             1 Preparation for upcoming hearing before Judge Lee on claims process.                                 $          390.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 AW         $      140.00           0.1 Respond to claimant's update request (.1)                                                            $            14.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 AW         $      140.00           0.3 review and communicate with K. Duff and J. Wine regarding claimant's counsel update request (.3)     $            42.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 AW         $      140.00           0.8 phone call with J. Wine regarding potential discovery requests to claimants and follow up email to J. $         112.00
          Administration &                                                       Wine, K. Duff and M. Rachlis regarding same (.8).
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           0.2 related analysis and exchange of drafts with M. Rachlis and K. Duff (.2)                             $            52.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           0.2 review and revise correspondence to counsel for lenders regarding motion to intervene (.2).          $            52.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           0.3 correspondence with SEC (.3)                                                                         $            78.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           0.6 draft correspondence to claimant's counsel regarding standard discovery requests and related         $          156.00
          Administration &                                                       communications with and revisions from M. Rachlis (.6)
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           1.1 telephone conference with M. Rachlis and K. Duff regarding motion to intervene, standard discovery $            286.00
          Administration &                                                       responses, and preparation for continued hearing on claims process motion (1.1)
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           1.3 prepare standard discovery requests to institutional lenders (1.3)                                   $          338.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 JRW        $      260.00           1.8 Draft proposed standard interrogatories and document requests to investors (1.8)                     $          468.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 MR         $      390.00           1.1 conferences with J. Wine and K. Duff regarding discovery and upcoming hearing (1.1)                  $          429.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 MR         $      390.00           1.2 Review and revise of draft discovery and comment on same and letter regarding same (1.2)             $          468.00
          Administration &
          Objections
   Aug‐20 Claims                8/12/2020 MR         $      390.00           2.4 further preparation for hearing (2.4).                                                               $          936.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 AW         $      140.00           0.1 draft response to email inquiry (.1).                                                                $            14.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 AW         $      140.00           0.2 Communicate with K. Duff regarding voicemail from claimant regarding investment (.2)                 $            28.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 AW         $      140.00           0.3 communicate with J. Wine regarding claimant's request made to court (.3)                             $            42.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.1 confer with A. Watychowicz regarding EquityBuild documents (.1)                                      $            26.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.2 related correspondence to claimant's counsel (.2)                                                    $            52.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.2 review court's directives for telephonic hearing (.2)                                                $            52.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.2 telephone conference with K. Duff and M. Rachlis regarding standard discovery and preparation for    $            52.00
          Administration &                                                       hearing (.2)
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.3 Review proposed revisions to protective order and related email to counsel, K. Duff and M. Rachlis   $            78.00
          Administration &                                                       (.3)
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.3 telephone conference with M. Rachlis and SEC (.3)                                                    $            78.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.6 related telephone conference with M. Rachlis and K. Duff regarding judge's rulings and request for   $          156.00
          Administration &                                                       statistics regarding claims (.6).
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           0.9 prepare presentation for court regarding EquityBuild documents and related preparation for hearing $            234.00
          Administration &                                                       (.9)
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           1.2 attend telephonic hearing before Judge Lee on intervention motion, claims process motion,            $          312.00
          Administration &                                                       EquityBuild documents and standard discovery (1.2)
          Objections
   Aug‐20 Claims                8/13/2020 JRW        $      260.00           1.2 review and revise draft discovery requests (1.2)                                                     $          312.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 MR         $      390.00           0.2 conferences on discovery issues raised by court with K. Duff and J. Wine (.2)                        $            78.00
          Administration &
          Objections




                                                                                           116 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 118 of 191 PageID #:53902
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                Task Cost
Month                                      Keeper        Rate
   Aug‐20 Claims                8/13/2020 MR        $       390.00        0.3 further conferences with J. Wine and K. Duff (.3).                                                   $         117.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 MR        $      390.00          0.5 follow up and review response to intervention motion (.5)                                           $         195.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 MR        $      390.00          0.6 conference with J. Wine and K. Duff regarding same (.6)                                             $         234.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 MR        $      390.00          1.2 participate in hearing (1.2)                                                                        $         468.00
          Administration &
          Objections
   Aug‐20 Claims                8/13/2020 MR        $      390.00          2.3 Further preparation for hearing before Judge Lee (2.3)                                              $         897.00
          Administration &
          Objections
   Aug‐20 Claims                8/17/2020 AW        $      140.00          0.2 Respond to claimant's voice message and request for information.                                    $           28.00
          Administration &
          Objections
   Aug‐20 Claims                8/17/2020 JRW       $      260.00          0.1 Attention to responding to inquiry from claimant (.1)                                               $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/17/2020 JRW       $      260.00          0.9 continued analysis of claims (.9).                                                                  $         234.00
          Administration &
          Objections
   Aug‐20 Claims                8/18/2020 AW        $      140.00          0.5 Attention to communications regarding response to claimants, additional inquiries from claimants,   $           70.00
          Administration &                                                     and follow up from another claimant (.5)
          Objections
   Aug‐20 Claims                8/18/2020 JRW       $      260.00          0.3 related analysis (.3)                                                                               $           78.00
          Administration &
          Objections
   Aug‐20 Claims                8/18/2020 JRW       $      260.00          0.3 review proposed responses to claimant inquiries and related communication with A. Watychowicz       $           78.00
          Administration &                                                     (.3).
          Objections
   Aug‐20 Claims                8/18/2020 JRW       $      260.00          0.3 Telephone conference with K. Duff and M. Rachlis regarding request from claimants' counsel for      $           78.00
          Administration &                                                     production of claim forms (.3)
          Objections
   Aug‐20 Claims                8/18/2020 JRW       $      260.00          0.5 and follow‐up call with M. Rachlis and K. Duff (.5)                                                 $         130.00
          Administration &
          Objections
   Aug‐20 Claims                8/19/2020 AW        $      140.00          0.1 Respond to claimant's update request (.1)                                                           $           14.00
          Administration &
          Objections
   Aug‐20 Claims                8/19/2020 AW        $      140.00          0.2 communicate with K. Duff and J. Wine regarding response to claimants' emails (.2)                   $           28.00
          Administration &
          Objections
   Aug‐20 Claims                8/19/2020 JRW       $      260.00          0.3 Attention to responses to claimant inquiries.                                                       $           78.00
          Administration &
          Objections
   Aug‐20 Claims                8/20/2020 JRW       $      260.00          0.4 Review proof of claim and supporting documents and related communications with A. Watychowicz $               104.00
          Administration &                                                     regarding necessary revisions to master claims spreadsheet.
          Objections
   Aug‐20 Claims                8/23/2020 JRW       $      260.00          0.4 Review claims submitted by claimant.                                                                $         104.00
          Administration &
          Objections
   Aug‐20 Claims                8/25/2020 AW        $      140.00          0.2 request update to claims database as per claimant's email and cover letter and follow up with       $           28.00
          Administration &                                                     vendor regarding same (.2).
          Objections
   Aug‐20 Claims                8/25/2020 AW        $      140.00          0.4 Communicate with counsel regarding draft responses to claimants' emails and respond to claimants' $             56.00
          Administration &                                                     emails (.4)
          Objections
   Aug‐20 Claims                8/25/2020 JRW       $      260.00          0.6 review objections from institutional lender claimants to 8th motion to confirm sale (.6).           $         156.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 AW        $      140.00          0.3 Revisions to master claims list as per claimant's summary and follow up communication with claims   $           42.00
          Administration &                                                     vendor (.3)
          Objections
   Aug‐20 Claims                8/27/2020 AW        $      140.00          0.9 work with K. Duff on responses to claimants' emails and email responses (.9).                       $         126.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 JRW       $      260.00          0.1 related review of information and confer with A. Watychowicz regarding claimant (.1)                $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 JRW       $      260.00          0.1 telephone conference with counsel for claimant (.1)                                                 $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 JRW       $      260.00          0.8 related review of claim forms (.8)                                                                  $         208.00
          Administration &
          Objections
   Aug‐20 Claims                8/27/2020 JRW       $      260.00          1.2 Attention to responding to claimant inquiries (1.2)                                                 $         312.00
          Administration &
          Objections
   Aug‐20 Claims                8/28/2020 AW        $      140.00          0.2 Work on email response to claimant (.2)                                                             $           28.00
          Administration &
          Objections
   Aug‐20 Claims                8/28/2020 JRW       $      260.00          0.1 confer with A. Watychowicz regarding updates to master claims spreadsheet (.1)                      $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/28/2020 JRW       $      260.00          0.1 confer with K. Duff regarding further analysis regarding [timing of investments] (.1)               $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/28/2020 JRW       $      260.00          0.1 exchange correspondence with claimant's counsel regarding motion to file oversized brief (.1)       $           26.00
          Administration &
          Objections




                                                                                         117 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 119 of 191 PageID #:53903
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Aug‐20 Claims                8/28/2020 JRW        $       260.00        0.1 review and revise response to claimant inquiry (.1)                                                   $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 AW         $      140.00          0.2 email exchange with K. Duff regarding hearing related to claims (.2)                                 $           28.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 AW         $      140.00          0.6 communicate with claims vendor regarding update to database and prepare documents for same           $           84.00
          Administration &                                                      (.6)
          Objections
   Aug‐20 Claims                8/31/2020 AW         $      140.00          0.8 work on charts requested by Judge Lee (.8)                                                           $         112.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 AW         $      140.00          0.9 Communicate with J. Wine regarding documents received from claimants and research regarding          $         126.00
          Administration &                                                      same (.9)
          Objections
   Aug‐20 Claims                8/31/2020 JRW        $      260.00          0.1 exchange correspondence with potential e‐discovery vendor (.1).                                      $           26.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 JRW        $      260.00          0.2 confer with A. Watychowicz and K Duff regarding documents submitted by claimant (.2)                 $           52.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 JRW        $      260.00          0.2 correspondence to K. Duff and M. Rachlis regarding rollover paperwork (.2)                           $           52.00
          Administration &
          Objections
   Aug‐20 Claims                8/31/2020 JRW        $      260.00          0.3 and review same (.3)                                                                                 $           78.00
          Administration &
          Objections
   Sep‐20 Asset Disposition     9/17/2020 KBD        $      390.00          0.2 exchange correspondence with J. Rak regarding property sales data (.2).                              $           78.00

   Sep‐20 Claims                 9/1/2020 KBD        $      390.00          0.1 review claim information and communication with claimant's counsel (.1).                             $           39.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 KBD        $      390.00          0.1 review statistical graphs of claims data for Judge Lee (.1)                                          $           39.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 KBD        $      390.00          0.1 study correspondence from claimants' counsel regarding request for records (.1)                      $           39.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 KBD        $      390.00          0.2 attention to response to claimant's counsel regarding estate of claimant (.2).                       $           78.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 KBD        $      390.00          0.3 Exchange correspondence with A. Watychowicz regarding rollovers and related documentation.           $         117.00
          Administration &
          Objections
   Sep‐20 Claims                 9/4/2020 KBD        $      390.00          0.5 draft and revise correspondence to claimants' counsel regarding request for claims information and   $         195.00
          Administration &                                                      EB documents (.5)
          Objections
   Sep‐20 Claims                 9/4/2020 KBD        $      390.00          0.5 Work on claims process and evaluate change in institutional lenders' position on priority            $         195.00
          Administration &                                                      determination (.5)
          Objections
   Sep‐20 Claims                 9/7/2020 KBD        $      390.00          0.2 attention to messages from claimant regarding update (.2).                                           $           78.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 KBD        $      390.00          0.1 work on response to claimant regarding claims update (.1).                                           $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 KBD        $      390.00          0.1 work on response to claimant regarding claims process (.1)                                           $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 KBD        $      390.00          0.2 attention to correspondence from claimants' counsel regarding request for claims forms (.2).         $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 KBD        $      390.00          0.2 study correspondence regarding standard discovery requests (.2)                                      $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/14/2020 KBD        $      390.00          0.1 work on correspondence with claimants' counsel regarding request for claims forms (.1).              $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/15/2020 KBD        $      390.00          0.2 Review correspondence from claimants and related correspondence (.2)                                 $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 KBD        $      390.00          0.2 study draft data charts for the court (.2).                                                          $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 KBD        $      390.00          0.4 study correspondence regarding standard discovery and exchange correspondence with M. Rachlis        $         156.00
          Administration &                                                      and J. Wine regarding same (.4)
          Objections
   Sep‐20 Claims                9/16/2020 KBD        $      390.00          0.5 Attention to claimant communications and exchange correspondence with J. Wine regarding same         $         195.00
          Administration &                                                      (.5)
          Objections
   Sep‐20 Claims                9/17/2020 KBD        $      390.00          0.1 Confer with J. Wine regarding claims analysis against properties and funds (.1)                      $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 KBD        $      390.00          0.2 and claims discovery, analysis criteria, and planning (.2)                                           $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 KBD        $      390.00          0.2 study and exchange correspondence regarding claims data charts (.2).                                 $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 KBD        $      390.00          0.2 Attention to standard discovery requests (.2)                                                        $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 KBD        $      390.00          0.2 exchange correspondence with J. Wine and M. Rachlis regarding discovery and filing for court (.2)    $           78.00
          Administration &
          Objections




                                                                                          118 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 120 of 191 PageID #:53904
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                               Task Description                                            Task Cost
Month                                       Keeper        Rate
   Sep‐20 Claims                9/21/2020 KBD        $       390.00        0.3 work on claims process structure (.3).                                                               $          117.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 KBD        $      390.00           0.4 confer with J. Wine regarding claims charts and document vendor (.4)                               $          156.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 KBD        $      390.00           0.2 attention to correspondence with claimants (.2).                                                   $            78.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 KBD        $      390.00           2.5 Work on standard discovery requests, confidentiality order, claims amount charts, and status report $         975.00
          Administration &                                                       and confer with M. Rachlis and J. Wine regarding same (2.5)
          Objections
   Sep‐20 Claims                9/23/2020 KBD        $      390.00           0.2 draft correspondence to investor claimants relating to claimant request (.2).                      $            78.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 KBD        $      390.00           0.3 attention to standard discovery requests (.3)                                                      $          117.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 KBD        $      390.00           0.6 work on responses to and communications with claimants (.6)                                        $          234.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 KBD        $      390.00           1.3 appear for hearing before Judge Lee (1.3)                                                          $          507.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 KBD        $      390.00           1.8 Prepare for hearing before Judge Lee on claims (1.8)                                               $          702.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 KBD        $      390.00           0.3 Study and revise correspondence to investor claimants regarding investor claimant (.3)             $          117.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 KBD        $      390.00           0.3 work on communications with claimants (.3).                                                        $          117.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 KBD        $      390.00           0.1 attention to claimant communications (.1)                                                          $            39.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 KBD        $      390.00           0.2 study draft status report on unresolved matters (.2).                                              $            78.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 KBD        $      390.00           0.3 review standard written discovery (.3).                                                            $          117.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 KBD        $      390.00           0.4 work on status report on unresolved motions (.4)                                                   $          156.00
          Administration &
          Objections
   Sep‐20 Claims                9/30/2020 KBD        $      390.00           0.4 study revised draft standard discovery requests and correspondence regarding same (.4)             $          156.00
          Administration &
          Objections
   Sep‐20 Claims                9/30/2020 KBD        $      390.00           0.4 study revisions to and revise draft status report on open issues for court resolution and          $          156.00
          Administration &                                                       correspondence regarding same (.4).
          Objections
   Sep‐20 Asset Disposition      9/9/2020 JR         $      140.00           0.4 further correspondence with the title company requesting updates to title commitments related to   $            56.00
                                                                                 ninth motion properties, lender and loan amount information (.4).
   Sep‐20 Business               9/1/2020 AW         $      140.00           0.2 Communicate with K. Pritchard regarding available bank records.                                    $            28.00
          Operations
   Sep‐20 Business               9/1/2020 KMP        $      140.00           2.1 Review Receivership Estate account records and update spreadsheet regarding types of available     $          294.00
          Operations                                                             records and confer with K. Duff and A. Watychowicz regarding same.
   Sep‐20 Business               9/2/2020 KMP        $      140.00           1.8 Review Receivership Estate account records and update spreadsheet regarding types of available     $          252.00
          Operations                                                             records, and confer with K. Duff regarding same.
   Sep‐20 Business               9/8/2020 AW         $      140.00           0.1 Follow up with counsel regarding online platform (.1)                                              $            14.00
          Operations
   Sep‐20 Business              9/11/2020 JRW        $      260.00           0.1 Telephone conference with A. Watychowicz regarding communication from database vendor (.1)         $            26.00
          Operations
   Sep‐20 Business              9/20/2020 AEP        $      390.00           0.4 review revised surveys with updated certification information for all properties in ninth sales    $          156.00
          Operations                                                             tranche and transmit requested changes to surveyor (.4).
   Sep‐20 Business              9/28/2020 JR         $      140.00           0.2 Further correspondence with property management requesting payment of additional partial           $            28.00
          Operations                                                             payments for property taxes of all remaining EquityBuild properties.
   Sep‐20 Business              9/28/2020 JRW        $      260.00           0.1 exchange correspondence regarding administrative order (7750 S Muskegon) (.1).                     $            26.00
          Operations
   Sep‐20 Business              9/28/2020 JRW        $      260.00           0.1 exchange correspondence with J. Rak regarding evidence of sale closings for properties (7110 S     $            26.00
          Operations                                                             Cornell, 7300 S St Lawrence and 7201 S Constance) in advance of hearings (.1)
   Sep‐20 Business              9/28/2020 JRW        $      260.00           0.3 correspondence with property manager regarding scheduling inspection of properties (7201 S         $            78.00
          Operations                                                             Constance, 7600 Kingston, 7237 S Bennett, 638 N. Avers) in advance of hearings (.3)

   Sep‐20 Business              9/29/2020 JRW        $      260.00           0.1 Confer with property manager regarding contact information for city property inspectors (.1)       $            26.00
          Operations
   Sep‐20 Business              9/29/2020 JRW        $      260.00           0.1 review compliance documentation from property manager regarding repairs and inspection (7508 S $                26.00
          Operations                                                             Essex) (.1).
   Sep‐20 Business              9/29/2020 KMP        $      140.00           0.4 Prepare form for transfer of funds to financing company in payment of premium installment for  $                56.00
          Operations                                                             property insurance and communicate with K. Duff and bank representatives regarding same.

   Sep‐20 Claims                 9/1/2020 AW         $      140.00           0.1 Response to claimant's inquiry (.1)                                                                $            14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 AW         $      140.00           3.2 continue and complete work on claims charts requested by Judge Lee (3.2).                          $          448.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00           0.1 correspondence with counsel for claimant regarding probate issues (.1)                             $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00           0.2 confer with K. Pritchard regarding no‐collection letter for same (.2).                             $            52.00
          Administration &
          Objections




                                                                                           119 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 121 of 191 PageID #:53905
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Sep‐20 Claims                 9/1/2020 JRW        $       260.00        0.3 work with A. Watychowicz regarding depiction of claimants by amount claimed (.3)                       $            78.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          0.6 correspondence with A. Porter and K. Duff regarding claim issue (6250 S. Mozart) (.6)                 $          156.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          0.6 correspondence with A. Porter and K. Duff regarding claims issues (1131‐41 E 79th) (.6)               $          156.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          0.7 related review of supporting documents submitted by claimants (.7)                                    $          182.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          0.8 review judgment orders from collections counsel and related analysis to K. Duff and A. Porter) (.8)   $          208.00
          Administration &
          Objections
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          0.9 Exchange correspondence with K. Duff and K. Pritchard regarding claimant's counsel's request for       $         234.00
          Administration &                                                      documentation and related review of records from property manager regarding properties (8107 S
          Objections                                                            Ellis, 8214 S Ingleside, 8000 S Justine, 8209 S Ellis) (.9)
   Sep‐20 Claims                 9/1/2020 JRW        $      260.00          4.2 legal research regarding institutional lenders' objections to ninth motion to confirm sales (1131‐41 E $        1,092.00
          Administration &                                                      79th, 6250 Mozart) (4.2)
          Objections
   Sep‐20 Claims                 9/1/2020 KMP        $      140.00          0.4 review spreadsheet and documentation associated with claimant's request for additional              $              56.00
          Administration &                                                      information relating to property expenses and confer with K. Duff and J. Wine regarding same (8107
          Objections                                                            Ellis, 8214 Ingleside, 8000 Justine, 8209 Ellis) (.4).
   Sep‐20 Claims                 9/1/2020 KMP        $      140.00          2.7 Compile and review additional pleadings, transcripts, orders and other materials relating to claims $            378.00
          Administration &                                                      related issue and forward same to K. Duff (2.7)
          Objections
   Sep‐20 Claims                 9/1/2020 MR         $      390.00          0.4 Attention to objection and issues on ninth sales motion (6250 Mozart and 1131 E 79th).                $          156.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 AW         $      140.00          0.1 Email exchanges with counsel regarding proposed response to email from claimant (.1)                  $            14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 AW         $      140.00          0.2 close attention to claim entry issue and communicate with J. Wine regarding same (.2).                $            28.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 AW         $      140.00          3.3 review and updates to master claims sheet and database (3.3)                                          $          462.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          0.1 and A. Watychowicz (.1) regarding claimant                                                            $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          0.1 attention to claimant inquiry (.1)                                                                    $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          0.1 confer with A. Watychowicz regarding updates to master claims spreadsheet (.1)                        $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          0.1 telephone conferences with K. Duff (.1)                                                               $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          1.5 legal research regarding objections of claimants (1131 E 79th and 6250 S. Mozart) to ninth sales      $          390.00
          Administration &                                                      motion (1.5).
          Objections
   Sep‐20 Claims                 9/2/2020 JRW        $      260.00          2.6 Work on reply to objections to ninth sales motion and related issues (1131 E 79th and 6250 S          $          676.00
          Administration &                                                      Mozart) (2.6)
          Objections
   Sep‐20 Claims                 9/2/2020 KMP        $      140.00          0.7 Review communications relating to spreadsheet associated with claimant's request for additional       $            98.00
          Administration &                                                      information regarding property expenses and confer with K. Duff regarding same.
          Objections
   Sep‐20 Claims                 9/3/2020 AW         $      140.00          0.1 communicate with vendor regarding update to claims database (.1).                                     $            14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 AW         $      140.00          0.4 Research regarding claimants' rollovers and report to K. Duff and J. Wine regarding same (.4)         $            56.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.1 and related review of revised proposal (.1)                                                           $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.1 email exchange with potential document vendor regarding status (.1)                                   $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.1 exchange correspondence with counsel for claimant (.1)                                                $            26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.2 exchange correspondence with K. Duff and A. Watychowicz regarding claimant allegations (.2)           $            52.00
          Administration &
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.3 confer with claims vendor and A. Watychowicz regarding access to documents and revisions made in $                 78.00
          Administration &                                                      database (.3).
          Objections
   Sep‐20 Claims                 9/3/2020 JRW        $      260.00          0.6 Conference call with potential document vendor and counsel for institutional lenders (.6)             $          156.00
          Administration &
          Objections
   Sep‐20 Claims                 9/4/2020 AW         $      140.00          0.1 call and message for claimant's representative and follow up with same (.1)                           $            14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/4/2020 AW         $      140.00          0.1 Communicate with K. Duff on his response to claimant (.1)                                             $            14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/4/2020 AW         $      140.00          0.3 research and communicate with K. Duff regarding production of records (.3).                           $            42.00
          Administration &
          Objections




                                                                                          120 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 122 of 191 PageID #:53906
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                Task Cost
Month                                      Keeper        Rate
   Sep‐20 Claims                 9/4/2020 MR        $       390.00        0.3 Attention to claimants' counsel's request for records.                                                $         117.00
          Administration &
          Objections
   Sep‐20 Claims                 9/7/2020 MR        $      390.00           1.8 Attention to issues on objections and follow up on standard discovery related items.                $         702.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 AW        $      140.00           0.1 attention to email from regarding information provided and communicate with counsel regarding       $           14.00
          Administration &                                                      same (.1).
          Objections
   Sep‐20 Claims                 9/8/2020 AW        $      140.00           0.1 Confer with K. Duff regarding response to claimant question regarding fund (.1)                     $           14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 AW        $      140.00           0.2 attention to voicemails left by claimant, draft response, and respond to same (.2)                  $           28.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 AW        $      140.00           0.2 review claims of claimant and his spouse and communicate with J. Wine and K. Duff regarding same    $           28.00
          Administration &                                                      (.2)
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.3 Attention to responding to claimant inquiry (.3)                                                    $           78.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.3 review fund documentation (.3)                                                                      $           78.00
          Administration &
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.4 review proposed revisions from counsel to standard discovery requests to institutional lenders,     $         104.00
          Administration &                                                      further revise same, and related internal correspondence (.4)
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.5 review revisions to draft confidentiality order from claimant's counsel and related internal        $         130.00
          Administration &                                                      correspondence (.5)
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.8 research regarding claims submitted by claimants and related analysis to K. Duff and A.             $         208.00
          Administration &                                                      Watychowicz (.8).
          Objections
   Sep‐20 Claims                 9/8/2020 JRW       $      260.00           0.8 review proposed revisions from claimant's counsel to standard discovery requests to investors,      $         208.00
          Administration &                                                      further revise same, and related internal correspondence (.8)
          Objections
   Sep‐20 Claims                 9/9/2020 AW        $      140.00           0.1 follow up regarding response to claimant (.1)                                                       $           14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/9/2020 AW        $      140.00           0.1 Review and respond to claimant email (.1)                                                           $           14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/9/2020 AW        $      140.00           0.1 update claimant's information as per request of his former counsel (.1)                             $           14.00
          Administration &
          Objections
   Sep‐20 Claims                 9/9/2020 JRW       $      260.00           0.1 attention to claimant inquiries (.1)                                                                $           26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/9/2020 JRW       $      260.00           0.1 confer with M. Rachlis regarding standard discovery (.1)                                            $           26.00
          Administration &
          Objections
   Sep‐20 Claims                 9/9/2020 JRW       $      260.00           1.1 additional revisions to standard discovery requests and related correspondence to institutional     $         286.00
          Administration &                                                      lenders' counsel (1.1)
          Objections
   Sep‐20 Claims                 9/9/2020 MR        $      390.00           0.1 attention to standard discovery issues with J. Wine (.1)                                            $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 AW        $      140.00           0.1 follow up regarding response to claimant (.1).                                                      $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 AW        $      140.00           0.2 Communicate with counsel about and respond to email from claimant (.2)                              $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 AW        $      140.00           2.7 review claims and work on updates to master claims sheet (2.7)                                      $         378.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 JRW       $      260.00           0.1 Attention to responding to claimant inquiry (.1)                                                    $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 JRW       $      260.00           0.7 conference with claimants' counsel and potential e‐discovery vendor regarding proposal (.7).        $         182.00
          Administration &
          Objections
   Sep‐20 Claims                9/10/2020 JRW       $      260.00           1.4 study fund documents and related proofs of claim (1.4)                                              $         364.00
          Administration &
          Objections
   Sep‐20 Claims                9/11/2020 AW        $      140.00           0.2 Attention to voicemail from counsel for claimant and follow up with J. Wine and K. Duff regarding   $           28.00
          Administration &                                                      communications from same (.2)
          Objections
   Sep‐20 Claims                9/11/2020 JRW       $      260.00           0.1 review correspondence from counsel for claimant (.1)                                                $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/11/2020 JRW       $      260.00           0.1 telephone conference with claimant regarding standard discovery (.1)                                $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/11/2020 JRW       $      260.00           0.2 review inquiries from claimants regarding status of claims (.2)                                     $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/14/2020 AW        $      140.00           0.2 Attention to draft notice of receivership to counsel, proofread, and email J. Wine regarding        $           28.00
          Administration &                                                      revisions.
          Objections
   Sep‐20 Claims                9/14/2020 JRW       $      260.00           1.4 draft correspondence to collections counsel regarding judgments (1.4).                              $         364.00
          Administration &
          Objections




                                                                                          121 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 123 of 191 PageID #:53907
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                    Task Cost
Month                                      Keeper        Rate
   Sep‐20 Claims                9/15/2020 AW        $       140.00        0.5 Respond via email to voicemails and request emails from claimants (.5)                                  $           70.00
          Administration &
          Objections
   Sep‐20 Claims                9/15/2020 JRW       $      260.00           0.2 Telephone conference with M. Rachlis regarding email exchanges with claimant's counsel and            $           52.00
          Administration &                                                      courtroom deputy (.2)
          Objections
   Sep‐20 Claims                9/15/2020 MR        $      390.00           0.3 attention to information for upcoming hearing before Judge Lee (.3)                                   $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 AW        $      140.00           0.1 update claimant's contact information per his request and notify claims vendor regarding same (.1)    $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 AW        $      140.00           0.2 responses to emails from claimant (.2)                                                                $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 AW        $      140.00           0.6 prepare draft notice of receivership to creditor, revise, and serve on creditor (.6).                 $           84.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 AW        $      140.00           0.6 Review submitted claims and respond to email inquiries from claimants (.6)                            $           84.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 AW        $      140.00           2.6 continue work on charts relating to claims for Judge Lee, confer with J. Wine regarding claims, and   $         364.00
          Administration &                                                      email exchange with J. Wine regarding proposed revised charts (2.6)
          Objections
   Sep‐20 Claims                9/16/2020 JRW       $      260.00           0.2 further revise draft confidentiality order and related analysis to M. Rachlis (.2)                    $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 JRW       $      260.00           0.3 further revise draft standard discovery requests and related correspondence regarding comments        $           78.00
          Administration &                                                      regarding same (.3)
          Objections
   Sep‐20 Claims                9/16/2020 JRW       $      260.00           0.4 Attention to claimant inquiries (.4)                                                                  $         104.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 JRW       $      260.00           1.1 continue working with A. Watychowicz on chart depicting breakdown of claims (1.1)                     $         286.00
          Administration &
          Objections
   Sep‐20 Claims                9/16/2020 MR        $      390.00           0.3 Attention to claim related issues regarding upcoming hearing and materials regarding same.            $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 AW        $      140.00           0.1 communicate with counsel regarding responses from claimants (.1)                                      $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 AW        $      140.00           0.2 Review submitted claims and respond to email inquiries from claimants (.2)                            $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 AW        $      140.00           1.4 continue work on charts relating to claims for Judge Lee and communications with J. Wine regarding $            196.00
          Administration &                                                      same (1.4)
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.2 review claims submitted by claimant (.2)                                                              $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.3 revise confidentiality order (.3).                                                                    $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.4 and related telephone conference with M. Rachlis (.4)                                                 $         104.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.4 related email and telephone communications with SEC, K. Duff and M. Rachlis (.4)                      $         104.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.4 revise standard discovery requests (.4)                                                               $         104.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           0.4 telephone conference with SEC (.4)                                                                    $         104.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 JRW       $      260.00           1.2 Continue working with A. Watychowicz on charts depicting claims and description of same (1.2)         $         312.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 MR        $      390.00           0.1 attention to confidentiality issues and conferences regarding same (.1).                              $           39.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 MR        $      390.00           0.4 Discussions on claims charts with J. Wine and K. Duff (.4)                                            $         156.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 MR        $      390.00           0.4 work on same with J. Wine (.4)                                                                        $         156.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 MR        $      390.00           0.5 attention to standard discovery issues (.5)                                                           $         195.00
          Administration &
          Objections
   Sep‐20 Claims                9/17/2020 MR        $      390.00           0.6 review materials regarding same (.6)                                                                  $         234.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 AW        $      140.00           0.1 communicate with J. Wine regarding claimant and his counsel's request (.1)                            $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 AW        $      140.00           0.3 Research and communicate with J. Wine about claimant (.3)                                             $           42.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 AW        $      140.00           1.2 research regarding claims issue and communicate with K. Duff and J. Wine regarding same (1.2).        $         168.00
          Administration &
          Objections




                                                                                           122 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 124 of 191 PageID #:53908
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Sep‐20 Claims                9/18/2020 AW        $       140.00        1.3 continue work on charts relating to claims for Judge Lee and communications with J. Wine regarding $                 182.00
          Administration &                                                    same (1.3)
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.1 attention to claimant inquiry (.1)                                                                       $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.1 revise draft confidentiality order to address comments from claimant's counsel (.1).                     $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.2 Confer with M. Rachlis (.2)                                                                              $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.3 and A. Watychowicz (.3) regarding analysis of claims breakdown                                           $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.3 confer with A. Watychowicz regarding analysis of fund claims to properties (.3)                          $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.3 revisions to standard discovery requests and related correspondence to counsel regarding same (.3) $                 78.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 JRW       $      260.00           0.9 related revisions to and correspondence regarding same (.9)                                              $         234.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 MR        $      390.00           0.3 attention to standard discovery issues (.3)                                                              $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/18/2020 MR        $      390.00            1 Attention to issues on charts requested by court regarding breakdown of claims and follow up              $         390.00
          Administration &                                                     regarding same (1.0)
          Objections
   Sep‐20 Claims                9/21/2020 AW        $      140.00           0.6 Continued research regarding claims issue discussed with K. Duff, communicate with J. Wine               $           84.00
          Administration &                                                      regarding same, and follow up with K. Duff about results (.6)
          Objections
   Sep‐20 Claims                9/21/2020 AW        $      140.00           0.8 communicate with J. Wine regarding revisions to charts for Judge Lee and start preparing data for        $         112.00
          Administration &                                                      different tranches (.8).
          Objections
   Sep‐20 Claims                9/21/2020 AW        $      140.00           1.3 prepare spreadsheet regarding claimant counsel information by properties (1.3)                           $         182.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.1 confer with K. Duff and M. Rachlis regarding joint status report to the court regarding outstanding      $           26.00
          Administration &                                                      discovery matters (.1)
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.1 related email to collections counsel (.1).                                                               $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.1 related telephone conference with potential vendor (.1)                                                  $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.2 confer with K. Duff regarding analysis of claims by tranche (.2)                                         $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.2 Email exchange with SEC (.2)                                                                             $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.3 telephone conference with claimant's counsel regarding claims vendor proposals (.3)                      $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.3 telephone conference with SEC (.3)                                                                       $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           0.8 and work with A. Watychowicz on same (.8)                                                                $         208.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 JRW       $      260.00           2.6 analysis of sales proceeds and claims against properties and communications with K. Duff and M.          $         676.00
          Administration &                                                      Rachlis regarding same (2.6)
          Objections
   Sep‐20 Claims                9/21/2020 MR        $      390.00           0.7 further prepare for upcoming hearing (.7).                                                               $         273.00
          Administration &
          Objections
   Sep‐20 Claims                9/21/2020 MR        $      390.00           1.8 Work on issues to review and edit of pie charts, discovery and joint status report (1.8)                 $         702.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           0.2 attention to narrative regarding charts and communicate with J. Wine regarding proposed revisions        $           28.00
          Administration &                                                      (.2)
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           0.2 Communicate with K. Duff and J. Wine regarding emails from claimants (.2)                                $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           0.4 review submitted claims and respond to email inquiries from claimants (.4)                               $           56.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           0.6 communicate with counsel regarding final revisions and prepare charts for Judge Lee, and file and        $           84.00
          Administration &                                                      serve as per service list (.6)
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           1.1 communicate with J. Wine regarding revisions to charts for Judge Lee, apply requested revisions,         $         154.00
          Administration &                                                      and finalize charts (1.1)
          Objections
   Sep‐20 Claims                9/22/2020 AW        $      140.00           1.7 attention to nearly finalized joint status report, communicate with counsel regarding final revisions,   $         238.00
          Administration &                                                      file with the Court, and serve as per service list (1.7).
          Objections
   Sep‐20 Claims                9/22/2020 JRW       $      260.00           0.1 review analysis from potential ediscovery vendor and related email to counsel (.1)                       $           26.00
          Administration &
          Objections




                                                                                          123 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 125 of 191 PageID #:53909
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Sep‐20 Claims                9/22/2020 JRW        $       260.00        0.2 correspond with Judge Lee's clerk regarding claims charts (.2)                                          $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 JRW        $       260.00          0.2 Correspond with M. Rachlis and K. Duff regarding revisions to description of charts showing claims    $           52.00
          Administration &                                                       breakdown (.2)
          Objections
   Sep‐20 Claims                9/22/2020 JRW        $       260.00          0.3 exchange emails and revisions of draft standard discovery to investors, draft standard discovery to   $           78.00
          Administration &                                                       institutional lenders and draft confidentiality order (.3)
          Objections
   Sep‐20 Claims                9/22/2020 JRW        $       260.00          0.4 exchange correspondence with counsel regarding joint status report to court on discovery‐related      $         104.00
          Administration &                                                       issues (.4).
          Objections
   Sep‐20 Claims                9/22/2020 JRW        $       260.00          1.8 revise and finalize same (1.8)                                                                        $         468.00
          Administration &
          Objections
   Sep‐20 Claims                9/22/2020 JRW        $       260.00          4.5 extensive email exchanges and conferences regarding proposed revisions to standard discovery          $        1,170.00
          Administration &                                                       requests, confidentiality order, and related status report (4.5)
          Objections
   Sep‐20 Claims                9/22/2020 MR         $       390.00          8.5 Work on various submissions to the court regarding protective order, standard discovery, charts and $          3,315.00
          Administration &                                                       various exchanges with K. Duff, J. Wine and A. Porter regarding same and preparation for upcoming
          Objections                                                             hearing.
   Sep‐20 Claims                9/23/2020 AEP        $       390.00          0.2 Review proposed discovery requests relating to standard discovery to institutional lenders and      $             78.00
          Administration &                                                       correspond with K. Duff, M. Rachlis, and J. Wine.
          Objections
   Sep‐20 Claims                9/23/2020 AW         $       140.00          0.2 Attention to emails from claimants in response to filed joint status report (.2)                      $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 AW         $       140.00          0.2 communicate with counsel regarding and response to email from investor claimant (.2)                  $           28.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 AW         $       140.00          0.3 communicate with K. Duff and J. Wine regarding same, and respond to emails from claimants (.3)        $           42.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 AW         $       140.00          0.3 review spreadsheet and communicate K. Pritchard (.3).                                                 $           42.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.1 exchange correspondence with counsel for institutional lenders regarding meet and confer (.1)         $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.1 review and revise draft email to claimants regarding investor claimant (.1).                          $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.2 and prepare preliminary draft of same (.2)                                                            $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.2 study correspondence from A. Porter regarding discovery requests and exchange emails regarding        $           52.00
          Administration &                                                       same (.2)
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.3 confer with A. Watychowicz regarding hearing update and preparation of status report regarding        $           78.00
          Administration &                                                       pending motions (.3)
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.3 telephone conference with M. Rachlis and K. Duff regarding court's directives (.3)                    $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          0.5 Attention to responding to claimant inquiries (.5)                                                    $         130.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          1.3 appearance in telephonic hearing before Judge Lee (1.3)                                               $         338.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 JRW        $       260.00          1.5 prepare for hearing on claims process and discovery issues and related telephone conference with K. $           390.00
          Administration &                                                       Duff and M. Rachlis (1.5)
          Objections
   Sep‐20 Claims                9/23/2020 MR         $       390.00          0.3 additional follow up on standard discovery issues for upcoming meetings (.3)                          $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 MR         $       390.00          0.3 attention to communications with claimant (.3).                                                       $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 MR         $       390.00          1.3 participate in hearing (1.3)                                                                          $         507.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 MR         $       390.00          1.8 and confer with J. Wine and K. Duff (1.8)                                                             $         702.00
          Administration &
          Objections
   Sep‐20 Claims                9/23/2020 MR         $       390.00          2.2 Prepare for upcoming hearing (2.2)                                                                    $         858.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 AEP        $       390.00          1.9 Teleconference with M. Rachlis and J. Wine regarding formulation of standard discovery requests to $            741.00
          Administration &                                                       institutional lenders.
          Objections
   Sep‐20 Claims                9/24/2020 AW         $       140.00          0.1 communicate with J. Wine regarding filed claims (.1)                                                  $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 AW         $       140.00          0.1 email exchange with counsel regarding issue with creditor (.1).                                       $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 AW         $       140.00          0.2 confer with K. Duff and J. Wine regarding communicating to all claimants' with claimant's             $           28.00
          Administration &                                                       information and revisions to transmittal email (.2)
          Objections
   Sep‐20 Claims                9/24/2020 AW         $       140.00          0.3 attention to email from claimant regarding her claim, and communicate with claims vendor              $           42.00
          Administration &                                                       regarding same (.3)
          Objections




                                                                                           124 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 126 of 191 PageID #:53910
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Sep‐20 Claims                9/24/2020 AW        $       140.00        0.3 Communications with K. Duff and J. Wine regarding joint status report inquiries and proposed             $           42.00
          Administration &                                                    update to claimants (.3)
          Objections
   Sep‐20 Claims                9/24/2020 AW        $      140.00           0.3 review submitted claims and respond to email inquiries from claimants regarding joint status report $              42.00
          Administration &                                                      and update on claims process (.3)
          Objections
   Sep‐20 Claims                9/24/2020 AW        $      140.00           1.1 prepare pending motion joint status report per court order and communicate with J. Wine regarding $              154.00
          Administration &                                                      same (1.1)
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           0.1 and related exchange of revisions to same (.1).                                                        $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           0.2 attention to response to claimant inquiries (.2)                                                       $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           0.3 Exchange correspondence with A. Watychowicz and K. Duff regarding standard response to                 $           78.00
          Administration &                                                      claimants' FAQ regarding draft discovery (.3)
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           0.4 draft email to claimants regarding circulation of contact information for claimant pursuant to court   $         104.00
          Administration &                                                      order (.4)
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           0.8 work with M. Rachlis on revision of standard discovery requests (.8)                                   $         208.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 JRW       $      260.00           1.5 confer with M. Rachlis and A. Porter regarding standard discovery requests (1.5)                       $         390.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 MR        $      390.00           0.2 review court order regarding issues above (.2).                                                        $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 MR        $      390.00           0.3 review and comment on email communication to claimants (.3)                                            $         117.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 MR        $      390.00             1 Prepare for meetings on standard discovery (1.0)                                                       $         390.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 MR        $      390.00           1.4 further work on revisions to same (1.4)                                                                $         546.00
          Administration &
          Objections
   Sep‐20 Claims                9/24/2020 MR        $      390.00           1.9 participate in meeting with J. Wine and A. Porter (1.9)                                                $         741.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 AW        $      140.00           0.4 Communicate with counsel regarding email to all claimants, prepare same, and serve requested           $           56.00
          Administration &                                                      email pursuant to court order (.4)
          Objections
   Sep‐20 Claims                9/25/2020 AW        $      140.00           0.5 correspond with claimant regarding her not submitting claim, communicate with K. Duff regarding        $           70.00
          Administration &                                                      same, and communicate with potential claimant regarding bar date (.5)
          Objections
   Sep‐20 Claims                9/25/2020 AW        $      140.00           1.2 responses to claimants' emails in response to notification regarding claimant's contact information    $         168.00
          Administration &                                                      that was shared pursuant to Court's order and joint status report (1.2)
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.2 and with A. Watychowicz regarding process for discovery (.2)                                           $           52.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.2 Revise standard discovery to institutional lenders and related email to counsel in advance of          $           52.00
          Administration &                                                      conference (.2)
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.3 related correspondence with counsel for institutional lenders (.3)                                     $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.3 telephone conference with A. Watychowicz regarding processes for claims and discovery (.3).            $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.3 work with A. Watychowicz on investigation of and response to inquiry from claimant (.3)                $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.5 further work with M. Rachlis on standard discovery issues (.5)                                         $         130.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           0.9 attention to additional claimant inquiries (.9)                                                        $         234.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 JRW       $      260.00           1.5 conference with counsel for institutional lenders, counsel for SEC and M. Rachlis (1.5)                $         390.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 MR        $      390.00           1.5 Participate in conference regarding discovery (1.5)                                                    $         585.00
          Administration &
          Objections
   Sep‐20 Claims                9/25/2020 MR        $      390.00             3 research regarding discovery and review discovery and work on various issues regarding same to         $        1,170.00
          Administration &                                                      further revise standard discovery (3.0)
          Objections
   Sep‐20 Claims                9/28/2020 AW        $      140.00           0.1 Update claimant's contact info and correspond with claims vendor regarding same (.1)                   $           14.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 AW        $      140.00           0.8 review claims and respond to update requests from claimants (.8)                                       $         112.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 AW        $      140.00           0.8 work with J. Wine on revisions to joint status report regarding pending motions (.8)                   $         112.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 JRW       $      260.00           0.1 communicate with A. Watychowicz regarding claimant inquiries (.1)                                      $           26.00
          Administration &
          Objections




                                                                                          125 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 127 of 191 PageID #:53911
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Sep‐20 Claims                9/28/2020 JRW        $       260.00        0.1 Confer with A. Watychowicz regarding logistics for providing discovery to claimants (.1)                $           26.00
          Administration &
          Objections
   Sep‐20 Claims                9/28/2020 JRW        $       260.00          0.5 work with A. Watychowicz to prepare status report to court on pending motions and incorporate         $         130.00
          Administration &                                                       comments regarding same (.5).
          Objections
   Sep‐20 Claims                9/28/2020 JRW        $       260.00          1.9 study and revise draft of joint motion to resolve discovery disputes (1.9)                            $         494.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 AW         $       140.00          0.4 continue work on revisions to joint status report regarding pending motions (.4).                     $           56.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 JRW        $       260.00          0.3 additional revisions to joint update on pending motions and related discussions with K. Duff and M.   $           78.00
          Administration &                                                       Rachlis (.3).
          Objections
   Sep‐20 Claims                9/29/2020 JRW        $       260.00          0.3 review revision to standard discovery from institutional lenders and related correspondence to        $           78.00
          Administration &                                                       counsel (.3)
          Objections
   Sep‐20 Claims                9/29/2020 JRW        $       260.00          0.7 telephone conferences with M. Rachlis regarding discovery and joint motion (.7)                       $         182.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 JRW        $       260.00          0.9 continued drafting and revision of position statement regarding standard discovery requests (.9)      $         234.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 JRW        $       260.00          1.3 Continue revision to standard discovery requests to institutional lenders and investors (1.3)         $         338.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 MR         $       390.00          0.4 attention to issues on joint report on pending motions (.4).                                          $         156.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 MR         $       390.00          0.7 conferences regarding discovery and joint motion with J. Wine (.7)                                    $         273.00
          Administration &
          Objections
   Sep‐20 Claims                9/29/2020 MR         $       390.00            3 Work on standard discovery issues and motion to resolve issues and follow up regarding same (3.0)     $        1,170.00
          Administration &
          Objections
   Sep‐20 Claims                9/30/2020 JRW        $       260.00          0.2 telephone conference and exchange of correspondence with counsel for institutional lender             $           52.00
          Administration &                                                       claimants regarding joint report on pending motions (.2)
          Objections
   Sep‐20 Claims                9/30/2020 JRW        $       260.00          0.3 exchange of correspondence with counsel for SEC (.3)                                                  $           78.00
          Administration &
          Objections
   Sep‐20 Claims                9/30/2020 JRW        $       260.00            1 and related communications with M. Rachlis and K. Duff regarding formulation of response to           $         260.00
          Administration &                                                       proposed additions and exchange of redline draft (1.0).
          Objections
   Sep‐20 Claims                9/30/2020 JRW        $       260.00          2.1 Continued revision of and discussion regarding standard discovery requests and related                $         546.00
          Administration &                                                       correspondence with counsel for institutional lender claimants regarding same (2.1)
          Objections
   Sep‐20 Claims                9/30/2020 MR         $       390.00          2.5 Attention to standard discovery related issues and various drafts and edits.                          $         975.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 KBD        $       390.00          0.1 attention claimant communication and exchange correspondence with A. Watychowicz regarding            $           39.00
          Administration &                                                       same (.1).
          Objections
   Oct‐20 Claims                10/1/2020 KBD        $       390.00          0.8 study and revise joint status report on open issues and standard discovery requests (.8)              $         312.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 KBD        $       390.00            1 Confer and exchange correspondence with M. Rachlis and J. Wine regarding claims process,              $         390.00
          Administration &                                                       standard discovery, joint report on open issues, turnover motion, and various related issues (1.0)
          Objections
   Oct‐20 Claims                10/2/2020 KBD        $       390.00          0.2 telephone conference with J. Wine regarding instructions in investor lender standard discovery        $           78.00
          Administration &                                                       requests (.2)
          Objections
   Oct‐20 Claims                10/2/2020 KBD        $       390.00          0.5 study and revise joint motion regarding standard discovery and exchange correspondence                $         195.00
          Administration &                                                       regarding same (.5)
          Objections
   Oct‐20 Claims                10/2/2020 KBD        $       390.00          0.5 Study and revise standard discovery requests and exchange correspondence with J. Wine and M.          $         195.00
          Administration &                                                       Rachlis regarding same (.5)
          Objections
   Oct‐20 Claims                10/8/2020 KBD        $       390.00          0.3 attention to communications from claimants (.3).                                                      $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/10/2020 KBD        $       390.00          0.2 Study institutional lender proposal regarding EquityBuild documents and exchange correspondence       $           78.00
          Administration &                                                       with regarding same.
          Objections
   Oct‐20 Claims               10/12/2020 KBD        $       390.00          0.1 work on communications with claimants (.1)                                                            $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/12/2020 KBD        $       390.00          0.4 study motion for reconsideration (.4).                                                                $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 KBD        $       390.00          0.1 review proof of claim and correspondence regarding same (.1).                                         $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 KBD        $       390.00          0.3 Analysis of claims process methodology (.3)                                                           $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 KBD        $       390.00          0.4 work on response to claimants' requests for information (.4)                                          $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/14/2020 KBD        $       390.00          0.4 work on responses to claimants' requests for information (.4)                                         $         156.00
          Administration &
          Objections




                                                                                           126 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 128 of 191 PageID #:53912
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Oct‐20 Claims               10/14/2020 KBD        $       390.00        0.5 draft and revise correspondence to claimants' counsel regarding requests for claims, documents,        $         195.00
          Administration &                                                     and information (.5)
          Objections
   Oct‐20 Claims               10/15/2020 KBD        $      390.00           0.3 study claims by property (.3).                                                                       $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 KBD        $      390.00           0.5 Draft correspondence to claimant's counsel regarding proof of claim forms and EB documents and       $         195.00
          Administration &                                                       exchange correspondence with M. Rachlis regarding same (.5)
          Objections
   Oct‐20 Claims               10/16/2020 KBD        $      390.00           0.1 Confer with A. Porter and J. Rak regarding claims analysis planning (.1)                             $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/16/2020 KBD        $      390.00           0.2 work on communications with claimants (.2)                                                           $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/16/2020 KBD        $      390.00           0.3 draft correspondence to claimants' counsel regarding EB documents and proof of claim forms (.3).     $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/19/2020 KBD        $      390.00           0.1 exchange correspondence regarding claimant inquiry relating to post‐sale reconciliation (.1).        $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/20/2020 KBD        $      390.00           0.4 attention to response to motion for reconsideration and study correspondence regarding same (.4)     $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/20/2020 KBD        $      390.00           0.4 Draft correspondence to M. Rachlis regarding summary proceedings (.4)                                $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/22/2020 KBD        $      390.00           3.7 Work on response to claimants motion for reconsideration.                                            $        1,443.00
          Administration &
          Objections
   Oct‐20 Claims               10/23/2020 KBD        $      390.00           0.1 study correspondence from claimant regarding institutional lenders and discovery (.1).               $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/23/2020 KBD        $      390.00           1.3 study hearing transcripts, draft correspondence, and evaluate claimants' proposal for document       $         507.00
          Administration &                                                       data base and cost sharing (1.3)
          Objections
   Oct‐20 Claims               10/23/2020 KBD        $      390.00           2.8 Draft and revise response to claimants' motion for reconsideration, and draft correspondence to M.   $        1,092.00
          Administration &                                                       Rachlis regarding same (2.8)
          Objections
   Oct‐20 Claims               10/24/2020 KBD        $      390.00           1.7 Draft and revise response to claimants' motion for reconsideration, and exchange correspondence      $         663.00
          Administration &                                                       with M. Rachlis regarding same.
          Objections
   Oct‐20 Claims               10/25/2020 KBD        $      390.00           0.1 review correspondence regarding EB documents for repository (.1).                                    $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/25/2020 KBD        $      390.00           1.9 Draft and revise response to claimants' motion for reconsideration and exchange correspondence       $         741.00
          Administration &                                                       with M. Rachlis regarding same (1.9)
          Objections
   Oct‐20 Claims               10/26/2020 KBD        $      390.00           0.2 study SEC opposition to motion for reconsideration (.2)                                              $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 KBD        $      390.00           0.5 prepare for hearing on claims before Judge Lee and exchange correspondence regarding same (.5).      $         195.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 KBD        $      390.00           0.9 revise response to document database proposal and exchange various correspondence regarding          $         351.00
          Administration &                                                       same (.9)
          Objections
   Oct‐20 Claims               10/26/2020 KBD        $      390.00           1.6 Draft and revise response to claimants' motion for reconsideration and exchange correspondence       $         624.00
          Administration &                                                       with M. Rachlis and J. Wine regarding same (1.6)
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           0.1 exchange correspondence regarding document database proposal (.1).                                   $           39.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           0.3 confer with M. Rachlis regarding hearing before Judge Lee (.3)                                       $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           0.4 confer with SEC, M. Rachlis, and J. Wine (.4)                                                        $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           0.8 confer with M. Rachlis and J. Wine regarding issues relating to hearing before Judge Lee (.8)        $         312.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           0.9 attention to communications from numerous claimants (.9)                                             $         351.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00             1 work on claims process planning and progression of review (1.0)                                      $         390.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           1.1 Prepare for hearing before Judge Lee on claims (1.1)                                                 $         429.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 KBD        $      390.00           2.3 appear at hearing before Judge Lee (2.3)                                                             $         897.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 KBD        $      390.00           0.3 exchange correspondence with J. Wine regarding logistics for disseminating claim forms and           $         117.00
          Administration &                                                       supporting documents to claimants (.3).
          Objections
   Oct‐20 Claims               10/29/2020 KBD        $      390.00           1.1 Work on communications with claimants regarding claims process and standard discovery (1.1)          $         429.00
          Administration &
          Objections
   Oct‐20 Claims               10/30/2020 KBD        $      390.00           0.2 exchange correspondence with J. Wine and A. Watychowicz regarding service of information             $           78.00
          Administration &                                                       relating to claims (.2)
          Objections




                                                                                           127 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 129 of 191 PageID #:53913
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                             Task Description                                                Task Cost
Month                                       Keeper        Rate
   Oct‐20 Claims               10/30/2020 KBD        $       390.00        0.3 Telephone conferences with SEC (.3)                                                                     $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/30/2020 KBD        $      390.00          1.2 work on communications with claimants regarding claims process (1.2)                                   $         468.00
          Administration &
          Objections
   Oct‐20 Asset Disposition    10/16/2020 JR         $      140.00          0.2 and property manager liens and expenses (.2)                                                           $           28.00

   Oct‐20 Asset Disposition    10/22/2020 AW         $      140.00          0.9 Study draft response to motion to reconsider and communicate with M. Rachlis regarding revisions.      $         126.00

   Oct‐20 Asset Disposition    10/30/2020 AEP        $      390.00          0.1 additional correspondence with J. Wine regarding potential negotiation of resolution of                $           39.00
                                                                                administrative proceedings pending against receivership property (.1)
   Oct‐20 Business             10/21/2020 AW         $      140.00          0.1 communicate with K. Duff regarding transcripts of various proceedings (.1).                            $           14.00
          Operations
   Oct‐20 Business             10/21/2020 AW         $      140.00          0.2 Call with J. Wine regarding access to online platforms (.2)                                            $           28.00
          Operations
   Oct‐20 Business             10/21/2020 ED         $      390.00          0.1 confer with A. Watychowicz to request document relating to properties to be discussed (.1).            $           39.00
          Operations
   Oct‐20 Business             10/21/2020 ED         $      390.00          0.3 and related email correspondence (.3)                                                                  $         117.00
          Operations
   Oct‐20 Business             10/26/2020 JRW        $      260.00          0.2 update team regarding general order from City of Chicago Department of Administrative hearings         $           52.00
          Operations                                                            regarding hearings in Department of Buildings matters (.2).
   Oct‐20 Business             10/30/2020 KMP        $      140.00          0.2 communicate with K. Duff regarding preservation of records (.2).                                       $           28.00
          Operations
   Oct‐20 Claims                10/1/2020 AW         $      140.00          0.1 Respond to claimant's email and voice message regarding discovery (.1)                                 $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 AW         $      140.00          0.2 attention to email exchanges with lenders' counsel regarding discovery motion and joint status on      $           28.00
          Administration &                                                      pending motions (.2).
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          0.2 telephone conference with claimants' counsel regarding joint motion regarding pending matters for $                52.00
          Administration &                                                      disposition (.2)
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          0.4 review of briefing on claims motion (.4)                                                               $         104.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          0.5 prepare exhibits to discovery motion (.5).                                                             $         130.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          0.5 prepare list of scheduling issues for claims process (.5)                                              $         130.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          0.9 revise and finalize same and related email exchanges with claimants' counsel, EB team and SEC (.9)     $         234.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00            1 telephone conference with M. Rachlis and K. Duff regarding joint report on pending motions,            $         260.00
          Administration &                                                      turnover motion, standard discovery and related position statement (1.0)
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          1.6 continue working on motion setting forth participants' discovery positions (1.6)                       $         416.00
          Administration &
          Objections
   Oct‐20 Claims                10/1/2020 JRW        $      260.00          1.7 study latest draft of standard discovery requests to investors from institutional lenders' counsel and $         442.00
          Administration &                                                      related analysis and communications with M. Rachlis and K. Duff (1.7)
          Objections
   Oct‐20 Claims                10/1/2020 MR         $      390.00            1 conference with K. Duff and J. Wine regarding claims process, standard discovery, joint submission     $         390.00
          Administration &                                                      and related issues (1.0)
          Objections
   Oct‐20 Claims                10/1/2020 MR         $      390.00          3.7 Review and revise several drafts of claims process standard discovery and follow up communications $            1,443.00
          Administration &                                                      regarding same (3.7)
          Objections
   Oct‐20 Claims                10/2/2020 AW         $      140.00          0.1 respond to claimant's email and voice message regarding discovery (.1)                                 $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 AW         $      140.00          0.2 Attention to email from claimant regarding address update, update contact list, and communicate        $           28.00
          Administration &                                                      with claims vendor regarding same (.2)
          Objections
   Oct‐20 Claims                10/2/2020 AW         $      140.00          0.3 file and serve as per service list (.3).                                                               $           42.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 AW         $      140.00          1.6 work with J. Wine on revisions and finalization of joint status on pending motions and discovery       $         224.00
          Administration &                                                      motion (1.6)
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          0.2 Finalize joint statement regarding pending motions for filing and related exchange with counsel (.2)   $           52.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          0.4 conferences with A. Watychowicz regarding service issues and filings (.4)                              $         104.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          0.4 review drafts and comment on response to motion and related conference with K. Duff (.4)               $         104.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          0.4 various emails and telephone conference with claimants' counsel regarding discovery requests,          $         104.00
          Administration &                                                      joint motion and exhibits (.4)
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          0.9 incorporate arguments from claimants into joint report and finalize same for filing (.9).              $         234.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00            1 work with M. Rachlis on joint report to Court regarding discovery and framework for same (1.0)         $         260.00
          Administration &
          Objections
   Oct‐20 Claims                10/2/2020 JRW        $      260.00          1.6 work with M. Rachlis to revise standard discovery requests to investors (1.6)                          $         416.00
          Administration &
          Objections




                                                                                           128 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 130 of 191 PageID #:53914
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Oct‐20 Claims                10/2/2020 JRW        $       260.00        1.8 analyze new discovery requests proposed by claimants and update joint motion regarding same            $         468.00
          Administration &                                                     (1.8)
          Objections
   Oct‐20 Claims                10/2/2020 MR         $      390.00          3.9 Further work and review of various joint status report, standard discovery and related issues         $        1,521.00
          Administration &                                                      including exchanges with J. Wine regarding these issues (3.9)
          Objections
   Oct‐20 Claims                10/8/2020 AW         $      140.00          0.1 communicate with claimant regarding claims as listed on master claims spreadsheet (.1)                $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/8/2020 AW         $      140.00          0.1 communicate with K. Duff and J. Wine regarding emails from claimants (.1).                            $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/8/2020 AW         $      140.00          0.1 Respond to claimant's email regarding discovery and update (.1)                                       $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/8/2020 AW         $      140.00          0.2 attention to email from claimant regarding address update, update contact list, and communicate       $           28.00
          Administration &                                                      with claims vendor regarding same (.2)
          Objections
   Oct‐20 Claims                10/8/2020 AW         $      140.00          0.5 communicate with J. Wine regarding claimant's premature submission, review and respond to             $           70.00
          Administration &                                                      claimant's email regarding discovery (.5)
          Objections
   Oct‐20 Claims                10/8/2020 JRW        $      260.00          0.1 Correspond with accountant regarding claimant inquiry (.1)                                            $           26.00
          Administration &
          Objections
   Oct‐20 Claims                10/8/2020 JRW        $      260.00          0.8 confer with A. Watychowicz regarding claimant inquiries (.3), review of discovery responses and       $         208.00
          Administration &                                                      document images from claimant and draft proposed response to same (.5)
          Objections
   Oct‐20 Claims                10/9/2020 AW         $      140.00          0.1 Respond to claimant's email regarding discovery (.1)                                                  $           14.00
          Administration &
          Objections
   Oct‐20 Claims                10/9/2020 JRW        $      260.00          0.1 Telephone conference with claimants counsel regarding database vendor proposal (.1)                   $           26.00
          Administration &
          Objections
   Oct‐20 Claims                10/9/2020 JRW        $      260.00          0.4 review proposal filed by claimants and related email to K. Duff, M. Rachlis and A. Watychowicz (.4)   $         104.00
          Administration &
          Objections
   Oct‐20 Claims                10/9/2020 MR         $      390.00          0.2 Attention to proposal and issues regarding proposal for EB document library.                          $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/12/2020 AW         $      140.00          0.2 Attention to follow up email from claimant, communicate with K. Duff and J. Wine regarding same,      $           28.00
          Administration &                                                      and respond to email requesting tax update.
          Objections
   Oct‐20 Claims               10/12/2020 MR         $      390.00          0.5 Attention to claimants' reconsideration motion.                                                       $         195.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 AW         $      140.00          0.1 communicate with K. Duff regarding claim received and attention to cover letter (.1).                 $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 AW         $      140.00          0.1 Attention to follow up email from claimant, communicate with K. Duff and J. Wine regarding same,      $           14.00
          Administration &                                                      and respond to email requesting several updates (.1)
          Objections
   Oct‐20 Claims               10/13/2020 JRW        $      260.00          0.1 attention to claimant inquiry (.1)                                                                    $           26.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 JRW        $      260.00          0.2 research regarding claimant inquiry and related correspondence to A. Watychowicz (.2)                 $           52.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 JRW        $      260.00          0.3 review case law regarding potential issue (.3).                                                       $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/13/2020 JRW        $      260.00          0.3 Study claimants' motion to reconsider (.3)                                                            $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/14/2020 AW         $      140.00          0.2 respond to emails from claimants regarding update request and discovery issues (.2).                  $           28.00
          Administration &
          Objections
   Oct‐20 Claims               10/14/2020 AW         $      140.00          0.2 Attention to another follow up from claimant and communicate with K. Duff and J. Wine regarding       $           28.00
          Administration &                                                      same and detailed updates (.2)
          Objections
   Oct‐20 Claims               10/14/2020 AW         $      140.00          0.5 attention to claim received, review same, and prepare description for upload to database (.5)         $           70.00
          Administration &
          Objections
   Oct‐20 Claims               10/14/2020 JRW        $      260.00          0.2 Attention to inquiries from claimant.                                                                 $           52.00
          Administration &
          Objections
   Oct‐20 Claims               10/14/2020 MR         $      390.00          0.3 Work on draft communication on claims process discovery (.3)                                          $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 AW         $      140.00          0.1 communicate with claims vendor regarding addition of new claim (.1)                                   $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 AW         $      140.00          0.2 Communicate with K. Duff and J. Wine regarding claims process emailing issues (.2)                    $           28.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 AW         $      140.00          1.7 email claimants to request email address update and mail letter notices to claimants (1.7)            $         238.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 AW         $      140.00          3.4 work on bounced emails project relating to claims process communications and call with J. Wine        $         476.00
          Administration &                                                      regarding same (3.4).
          Objections
   Oct‐20 Claims               10/15/2020 JRW        $      260.00          0.3 telephone conference with A. Watychowicz regarding communications to claimants regarding              $           78.00
          Administration &                                                      invalid email addresses (.3).
          Objections




                                                                                          129 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 131 of 191 PageID #:53915
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Oct‐20 Claims               10/15/2020 JRW        $       260.00        0.5 Telephone conference with K. Duff regarding claims process and legal authority (.5)                     $         130.00
          Administration &
          Objections
   Oct‐20 Claims               10/15/2020 MR         $       390.00          0.2 Further attention to discovery related issues.                                                        $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/16/2020 JRW        $       260.00          0.1 confer with A. Watychowicz regarding claim (.1).                                                      $           26.00
          Administration &
          Objections
   Oct‐20 Claims               10/16/2020 JRW        $       260.00          0.4 Work with A. Watychowicz on communications with claimants (.4)                                        $         104.00
          Administration &
          Objections
   Oct‐20 Claims               10/19/2020 AW         $       140.00          0.1 respond to email from claimant regarding discovery issues (.1).                                       $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/19/2020 AW         $       140.00          0.7 Attention to emails from claimants who responded to email update request, update emailing list,       $           98.00
          Administration &                                                       and notify claims vendors regarding same (.7)
          Objections
   Oct‐20 Claims               10/19/2020 MR         $       390.00            2 Research and attention to response to reconsideration motion.                                         $         780.00
          Administration &
          Objections
   Oct‐20 Claims               10/20/2020 MR         $       390.00            3 Further work on response on motion for reconsideration.                                               $        1,170.00
          Administration &
          Objections
   Oct‐20 Claims               10/21/2020 MR         $       390.00            5 Further work to respond to motion for reconsideration and research various issues regarding same.     $        1,950.00
          Administration &
          Objections
   Oct‐20 Claims               10/22/2020 JRW        $       260.00          0.2 Exchange correspondence with K. Duff regarding claims analysis.                                       $           52.00
          Administration &
          Objections
   Oct‐20 Claims               10/22/2020 MR         $       390.00          0.2 Further attention to motion for reconsideration.                                                      $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/23/2020 MR         $       390.00          0.3 attention to turnover motion and upcoming issues for hearing on claims process (.3).                  $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/23/2020 MR         $       390.00          1.4 Further work on response on motion for reconsideration (1.4)                                          $         546.00
          Administration &
          Objections
   Oct‐20 Claims               10/24/2020 MR         $       390.00          0.3 Follow up on issues on draft motion for reconsideration and follow up with K. Duff regarding same.    $         117.00
          Administration &
          Objections
   Oct‐20 Claims               10/25/2020 MR         $       390.00          0.2 Attention to email on claims related issues (.2)                                                      $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/25/2020 MR         $       390.00          0.4 further work on motion for reconsideration and follow up with K. Duff (.4).                           $         156.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 AW         $       140.00          0.1 follow up with J. Wine regarding response to proposal for EquityBuild documents (.1)                  $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 AW         $       140.00          0.1 Attention to emails from claimants who responded to email update request (.1)                         $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 AW         $       140.00          0.7 further revisions to same (.7)                                                                        $           98.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 AW         $       140.00          0.7 work to finalize response, file with court, and serve as per service list (.7).                       $           98.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 AW         $       140.00          1.1 study response to motion to reconsider and email counsel regarding revisions (1.1)                    $         154.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 JRW        $       260.00          0.1 review proposal for distribution of claims documentation from vendor and send analysis to M.          $           26.00
          Administration &                                                       Rachlis and K. Duff (.1).
          Objections
   Oct‐20 Claims               10/26/2020 JRW        $       260.00          0.2 email exchange with M. Rachlis regarding upcoming hearing on issues relating to claims process (.2) $             52.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 JRW        $       260.00          0.3 exchange correspondence with K. Duff regarding document vendor proposal and related review of         $           78.00
          Administration &                                                       same (.3)
          Objections
   Oct‐20 Claims               10/26/2020 JRW        $       260.00          1.7 Review and work with M. Rachlis and K. Duff on revision and finalization of response to motion to     $         442.00
          Administration &                                                       reconsider (1.7)
          Objections
   Oct‐20 Claims               10/26/2020 JRW        $       260.00          2.1 work with M. Rachlis on response to institutional lenders' proposal for EquityBuild documents (2.1)   $         546.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 MR         $       390.00          1.2 Further work on motion for reconsideration issues (1.2)                                               $         468.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 MR         $       390.00          1.3 further prepare for upcoming hearing on claims process (1.3).                                         $         507.00
          Administration &
          Objections
   Oct‐20 Claims               10/26/2020 MR         $       390.00            2 attention to claims and work with J. Wine regarding same (2.0)                                        $         780.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 AW         $       140.00          0.1 redact email regarding claimant request and forward same to K. Duff (.1).                             $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 AW         $       140.00          0.1 Email response to claimant regarding access to telephone hearing (.1)                                 $           14.00
          Administration &
          Objections




                                                                                            130 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 132 of 191 PageID #:53916
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                           Task Cost
Month                                      Keeper        Rate
   Oct‐20 Claims               10/27/2020 AW        $       140.00        0.2 communicate with K. Duff and J. Wine regarding claimants' response to service of response to                   $           28.00
          Administration &                                                    proposal for EquityBuild documents (.2)
          Objections
   Oct‐20 Claims               10/27/2020 AW        $      140.00           0.2 follow up with K. Duff and J. Wine regarding requests for update and discovery issues from                   $           28.00
          Administration &                                                      claimants (.2)
          Objections
   Oct‐20 Claims               10/27/2020 AW        $      140.00           0.4 further revisions to response and communicate with counsel regarding same (.4)                               $           56.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 AW        $      140.00           0.4 proofread response to proposal for EquityBuild documents and email counsel regarding same (.4)               $           56.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 AW        $      140.00           0.7 include additional final revisions, finalize response, file with Court, and serve as per service list (.7)   $           98.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.1 exchange correspondence with potential vendor regarding status of project and pending motion                 $           26.00
          Administration &                                                      (.1)
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.1 telephone conference with claimant's counsel regarding discovery dispute (.1)                                $           26.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.2 attention to responding to claimant inquiries (.2)                                                           $           52.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.2 related review of outline regarding claims planning (.2)                                                     $           52.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.4 Review, revise and finalize response to proposal for EquityBuild documents (.3) and related                  $         104.00
          Administration &                                                      exchange regarding service (.1)
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           0.9 conference call with M. Rachlis and K. Duff regarding court's orders and preparation for hearing (.9) $                234.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           1.6 study standard claims process discovery, joint submissions, motion and objections in preparation             $         416.00
          Administration &                                                      for hearing on claims process motion (1.6)
          Objections
   Oct‐20 Claims               10/27/2020 JRW       $      260.00           2.4 attend telephonic hearing before Judge Lee regarding claims process (2.4).                                   $         624.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 MR        $      390.00           0.8 participate in meeting with K. Duff and J. Wine relating to same (.8).                                       $         312.00
          Administration &
          Objections
   Oct‐20 Claims               10/27/2020 MR        $      390.00           4.4 Further prepare for (2.0) and participate in hearing before Judge Lee regarding claims process (2.4)         $        1,716.00
          Administration &
          Objections
   Oct‐20 Claims               10/28/2020 JRW       $      260.00           0.1 correspondence with claimant's counsel regarding proposed vendor (.1)                                        $           26.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 AEP       $      390.00           1.1 Teleconference with EquityBuild investor regarding procedural status of litigation, claims process,          $         429.00
          Administration &                                                      factual background of transactions in which funds were invested, and timeline to completion.
          Objections
   Oct‐20 Claims               10/29/2020 AW        $      140.00           0.1 remove claimant from mailing list per his request and respond to email (.1)                                  $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 AW        $      140.00           0.3 work with K. Duff and J. Wine on updated responses to claimants inquiring about status report (.3).          $           42.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 AW        $      140.00           0.3 Respond to claimants' inquiries about discovery (.2) and about confirming their claims (.1)                  $           42.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 JRW       $      260.00           0.2 Review information from proposed vendor for hosting EquityBuild documents and related emails                 $           52.00
          Administration &                                                      with claimant's counsel (.2)
          Objections
   Oct‐20 Claims               10/29/2020 JRW       $      260.00           0.6 telephone conference with claimant's counsel regarding strategy for distribution of claims data (.4)         $         156.00
          Administration &                                                      and related communications with K. Duff and M. Rachlis (.2)
          Objections
   Oct‐20 Claims               10/29/2020 JRW       $      260.00           0.7 attention to responding to claimant inquiries (.7)                                                           $         182.00
          Administration &
          Objections
   Oct‐20 Claims               10/29/2020 MR        $      390.00           0.2 Attention to issues on distribution of claims data.                                                          $           78.00
          Administration &
          Objections
   Oct‐20 Claims               10/30/2020 AW        $      140.00           0.1 Respond to claimants' inquiries about confirming their claims (.1)                                           $           14.00
          Administration &
          Objections
   Oct‐20 Claims               10/30/2020 AW        $      140.00           0.3 attention to emails from claimants in response to served status report, review claims, and                   $           42.00
          Administration &                                                      communicate with K. Duff and J. Wine regarding proposed revisions to master claims list (.3).
          Objections
   Oct‐20 Claims               10/30/2020 JRW       $      260.00           0.1 Exchange correspondence regarding proposed vendor (.1)                                                       $           26.00
          Administration &
          Objections
   Oct‐20 Claims               10/30/2020 JRW       $      260.00           0.3 exchange correspondence with K. Duff and A. Watychowicz regarding service of represented                     $           78.00
          Administration &                                                      claimants (.3)
          Objections
   Nov‐20 Business             11/20/2020 KBD       $      390.00           0.1 exchange correspondence regarding post‐sale accounting reconciliation (.1).                                  $           39.00
          Operations
   Nov‐20 Claims                11/2/2020 KBD       $      390.00           0.2 attention to master claims list (.2).                                                                        $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 KBD       $      390.00           0.4 Exchange correspondence with J. Wine regarding production of EB claim forms and EB documents                 $         156.00
          Administration &                                                      (.4)
          Objections
   Nov‐20 Claims                11/2/2020 KBD       $      390.00           0.7 review draft correspondence to claimants and exchange correspondence regarding same and                      $         273.00
          Administration &                                                      proposed standard responses to FAQ (.7)
          Objections




                                                                                           131 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 133 of 191 PageID #:53917
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Nov‐20 Claims                11/3/2020 KBD        $       390.00        0.1 study claimants' motion for reconsideration (.1)                                                        $           39.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 KBD        $      390.00          0.1 study correspondence from J. Wine regarding and address issues relating to EB document                 $           39.00
          Administration &                                                      repository (.1)
          Objections
   Nov‐20 Claims                11/3/2020 KBD        $      390.00          0.8 Work on communication with claimants and responses to FAQ (.8)                                         $         312.00
          Administration &
          Objections
   Nov‐20 Claims                11/4/2020 KBD        $      390.00          0.2 attention to claims (.2).                                                                              $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/5/2020 KBD        $      390.00          0.2 attention to communication with claimant and claimants' counsel (.2).                                  $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/6/2020 KBD        $      390.00          0.2 Attention to claimant communication regarding claim process and response to same (.2)                  $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 KBD        $      390.00          0.2 work on responses to FAQ from claimants regarding claims process (.2)                                  $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 KBD        $      390.00          0.3 confer with M. Rachlis, J. Wine, and A. Porter regarding potential resolution of claims against        $         117.00
          Administration &                                                      properties (.3)
          Objections
   Nov‐20 Claims                11/9/2020 KBD        $      390.00          0.5 attention to claimant communications regarding claims (.5)                                             $         195.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 KBD        $      390.00          0.7 confer with M. Rachlis, J. Wine, and A. Porter regarding claims process logistics and planning (.7).   $         273.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 KBD        $      390.00          0.2 address claim against property (1449 Talman) (.2).                                                     $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 KBD        $      390.00          0.6 Attention to communications with claimants regarding claims and claims process (.6)                    $         234.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 KBD        $      390.00          0.2 attention to claimant's counsel inquiry regarding status report (.2)                                   $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 KBD        $      390.00          0.6 study revised claims process outline and standard discovery requests (.6).                             $         234.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 KBD        $      390.00          0.6 work on communications with claimants and counsel (.6)                                                 $         234.00
          Administration &
          Objections
   Nov‐20 Claims               11/12/2020 KBD        $      390.00          0.4 attention to correspondence from claimants' counsel regarding request for claim forms and              $         156.00
          Administration &                                                      documentation (.4).
          Objections
   Nov‐20 Claims               11/18/2020 KBD        $      390.00          0.1 attention to claimant communications relating to claims (.1).                                          $           39.00
          Administration &
          Objections
   Nov‐20 Claims               11/19/2020 KBD        $      390.00          0.1 Attention to claimant's updated custodian information (.1)                                             $           39.00
          Administration &
          Objections
   Nov‐20 Claims               11/19/2020 KBD        $      390.00          0.3 exchange correspondence with claimant's counsel regarding request for records relating to              $         117.00
          Administration &                                                      EquityBuild and communications relating to same (.3).
          Objections
   Nov‐20 Claims               11/20/2020 KBD        $      390.00          0.1 attention to claimant communication (.1).                                                              $           39.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 KBD        $      390.00          0.2 attention to claimants communications regarding claims process (.2)                                    $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 KBD        $      390.00          0.5 Study and revise draft response to claimants' motion for protective order (.5)                         $         195.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 KBD        $      390.00          0.3 attention to claimants communications regarding claims process (.3)                                    $         117.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 KBD        $      390.00          2.4 Study and revise draft response to claimants' motion for protective order (2.4)                        $         936.00
          Administration &
          Objections
   Nov‐20 Claims               11/25/2020 KBD        $      390.00          0.1 attention to responses to claimants (.1).                                                              $           39.00
          Administration &
          Objections
   Nov‐20 Claims               11/25/2020 KBD        $      390.00          3.5 Confer and exchange correspondence with M. Rachlis and J. Wine regarding claims process logistics      $        1,365.00
          Administration &                                                      and planning (3.5)
          Objections
   Nov‐20 Claims               11/30/2020 KBD        $      390.00          0.2 attention to claimant communications relating to claims process and to rollover situations (.2)        $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/30/2020 KBD        $      390.00          0.3 Work on potential resolution of claims and exchange correspondence regarding same (.3)                 $         117.00
          Administration &
          Objections
   Nov‐20 Asset Disposition     11/6/2020 JR         $      140.00          0.1 Exchange correspondence with property management requesting additional tax payment                     $           14.00
                                                                                information related to EquityBuild estate (.1)
   Nov‐20 Asset Disposition     11/6/2020 JR         $      140.00          0.2 review tax payments completed by property management and update report (.2)                            $           28.00

   Nov‐20 Asset Disposition     11/6/2020 JR         $      140.00          0.3 exchange correspondence with K. Duff and K. Pritchard regarding same (.3).                             $           42.00

   Nov‐20 Asset Disposition     11/6/2020 JR         $      140.00          3.8 review closing statements from closed properties and determine overall total tax payment for each $              532.00
                                                                                property, update report (3.8)
   Nov‐20 Asset Disposition    11/11/2020 JR         $      140.00          0.2 review email from property management regarding tax payments to date by property management $                      28.00
                                                                                and update electronic files (.2).




                                                                                          132 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 134 of 191 PageID #:53918
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Nov‐20 Business              11/2/2020 AW        $       140.00        0.9 Review list of former EquityBuild online vendors provided by K. Duff, research regarding notices of      $         126.00
          Operations                                                          receivership to same and preserved data, and detailed response to K. Duff.
   Nov‐20 Business              11/3/2020 AW        $       140.00        0.1 Communicate with A. Porter regarding recorded mortgage documents (8043 S Hermitage) (.1)                 $           14.00
          Operations
   Nov‐20 Business              11/6/2020 KMP       $       140.00          2.6 Work on spreadsheet detailing property tax payments made by Receiver from inception of                 $         364.00
          Operations                                                            receivership and communicate with K. Duff and J. Rak regarding same.
   Nov‐20 Business             11/10/2020 AEP       $       390.00          0.2 Read e‐mail from J. Wine regarding latest administrative action filed against receivership entities,   $           78.00
          Operations                                                            research title to non‐receivership property (1449 N Talman) and prepare response to J. Wine
                                                                                regarding suggestion for obtaining dismissal of receivership defendants (.2).

   Nov‐20 Business             11/10/2020 JRW       $       260.00          0.4 research and email exchange with A. Porter regarding notice of violation (1449 N. Talman) (.4)         $         104.00
          Operations
   Nov‐20 Business             11/24/2020 JRW       $       260.00          0.6 Correspondence to City of Chicago ownership dispute division regarding notice of code violation        $         156.00
          Operations                                                            (1449 N Talman) and injunction against proceedings.
   Nov‐20 Business             11/25/2020 JRW       $       260.00          0.1 Review nonsuit order (1449 N. Talman) and related email exchange (.1)                                  $           26.00
          Operations
   Nov‐20 Claims                11/2/2020 AW        $       140.00          0.2 exchange communications with counsel regarding discovery requests to investors (.2).                   $           28.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 AW        $       140.00          0.2 request database updates based on claimants' emails (.2)                                               $           28.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 AW        $       140.00          0.3 revisions to master claims list (.3)                                                                   $           42.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 AW        $       140.00          0.5 review status reports and communicate with K. Duff regarding master claims list and formats of         $           70.00
          Administration &                                                      same (.5)
          Objections
   Nov‐20 Claims                11/2/2020 AW        $       140.00          3.4 Attention to numerous emails from claimants, review same, communicate with J. Wine and K. Duff         $         476.00
          Administration &                                                      regarding proposed responses and solutions, respond to number of claimants (3.4)
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00          0.2 correspondence to K. Duff and M. Rachlis regarding plan for distributing claims forms and              $           52.00
          Administration &                                                      supporting documentation (.2)
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00          0.2 exchange correspondence with M. Rachlis regarding standard response to claimant inquiries (.2)         $           52.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00          0.3 related review of proposal and scheduling of training session (.3)                                     $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00          0.4 research claims and revise response to claimant inquiries (.4).                                        $         104.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00            1 attend virtual meeting with database vendor regarding proposal (1.0)                                   $         260.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 JRW       $       260.00          1.3 Review various claimant inquiries and draft standard update regarding status of claims process (1.3) $           338.00
          Administration &
          Objections
   Nov‐20 Claims                11/2/2020 MR        $       390.00          0.1 attention to other communications on claims library and issues regarding distribution of claims        $           39.00
          Administration &                                                      information (.1).
          Objections
   Nov‐20 Claims                11/2/2020 MR        $       390.00            1 attend meeting with vendor regarding proposal (1.0)                                                    $         390.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 AW        $       140.00          0.1 email exchange with K. Duff regarding information provided to claimants (.1)                           $           14.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 AW        $       140.00          0.1 Draft email responses to claimant and work with J. Wine and K. Duff on revisions to same (.1)          $           14.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 AW        $       140.00          0.3 revise update for claimants and email exchange with counsel regarding same and response to             $           42.00
          Administration &                                                      proposed revisions (.3).
          Objections
   Nov‐20 Claims                11/3/2020 AW        $       140.00          3.1 work on review, update to claims, responses to claimants and communicate with claims vendor            $         434.00
          Administration &                                                      regarding necessary updates to database (3.1)
          Objections
   Nov‐20 Claims                11/3/2020 JRW       $       260.00          0.1 Attention to claimant inquiries (.1)                                                                   $           26.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 JRW       $       260.00          0.2 study correspondence from proposed document vendor (.2)                                                $           52.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 JRW       $       260.00          0.3 related analysis to K. Duff and M. Rachlis (.2) and correspondence from claimant's counsel (.1).       $           78.00
          Administration &
          Objections
   Nov‐20 Claims                11/3/2020 JRW       $       260.00          1.1 review and revise draft communication to claimants providing update regarding status of claims         $         286.00
          Administration &                                                      process and related correspondence with K. Duff and M. Rachlis (1.1)
          Objections
   Nov‐20 Claims                11/3/2020 MR        $       390.00          0.2 attention to correspondence regarding email update on status and issues regarding proposed             $           78.00
          Administration &                                                      document vendor (.2).
          Objections
   Nov‐20 Claims                11/4/2020 AW        $       140.00          0.1 email exchange with claims vendor regarding updates to database (.1)                                   $           14.00
          Administration &
          Objections
   Nov‐20 Claims                11/4/2020 AW        $       140.00          0.1 review claims and communicate with K. Duff and J. Wine regarding claimant's request for updates        $           14.00
          Administration &                                                      (.1)
          Objections
   Nov‐20 Claims                11/4/2020 AW        $       140.00          0.2 follow up with K. Duff and J. Wine regarding claimants' email (.2).                                    $           28.00
          Administration &
          Objections
   Nov‐20 Claims                11/5/2020 AW        $       140.00          0.1 Communicate with J. Wine and K. Duff regarding revisions to update email to claimants (.1)             $           14.00
          Administration &
          Objections




                                                                                          133 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 135 of 191 PageID #:53919
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Nov‐20 Claims                11/5/2020 AW        $       140.00        0.4 draft lengthy email to claimant who requested contact information for claimants' counsel who filed $             56.00
          Administration &                                                    appearance in matter (.4).
          Objections
   Nov‐20 Claims                11/5/2020 JRW       $      260.00           0.5 related telephone and email correspondence with M. Rachlis and A. Watychowicz (.5).                $         130.00
          Administration &
          Objections
   Nov‐20 Claims                11/5/2020 JRW       $      260.00            1 Attend training session with e‐discovery vendor (1.0)                                               $         260.00
          Administration &
          Objections
   Nov‐20 Claims                11/5/2020 MR        $      390.00           1.3 attend meeting on EB claims library (1.0) and follow up regarding same with J. Wine and A.         $         507.00
          Administration &                                                      Watychowicz (.3).
          Objections
   Nov‐20 Claims                11/6/2020 JRW       $      260.00           0.5 Attention to claimants' counsel's request for proofs of claims, study related information, and     $         130.00
          Administration &                                                      exchange correspondence regarding same (.5)
          Objections
   Nov‐20 Claims                11/9/2020 AW        $      140.00           0.4 Communicate with K. Duff and J. Wine regarding various emails from claimants (.4)                  $           56.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 AW        $      140.00           3.4 attention to emails from claimants, review claims, and respond to numerous emails from claimants   $         476.00
          Administration &                                                      (3.4).
          Objections
   Nov‐20 Claims                11/9/2020 JRW       $      260.00           0.2 related exchange with M. Rachlis (.2)                                                              $           52.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 JRW       $      260.00           0.4 correspondence to K. Duff and M. Rachlis regarding claims process (.4)                             $         104.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 JRW       $      260.00           0.4 review court order regarding claims process motion and related telephone conference with           $         104.00
          Administration &                                                      claimants' counsel (.2) and exchange with K. Duff and M. Rachlis (.2).
          Objections
   Nov‐20 Claims                11/9/2020 JRW       $      260.00           0.5 conference call with A. Porter, K. Duff and M. Rachlis regarding claims process and discovery of   $         130.00
          Administration &                                                      EquityBuild documents (.5)
          Objections
   Nov‐20 Claims                11/9/2020 JRW       $      260.00           0.9 Attention to responding to claimant inquiries (.9)                                                 $         234.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 MR        $      390.00           0.4 attention to communications regarding claims process (.4)                                          $         156.00
          Administration &
          Objections
   Nov‐20 Claims                11/9/2020 MR        $      390.00           0.5 conference calls regarding claims process with K. Duff, A. Porter, and J. Wine (.5)                $         195.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 AW        $      140.00           0.1 request upload of documents for claimant explaining claimed amounts (.1).                          $           14.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 AW        $      140.00           0.4 communicate with K. Duff and J. Wine regarding proposed responses to claimants (.4)                $           56.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 AW        $      140.00           0.6 Continue review of claims and responding to claimants' requests for updates (.6)                   $           84.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 JRW       $      260.00           0.7 attention to claimant inquiries (.7).                                                              $         182.00
          Administration &
          Objections
   Nov‐20 Claims               11/10/2020 JRW       $      260.00           0.8 Work on modified claims process for discussion with claimants' counsel (.8)                        $         208.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 AW        $      140.00           0.2 respond to emails from claimant (.2).                                                              $           28.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 AW        $      140.00           0.2 Communicate with J. Wine regarding revised response to claimant, claimant's comments, and          $           28.00
          Administration &                                                      claimant's estate issues (.2)
          Objections
   Nov‐20 Claims               11/11/2020 JRW       $      260.00           0.4 Review proposal from (.1) and telephone conference with database vendor regarding process for      $         104.00
          Administration &                                                      distribution of claims documentation (.3)
          Objections
   Nov‐20 Claims               11/11/2020 JRW       $      260.00           0.5 revise standard discovery requests per court's oral rulings (.5)                                   $         130.00
          Administration &
          Objections
   Nov‐20 Claims               11/11/2020 JRW       $      260.00           1.1 attention to updating proposed claims process based on intervening court rulings (1.1)             $         286.00
          Administration &
          Objections
   Nov‐20 Claims               11/12/2020 AW        $      140.00           0.9 create list of unique claimants (.9).                                                              $         126.00
          Administration &
          Objections
   Nov‐20 Claims               11/12/2020 JRW       $      260.00           0.1 search proofs of claim for claimant and secondary contact name (.1)                                $           26.00
          Administration &
          Objections
   Nov‐20 Claims               11/12/2020 JRW       $      260.00           0.2 Email exchange with M. Rachlis and K. Duff regarding claimants' request for claims documentation   $           52.00
          Administration &                                                      (.2)
          Objections
   Nov‐20 Claims               11/12/2020 JRW       $      260.00           0.7 work with A. Watychowicz on identifying number of claimants and related review of prior analyses   $         182.00
          Administration &                                                      (.7).
          Objections
   Nov‐20 Claims               11/12/2020 MR        $      390.00           0.2 attention to email exchange with K. Duff and J. Wine regarding claims documents (.2).              $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/13/2020 MR        $      390.00           0.2 attention to issues regarding production of claims materials (.2).                                 $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/13/2020 MR        $      390.00           0.5 Telephone conference with SEC (.5)                                                                 $         195.00
          Administration &
          Objections




                                                                                          134 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 136 of 191 PageID #:53920
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                              Task Description                                                 Task Cost
Month                                      Keeper        Rate
   Nov‐20 Claims               11/16/2020 MR        $       390.00        0.5 Conference with SEC and K. Duff (.5)                                                                      $         195.00
          Administration &
          Objections
   Nov‐20 Claims               11/17/2020 JRW       $      260.00          0.1 confer with M. Rachlis regarding response to claimants' motion for protective order (.1).                $           26.00
          Administration &
          Objections
   Nov‐20 Claims               11/17/2020 JRW       $      260.00          0.1 Email exchange with A. Porter and related research regarding claim (.1)                                  $           26.00
          Administration &
          Objections
   Nov‐20 Claims               11/18/2020 AW        $      140.00          0.1 follow up with K. Duff and J. Wine regarding responses to claimants (.1)                                 $           14.00
          Administration &
          Objections
   Nov‐20 Claims               11/18/2020 AW        $      140.00          0.1 Respond to claimant's email regarding claims (.1)                                                        $           14.00
          Administration &
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          0.2 correspondence to vendor regarding proposal for EquityBuild documents (.2)                               $           52.00
          Administration &
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          0.3 Review K. Duff outline regarding claims process and related communications with K. Duff and M.           $           78.00
          Administration &                                                     Rachlis (.3)
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          0.5 revise standard discovery requests to investors in accordance with court's oral rulings (.4) and         $         130.00
          Administration &                                                     correspondence to claimants' counsel regarding same (.1)
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          0.6 study claims against properties (6217 S Dorchester and 1408 E 62nd) (.6).                                $         156.00
          Administration &
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          0.7 review proposal from potential e‐discovery vendor (.2) and related telephone conference with             $         182.00
          Administration &                                                     claimants' counsel (.5)
          Objections
   Nov‐20 Claims               11/18/2020 JRW       $      260.00          2.3 legal research for response to claimants' motion for protective order (2.3)                              $         598.00
          Administration &
          Objections
   Nov‐20 Claims               11/19/2020 AW        $      140.00          0.1 Communicate with J. Wine regrading change of custodian for one of claimants and revise master            $           14.00
          Administration &                                                     claims list accordingly (.1)
          Objections
   Nov‐20 Claims               11/19/2020 JRW       $      260.00          0.2 review motion for protective order and confer with M. Rachlis regarding same (.2).                       $           52.00
          Administration &
          Objections
   Nov‐20 Claims               11/19/2020 JRW       $      260.00          0.2 Exchange correspondence with K. Duff regarding claimant inquiry (.2)                                     $           52.00
          Administration &
          Objections
   Nov‐20 Claims               11/19/2020 MR        $      390.00          0.3 conference with J. Wine regarding response to motion for protective order and related items and          $         117.00
          Administration &                                                     review of same (.3).
          Objections
   Nov‐20 Claims               11/20/2020 AW        $      140.00          0.2 Respond to emails from claimants regarding claims process (.2)                                           $           28.00
          Administration &
          Objections
   Nov‐20 Claims               11/20/2020 AW        $      140.00          0.6 review and revise master claims list as per claimants' emails and request same updates and uploads $                 84.00
          Administration &                                                     from claims vendor (.6).
          Objections
   Nov‐20 Claims               11/20/2020 MR        $      390.00          0.2 attention to claims process issues (.2).                                                                 $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/21/2020 JRW       $      260.00          0.1 Correspondence with potential vendor regarding claims process (.1)                                       $           26.00
          Administration &
          Objections
   Nov‐20 Claims               11/21/2020 JRW       $      260.00          1.8 legal research and drafting of response to claimants' motion for protective order (1.8).                 $         468.00
          Administration &
          Objections
   Nov‐20 Claims               11/22/2020 JRW       $      260.00          3.9 Drafting of opposition to motion for protective order.                                                   $        1,014.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 AW        $      140.00          0.1 Follow up with K. Duff and J. Wine regarding repeated emails from claimant and respond to same           $           14.00
          Administration &                                                     (.1)
          Objections
   Nov‐20 Claims               11/23/2020 AW        $      140.00          0.2 research regarding decisions in support of objection to institutional lenders' motion for protective     $           28.00
          Administration &                                                     order and email J. Wine regarding same (.2).
          Objections
   Nov‐20 Claims               11/23/2020 JRW       $      260.00          0.2 draft response to claimant inquiry and related communications with A. Watychowicz and K. Duff            $           52.00
          Administration &                                                     (.2)
          Objections
   Nov‐20 Claims               11/23/2020 JRW       $      260.00          0.2 exchange correspondence with claimant's counsel regarding claims process (.2).                           $           52.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 JRW       $      260.00          5.9 Legal research and drafting of response to motion for protective order (5.9)                             $        1,534.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 MR        $      390.00          0.1 attention to correspondence from claimant (.1).                                                          $           39.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 MR        $      390.00          0.2 attention to emails regarding claims process issues (.2)                                                 $           78.00
          Administration &
          Objections
   Nov‐20 Claims               11/23/2020 MR        $      390.00          1.3 Attention to opposition to motion for protective order (1.3)                                             $         507.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 AW        $      140.00          1.2 multiple revisions of same, finalize opposition, file with court, and serve as per service list (1.2).   $         168.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 AW        $      140.00          1.4 attention to opposition to motion for protective order, proofread same, and email counsel                $         196.00
          Administration &                                                     regarding revisions (1.4)
          Objections




                                                                                         135 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 137 of 191 PageID #:53921
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Nov‐20 Claims               11/24/2020 JRW        $       260.00        0.1 review correspondence from e‐discovery vendor regarding procedure for entering confidentiality        $            26.00
          Administration &                                                     agreement (.1)
          Objections
   Nov‐20 Claims               11/24/2020 JRW        $      260.00          0.1 review transcript of October 27 proceedings (.1).                                                    $            26.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 JRW        $      260.00          0.2 exchange correspondence with A. Watychowicz and K. Duff regarding response to claimant inquiry       $            52.00
          Administration &                                                      (.2)
          Objections
   Nov‐20 Claims               11/24/2020 JRW        $      260.00          0.2 exchange correspondence with counsel for claimants' regarding claims documentation and related       $            52.00
          Administration &                                                      exchange with K. Duff and M. Rachlis (.2)
          Objections
   Nov‐20 Claims               11/24/2020 JRW        $      260.00          1.7 review redlines, further revise, and finalize same for filing (1.7)                                  $          442.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 JRW        $      260.00          1.8 Additional legal research for response to motion for protective order (1.8)                          $          468.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 MR         $      390.00          0.3 attention to status on claims issues (.3).                                                           $          117.00
          Administration &
          Objections
   Nov‐20 Claims               11/24/2020 MR         $      390.00          2.8 Work on brief in opposition to motion for protective order, review and revise same, and review       $         1,092.00
          Administration &                                                      decisions regarding same (2.8)
          Objections
   Nov‐20 Claims               11/25/2020 JRW        $      260.00          0.6 review court order and transcript regarding court's oral and written interim rulings regarding claims $         156.00
          Administration &                                                      process, draft correspondence to claimants' counsel regarding claims process, and related discussion
          Objections                                                            with K. Duff (.6).
   Nov‐20 Claims               11/25/2020 JRW        $      260.00          3.5 Work with M. Rachlis and K. Duff on updated claims process (3.5)                                      $         910.00
          Administration &
          Objections
   Nov‐20 Claims               11/25/2020 MR         $      390.00          0.5 Attention to draft summary of claims process and issues (.5)                                         $          195.00
          Administration &
          Objections
   Nov‐20 Claims               11/25/2020 MR         $      390.00          3.5 participate in meeting regarding claims process with K. Duff and J. Wine (3.5).                      $         1,365.00
          Administration &
          Objections
   Nov‐20 Claims               11/30/2020 JRW        $      260.00          0.3 Study master spreadsheet regarding rollover claims and related analysis to K. Duff (.3)              $            78.00
          Administration &
          Objections
   Nov‐20 Claims               11/30/2020 JRW        $      260.00          1.3 review claims forms for examples of rollover documentation (1.3)                                     $          338.00
          Administration &
          Objections
   Nov‐20 Claims               11/30/2020 MR         $      390.00          0.5 Attention to emails regarding claims process (.5)                                                    $          195.00
          Administration &
          Objections
   Dec‐20 Business              12/3/2020 KBD        $      390.00          0.2 Confer with J. Wine regarding funds restoration issues.                                              $            78.00
          Operations
   Dec‐20 Claims                12/1/2020 KBD        $      390.00          0.2 exchange correspondence regarding communication with claimants' counsel and vendor costs (.2).       $            78.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 KBD        $      390.00          0.2 Attention to communication with claimant (.2)                                                        $            78.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 KBD        $      390.00          0.3 work on rollover claims analysis and related issues (.3)                                             $          117.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 KBD        $      390.00          0.2 telephone conference with J. Wine regarding production of investor records (.2)                      $            78.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 KBD        $      390.00          0.3 attention to claimant communications (.3).                                                           $          117.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 KBD        $      390.00          0.4 Work on claims review and planning issues with J. Wine (.4)                                          $          156.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 KBD        $      390.00          0.9 confer with investors' counsel and M. Rachlis regarding claims process and procedural history (.9)   $          351.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 KBD        $      390.00          0.3 study and revise draft responses to claimants (.3)                                                   $          117.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 KBD        $      390.00          0.5 telephone conference with SEC (.5).                                                                  $          195.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 KBD        $      390.00          0.8 Work on claims process for status report and exchange correspondence with J. Wine and M. Rachlis     $          312.00
          Administration &                                                      regarding same (.8)
          Objections
   Dec‐20 Claims                12/7/2020 KBD        $      390.00          0.2 attention to communication with claimant and claimant's counsel (.2).                                $            78.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 KBD        $      390.00          0.1 attention to collection notice and potential claim (.1)                                              $            39.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 KBD        $      390.00          0.1 work on response to claimant (.1).                                                                   $            39.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 KBD        $      390.00          0.2 Exchange correspondence regarding notice of hearing (.2)                                             $            78.00
          Administration &
          Objections
   Dec‐20 Claims                12/9/2020 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding communications with claimant counsel regarding        $            39.00
          Administration &                                                      dispute resolution procedures (.1)
          Objections
   Dec‐20 Claims                12/9/2020 KBD        $      390.00          0.1 Exchange correspondence regarding notice and potential claim (.1)                                    $            39.00
          Administration &
          Objections




                                                                                          136 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 138 of 191 PageID #:53922
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                             Task Description                                                Task Cost
Month                                       Keeper        Rate
   Dec‐20 Claims               12/11/2020 KBD        $       390.00        0.5 Work on responses to claimants (.5)                                                                    $          195.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 KBD        $      390.00            2 work with M. Rachlis and J. Wine on on claims process and various related issues (2.0).               $          780.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 KBD        $      390.00          0.3 attention to claimant communications (.3)                                                             $          117.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 KBD        $      390.00          0.3 study proposed tranche grouping and exchange correspondence with M. Rachlis and J. Wine               $          117.00
          Administration &                                                      regarding same (.3)
          Objections
   Dec‐20 Claims               12/14/2020 KBD        $      390.00          1.8 Work with M. Rachlis and J. Wine regarding claims process, tranches, protective order, claims         $          702.00
          Administration &                                                      process outline, and status report (1.8)
          Objections
   Dec‐20 Claims               12/15/2020 KBD        $      390.00          0.1 study claimants' counsel's letter to Judge Lee (.1).                                                  $            39.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 KBD        $      390.00          0.2 work on communication to claimants regarding claims process (.2)                                      $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 KBD        $      390.00          0.2 work on response to claimants (.2)                                                                    $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 KBD        $      390.00          0.5 confer with M. Rachlis and J. Wine regarding same (.5)                                                $          195.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 KBD        $      390.00          1.5 Study, revise, and exchange various correspondence relating to multiple drafts of joint status report, $         585.00
          Administration &                                                      claims process, and standard written discovery (1.5)
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.1 exchange correspondence regarding claimant communication (.1).                                        $            39.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.2 draft correspondence regarding communication from claimant's spouse (.2)                              $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.2 exchange correspondence regarding communication with claimant regarding claims issues (.2)            $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.2 telephone conference with SEC (.2)                                                                    $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.4 confer with J. Wine regarding various claims process issues (.4)                                      $          156.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00          0.8 Exchange correspondence regarding claims process discussions between participants and various         $          312.00
          Administration &                                                      related issues (.8)
          Objections
   Dec‐20 Claims               12/16/2020 KBD        $      390.00            1 study revised joint status report, revised claim procedures, and revised standard written discovery   $          390.00
          Administration &                                                      and exchange correspondence with J. Wine regarding same (1.0)
          Objections
   Dec‐20 Claims               12/17/2020 KBD        $      390.00          0.3 draft correspondence regarding claimant inquiries (.3).                                               $          117.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 KBD        $      390.00          0.5 confer with SEC (.5)                                                                                  $          195.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 KBD        $      390.00          0.9 appear before Judge Lee for hearing (.9)                                                              $          351.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 KBD        $      390.00          1.7 Prepare for hearing before Judge Lee (1.7)                                                            $          663.00
          Administration &
          Objections
   Dec‐20 Claims               12/18/2020 KBD        $      390.00          0.5 Work on proposed order regarding claims and EquityBuild documents and study and exchange              $          195.00
          Administration &                                                      various correspondence regarding same (.5)
          Objections
   Dec‐20 Claims               12/21/2020 KBD        $      390.00          0.2 attention to claimant communications (.2)                                                             $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding proposed order and proposed claims process             $            78.00
          Administration &                                                      outline (.2).
          Objections
   Dec‐20 Claims               12/22/2020 KBD        $      390.00          0.3 attention to claimant correspondence and request for claims documentation (.3)                        $          117.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 KBD        $      390.00          0.4 Study and revise proposed order relating to claims and EB documents and exchange correspondence $                156.00
          Administration &                                                      regarding same (.4)
          Objections
   Dec‐20 Claims               12/23/2020 KBD        $      390.00          0.3 Exchange correspondence with M. Rachlis and J. Wine regarding production of EB documents and          $          117.00
          Administration &                                                      claims documentation to claimants (.3)
          Objections
   Dec‐20 Claims               12/23/2020 KBD        $      390.00          0.4 draft correspondence to claimant regarding requested claims information (.4).                         $          156.00
          Administration &
          Objections
   Dec‐20 Claims               12/24/2020 KBD        $      390.00          1.1 Study proposed changes to claims process motion and confer with M. Rachlis and J. Wine regarding      $          429.00
          Administration &                                                      same.
          Objections
   Dec‐20 Claims               12/28/2020 KBD        $      390.00          0.1 attention to communication from claimant (.1).                                                        $            39.00
          Administration &
          Objections
   Dec‐20 Claims               12/28/2020 KBD        $      390.00          0.1 exchange correspondence regarding potential claim (.1)                                                $            39.00
          Administration &
          Objections




                                                                                          137 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 139 of 191 PageID #:53923
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Dec‐20 Claims               12/28/2020 KBD        $       390.00        2.4 Work on claims review and claims process (2.4)                                                         $         936.00
          Administration &
          Objections
   Dec‐20 Claims               12/29/2020 KBD        $      390.00          1.5 study and revise claims process outline for court (1.5).                                              $         585.00
          Administration &
          Objections
   Dec‐20 Claims               12/29/2020 KBD        $      390.00          1.7 Work on claims review and claims process (1.7)                                                        $         663.00
          Administration &
          Objections
   Dec‐20 Claims               12/30/2020 KBD        $      390.00          0.5 Study claims process outline and exchange various correspondence regarding same.                      $         195.00
          Administration &
          Objections
   Dec‐20 Claims               12/31/2020 KBD        $      390.00          0.2 Exchange correspondence regarding claimant communications.                                            $           78.00
          Administration &
          Objections
   Dec‐20 Business             12/15/2020 AW         $      140.00          0.1 email vendor regarding same (.1).                                                                     $           14.00
          Operations
   Dec‐20 Business             12/15/2020 AW         $      140.00          0.2 Communicate with K. Duff regarding issue with online platform and attempt to reinstate it (.2)        $           28.00
          Operations
   Dec‐20 Business             12/21/2020 AW         $      140.00          0.2 attention to email from online vendor and email K. Duff and J. Wine regarding same and provide        $           28.00
          Operations                                                            background (.2)
   Dec‐20 Business             12/29/2020 AW         $      140.00          0.1 follow up with J. Wine regarding access to online database (.1)                                       $           14.00
          Operations
   Dec‐20 Business             12/29/2020 AW         $      140.00          0.2 work on updates to email notifications groups (.2).                                                   $           28.00
          Operations
   Dec‐20 Business             12/29/2020 AW         $      140.00          0.3 work with IT consultants to resolve issue regarding access to executed contracts stored online (.3)   $           42.00
          Operations
   Dec‐20 Claims                12/1/2020 AW         $      140.00          0.1 Email J. Wine regarding rollover authorization form from claimant (.1)                                $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 AW         $      140.00          0.2 finalize response to claimant regarding other claimant's email to multiple individuals (.2)           $           28.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 AW         $      140.00          0.3 attention to email regarding rollovers and review same columns in master claims sheet (.3).           $           42.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00          0.1 related email exchange with database vendor (.1).                                                     $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00          0.2 correspond with K. Duff and revise draft response to claimant inquiry (.2)                            $           52.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00          0.3 related correspondence with K. Duff regarding analysis of same (.3)                                   $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00          0.5 related email to and telephone conference with potential vendor regarding process, cost and timing $            130.00
          Administration &                                                      of transfer of claims documentation (.5)
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00            1 attention to evaluation of claims process (1.0)                                                       $         260.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 JRW        $      260.00          2.3 Review claims forms and supporting documentation (2.3)                                                $         598.00
          Administration &
          Objections
   Dec‐20 Claims                12/1/2020 MR         $      390.00          0.2 Attention to claims related issues regarding claims records and rollovers.                            $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/2/2020 AW         $      140.00          0.1 attention to voicemail from claimant and communicate with K. Duff regarding same (.1).                $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/2/2020 AW         $      140.00          0.1 communicate with K. Duff and J. Wine regarding notice from claimant (.1)                              $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/2/2020 AW         $      140.00          2.3 attention to claims planning outline, prepare tranche oriented spreadsheet, and share with K. Duff    $         322.00
          Administration &                                                      and J. Wine (2.3)
          Objections
   Dec‐20 Claims                12/2/2020 JRW        $      260.00          1.2 work with A. Watychowicz on claims by tranche sheet (1.2).                                            $         312.00
          Administration &
          Objections
   Dec‐20 Claims                12/2/2020 JRW        $      260.00            2 Work on joint report regarding claims status (2.0)                                                    $         520.00
          Administration &
          Objections
   Dec‐20 Claims                12/2/2020 MR         $      390.00          0.2 attention to exchange on open issues on claims process (.2).                                          $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 AEP        $      390.00          2.9 Legal research regarding claims.                                                                      $        1,131.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 AW         $      140.00          0.1 attention to email from counsel who represents multiple claimants (.1).                               $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 AW         $      140.00          0.2 Research regarding property sales and response to claimant inquiry regarding same (.2)                $           28.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 JRW        $      260.00          0.1 email correspondence with counsel for claimants (.1)                                                  $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 JRW        $      260.00          0.4 conference call with document database vendors regarding plan for distribution of claims              $         104.00
          Administration &                                                      documentation to claimants (.4)
          Objections
   Dec‐20 Claims                12/3/2020 JRW        $      260.00          1.8 Continue working on updated claims process and related exchange of correspondence with K. Duff        $         468.00
          Administration &                                                      (1.8)
          Objections




                                                                                          138 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 140 of 191 PageID #:53924
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Dec‐20 Claims                12/3/2020 JRW        $       260.00        2.7 continued modification of proposed tranches (2.3) and related telephone conference with K. Duff         $         702.00
          Administration &                                                     (.4)
          Objections
   Dec‐20 Claims                12/3/2020 MR         $      390.00           0.3 attention to issues on claims (.3)                                                                    $         117.00
          Administration &
          Objections
   Dec‐20 Claims                12/3/2020 MR         $      390.00           0.9 conference with claimants' counsel regarding claims process (.9).                                     $         351.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 AW         $      140.00           0.1 attention to response to comments regarding same (.1).                                                $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 AW         $      140.00           0.1 Update claimant regarding current status of claim (.1)                                                $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 AW         $      140.00           0.2 research regarding claim and draft response to claimant (.2)                                          $           28.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 AW         $      140.00           0.2 review and confirm completeness of claims and communicate with J. Wine regarding same (.2)            $           28.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 AW         $      140.00           1.2 review claims process outline and share proposed revisions and comments with J. Wine (1.2)            $         168.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 JRW        $      260.00           0.1 exchange correspondence with vendor regarding estimate (.1)                                           $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 JRW        $      260.00           0.3 draft emails to claimants' counsel regarding claims process (.3).                                     $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 JRW        $      260.00           0.3 work with A. Watychowicz on responding to claimant inquiry (.3)                                       $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 JRW        $      260.00           1.6 Complete draft of updated claims process (.9) and related review of prior claims status reports to    $         416.00
          Administration &                                                       the court (.7)
          Objections
   Dec‐20 Claims                12/4/2020 JRW        $      260.00           1.8 correspond with K. Duff, M. Rachlis, and SEC (1.8)                                                    $         468.00
          Administration &
          Objections
   Dec‐20 Claims                12/4/2020 MR         $      390.00            1 Review and comment on claims memo and exchange various emails regarding same with J. Wine              $         390.00
          Administration &                                                      and K. Duff (1.0)
          Objections
   Dec‐20 Claims                12/7/2020 AW         $      140.00           0.1 email exchange with J. Wine regarding fund question (.1)                                              $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/7/2020 AW         $      140.00           0.2 Attention to email from claimant, communicate with K. Duff regarding response, and respond to         $           28.00
          Administration &                                                       claimant (.2)
          Objections
   Dec‐20 Claims                12/7/2020 JRW        $      260.00           0.1 email exchange with claimants' counsel regarding claims process outline (.1).                         $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/7/2020 JRW        $      260.00           0.3 Attention to responding to claimant inquiries (.3)                                                    $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 JRW        $      260.00           0.1 exchange correspondence with document vendor regarding fees for distribution of claims                $           26.00
          Administration &                                                       documentation (.1)
          Objections
   Dec‐20 Claims                12/8/2020 JRW        $      260.00           0.1 work with K. Duff and A. Watychowicz on response to claimant inquiry (.1)                             $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 JRW        $      260.00           0.1 Exchange correspondence regarding court's order concerning claimants' participation in upcoming       $           26.00
          Administration &                                                       hearing (.1)
          Objections
   Dec‐20 Claims                12/8/2020 JRW        $      260.00           0.3 review and revise notice letter (.3).                                                                 $           78.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 JRW        $      260.00           0.4 exchange correspondence with K. Duff and K. Pritchard regarding potential claim issues (.4)           $         104.00
          Administration &
          Objections
   Dec‐20 Claims                12/8/2020 KMP        $      140.00           0.5 Draft notice letter to creditor and confer with K. Duff and J. Wine regarding same.                   $           70.00
          Administration &
          Objections
   Dec‐20 Claims                12/9/2020 AEP        $      390.00           0.4 Teleconference with K. Duff and J. Wine regarding claims process, potential scenarios, and research   $         156.00
          Administration &                                                       and analysis.
          Objections
   Dec‐20 Claims                12/9/2020 AW         $      140.00           0.1 communicate with K. Duff and J. Wine regarding claimant's participation in scheduled conference       $           14.00
          Administration &                                                       (.1)
          Objections
   Dec‐20 Claims                12/9/2020 AW         $      140.00           0.1 Email response to claimant regarding inquiry about his claims (.1)                                    $           14.00
          Administration &
          Objections
   Dec‐20 Claims                12/9/2020 JRW        $      260.00           0.1 confer with K. Pritchard regarding notice letters (.1)                                                $           26.00
          Administration &
          Objections
   Dec‐20 Claims                12/9/2020 JRW        $      260.00           0.2 review and comment on correspondence from claimants' counsel regarding claims process and             $           52.00
          Administration &                                                       update to court (.2)
          Objections
   Dec‐20 Claims                12/9/2020 JRW        $      260.00           0.2 telephone conference with K. Duff and A. Porter regarding claims process (.2)                         $           52.00
          Administration &
          Objections
   Dec‐20 Claims                12/9/2020 JRW        $      260.00           0.3 Attention to claimant inquiries (.3)                                                                  $           78.00
          Administration &
          Objections




                                                                                           139 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 141 of 191 PageID #:53925
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                        Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Dec‐20 Claims                12/9/2020 KMP       $       140.00        0.4 Prepare correspondence regarding notice of receivership to creditor and confer with K. Duff and J.      $           56.00
          Administration &                                                    Wine regarding same.
          Objections
   Dec‐20 Claims               12/10/2020 AW        $       140.00          0.1 email exchange with K. Duff regarding response to claimant (.1)                                       $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 AW        $       140.00          0.2 create a list of claimants represented by counsel and communicate same to counsel (.2).               $           28.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 AW        $       140.00          0.3 attention to master claims list and email exchange with J. Wine regarding same (.3)                   $           42.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 AW        $       140.00          1.6 Review claims process outline and sample tranche schedule and communicate with J. Wine                $         224.00
          Administration &                                                      regarding proposed revisions and comments (1.6)
          Objections
   Dec‐20 Claims               12/10/2020 JRW       $       260.00          0.1 confer with A. Watychowicz regarding schedule prepared by claimant's counsel (.1)                     $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 JRW       $       260.00          0.1 correspond with claimants' counsel regarding separation of properties into tranches (.1)              $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 JRW       $       260.00          0.2 review appearances on file and prepare list of counsel of record (.2)                                 $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 JRW       $       260.00          0.3 review proof of claim (.3).                                                                           $           78.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 JRW       $       260.00          2.2 Study transcript of proceedings and revise standard discovery requests accordingly (2.2)              $         572.00
          Administration &
          Objections
   Dec‐20 Claims               12/10/2020 MR        $       390.00          0.5 Attention to issues on claims process and follow up regarding same.                                   $         195.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 JRW       $       260.00          0.1 draft email to claimant regarding upcoming hearing (.1)                                               $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 JRW       $       260.00          0.1 prepare correspondence to SEC (.1).                                                                   $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 JRW       $       260.00          0.3 compare vendor estimates for claims documentation and related correspondence (.3)                     $           78.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 JRW       $       260.00          1.6 conference call with K. Duff and M. Rachlis regarding claims process and separation of properties     $         416.00
          Administration &                                                      into tranches (1.6)
          Objections
   Dec‐20 Claims               12/11/2020 JRW       $       260.00          3.2 revise spreadsheet regarding proposed tranches (3.2)                                                  $         832.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 MR        $       390.00          0.5 attention to court opinions and follow up regarding same (.4) attention to communication with         $         195.00
          Administration &                                                      claimant regarding upcoming hearing (.1).
          Objections
   Dec‐20 Claims               12/11/2020 MR        $       390.00            1 Review tranches and claims information for upcoming hearing and meeting (1.0)                         $         390.00
          Administration &
          Objections
   Dec‐20 Claims               12/11/2020 MR        $       390.00            2 conferences regarding various issues with K. Duff and J. Wine regarding claims process (2.0)          $         780.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 AW        $       140.00          0.2 Attention to emails regarding responses to claimants with suggested revisions and respond to          $           28.00
          Administration &                                                      claimants (.2)
          Objections
   Dec‐20 Claims               12/14/2020 AW        $       140.00          0.5 call with J. Wine regrading current master claims list by property, generate same and email J. Wine   $           70.00
          Administration &                                                      updated list (.5)
          Objections
   Dec‐20 Claims               12/14/2020 AW        $       140.00          0.6 research and email exchange with M. Rachlis regarding turnover motion, reconsideration motion,        $           84.00
          Administration &                                                      and other pending motions before Judge Lee (.6).
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          0.2 exchange correspondence with document vendor regarding revised estimate (.2)                          $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          0.2 exchange correspondence with K. Duff and M. Rachlis regarding proposed separation of properties       $           52.00
          Administration &                                                      into tranches (.2)
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          0.2 related correspondence with counsel for claimants (.2).                                               $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          0.5 Attention to responding to claimant inquiries (.5)                                                    $         130.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          0.8 review redline and comments from claimant's counsel regarding claims process outline and respond $              208.00
          Administration &                                                      to same (.8)
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          1.4 additional revision of claims process outline (1.4)                                                   $         364.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 JRW       $       260.00          1.8 conference call with K. Duff and M. Rachlis regarding claims process (1.8)                            $         468.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 MR        $       390.00          1.8 participate in conference call with K. Duff and J. Wine (1.8).                                        $         702.00
          Administration &
          Objections
   Dec‐20 Claims               12/14/2020 MR        $       390.00            2 Review of claims process related issues and communications, and exchanges regarding same with         $         780.00
          Administration &                                                      various team members and preparation for upcoming hearing (2.0)
          Objections




                                                                                          140 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 142 of 191 PageID #:53926
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                       Task Cost
Month                                      Keeper        Rate
   Dec‐20 Claims               12/15/2020 AW        $       140.00        0.1 call with J. Wine regarding pending motions (.1)                                                           $            14.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 AW        $      140.00          0.1 Follow up with K. Duff regarding proposed response to claimants and email claimant (.1)                   $            14.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 AW        $      140.00          0.2 attention to email from claimant requesting update to claim, review claim, and communicate with           $            28.00
          Administration &                                                     K. Duff and J. Wine regarding same (.2)
          Objections
   Dec‐20 Claims               12/15/2020 AW        $      140.00          0.5 supplement section of joint claims status report regarding pending motions and email J. Wine              $            70.00
          Administration &                                                     regarding same (.5).
          Objections
   Dec‐20 Claims               12/15/2020 AW        $      140.00          0.9 review standard discovery requests and revise it as per counsel's forwarded draft (.9)                    $          126.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.1 correspondence with claimant's counsel regarding same (.1)                                                $            26.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.1 review revisions to standard discovery and related email to claimant's counsel (.1)                       $            26.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.1 telephone conference with claimant's counsel regarding standard discovery requests (.1)                   $            26.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.2 confer with team regarding notice to claimants (.2)                                                       $            52.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.2 Telephone conference with claimants' counsel regarding joint status report to court and related           $            52.00
          Administration &                                                     email exchange with K. Duff and M. Rachlis (.2)
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.3 exchange correspondence with claimants' counsel and SEC regarding same (.3).                              $            78.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.8 review redline of standard discovery requests and further revise same (.8)                                $          208.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          0.8 study proposed revisions to joint status report from claimants' counsel and related conference with $                208.00
          Administration &                                                     K. Duff and M. Rachlis (.8)
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          1.1 work with K. Duff and M. Rachlis on revisions to joint status report and outline of procedures (1.1)      $          286.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          1.2 draft joint status report on claims (1.2)                                                                 $          312.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 JRW       $      260.00          1.6 additional exchanges of drafts and revision of joint status report, outline of procedures, and            $          416.00
          Administration &                                                     standard discovery requests (1.6)
          Objections
   Dec‐20 Claims               12/15/2020 MR        $      390.00          0.8 participate in meeting with K. Duff and J. Wine regarding claims (.8).                                    $          312.00
          Administration &
          Objections
   Dec‐20 Claims               12/15/2020 MR        $      390.00          3.3 Reviews and work on claims related issues and review various drafts regarding same as well as             $         1,287.00
          Administration &                                                     related matters regarding upcoming hearing (3.3)
          Objections
   Dec‐20 Claims               12/16/2020 AW        $      140.00          0.1 attention to email from claimant and communicate with K. Duff and J. Wine regarding same (.1)             $            14.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 AW        $      140.00          0.1 finalize email to claimant regarding proposed conference call time and email claimant regarding           $            14.00
          Administration &                                                     same (.1)
          Objections
   Dec‐20 Claims               12/16/2020 AW        $      140.00          0.1 forward time stamped joint status report to Judge Lee's courtroom deputy (.1).                            $            14.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 AW        $      140.00          0.1 Communicate with K. Duff and J. Wine regarding email to claimant (.1)                                     $            14.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 AW        $      140.00          1.1 add signature blocks to joint status report, revise joint status report, finalize and file with the court. $         154.00
          Administration &                                                     (1.1)
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.1 exchange correspondence with claimant in follow up to voice message (.1)                                  $            26.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.1 Exchange correspondence with claimants' counsel regarding joint claims status report (.1)                 $            26.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.2 confer with claimants' counsel regarding quote from vendor and review same (.2)                           $            52.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.2 confer with K. Duff and A. Watychowicz regarding claimant inquiries (.2)                                  $            52.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.2 correspondence to K. Duff and M. Rachlis regarding EquityBuild documents (.2)                             $            52.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.2 work with A. Watychowicz on filing (.2).                                                                  $            52.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          0.7 conference call with claimants' counsel regarding claims process and joint status report (.7)             $          182.00
          Administration &
          Objections
   Dec‐20 Claims               12/16/2020 JRW       $      260.00          1.1 study transcripts of proceedings regarding claims process (1.1)                                           $          286.00
          Administration &
          Objections




                                                                                         141 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 143 of 191 PageID #:53927
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                               Task Cost
Month                                       Keeper        Rate
   Dec‐20 Claims               12/16/2020 JRW        $       260.00        1.8 revisions to status report and outline of procedures for distribution of claims documentation and     $         468.00
          Administration &                                                     EquityBuild documents (1.8)
          Objections
   Dec‐20 Claims               12/16/2020 JRW        $       260.00          1.8 telephone conferences with institutional lender claimants' counsel (.6) and investor lender         $         468.00
          Administration &                                                       claimants' counsel (.3) regarding standard discovery requests and related email exchanges and
          Objections                                                             revision of revised requests (.9)
   Dec‐20 Claims               12/16/2020 MR         $       390.00            1 review and follow up on various issues regarding status report and upcoming hearing and             $         390.00
          Administration &                                                       submission (1.0).
          Objections
   Dec‐20 Claims               12/16/2020 MR         $       390.00            2 Further preparation for hearing (2.0)                                                               $         780.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 AW         $       140.00          0.1 draft email to claimant and communicate with K. Duff and J. Wine regarding same (.1)                $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 AW         $       140.00          0.1 email accountant regarding claimants' entities (.1).                                                $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 AW         $       140.00          0.1 email claimant telephonic hearing access information (.1)                                           $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 AW         $       140.00          0.1 Communicate with K. Duff and M. Rachlis regarding notice to claimant regarding upcoming hearing     $           14.00
          Administration &                                                       (.1)
          Objections
   Dec‐20 Claims               12/17/2020 AW         $       140.00          0.2 draft email to claimant's spouse regarding needed documents (.2)                                    $           28.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.1 exchange correspondence with claimant's counsel regarding discovery (.1)                            $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.2 exchange correspondence with K. Duff regarding supplementation of claims documentation (.2).        $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.2 revise agreed confidentiality order and related correspondence to courtroom deputy (.2)             $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.4 Attention to responding to claimant inquiries (.4)                                                  $         104.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.5 conference call with K. Duff, M. Rachlis, and SEC (.5)                                              $         130.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 JRW        $       260.00          0.9 attend court hearing on claims process and outstanding motions (.9)                                 $         234.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 MR         $       390.00          0.3 follow up on proposed order (.3).                                                                   $         117.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 MR         $       390.00          0.5 participate in meeting with SEC (.5)                                                                $         195.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 MR         $       390.00          0.9 attend hearing before Judge Lee (.9)                                                                $         351.00
          Administration &
          Objections
   Dec‐20 Claims               12/17/2020 MR         $       390.00            3 Continue preparation for upcoming hearing (3.0)                                                     $        1,170.00
          Administration &
          Objections
   Dec‐20 Claims               12/18/2020 JRW        $       260.00          0.8 revise same to incorporate comments from K. Duff and M. Rachlis (.7) and related email to           $         208.00
          Administration &                                                       claimants' counsel and SEC (.1)
          Objections
   Dec‐20 Claims               12/18/2020 JRW        $       260.00          1.8 Draft proposed order on claims process (1.8)                                                        $         468.00
          Administration &
          Objections
   Dec‐20 Claims               12/18/2020 MR         $       390.00          0.7 Attention to order on claims and follow up and exchanges regarding same with J. Wine and K. Duff.   $         273.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 AEP        $       390.00          0.6 further teleconference with K. Duff regarding global claims analysis issues (.6)                    $         234.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 AW         $       140.00          0.1 attention to entered confidentiality order and email counsel regarding same (.1)                    $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 AW         $       140.00          0.2 attention to deadlines set by Judge Lee and update docket (.2).                                     $           28.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 AW         $       140.00          0.2 communicate with K. Duff regarding passing of claimant and response to claimant's spouse (.2)       $           28.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 AW         $       140.00          0.3 call with J. Wine regarding contact lists on property by property basis and communicate with claims $           42.00
          Administration &                                                       vendor regarding same and estimate cost (.3)
          Objections
   Dec‐20 Claims               12/21/2020 AW         $       140.00          0.4 Review claims and correspondence from claimants and respond to same (.4)                            $           56.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 JRW        $       260.00          0.2 confer with A. Watychowicz regarding preparation of email service lists and email to vendor         $           52.00
          Administration &                                                       regarding same (.2)
          Objections
   Dec‐20 Claims               12/21/2020 JRW        $       260.00          0.2 telephone conference with claimants' counsel regarding claims process (.2)                          $           52.00
          Administration &
          Objections
   Dec‐20 Claims               12/21/2020 JRW        $       260.00          0.2 Attention to responding to claimant inquiries and related telephone conference with A.              $           52.00
          Administration &                                                       Watychowicz (.2)
          Objections




                                                                                           142 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 144 of 191 PageID #:53928
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                       Task Cost
Month                                       Keeper        Rate
   Dec‐20 Claims               12/21/2020 JRW        $       260.00        0.4 exchange correspondence with claimant's counsel regarding proposed claims process and order and $                  104.00
          Administration &                                                     related review of redlines (.4).
          Objections
   Dec‐20 Claims               12/22/2020 AW         $      140.00          0.1 assist K. Pritchard in service of notice of receivership (.1)                                           $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 AW         $      140.00          0.1 communicate with accountant regarding collection notice (.1).                                           $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 AW         $      140.00          0.2 communicate with K. Duff and J. Wine regarding demand from claimant and proposed response (.2) $                    28.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 AW         $      140.00          0.2 draft notice of receivership to collection agency and email K. Duff and J. Wine regarding proposed      $           28.00
          Administration &                                                      revisions (.2)
          Objections
   Dec‐20 Claims               12/22/2020 AW         $      140.00          0.2 Revisions to email to claimant's counsel, communicate with K. Duff and J. Wine regarding revisions,     $           28.00
          Administration &                                                      and finalize response email (.2)
          Objections
   Dec‐20 Claims               12/22/2020 JRW        $      260.00          0.1 confer with A. Watychowicz and K. Duff regarding response to claimant inquiry (.1)                      $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 JRW        $      260.00          0.1 Email exchange regarding EquityBuild documents (.1)                                                     $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 JRW        $      260.00          0.2 exchange correspondence with claimant's counsel and M. Rachlis regarding EquityBuild documents          $           52.00
          Administration &                                                      (.2).
          Objections
   Dec‐20 Claims               12/22/2020 JRW        $      260.00          0.6 review proof of claim documentation and related correspondence with A. Porter (.6)                      $         156.00
          Administration &
          Objections
   Dec‐20 Claims               12/22/2020 JRW        $      260.00          1.8 review redlines of proposed order from claimants' counsel, K. Duff and M. Rachlis and further revise $            468.00
          Administration &                                                      same to incorporate comments (1.8)
          Objections
   Dec‐20 Claims               12/22/2020 MR         $      390.00          2.1 Further review and revise of draft order on claims and follow up on same and other issues on claims $             819.00
          Administration &                                                      process, and work with K. Duff and J. Wine regarding addressing such issues.
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.2 telephone conference with document vendor regarding proposal for documents produced in                  $           52.00
          Administration &                                                      response to standard discovery requests (.2)
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.4 draft response to claimant inquiry and related exchange of correspondence with K. Duff (.4)             $         104.00
          Administration &
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.5 Review and reconcile redlines of proposed order and claims process received from claimants'             $         130.00
          Administration &                                                      counsel (.5)
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.7 telephone conference with e‐discovery vendor regarding database options and related review of           $         182.00
          Administration &                                                      materials and correspondence with M. Rachlis and K. Duff regarding same (.7).
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.8 conference call with claimants' counsel regarding proposed order and claims process (.8)                $         208.00
          Administration &
          Objections
   Dec‐20 Claims               12/23/2020 JRW        $      260.00          0.9 further revision to proposed order and related exchange of correspondence with K. Duff (.9)             $         234.00
          Administration &
          Objections
   Dec‐20 Claims               12/23/2020 MR         $      390.00          0.5 Attention to issues on proposed order and other issues on claims.                                       $         195.00
          Administration &
          Objections
   Dec‐20 Claims               12/24/2020 JRW        $      260.00          0.3 Further revise proposed order based on additional revisions from claimants' counsel (.3)                $           78.00
          Administration &
          Objections
   Dec‐20 Claims               12/24/2020 JRW        $      260.00          0.4 review claimants' counsel's revisions to claims process outline (.4)                                    $         104.00
          Administration &
          Objections
   Dec‐20 Claims               12/24/2020 JRW        $      260.00          1.5 conference call with claimants' regarding proposed claims process (1.5)                                 $         390.00
          Administration &
          Objections
   Dec‐20 Claims               12/24/2020 JRW        $      260.00          1.6 conference with K. Duff and M. Rachlis regarding same (.9) and further revision and annotation of       $         416.00
          Administration &                                                      outline (.7).
          Objections
   Dec‐20 Claims               12/24/2020 MR         $      390.00          0.9 Review orders and attention to claims process issues and participate in meeting with K. Duff and J.     $         351.00
          Administration &                                                      Wine.
          Objections
   Dec‐20 Claims               12/28/2020 AEP        $      390.00            2 Conference call with team to discuss legal and factual overview of priority claims and articulate       $         780.00
          Administration &                                                      strategy for reviewing and assessing competing claims associated with properties (2.0)
          Objections
   Dec‐20 Claims               12/28/2020 AW         $      140.00          0.1 attention to email from claimant and communicate with counsel regarding same (.1)                       $           14.00
          Administration &
          Objections
   Dec‐20 Claims               12/28/2020 AW         $      140.00          0.2 draft follow up correspondence to collection company and request input from K. Duff (.2).               $           28.00
          Administration &
          Objections
   Dec‐20 Claims               12/28/2020 AW         $      140.00          2.4 Confer with K. Duff, M. Rachlis, J. Wine, A. Porter, and J. Porter regarding claims review (2.4)        $         336.00
          Administration &
          Objections
   Dec‐20 Claims               12/28/2020 JP         $       95.00            2 Work with team on legal and factual analysis of priority claims and articulate strategy for reviewing   $         190.00
          Administration &                                                      and assessing competing claims associated with properties encumbered by loan.
          Objections
   Dec‐20 Claims               12/28/2020 JRW        $      260.00          0.1 review institutional lender claim (.1)                                                                  $           26.00
          Administration &
          Objections
   Dec‐20 Claims               12/28/2020 JRW        $      260.00          0.2 revise standard discovery to institutional lenders and related review of October 27 hearing             $           52.00
          Administration &                                                      transcript (.2)
          Objections




                                                                                           143 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 145 of 191 PageID #:53929
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                         Task Description                                                    Task Cost
Month                                        Keeper        Rate
   Dec‐20 Claims                12/28/2020 JRW        $       260.00        0.2 Exchange correspondence with K. Duff regarding claimant inquiry (.2)                                    $           52.00
           Administration &
           Objections
   Dec‐20 Claims                12/28/2020 JRW        $      260.00           0.3 begin checklist for claim review procedure (.3)                                                       $           78.00
           Administration &
           Objections
   Dec‐20 Claims                12/28/2020 JRW        $      260.00           1.1 review claim forms and prepare representative sample (1.1)                                            $         286.00
           Administration &
           Objections
   Dec‐20 Claims                12/28/2020 JRW        $      260.00           2.2 conference call with K. Duff, A. Porter, M. Rachlis and A. Watychowicz regarding claims process and   $         572.00
           Administration &                                                       claims review (2.2).
           Objections
   Dec‐20 Claims                12/28/2020 MR         $      390.00           0.9 Begin review of claims relating to first tranche properties (.9)                                      $         351.00
           Administration &
           Objections
   Dec‐20 Claims                12/28/2020 MR         $      390.00           2.2 work with team on issues relating to same (2.2).                                                      $         858.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 AEP        $      390.00           1.7 Follow‐up conference call with team to discuss methodology for reviewing claims, including legal      $         663.00
           Administration &                                                       and factual issues associated therewith.
           Objections
   Dec‐20 Claims                12/29/2020 AW         $      140.00           0.3 finalize follow up letter to creditor and send via mail (.3)                                          $           42.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 AW         $      140.00           0.3 locate and review mortgagees' lists on property by property basis and email J. Wine regarding same $              42.00
           Administration &                                                       (.3)
           Objections
   Dec‐20 Claims                12/29/2020 AW         $      140.00           1.7 Confer with K. Duff, M. Rachlis, J. Wine, A. Porter, and J. Porter regarding claims review (1.7)      $         238.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 JP         $        95.00          1.7 Follow‐up conference call with team to discuss methodology for reviewing claims, including legal      $         161.50
           Administration &                                                       and factual issues associated therewith.
           Objections
   Dec‐20 Claims                12/29/2020 JRW        $      260.00           0.1 Telephone conference with A. Watychowicz regarding mortgagee listings and claims analysis (.1)        $           26.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 JRW        $      260.00           1.7 confer with K. Duff, A. Porter, M. Rachlis and A. Watychowicz regarding procedures for analyzing      $         442.00
           Administration &                                                       claims (1.7).
           Objections
   Dec‐20 Claims                12/29/2020 MR         $      390.00           0.3 Attention to claims related issues (.3)                                                               $         117.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 MR         $      390.00           1.2 work on claims process outline issues (1.2).                                                          $         468.00
           Administration &
           Objections
   Dec‐20 Claims                12/29/2020 MR         $      390.00           1.7 participate in meeting with K. Duff, J. Wine and A. Watychowicz regarding claims review (1.7)         $         663.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JP         $        95.00           2 Prepare separate EBF mortgagee spreadsheets for all properties in receivership portfolio.              $         190.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           0.1 confer with claimants' counsel regarding report to court regarding process (.1)                       $           26.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           0.1 exchange correspondence with K. Duff and A. Watychowicz regarding response to claimant inquiry        $           26.00
           Administration &                                                       (.1).
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           0.3 telephone conference with A. Watychowicz regarding process for claims verification and review (.3) $              78.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           0.5 prepare summary and exchange correspondence with K. Duff and M. Rachlis regarding same (.5)           $         130.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           0.5 Review redlines and comments regarding proposed claims process outline (.5)                           $         130.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 JRW        $      260.00           1.8 conference call with claimants' counsel regarding same (1.8)                                          $         468.00
           Administration &
           Objections
   Dec‐20 Claims                12/30/2020 MR         $      390.00            1 Attention to claims process issues and follow up emails on same to K. Duff and J. Wine.                $         390.00
           Administration &
           Objections
   Dec‐20 Claims                12/31/2020 AW         $      140.00           0.2 attention to voicemail from claimant requesting update, review prior correspondence with              $           28.00
           Administration &                                                       claimant, and response to same (.2).
           Objections
   Dec‐20 Claims                12/31/2020 AW         $      140.00           0.3 Attention to email from claimant's spouse, response to same, update contact information, and          $           42.00
           Administration &                                                       request update to database (.3)
           Objections
   Dec‐20 Claims                12/31/2020 JRW        $      260.00           2.2 Prepare revised claims process outline with comments for further discussion.                          $         572.00
           Administration &
           Objections
   Dec‐20 Claims                12/31/2020 MR         $      390.00           0.3 Attention to email on claims process issues.                                                          $         117.00
           Administration &
           Objections
    Jan‐21 Claims                 1/4/2021 KBD        $      390.00           0.1 attention to communication with claimant regarding claims process (.1).                               $           39.00
           Administration &
           Objections
    Jan‐21 Claims                 1/4/2021 KBD        $      390.00           0.6 Study claims outline and related correspondence and revisions from J. Wine and M. Rachlis (.6)        $         234.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 KBD        $      390.00           0.5 Exchange correspondence regarding communications with claimants and counsel regarding claims          $         195.00
           Administration &                                                       process and documentation (.5)
           Objections




                                                                                            144 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 146 of 191 PageID #:53930
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                          Task Description                                                  Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                 1/5/2021 KBD        $       390.00        1.8 study and revise claims process outline and exchange correspondence with M. Rachlis and J. Wine        $         702.00
           Administration &                                                     relating to same (1.8).
           Objections
    Jan‐21 Claims                 1/6/2021 KBD        $      390.00          0.1 attention to request from claimant for information relating to property sales (.1).                   $           39.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 KBD        $      390.00          0.2 study correspondence from claimant regarding claims documentation and exchange                        $           78.00
           Administration &                                                      correspondence with A. Watychowicz relating to same (.2)
           Objections
    Jan‐21 Claims                 1/6/2021 KBD        $      390.00          0.5 draft and revise outline of issues for claims review process and draft related correspondence to A.   $         195.00
           Administration &                                                      Porter (.5)
           Objections
    Jan‐21 Claims                 1/6/2021 KBD        $      390.00          1.1 study and revise draft communication to claimants regarding confidentiality order and claims          $         429.00
           Administration &                                                      process order (1.1)
           Objections
    Jan‐21 Claims                 1/6/2021 KBD        $      390.00          1.5 Work on claims review and claims process (1.5)                                                        $         585.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 KBD        $      390.00          0.6 Study and revise communication to claimants regarding confidentiality order and claims process and $            234.00
           Administration &                                                      review various correspondence relating to same (.6)
           Objections
    Jan‐21 Claims                 1/7/2021 KBD        $      390.00          1.9 confer with M. Rachlis and J. Wine regarding claims process (1.9).                                    $         741.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 KBD        $      390.00          0.2 telephone conference with SEC (.2)                                                                    $           78.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 KBD        $      390.00          2.7 work on claims process and claims review (2.7).                                                       $        1,053.00
           Administration &
           Objections
    Jan‐21 Claims                1/11/2021 KBD        $      390.00          0.3 Confer with A. Porter regarding claims analysis and investigation issues (.3)                         $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/11/2021 KBD        $      390.00          0.4 confer with M. Rachlis regarding same and potential resolution of issues relating to claims process   $         156.00
           Administration &                                                      and claims (.4)
           Objections
    Jan‐21 Claims                1/11/2021 KBD        $      390.00          0.5 gather information at claimant's counsel's request and draft correspondence regarding same (.5)       $         195.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 KBD        $      390.00          0.3 Study analysis of claims and exchange correspondence with J. Wine regarding same (.3)                 $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/13/2021 KBD        $      390.00          0.3 Review and revise claims vendor statement of work and exchange correspondence with J. Wine            $         117.00
           Administration &                                                      regarding same (.3)
           Objections
    Jan‐21 Claims                1/14/2021 KBD        $      390.00          0.3 prepare for call with claimant (.3)                                                                   $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/14/2021 KBD        $      390.00          0.8 telephone conference with claimant regarding claims and claim process (.8).                           $         312.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 KBD        $      390.00          0.3 further review claims vendor statement of work and exchange related correspondence with J. Wine $               117.00
           Administration &                                                      and M. Rachlis (.3).
           Objections
    Jan‐21 Claims                1/15/2021 KBD        $      390.00          0.3 study correspondence from J. Wine regarding EB documents document database (.3)                       $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 KBD        $      390.00            1 confer with M. Rachlis and J. Wine regarding claims process (1.0)                                     $         390.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 KBD        $      390.00          1.7 Work on claims process (1.7)                                                                          $         663.00
           Administration &
           Objections
    Jan‐21 Claims                1/17/2021 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding response to claimant relating to claim          $           39.00
           Administration &                                                      (.1).
           Objections
    Jan‐21 Claims                1/17/2021 KBD        $      390.00            2 Work on claims process (2.0)                                                                          $         780.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding statement of work for vendor claims             $           39.00
           Administration &                                                      project (.1)
           Objections
    Jan‐21 Claims                1/18/2021 KBD        $      390.00          0.1 Attention to communication with claimant regarding claimant estate issue (.1)                         $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding agreement with vendor relating to claims forms         $           78.00
           Administration &                                                      and documentation (.2).
           Objections
    Jan‐21 Claims                1/18/2021 KBD        $      390.00          0.2 work on claimant request for information regarding claim status (.2)                                  $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding claims documents project (.1)                          $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 KBD        $      390.00          0.2 evaluate claims related activities and review correspondence from J. Wine regarding same (.2)         $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 KBD        $      390.00          0.3 study revisions to claims resolution process (.3).                                                    $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 KBD        $      390.00          0.3 work on standard written discovery for claimants (.3)                                                 $         117.00
           Administration &
           Objections




                                                                                           145 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 147 of 191 PageID #:53931
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                       Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                1/19/2021 KBD        $       390.00        0.3 Work on communication with claimant regarding documentation relating to claim, decedent's               $         117.00
           Administration &                                                     estate, and dissolved entity (.3)
           Objections
    Jan‐21 Claims                1/20/2021 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding revision to and approval of statement of         $           39.00
           Administration &                                                      work for claims vendor (.1).
           Objections
    Jan‐21 Claims                1/20/2021 KBD        $      390.00          0.2 work on response to claimants regarding claims communications (.2)                                     $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 KBD        $      390.00          1.1 study multiple revisions to same and further telephone conferences and exchange correspondence $                 429.00
           Administration &                                                      with J. Wine and M. Rachlis regarding claims process outline and standard written discovery
           Objections                                                            requests (1.1)
    Jan‐21 Claims                1/20/2021 KBD        $      390.00          3.1 Work with M. Rachlis and J. Wine on claims process outline and standard written discovery requests $            1,209.00
           Administration &                                                      (3.1)
           Objections
    Jan‐21 Claims                1/21/2021 KBD        $      390.00          2.7 Work on claims process outline and standard discovery (2.7)                                            $        1,053.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 KBD        $      390.00          0.3 attention to documents for EB database (.3).                                                           $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 KBD        $      390.00          0.3 Telephone conference with claimant's counsel regarding claims process (.3)                             $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 KBD        $      390.00          2.4 work on joint status report and numerous communications with J. Wine and M. Rachlis regarding          $         936.00
           Administration &                                                      same (2.4)
           Objections
    Jan‐21 Claims                1/24/2021 KBD        $      390.00          0.1 Attention to communication with claimant regarding claims process and timing and exchange              $           39.00
           Administration &                                                      correspondence with A. Watychowicz relating to same (.1)
           Objections
    Jan‐21 Claims                1/26/2021 KBD        $      390.00          0.1 exchange correspondence with A. Watychowicz regarding information relating to claimants (.1).          $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/26/2021 KBD        $      390.00          0.2 Work on responses to claimants' inquiries (.2)                                                         $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 KBD        $      390.00          0.1 attention issues relating to documents for EB database (.1)                                            $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding confidentiality order (.1).                             $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 KBD        $      390.00          0.1 attention to revision to claims process order (.1)                                                     $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 KBD        $      390.00          0.1 study correspondence from J. Porter regarding reconciliation of records (.1).                          $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 KBD        $      390.00          0.1 work on response to claimant (.1)                                                                      $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 KBD        $      390.00          0.2 Draft correspondence to counsel for claimants regarding request for documents (.2)                     $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 KBD        $      390.00          0.1 exchange correspondence regarding communication with claimant about hearing before Judge Lee           $           39.00
           Administration &                                                      (.1).
           Objections
    Jan‐21 Claims                1/29/2021 KBD        $      390.00          0.1 review correspondence from claimant's counsel regarding claim amount (.1)                              $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 KBD        $      390.00          0.3 confer with SEC (.3)                                                                                   $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 KBD        $      390.00            1 Confer with M. Rachlis and J. Wine regarding claims process and preparation for hearing before         $         390.00
           Administration &                                                      Judge Lee (1.0)
           Objections
    Jan‐21 Claims                1/29/2021 KBD        $      390.00          1.4 appear for hearing before Judge Lee regarding claims process (1.4)                                     $         546.00
           Administration &
           Objections
    Jan‐21 Claims                 1/4/2021 AEP        $      390.00            2 Teleconferences with J. Porter and J. Rak regarding overview of claims analysis, assembly of           $         780.00
           Administration &                                                      documents relevant to claims process, including administrative and housing court documentation,
           Objections                                                            mechanic's lien documentation, mortgages, settlement statements, and other paperwork,
                                                                                 reorganization of all property folders, and creation of updated spreadsheet.

   Jan‐21 Claims                  1/4/2021 JP         $       95.00            2 Teleconferences with A. Porter and J. Rak regarding overview of claims analysis, assembly of           $         190.00
          Administration &                                                       documents relevant to claims process, including administrative and housing court documentation,
          Objections                                                             mechanic's lien documentation, mortgages, settlement statements, and other paperwork,
                                                                                 reorganization of all property folders, and creation of updated spreadsheet.

   Jan‐21 Claims                  1/4/2021 JR         $      140.00          2.3 Confer with A. Porter regarding the claims process (2.3)                                               $         322.00
          Administration &
          Objections
   Jan‐21 Claims                  1/4/2021 JR         $      140.00          3.9 organize and research property information related to original EquityBuild purchase dates,             $         546.00
          Administration &                                                       recording dates, purchase price, EquityBuild debt and mechanic's lien regarding properties in
          Objections                                                             receivership and previously sold and update EquityBuild portfolio spreadsheet (3.9).

   Jan‐21 Claims                  1/4/2021 JRW        $      260.00          0.4 review suggested revisions to claims process outline and related correspondence with M. Rachlis        $         104.00
          Administration &                                                       and K. Duff regarding same (.4)
          Objections
   Jan‐21 Claims                  1/4/2021 MR         $      390.00          1.6 Attention to status on claims and work on claims outline.                                              $         624.00
          Administration &
          Objections
   Jan‐21 Claims                  1/5/2021 AEP        $      390.00          1.4 Review list of properties for which deeds and/or EBF mortgages are missing, research files to locate   $         546.00
          Administration &                                                       missing documentation, and create list of additional paperwork needed to finalize first step of
          Objections                                                             claims analysis.




                                                                                           146 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 148 of 191 PageID #:53932
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                         Task Description                                                     Task Cost
Month                                       Keeper        Rate
    Jan‐21 Claims                 1/5/2021 AW        $       140.00        0.1 Communicate with K. Pritchard regarding service of documents on claimants (.1)                           $           14.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 AW        $      140.00           0.2 call with J. Wine regarding proposed discovery and claims process solution, possible updates to        $           28.00
           Administration &                                                      databases for online vendors, and group emailing (.2)
           Objections
    Jan‐21 Claims                 1/5/2021 AW        $      140.00           0.2 draft email to claimants regarding discovery and claims process (.2)                                   $           28.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 JRW       $      260.00           0.2 attention to claimant inquiries (.2)                                                                   $           52.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 JRW       $      260.00           0.2 email exchange with claimants' counsel regarding request for records (.2).                             $           52.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 JRW       $      260.00           0.2 Exchange correspondence with document vendor regarding claims document transfer (.2)                   $           52.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 JRW       $      260.00           0.3 confer with A. Watychowicz regarding proposed order and feasibility of email distribution lists for    $           78.00
           Administration &                                                      tranches (.3)
           Objections
    Jan‐21 Claims                 1/5/2021 JRW       $      260.00           2.1 study revisions and comments on claims process outline, additional revisions in response to            $         546.00
           Administration &                                                      comments and circulate same to claimants' counsel and SEC (2.1)
           Objections
    Jan‐21 Claims                 1/5/2021 MR        $      390.00           0.2 attention to issues on document library (.2).                                                          $           78.00
           Administration &
           Objections
    Jan‐21 Claims                 1/5/2021 MR        $      390.00            1 Review and follow up on claims outline and exchanges with J. Wine and K. Duff (1.0)                     $         390.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 AEP       $      390.00           1.5 Teleconference with team to discuss claims processing, legal issues associated therewith, and          $         585.00
           Administration &                                                      approach to analysis.
           Objections
    Jan‐21 Claims                 1/6/2021 AW        $      140.00           0.1 communicate with claims vendor regarding email project (.1)                                            $           14.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 AW        $      140.00           0.4 attention to emails from claimant forwarding documents, review claim and documents                     $           56.00
           Administration &                                                      communicate with J. Wine regarding same, and email response to claimant (.4)
           Objections
    Jan‐21 Claims                 1/6/2021 AW        $      140.00           0.4 work with J. Wine on draft email to claimants regarding access to claims and discovery process (.4).   $           56.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 AW        $      140.00           1.5 Video call regarding review of claims (1.5)                                                            $         210.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JP        $        95.00           1 Teleconference with team to discuss claims processing, legal issues associated therewith, and           $           95.00
           Administration &                                                     approach to analysis.
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           0.1 email exchange with claims vendor regarding status of project (.1).                                    $           26.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           0.2 exchange correspondence with claims vendor regarding document transfer (.2)                            $           52.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           0.5 draft proposed email to claimants forwarding confidentiality and document orders (.5)                  $         130.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           0.7 attention to responding to claimant inquiries (.7)                                                     $         182.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           1.4 Conference call with claimants' counsel and SEC regarding claims process (1.4)                         $         364.00
           Administration &
           Objections
    Jan‐21 Claims                 1/6/2021 JRW       $      260.00           1.5 videoconference with A. Porter, J. Porter, K. Duff, and A. Watychowicz regarding claims analysis       $         390.00
           Administration &                                                      (1.5)
           Objections
    Jan‐21 Claims                 1/6/2021 MR        $      390.00           1.5 Attention to meeting on claims related issues.                                                         $         585.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 AW        $      140.00           0.1 follow up regarding email to claimants regarding access to claims and discovery process (.1)           $           14.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 AW        $      140.00           0.1 Attention to email from claimant regarding claim and direct him to updated status report (.1)          $           14.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 AW        $      140.00           0.4 multiple email exchanges and calls regarding primary and secondary email project and proposed          $           56.00
           Administration &                                                      statement of work (.4).
           Objections
    Jan‐21 Claims                 1/7/2021 JRW       $      260.00           0.1 email exchange with SEC (.1)                                                                           $           26.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 JRW       $      260.00           0.1 exchange correspondence with A. Watychowicz regarding compilation of email service lists by            $           26.00
           Administration &                                                      claims vendor (.1)
           Objections
    Jan‐21 Claims                 1/7/2021 JRW       $      260.00           0.2 confer with J. Rak regarding claims analysis (.2)                                                      $           52.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 JRW       $      260.00           0.2 draft email to court's clerk regarding entry of proposed order (.1) and related communications with $              52.00
           Administration &                                                      K. Duff and M. Rachlis regarding same (.1)
           Objections
    Jan‐21 Claims                 1/7/2021 JRW       $      260.00           0.2 further revision to claims process outline and related correspondence to SEC (.2).                     $           52.00
           Administration &
           Objections




                                                                                           147 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 149 of 191 PageID #:53933
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                           Task Description                                                  Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                 1/7/2021 JRW        $       260.00        0.6 Review redlines of draft email to claimants forwarding confidentiality and document orders and          $         156.00
           Administration &                                                     further revise to incorporate comments regarding same (.6)
           Objections
    Jan‐21 Claims                 1/7/2021 JRW        $      260.00           1.6 revise claims process outline to set forth disputed issues (1.6)                                      $         416.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 JRW        $      260.00           1.8 video‐conference with K. Duff and M. Rachlis regarding claims process (1.8)                           $         468.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 MR         $      390.00           0.6 review materials regarding same (.6).                                                                 $         234.00
           Administration &
           Objections
    Jan‐21 Claims                 1/7/2021 MR         $      390.00           1.9 Follow up conference on claims process and issues (1.9)                                               $         741.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 AEP        $      390.00             1 Conference with J. Porter regarding development of master spreadsheet containing all relevant data $            390.00
           Administration &                                                       points for each property ever owned by EquityBuild.
           Objections
    Jan‐21 Claims                 1/8/2021 AW         $      140.00           0.2 Work with IT consultant on continued issue with access to executed contracts stored online (.2)       $           28.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 AW         $      140.00           2.3 video call regarding review of claims (2.3)                                                           $         322.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JP         $        95.00            2 Conference call with team to further analyze various types of claims submitted by investor lenders    $         190.00
           Administration &                                                       and to create a written procedure to guide resolution of all claims.
           Objections
    Jan‐21 Claims                 1/8/2021 JR         $      140.00           0.8 telephone call with J. Wine regarding claims process (.8)                                             $         112.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JR         $      140.00           2.3 zoom conference with team regarding claims (2.3).                                                     $         322.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JRW        $      260.00           0.1 confer with claims vendor regarding access credentials (.1)                                           $           26.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JRW        $      260.00           0.1 Confer with A. Watychowicz regarding claims review (.1)                                               $           26.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JRW        $      260.00           0.4 conference with K. Duff regarding claims process (.4).                                                $         104.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JRW        $      260.00           0.8 work with J. Rak on review procedures (.8)                                                            $         208.00
           Administration &
           Objections
    Jan‐21 Claims                 1/8/2021 JRW        $      260.00           2.3 videoconference with K. Duff, A. Porter, M. Rachlis, J. Porter, J. Rak and A. Watychowicz regarding   $         598.00
           Administration &                                                       claims analysis (2.3)
           Objections
    Jan‐21 Claims                 1/8/2021 MR         $      390.00             2 Participate in meeting on claims with receivership team.                                              $         780.00
           Administration &
           Objections
    Jan‐21 Claims                 1/9/2021 AEP        $      390.00           2.3 Teleconference with team to analyze various types of claims submitted by investor lenders and to      $         897.00
           Administration &                                                       create written procedures to guide resolution of same.
           Objections
    Jan‐21 Claims                 1/9/2021 MR         $      390.00             3 Attention to claims and related issues and communicate with K. Duff and A. Porter and receivership    $        1,170.00
           Administration &                                                       team.
           Objections
    Jan‐21 Claims                1/11/2021 AEP        $      390.00           0.3 Teleconference with K. Duff regarding claims issue.                                                   $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/11/2021 JRW        $      260.00           0.2 revisions to claims process outline (.2)                                                              $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/11/2021 JRW        $      260.00           1.5 Conference with J. Rak regarding claims review process and related training on database and           $         390.00
           Administration &                                                       procedures (1.5)
           Objections
    Jan‐21 Claims                1/11/2021 MR         $      390.00           0.4 Conference with K. Duff regarding claims process and resolution of issues of claims.                  $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 JR         $      140.00           0.5 Exchange correspondence with J. Wine regarding proof of claims process and software related           $           70.00
           Administration &                                                       issues (.5)
           Objections
    Jan‐21 Claims                1/12/2021 JR         $      140.00           2.1 review proof of claims and draft notes (2.1).                                                         $         294.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 JRW        $      260.00           0.1 confer with A. Watychowicz regarding claimant inquiry (.1).                                           $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 JRW        $      260.00           0.1 exchange correspondence with claims document vendor regarding claim forms (.1)                        $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 JRW        $      260.00           0.2 telephone conference and follow up emails to claims vendors regarding transfer of documents (.2)      $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/12/2021 JRW        $      260.00           0.6 confer with J. Rak and S. Zjalic regarding claims review (.6)                                         $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/13/2021 JRW        $      260.00           0.1 Correspond with claims vendor regarding claims documentation (.1)                                     $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/13/2021 JRW        $      260.00           0.3 exchange correspondence with K. Duff regarding vendor statement of work and related review of         $           78.00
           Administration &                                                       revisions to same (.3)
           Objections




                                                                                            148 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 150 of 191 PageID #:53934
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                1/13/2021 JRW        $       260.00        0.5 exchange correspondence with A. Porter regarding claims review and related review of claims data       $         130.00
           Administration &                                                     (.5)
           Objections
    Jan‐21 Claims                1/13/2021 JRW        $      260.00           0.7 confer with J. Rak regarding claims review process and related revision of spreadsheet (.7)          $         182.00
           Administration &
           Objections
    Jan‐21 Claims                1/13/2021 JRW        $      260.00           0.7 study proof of claim and supporting documentation submitted by claimant and related analysis to      $         182.00
           Administration &                                                       K. Duff (.7)
           Objections
    Jan‐21 Claims                1/14/2021 JRW        $      260.00           0.1 confer with claims vendor regarding claimant's proof of claim (.1)                                   $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/14/2021 JRW        $      260.00           0.1 exchange correspondence with claims vendor regarding estimate (.1)                                   $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/14/2021 JRW        $      260.00           0.1 work with J. Rak on claims review chart (.1)                                                         $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/14/2021 JRW        $      260.00           0.2 Exchange correspondence with K. Duff regarding claim submitted by claimant (.2)                      $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/14/2021 JRW        $      260.00           0.8 telephone conference with claimant and K. Duff regarding status of matter and claims process (.8)    $         208.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 JRW        $      260.00           0.5 confer with M. Rachlis regarding statement of work from documents vendor and revise same (.5)        $         130.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 JRW        $      260.00           1.4 Study correspondence and license agreement from EquityBuild vendor and related preparation of        $         364.00
           Administration &                                                       chronology and email exchange with K. Duff (1.4)
           Objections
    Jan‐21 Claims                1/15/2021 MR         $      390.00           0.4 Review recent version of claims process (.4)                                                         $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 MR         $      390.00           0.5 attention to database vendor issues and conference with J. Wine (.5)                                 $         195.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 MR         $      390.00            1 participate in call regarding claims process with K. Duff and J. Wine (1.0)                           $         390.00
           Administration &
           Objections
    Jan‐21 Claims                1/15/2021 MR         $      390.00           2.5 research regarding claims process (2.5).                                                             $         975.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 AW         $      140.00           0.1 work with IT consultant to regain access to executed contracts (.1)                                  $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 AW         $      140.00           0.1 Correspond with K. Duff and J. Wine regarding forms forwarded by claimant (.1)                       $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 AW         $      140.00           0.2 research and communicate with J. Wine regarding former EquityBuild database (.2).                    $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 AW         $      140.00           0.2 respond to claimants' emails (.2)                                                                    $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 AW         $      140.00           0.4 review claim and supporting documents and communicate with J. Wine regarding proposed                $           56.00
           Administration &                                                       revisions to master claims list (.4)
           Objections
    Jan‐21 Claims                1/18/2021 JRW        $      260.00           0.1 confer with A. Watychowicz regarding statement of work from document vendor (.1)                     $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 JRW        $      260.00           0.1 Attention to claimant inquiries (.1)                                                                 $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/18/2021 JRW        $      260.00           0.3 confer with K. Duff regarding statement of work from document vendor and related exchange of         $           78.00
           Administration &                                                       correspondence with vendor (.3)
           Objections
    Jan‐21 Claims                1/18/2021 JRW        $      260.00           0.4 confer with A. Watychowicz regarding EquityBuild documents and related correspondence to             $         104.00
           Administration &                                                       counsel for claimants (.4)
           Objections
    Jan‐21 Claims                1/18/2021 JRW        $      260.00           0.6 study claimant's claim submission and related correspondence with J. Rak regarding analysis and A.   $         156.00
           Administration &                                                       Watychowicz regarding necessary updates to master spreadsheet (.6).
           Objections
    Jan‐21 Claims                1/19/2021 AW         $      140.00           0.1 communicate with K. Duff and J. Wine regarding timing of claims process (.1)                         $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 AW         $      140.00           0.1 Respond to emails from claimants (.1)                                                                $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 AW         $      140.00           0.3 start research regarding email group options and communicate with IT consultant regarding same       $           42.00
           Administration &                                                       (.3).
           Objections
    Jan‐21 Claims                1/19/2021 JP         $        95.00          0.9 gather deed document numbers, amounts, and dates in order to add to the master organizational        $           85.50
           Administration &                                                       EB portfolio (.9).
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $      260.00           0.1 correspondence with K. Duff regarding vendor statement of work (.1)                                  $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $      260.00           0.2 correspondence with A. Porter regarding claims analysis (.2)                                         $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $      260.00           0.2 exchange correspondence with claimants' counsel regarding EquityBuild documents (.2)                 $           52.00
           Administration &
           Objections




                                                                                            149 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 151 of 191 PageID #:53935
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                             Task Description                                                  Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                1/19/2021 JRW        $       260.00        0.2 review E. Duff analysis of institutional lender debt (.2)                                                 $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $       260.00          0.3 email exchange with claimants' counsel regarding revised standard discovery requests and                $           78.00
           Administration &                                                       additional revision of same (.3).
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $       260.00          0.3 review revised vendor statement of work and related correspondence (.3)                                 $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $       260.00          0.3 Correspondence with K. Duff regarding claimant inquiry (.3)                                             $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $       260.00          0.5 review EBF mortgagee spreadsheets and related correspondence with J. Porter (.5)                        $         130.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 JRW        $       260.00          1.9 review revisions to claims process outline from claimants' counsel (1.9)                                $         494.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 MR         $       390.00          0.4 attention to communications from institutional investor regarding claims issues (.4).                   $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/19/2021 MR         $       390.00          1.5 Work to review and comment on issues on claims process (1.5)                                            $         585.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 AW         $       140.00          0.3 email exchanges with claims vendor and K. Duff regarding proposed project, revisions to statement       $           42.00
           Administration &                                                       of work, and approval of same (.3).
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.1 review redline of claims process from claimants' counsel (.1)                                           $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.2 correspondence circulating draft process to claimants' counsel (.2)                                     $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.4 correspondence and telephone conference with SEC (.4).                                                  $         104.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.4 revise institutional lender claimants' proposed standard discovery request and related exchange of      $         104.00
           Administration &                                                       correspondence with claimants' counsel (.4)
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.5 review comments on proposed claims process from claimants' counsel and related telephone                $         130.00
           Administration &                                                       conference with same (.5)
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          0.7 conference with S. Zjalic regarding process for reviewing claims (.7)                                   $         182.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          2.9 work with K. Duff and M. Rachlis on revising draft joint status report regarding claims process (2.9)   $         754.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 JRW        $       260.00          3.1 Extensive conference with K. Duff and M. Rachlis regarding claims process and related meet and          $         806.00
           Administration &                                                       confers with claimants' counsel and discovery issues (3.1)
           Objections
    Jan‐21 Claims                1/20/2021 MR         $       390.00          0.4 conference call regarding claims related discovery (.4).                                                $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 MR         $       390.00          2.9 Further work and review issues on edits to claims process and issues regarding same (2.9)               $        1,131.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 MR         $       390.00          3.3 participate in lengthy call regarding process with K. Duff and J. Wine (3.3)                            $        1,287.00
           Administration &
           Objections
    Jan‐21 Claims                1/20/2021 SZ         $       110.00          0.7 Work with J. Wine regarding review of Chicago Capital Fund I claims.                                    $           77.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 AEP        $       390.00          0.5 Research EquityBuild files to assemble various publicly recorded documents, settlement statements, $              195.00
           Administration &                                                       and other materials relevant to claims process.
           Objections
    Jan‐21 Claims                1/21/2021 AW         $       140.00          0.2 Finalize responses to claimants and email same (.2)                                                     $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 AW         $       140.00          0.4 attention to email lists received from claims vendor, review same, and communicate with J. Wine         $           56.00
           Administration &                                                       regarding related issues (.4).
           Objections
    Jan‐21 Claims                1/21/2021 AW         $       140.00          0.5 continue research and tests on email groups (.5)                                                        $           70.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 AW         $       140.00          0.6 conference call with J. Wine regarding email groups (.6)                                                $           84.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          0.1 confer with A. Watychowicz regarding claimant email list from vendor (.1)                               $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          0.1 correspondence with claimants' counsel and A. Watychowicz regarding revisions to standard               $           26.00
           Administration &                                                       discovery requests (.1)
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          0.1 review responses to claimant inquiries (.1)                                                             $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          0.5 Videoconference with A. Watychowicz regarding strategy for serving claimants via email distribution $             130.00
           Administration &                                                       groups (.5)
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          0.9 conference call with claimants' counsel and SEC regarding claims process and joint report (.9)          $         234.00
           Administration &
           Objections




                                                                                            150 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 152 of 191 PageID #:53936
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                           Task Description                                                      Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                1/21/2021 JRW        $       260.00        1.3 study claimants' proposed revisions to joint report to court regarding claims process (1.3)                 $         338.00
           Administration &
           Objections
    Jan‐21 Claims                1/21/2021 JRW        $       260.00          3.4 further revision of joint report to incorporate counsel's revisions and comments and exchange             $         884.00
           Administration &                                                       numerous redlines of same with M. Rachlis, K. Duff and claimants' counsel (3.4).
           Objections
    Jan‐21 Claims                1/21/2021 MR         $       390.00          3.6 Further attention to claims issues for submission with numerous exchanges with K. Duff and J. Wine. $              1,404.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.2 communicate with database vendor regarding transfer of files from claims vendor and follow up call $                  28.00
           Administration &                                                       with J. Wine regarding same (.2)
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.2 review joint report and address issue of pending motions (.2)                                             $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.3 research pst files and Receiver's emails regarding communications and claims of former EquityBuild $                  42.00
           Administration &                                                       employee (.3)
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.3 Revisions to exhibits to joint status report and email J. Wine about same (.3)                            $           42.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.5 review of documents production and detailed email to counsel regarding same (.5).                         $           70.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          0.9 review and work on possible access to EquityBuild documents (.9)                                          $         126.00
           Administration &
           Objections
    Jan‐21 Claims                1/22/2021 AW         $       140.00          1.9 work with J. Wine to finalize joint status report: revisions to report and exhibits, attention to email   $         266.00
           Administration &                                                       exchanges regarding revisions from all counsel signing report, multiple calls and email exchanges
           Objections                                                             regarding revisions and finalization, resolve issue of service, final revisions to status report and
                                                                                  exhibits, and file with court (1.9)
   Jan‐21 Claims                 1/22/2021 JRW        $       260.00          0.1 Research and correspond with K. Duff regarding claimants (.1)                                             $           26.00
          Administration &
          Objections
   Jan‐21 Claims                 1/22/2021 JRW        $       260.00          0.3 confer with A. Watychowicz regarding spreadsheet from claims vendor and process for updating              $           78.00
          Administration &                                                        claimant information (.3)
          Objections
   Jan‐21 Claims                 1/22/2021 JRW        $       260.00          0.4 revisions to standard discovery requests for inclusion in joint status report and related                 $         104.00
          Administration &                                                        correspondence with claimants' counsel (.4)
          Objections
   Jan‐21 Claims                 1/22/2021 JRW        $       260.00          6.6 extensive revision of joint report regarding claims process and pending motions, numerous          $               1,716.00
          Administration &                                                        exchanges of correspondence and redlined drafts internally and with claimants' counsel and SEC and
          Objections                                                              finalize and file same (6.6).
   Jan‐21 Claims                 1/22/2021 MR         $       390.00          3.5 Work on various drafts of joint status reports and discovery requests and confer on various issues $               1,365.00
          Administration &                                                        with J. Wine and K. Duff.
          Objections
   Jan‐21 Claims                 1/25/2021 AW         $       140.00          0.1 Attention to email from Judge Lee's courtroom deputy regarding claims order and call with J. Wine         $           14.00
          Administration &                                                        regarding same (.1)
          Objections
   Jan‐21 Claims                 1/25/2021 AW         $       140.00          0.2 revise proposed email to claimants and email counsel regarding same (.2).                                 $           28.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.1 exchange correspondence with court clerk regarding claims process (.1)                                    $           26.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.1 related review of draft email to claimants (.1)                                                           $           26.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.2 exchange correspondence with K. Duff and K. Pritchard regarding claim (.2)                                $           52.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.2 related communications with S. Zjalic and J. Rak (.2)                                                     $           52.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.2 research and correspond with K. Duff regarding confidentiality issue (.2).                                $           52.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 JRW        $       260.00          0.5 Study and update claims review spreadsheet (.5)                                                           $         130.00
          Administration &
          Objections
   Jan‐21 Claims                 1/25/2021 MR         $       390.00          0.4 Attention to various claims related items on upcoming hearing.                                            $         156.00
          Administration &
          Objections
   Jan‐21 Claims                 1/26/2021 AW         $       140.00          0.1 communicate with K. Duff regarding claims vendor file (.1)                                                $           14.00
          Administration &
          Objections
   Jan‐21 Claims                 1/26/2021 AW         $       140.00          0.2 communicate with IT consultant regarding new email project (.2).                                          $           28.00
          Administration &
          Objections
   Jan‐21 Claims                 1/26/2021 AW         $       140.00          0.3 review files preserved by IT consultant, upload same to shared file, and communicate with J. Wine         $           42.00
          Administration &                                                        regarding same (.3)
          Objections
   Jan‐21 Claims                 1/26/2021 AW         $       140.00          0.4 attention to emails from claimants, review their claims, draft responses (.4)                             $           56.00
          Administration &
          Objections
   Jan‐21 Claims                 1/26/2021 AW         $       140.00          0.4 Attention to email from K. Duff regarding potential claimants, review submitted claims, and make          $           56.00
          Administration &                                                        appropriate notes in master claims list (.4)
          Objections
   Jan‐21 Claims                 1/26/2021 JRW        $       260.00          0.1 exchange correspondence relating to claimants' counsel request for records (.1)                           $           26.00
          Administration &
          Objections
   Jan‐21 Claims                 1/26/2021 JRW        $       260.00          0.1 Attention to claimant inquiries (.1)                                                                      $           26.00
          Administration &
          Objections




                                                                                            151 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 153 of 191 PageID #:53937
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                           Task Description                                                 Task Cost
Month                                        Keeper        Rate
    Jan‐21 Claims                1/26/2021 JRW        $       260.00        0.4 factual research regarding claimants (.4)                                                              $         104.00
           Administration &
           Objections
    Jan‐21 Claims                1/26/2021 JRW        $      260.00           0.4 review EB documents (.4)                                                                             $         104.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.1 communicate with accountant regarding claimants' entities issues (.1)                                $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.1 communicate with K. Duff regarding records received from claims vendor and processing of same        $           14.00
           Administration &                                                       (.1).
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.1 follow up with IT consultant regarding email project and additional keywords searched requested      $           14.00
           Administration &                                                       by J. Wine (.1)
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.1 Call with J. Wine regarding claimants' email contact sheets (.1)                                     $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.3 video call with J. Wine regarding access to online database (.3)                                     $           42.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 AW         $      140.00           0.4 attention to claims containing wrong supporting documents and reach out to claims vendor             $           56.00
           Administration &                                                       regarding the issue (.4)
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.2 correspondence from court clerk regarding proposed order and related exchange with K. Duff and       $           52.00
           Administration &                                                       M. Rachlis (.2)
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.2 email exchange with claims vendor and A. Watychowicz regarding claims documentation and              $           52.00
           Administration &                                                       related review of database (.2)
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.2 exchange correspondence with claimants' counsel regarding procedures and timing for sharing          $           52.00
           Administration &                                                       claims and EquityBuild documents (.2)
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.3 attention to claimant inquiry (.3)                                                                   $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.3 Correspondence with K. Duff regarding analysis of emails relating to claimant (.3)                   $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           0.6 study entries on review spreadsheet and related communications with S. Zjalic (.6)                   $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/27/2021 JRW        $      260.00           1.1 videoconference with A. Watychowicz regarding EB document vendors (.5) and continued review of $               286.00
           Administration &                                                       EB records (.6)
           Objections
    Jan‐21 Claims                1/27/2021 MR         $      390.00           0.4 Attention to various claims issues regarding upcoming hearing.                                       $         156.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 AW         $      140.00           0.1 Communicate with K. Duff and J. Wine regarding email from claimant (.1)                              $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 AW         $      140.00           4.1 review and email communications with J. Wine regarding proposed updates to master claims list        $         574.00
           Administration &                                                       and detailed summary (4.1).
           Objections
    Jan‐21 Claims                1/28/2021 JP         $        95.00          3.8 gather deed document numbers, amounts, and dates in order to add to the master organizational        $         361.00
           Administration &                                                       EB portfolio (3.8).
           Objections
    Jan‐21 Claims                1/28/2021 JRW        $      260.00           0.1 exchange correspondence with claims vendor regarding claims documentation (.1)                       $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 JRW        $      260.00           0.2 attention to claimants' inquires (.2)                                                                $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 JRW        $      260.00           0.2 Draft response to court clerk regarding proposed order and revisions thereto (.2)                    $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 JRW        $      260.00           0.3 confer with A. Watychowicz and related correspondence to claimant's counsel regarding EB             $           78.00
           Administration &                                                       documents (.3)
           Objections
    Jan‐21 Claims                1/28/2021 JRW        $      260.00           0.9 work with S. Zjalic and J. Porter on claims review and related emails exchange with A. Watychowicz   $         234.00
           Administration &                                                       (.9)
           Objections
    Jan‐21 Claims                1/28/2021 MR         $      390.00           0.1 attention to communication regarding claims documentation (.1).                                      $           39.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 MR         $      390.00           0.8 Conference with K. Duff regarding upcoming hearing and claims issues (.8)                            $         312.00
           Administration &
           Objections
    Jan‐21 Claims                1/28/2021 MR         $      390.00           2.8 further preparation for hearing and review of prior briefs and transcripts (2.8)                     $        1,092.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 AW         $      140.00           0.1 attention to email from courtroom deputy regarding scheduled hearing and update docket (.1)          $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 AW         $      140.00           0.1 attention to entered order changing conference ID for claimants and request update to                $           14.00
           Administration &                                                       Receivership web page (.1)
           Objections
    Jan‐21 Claims                1/29/2021 AW         $      140.00           0.1 draft email response to claimant regarding past hearing and call with J. Wine regarding same (.1)    $           14.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 AW         $      140.00           0.1 request update to claims portal (.1)                                                                 $           14.00
           Administration &
           Objections




                                                                                            152 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 154 of 191 PageID #:53938
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                Task Cost
Month                                       Keeper        Rate
    Jan‐21 Claims                1/29/2021 AW        $       140.00        0.2 attention to email from counsel, update claimed amounts, and communicate same to J. Wine (.2)        $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 AW        $      140.00          0.2 call with J. Wine regarding hearing and proposed schedule (.2).                                     $           28.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 AW        $      140.00          2.6 Continued review and email communications with J. Wine regarding proposed updates to master         $         364.00
           Administration &                                                     claims list and detailed summary (2.6)
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.1 attention to inquiry from claimant's counsel (.1)                                                   $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.1 correspondence from court clerk regarding revision of proposed order (.1)                           $           26.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.2 attention to additional inquiries from claimants (.2)                                               $           52.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.3 telephone conference with SEC (.3)                                                                  $           78.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.4 Prepare for hearing before Judge Lee on claims process (.4)                                         $         104.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.5 work with A. Watychowicz and S. Zjalic regarding claims review and reconciliation of records        $         130.00
           Administration &                                                     spreadsheet (.5)
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          0.7 research regarding EB documents (.7).                                                               $         182.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00            1 related conference with M. Rachlis and K. Duff regarding hearing preparation (1.0)                  $         260.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 JRW       $      260.00          1.6 appearance at hearing before Judge Lee regarding claims process (1.6)                               $         416.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 MR        $      390.00          0.3 conference with SEC (.3)                                                                            $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 MR        $      390.00          0.3 follow up regarding hearing with K. Duff (.3).                                                      $         117.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 MR        $      390.00            1 participate in meetings regarding hearing with K. Duff and J. Wine (1.0)                            $         390.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 MR        $      390.00            1 Prepare for upcoming hearing (1.0)                                                                  $         390.00
           Administration &
           Objections
    Jan‐21 Claims                1/29/2021 MR        $      390.00          1.6 attend hearing (1.6)                                                                                $         624.00
           Administration &
           Objections
   Feb‐21 Claims                  2/1/2021 KBD       $      390.00          0.1 exchange correspondence with J. Wine regarding confidentiality order and opt‐outs (.1)              $           39.00
           Administration &
           Objections
   Feb‐21 Claims                  2/1/2021 KBD       $      390.00          0.1 work on response to claimants (.1)                                                                  $           39.00
           Administration &
           Objections
   Feb‐21 Claims                  2/1/2021 KBD       $      390.00          0.2 study revised claims process outline (.2).                                                          $           78.00
           Administration &
           Objections
   Feb‐21 Claims                  2/1/2021 KBD       $      390.00          0.3 study proposed tranche groupings and related correspondence (.3)                                    $         117.00
           Administration &
           Objections
   Feb‐21 Claims                  2/2/2021 KBD       $      390.00          0.8 Exchange correspondence regarding claimants' communications about claims process.                   $         312.00
           Administration &
           Objections
   Feb‐21 Claims                  2/3/2021 KBD       $      390.00          0.4 study and revise claims process outline and exchange correspondence with J. Wine and M. Rachlis     $         156.00
           Administration &                                                     regarding changes (.4)
           Objections
   Feb‐21 Claims                  2/3/2021 KBD       $      390.00          0.4 work on responses to claimants (.4).                                                                $         156.00
           Administration &
           Objections
   Feb‐21 Claims                  2/4/2021 KBD       $      390.00          0.2 work on responses to claimants (.2).                                                                $           78.00
           Administration &
           Objections
   Feb‐21 Claims                  2/4/2021 KBD       $      390.00          1.5 Work on claims process outline and grouping of properties for claims process and exchange various   $         585.00
           Administration &                                                     correspondence relating to process (1.5)
           Objections
   Feb‐21 Claims                  2/5/2021 KBD       $      390.00          0.2 review proposed grouping of properties (.2).                                                        $           78.00
           Administration &
           Objections
   Feb‐21 Claims                  2/5/2021 KBD       $      390.00          0.6 Work on claims process outline and exchange various related correspondence (.6)                     $         234.00
           Administration &
           Objections
   Feb‐21 Claims                  2/8/2021 KBD       $      390.00          0.1 exchange correspondence regarding hearing before Judge Lee (.1).                                    $           39.00
           Administration &
           Objections
   Feb‐21 Claims                  2/8/2021 KBD       $      390.00          0.1 Attention to claimants' counsel's request for records (.1)                                          $           39.00
           Administration &
           Objections
   Feb‐21 Claims                  2/9/2021 KBD       $      390.00          0.1 attention to execution of vendor agreement and order approving engagement (.1).                     $           39.00
           Administration &
           Objections




                                                                                          153 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 155 of 191 PageID #:53939
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Feb‐21 Claims                 2/9/2021 KBD        $       390.00        0.5 Work on communications with claimants regarding claims process (.5)                                   $         195.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 KBD        $      390.00          0.2 attention to hard drive for claims vendor (.2).                                                      $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 KBD        $      390.00          0.2 work on investigation of records regarding claims issue (.2)                                         $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 KBD        $      390.00          0.3 follow up conversation with M. Rachlis and J. Wine relating to claimants' request for records (.3)   $         117.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 KBD        $      390.00          0.3 work on responses to numerous claimant inquiries regarding claims process (.3)                       $         117.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 KBD        $      390.00          0.8 Telephone conference with claimants' counsel, M. Rachlis, and J. Wine regarding claims and various   $         312.00
          Administration &                                                      related procedural issues (.8)
          Objections
   Feb‐21 Claims                2/11/2021 KBD        $      390.00          0.2 attention to action items with claims vendor (.2).                                                   $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/11/2021 KBD        $      390.00          0.2 Work on responses to claimant inquiries regarding claims process (.2)                                $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 KBD        $      390.00          0.3 Work on responses to numerous claimant inquiries regarding claims process (.3)                       $         117.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 KBD        $      390.00            1 confer with J. Wine and M. Rachlis regarding claims review and claims distribution (1.0)             $         390.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 KBD        $      390.00          0.4 Work on responses to claimants regarding claims and claims process.                                  $         156.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 KBD        $      390.00          0.2 Attention to communication from claimants (.2)                                                       $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 KBD        $      390.00          0.3 exchange correspondence with J. Wine regarding claims vendors, contracts, logistics, and related     $         117.00
          Administration &                                                      issues (.3).
          Objections
   Feb‐21 Claims                2/18/2021 KBD        $      390.00          0.2 Study hearing transcript and exchange correspondence with J. Wine regarding expert discovery.        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/19/2021 KBD        $      390.00          0.2 Attention to claimant communication.                                                                 $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/22/2021 KBD        $      390.00          0.1 Attention to claimant inquiry regarding confidentiality agreement.                                   $           39.00
          Administration &
          Objections
   Feb‐21 Claims                2/23/2021 KBD        $      390.00          0.1 Exchange correspondence with J. Wine regarding notice of opt‐outs.                                   $           39.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding notice of opt‐outs (.1)                               $           39.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 KBD        $      390.00          0.4 analysis of interest payment issue relating to all claimants (.4)                                    $         156.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 KBD        $      390.00          0.4 work on response to claimants (.4).                                                                  $         156.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 KBD        $      390.00          0.5 Work with J. Wine on process for single claim, distribution of claims documentation, and unrecorded $          195.00
          Administration &                                                      secured interest properties and treatment of claimed interest (.5)
          Objections
   Feb‐21 Claims                2/25/2021 KBD        $      390.00          0.1 attention to claimant communications (.1).                                                           $           39.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 KBD        $      390.00          0.2 exchange correspondence regarding inventory of EB documents (.2)                                     $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 KBD        $      390.00          0.3 study and revise notice and correspondence to claimants regarding opt‐outs and claims                $         117.00
          Administration &                                                      documentation (.3)
          Objections
   Feb‐21 Claims                2/25/2021 KBD        $      390.00          0.7 Work with J. Wine and M. Rachlis regarding logistics for distribution of claims documentation (.7)   $         273.00
          Administration &
          Objections
   Feb‐21 Claims                2/26/2021 KBD        $      390.00          0.1 Attention to claimant communication.                                                                 $           39.00
          Administration &
          Objections
   Feb‐21 Asset Disposition      2/3/2021 JR         $      140.00          0.3 review email request from K. Duff and provide requested EquityBuild information related to all       $           42.00
                                                                                properties subject to a motion to approve and confirm sale of same (.3)
   Feb‐21 Asset Disposition     2/11/2021 JR         $      140.00          0.1 Review 1099‐s forms relating to closed properties (4533‐47 S Calumet Avenue, 7442‐54 S Calumet       $           14.00
                                                                                Avenue, 816‐22 E Marquette Road, 7600‐10 S Kingston Avenue, 7656‐58 S Kingston Avenue, 7300‐
                                                                                04 S St Lawrence Avenue, 1131‐41 E 79th Place, 6250 S Mozart Street, 1700‐08 W Juneway Terrace,
                                                                                7701‐03 S Essex Avenue) (.1)
   Feb‐21 Asset Disposition     2/12/2021 JR         $      140.00          0.3 exchange correspondence with accounting firm regarding 1099‐s forms relating to closed properties    $           42.00
                                                                                (4533‐47 S Calumet Avenue, 7442‐54 S Calumet Avenue, 816‐22 E Marquette Road, 7600‐10 S
                                                                                Kingston Avenue, 7656‐58 S Kingston Avenue, 7300‐04 S St Lawrence Avenue, 1131‐41 E 79th Place,
                                                                                6250 S Mozart Street, 1700‐08 W Juneway Terrace, 7701‐03 S Essex Avenue) and save in electronic
                                                                                property folders ( 3)
   Feb‐21 Business              2/10/2021 KMP        $      140.00          2.4 Work on updating list of EB entities with tax identification numbers.                                $         336.00
          Operations
   Feb‐21 Business              2/16/2021 AW         $      140.00          0.6 Communicate with counsel regarding second confidentiality order and serve via email on claimants     $           84.00
          Operations                                                            (.6)
   Feb‐21 Business              2/17/2021 JRW        $      260.00          0.3 correspondence to City of Chicago ownership dispute division regarding new administrative matter     $           78.00
          Operations                                                            (1449 N Talman Avenue) (.3)




                                                                                          154 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 156 of 191 PageID #:53940
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                       Task Description                                                     Task Cost
Month                                      Keeper        Rate
   Feb‐21 Business              2/17/2021 KMP       $       140.00        0.9 review bank records and annotate property account balance schedule to reflect source of funds (.9) $             126.00
          Operations
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           0.1 follow up with K. Duff and J. Wine regarding standing of entities issues raised by claimants (.1)    $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           0.2 request update to claims database and communicate with J. Wine regarding corrected claims (.2)       $           28.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           0.2 review email communication with claims vendor to establish requested revisions and updates in        $           28.00
          Administration &                                                      last quarter (.2)
          Objections
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           0.2 Respond by email to claimant's voice message and claimant's counsel (.2)                             $           28.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           0.3 create update sheet for database vendor (.3)                                                         $           42.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 AW        $      140.00           1.8 start work on group assignments, establish split per claims numbers, and email exchanges and calls   $         252.00
          Administration &                                                      with J. Wine regarding finalization of same (1.8).
          Objections
   Feb‐21 Claims                 2/1/2021 JRW       $      260.00           0.2 telephone conference with claimant's counsel regarding EquityBuild documents (.2)                    $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 JRW       $      260.00           0.2 Revise draft proposed order in accordance with court's directive and forward same to courtroom       $           52.00
          Administration &                                                      deputy (.2)
          Objections
   Feb‐21 Claims                 2/1/2021 JRW       $      260.00           0.3 confer with A. Watychowicz regarding updating claims records with vendors (.3)                       $           78.00
          Administration &
          Objections
   Feb‐21 Claims                 2/1/2021 JRW       $      260.00           0.9 work with A. Watychowicz on exhibit listing groupings of properties and related exchange with M.     $         234.00
          Administration &                                                      Rachlis (.9).
          Objections
   Feb‐21 Claims                 2/1/2021 JRW       $      260.00           1.8 attention to drafting revised case management order incorporating court's rulings regarding claims   $         468.00
          Administration &                                                      process (1.8)
          Objections
   Feb‐21 Claims                 2/1/2021 MR        $      390.00           0.6 Attention to proposed order on claims related issues and exchanges with J. Wine regarding order      $         234.00
          Administration &                                                      and property groupings.
          Objections
   Feb‐21 Claims                 2/2/2021 AW        $      140.00           0.1 update contact information per claimants request (.1)                                                $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/2/2021 AW        $      140.00           0.2 attention to entered order regarding grouping, lien issues, and claims process and update docket     $           28.00
          Administration &                                                      (.2)
          Objections
   Feb‐21 Claims                 2/2/2021 AW        $      140.00           0.9 continue and complete work on properties group assignments and communicate with J. Wine              $         126.00
          Administration &                                                      regarding same (.9)
          Objections
   Feb‐21 Claims                 2/2/2021 AW        $      140.00           0.9 respond to claimants' voice messages, update requests, and other emails (.9)                         $         126.00
          Administration &
          Objections
   Feb‐21 Claims                 2/2/2021 AW        $      140.00           1.3 Attention to emails and voice messages from claimants, review claims, and work with K. Duff and J.   $         182.00
          Administration &                                                      Wine on proposed responses to same (1.3)
          Objections
   Feb‐21 Claims                 2/2/2021 JRW       $      260.00           0.2 review court order and related email exchange with counsel for claimants (.2)                        $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/2/2021 JRW       $      260.00           0.7 revise exhibit regarding proposed tranches for claims process (.7).                                  $         182.00
          Administration &
          Objections
   Feb‐21 Claims                 2/2/2021 JRW       $      260.00           0.8 Attention to responding to claimant inquiries (.8)                                                   $         208.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 AW        $      140.00           0.1 communicate with K. Pritchard regarding master claims list and unique claimant list (.1).            $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 AW        $      140.00           0.3 review of claim and correspond with J. Wine regarding same and proposed request to claimant (.3)     $           42.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 AW        $      140.00           0.7 Review claims and other data and respond to claimants' emails (.7)                                   $           98.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 JRW       $      260.00           0.2 exchange correspondence with M. Rachlis regarding court's request for proposed order                 $           52.00
          Administration &                                                      summarizing rulings on claims process (.2)
          Objections
   Feb‐21 Claims                 2/3/2021 JRW       $      260.00           0.5 Attention to responding to claimant inquiries (.5)                                                   $         130.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 JRW       $      260.00           0.9 review redline of claims process outline, further revise to incorporate comments, convert to         $         234.00
          Administration &                                                      proposed order, further revision to incorporate comments regarding same, and circulate proposed
          Objections                                                            order to claimants' counsel and SEC (.9).
   Feb‐21 Claims                 2/3/2021 MR        $      390.00           0.1 follow up regarding issues regarding request for order (.1).                                         $           39.00
          Administration &
          Objections
   Feb‐21 Claims                 2/3/2021 MR        $      390.00            1 Attention to claims related outline and follow up with K. Duff and J. Wine (1.0)                      $         390.00
          Administration &
          Objections
   Feb‐21 Claims                 2/4/2021 AW        $      140.00           0.1 communicate with J. Wine regarding submitted claim and proposed revisions (.1).                      $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/4/2021 AW        $      140.00           0.2 Attention to email from claimant requesting to update her contact information, process her request, $            28.00
          Administration &                                                      and email confirmation (.2)
          Objections
   Feb‐21 Claims                 2/4/2021 JRW       $      260.00           0.1 email to courtroom deputy regarding entry of proposed order (.1).                                    $           26.00
          Administration &
          Objections




                                                                                          155 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 157 of 191 PageID #:53941
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Feb‐21 Claims                 2/4/2021 JRW        $       260.00        0.2 correspondence with M. Rachlis regarding exhibit of proposed tranches (.2)                             $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/4/2021 JRW        $      260.00           0.2 Telephone conferences with SEC (.2)                                                                  $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/4/2021 JRW        $      260.00           0.6 study claim forms and supporting documents and related email exchange with A. Watychowicz and        $         156.00
          Administration &                                                       K. Duff (.6)
          Objections
   Feb‐21 Claims                 2/4/2021 JRW        $      260.00           3.4 multiple rounds of comments from claimant's counsel, K. Duff, M. Rachlis and SEC on proposed         $         884.00
          Administration &                                                       order regarding claims process, and further revision of same (3.4)
          Objections
   Feb‐21 Claims                 2/4/2021 MR         $      390.00           1.2 Attention to various issues on tranches and claims related issues.                                   $         468.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 AW         $      140.00           0.1 email suggested revisions to filing notice (.1)                                                      $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 AW         $      140.00           0.1 file approved notice and grouping (.1).                                                              $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 AW         $      140.00           0.1 Attention to email communication regarding grouping of properties (.1)                               $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 JRW        $      260.00           0.6 Correspond with claimants' counsel regarding final revisions to proposed order and related           $         156.00
          Administration &                                                       communications with K. Duff and M. Rachlis and revision of document.
          Objections
   Feb‐21 Claims                 2/5/2021 MR         $      390.00           0.1 communications regarding same with Court (.1)                                                        $           39.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 MR         $      390.00           0.3 review chart on claims process issues (.3).                                                          $         117.00
          Administration &
          Objections
   Feb‐21 Claims                 2/5/2021 MR         $      390.00           0.6 Attention to revisions regarding draft order on claims process and follow up emails regarding same   $         234.00
          Administration &                                                       (.6)
          Objections
   Feb‐21 Claims                 2/8/2021 AW         $      140.00           0.1 Respond to claimant's update request (.1)                                                            $           14.00
          Administration &
          Objections
   Feb‐21 Claims                 2/8/2021 AW         $      140.00           0.2 email exchanges with J. Wine regarding revisions to claims database process for updating of same     $           28.00
          Administration &                                                       (.2).
          Objections
   Feb‐21 Claims                 2/8/2021 JRW        $      260.00           0.1 updates to vendor database (.1)                                                                      $           26.00
          Administration &
          Objections
   Feb‐21 Claims                 2/8/2021 JRW        $      260.00           0.1 Confer with A. Watychowicz regarding response to claimant inquiry (.1)                               $           26.00
          Administration &
          Objections
   Feb‐21 Claims                 2/8/2021 JRW        $      260.00           0.2 review claims review analysis (.2).                                                                  $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.2 attention to and revise proposed email to claimants regarding entered orders (.2)                    $           28.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.2 attention to email from claimant regarding grouping of properties and work with J. Wine and K.       $           28.00
          Administration &                                                       Duff on response (.2)
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.2 communicate with IT consultant regarding email project and how to obtain access to extracted         $           28.00
          Administration &                                                       emails (.2).
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.2 work with J. Wine and K. Pritchard on finalization of email (.2)                                     $           28.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.2 Attention to email from claimant requesting to update her contact information, process her request, $            28.00
          Administration &                                                       and email confirmation (.2)
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.3 respond to claimants emails (.3)                                                                     $           42.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.4 attention to entered orders relating to claims process, review, and discuss changes applied to       $           56.00
          Administration &                                                       proposed drafts by the Judge (.4)
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.7 attention to numerous emails responding to claims process order and work on standard responses       $           98.00
          Administration &                                                       to same (.7)
          Objections
   Feb‐21 Claims                 2/9/2021 AW         $      140.00           0.7 serve entered order via email (.7)                                                                   $           98.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JR         $      140.00           1.1 Call with J. Wine and S. Zjalic related to claims process.                                           $         154.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.1 confer with K. Duff regarding vendor statement of work (.1)                                          $           26.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.1 related follow‐up regarding property numbers (.1)                                                    $           26.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.2 confer with A. Watychowicz regarding service list (.2)                                               $           52.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.3 communicate with K. Duff regarding response to claimant inquiry (.3)                                 $           78.00
          Administration &
          Objections




                                                                                           156 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 158 of 191 PageID #:53942
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                         Task Cost
Month                                       Keeper        Rate
   Feb‐21 Claims                 2/9/2021 JRW        $       260.00        0.4 exchange correspondence with vendor regarding claims distribution project (.4)                             $         104.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.6 work with A. Watychowicz and .K. Duff to draft standard responses to claimant inquiries regarding        $         156.00
          Administration &                                                       claims process (.6).
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           0.9 Review Judge Lee orders implementing claims process, related communications with A.                      $         234.00
          Administration &                                                       Watychowicz and K. Duff regarding notice to claimants, and several revisions to draft of same (.9)
          Objections
   Feb‐21 Claims                 2/9/2021 JRW        $      260.00           1.1 work with S. Zjalic and J. Rak on next stage of claims review process (1.1)                              $         286.00
          Administration &
          Objections
   Feb‐21 Claims                 2/9/2021 KMP        $      140.00           0.2 Review and revise draft email to claimants regarding court orders relating to claims process and         $           28.00
          Administration &                                                       communicate with A. Watychowicz regarding same.
          Objections
   Feb‐21 Claims                 2/9/2021 MR         $      390.00           0.4 Attention to order on claims and email to claimants on process and issuance of order and database        $         156.00
          Administration &                                                       vendor retention
          Objections
   Feb‐21 Claims                 2/9/2021 SZ         $      110.00           1.1 Meeting with J. Wine and J. Rak regarding review of the loans held against EBF properties.               $         121.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 AW         $      140.00           0.1 communicate with J. Wine regarding grouping of properties and completed email project associated $                   14.00
          Administration &                                                       with same (.1)
          Objections
   Feb‐21 Claims                2/10/2021 AW         $      140.00           0.1 Update claimants claim as per email exchange with J. Wine (.1)                                           $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 AW         $      140.00           0.3 communicate with Receivership team regarding transfer of claims files to database vendor and             $           42.00
          Administration &                                                       arrange for same (.3)
          Objections
   Feb‐21 Claims                2/10/2021 AW         $      140.00           0.6 communicate with IT consultant regarding email project and follow up with K. Duff regarding              $           84.00
          Administration &                                                       volume of emails, reviewfolders selected by K. Duff for processing, and request transfer of files (.6)
          Objections
   Feb‐21 Claims                2/10/2021 AW         $      140.00           0.8 work out a process for claimants' wo provided the Receiver with acknowlegments to be bound by            $         112.00
          Administration &                                                       agreed confidentiality order and claimants' who chose to opt‐out, discuss same with J. Wine, and
          Objections                                                             implement process (.8)
   Feb‐21 Claims                2/10/2021 AW         $      140.00           2.8 continue work on drafts and responses to numerous emails rom claimants inresponse to order               $         392.00
          Administration &                                                       regarding claims process (2.8)
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           0.2 confer with A. Watychowicz regarding spreadsheets from vendor for use in calims distribution             $           52.00
          Administration &                                                       project and review same (.2)
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           0.2 confer with e‐discovery vendor and work with J. Rak and A. Watychowicz regarding shipment of             $           52.00
          Administration &                                                       files to claims vendor (.2)
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           0.3 conference with K. Duff and M. Rachilis regarding claimants' counsel's request for records (.3).         $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           0.3 work with S. Zjalic on claims review project (.3)                                                        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           0.8 telephone conference with counsel for claimants and K. Duff regarding request for records (.8)           $         208.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 JRW        $      260.00           2.3 Work with K. Duff and A. Watychowicz regarding responding to claimant inquiries and standard             $         598.00
          Administration &                                                       response regarding confidentiality agreement and acknowledgement (2.3)
          Objections
   Feb‐21 Claims                2/10/2021 MR         $      390.00           0.3 communicate regarding conference with counsel for claimant with K. Duff and J. Wine (0.3).               $         117.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 MR         $      390.00           0.9 participate in conference with counsel for claimant (.9)                                                 $         351.00
          Administration &
          Objections
   Feb‐21 Claims                2/10/2021 MR         $      390.00            1 Review docket and preparation for conference regarding various vlaims issues (1.0)                        $         390.00
          Administration &
          Objections
   Feb‐21 Claims                2/11/2021 AW         $      140.00           0.1 communicate with database vendor regarding tracking number and update to claims files (.1).              $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/11/2021 AW         $      140.00           0.6 Video call with database vendor, J. Wine and K. Pritchard regarding claims process (.6)                  $           84.00
          Administration &
          Objections
   Feb‐21 Claims                2/11/2021 AW         $      140.00           1.2 continue work on drafts and responses to numerous from claimants in response to order regarding          $         168.00
          Administration &                                                       claims process (1.2)
          Objections
   Feb‐21 Claims                2/11/2021 JRW        $      260.00           0.2 confer with claimants' counsel regarding vendor agreement and cursory review of quote and license $                  52.00
          Administration &                                                       agreement (.2).
          Objections
   Feb‐21 Claims                2/11/2021 JRW        $      260.00           0.4 Attention to claimant inquiries regarding confidentiality order (.4)                                     $         104.00
          Administration &
          Objections
   Feb‐21 Claims                2/11/2021 JRW        $      260.00           0.9 conference call with document vendor regarding process for distribution of claim forms (.6) and          $         234.00
          Administration &                                                       related follow‐up email (.3)
          Objections
   Feb‐21 Claims                2/11/2021 KMP        $      140.00           0.7 Participate in conference call with claims database vendor regarding status of project and issues        $           98.00
          Administration &                                                       moving forward.
          Objections
   Feb‐21 Claims                2/12/2021 AW         $      140.00           0.1 communicate with J. Wine regarding comments on master claims list (.1).                                  $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 AW         $      140.00           0.1 communicate with K. Duff and M. Rachlis regarding emailing claimants second order relating to            $           14.00
          Administration &                                                       claims process (.1)
          Objections




                                                                                           157 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 159 of 191 PageID #:53943
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                         Task Description                                                   Task Cost
Month                                      Keeper        Rate
   Feb‐21 Claims                2/12/2021 AW        $       140.00        0.8 Continue work on drafts and responses to emails and voice messages from claimants in response to       $         112.00
          Administration &                                                    order regarding claims process (.8)
          Objections
   Feb‐21 Claims                2/12/2021 JRW       $      260.00          0.1 confer with A. Watychowicz regarding service of order (.1).                                           $           26.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 JRW       $      260.00          0.3 confer with A. Porter regarding institutional lender claims and provide files in response (.3)        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 JRW       $      260.00          0.3 Exchange correspondence with vendor regarding claims distribution project (.3)                        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 JRW       $      260.00          0.7 attention to responding to claimant inquiries (.7)                                                    $         182.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 JRW       $      260.00          2.6 continue working on claims review and related communications with S. Zjalic and J. Rak (2.6)          $         676.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 MR        $      390.00          0.3 attention to emails regarding claims process (.3).                                                    $         117.00
          Administration &
          Objections
   Feb‐21 Claims                2/12/2021 MR        $      390.00          1.5 Participate in meeting regarding various issues on claims with K. Duff and J. Wine. (1.5)             $         585.00
          Administration &
          Objections
   Feb‐21 Claims                2/14/2021 JRW       $      260.00          0.3 Confer with A. Porter regarding claims submitted by institutional lender and review related           $           78.00
          Administration &                                                     document.
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 attention to packet mailed in relation to promissory note assignment and email counsel regarding      $           14.00
          Administration &                                                     same (.1).
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 attention to voice message from claimant's assistant and communicate with K. Pritchard regarding      $           14.00
          Administration &                                                     same (.1)
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 communicate with IT consultant regarding email project (.1)                                           $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 email exchange with counsel regarding notification email to claimants about second order relating     $           14.00
          Administration &                                                     to claims process (.1)
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 respond to claimant requesting contact info update, update files, and request update with claims      $           14.00
          Administration &                                                     vendor (.1)
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 supplement claimant emailing list (.1)                                                                $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.1 Communicate with K. Duff and J. Wine regarding question from claimant (.1)                            $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.2 review file folders shared by database vendor and follow up email regarding same (.2)                 $           28.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.4 review emails relating to claim issue and correspond with K. Duff and J. Wine regarding same (.4)     $           56.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 AW        $      140.00          0.9 attention to emails from claimants regarding acknowledgement forms and update requests and            $         126.00
          Administration &                                                     respond to same (.9)
          Objections
   Feb‐21 Claims                2/15/2021 JRW       $      260.00          0.1 confer with A. Watychowicz regarding service of second order regarding claims process (.1)            $           26.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 JRW       $      260.00          0.3 Exchange correspondence with A. Porter regarding claims submitted by institutional lender (.3)        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 JRW       $      260.00          0.4 review file listing from vendor and related correspondence regarding unmatched claims (.4).           $         104.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 JRW       $      260.00            1 work with A. Watychowicz and K. Duff regarding claimant inquiries (1.0)                               $         260.00
          Administration &
          Objections
   Feb‐21 Claims                2/15/2021 JRW       $      260.00          1.7 preparation of property list for vendor and related review claims against funds to add to property    $         442.00
          Administration &                                                     list (1.7)
          Objections
   Feb‐21 Claims                2/16/2021 AW        $      140.00          0.1 communicate with A. Porter regarding institutional lender claim (.1)                                  $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/16/2021 AW        $      140.00          0.6 call with database vendor regarding updates to database (.6)                                          $           84.00
          Administration &
          Objections
   Feb‐21 Claims                2/16/2021 AW        $      140.00          0.6 Respond to emails from claimants regarding confidentiality order (.6)                                 $           84.00
          Administration &
          Objections
   Feb‐21 Claims                2/16/2021 JR        $      140.00          0.4 exchange correspondence with S. Zjalic, A. Porter and J. Wine regarding same (.4).                    $           56.00
          Administration &
          Objections
   Feb‐21 Claims                2/16/2021 JRW       $      260.00          0.5 conference call with document vendor and A. Watychowicz regarding claims distribution project         $         130.00
          Administration &                                                     (.5)
          Objections
   Feb‐21 Claims                2/16/2021 JRW       $      260.00          0.5 correspond with document vendor regarding files transferred and related review of file listing (.5)   $         130.00
          Administration &
          Objections
   Feb‐21 Claims                2/16/2021 JRW       $      260.00          0.5 revise property number list for vendor and related telephone conference with A. Watychowicz (.5)      $         130.00
          Administration &
          Objections




                                                                                         158 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 160 of 191 PageID #:53944
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Feb‐21 Claims                2/16/2021 JRW        $       260.00        0.6 Review spreadsheets and related exchange correspondence with A. Porter and J. Porter regarding       $         156.00
          Administration &                                                     claims analysis (.6)
          Objections
   Feb‐21 Claims                2/16/2021 KMP        $      140.00          0.3 Review various pleadings relating to motion practice on claims process and communicate with K.      $           42.00
          Administration &                                                      Duff regarding same.
          Objections
   Feb‐21 Claims                2/17/2021 AW         $      140.00          0.1 request update to claimants contact information (.1)                                                $           14.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 AW         $      140.00          0.3 review email files and communicate with IT consultant regarding additional folders needed to        $           42.00
          Administration &                                                      complete email project (.3).
          Objections
   Feb‐21 Claims                2/17/2021 AW         $      140.00          0.9 Respond to emails from claimants regarding confidentiality order, general update, and contact       $         126.00
          Administration &                                                      information updates (.9)
          Objections
   Feb‐21 Claims                2/17/2021 JRW        $      260.00          0.2 exchange correspondence with A. Watychowicz and K. Duff regarding claimant inquiries (.2)           $           52.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 JRW        $      260.00          0.3 correspondence to claimants' counsel regarding comments on proposed vendor contracts (.3).          $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 JRW        $      260.00          0.8 Study vendor agreements and send analysis regarding same to M. Rachlis and K. Duff (.8)             $         208.00
          Administration &
          Objections
   Feb‐21 Claims                2/17/2021 MR         $      390.00          0.2 Attention to issues regarding vendor agreements regarding document library.                         $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/18/2021 AW         $      140.00          0.6 respond to emails from claimants regarding confidentiality order (.6).                              $           84.00
          Administration &
          Objections
   Feb‐21 Claims                2/18/2021 JRW        $      260.00          0.2 correspondence with document vendor regarding test emails to claimants (.2).                        $           52.00
          Administration &
          Objections
   Feb‐21 Claims                2/18/2021 JRW        $      260.00          0.3 Review transcript of hearing on claims process and related analysis (.3)                            $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/18/2021 JRW        $      260.00          0.7 drafting of correspondence to claimants regarding process and links to download claims              $         182.00
          Administration &                                                      documentation (.7)
          Objections
   Feb‐21 Claims                2/19/2021 JRW        $      260.00          0.1 confer with K. Duff regarding claimant inquiry (.1).                                                $           26.00
          Administration &
          Objections
   Feb‐21 Claims                2/19/2021 JRW        $      260.00          0.1 Email exchange with vendor regarding encryption of claimant emails (.1)                             $           26.00
          Administration &
          Objections
   Feb‐21 Claims                2/20/2021 JRW        $      260.00          0.1 Correspond with K. Duff regarding claimant's claim (.1)                                             $           26.00
          Administration &
          Objections
   Feb‐21 Claims                2/20/2021 JRW        $      260.00          0.3 review agreement with document vendor (.3).                                                         $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/22/2021 JRW        $      260.00          0.2 confer with K. Pritchard regarding responding to claimant inquiries and administration of           $           52.00
          Administration &                                                      acknowledgements (.2).
          Objections
   Feb‐21 Claims                2/22/2021 JRW        $      260.00          0.4 Review vendor license agreement and software quote and related correspondence with claimant's       $         104.00
          Administration &                                                      counsel (.4)
          Objections
   Feb‐21 Claims                2/22/2021 KMP        $      140.00          0.2 Attention to correspondence from claimant regarding executed acknowledgment and confer with J.      $           28.00
          Administration &                                                      Wine regarding same.
          Objections
   Feb‐21 Claims                2/24/2021 JRW        $      260.00          0.3 prepare notice of optouts for filing (.3).                                                          $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 JRW        $      260.00          0.5 Telephone conference with K. Duff regarding process for single claim properties, unrecorded         $         130.00
          Administration &                                                      secured interests, and distribution of claims documentation (.5)
          Objections
   Feb‐21 Claims                2/24/2021 JRW        $      260.00          0.7 correspond with vendor regarding encryption of emails and draft message for email sending           $         182.00
          Administration &                                                      passwords to claimants (.7)
          Objections
   Feb‐21 Claims                2/24/2021 JRW        $      260.00          3.2 attention to responding to claimant inquiries (3.2)                                                 $         832.00
          Administration &
          Objections
   Feb‐21 Claims                2/24/2021 KMP        $      140.00          0.2 Communicate with J. Wine regarding draft notice of opt‐out claimants.                               $           28.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.2 confer with K. Pritchard regarding service of motions and notice (.2)                               $           52.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.2 finalize opt‐out notice for filing (.2)                                                             $           52.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.3 confer with J. Rak regarding EquityBuild documents and related email exchanges with J. Rak and K.   $           78.00
          Administration &                                                      Duff (.3)
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.3 exchange correspondence with documents vendor regarding customization of emails, cover email        $           78.00
          Administration &                                                      to claimants, and procedures regarding same (.3)
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.3 respond to voice message from claimant (.3).                                                        $           78.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 JRW        $      260.00          0.4 Draft email to claimants regarding distribution of claims documentation (.4)                        $         104.00
          Administration &
          Objections




                                                                                           159 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 161 of 191 PageID #:53945
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Feb‐21 Claims                2/25/2021 JRW        $       260.00        0.7 conference with K. Duff and M. Rachlis regarding procedures for distribution of claim forms and           $         182.00
          Administration &                                                     EquityBuild documents (.7)
          Objections
   Feb‐21 Claims                2/25/2021 KMP        $      140.00           0.3 prepare draft notice to claimants of filing of opt‐out notice and communicate with J. Wine              $           42.00
          Administration &                                                       regarding same (.3).
          Objections
   Feb‐21 Claims                2/25/2021 KMP        $      140.00           0.5 Revise, finalize, and file notice of opt‐out claimants, and confer with J. Wine regarding same (.5)     $           70.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 MR         $      390.00           0.4 furrier review of communications to claimants regarding claims form distribution and filing of notice $           156.00
          Administration &                                                       (.4).
          Objections
   Feb‐21 Claims                2/25/2021 MR         $      390.00           0.7 Participate in meeting with K. Duff and J. Wine regarding claim form distribution (.7)                  $         273.00
          Administration &
          Objections
   Feb‐21 Claims                2/25/2021 SZ         $      110.00           0.2 Attention to a claimant's voice message and email communication with J. Wine about the same (.2). $                 22.00
          Administration &
          Objections
   Feb‐21 Claims                2/26/2021 JRW        $      260.00           0.2 Confer with document vendor regarding claimant inquiries.                                               $           52.00
          Administration &
          Objections
   Feb‐21 Claims                2/26/2021 KMP        $      140.00           0.7 Revise, finalize, and prepare transmittal emails for notice to claimants of filing of opt‐out notice.   $           98.00
          Administration &
          Objections
   Mar‐21 Business               3/9/2021 KBD        $      390.00           0.1 Exchange correspondence with J. Rak and insurance broker regarding information for insurance            $           39.00
          Operations                                                             renewal (.1)
   Mar‐21 Claims                 3/1/2021 KBD        $      390.00           0.3 Attention to claimants' communications regarding claims process (.3)                                    $         117.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding claimant communication and documentation                 $           39.00
          Administration &                                                       issue (.1).
          Objections
   Mar‐21 Claims                 3/2/2021 KBD        $      390.00           0.2 Exchange correspondence with J. Wine regarding claims process notice and service issue (.2)             $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/3/2021 KBD        $      390.00           0.2 exchange correspondence with J. Wine and M. Rachlis regarding communication with claimants              $           78.00
          Administration &                                                       with claims documentation link (.2).
          Objections
   Mar‐21 Claims                 3/3/2021 KBD        $      390.00           0.2 Work on joint status report (.2)                                                                        $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 KBD        $      390.00           0.2 attention to claims vendor agreement and proposed changes (.2).                                         $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 KBD        $      390.00           0.4 work on responses to claimants (.4)                                                                     $         156.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 KBD        $      390.00           0.4 Study joint status report and exchange correspondence with J. Wine and M. Rachlis regarding             $         156.00
          Administration &                                                       revisions (.4)
          Objections
   Mar‐21 Claims                 3/5/2021 KBD        $      390.00           0.3 Attention to claimant communication and review of claims documentation (.3)                             $         117.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 KBD        $      390.00           0.9 work on joint status report and exchange various related correspondence (.9).                           $         351.00
          Administration &
          Objections
   Mar‐21 Claims                 3/8/2021 KBD        $      390.00           0.2 Work on communications with claimants relating to distribution of claims documentation.                 $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 KBD        $      390.00           0.1 exchange correspondence regarding communications with claimants (.1)                                    $           39.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding improvement to master claims spreadsheet (.1)            $           39.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 KBD        $      390.00           0.2 study inventory of EB documents (.2).                                                                   $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 KBD        $      390.00           0.9 Telephone conference with J. Wine, J. Rak, and IT consultants regarding documents for EB database       $         351.00
          Administration &                                                       and distribution of claims documentation (.9)
          Objections
   Mar‐21 Claims                3/10/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding claims process and counsel for claimants (.1)            $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/10/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding property groupings for claims process (.1).              $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/10/2021 KBD        $      390.00           0.1 Telephone conference with and study correspondence from IT consultant regarding copying and             $           39.00
          Administration &                                                       preparation of electronic records for production (.1)
          Objections
   Mar‐21 Claims                3/11/2021 KBD        $      390.00           0.4 Telephone conference with M. Rachlis regarding claims process issues and planning (.4)                  $         156.00
          Administration &
          Objections
   Mar‐21 Claims                3/12/2021 KBD        $      390.00           0.5 Work with IT consultant and J. Rak regarding preparation of electronic records for EB database          $         195.00
          Administration &                                                       vendor (.5)
          Objections
   Mar‐21 Claims                3/14/2021 KBD        $      390.00           0.2 draft correspondence regarding hard drive with electronic records from defendants' devices for          $           78.00
          Administration &                                                       inclusion in EB records database (.2).
          Objections
   Mar‐21 Claims                3/15/2021 KBD        $      390.00           0.2 exchange further correspondence relating to electronic record for EB database (.2)                      $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/15/2021 KBD        $      390.00           0.2 study correspondence with vendor regarding various document issue for EB database (.2).                 $           78.00
          Administration &
          Objections




                                                                                           160 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 162 of 191 PageID #:53946
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Mar‐21 Claims                3/15/2021 KBD        $       390.00        0.4 Work with IT consultant, J. Wine, and J. Rak regarding preparation of electronic records for EB        $         156.00
          Administration &                                                     database vendor (.4)
          Objections
   Mar‐21 Claims                3/15/2021 KBD        $       390.00          0.5 further discussions with IT consultant (.5)                                                          $         195.00
          Administration &
          Objections
   Mar‐21 Claims                3/15/2021 KBD        $       390.00          0.5 telephone conference regarding recovery and copying of devices for production to claims document $             195.00
          Administration &                                                       database vendor (.5)
          Objections
   Mar‐21 Claims                3/17/2021 KBD        $       390.00          0.2 exchange correspondence regarding claimant inquiries about claims process (.2).                      $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/17/2021 KBD        $       390.00          0.2 Exchange correspondence regarding claims vendor work with EB records (.2)                            $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/18/2021 KBD        $       390.00          0.1 study correspondence relating to communications with claimants regarding claims documentation        $           39.00
          Administration &                                                       (.1).
          Objections
   Mar‐21 Claims                3/19/2021 KBD        $       390.00          0.1 exchange correspondence regarding electronic records on defendants' devices for EB database (.1)     $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 KBD        $       390.00          0.2 exchange correspondence with J. Wine regarding communications with claimants relating to claims $                78.00
          Administration &                                                       process (.2).
          Objections
   Mar‐21 Claims                3/22/2021 KBD        $       390.00          0.1 exchange correspondence with J. Wine regarding communications with claimants regarding claims        $           39.00
          Administration &                                                       documentation and claims process (.1).
          Objections
   Mar‐21 Claims                3/22/2021 KBD        $       390.00          0.2 Exchange correspondence with J. Rak regarding vendor for review of electronic records (.2)           $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/23/2021 KBD        $       390.00          0.1 Study correspondence from claimants' counsel regarding request for records .                         $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/24/2021 KBD        $       390.00          0.2 Study correspondence from and brief telephone conference with claimants' counsel regarding           $           78.00
          Administration &                                                       request for claims documentation (.2)
          Objections
   Mar‐21 Claims                3/24/2021 KBD        $       390.00          0.5 draft response to correspondence from claimants' counsel regarding request for claims                $         195.00
          Administration &                                                       documentation and exchange correspondence with J. Wine regarding revisions (.5)
          Objections
   Mar‐21 Claims                3/24/2021 KBD        $       390.00          0.7 confer with M. Rachlis and J. Wine regarding claimants' counsel's request for claims documentation $           273.00
          Administration &                                                       (.7)
          Objections
   Mar‐21 Claims                3/25/2021 KBD        $       390.00          0.1 exchange correspondence with J. Wine regarding claimant communications regarding claims              $           39.00
          Administration &                                                       process (.1).
          Objections
   Mar‐21 Claims                3/25/2021 KBD        $       390.00          0.3 revise correspondence to claimants' counsel regarding request for records and exchange               $         117.00
          Administration &                                                       correspondence with J. Wine and M. Rachlis regarding same (.3)
          Objections
   Mar‐21 Claims                3/25/2021 KBD        $       390.00          0.8 Draft correspondence to claimants regarding claims process (.8)                                      $         312.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 KBD        $       390.00          0.1 attention to communication from claimant regarding claims process (.1)                               $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 KBD        $       390.00          0.1 exchange correspondence            with J. Rak regarding vendor communication and electronic         $           39.00
          Administration &                                                       records (.1)
          Objections
   Mar‐21 Claims                3/26/2021 KBD        $       390.00          0.1 study correspondence from vendor regarding preparation of electronic records for EB database         $           39.00
          Administration &                                                       (.1).
          Objections
   Mar‐21 Claims                3/26/2021 KBD        $       390.00          1.2 Telephone conferences and exchange correspondence with J. Wine regarding communication with          $         468.00
          Administration &                                                       claimants relating to claims process and claims documentation (1.2)
          Objections
   Mar‐21 Claims                3/26/2021 KBD        $       390.00          1.4 draft and revise correspondence to claimants regarding claims process (1.4)                          $         546.00
          Administration &
          Objections
   Mar‐21 Claims                3/27/2021 KBD        $       390.00          0.2 Attention to communications from claimants regarding claims process.                                 $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/28/2021 KBD        $       390.00          0.6 Legal research regarding issues relating to claims issues and exchange correspondence with J. Wine   $         234.00
          Administration &                                                       regarding same.
          Objections
   Mar‐21 Claims                3/29/2021 KBD        $       390.00          0.1 exchange related correspondence with M. Rachlis regarding claimants' records request (.1)            $           39.00
          Administration &
          Objections
   Mar‐21 Claims                3/29/2021 KBD        $       390.00          0.2 work on electronic records for EB database (.2)                                                      $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/29/2021 KBD        $       390.00          0.2 work on responses to claimants (.2).                                                                 $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/29/2021 KBD        $       390.00          0.3 Draft correspondence to claimants' counsel regarding records request (.3)                            $         117.00
          Administration &
          Objections
   Mar‐21 Claims                3/31/2021 KBD        $       390.00          0.1 attention to granting of tenth sales motion and exchange various related correspondence regarding $              39.00
          Administration &                                                       single claim process (.1).
          Objections
   Mar‐21 Claims                3/31/2021 KBD        $       390.00          0.2 Work on responses to claimants regarding claims process (.2)                                         $           78.00
          Administration &
          Objections
   Mar‐21 Asset Disposition     3/16/2021 JR         $       140.00          0.2 Review email from K. Duff and provide requested property information and closing dates (.2)          $           28.00

  Mar‐21 Business               3/17/2021 KMP        $       140.00          0.3 confer with K. Duff, J. Wine and A. Watychowicz regarding communication from vendor                  $           42.00
         Operations                                                              representative relating to request for payment for software hosting platform (.3).




                                                                                           161 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 163 of 191 PageID #:53947
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                      Task Cost
Month                                       Keeper        Rate
   Mar‐21 Claims                 3/1/2021 JRW        $       260.00        0.1 correspondence with counsel for intervenor regarding joint status report (.1)                             $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/1/2021 JRW        $      260.00           0.1 Correspondence with vendor and claimants' counsel regarding vendor contracts (.1)                       $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/1/2021 JRW        $      260.00           0.2 correspondence with K. Duff and M. Rachlis regarding claims process (.2)                                $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/1/2021 JRW        $      260.00           0.2 correspondence with M. Rachlis and K. Duff regarding updates to claimant information (.2)               $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/1/2021 JRW        $      260.00           0.2 related correspondence with claimants' counsel (.2)                                                     $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/1/2021 JRW        $      260.00           1.5 attention to responding to claimant inquiries and related email exchanges with M. Rachlis and K.        $         390.00
          Administration &                                                       Duff (1.5).
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.1 confer with J. Rak regarding EquityBuild document transfer (.1)                                         $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.1 exchange correspondence with claimant's counsel regarding document hosting (.1).                        $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.2 exchange correspondence with K. Duff and M. Rachlis regarding procedures for claim distribution         $           52.00
          Administration &                                                       (.2)
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.2 Telephone conference with J. Rak regarding EquityBuild documents (.2)                                   $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.3 confer with K. Pritchard regarding updates to claimant contact information and email bounce‐backs $                 78.00
          Administration &                                                       (.3)
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.4 investigate and respond to claimant inquiry and related correspondence with K. Pritchard (.4)           $         104.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.5 draft email to claimants regarding passwords and links to claims documentation and related              $         130.00
          Administration &                                                       revisions from M. Rachlis (.5)
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           0.7 attention to claimant inquiries (.7)                                                                    $         182.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 JRW        $      260.00           1.1 telephone conference with e‐discovery vendors and counsel for claimants (1.1)                           $         286.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 KMP        $      140.00           0.2 Communications with J. Wine regarding issues relating to recent correspondence to claimants.            $           28.00
          Administration &
          Objections
   Mar‐21 Claims                 3/2/2021 MR         $      390.00           0.3 Attention to communications from J. Wine regarding procedures for claim distribution and                $         117.00
          Administration &                                                       communication regarding claims documentation.
          Objections
   Mar‐21 Claims                 3/3/2021 JR         $      140.00           0.9 exchange correspondence with A. Watychowicz, J. Wine, S. Zjalic and IT consultant regarding same        $         126.00
          Administration &                                                       (.9).
          Objections
   Mar‐21 Claims                 3/3/2021 JR         $      140.00           1.9 Locate documents on the EquityBuild computer related to the inventory project (1.9)                     $         266.00
          Administration &
          Objections
   Mar‐21 Claims                 3/3/2021 JRW        $      260.00           0.1 communications with K. Duff and M. Rachlis regarding claims status report (.1)                          $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/3/2021 JRW        $      260.00           0.1 confer with J. Rak regarding EquityBuild documents (.1)                                                 $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/3/2021 JRW        $      260.00           0.4 begin drafting joint claims status report (.4)                                                          $         104.00
          Administration &
          Objections
   Mar‐21 Claims                 3/3/2021 JRW        $      260.00           0.4 review revised license agreement from vendor and related correspondence to claimants' counsel           $         104.00
          Administration &                                                       (.4).
          Objections
   Mar‐21 Claims                 3/3/2021 JRW        $      260.00           0.5 revise draft email to claimants from vendor and related exchange of correspondence with vendor          $         130.00
          Administration &                                                       (.5)
          Objections
   Mar‐21 Claims                 3/3/2021 MR         $      390.00             1 Review and work on issues and email to claimants for joint claims status report.                        $         390.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JR         $      140.00           0.4 Call with vendor and J. Wine regarding claims distribution project (.4)                                 $           56.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JR         $      140.00           0.8 exchange correspondence with J. Wine regarding same (.8)                                                $         112.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JR         $      140.00             5 review and update EquityBuild investor contact list related to the claims distribution project (5.0).   $         700.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           0.1 confer with J. Rak regarding EquityBuild documents (.1)                                                 $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           0.1 email exchange with SEC (.1)                                                                            $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           0.1 Confer with counsel for claimants regarding joint status report and requested extension (.1)            $           26.00
          Administration &
          Objections




                                                                                           162 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 164 of 191 PageID #:53948
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                           Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Mar‐21 Claims                 3/4/2021 JRW        $       260.00        0.2 update service emails for City of Chicago and related email exchange (.2)                                $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           0.3 conference call with claims distribution vendor and J. Rak regarding email lists and procedures (.3)   $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           0.7 work with J. Rak on clean‐up of email lists and opt‐outs (.7)                                          $         182.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00             1 review and provide comments on database vendor license agreement (1.0).                                $         260.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00           1.8 attention to claimants' emails and related responses to claimant inquiries and communicate with K. $             468.00
          Administration &                                                       Pritchard and claims vendor regarding updates to claimant information (1.8)
          Objections
   Mar‐21 Claims                 3/4/2021 JRW        $      260.00             2 prepare draft of status report and work with K. Duff and M. Rachlis on revisions to same (2.0)         $         520.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 MR         $      390.00           0.2 attention to vendor issues and comments on agreement (.2).                                             $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/4/2021 MR         $      390.00           0.8 Review and work on status report and communicate regarding report with J. Wine and K. Duff (.8)        $         312.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 JRW        $      260.00           0.1 exchange correspondence with claimants' counsel regarding vendor contract (.1)                         $           26.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 JRW        $      260.00             1 Work with J. Rak and vendor on claims distribution project (1.0)                                       $         260.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 JRW        $      260.00           1.5 attention to responding to claimant inquiries (1.5)                                                    $         390.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 JRW        $      260.00           3.1 exchange multiple drafts and comments regarding joint status report with counsel for claimants, M. $             806.00
          Administration &                                                       Rachlis and K. Duff and revise and finalize same for filing (3.1).
          Objections
   Mar‐21 Claims                 3/5/2021 KMP        $      140.00           0.5 Confer with J. Wine regarding issues relating to claimants' emails and research same (.5)              $           70.00
          Administration &
          Objections
   Mar‐21 Claims                 3/5/2021 MR         $      390.00           1.5 Further attention to joint claims status report and conferences regarding same with J. Wine and K.     $         585.00
          Administration &                                                       Duff.
          Objections
   Mar‐21 Claims                 3/5/2021 SZ         $      110.00           1.1 Attention to filing of joint claims status report and communication with J. Wine about same.           $         121.00
          Administration &
          Objections
   Mar‐21 Claims                 3/6/2021 JR         $      140.00           0.9 Upload inventory list and records related to claims project from the EquityBuild records.              $         126.00
          Administration &
          Objections
   Mar‐21 Claims                 3/8/2021 AEP        $      390.00           0.3 Review e‐mail from J. Rak regarding assembly of all outstanding publicly recorded documents            $         117.00
          Administration &                                                       pertaining to various receivership properties and conduct follow up research regarding potential
          Objections                                                             existence of as‐yet unidentified EBF mortgage loans.
   Mar‐21 Claims                 3/8/2021 JR         $      140.00           0.6 Exchange correspondence with J. Wine regarding adding claimants' counsel to claim distribution list    $           84.00
          Administration &                                                       (.6)
          Objections
   Mar‐21 Claims                 3/8/2021 JR         $      140.00           5.6 update workbook with requested email contact content related to the claims distribution project        $         784.00
          Administration &                                                       (5.6).
          Objections
   Mar‐21 Claims                 3/8/2021 JRW        $      260.00           0.2 related email exchange with claimants' counsel (.2)                                                    $           52.00
          Administration &
          Objections
   Mar‐21 Claims                 3/8/2021 JRW        $      260.00             1 review and correspond with K. Duff regarding responses to claimant inquiries (1.0).                    $         260.00
          Administration &
          Objections
   Mar‐21 Claims                 3/8/2021 JRW        $      260.00           1.8 Work with J. Rak and vendor on claims distribution, opt outs, and adding counsel to email service      $         468.00
          Administration &                                                       lists (1.8)
          Objections
   Mar‐21 Claims                 3/9/2021 JR         $      140.00           0.1 exchange correspondence with IT consultant regarding preparation of EquityBuild electronic             $           14.00
          Administration &                                                       documents (.1)
          Objections
   Mar‐21 Claims                 3/9/2021 JR         $      140.00           0.5 telephone call with K. Duff, J. Wine and IT consultant related to same (.5).                           $           70.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 JR         $      140.00           6.1 Update workbook with requested email contact content related to the claims distribution project        $         854.00
          Administration &                                                       (6.1)
          Objections
   Mar‐21 Claims                 3/9/2021 JRW        $      260.00           0.3 related research and exchange with claimants' counsel regarding appearances (.3)                       $           78.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 JRW        $      260.00           0.4 Telephone conference with claimant's counsel regarding redline of vendor agreement (.4)                $         104.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 JRW        $      260.00           0.5 work with J. Rak on adding counsel of record to property‐specific email service lists (.5)             $         130.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 JRW        $      260.00           0.9 telephone conference with K. Duff, J. Rak and IT consultants regarding EquityBuild documents (.9)      $         234.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 JRW        $      260.00           1.3 attention to responding to claimant inquiries (1.3).                                                   $         338.00
          Administration &
          Objections
   Mar‐21 Claims                 3/9/2021 KMP        $      140.00           0.2 Attention to message from claimant regarding claim documents and confer with J. Wine regarding         $           28.00
          Administration &                                                       same.
          Objections




                                                                                           163 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 165 of 191 PageID #:53949
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                         Time      Time Keeper
           Billing Category   Entry Date                               Task Hours                                         Task Description                                                    Task Cost
Month                                          Keeper        Rate
   Mar‐21 Claims                3/10/2021 JR            $       140.00        0.2 Review email from J. Wine and provide requested counsel of record information related to the            $           28.00
          Administration &                                                        claims distribution project (.2)
          Objections
   Mar‐21 Claims                3/10/2021 JR            $      140.00           2.5 review same and update worksheet related to the claims distribution project (2.5).                    $         350.00
          Administration &
          Objections
   Mar‐21 Claims                3/10/2021 JRW           $      260.00           0.2 telephone conference with counsel for claimants regarding claims process and title searches (.2).     $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/10/2021 JRW           $      260.00           0.2 Confer with J. Rak regarding email service lists for properties and counsel of record for same (.2)   $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/11/2021 JR            $      140.00           0.5 Meeting with K. Duff and IT consultant regarding preparation of EquityBuild electronic records.       $           70.00
          Administration &
          Objections
   Mar‐21 Claims                3/11/2021 JRW           $      260.00           0.1 confer with S. Zjalic regarding claims review (.1)                                                    $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/11/2021 JRW           $      260.00           0.2 attention to claimant inquiries (.2)                                                                  $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/11/2021 JRW           $      260.00           0.5 study revised vendor agreement and related correspondence with claimants' counsel (.5).               $         130.00
          Administration &
          Objections
   Mar‐21 Claims                3/11/2021 JRW           $      260.00            2 Review draft proposal for resolution of properties with single claims, hearing transcript and notes    $         520.00
          Administration &                                                         (.4), related conference with K. Duff and M. Rachlis (1.5), and exchange correspondence with A.
          Objections                                                               Porter regarding same (.1) (1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street, 417
                                                                                   Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 8030 S Marquette Avenue, 8104 S
                                                                                   Kingston Avenue, 8403 S Aberdeen Street, 8529 S Rhodes Avenue, 9212 S Parnell Avenue, 10012 S
                                                                                   LaSalle Avenue, 11318 S Church Street, 3213 S Throop Street, 406 E 87th Place, 6554 S Rhodes
                                                                                   Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 8107 S Kingston
                                                                                   Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517 S Vernon Avenue, 2129 W 71st
                                                                                   Street, 9610 S Woodlawn Avenue, 6759 S Indiana Avenue)
  Mar‐21 Claims                 3/12/2021 AEP           $      390.00            1 Teleconference with K. Duff and J. Wine regarding strategy for analyzing claims.                       $         390.00
         Administration &
         Objections
  Mar‐21 Claims                 3/15/2021 JR            $      140.00           0.4 Telephone conference with K. Duff, J. Wine and IT consultant related to EquityBuild electronic        $           56.00
         Administration &                                                           records.
         Objections
  Mar‐21 Claims                 3/15/2021 JRW           $      260.00           0.4 Telephone conference with K. Duff, J. Rak and IT consultant regarding preparation of electronic       $         104.00
         Administration &                                                           records for EB database vendor (.4)
         Objections
  Mar‐21 Claims                 3/15/2021 JRW           $      260.00           0.5 telephone conference regarding recovery and copying of EquityBuild devices for document               $         130.00
         Administration &                                                           database vendor (.5)
         Objections
  Mar‐21 Claims                 3/15/2021 JRW           $      260.00           0.7 study acquisition plan from database vendor and provide comments regarding same (.7).                 $         182.00
         Administration &
         Objections
  Mar‐21 Claims                 3/16/2021 JR            $      140.00           0.1 review email from J. Wine and further exchange correspondence related to claimant's counsels          $           14.00
         Administration &                                                           email update (.1).
         Objections
  Mar‐21 Claims                 3/16/2021 JR            $      140.00           0.6 Exchange correspondence with IT consultant regarding preparation of EquityBuild electronic records $              84.00
         Administration &                                                           (.6)
         Objections
  Mar‐21 Claims                 3/16/2021 JRW           $      260.00           0.1 Correspondence from vendor regarding document database project (.1)                                   $           26.00
         Administration &
         Objections
  Mar‐21 Claims                 3/16/2021 JRW           $      260.00           0.2 confer with K. Duff regarding EquityBuild documents and cell phone records (.2)                       $           52.00
         Administration &
         Objections
  Mar‐21 Claims                 3/16/2021 JRW           $      260.00           0.2 review list of properties from claimant's counsel and related correspondence with J. Rak (.2).        $           52.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 JR            $      140.00           0.1 exchange correspondence with K. Pritchard and K. Duff regarding same (.1)                             $           14.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 JR            $      140.00           0.2 Review email from K. Duff regarding contacting vendor and obtaining a license for opening various     $           28.00
         Administration &                                                           electronic records (.2)
         Objections
  Mar‐21 Claims                 3/17/2021 JR            $      140.00           0.4 contact vendor regarding same (.4)                                                                    $           56.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 JR            $      140.00           2.3 review email from J. Wine regarding updates to counsel email list for all lenders filing claims and   $         322.00
         Administration &                                                           update same (2.3).
         Objections
  Mar‐21 Claims                 3/17/2021 JRW           $      260.00           0.1 Exchange emails with claimants' counsel regarding service emails (.1)                                 $           26.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 JRW           $      260.00           0.2 related email exchange with vendor regarding technical issues for claimant (.2)                       $           52.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 JRW           $      260.00           0.3 correspond with K. Duff and M. Rachlis regarding standard response to claimant inquiry regarding      $           78.00
         Administration &                                                           claims documentation (.3).
         Objections
  Mar‐21 Claims                 3/17/2021 JRW           $      260.00           1.5 attention to responding to claimant inquiries (1.5)                                                   $         390.00
         Administration &
         Objections
  Mar‐21 Claims                 3/17/2021 MR            $      390.00           0.3 Attention to issues regarding response to claimant inquiry.                                           $         117.00
         Administration &
         Objections
  Mar‐21 Claims                 3/18/2021 JR            $      140.00           0.1 exchange correspondence with K. Duff regarding same (.1)                                              $           14.00
         Administration &
         Objections




                                                                                              164 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 166 of 191 PageID #:53950
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                         Time      Time Keeper
           Billing Category   Entry Date                               Task Hours                                       Task Description                                                      Task Cost
Month                                          Keeper        Rate
   Mar‐21 Claims                3/18/2021 JR            $       140.00        0.5 Exchange correspondence with vendor and gather information for obtaining a license related to           $           70.00
          Administration &                                                        accessing electronic records (.5)
          Objections
   Mar‐21 Claims                3/18/2021 JR            $      140.00           0.8 review email from J. Wine and update email list for claimants' counsel (.8).                          $         112.00
          Administration &
          Objections
   Mar‐21 Claims                3/18/2021 JRW           $      260.00           0.3 Exchange correspondence with K. Duff regarding standard response to claimant inquiries (.3)           $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/18/2021 JRW           $      260.00           0.5 exchange correspondence with J. Rak and documents vendor regarding distribution of claim forms        $         130.00
          Administration &                                                          (.5)
          Objections
   Mar‐21 Claims                3/18/2021 JRW           $      260.00           0.6 study proof of claim and spreadsheet from claimant's counsel and correspondence regarding same        $         156.00
          Administration &                                                          (.6)
          Objections
   Mar‐21 Claims                3/18/2021 JRW           $      260.00           0.9 attention to investigating and responding to claimant inquiries (.9).                                 $         234.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 JR            $      140.00           0.2 Update email list for claimants counsel (.2)                                                          $           28.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 JR            $      140.00           2.1 update lender email list (2.1)                                                                        $         294.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 JRW           $      260.00           0.2 Exchange correspondence with document vendor regarding updates to emails (.2)                         $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 JRW           $      260.00           0.3 research claim forms regarding address anomaly on master claims list and related exchange with J.     $           78.00
          Administration &                                                          Rak (.3)
          Objections
   Mar‐21 Claims                3/19/2021 JRW           $      260.00           0.5 review proofs of claim and email correspondence regarding claimants and related correspondence        $         130.00
          Administration &                                                          with J. Rak and A. Watychowicz regarding necessary revisions to master list of lenders and contact
          Objections                                                                sheets (.5)
   Mar‐21 Claims                3/19/2021 JRW           $      260.00           0.7 attention to claimant inquiries and drafting standard response regarding claimant IDs (.7).           $         182.00
          Administration &
          Objections
   Mar‐21 Claims                3/19/2021 JRW           $      260.00           1.2 work with J. Rak on updates to contact spreadsheet (1.2)                                              $         312.00
          Administration &
          Objections
   Mar‐21 Claims                3/22/2021 JRW           $      260.00           0.1 exchange correspondence with claimants' counsel regarding requested extension (.1).                   $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/22/2021 JRW           $      260.00           0.1 Exchange correspondence with A. Watychowicz regarding claimant records (.1)                           $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/22/2021 JRW           $      260.00           0.2 confer with J. Rak regarding database updates (.2)                                                    $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/22/2021 JRW           $      260.00           1.3 attention to responding to claimant inquiries and related correspondence to K. Duff (1.3)             $         338.00
          Administration &
          Objections
   Mar‐21 Claims                3/23/2021 JR            $      140.00           0.6 Review emails from J. Wine pertaining to claimant request for email and address updates (.6)          $           84.00
          Administration &
          Objections
   Mar‐21 Claims                3/23/2021 JR            $      140.00           1.9 exchange further communication with J. Wine regarding same and complete all updates to claimant $               266.00
          Administration &                                                          information on various workbooks (1.9).
          Objections
   Mar‐21 Claims                3/23/2021 JRW           $      260.00           2.3 Work with J. Rak on updating lender and counsel emails, adding funds to claims distribution contact   $         598.00
          Administration &                                                          list, and related correspondence to document vendor (2.3)
          Objections
   Mar‐21 Claims                3/24/2021 JRW           $      260.00           0.1 Confer with documents vendor regarding duplication of emails (.1)                                     $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/24/2021 JRW           $      260.00           0.5 conference with K. Duff and M. Rachlis regarding request for claims forms (.5)                        $         130.00
          Administration &
          Objections
   Mar‐21 Claims                3/24/2021 JRW           $      260.00           0.6 review and revise draft correspondence to claimants' counsel regarding same (.6)                      $         156.00
          Administration &
          Objections
   Mar‐21 Claims                3/24/2021 MR            $      390.00           0.5 Conference regarding claimants' counsel request for claims records with K. Duff and J. Wine.          $         195.00
          Administration &
          Objections
   Mar‐21 Claims                3/25/2021 AEP           $      390.00           0.2 review e‐mail regarding accounts receivable correspondence from institutional lender and prepare      $           78.00
          Administration &                                                          response to J. Wine and K. Duff (.2).
          Objections
   Mar‐21 Claims                3/25/2021 JRW           $      260.00           0.1 correspond with vendor regarding claimant issue (.1).                                                 $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/25/2021 JRW           $      260.00           0.1 exchange correspondence with vendor regarding project (.1)                                            $           26.00
          Administration &
          Objections
   Mar‐21 Claims                3/25/2021 JRW           $      260.00           0.2 correspondence with vendor regarding license agreement and related correspondence to K. Duff          $           52.00
          Administration &                                                          and J. Rak regarding EquityBuild documents (.2)
          Objections
   Mar‐21 Claims                3/25/2021 JRW           $      260.00           0.2 review and revise draft correspondence to claimant's counsel (.2)                                     $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/25/2021 JRW           $      260.00           0.8 correspondence with K. Duff regarding claimant inquiries and responding to same (.8)                  $         208.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 JRW           $      260.00           0.1 correspondence with documents vendor regarding claimant emails (.1).                                  $           26.00
          Administration &
          Objections




                                                                                              165 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 167 of 191 PageID #:53951
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                          Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Mar‐21 Claims                3/26/2021 JRW        $       260.00        0.2 Work with J. Rak on providing updates to database vendor (.2)                                         $           52.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 JRW        $      260.00           0.5 work with K. Duff on response to claimant inquiries about claims documentation (.5)                 $         130.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 JRW        $      260.00           1.1 review and revise draft email to claimants regarding claims process (1.1)                           $         286.00
          Administration &
          Objections
   Mar‐21 Claims                3/26/2021 JRW        $      260.00           3.1 attention to claimant inquiries (3.1)                                                               $         806.00
          Administration &
          Objections
   Mar‐21 Claims                3/27/2021 MR         $      390.00           0.5 Review letter to claimants' counsel regarding request for claims records.                           $         195.00
          Administration &
          Objections
   Mar‐21 Claims                3/29/2021 JR         $      140.00           0.2 Review email from J. Wine related to claimant email and address update, make recommended            $           28.00
          Administration &                                                       changes and send request to claims vendor.
          Objections
   Mar‐21 Claims                3/29/2021 JRW        $      260.00           0.6 Review claims documentation and work with vendor regarding adjustments to database (.6)             $         156.00
          Administration &
          Objections
   Mar‐21 Claims                3/29/2021 JRW        $      260.00            1 investigate and respond to claimant inquiries (1.0).                                                 $         260.00
          Administration &
          Objections
   Mar‐21 Claims                3/30/2021 JRW        $      260.00           0.8 Attention to researching and responding to claimant inquiries.                                      $         208.00
          Administration &
          Objections
   Mar‐21 Claims                3/31/2021 JRW        $      260.00           0.3 Exchange correspondence with document vendor regarding claims distribution project (.3)             $           78.00
          Administration &
          Objections
   Mar‐21 Claims                3/31/2021 JRW        $      260.00           1.6 attention to researching and responding to claimant inquiries and related communications with K.    $         416.00
          Administration &                                                       Duff (1.6)
          Objections
   Apr‐21 Business              4/13/2021 KBD        $      390.00           0.4 study property manager financial reporting (7760 S Coles Avenue, 8000‐02 S Justine Street, 8107‐09 $          156.00
          Operations                                                             S Ellis Avenue, 8214‐16 S Ingleside Avenue, 8209 S Ellis Avenue, 11117‐11119 S Longwood Drive,
                                                                                 7300‐04 S St Lawrence Avenue, 7957‐59 S Marquette Road, 2736‐44 W 64th Street, 6355‐59 S
                                                                                 Talman Avenue, 6356 S California Avenue, 5618‐20 S Martin Luther King Drive, 7201 S Constance
                                                                                 Avenue, 6554‐58 S Vernon Avenue, 1700‐08 W Juneway Terrace, 7201‐07 S Dorchester Avenue,
                                                                                 4315‐19 S Michigan Avenue, 7600‐10 S Kingston Avenue, 7656‐58 S Kingston Avenue, 6250 S Mozart
                                                                                 Street, 7109‐19 S Calumet Avenue, 9610 S Woodlawn Avenue, 1401 W 109th Place, 310 E 50th
                                                                                 Street, 6807 S Indiana Avenue, 7237‐43 S Bennett Avenue, 638‐40 N Avers Avenue, 7255‐57 S Euclid
                                                                                 A        ) ( 4)
   Apr‐21 Claims                 4/1/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding claimants' counsel's request for claims             $            39.00
          Administration &                                                       documentation (.1)
          Objections
   Apr‐21 Claims                 4/1/2021 KBD        $      390.00           0.2 review and address email from claimant regarding claims documentation link issue and exchange       $           78.00
          Administration &                                                       related correspondence with J. Wine (.2).
          Objections
   Apr‐21 Claims                 4/1/2021 KBD        $      390.00           0.2 telephone conference with M. Rachlis regarding recovery and inspection of EB documents (.2)         $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 KBD        $      390.00           0.3 exchange correspondence with J. Rak and J. Wine regarding vendor and license issues for records     $         117.00
          Administration &                                                       for EB database (.3)
          Objections
   Apr‐21 Claims                 4/1/2021 KBD        $      390.00           0.5 Telephone conference with claimants' counsel regarding request for claims documentation (.5)        $         195.00
          Administration &
          Objections
   Apr‐21 Claims                 4/2/2021 KBD        $      390.00           0.1 Review vendor invoice and exchange related correspondence with J. Wine (.1)                         $           39.00
          Administration &
          Objections
   Apr‐21 Claims                 4/3/2021 KBD        $      390.00           0.2 Study vendor agreement and related correspondence.                                                  $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 KBD        $      390.00           0.1 attention to correspondence with potential claimant who did not submit claim (.1)                   $           39.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 KBD        $      390.00           0.1 Exchange correspondence regarding emails relating to claimant (.1)                                  $           39.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 KBD        $      390.00           0.2 exchange correspondence with J. Wine and J. Rak regarding records for documents database (.2)       $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 KBD        $      390.00           0.3 study vendor agreement and exchange related correspondence with J. Wine regarding revisions (.3) $            117.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 KBD        $      390.00           0.1 attention to communications from claimant and A. Porter relating to property sales, proceeds, and   $           39.00
          Administration &                                                       claims process (.1)
          Objections
   Apr‐21 Claims                 4/8/2021 KBD        $      390.00           0.1 Telephone conference with J. Wine regarding interim status report (.1)                              $           39.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 KBD        $      390.00           0.2 telephone conference with SEC (.2).                                                                 $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 KBD        $      390.00           0.5 study and revised draft joint status report and exchange related correspondence (.5)                $         195.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 KBD        $      390.00           0.2 telephone conference with SEC (.2)                                                                  $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 KBD        $      390.00           0.5 Study and revise draft status report on claims and exchange related correspondence (.5)             $         195.00
          Administration &
          Objections




                                                                                           166 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 168 of 191 PageID #:53952
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                               Task Cost
Month                                       Keeper        Rate
   Apr‐21 Claims                4/11/2021 KBD        $       390.00        0.2 Work on claims processing issues.                                                                     $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 KBD        $      390.00          0.1 Study correspondence from vendor regarding claims documentation distribution project status (.1)     $           39.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 KBD        $      390.00          0.2 exchange correspondence with claimant regarding claims documentation and confidentiality issue       $           78.00
          Administration &                                                      (.2).
          Objections
   Apr‐21 Claims                4/12/2021 KBD        $      390.00          0.2 review status of vendor agreement and revisions and exchange related correspondence with J.          $           78.00
          Administration &                                                      Wine and further attention to joint status report and impact of document database on timing (.2)
          Objections
   Apr‐21 Claims                4/13/2021 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding EB document database agreement and                    $           78.00
          Administration &                                                      communications with claimants' counsel regarding initiation of claims process (.2)
          Objections
   Apr‐21 Claims                4/13/2021 KBD        $      390.00          0.3 work on correspondence with claimant regarding claims process timing (.3)                            $         117.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 KBD        $      390.00          0.1 exchange correspondence with J. Wine regarding vendor agreement (.1)                                 $           39.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 KBD        $      390.00          0.2 study correspondence from claimants' counsel regarding potential subpoena for records (.2).          $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 KBD        $      390.00          0.3 revise joint status report on claims and exchange related correspondence with J. Wine (.3)           $         117.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 KBD        $      390.00          0.2 telephone conference with J. Wine regarding joint status report (.2)                                 $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 KBD        $      390.00          0.7 Revise joint status report and exchange related correspondence with J. Wine (.7)                     $         273.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 KBD        $      390.00          0.2 exchange correspondence with J. Wine and A. Watychowicz regarding access to accounting records       $           78.00
          Administration &                                                      for document database (.2)
          Objections
   Apr‐21 Claims                4/16/2021 KBD        $      390.00          0.2 Exchange correspondence with J. Wine and M. Rachlis regarding joint status report and review         $           78.00
          Administration &                                                      drafts of joint status report (.2)
          Objections
   Apr‐21 Claims                4/16/2021 KBD        $      390.00          0.5 further work on joint status report and attempt to reconcile differences in positions of claims      $         195.00
          Administration &                                                      process participants (.5).
          Objections
   Apr‐21 Claims                4/17/2021 KBD        $      390.00          0.1 Exchange correspondence with J. Wine regarding joint status report (.1)                              $           39.00
          Administration &
          Objections
   Apr‐21 Claims                4/17/2021 KBD        $      390.00          0.2 exchange correspondence relating to vendor access of EB online records (.2).                         $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/18/2021 KBD        $      390.00          0.2 exchange correspondence relating to vendor access of EB online records (.2).                         $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/18/2021 KBD        $      390.00          0.2 Draft correspondence to claimants' counsel and SEC regarding joint status report (.2)                $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.1 exchange correspondence with vendor regarding distribution of claims documentation to claimants $                39.00
          Administration &                                                      (.1)
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.2 draft correspondence to J. Wine regarding electronic records issues (.2)                             $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.2 review correspondence regarding vendor access of EB online records and exchange correspondence $                 78.00
          Administration &                                                      with claimants' counsel relating to same (.2)
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.2 Exchange correspondence with claimants' counsel and SEC regarding joint status report (.2)           $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.3 attention to and exchange correspondence with K. Pritchard regarding filing of joint status report   $         117.00
          Administration &                                                      (.3)
          Objections
   Apr‐21 Claims                4/19/2021 KBD        $      390.00          0.3 attention to claimant inquiries and communications (.3).                                             $         117.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 KBD        $      390.00          0.2 study correspondence relating to electronic records for database and exchange related                $           78.00
          Administration &                                                      correspondence with A. Watychowicz (.2).
          Objections
   Apr‐21 Claims                4/20/2021 KBD        $      390.00          0.3 Attention to communication with claimants regarding claims process (.3)                              $         117.00
          Administration &
          Objections
   Apr‐21 Claims                4/21/2021 KBD        $      390.00          0.2 attention to customer support emails for claims vendor (.2)                                          $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/21/2021 KBD        $      390.00          0.3 Telephone conference with claimant's counsel regarding claims process (.3)                           $         117.00
          Administration &
          Objections
   Apr‐21 Claims                4/22/2021 KBD        $      390.00          0.2 Work on response to claimant communication relating to claims process.                               $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/23/2021 KBD        $      390.00          0.2 Study correspondence from J. Wine regarding discovery for claims process.                            $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 KBD        $      390.00          0.1 Work on response to claimant (.1)                                                                    $           39.00
          Administration &
          Objections




                                                                                          167 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 169 of 191 PageID #:53953
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                       Task Description                                                  Task Cost
Month                                       Keeper        Rate
   Apr‐21 Claims                4/26/2021 KBD        $       390.00        0.2 attention to vendor expense and document assembly efforts (.2).                                     $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 KBD        $      390.00          0.4 study correspondence regarding claimants' request for records (.4)                                 $         156.00
          Administration &
          Objections
   Apr‐21 Claims                4/27/2021 KBD        $      390.00          0.2 attention to communications with database vendor regarding login information and expense issues $              78.00
          Administration &                                                      (.2).
          Objections
   Apr‐21 Claims                4/27/2021 KBD        $      390.00          0.2 Exchange correspondence regarding communication with claimants (.2)                                $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 KBD        $      390.00          0.1 telephone conference with J. Wine regarding preparation for call with claimants' counsel (.1)      $           39.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 KBD        $      390.00          0.4 exchange correspondence regarding document database expense issues (.4)                            $         156.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 KBD        $      390.00          0.2 telephone conference with J. Wine regarding claimants' request for claims and other                $           78.00
          Administration &                                                      documentation (.2)
          Objections
   Apr‐21 Claims                4/29/2021 KBD        $      390.00          0.2 work on issue and exchange correspondence relating to records for document database and            $           78.00
          Administration &                                                      expenses (.2)
          Objections
   Apr‐21 Claims                4/29/2021 KBD        $      390.00          0.4 Study correspondence and documents from claimants' counsel and J. Wine regarding request for       $         156.00
          Administration &                                                      claims and other documentation (.4)
          Objections
   Apr‐21 Claims                4/29/2021 KBD        $      390.00          0.5 telephone conference with claimants' counsel and J. Wine regarding request for claims and other    $         195.00
          Administration &                                                      documentation (.5)
          Objections
   Apr‐21 Claims                4/30/2021 KBD        $      390.00          0.2 Study information and correspondence regarding claims (.2)                                         $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 KBD        $      390.00          0.4 attention to document database, expense issues, and related communications (.4)                    $         156.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 KBD        $      390.00          0.5 study document vendor master service agreement and draft related correspondence to J. Wine (.5). $           195.00
          Administration &
          Objections
   Apr‐21 Business              4/12/2021 AW         $      140.00          0.2 email exchanges regarding access to email accounts and saved emails (.2).                          $           28.00
          Operations
   Apr‐21 Claims                 4/1/2021 JRW        $      260.00          0.1 correspond with K. Duff regarding claimant inquiry (.1)                                            $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 JRW        $      260.00          0.2 Correspondence with J. Rak and K. Duff regarding vendor software (.2)                              $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 JRW        $      260.00          0.6 review and organize emails in receiver's account, and prepare responses to claimant emails (.6)    $         156.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 JRW        $      260.00          0.6 telephone conference with claimants' counsel and K. Duff regarding records subpoena and motion     $         156.00
          Administration &                                                      (.6).
          Objections
   Apr‐21 Claims                 4/1/2021 JRW        $      260.00            1 study revised vendor contract and license agreement and related revisions and comments to          $         260.00
          Administration &                                                      counsel for claimants (1.0)
          Objections
   Apr‐21 Claims                 4/1/2021 MR         $      390.00          0.1 Attention to claims related matters (.1)                                                           $           39.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 MR         $      390.00          0.3 follow up with K. Duff regarding claimant's request for records (.3).                              $         117.00
          Administration &
          Objections
   Apr‐21 Claims                 4/1/2021 MR         $      390.00          0.5 attention to issues regarding claimant discovery (.5)                                              $         195.00
          Administration &
          Objections
   Apr‐21 Claims                 4/2/2021 JRW        $      260.00          0.1 exchange correspondence with vendor regarding status of claims distribution project (.1)           $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/2/2021 JRW        $      260.00          0.2 review vendor invoice and related email exchange with K. Duff (.2).                                $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/3/2021 JRW        $      260.00          0.2 Review updated vendor agreement and related correspondence to K. Duff.                             $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 AW         $      140.00          0.1 review email exchange relating to distribution to IRA and other custodial claimants and related    $           14.00
          Administration &                                                      follow up with J. Wine (.1)
          Objections
   Apr‐21 Claims                 4/5/2021 AW         $      140.00          0.1 Email exchange with J. Wine and J. Rak regarding contact emails for claimants and review project   $           14.00
          Administration &                                                      (.1)
          Objections
   Apr‐21 Claims                 4/5/2021 AW         $      140.00          0.3 review email files and email communications with K. Duff and J. Wine regarding processing of       $           42.00
          Administration &                                                      emails (.3).
          Objections
   Apr‐21 Claims                 4/5/2021 AW         $      140.00          0.4 start reviewing spreadsheet and update claimants' names to include complete names as identified    $           56.00
          Administration &                                                      on master claims list (.4)
          Objections
   Apr‐21 Claims                 4/5/2021 JR         $      140.00          0.1 communication with IT representative regarding EB records for database (.1).                       $           14.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 JR         $      140.00          0.2 exchange correspondence with K. Duff and J. Wine and provide requested information related to EB $             28.00
          Administration &                                                      records for database (.2)
          Objections
   Apr‐21 Claims                 4/5/2021 JR         $      140.00          0.2 Review email from J. Wine and A. Watychowicz and provide requested claimant information (.2)       $           28.00
          Administration &
          Objections




                                                                                          168 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 170 of 191 PageID #:53954
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
   Apr‐21 Claims                 4/5/2021 JRW        $       260.00        0.1 confer with A. Watychowicz regarding updates required to claimant contact list (.1)                    $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.1 review research regarding distributions (.1)                                                         $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.1 Correspondence with J. Rak and K. Duff regarding EquityBuild documents (.1)                          $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.2 correspondence with claimants' counsel regarding counsel of record and distribution of claim forms $             52.00
          Administration &                                                       and related exchange with J. Rak regarding updating records (.2).
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.2 exchange correspondence with K. Duff and claims vendor regarding invoice and breakdown of fees       $           52.00
          Administration &                                                       (.2)
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.3 additional correspondence with claimants' counsel and K. Duff regarding revisions to vendor          $           78.00
          Administration &                                                       agreement (.3 )
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.3 correspondence with K. Duff regarding revised vendor agreement and related revisions to              $           78.00
          Administration &                                                       claimants' counsel (.3)
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           0.5 correspondence with claimant's counsel regarding distribution of claims forms and related review     $         130.00
          Administration &                                                       of records (.5)
          Objections
   Apr‐21 Claims                 4/5/2021 JRW        $      260.00           1.6 attention to responding to claimant inquiries (1.6)                                                  $         416.00
          Administration &
          Objections
   Apr‐21 Claims                 4/5/2021 MR         $      390.00           0.2 Attention to emails on claims process related issues.                                                $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/6/2021 AW         $      140.00           2.3 Complete review of email spreadsheet and update claimants' names to include complete names as        $         322.00
          Administration &                                                       identified on master claims list and communicate with J. Wine and J. Rak regarding same.
          Objections
   Apr‐21 Claims                 4/6/2021 JRW        $      260.00           0.1 Exchange correspondence with claimants' counsel regarding properties (.1)                            $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/6/2021 JRW        $      260.00           0.2 email exchange with counsel for claimants regarding counsel of record for service (.2).              $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/6/2021 MR         $      390.00           0.2 Attention to inquiry from claimant's counsel and follow up with E. Duff regarding same.              $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/7/2021 JR         $      140.00           0.4 Review emails from J. Wine pertaining to lender counsel email contact list update and update same. $             56.00
          Administration &
          Objections
   Apr‐21 Claims                 4/7/2021 JRW        $      260.00           0.1 exchange correspondence with vendor and claimant's counsel regarding vendor agreement (.1)           $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 AW         $      140.00           0.1 communicate with IT consultant regarding archive notices relating to EquityBuild emails and group    $           14.00
          Administration &                                                       issue (.1)
          Objections
   Apr‐21 Claims                 4/8/2021 AW         $      140.00           0.1 compile email folders and email K. Duff link containing same (.1).                                   $           14.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.1 review revisions to interim report and further revise same (.1).                                     $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.2 confer with K. Duff regarding status report to court (.2)                                            $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.2 Review updates to claimant spreadsheet (.2)                                                          $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.3 revise worksheet regarding claims and related correspondence to K. Duff and A. Porter (.3)           $           78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.4 confer with vendor and SEC regarding provision of records (.4)                                       $         104.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.7 prepare draft of interim status report on claims (.7)                                                $         182.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 JRW        $      260.00           0.8 attention to responding to claimant inquiries and review correspondence with claimant group (.8)     $         208.00
          Administration &
          Objections
   Apr‐21 Claims                 4/8/2021 MR         $      390.00             1 Attention to emails and review drafts of claims status report and circulate same to K. Duff and J.   $         390.00
          Administration &                                                       Wine.
          Objections
   Apr‐21 Claims                 4/9/2021 JRW        $      260.00           0.1 correspondence from claimant's counsel regarding request for information regarding sale of           $           26.00
          Administration &                                                       property and related email to A. Porter and K. Duff (.1).
          Objections
   Apr‐21 Claims                 4/9/2021 JRW        $      260.00           0.1 respond to claimant inquiries (.1)                                                                   $           26.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 JRW        $      260.00           0.2 communications with SEC (.2)                                                                         $           52.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 JRW        $      260.00           0.3 correspondence with counsel for claimants and vendor regarding EquityBuild document project (.3) $               78.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 JRW        $      260.00             1 Exchange drafts of interim status report on claims with M. Rachlis and K. Duff (1.0)                 $         260.00
          Administration &
          Objections




                                                                                           169 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 171 of 191 PageID #:53955
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                     Task Cost
Month                                       Keeper        Rate
   Apr‐21 Claims                 4/9/2021 JRW        $       260.00        1.9 extended conference with A. Porter, M. Rachlis, and K. Duff regarding procedure for addressing           $         494.00
          Administration &                                                     recorded liens against properties (1.9)
          Objections
   Apr‐21 Claims                 4/9/2021 MR         $      390.00           0.3 further review and comment on draft claims status reports and related communications (.3).             $         117.00
          Administration &
          Objections
   Apr‐21 Claims                 4/9/2021 MR         $      390.00           1.9 Meeting on claim related issues with J. Wine, A. Porter and K. Duff (1.9)                              $         741.00
          Administration &
          Objections
   Apr‐21 Claims                4/10/2021 JRW        $      260.00           0.1 respond to claimant inquiry (.1).                                                                      $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/10/2021 JRW        $      260.00           0.1 Update spreadsheet (.1)                                                                                $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 AW         $      140.00           0.3 Review email correspondence relating to transfer of claims' documentation.                             $           42.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.1 email to K. Duff and M. Rachlis regarding EB documents and commencement of claims process (.1)         $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.1 exchange correspondence with vendor regarding property grouping (SSDF1, 4520‐26 S Drexel               $           26.00
          Administration &                                                       Boulevard) (.1)
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.2 attention to claimant inquiry (.2)                                                                     $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.2 confer with claimants' counsel regarding EquityBuild documents and commencement of claims              $           52.00
          Administration &                                                       process (.2)
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.2 follow‐up regarding revised vendor agreement with claimants' counsel (.2)                              $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.2 Exchange correspondence with vendor regarding claims documentation metrics (.2)                        $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.3 review revised vendor agreement and related analysis to K. Duff (.3)                                   $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/12/2021 JRW        $      260.00           0.5 telephone conference with vendors and claimants' counsel regarding finalization of vendor              $         130.00
          Administration &                                                       agreement (.5)
          Objections
   Apr‐21 Claims                4/12/2021 MR         $      390.00           0.2 Attention to issues on joint status report and database vendor issue.                                  $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 AW         $      140.00           0.1 attention to voice message from claimant and email J Wine regarding draft response (.1).               $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 AW         $      140.00           0.2 Attention to emails from claimants regarding claims process and email approved responses (.2)          $           28.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 JRW        $      260.00           0.2 attention to claimant inquiries (.2)                                                                   $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 JRW        $      260.00           0.2 revisions to joint status report and related correspondence with K. Duff (.2)                          $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 JRW        $      260.00           0.3 Exchange correspondence with claimants' counsel and vendor regarding EquityBuild documents and $                   78.00
          Administration &                                                       finalization of agreement (.3)
          Objections
   Apr‐21 Claims                4/13/2021 JRW        $      260.00           0.4 confer with counsel for claimants regarding commencement of claims process, EquityBuild                $         104.00
          Administration &                                                       document database and Excel spreadsheets, and related follow‐up email (.4)
          Objections
   Apr‐21 Claims                4/13/2021 JRW        $      260.00           0.6 attention to responding to claimant inquiries (.6).                                                    $         156.00
          Administration &
          Objections
   Apr‐21 Claims                4/13/2021 MR         $      390.00           0.1 attention to status on database vendor and impact regarding same (.1)                                  $           39.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.1 Confer with A. Watychowicz regarding claimant inquiry (.1)                                             $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.2 email to SEC (.2)                                                                                      $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.4 confer with vendor and K. Pritchard regarding hard drive of EquityBuild documents (.4)                 $         104.00
          Administration &
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.7 work with K. Duff on revisions to joint status report and related email to counsel for claimants and   $         182.00
          Administration &                                                       SEC (.7)
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.8 multiple correspondence with vendor and claimants' counsel regarding revisions to vendor               $         208.00
          Administration &                                                       agreement and procedures (.8)
          Objections
   Apr‐21 Claims                4/14/2021 JRW        $      260.00           0.8 telephone conference with SEC and K. Duff (.8)                                                         $         208.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 AW         $      140.00           0.2 attention to emails requesting contact info update and process same (.2).                              $           28.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 AW         $      140.00           0.4 Attention to emails from claimants requesting status updates and additional information regarding      $           56.00
          Administration &                                                       claims process and respond to same (.4)
          Objections




                                                                                           170 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 172 of 191 PageID #:53956
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                         Task Description                                                 Task Cost
Month                                       Keeper        Rate
   Apr‐21 Claims                4/15/2021 JRW        $       260.00        0.1 related email exchange with claimants counsel (.1)                                                  $            26.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 JRW        $      260.00          0.1 Attention to claimant inquiry (.1)                                                                 $            26.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 JRW        $      260.00          0.5 prepare list regarding same for claimants' counsel (.5)                                            $          130.00
          Administration &
          Objections
   Apr‐21 Claims                4/15/2021 JRW        $      260.00          1.2 attention to joint status report on commencement of claims process and several exchanges of        $          312.00
          Administration &                                                      revisions and comments with K. Duff, SEC, and claimants' counsel (1.2)
          Objections
   Apr‐21 Claims                4/15/2021 MR         $      390.00          0.4 Attention to emails on joint status and claims.                                                    $          156.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 AW         $      140.00          0.1 confer with J. Wine regarding joint status report and brief review of same (.1).                   $            14.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 AW         $      140.00          0.1 email exchange with J. Wine regarding change of format of exhibit for claimants (.1)               $            14.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 AW         $      140.00          0.1 respond to follow up emails from same claimants (.1)                                               $            14.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 AW         $      140.00          2.3 Review emails from claimants regarding received documents and questions about claims process,     $           322.00
          Administration &                                                      brief communications with J. Wine regarding same, research answers to frequently asked questions,
          Objections                                                            and send out email responses (2.3)
   Apr‐21 Claims                4/16/2021 JRW        $      260.00          0.3 attention to claimant inquiries and related exchange with A. Watychowicz regarding spreadsheet    $             78.00
          Administration &                                                      with claim numbers (.3)
          Objections
   Apr‐21 Claims                4/16/2021 JRW        $      260.00          0.4 email exchange and telephone conference with vendor regarding data inventory, third‐party          $          104.00
          Administration &                                                      software and passwords (.4).
          Objections
   Apr‐21 Claims                4/16/2021 JRW        $      260.00          1.8 Continued preparation of joint status report and related exchanges with SEC and claimants' counsel, $         468.00
          Administration &                                                      conferences with K. Duff and M. Rachlis, and revisions to same (1.8)
          Objections
   Apr‐21 Claims                4/16/2021 KMP        $      140.00          0.3 Review and revise draft joint status report and related communications with K. Duff and J. Wine.   $            42.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 MR         $      390.00          0.5 attention to follow up regarding claimant's properties and related issues (.5).                    $          195.00
          Administration &
          Objections
   Apr‐21 Claims                4/16/2021 MR         $      390.00          0.5 Attention to joint status report and related issues (.5)                                           $          195.00
          Administration &
          Objections
   Apr‐21 Claims                4/17/2021 JRW        $      260.00          0.2 Review revised draft of joint status report and related email exchange with K. Duff.               $            52.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 AW         $      140.00          0.3 Prepare packet regarding claimant and email K. Duff (.3)                                           $            42.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 AW         $      140.00          0.5 attention to email from database vendor regarding additional claim and bounced email, review   $                70.00
          Administration &                                                      claim forms and contact sheets, request update to database, and follow up email to J. Wine and
          Objections                                                            database vendor (.5).
   Apr‐21 Claims                4/19/2021 AW         $      140.00          1.8 review emails from claimants regarding received documents and requests for update, communicate $              252.00
          Administration &                                                      with K. Duff regarding appropriate responses, and send out email responses (1.8)
          Objections
   Apr‐21 Claims                4/19/2021 JRW        $      260.00          0.1 review correspondence from vendor and A. Watychowicz regarding EB records (.1).                    $            26.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 JRW        $      260.00          0.1 Attention to claimant inquiry (.1)                                                                 $            26.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 KMP        $      140.00          0.3 communications with K. Duff and A. Watychowicz regarding joint status report (.3).                 $            42.00
          Administration &
          Objections
   Apr‐21 Claims                4/19/2021 KMP        $      140.00          0.6 Review, revise, finalize, and file joint status report (.6)                                        $            84.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 AW         $      140.00          0.1 communicate with K. Duff regarding unique questions from claimants (.1)                            $            14.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 AW         $      140.00          0.1 review file preserved by IT consultant and detailed email regarding file types (.1).               $            14.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 AW         $      140.00          0.2 Research and communicate with K. Duff regarding software syncing options (.2)                      $            28.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 AW         $      140.00          0.3 prepare revised claims sheet and email J. Wine regarding same (.3).                                $            42.00
          Administration &
          Objections
   Apr‐21 Claims                4/20/2021 AW         $      140.00          0.7 Review emails from claimants regarding received documents and requests for update and send out     $            98.00
          Administration &                                                      email responses (.7)
          Objections
   Apr‐21 Claims                4/20/2021 MR         $      390.00          0.3 Attention to draft joint status report.                                                            $          117.00
          Administration &
          Objections
   Apr‐21 Claims                4/21/2021 AW         $      140.00          0.2 research regarding claims and related email follow up with J. Wine (.2)                            $            28.00
          Administration &
          Objections
   Apr‐21 Claims                4/21/2021 AW         $      140.00          0.2 update claimant's information and email him requested update (.2)                                  $            28.00
          Administration &
          Objections




                                                                                           171 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 173 of 191 PageID #:53957
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                             Task Description                                             Task Cost
Month                                      Keeper        Rate
   Apr‐21 Claims                4/21/2021 AW        $       140.00        0.3 attention to email from database vendor regarding missing claim, review claim form, update master $              42.00
          Administration &                                                    claims list, and follow up email to J. Wine and database vendor (.3).
          Objections
   Apr‐21 Claims                4/21/2021 AW        $      140.00          0.4 Finalize master claims list by property number (.4)                                                 $           56.00
          Administration &
          Objections
   Apr‐21 Claims                4/22/2021 AW        $      140.00          0.1 communicate with database vendor regarding completion of property emails project (.1).              $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/22/2021 AW        $      140.00          0.2 update claimant's information and email requested update (.2)                                       $           28.00
          Administration &
          Objections
   Apr‐21 Claims                4/22/2021 AW        $      140.00          0.3 Research claim emails regarding frequently asked questions, attention to email from claimant        $           42.00
          Administration &                                                     regarding fees, work on and respond to claimant (.3)
          Objections
   Apr‐21 Claims                4/23/2021 AW        $      140.00          0.1 draft and communicate with J. Wine regarding proposed response to claimant (.1)                     $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/23/2021 AW        $      140.00          0.1 respond to claimant's request for pleadings (.1).                                                   $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/23/2021 AW        $      140.00          0.1 Email exchange with J. Wine regarding status of claims emails (.1)                                  $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/23/2021 JRW       $      260.00          0.1 exchange correspondence with vendor regarding claims distribution project (.1).                     $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/23/2021 JRW       $      260.00          0.1 Confer with A. Watychowicz regarding updates to master claims list (.1)                             $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 AW        $      140.00          0.2 communicate with J. Wine regarding proposed responses to claimants and email responses to           $           28.00
          Administration &                                                     claimants (.2).
          Objections
   Apr‐21 Claims                4/26/2021 AW        $      140.00          0.3 attention to emails from claimants regarding claims files and requests for updates and respond to   $           42.00
          Administration &                                                     same (.3)
          Objections
   Apr‐21 Claims                4/26/2021 AW        $      140.00          0.3 Communicate with J. Wine regarding claim missing from Master Claims List, review proof of claim     $           42.00
          Administration &                                                     form, and update list (.3)
          Objections
   Apr‐21 Claims                4/26/2021 JR        $      140.00          1.1 update property list with institutional lender claims (1.1).                                        $         154.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 JRW       $      260.00          0.2 correspondence with vendor and claimants' counsel regarding EB documents project (.2).              $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 JRW       $      260.00          0.5 confer with A. Watychowicz regarding updating claims records (.5)                                   $         130.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 JRW       $      260.00          0.8 Attention to responding to claimant inquiries (.8)                                                  $         208.00
          Administration &
          Objections
   Apr‐21 Claims                4/26/2021 JRW       $      260.00          0.9 study draft motion and subpoena and related analysis to K. Duff (1017 W 102nd Street, 8403 S        $         234.00
          Administration &                                                     Aberdeen Street, 8432 S Essex Avenue, 9212 S Parnell Avenue, 8346 S Constance Avenue, 8107 S
          Objections                                                           Kingston Avenue) (.9)
   Apr‐21 Claims                4/27/2021 AW        $      140.00          0.1 respond to claimant regarding mailing address concern on submitted proofs of claim forms (.1)       $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/27/2021 AW        $      140.00          0.2 Update claimant's contact information and add claim to properties mail list (.2)                    $           28.00
          Administration &
          Objections
   Apr‐21 Claims                4/27/2021 AW        $      140.00          0.4 updates to master claims list and related email to J. Wine (.4).                                    $           56.00
          Administration &
          Objections
   Apr‐21 Claims                4/27/2021 JRW       $      260.00          0.1 Confer with A. Watychowicz regarding potential modification of master claims list (.1)              $           26.00
          Administration &
          Objections
   Apr‐21 Claims                4/27/2021 JRW       $      260.00          0.2 correspondence between claimants' counsel and database vendor regarding EquityBuild documents $                 52.00
          Administration &                                                     in control of third parties (.2)
          Objections
   Apr‐21 Claims                4/27/2021 JRW       $      260.00          0.6 research claimant inquiries and confer with A. Watychowicz and K. Duff regarding response (.6).     $         156.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 AW        $      140.00          0.1 attention to email exchange regarding claims against funds and claims list (.1)                     $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 AW        $      140.00          0.1 review claim and respond to claimant's inquiry regarding resolution of claims against funds (.1)    $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 AW        $      140.00          0.1 Communicate with J. Wine regarding possible amendment of claim (.1)                                 $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/28/2021 AW        $      140.00          0.2 research regarding response to claimants' request for records and related email exchanges with J.   $           28.00
          Administration &                                                     Wine (.2)
          Objections
   Apr‐21 Claims                4/28/2021 AW        $      140.00          0.2 review sample documents preserved from online platform and email them to K. Duff and J. Wine        $           28.00
          Administration &                                                     with summary of relationship with online vendor (.2).
          Objections
   Apr‐21 Claims                4/28/2021 JRW       $      260.00          0.2 telephone conference with K. Duff and email exchange with A. Watychowicz in preparation for call    $           52.00
          Administration &                                                     with claimants' counsel regarding request for EB records (.2).
          Objections
   Apr‐21 Claims                4/28/2021 JRW       $      260.00          0.9 Exchange correspondence with claimants' counsel regarding EquityBuild records and various related $           234.00
          Administration &                                                     discussions with K. Duff, M. Rachlis and A. Watychowicz (.9)
          Objections




                                                                                         172 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 174 of 191 PageID #:53958
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                            Task Description                                              Task Cost
Month                                      Keeper        Rate
   Apr‐21 Claims                4/28/2021 MR        $       390.00        0.5 Attention to various issues regarding claims documents library.                                      $         195.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 AW        $      140.00           0.1 follow up with J. Wine regarding objection to claimants' request for records (.1).                 $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 AW        $      140.00           0.1 Attention to email from claimant regarding served documents and respond to same (.1)               $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 AW        $      140.00           0.2 call with J. Wine regarding claims issues (.2)                                                     $           28.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.2 exchange correspondence with claimants' counsel regarding recovery of EB documents and samples $               52.00
          Administration &                                                      of TMO documents (.2)
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.2 telephone conference with K. Duff regarding subpoena (.2)                                          $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.3 prepare chart regarding discovery (.3)                                                             $           78.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.4 telephone conference with K. Duff regarding discovery (.4)                                         $         104.00
          Administration &
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.5 telephone conference with claimants' counsel and K. Duff regarding draft motion and proposed       $         130.00
          Administration &                                                      subpoena (.5)
          Objections
   Apr‐21 Claims                4/29/2021 JRW       $      260.00           0.5 Study proposed motion for leave to file subpoena and draft subpoena in preparation for conference $          130.00
          Administration &                                                      with counsel (.5)
          Objections
   Apr‐21 Claims                4/30/2021 AW        $      140.00           0.1 Call with J. Wine regarding revisions to master claims list (.1)                                   $           14.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 AW        $      140.00           0.3 prepare revisions sheet for vendors (.3).                                                          $           42.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 AW        $      140.00           1.1 review and revise claims (1.1)                                                                     $         154.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 JRW       $      260.00           0.2 confer with K. Duff regarding claimant inquiry and update records accordingly (.2)                 $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 JRW       $      260.00           0.2 confer with K. Duff regarding proposed contract (.2)                                               $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 JRW       $      260.00           0.2 Confer with A. Watychowicz regarding claims submitted by City (.2)                                 $           52.00
          Administration &
          Objections
   Apr‐21 Claims                4/30/2021 JRW       $      260.00           0.6 multiple email exchanges with vendor and claimants' counsel regarding vendor licenses and          $         156.00
          Administration &                                                      payments (.6)
          Objections
   May‐21 Claims                 5/3/2021 KBD       $      390.00           0.2 exchange correspondence with A. Porter regarding analysis of issue relating to claimants' claims   $           78.00
          Administration &                                                      (.2).
          Objections
   May‐21 Claims                 5/3/2021 KBD       $      390.00           0.4 Exchange correspondence and telephone conference with J. Wine regarding efforts to retrieve        $         156.00
          Administration &                                                      records from EquityBuild vendors, service agreements, and cost (.4)
          Objections
   May‐21 Claims                 5/3/2021 KBD       $      390.00           0.5 work on responses claimants' communications relating to claims issues (.5)                         $         195.00
          Administration &
          Objections
   May‐21 Claims                 5/4/2021 KBD       $      390.00           0.2 Exchange correspondence with J. Wine regarding document database and vendor expense issues.        $           78.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 KBD       $      390.00           0.3 Work on document vendor expense and service agreement issues.                                      $         117.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 KBD       $      390.00           0.2 attention to claimant communication issue (.2).                                                    $           78.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 KBD       $      390.00           0.6 Attention to document vendor issues relating to documents to be included in EB documents           $         234.00
          Administration &                                                      database and vendor agreement (.6)
          Objections
   May‐21 Claims                5/10/2021 KBD       $      390.00           0.2 review information and correspondence from claimants (.2).                                         $           78.00
          Administration &
          Objections
   May‐21 Claims                5/13/2021 KBD       $      390.00           0.1 Attention to vendor invoice and exchange correspondence with J. Wine regarding document            $           39.00
          Administration &                                                      database vendor invoice (.1)
          Objections
   May‐21 Claims                5/13/2021 KBD       $      390.00           0.4 work on communication with claimants relating to claims process (.4).                              $         156.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 KBD       $      390.00           0.1 exchange correspondence with A. Watychowicz regarding communications with claimants relating       $           39.00
          Administration &                                                      to claims process (.1)
          Objections
   May‐21 Claims                5/17/2021 KBD       $      390.00           0.1 review vendor invoice and exchange related correspondence with J. Wine (.1).                       $           39.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 KBD       $      390.00           0.2 communicate with vendor and A. Watychowicz regarding access to claims EB documents (.2)            $           78.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 KBD       $      390.00           0.2 Exchange correspondence regarding potential claimants regarding potential claim and                $           78.00
          Administration &                                                      communications (.2)
          Objections




                                                                                          173 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 175 of 191 PageID #:53959
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                               Task Cost
Month                                       Keeper        Rate
   May‐21 Claims                5/17/2021 KBD        $       390.00        0.4 study draft joint status report and related correspondence (.4)                                       $         156.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 KBD        $      390.00           0.7 telephone conference with and draft correspondence to M. Rachlis and J. Wine regarding joint        $         273.00
          Administration &                                                       status report (.7)
          Objections
   May‐21 Claims                5/18/2021 KBD        $      390.00           0.2 telephone conference and exchange correspondence with SEC (.2)                                      $           78.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 KBD        $      390.00           0.2 work on communications with claimants regarding claims process (.2)                                 $           78.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 KBD        $      390.00           0.3 attention to claims vendor progress invoice issues and exchange correspondence with J. Wine         $         117.00
          Administration &                                                       regarding same (.3).
          Objections
   May‐21 Claims                5/18/2021 KBD        $      390.00           1.5 Study and revise joint status report, review other revisions, and exchange various related          $         585.00
          Administration &                                                       correspondence with J. Wine and M. Rachlis (1.5)
          Objections
   May‐21 Claims                5/19/2021 KBD        $      390.00           0.2 work on issues relating to documents for database (.2).                                             $           78.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 KBD        $      390.00           0.2 Work on communications with claimants (.2)                                                          $           78.00
          Administration &
          Objections
   May‐21 Claims                5/20/2021 KBD        $      390.00           0.3 Work on response to claimant regarding claim process and legal representation (.3)                  $         117.00
          Administration &
          Objections
   May‐21 Claims                5/24/2021 KBD        $      390.00           0.3 exchange correspondence with A. Watychowicz regarding communications with claimants                 $         117.00
          Administration &                                                       regarding claim and master claim spreadsheet (.3).
          Objections
   May‐21 Claims                5/24/2021 KBD        $      390.00           0.4 Telephone conference with J. Wine regarding communications with database vendors and various        $         156.00
          Administration &                                                       issues relating to document culling and database population (.4)
          Objections
   May‐21 Claims                5/26/2021 KBD        $      390.00           0.4 Work on document culling issues and exchange correspondence with J. Wine and A. Watychowicz         $         156.00
          Administration &                                                       regarding vendor reports and various related issues.
          Objections
   May‐21 Claims                5/27/2021 KBD        $      390.00           0.8 Telephone conference with J. Wine and A. Watychowicz regarding claims database documents,           $         312.00
          Administration &                                                       culling considerations, and potential exclusions and inclusions (.8)
          Objections
   May‐21 Business              5/11/2021 ED         $      390.00           0.3 Email correspondence with insurance agent and with accountants regarding premium payments and $               117.00
          Operations                                                             refunds relating to certain properties sold in 2020 (7836 South Shore Drive, 7201 S Constance
                                                                                 Avenue, 4533‐47 S Calumet Avenue, 1017 W 102nd Street, 1516 E 85th Place, 2136 W 83rd Street,
                                                                                 417 Oglesby Avenue, 7922 S Luella Avenue, 7925 S Kingston Avenue, 7933 S Kingston Avenue, 8030
                                                                                 S Marquette Avenue, 8104 S Kingston Avenue, 8403 S Aberdeen Street, 8405 S Marquette Avenue,
                                                                                 8529 S Rhodes Avenue, 8800 S Ada Street, 9212 S Parnell Avenue, 10012 S LaSalle Avenue, 11318 S
                                                                                 Church Street, 3213 S Throop Street, 3723 W 68th Place, 406 E 87th Place, 61 E 92nd Street, 6554 S
                                                                                 Rhodes Avenue, 6825 S Indiana Avenue, 7210 S Vernon Avenue, 7712 S Euclid Avenue, 7953 S
                                                                                 Woodlawn Avenue, 8107 S Kingston Avenue, 8346 S Constance Avenue, 8432 S Essex Avenue, 8517
                                                                                 S Vernon Avenue, 2129 W 71st Street, 5437 S Laflin Street, 6759 S Indiana Avenue, 9610 S
                                                                                 Woodlawn Avenue, 7300‐04 St Lawrence Avenue, 7760 S Coles Avenue, 1401 W 109th Place, 310 E
                                                                                 50th Street, 6807 S Indiana Avenue, 8000‐02 S Justine Street, 8107‐09 S Ellis Avenue, 8209 S Ellis
                                                                                 Avenue, 8214‐16 S Ingleside Avenue, 6217‐27 S Dorchester Avenue, 4520‐26 S Drexel Boulevard,
                                                                                 4611‐17 S Drexel Avenue, 7110 S Cornell Avenue, 6250 S Mozart Street, 6749‐59 S Merrill Avenue,
                                                                                 7255‐57 S Euclid Avenue, 7109‐19 S Calumet Avenue, 7024‐32 S Paxton Avenue, 2736‐44 W 64th
                                                                                 Street, 4315‐19 S Michigan Avenue, 6356 S California Avenue, 6355‐59 S Talman Avenue, 7201‐07 S
                                                                                 Dorchester Avenue, 7600‐10 S Kingston Avenue, 7656‐58 S Kingston Avenue, 7957‐59 S Marquette
                                                                                 Road, 8326‐32 S Ellis Avenue, 7508 S Essex Avenue, 7051 S Bennett Avenue, 7442‐54 S Calumet
                                                                                 Avenue, 7701‐03 S Essex Avenue, 816‐22 E Marquette Road, 638‐40 N Avers Avenue, 5450‐52 S
                                                                                 Indiana Avenue, 7749‐59 S Yates Boulevard, 1700‐08 W Juneway Terrace, 6949‐59 S Merrill Avenue,
                                                                                 1422‐24 East 68th Street, 2800‐06 E 81st Street).
  May‐21 Business               5/17/2021 AW         $      140.00           0.2 research regarding process service and communicate with J. Wine regarding same (.2).                $           28.00
         Operations
  May‐21 Business               5/17/2021 AW         $      140.00           0.3 Research regarding EB email account and communicate with K. Duff regarding results (.3)             $           42.00
         Operations
  May‐21 Claims                  5/2/2021 JRW        $      260.00           0.3 Study vendor licenses.                                                                              $           78.00
         Administration &
         Objections
  May‐21 Claims                  5/3/2021 AW         $      140.00           0.9 prepare updates for claims vendor and database vendor to include missing claims (.9).               $         126.00
         Administration &
         Objections
  May‐21 Claims                  5/3/2021 AW         $      140.00           1.8 Attention to emails from claimants regarding corrections to their claims and update requests,       $         252.00
         Administration &                                                        review claims, correspond with J. Wine regarding responses, and respond to claimants' requests
         Objections                                                              (1.8)
  May‐21 Claims                  5/3/2021 JRW        $      260.00           0.4 correspondence with vendors and claimants' counsel regarding vendor licenses and quotes (.4).       $         104.00
         Administration &
         Objections
  May‐21 Claims                  5/3/2021 JRW        $      260.00           0.4 telephone conference with vendor and related correspondence to i ts general counsel regarding       $         104.00
         Administration &                                                        software license agreement (.4)
         Objections
  May‐21 Claims                  5/3/2021 JRW        $      260.00           0.5 Attention to claimant inquiries (.5)                                                                $         130.00
         Administration &
         Objections
  May‐21 Claims                  5/3/2021 JRW        $      260.00           0.6 telephone conferences and correspondence with vendor regarding proposed contract and fees for       $         156.00
         Administration &                                                        EB records (.6)
         Objections
  May‐21 Claims                  5/4/2021 AW         $      140.00           0.1 Follow up with J. Wine regarding suggested response to claimant, revise his claim, and send email   $           14.00
         Administration &                                                        response (.1)
         Objections
  May‐21 Claims                  5/4/2021 AW         $      140.00           0.2 attention to estimate to retrieve documents for database, research options to download and rough $              28.00
         Administration &                                                        estimate, and call with J. Wine regarding same (.2)
         Objections




                                                                                           174 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 176 of 191 PageID #:53960
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                          Task Description                                                  Task Cost
Month                                      Keeper        Rate
   May‐21 Claims                 5/4/2021 AW        $       140.00        0.2 attention to invoice from claimant, review claim, and email exchange with J. Wine regarding           $            28.00
          Administration &                                                    proposed revisions to claim (.2)
          Objections
   May‐21 Claims                 5/4/2021 AW        $      140.00           0.3 respond to update requests from claimants (.3).                                                     $            42.00
          Administration &
          Objections
   May‐21 Claims                 5/4/2021 JRW       $      260.00           0.1 Confer with A. Watychowicz regarding updating claim (.1)                                            $            26.00
          Administration &
          Objections
   May‐21 Claims                 5/4/2021 JRW       $      260.00           0.2 attention to claimant inquiry (.2).                                                                 $            52.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 AW        $      140.00           0.1 attention to string emails about online vendor and email response to K. Duff and J. Wine (.1).      $            14.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 AW        $      140.00           0.1 Email regarding claimants' specific questions and group email (.1)                                  $            14.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 AW        $      140.00           0.3 research regarding claim and email claims vendor regarding claim form file (.3)                     $            42.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.1 Telephone conference with K. Duff regarding documents in control of third party (.1)                $            26.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.2 email to claimants' counsel and vendor regarding access to documents in control of third‐party (.2). $           52.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.2 email to general counsel for vendor regarding proposed agreement (.2)                               $            52.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.3 confer with vendors regarding software requirements (.3)                                            $            78.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.3 email exchange with counsel for claimants regarding vendor contract (.3)                            $            78.00
          Administration &
          Objections
   May‐21 Claims                 5/5/2021 JRW       $      260.00           0.5 multiple telephone conferences with vendor's counsel regarding EquityBuild documents (.5)           $          130.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 AW        $      140.00           0.2 Call with J. Wine regarding online software and access issues (.2)                                  $            28.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 JRW       $      260.00           0.1 review inquiries from claimant and prior responses of Receiver (.1).                                $            26.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 JRW       $      260.00           0.1 telephone conference with A. Watychowicz regarding same (.1)                                        $            26.00
          Administration &
          Objections
   May‐21 Claims                 5/6/2021 JRW       $      260.00           0.5 email exchanges with vendor and K. Duff regarding revision and execution of license agreement and $            130.00
          Administration &                                                      review same (.5)
          Objections
   May‐21 Claims                 5/6/2021 JRW       $      260.00           0.6 Various email exchanges with claimants' counsel and vendors regarding obtaining access to           $          156.00
          Administration &                                                      EquityBuild documents in control of third parties and production format (.6)
          Objections
   May‐21 Claims                 5/7/2021 AW        $      140.00           0.1 attention to email from claimant regarding update and communicate with K. Duff regarding same       $            14.00
          Administration &                                                      (.1).
          Objections
   May‐21 Claims                 5/7/2021 AW        $      140.00           0.1 Attention to emails from online vendor regarding requested assistance (.1)                          $            14.00
          Administration &
          Objections
   May‐21 Claims                5/10/2021 AW        $      140.00           0.1 follow up on responses to claimants (.1).                                                           $            14.00
          Administration &
          Objections
   May‐21 Claims                5/10/2021 AW        $      140.00           0.1 Research and email K. Duff regarding proposed discovery requests (.1)                               $            14.00
          Administration &
          Objections
   May‐21 Claims                5/10/2021 AW        $      140.00           0.2 attention to email from claimant regarding claim, review claim, and confirm with J. Wine proof of   $            28.00
          Administration &                                                      claim contains all documents (.2)
          Objections
   May‐21 Claims                5/10/2021 AW        $      140.00           0.2 review transcript of proceedings regarding discovery requests approval and email K. Duff same       $            28.00
          Administration &                                                      along with claims process orders (.2)
          Objections
   May‐21 Claims                5/10/2021 JRW       $      260.00           0.1 email exchange with vendor and claimant's counsel regarding payment of invoice (.1)                 $            26.00
          Administration &
          Objections
   May‐21 Claims                5/10/2021 JRW       $      260.00           0.7 Attention to claimant inquiries and related correspondence and investigation (.7)                   $          182.00
          Administration &
          Objections
   May‐21 Claims                5/11/2021 AW        $      140.00           0.1 Email exchanges with J. Wine regarding draft response to claimant (.1)                              $            14.00
          Administration &
          Objections
   May‐21 Claims                5/11/2021 AW        $      140.00           0.2 email responses to claimants (.2).                                                                  $            28.00
          Administration &
          Objections
   May‐21 Claims                5/11/2021 JRW       $      260.00           0.2 review claim forms and related correspondence with A. Watychowicz (.2)                              $            52.00
          Administration &
          Objections
   May‐21 Claims                5/11/2021 JRW       $      260.00           0.3 exchange correspondence with vendor and claimants' counsel regarding EquityBuild documents          $            78.00
          Administration &                                                      project (.3)
          Objections
   May‐21 Claims                5/11/2021 KMP       $      140.00           0.2 Attention to communications with claimants' counsel regarding costs associated with upgrading       $            28.00
          Administration &                                                      software program in connection with claims reporting.
          Objections




                                                                                          175 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 177 of 191 PageID #:53961
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                                Task Description                                           Task Cost
Month                                      Keeper        Rate
   May‐21 Claims                5/13/2021 AW        $       140.00        0.1 respond to claimants' emails (.1).                                                                   $            14.00
          Administration &
          Objections
   May‐21 Claims                5/13/2021 AW        $      140.00           0.8 Review claims and work on responses to claimants (.8)                                              $          112.00
          Administration &
          Objections
   May‐21 Claims                5/13/2021 JRW       $      260.00           0.3 confer with A. Watychowicz regarding claims review chart and add links in Dropbox to same (.3)     $            78.00
          Administration &
          Objections
   May‐21 Claims                5/13/2021 JRW       $      260.00           0.4 review invoice from vendor and related analysis to K. Duff and email exchange with claimants'      $          104.00
          Administration &                                                      counsel and telephone conference with vendor (.4).
          Objections
   May‐21 Claims                5/13/2021 JRW       $      260.00           0.9 Attention to claimant inquiries and correspondence with K. Duff regarding draft responses (.9)     $          234.00
          Administration &
          Objections
   May‐21 Claims                5/14/2021 AW        $      140.00           0.1 respond to claimants' emails (.1).                                                                 $            14.00
          Administration &
          Objections
   May‐21 Claims                5/14/2021 AW        $      140.00           0.1 Attention to emails from online vendor and forward same to claims vendor (.1)                      $            14.00
          Administration &
          Objections
   May‐21 Claims                5/14/2021 JRW       $      260.00           0.2 exchange correspondence with K. Duff, counsel for claimants and SEC regarding preparation of joint $            52.00
          Administration &                                                      status report on EquityBuild documents (.2).
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.1 exchange correspondence with claims vendor regarding invoice (.1)                                  $            26.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.2 review documents in preparation for conference call with document vendor (.2)                      $            52.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.3 conference call with K. Duff and M. Rachlis regarding status report and claims process (.3).       $            78.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.3 prepare property listing and related correspondence with claims vendor (.3)                        $            78.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.6 Conference call with documents vendor and claimants' counsel regarding status of EquityBuild       $          156.00
          Administration &                                                      document database (.6)
          Objections
   May‐21 Claims                5/17/2021 JRW       $      260.00           0.7 review and revise joint status report regarding commencement of claims process and related         $          182.00
          Administration &                                                      internal and external correspondence (.7)
          Objections
   May‐21 Claims                5/17/2021 MR        $      390.00           0.3 conferences with K. Duff and J. Wine regarding joint status report (.3).                           $          117.00
          Administration &
          Objections
   May‐21 Claims                5/17/2021 MR        $      390.00           0.4 Work on joint status report (.4)                                                                   $          156.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 AW        $      140.00           0.2 send email responses to claimants (.2).                                                            $            28.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 AW        $      140.00           0.4 Review claims and draft email responses to claimants (.4)                                          $            56.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 JRW       $      260.00           0.1 email exchange with vendor regarding status of EquityBuild document loading (.1)                   $            26.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 JRW       $      260.00           0.3 exchange correspondence with K. Duff EquityBuild documents (.3).                                   $            78.00
          Administration &
          Objections
   May‐21 Claims                5/18/2021 JRW       $      260.00           1.3 Correspondence with counsel for claimants, M. Rachlis and K. Duff regarding Joint Status Report and $         338.00
          Administration &                                                      related revision of same (1.3)
          Objections
   May‐21 Claims                5/18/2021 MR        $      390.00           0.7 Further work on draft joint status report.                                                         $          273.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 AW        $      140.00           0.1 Respond to claimant's email (.1)                                                                   $            14.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 AW        $      140.00           0.3 communicate with K. Duff and J Wine regarding emails from claimants (.3).                          $            42.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 JRW       $      260.00           0.1 exchange correspondence with K. Duff and K. Pritchard regarding joint status report (.1)           $            26.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 JRW       $      260.00           0.1 review court order relating to joint status report (.1).                                           $            26.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 JRW       $      260.00           0.2 review claimant inquiries and related email exchange with A. Watychowicz (.2)                      $            52.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 JRW       $      260.00           0.2 Exchange correspondence with vendor regarding claims distribution project (.2)                     $            52.00
          Administration &
          Objections
   May‐21 Claims                5/19/2021 JRW       $      260.00           0.5 review sample reports from vendor and related correspondence with K. Duff (.5)                     $          130.00
          Administration &
          Objections
   May‐21 Claims                5/20/2021 JRW       $      260.00           0.1 Email exchange with K. Duff and A. Watychowicz regarding claimant inquiry (.1)                     $            26.00
          Administration &
          Objections
   May‐21 Claims                5/20/2021 JRW       $      260.00           0.2 exchange correspondence with vendor and claimants' counsel regarding EquityBuild document          $            52.00
          Administration &                                                      project (.2).
          Objections




                                                                                          176 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 178 of 191 PageID #:53962
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                            Task Description                                               Task Cost
Month                                       Keeper        Rate
   May‐21 Claims                 5/21/2021 AW        $       140.00        0.1 Respond to claimant's email (.1)                                                                      $           14.00
           Administration &
           Objections
   May‐21 Claims                 5/21/2021 JRW       $      260.00          0.2 Correspondence with claimants' counsel regarding EquityBuild document culling (.2)                   $           52.00
           Administration &
           Objections
   May‐21 Claims                 5/21/2021 JRW       $      260.00          0.6 review correspondence and sample reports from vendor, related telephone conference with vendor $               156.00
           Administration &                                                     and emails regarding scheduling meeting (.6)
           Objections
   May‐21 Claims                 5/24/2021 AW        $      140.00          0.2 attention to contact update request, update contact information, and respond to claimant (.2)        $           28.00
           Administration &
           Objections
   May‐21 Claims                 5/24/2021 AW        $      140.00          0.3 email responses to claimants' inquiries (.3)                                                         $           42.00
           Administration &
           Objections
   May‐21 Claims                 5/24/2021 AW        $      140.00          0.3 Attention to emails from claimants, research regarding same, and email K. Duff and J. Wine           $           42.00
           Administration &                                                     regarding responses and prior communications (.3)
           Objections
   May‐21 Claims                 5/24/2021 JRW       $      260.00          0.4 telephone conference with K. Duff regarding EquityBuild document issues (.4).                        $         104.00
           Administration &
           Objections
   May‐21 Claims                 5/24/2021 JRW       $      260.00          0.7 Conference call with vendor and claimants' counsel regarding EquityBuild document project (.7)       $         182.00
           Administration &
           Objections
   May‐21 Claims                 5/25/2021 JRW       $      260.00          0.1 exchange correspondence with claims vendor regarding database training (.1).                         $           26.00
           Administration &
           Objections
   May‐21 Claims                 5/25/2021 JRW       $      260.00          0.1 related telephone conference with A. Watychowicz regarding EquityBuild documents (.1)                $           26.00
           Administration &
           Objections
   May‐21 Claims                 5/25/2021 JRW       $      260.00            1 Prepare for and participate in conference call with claims vendors regarding EquityBuild documents   $         260.00
           Administration &                                                     (1.0)
           Objections
   May‐21 Claims                 5/26/2021 AW        $      140.00          0.1 email J. Wine and K. Duff regarding scheduled training (.1).                                         $           14.00
           Administration &
           Objections
   May‐21 Claims                 5/26/2021 AW        $      140.00          0.7 Research regarding domains identified by database vendor and detailed email regarding EB vendor      $           98.00
           Administration &                                                     counsel and broker to J. Wine and K. Duff (.7)
           Objections
   May‐21 Claims                 5/26/2021 JRW       $      260.00          0.1 correspondence with claimants' counsel and vendor regarding EquityBuild document culling (.1)        $           26.00
           Administration &
           Objections
   May‐21 Claims                 5/26/2021 JRW       $      260.00          0.1 Confer with A. Watychowicz regarding court's order (.1)                                              $           26.00
           Administration &
           Objections
   May‐21 Claims                 5/26/2021 JRW       $      260.00          1.2 study sender domain and file type summary reports from vendor and related analysis to and            $         312.00
           Administration &                                                     exchange correspondence with K. Duff and A. Watychowicz (1.2).
           Objections
   May‐21 Claims                 5/27/2021 AW        $      140.00          0.1 attention to emails from database vendor (.1)                                                        $           14.00
           Administration &
           Objections
   May‐21 Claims                 5/27/2021 AW        $      140.00          0.1 Follow up with J. Wine regarding responses to claimants (.1)                                         $           14.00
           Administration &
           Objections
   May‐21 Claims                 5/27/2021 AW        $      140.00          0.6 call with K. Duff and J. Wine regarding database issues (.6)                                         $           84.00
           Administration &
           Objections
   May‐21 Claims                 5/27/2021 JRW       $      260.00          0.2 review activity log from third‐party vendor and related exchange of correspondence with counsel      $           52.00
           Administration &                                                     for claimants and vendor (.2).
           Objections
   May‐21 Claims                 5/27/2021 JRW       $      260.00          0.2 Email exchange regarding EquityBuild documents (.2)                                                  $           52.00
           Administration &
           Objections
   May‐21 Claims                 5/27/2021 JRW       $      260.00          0.8 telephone conference with K. Duff and A. Watychowicz regarding EquityBuild document database         $         208.00
           Administration &                                                     issues (.8)
           Objections
   May‐21 Claims                 5/27/2021 JRW       $      260.00          1.1 attend database training session (1.1)                                                               $         286.00
           Administration &
           Objections
   May‐21 Claims                 5/28/2021 AW        $      140.00          0.1 Respond to claimant's email regarding properties grouping (.1)                                       $           14.00
           Administration &
           Objections
   May‐21 Claims                 5/28/2021 AW        $      140.00          0.5 watch part of database webinar (.5).                                                                 $           70.00
           Administration &
           Objections
   May‐21 Claims                 5/28/2021 JRW       $      260.00          0.4 Correspondence with vendor regarding early case assessment database.                                 $         104.00
           Administration &
           Objections
    Jun‐21 Business               6/9/2021 KBD       $      390.00          0.1 Work with J. Wine on response to vendor expense and service issue (.1)                               $           39.00
           Operations
    Jun‐21 Business              6/24/2021 KBD       $      390.00          0.2 exchange correspondence with J. Wine regarding service of City notices (.2).                         $           78.00
           Operations
    Jun‐21 Claims                 6/1/2021 KBD       $      390.00          0.1 attention to claimant communication relating claim reporting (.1)                                    $           39.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 KBD       $      390.00          0.1 exchange correspondence with J. Wine regarding EB documents for records database (.1).               $           39.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 KBD       $      390.00          0.1 study correspondence from document database vendor and exchange related correspondence with $                    39.00
           Administration &                                                     J. Wine (.1)
           Objections
    Jun‐21 Claims                 6/1/2021 KBD       $      390.00          0.1 work on communication with claimants regarding claims documentation (.1)                             $           39.00
           Administration &
           Objections




                                                                                          177 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 179 of 191 PageID #:53963
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                        Task Description                                                   Task Cost
Month                                        Keeper        Rate
    Jun‐21 Claims                 6/1/2021 KBD        $       390.00        0.1 Exchange correspondence with A. Watychowicz and J. Wine regarding invoicing from vendor in            $           39.00
           Administration &                                                     connection with EB document database (.1)
           Objections
    Jun‐21 Claims                 6/2/2021 KBD        $      390.00          0.2 attention to claims documentation vendor invoice and exchange related correspondence with J.         $           78.00
           Administration &                                                      Wine (.2).
           Objections
    Jun‐21 Claims                 6/2/2021 KBD        $      390.00          0.2 Exchange correspondence with J. Wine regarding documents in records database (.2)                    $           78.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 KBD        $      390.00          0.2 attention to payment of claims vendor invoice (.2).                                                  $           78.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 KBD        $      390.00          0.2 Study and exchange correspondence regarding records for EB documents database (.2)                   $           78.00
           Administration &
           Objections
    Jun‐21 Claims                 6/8/2021 KBD        $      390.00          0.2 Exchange correspondence with J. Wine regarding costs of maintaining records and database.            $           78.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 KBD        $      390.00          0.2 Work on response to claimants' counsel regarding claims process and EB documents database.           $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 KBD        $      390.00          0.4 Study accounting records from database vendor.                                                       $         156.00
           Administration &
           Objections
    Jun‐21 Claims                6/14/2021 KBD        $      390.00          0.2 Exchange correspondence regarding communication with claimant regarding issue involving other        $           78.00
           Administration &                                                      claimants (.2)
           Objections
    Jun‐21 Claims                6/16/2021 KBD        $      390.00          0.3 Study draft joint status report, related correspondence, and revision to same.                       $         117.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 KBD        $      390.00          0.3 telephone conference with counsel for claimants regarding subpoena for EB records (.3)               $         117.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 KBD        $      390.00          0.4 study correspondence regarding joint status report and potential third party discovery and related   $         156.00
           Administration &                                                      conference with M. Rachlis and J. Wine (.4).
           Objections
    Jun‐21 Claims                6/17/2021 KBD        $      390.00          0.5 Confer with M. Rachlis and J. Wine regarding claimants request for EB records (.5)                   $         195.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 KBD        $      390.00          0.1 study vendor status report regarding document database and related correspondence (.1).              $           39.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 KBD        $      390.00          0.4 Work on responses to claimants about EB documents database and disputes claims process (.4)          $         156.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 KBD        $      390.00          0.3 review and revise responses to claimants about EB documents database and disputes claims             $         117.00
           Administration &                                                      process (.3).
           Objections
    Jun‐21 Claims                6/22/2021 KBD        $      390.00          0.5 Study and revise document relating to claimants' request for records and exchange related            $         195.00
           Administration &                                                      correspondence with J. Wine (.5)
           Objections
    Jun‐21 Claims                6/23/2021 KBD        $      390.00          0.2 exchange correspondence with J. Wine regarding documents in EB database and production to            $           78.00
           Administration &                                                      claimant (.2).
           Objections
    Jun‐21 Claims                6/23/2021 KBD        $      390.00          0.4 Work on communication with claimants relating to claims process and exchange related                 $         156.00
           Administration &                                                      correspondence with J. Wine, A. Watychowicz, and M. Rachlis (.4)
           Objections
    Jun‐21 Claims                6/24/2021 KBD        $      390.00          0.4 Exchange correspondence with J. Wine regarding issues relating to documents in EB database and       $         156.00
           Administration &                                                      production to claimant (.4)
           Objections
    Jun‐21 Claims                6/25/2021 KBD        $      390.00          0.1 attention to communication from claimant regarding claims process (.1)                               $           39.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 KBD        $      390.00          0.3 exchange correspondence with J. Wine regarding claimants' request for records (.3)                   $         117.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 KBD        $      390.00          0.1 attention to communication from claimant regarding claims document and document database (.1) $                  39.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 KBD        $      390.00          0.2 Exchange correspondence regarding production of documents and protective order issue (.2)            $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 KBD        $      390.00          0.4 work on framing report and related communication and exhibits (.4).                                  $         156.00
           Administration &
           Objections
    Jun‐21 Claims                6/29/2021 KBD        $      390.00          0.4 work on responses to claimant communications relating to claims process (.4)                         $         156.00
           Administration &
           Objections
    Jun‐21 Claims                6/30/2021 KBD        $      390.00          0.2 study and exchange correspondence regarding claimant login landing page for document database        $           78.00
           Administration &                                                      (.2)
           Objections
    Jun‐21 Claims                6/30/2021 KBD        $      390.00          0.2 Work on communications with claimants regarding claims process (.2)                                  $           78.00
           Administration &
           Objections
    Jun‐21 Business              6/23/2021 JRW        $      260.00          0.2 confer with K. Duff and A. Porter regarding approach to handling new notices of code violations      $           52.00
           Operations                                                            regarding sold properties (.2).
    Jun‐21 Business              6/25/2021 JRW        $      260.00          0.1 email exchange with K. Duff regarding process for responding to notices of code violations           $           26.00
           Operations                                                            regarding sold properties (.1)
    Jun‐21 Claims                 6/1/2021 AW         $      140.00          0.1 communicate with J. Wine regarding email from claimant requesting access to claims links (.1)        $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 AW         $      140.00          0.1 correspond with K. Duff and J. Wine regarding online software and terms of agreement (.1).           $           14.00
           Administration &
           Objections




                                                                                           178 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 180 of 191 PageID #:53964
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                          Task Description                                                 Task Cost
Month                                       Keeper        Rate
    Jun‐21 Claims                 6/1/2021 AW        $       140.00        0.1 Email K. Duff and J. Wine regarding response to follow up from claimants (.1)                         $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 AW        $       140.00          0.3 attention to email from database vendor regarding completion of project and communicate with K. $               42.00
           Administration &                                                      Duff and J. Wine regarding next steps (.3)
           Objections
    Jun‐21 Claims                 6/1/2021 AW        $       140.00          0.3 attention to information regarding EquityBuild email records, exchanges with K. Duff and J. Wine    $           42.00
           Administration &                                                      regarding same, and reach out to IT vendor regarding expertise (.3)
           Objections
    Jun‐21 Claims                 6/1/2021 AW        $       140.00          0.5 complete webinar on database review (.5)                                                            $           70.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          0.2 exchange correspondence with A. Watychowicz and K. Duff regarding invoice (.2).                     $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          0.2 review sample reports from vendor and related correspondence with claimants' counsel (.2)           $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          0.2 Confer with documents vendor and A. Watychowicz regarding database access and transfer of files     $           52.00
           Administration &                                                      (.2)
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          0.4 confer with A. Watychowicz and K. Duff regarding process for handling claimant requests for files   $         104.00
           Administration &                                                      going forward (.4)
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          0.5 exchange correspondence with database vendor regarding expansion size and filtering and related     $         130.00
           Administration &                                                      review and discussion with K. Duff and A. Watychowicz of analysis from same (.5)
           Objections
    Jun‐21 Claims                 6/1/2021 JRW       $       260.00          1.9 review records in Explore database and preliminary searches related to culling of same (1.9)        $         494.00
           Administration &
           Objections
    Jun‐21 Claims                 6/2/2021 AW        $       140.00          0.1 update to claims sheet (.1).                                                                        $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/2/2021 AW        $       140.00          0.2 update claimant's contact information and response regarding claims (.2)                            $           28.00
           Administration &
           Objections
    Jun‐21 Claims                 6/2/2021 JRW       $       260.00          0.2 Exchange emails with claimants' counsel regarding EquityBuild document issues (.2)                  $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/2/2021 JRW       $       260.00          0.3 review vendor invoice and related analysis to K. Duff (.3)                                          $           78.00
           Administration &
           Objections
    Jun‐21 Claims                 6/2/2021 JRW       $       260.00          0.5 telephone conference with vendor and claimants' counsel regarding outstanding database issues       $         130.00
           Administration &                                                      (.5)
           Objections
    Jun‐21 Claims                 6/2/2021 JRW       $       260.00          0.7 review reports from vendor and related email to vendor regarding same (.7).                         $         182.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 AW        $       140.00          0.1 communicate with J. Wine regarding framing report and docket deadline for same (.1).                $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 AW        $       140.00          0.1 review files from online software and communicate with J. Wine regarding acceptable format (.1)     $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 AW        $       140.00          0.1 Attention to J. Wine's email regarding discovery issues (.1)                                        $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 AW        $       140.00          0.2 communicate with database vendor regarding transfer of updated files to Receiver (.2)               $           28.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 AW        $       140.00          0.6 call with J. Wine regarding discovery issues (.6)                                                   $           84.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 JRW       $       260.00          0.1 exchange correspondence with claimant's counsel regarding standard discovery (.1).                  $           26.00
           Administration &
           Objections
    Jun‐21 Claims                 6/3/2021 JRW       $       260.00          0.6 telephone conference with A. Watychowicz regarding procedures for claims process and discovery      $         156.00
           Administration &                                                      (.6)
           Objections
    Jun‐21 Claims                 6/3/2021 JRW       $       260.00          0.7 Exchange correspondence with vendor regarding format of EquityBuild documents and related           $         182.00
           Administration &                                                      review of documents and conference with A. Watychowicz (.7)
           Objections
    Jun‐21 Claims                 6/3/2021 KMP       $       140.00          0.4 Prepare form for transfer of funds to service provider for work related to claims repository and    $           56.00
           Administration &                                                      related communication with provider, K. Duff and bank representative.
           Objections
    Jun‐21 Claims                 6/4/2021 JRW       $       260.00          0.1 confer with A. Watychowicz regarding EquityBuild records (.1)                                       $           26.00
           Administration &
           Objections
    Jun‐21 Claims                 6/4/2021 JRW       $       260.00          0.1 Exchange emails with claimants' counsel regarding standard discovery requests (.1)                  $           26.00
           Administration &
           Objections
    Jun‐21 Claims                 6/4/2021 JRW       $       260.00          0.5 review draft correspondence and exchange emails with claimants' counsel regarding vendor pricing, $           130.00
           Administration &                                                      culling of records in EquityBuild database, and format of reports (.5).
           Objections
    Jun‐21 Claims                 6/6/2021 AW        $       140.00          0.2 Attention to email from J. Wine regarding review of emails, look up available accounts, and         $           28.00
           Administration &                                                      response email regarding same.
           Objections
    Jun‐21 Claims                 6/8/2021 AW        $       140.00          0.1 follow up regarding response to claimant and request for recording of loss (.1)                     $           14.00
           Administration &
           Objections
    Jun‐21 Claims                 6/8/2021 AW        $       140.00          0.2 attention to invoice from online vendor and increase in price and attention to communication        $           28.00
           Administration &                                                      regarding same (.2).
           Objections




                                                                                           179 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 181 of 191 PageID #:53965
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                            Task Description                                              Task Cost
Month                                       Keeper        Rate
    Jun‐21 Claims                 6/8/2021 AW        $       140.00        0.3 attention to drive containing claims files and communicate with database vendor regarding issues     $           42.00
           Administration &                                                    with access (.3)
           Objections
    Jun‐21 Claims                 6/8/2021 JRW       $      260.00           0.2 Exchange correspondence with K. Duff and vendor regarding software service.                        $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 AW        $      140.00           0.3 Work with IT vendor and claims vendor to access updated claims files.                              $           42.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.1 confer with A. Watychowicz regarding post‐receivership email records (.1)                          $           26.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.1 confer with database vendor regarding software license (.1)                                        $           26.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.2 correspond with counsel for claimants regarding EquityBuild document database and budget (.2)      $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.2 telephone conference with claimants' counsel regarding claims documentation and related follow‐    $           52.00
           Administration &                                                      up with A. Watychowicz (.2)
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.2 Attention to responding to claimant inquiries (.2)                                                 $           52.00
           Administration &
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.3 correspondence with counsel for claimant regarding former EquityBuild property and related         $           78.00
           Administration &                                                      communication with M. Rachlis (.3).
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.4 exchange correspondence with claimant's counsel regarding document database and related            $         104.00
           Administration &                                                      exchange of draft response with K. Duff (.4)
           Objections
    Jun‐21 Claims                 6/9/2021 JRW       $      260.00           0.8 multiple correspondence with database vendor regarding progress and procedures for claimant        $         208.00
           Administration &                                                      access to database (.8)
           Objections
    Jun‐21 Claims                 6/9/2021 MR        $      390.00           0.2 Follow up on communications regarding claims process with claimant's counsel (.2)                  $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 AW        $      140.00           0.1 Attention to email from claimants' counsel and communicate with J. Wine regarding same (.1)        $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 AW        $      140.00           0.2 respond to claimants' emails regarding claims issues (.2).                                         $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 AW        $      140.00           0.4 communicate with K. Duff regarding response to claimants' counsel regarding contact info and draft $           56.00
           Administration &                                                      email (.4)
           Objections
    Jun‐21 Claims                6/10/2021 AW        $      140.00           0.9 research regarding post receivership email records and detailed related email to J. Wine (.9)      $         126.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 JRW       $      260.00           0.1 email exchange regarding agenda and scheduling for conference with vendor (.1).                    $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 JRW       $      260.00           0.1 email exchange with claimant's counsel regarding database issues (.1)                              $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 JRW       $      260.00           0.1 email exchanges with database vendor regarding document format (.1)                                $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/10/2021 JRW       $      260.00           0.1 review reports from vendor (.1)                                                                    $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/11/2021 AW        $      140.00           0.2 Communicate with claims vendor regarding claims files delivery (.2)                                $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/11/2021 AW        $      140.00           0.3 respond to claimants' emails (.3).                                                                 $           42.00
           Administration &
           Objections
    Jun‐21 Claims                6/14/2021 AW        $      140.00           0.1 Communicate with K. Duff regarding response to claimant and respond to same (.1)                   $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/14/2021 AW        $      140.00           0.2 attention to delivered flash drive, access files, and follow up with vendor regarding same (.2).   $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/14/2021 JRW       $      260.00           0.2 Confer with K. Duff and A. Watychowicz regarding claimant inquiries and responses (.2)             $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/15/2021 AW        $      140.00           0.4 Prepare claims files and email claimants with instructions on how to access (.4)                   $           56.00
           Administration &
           Objections
    Jun‐21 Claims                6/15/2021 JRW       $      260.00           0.1 correspondence with counsel for claimants regarding claims documentation (.1).                     $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/15/2021 JRW       $      260.00           0.1 Confer with A. Watychowicz regarding transfer of claims documentation to claimant (.1)             $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/15/2021 JRW       $      260.00           0.2 review draft motion for leave to file subpoena and related email exchange with K. Duff (.2)        $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00            0                                                                                                     $               ‐
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00           0.1 respond to voice message from claimant regarding question relating to claims (.1)                  $           14.00
           Administration &
           Objections




                                                                                           180 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 182 of 191 PageID #:53966
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                  Task Cost
Month                                       Keeper        Rate
    Jun‐21 Claims                6/16/2021 AW        $       140.00        0.1 review claims and spreadsheets with updates (.1)                                                     $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00          0.1 Follow up emails to claimant regarding password to access claims files (.1)                         $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00          0.2 research and communicate with J. Wine regarding updates to claims files and tracking of same (.2)   $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00          0.3 research proof of claims and supporting documentation and confirm with J. Wine accuracy of          $           42.00
           Administration &                                                     received claims (.3)
           Objections
    Jun‐21 Claims                6/16/2021 AW        $      140.00          0.4 attention to request from claimant's counsel to re‐send claims documents, prepare files, and        $           56.00
           Administration &                                                     respond to same (.4)
           Objections
    Jun‐21 Claims                6/16/2021 JRW       $      260.00          0.2 correspondence to database vendors regarding status of project (.2)                                 $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 JRW       $      260.00          0.2 telephone conference with claimant's counsel regarding claims process (.2)                          $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/16/2021 JRW       $      260.00          0.2 Exchange correspondence with claimants' counsel and A. Watychowicz regarding claims                 $           52.00
           Administration &                                                     documentation (.2)
           Objections
    Jun‐21 Claims                6/16/2021 JRW       $      260.00          0.4 exchange correspondence with claimants' counsel regarding joint status report, review draft and     $         104.00
           Administration &                                                     related email to K. Duff regarding potential additions to same (.4)
           Objections
    Jun‐21 Claims                6/16/2021 JRW       $      260.00            1 study proposed motion and subpoena in preparation for telephone call with claimants' counsel and $            260.00
           Administration &                                                     prepare comments for K. Duff and M. Rachlis (1.0)
           Objections
    Jun‐21 Claims                6/16/2021 MR        $      390.00            1 Review motion regarding claimants' records requests and related follow‐up.                          $         390.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 AW        $      140.00          0.8 Updates to claims files and communicate with J. Wine regarding same (.8)                            $         112.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 AW        $      140.00          1.8 start draft of framing report and exhibits and email J. Wine regarding same (1.8).                  $         252.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.1 exchange correspondence with M. Rachlis regarding draft motion for leave to serve subpoena (.1)     $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.2 confer with K. Duff regarding correspondence from claimants' counsel regarding third party          $           52.00
           Administration &                                                     discovery and respond to same (.2)
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.3 exchange correspondence with counsel for claimants' regarding property groupings for claims         $           78.00
           Administration &                                                     process (.3)
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.3 related email exchange with database vendors regarding terminology (.3)                             $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.3 review and revise joint status report (.3)                                                          $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.3 telephone conference with counsel for claimants regarding motion to use discovery in other          $           78.00
           Administration &                                                     litigation (.3)
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.5 telephone conference with M. Rachlis and K. Duff regarding third‐party subpoenas and motion for     $         130.00
           Administration &                                                     leave to serve subpoena on Receiver (.5)
           Objections
    Jun‐21 Claims                6/17/2021 JRW       $      260.00          0.5 Email correspondence with claimants' counsel regarding joint status report (.5)                     $         130.00
           Administration &
           Objections
    Jun‐21 Claims                6/17/2021 MR        $      390.00            1 Conferences on claims issues and responses to claimants' counsel communications.                    $         390.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 AW        $      140.00          0.2 finalize and file joint status report (.2).                                                         $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 AW        $      140.00          0.4 Review joint status report on claims and email J. Wine regarding revisions (.4)                     $           56.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 JRW       $      260.00          0.1 confer with A. Watychowicz regarding confidentiality order acknowledgements from claimants (.1)     $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 JRW       $      260.00          0.2 related email exchange with claimants' counsel (.2)                                                 $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 JRW       $      260.00          0.3 Correspondence with database vendors regarding process for signing up claimants and required        $           78.00
           Administration &                                                     agreements (.3)
           Objections
    Jun‐21 Claims                6/18/2021 JRW       $      260.00          0.4 additional revisions and finalization of joint status report (.4)                                   $         104.00
           Administration &
           Objections
    Jun‐21 Claims                6/18/2021 JRW       $      260.00          0.5 conference call with database vendors and claimant's counsel regarding procedures for database      $         130.00
           Administration &                                                     access (.5).
           Objections
    Jun‐21 Claims                6/18/2021 MR        $      390.00          0.2 Follow up on joint status report.                                                                   $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/19/2021 AW        $      140.00          0.3 Prepare service email and email claimants joint status report.                                      $           42.00
           Administration &
           Objections




                                                                                           181 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 183 of 191 PageID #:53967
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                       Task Description                                                    Task Cost
Month                                       Keeper        Rate
    Jun‐21 Claims                6/21/2021 AW        $       140.00        0.1 communicate with claims vendor regarding response to claimant (.1)                                    $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 AW        $      140.00          0.2 communicate with K. Duff and J. Wine regarding responses to claimants (.2)                           $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 AW        $      140.00          0.3 Call with J. Wine regarding claims process (.3)                                                      $           42.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 JRW       $      260.00          0.1 confer with database vendor regarding claimant emails (.1)                                           $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/21/2021 JRW       $      260.00          0.2 exchange correspondence with database vendor regarding status of EquityBuild document                $           52.00
           Administration &                                                     database project (.2)
           Objections
    Jun‐21 Claims                6/21/2021 JRW       $      260.00          0.3 telephone conference with A. Watychowicz regarding institution of claims process and related         $           78.00
           Administration &                                                     filings (.3).
           Objections
    Jun‐21 Claims                6/21/2021 JRW       $      260.00          0.3 Attention to claimant inquiries (.3)                                                                 $           78.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 AW        $      140.00          0.1 communicate with J. Wine regarding service list containing email addresses of claimants and          $           14.00
           Administration &                                                     counsel and timing to prepare (.1).
           Objections
    Jun‐21 Claims                6/22/2021 AW        $      140.00          0.1 communicate with K. Duff regarding claimant's email (.1)                                             $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 AW        $      140.00          0.2 draft response to emails regarding database (.2)                                                     $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 AW        $      140.00          0.2 respond to claimants requesting update to mailing address and update same (.2)                       $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 AW        $      140.00          2.1 prepare conformed names files and list of acknowledgments received to date (2.1)                     $         294.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.1 correspondence to counsel regarding suggested revision of proposed motion (.1)                       $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.1 Exchange correspondence with database vendor regarding database project (.1)                         $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.2 correspondence to SEC and related exchange with K. Duff (.2)                                         $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.2 review and comment on proposed vendor service agreement for claimants (.2).                          $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.3 confer with A. Watychowicz regarding list of claimant email addresses for vendor, confidentiality    $           78.00
           Administration &                                                     order acknowledgments and related review of spreadsheet (.3)
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.7 attention to responses to claimant inquiries and related email to all claimants regarding document   $         182.00
           Administration &                                                     database (.7)
           Objections
    Jun‐21 Claims                6/22/2021 JRW       $      260.00          0.9 further revision of proposed motion for leave to serve subpoena and related correspondence with      $         234.00
           Administration &                                                     M. Rachlis (.9)
           Objections
    Jun‐21 Claims                6/23/2021 AW        $      140.00          0.1 respond to claimant's email requesting return of investment (.1)                                     $           14.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 AW        $      140.00          0.2 call with J. Wine regarding email to claimants regarding database (.2)                               $           28.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 AW        $      140.00          0.6 review and comment on draft email to claimants regarding EquityBuild documents (.6).                 $           84.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 AW        $      140.00          4.1 Work on service list containing email addresses of claimants and counsel (4.1)                       $         574.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.1 confer with database vendor regarding logistics for execution of confidentiality order               $           26.00
           Administration &                                                     acknowledgement (.1)
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.1 related correspondence with claimants' counsel (.1)                                                  $           26.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.2 confer with database vendors regarding EquityBuild document project status (.2)                      $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.2 confer with K. Duff and database vendor regarding documents in database (.2).                        $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.2 review and revise database checkbox language (.2)                                                    $           52.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.3 confer with A Watychowicz regarding updates to standard discovery requests for and related           $           78.00
           Administration &                                                     review of drafts (.3)
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00          0.4 exchange drafts of notice to claimants with K. Duff and SEC (.4)                                     $         104.00
           Administration &
           Objections
    Jun‐21 Claims                6/23/2021 JRW       $      260.00            1 Continue working with A. Watychowicz on draft email to claimants regarding EquityBuild documents $             260.00
           Administration &                                                     (1.0)
           Objections




                                                                                          182 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 184 of 191 PageID #:53968
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
            Billing Category   Entry Date                           Task Hours                                        Task Description                                                    Task Cost
Month                                       Keeper        Rate
    Jun‐21 Claims                6/23/2021 MR        $       390.00        0.4 Review draft communications regarding claims process issues, and related follow up and exchange       $          156.00
           Administration &                                                    of emails.
           Objections
    Jun‐21 Claims                6/24/2021 AW        $      140.00          0.2 call with J. Wine regarding email to claimants (.2)                                                  $            28.00
           Administration &
           Objections
    Jun‐21 Claims                6/24/2021 AW        $      140.00          0.4 work on revisions to letter to claimants and related email exchanges with J. Wine (.4)               $            56.00
           Administration &
           Objections
    Jun‐21 Claims                6/24/2021 AW        $      140.00          0.5 finalize email and send email to all claimants and counsel (.5).                                     $            70.00
           Administration &
           Objections
    Jun‐21 Claims                6/24/2021 AW        $      140.00          1.3 continue updates to claimants emailing list (1.3)                                                    $          182.00
           Administration &
           Objections
    Jun‐21 Claims                6/24/2021 JRW       $      260.00          0.1 confer with A. Watychowicz regarding service issues (.1).                                            $            26.00
           Administration &
           Objections
    Jun‐21 Claims                6/24/2021 JRW       $      260.00          0.3 confer with database vendor regarding files sizes and records included in database and related       $            78.00
           Administration &                                                     correspondence with K. Duff (.3)
           Objections
    Jun‐21 Claims                6/24/2021 JRW       $      260.00          0.4 Exchange correspondence with counsel and K. Duff regarding motion to serve subpoena and              $          104.00
           Administration &                                                     documents in database (.4)
           Objections
    Jun‐21 Claims                6/24/2021 JRW       $      260.00          0.8 circulate draft communication to claimants regarding EquityBuild documents to claimants' counsel,    $          208.00
           Administration &                                                     SEC, and database vendor and related correspondence and revisions to same (.8)
           Objections
    Jun‐21 Claims                6/24/2021 KMP       $      140.00          0.2 Communicate with A. Watychowicz and S. Zjalic regarding draft email to claimants regarding           $            28.00
           Administration &                                                     availability and terms for access to document database.
           Objections
    Jun‐21 Claims                6/25/2021 AW        $      140.00          0.2 communicate with J. Wine regarding email issue and proposition to post notice regarding              $            28.00
           Administration &                                                     EquityBuild documents to Receivership webpage (.2)
           Objections
    Jun‐21 Claims                6/25/2021 AW        $      140.00          0.2 Update mailing info and notify claimant of same (.2)                                                 $            28.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 AW        $      140.00          0.8 start revisions to claimants' email list (.8).                                                       $          112.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.1 exchange correspondence with database vendor regarding status of project (.1)                        $            26.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.2 review and comment on database landing page and related correspondence with database vendor          $            52.00
           Administration &                                                     regarding procedures and instructions (.2)
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.2 telephone conference with A. Watychowicz regarding updated counsel of record listing (.2)            $            52.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.2 Email exchange with database vendor regarding records (.2)                                           $            52.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.6 attention to claimant inquiry and related review of emails in receiver email accounts (.6)           $          156.00
           Administration &
           Objections
    Jun‐21 Claims                6/25/2021 JRW       $      260.00          0.6 correspondence with counsel for claimants regarding EquityBuild documents, and related exchange $               156.00
           Administration &                                                     of drafts with M. Rachlis and K. Duff and correspondence with counsel for SEC (.6)
           Objections
    Jun‐21 Claims                6/25/2021 MR        $      390.00          0.3 Attention to issues with subpoena from claimants.                                                    $          117.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 AW        $      140.00          0.4 attention to emails regarding standard discovery requests and revise current drafts accordingly (.4). $           56.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 JRW       $      260.00          0.3 attention to claimant inquiry and related correspondence with K. Duff and A. Watychowicz (.3)        $            78.00
           Administration &
           Objections
    Jun‐21 Claims                6/28/2021 JRW       $      260.00          0.6 Exchange emails with SEC, K. Duff and M. Rachlis regarding proposed motion to serve subpoena,        $          156.00
           Administration &                                                     revise same and send redline to counsel for claimants (.6)
           Objections
    Jun‐21 Claims                6/28/2021 MR        $      390.00          0.2 Further attention to issues on motion related to claimants' request for records.                     $            78.00
           Administration &
           Objections
    Jun‐21 Claims                6/29/2021 AW        $      140.00          0.3 attention to emails regarding EB database and instructions and related call with J. Wine (.3)        $            42.00
           Administration &
           Objections
    Jun‐21 Claims                6/29/2021 AW        $      140.00          2.8 Work on responses and respond to claimants' emails regarding EquityBuild document database and       $          392.00
           Administration &                                                     other inquiries (2.8)
           Objections
    Jun‐21 Claims                6/29/2021 JRW       $      260.00          0.2 exchange correspondence to database vendors (.2)                                                     $            52.00
           Administration &
           Objections
    Jun‐21 Claims                6/29/2021 JRW       $      260.00          1.1 Attention to investigating and responding to claimant inquiries (1.1)                                $          286.00
           Administration &
           Objections
    Jun‐21 Claims                6/30/2021 AW        $      140.00          0.4 email J. Wine comments and suggested revisions to database instructions (.4).                        $            56.00
           Administration &
           Objections
    Jun‐21 Claims                6/30/2021 AW        $      140.00          0.5 Work on responses and respond to claimants' emails regarding EquityBuild document database (.5)      $            70.00
           Administration &
           Objections
    Jun‐21 Claims                6/30/2021 JRW       $      260.00          0.3 test database and related communication with database vendor (.3)                                    $            78.00
           Administration &
           Objections




                                                                                           183 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 185 of 191 PageID #:53969
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                        Time      Time Keeper
             Billing Category   Entry Date                            Task Hours                                          Task Description                                                    Task Cost
Month                                         Keeper        Rate
    Jun‐21 Claims                 6/30/2021 JRW        $       260.00        0.3 Correspondence to court clerk regarding procedures for claims process (.3)                               $           78.00
            Administration &
            Objections
    Jun‐21 Claims                 6/30/2021 JRW        $      260.00           0.4 correspondence with vendor regarding database instructions to claimants (.4)                           $         104.00
            Administration &
            Objections
    Jun‐21 Claims                 6/30/2021 JRW        $      260.00           0.6 draft response to claimant inquiries (.6)                                                              $         156.00
            Administration &
            Objections
    Jun‐21 Claims                 6/30/2021 JRW        $      260.00           0.8 review and suggest revisions to database vendor's instructions to claimants, related conference        $         208.00
            Administration &                                                       with A. Watychowicz (.8)
            Objections
     Jul‐21 Claims                 7/6/2021 KBD        $      390.00           0.3 study standard discovery and related exchange of correspondence with J. Wine. M. Rachlis, and A.       $         117.00
            Administration &                                                       Watychowicz (all) (.3)
            Objections
     Jul‐21 Claims                 7/6/2021 KBD        $      390.00           0.5 Telephone conference and exchange correspondence with J. Wine regarding framing report and             $         195.00
            Administration &                                                       review and revise draft framing report (all) (.5)
            Objections
     Jul‐21 Claims                 7/7/2021 KBD        $      390.00           0.2 exchange correspondence with counsel regarding claimant's claim and request for information, and $                 78.00
            Administration &                                                       exchange related correspondence with J. Wine (all) (.2)
            Objections
     Jul‐21 Claims                 7/7/2021 KBD        $      390.00           0.2 study revised standard discovery requests (all) (.2).                                                  $           78.00
            Administration &
            Objections
     Jul‐21 Claims                 7/9/2021 KBD        $      390.00           0.3 Study draft communication to claimants regarding claims process and discovery and exchange             $         117.00
            Administration &                                                       correspondence with J. Wine regarding potential discovery issues (all) (.3)
            Objections
     Jul‐21 Claims                7/12/2021 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding vendor invoice and Court approved payment (all)         $           78.00
            Administration &                                                       (.2)
            Objections
     Jul‐21 Claims                7/13/2021 KBD        $      390.00           0.1 exchange correspondence regarding production of files from claims vendor (all) (.1).                   $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/14/2021 KBD        $      390.00           0.2 Exchange correspondence regarding inquiry regarding claimant's claim (all) (.2)                        $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/15/2021 KBD        $      390.00           0.1 work on claims analysis approach (all) (.1)                                                            $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/16/2021 KBD        $      390.00           0.2 Exchange correspondence regarding evaluation of secured status for claims (all).                       $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/19/2021 KBD        $      390.00           0.2 Work on response to claimant inquiry (all).                                                            $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/20/2021 KBD        $      390.00           0.2 Attention to communication from claimant and exchange related correspondence with A.                   $           78.00
            Administration &                                                       Watychowicz (all).
            Objections
     Jul‐21 Claims                7/26/2021 KBD        $      390.00           0.1 attention to claimant production records issue (all) (.1).                                             $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/26/2021 KBD        $      390.00           0.1 exchange correspondence with A. Porter regarding third party failure to submit claim (all) (.1)        $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/27/2021 KBD        $      390.00           0.2 attention to claims documentation vendor invoice (all) (.2).                                           $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/28/2021 KBD        $      390.00           0.1 exchange correspondence regarding claims review and analysis (all) (.1)                                $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/28/2021 KBD        $      390.00           0.1 Attention to communication with claimant regarding claim form issues (all) (.1)                        $           39.00
            Administration &
            Objections
     Jul‐21 Claims                7/29/2021 KBD        $      390.00           0.2 attention to correspondence with third party vendor regarding notice and collection issue (all) (.2)   $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/29/2021 KBD        $      390.00           0.2 study and revise correspondence to claimant regarding collection and claim issue (all) (.2)            $           78.00
            Administration &
            Objections
     Jul‐21 Claims                7/29/2021 KBD        $      390.00           0.2 Exchange correspondence with J. Wine and A. Porter regarding claims process and review planning        $           78.00
            Administration &                                                       (all) (.2)
            Objections
     Jul‐21 Claims                7/30/2021 KBD        $      390.00           0.2 study correspondence from claimants' counsel regarding request for EB records and potential            $           78.00
            Administration &                                                       subpoena (all) (.2)
            Objections
     Jul‐21 Claims                 7/1/2021 AW         $      140.00           0.1 review database instructions and related correspondence with J. Wine (all) (.1).                       $           14.00
            Administration &
            Objections
     Jul‐21 Claims                 7/1/2021 AW         $      140.00           0.5 Work on responses and respond to claimants' emails regarding EquityBuild Document database (all) $                 70.00
            Administration &                                                       (.5)
            Objections
     Jul‐21 Claims                 7/1/2021 JRW        $      260.00           0.2 exchange emails regarding vendor invoice and related correspondence to vendor (.2).                    $           52.00
            Administration &
            Objections
     Jul‐21 Claims                 7/1/2021 JRW        $      260.00           0.2 Attention to claimant inquiries (all) (.2)                                                             $           52.00
            Administration &
            Objections
     Jul‐21 Claims                 7/1/2021 JRW        $      260.00           0.4 exchange correspondence with database vendor regarding revised instructions for database               $         104.00
            Administration &                                                       searching and log in credentials for team members (all) (.4)
            Objections
     Jul‐21 Claims                 7/6/2021 AW         $      140.00           0.1 Attention to acknowledgment received from claimant's counsel and update list for vendor (.1)           $           14.00
            Administration &
            Objections




                                                                                              184 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 186 of 191 PageID #:53970
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                            Task Description                                                 Task Cost
Month                                        Keeper        Rate
    Jul‐21 Claims                 7/6/2021 JRW        $       260.00        0.2 revisions to standard discovery to institutional lenders (all) (.2)                                     $           52.00
           Administration &
           Objections
    Jul‐21 Claims                 7/6/2021 JRW        $       260.00           0.4 work with A. Watychowicz on finalizing standard discovery requests to investors (all) (.4)           $         104.00
           Administration &
           Objections
    Jul‐21 Claims                 7/6/2021 MR         $       390.00           0.3 attention to draft standard discovery and related communications (all) (.3).                         $         117.00
           Administration &
           Objections
    Jul‐21 Claims                 7/7/2021 JRW        $       260.00           0.1 attention to inquiry from claimants' counsel (all) (.1)                                              $           26.00
           Administration &
           Objections
    Jul‐21 Claims                 7/8/2021 JRW        $       260.00           0.4 confer with database vendor and search EquityBuild document database (all) (.4).                     $         104.00
           Administration &
           Objections
    Jul‐21 Claims                 7/9/2021 AW         $       140.00           0.1 Email claimant regarding claims process and timing (all) (.1)                                        $           14.00
           Administration &
           Objections
    Jul‐21 Claims                 7/9/2021 AW         $       140.00           0.2 review claims and related communication with J. Wine (all) (.2)                                      $           28.00
           Administration &
           Objections
    Jul‐21 Claims                 7/9/2021 AW         $       140.00           0.5 track down requested correspondence to/from claimant and related email exchange with J. Rak (all) $              70.00
           Administration &                                                        (.5)
           Objections
    Jul‐21 Claims                 7/9/2021 AW         $       140.00           0.6 attention to email from creditor, research regarding prior correspondence and notice of receivership $           84.00
           Administration &                                                        and claims, attention to draft response from K. Duff (all) (.6)
           Objections
    Jul‐21 Claims                 7/9/2021 JRW        $       260.00           0.1 correspondence and research regarding notice provided to claimant (all) (.1)                         $           26.00
           Administration &
           Objections
    Jul‐21 Claims                 7/9/2021 JRW        $       260.00           0.3 Research regarding claimant in response to counsel inquiry (all) (.3)                                $           78.00
           Administration &
           Objections
    Jul‐21 Claims                7/12/2021 AW         $       140.00           0.2 attention to email from creditor and email response regarding ongoing claims process (all) (.2).     $           28.00
           Administration &
           Objections
    Jul‐21 Claims                7/12/2021 JRW        $       260.00           0.2 confer with K. Duff regarding documents from defendants' laptops (.2)                                $           52.00
           Administration &
           Objections
    Jul‐21 Claims                7/12/2021 JRW        $       260.00           0.9 attention to responding to claimant inquiries (all) (.9).                                            $         234.00
           Administration &
           Objections
    Jul‐21 Claims                7/12/2021 JRW        $       260.00           1.2 review documents in database and related correspondence with database vendor (all) (1.2)             $         312.00
           Administration &
           Objections
    Jul‐21 Claims                7/12/2021 KMP        $       140.00           0.2 Communications with K. Duff and J. Wine regarding claims database vendor.                            $           28.00
           Administration &
           Objections
    Jul‐21 Claims                7/13/2021 JRW        $       260.00           0.1 exchange emails with vendor regarding database (all) (.1).                                           $           26.00
           Administration &
           Objections
    Jul‐21 Claims                7/13/2021 KMP        $       140.00           0.2 Prepare forms for funds transfers to services vendor and related communications with bank            $           28.00
           Administration &                                                        representatives and K. Duff.
           Objections
    Jul‐21 Claims                7/14/2021 JRW        $       260.00           0.3 telephone conference with counsel for claimant and related email exchange with K. Duff (all) (.3).   $           78.00
           Administration &
           Objections
    Jul‐21 Claims                7/16/2021 JRW        $       260.00           0.2 office conference with K. Duff regarding claims process and timing (all) (.2).                       $           52.00
           Administration &
           Objections
    Jul‐21 Claims                7/22/2021 AW         $       140.00           0.1 Attention to email from claimant requesting a call and follow up by email (all) (.1)                 $           14.00
           Administration &
           Objections
    Jul‐21 Claims                7/26/2021 JRW        $       260.00           0.3 review invoices from vendor and related correspondence (all) (.3).                                   $           78.00
           Administration &
           Objections
    Jul‐21 Claims                7/26/2021 JRW        $       260.00           0.6 Attention to claimant inquiries regarding claims process (all) (.6)                                  $         156.00
           Administration &
           Objections
    Jul‐21 Claims                7/27/2021 JRW        $       260.00           0.1 Attention to claimant inquiries (all) (.1)                                                           $           26.00
           Administration &
           Objections
    Jul‐21 Claims                7/27/2021 JRW        $       260.00           0.2 correspondence to database vendor and claimants' counsel regarding document database issues          $           52.00
           Administration &                                                        (all) (.2)
           Objections
    Jul‐21 Claims                7/27/2021 JRW        $       260.00           0.2 review vendor invoices and related email exchanges with K. Duff and K. Pritchard (all) (.2).         $           52.00
           Administration &
           Objections
    Jul‐21 Claims                7/27/2021 KMP        $       140.00           0.2 Communicate with K. Duff and J. Wine regarding claims data vendor invoice .                          $           28.00
           Administration &
           Objections
    Jul‐21 Claims                7/28/2021 AW         $       140.00           0.1 follow up with J. Wine regarding response to claimant's counsel (all) (.1)                           $           14.00
           Administration &
           Objections
    Jul‐21 Claims                7/28/2021 JRW        $       260.00           0.3 Email exchanges with database vendor and claimants' counsel regarding database maintenance           $           78.00
           Administration &                                                        issues (all) (.3)
           Objections
    Jul‐21 Claims                7/28/2021 JRW        $       260.00           0.4 attention to claimant inquiries (all) (.4)                                                           $         104.00
           Administration &
           Objections
    Jul‐21 Claims                7/28/2021 JRW        $       260.00           1.3 study fund documents and related analysis (all) (1.3)                                                $         338.00
           Administration &
           Objections




                                                                                              185 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 187 of 191 PageID #:53971
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                       Time      Time Keeper
            Billing Category   Entry Date                            Task Hours                                         Task Description                                                   Task Cost
Month                                        Keeper        Rate
    Jul‐21 Claims                7/28/2021 JRW        $       260.00        1.5 review proof of claim and supporting documents and related correspondence with K. Duff (all) (1.5). $            390.00
           Administration &
           Objections
    Jul‐21 Claims                7/28/2021 KMP        $      140.00           0.2 Prepare payment for claims data vendor invoice.                                                      $           28.00
           Administration &
           Objections
    Jul‐21 Claims                7/29/2021 JRW        $      260.00           0.3 exchange correspondence with claimants counsel regarding claims documentation and related            $           78.00
           Administration &                                                       communications with A. Watychowicz regarding records from vendor (all) (.3).
           Objections
    Jul‐21 Claims                7/30/2021 JRW        $      260.00           0.2 videoconference with K. Duff regarding claims process (all) (.2)                                     $           52.00
           Administration &
           Objections
    Jul‐21 Claims                7/30/2021 JRW        $      260.00           0.3 Exchange correspondence with database vendors regarding database issues (all) (.3)                   $           78.00
           Administration &
           Objections
    Jul‐21 Claims                7/30/2021 JRW        $      260.00           1.8 search documents in database (all) (1.8)                                                             $         468.00
           Administration &
           Objections
   Aug‐21 Claims                  8/2/2021 KBD        $      390.00           0.1 attention to communication with claimant (all) (.1).                                                 $           39.00
           Administration &
           Objections
   Aug‐21 Claims                  8/2/2021 KBD        $      390.00           0.7 study communication from claimant's counsel regarding nature of claim and discovery and              $         273.00
           Administration &                                                       exchange related correspondence with J. Wine (all) (.7)
           Objections
   Aug‐21 Claims                  8/3/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding communication with claimants' counsel relating        $           39.00
           Administration &                                                       to discovery and claims against funds (all) (.1)
           Objections
   Aug‐21 Claims                  8/3/2021 KBD        $      390.00           0.2 exchange correspondence with A. Watychowicz regarding functionality of document database (all)       $           78.00
           Administration &                                                       (.2).
           Objections
   Aug‐21 Claims                  8/4/2021 KBD        $      390.00           0.1 exchange correspondence with J. Wine regarding communication with claimants' counsel regarding $                 39.00
           Administration &                                                       request for records (all) (.1)
           Objections
   Aug‐21 Claims                  8/4/2021 KBD        $      390.00           0.2 exchange correspondence with J. Wine and A. Watychowicz regarding functionality of document          $           78.00
           Administration &                                                       database (all) (.2).
           Objections
   Aug‐21 Claims                  8/5/2021 KBD        $      390.00           0.1 Work on response to claimant regarding standard discovery (all) (.1)                                 $           39.00
           Administration &
           Objections
   Aug‐21 Claims                  8/6/2021 KBD        $      390.00           0.3 exchange correspondence with J. Wine regarding communication with claimants' counsel regarding $               117.00
           Administration &                                                       motion for EB documents, subpoena, and proposed order (all) (.3).
           Objections
   Aug‐21 Claims                  8/9/2021 KBD        $      390.00           0.1 exchange correspondence regarding claimant request for claims information (all) (.1)                 $           39.00
           Administration &
           Objections
   Aug‐21 Claims                  8/9/2021 KBD        $      390.00           0.2 exchange correspondence with J. Wine regarding claims totals and payments to claimants (all) (.2).   $           78.00
           Administration &
           Objections
   Aug‐21 Claims                 8/11/2021 KBD        $      390.00           0.1 exchange correspondence with A. Watychowicz regarding document database functionality issue          $           39.00
           Administration &                                                       (all) (.1)
           Objections
   Aug‐21 Claims                 8/11/2021 KBD        $      390.00           0.1 study correspondence from J. Wine regarding claimants’ request for records and related               $           39.00
           Administration &                                                       confidentiality issues (all) (.1).
           Objections
   Aug‐21 Claims                 8/11/2021 KBD        $      390.00           1.8 work on claims analysis with A. Porter, J. Wine, J. Rak, and A. Watychowicz (all) (1.8)              $         702.00
           Administration &
           Objections
   Aug‐21 Claims                 8/13/2021 KBD        $      390.00           0.2 Exchange correspondence with J. Wine regarding issues relating to claimants' request for claims      $           78.00
           Administration &                                                       documentation (all) (.2)
           Objections
   Aug‐21 Claims                 8/16/2021 KBD        $      390.00           0.1 Attention to claimant communication regarding claim and procedures (all).                            $           39.00
           Administration &
           Objections
   Aug‐21 Claims                 8/17/2021 KBD        $      390.00           0.5 legal research regarding mortgage validity and enforceability issues (all) (.5)                      $         195.00
           Administration &
           Objections
   Aug‐21 Claims                 8/18/2021 KBD        $      390.00           0.1 Exchange correspondence with J. Wine regarding document database vendor invoice (all) (.1)           $           39.00
           Administration &
           Objections
   Aug‐21 Claims                 8/20/2021 KBD        $      390.00           0.7 Work on claimants' request for records and exchange related correspondence (all) (.7)                $         273.00
           Administration &
           Objections
   Aug‐21 Claims                 8/22/2021 KBD        $      390.00           0.2 Work on response to claimants' request for records and exchange related correspondence (all).        $           78.00
           Administration &
           Objections
   Aug‐21 Claims                 8/23/2021 KBD        $      390.00           0.2 attention to communication with claimant (all) (.2).                                                 $           78.00
           Administration &
           Objections
   Aug‐21 Claims                 8/23/2021 KBD        $      390.00           0.3 Exchange correspondence regarding claimants' request for records (all) (.3)                          $         117.00
           Administration &
           Objections
   Aug‐21 Claims                 8/25/2021 KBD        $      390.00           0.1 attention to claimant inquiry regarding claims process (all) (.1).                                   $           39.00
           Administration &
           Objections
   Aug‐21 Claims                 8/25/2021 KBD        $      390.00           0.1 study correspondence from and telephone conference with claimant's counsel regarding request         $           39.00
           Administration &                                                       for records and exchange related correspondence (all) (.1)
           Objections
   Aug‐21 Claims                 8/26/2021 KBD        $      390.00           0.1 study correspondence from claimants’ counsel regarding motion for access to claimant records and $               39.00
           Administration &                                                       EB database and exchange related correspondence J. Wine (all) (.1).
           Objections
   Aug‐21 Claims                 8/30/2021 KBD        $      390.00           0.1 attention to issue relating to sequence of claims groups (all) (.1).                                 $           39.00
           Administration &
           Objections




                                                                                            186 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 188 of 191 PageID #:53972
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                             Task Description                                                Task Cost
Month                                       Keeper        Rate
   Aug‐21 Claims                8/30/2021 KBD        $       390.00        0.5 telephone conference with J. Wine and M. Rachlis regarding hearing before Judge Lee on claimants' $               195.00
          Administration &                                                     request to use EB records in third party litigation (all) (.5)
          Objections
   Aug‐21 Claims                8/30/2021 KBD        $      390.00          0.6 Confer with legal team regarding analysis of EB transactions (all) (.6)                                $         234.00
          Administration &
          Objections
   Aug‐21 Claims                8/31/2021 KBD        $      390.00          0.4 Prepare for hearing before Judge Lee and exchange correspondence with M. Rachlis regarding             $         156.00
          Administration &                                                      claimants' request to use documents in third party litigation (all) (.4)
          Objections
   Aug‐21 Claims                8/31/2021 KBD        $      390.00          0.5 appear before Judge Lee for hearing (all) (.5).                                                        $         195.00
          Administration &
          Objections
   Aug‐21 Asset Disposition     8/30/2021 JR         $      140.00          0.1 review email from K. Pritchard requesting property owner information and provide requested             $           14.00
                                                                                EquityBuild portfolio spreadsheet with required information (all) (.1).
   Aug‐21 Claims                 8/2/2021 JRW        $      260.00          0.7 review draft motion to serve subpoena and revision history of same, and related correspondence         $         182.00
          Administration &                                                      with counsel for claimants and review of new draft (all) (.7).
          Objections
   Aug‐21 Claims                 8/4/2021 AW         $      140.00          0.3 Confer with J. Wine regarding issues with database and number of unique claimants and monetary         $           42.00
          Administration &                                                      claims (.3)
          Objections
   Aug‐21 Claims                 8/4/2021 JRW        $      260.00          0.1 telephone conference with counsel for claimants regarding claims submissions (all) (.1)                $           26.00
          Administration &
          Objections
   Aug‐21 Claims                 8/4/2021 JRW        $      260.00          0.2 exchange correspondence with counsel for claimants regarding motion and proposed order (all) (.2) $                52.00
          Administration &
          Objections
   Aug‐21 Claims                 8/5/2021 AW         $      140.00          0.5 call regarding database issues with J. Wine and database vendor (all) (.5)                             $           70.00
          Administration &
          Objections
   Aug‐21 Claims                 8/6/2021 AW         $      140.00          0.1 communicate with J. Wine regarding total of claims (all) (.1).                                         $           14.00
          Administration &
          Objections
   Aug‐21 Claims                 8/6/2021 JRW        $      260.00          0.9 review and comment on proposed order granting motion to serve subpoena, revisions to motion            $         234.00
          Administration &                                                      and related correspondence with SEC and counsel for claimants (all) (.9)
          Objections
   Aug‐21 Claims                 8/6/2021 MR         $      390.00          0.2 Review communications regarding motion for subpoena and related follow up (all).                       $           78.00
          Administration &
          Objections
   Aug‐21 Claims                 8/9/2021 AW         $      140.00          0.3 review sheet depicting total claims and J. Wine's interpretation and related email to K. Duff and J.   $           42.00
          Administration &                                                      Wine (.3)
          Objections
   Aug‐21 Claims                 8/9/2021 AW         $      140.00          2.1 Work in database to locate files requested by K. Duff and related communication forwarding located $             294.00
          Administration &                                                      documents (all) (2.1)
          Objections
   Aug‐21 Claims                 8/9/2021 JRW        $      260.00          0.1 telephone conference with counsel for claimants regarding proposed order granting motion to            $           26.00
          Administration &                                                      serve subpoena and issues relating to claims against the estate (all) (.1).
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.1 communicate with K. Duff regarding database search results (all) (.1)                                  $           14.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.1 email communications regarding claims call with J. Rak and K. Pritchard (all) (.1)                     $           14.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.1 email J. Rak requested claims documents (all) (.1)                                                     $           14.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.2 call with J. Wine regarding email list and updates (all) (.2)                                          $           28.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.2 email exchange with J. Wine regarding update to claimants' contacts and process (all) (.2)             $           28.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 AW         $      140.00          0.6 start working on update to contact list for claimants (all) (.6).                                      $           84.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 JRW        $      260.00          0.3 confer with A. Watychowicz regarding counsel of record for claimants (all) (.3)                        $           78.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 JRW        $      260.00          0.3 work with database vendor regarding imaging of records and other database issues (all) (.3)            $           78.00
          Administration &
          Objections
   Aug‐21 Claims                8/11/2021 JRW        $      260.00          0.4 telephone conference with claimants' counsel regarding discovery matter and related comments to $                104.00
          Administration &                                                      K. Duff and M. Rachlis (all) (.4)
          Objections
   Aug‐21 Claims                8/12/2021 AW         $      140.00          0.8 continued work and communication with J. Wine regarding updated service list (all) (.8)                $         112.00
          Administration &
          Objections
   Aug‐21 Claims                8/12/2021 AW         $      140.00          1.3 continue work on service list (all) (1.3)                                                              $         182.00
          Administration &
          Objections
   Aug‐21 Claims                8/13/2021 AW         $      140.00          1.1 Work on updates to service list (all) (1.1)                                                            $         154.00
          Administration &
          Objections
   Aug‐21 Claims                8/13/2021 JRW        $      260.00          0.3 review revised motion to serve subpoena from claimants' counsel and related internal                   $           78.00
          Administration &                                                      correspondence (all) (.3)
          Objections
   Aug‐21 Claims                8/14/2021 AEP        $      390.00          1.7 Begin preparation of comprehensive overview of claims process, including segregation of properties $             663.00
          Administration &                                                      into logical groups, and development of worksheet for tracking information pertaining to claims
          Objections                                                            adjudication (all).
   Aug‐21 Claims                8/15/2021 AEP        $      390.00          2.2 Continue preparing outline of claims process and spreadsheet of properties and finalize            $             858.00
          Administration &                                                      comprehensive outline of all properties subsumed within each debt or equity fund, including
          Objections                                                            corporate structures (all).
   Aug‐21 Claims                8/16/2021 AW         $      140.00          0.1 Correspond with A. Porter regarding potential claims project (all) (.1)                            $               14.00
          Administration &
          Objections




                                                                                           187 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 189 of 191 PageID #:53973
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                     Time      Time Keeper
           Billing Category   Entry Date                           Task Hours                                           Task Description                                                      Task Cost
Month                                      Keeper        Rate
   Aug‐21 Claims                8/16/2021 AW        $       140.00        0.6 continue work on updates to mailing list (all) (.6)                                                         $           84.00
          Administration &
          Objections
   Aug‐21 Claims                8/17/2021 AEP       $      390.00             2 Teleconference with K. Duff, J. Rak, J. Wine, and A. Watychowicz regarding strategy for analyzing         $         780.00
          Administration &                                                      priority disputes, reconciling claim submissions with EquityBuild records, establishing legal and
          Objections                                                            factual frameworks, and prioritizing claims analysis (all).
   Aug‐21 Claims                8/17/2021 AW        $      140.00           0.5 work on updates to mailing list (all) (.5).                                                               $           70.00
          Administration &
          Objections
   Aug‐21 Claims                8/17/2021 JR        $      140.00             2 Teleconference with K. Duff, J. Wine and A. Watychowicz regarding strategy for analyzing priority         $         280.00
          Administration &                                                      disputes, reconciling claim submissions with EquityBuild records, establishing legal and factual
          Objections                                                            frameworks, and prioritizing claims analysis (all).
   Aug‐21 Claims                8/17/2021 JRW       $      260.00           1.9 conference with A. Porter, K. Duff, and J. Rak regarding claims review (all) (1.9)                        $         494.00
          Administration &
          Objections
   Aug‐21 Claims                8/17/2021 KMP       $      140.00           0.3 Search records for information regarding claimant and related communications with K. Duff.                $           42.00
          Administration &
          Objections
   Aug‐21 Claims                8/18/2021 JRW       $      260.00           0.2 correspondence with claimants' counsel regarding revisions to draft motion and related telephone          $           52.00
          Administration &                                                      conference (all) (.2)
          Objections
   Aug‐21 Claims                8/20/2021 AEP       $      390.00           1.1 Prepare first draft of outline of factual and legal framework of analyses associated with litigation of   $         429.00
          Administration &                                                      priority disputes between institutional and investor lenders (all).
          Objections
   Aug‐21 Claims                8/20/2021 JRW       $      260.00           0.7 Review and revise draft motion to serve subpoena and proposed order and related correspondence            $         182.00
          Administration &                                                      with K. Duff and M. Rachlis (all).
          Objections
   Aug‐21 Claims                8/20/2021 MR        $      390.00           0.5 Review various issues regarding proposed order on subpoena (all).                                         $         195.00
          Administration &
          Objections
   Aug‐21 Claims                8/23/2021 AW        $      140.00           0.2 update emails to claimants (all) (.2)                                                                     $           28.00
          Administration &
          Objections
   Aug‐21 Claims                8/24/2021 JRW       $      260.00           0.3 Review draft motion and subpoena and related correspondence with K. Duff (all).                           $           78.00
          Administration &
          Objections
   Aug‐21 Claims                8/26/2021 JRW       $      260.00           0.1 exchange correspondence with claimants' counsel regarding proposed order (all) (.1)                       $           26.00
          Administration &
          Objections
   Aug‐21 Claims                8/26/2021 JRW       $      260.00           0.1 review court order setting hearing and related email exchange with K. Duff (all) (.1).                    $           26.00
          Administration &
          Objections
   Aug‐21 Claims                8/27/2021 AW        $      140.00           1.6 research regarding volume of documents submitted by claimants and related email to J. Wine (all)          $         224.00
          Administration &                                                      (1.6)
          Objections
   Aug‐21 Claims                8/27/2021 JRW       $      260.00           0.1 confer with claimants' counsel regarding service list (all) (.1)                                          $           26.00
          Administration &
          Objections
   Aug‐21 Claims                8/27/2021 JRW       $      260.00           0.2 review letter from counsel for third‐party regarding pending motion for leave to serve subpoena           $           52.00
          Administration &                                                      and related correspondence with K. Duff and M. Rachlis (all) (.2).
          Objections
   Aug‐21 Claims                8/30/2021 AW        $      140.00           0.6 Confer with legal team regarding analysis of EB transactions (all) (.6)                                   $           84.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 AW        $      140.00           0.8 research regarding transcript, declarations, and evidentiary exhibits and related communications          $         112.00
          Administration &                                                      with K. Duff and R. Weitendorf (all) (.8).
          Objections
   Aug‐21 Claims                8/30/2021 JR        $      140.00           0.3 exchange correspondence with J. Wine regarding next steps in the claims process and emails review $                   42.00
          Administration &                                                      pertaining to pertinent claimant issues (all) (.3).
          Objections
   Aug‐21 Claims                8/30/2021 JR        $      140.00           0.5 Confer with legal team regarding analysis of EB transactions (all) (.5)                                   $           70.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 JRW       $      260.00           0.3 related review of transcripts, orders, and attorney appearances (all) (.3)                                $           78.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 JRW       $      260.00           0.6 conference call with legal team regarding analysis of records (all) (.6)                                  $         156.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 JRW       $      260.00           0.6 telephone conference with K. Duff and M. Rachlis to prepare for hearing before Judge Lee (all) (.6)       $         156.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 MR        $      390.00           0.3 conference with J. Wine and K. Duff regarding hearing on request for records (all) (.3).                  $         117.00
          Administration &
          Objections
   Aug‐21 Claims                8/30/2021 MR        $      390.00           0.5 Attention to upcoming hearing on subpoena issue and document production issue and related filing          $         195.00
          Administration &                                                      (all) (.5)
          Objections
   Aug‐21 Claims                8/31/2021 JRW       $      260.00           0.2 Prepare for motions hearing and related email exchange (all) (.2)                                         $           52.00
          Administration &
          Objections
   Aug‐21 Claims                8/31/2021 JRW       $      260.00           0.5 appearance in court for telephonic motions hearing (all) (.5)                                             $         130.00
          Administration &
          Objections
   Aug‐21 Claims                8/31/2021 MR        $      390.00           0.3 Further review of materials for upcoming hearing (all) (.3)                                               $         117.00
          Administration &
          Objections
   Aug‐21 Claims                8/31/2021 MR        $      390.00           0.5 attend hearing regarding discovery issues (all) (.5).                                                     $         195.00
          Administration &
          Objections
   Sep‐21 Claims                9/10/2021 KBD       $      390.00           0.1 exchange correspondence with A. Watychowicz regarding communication with claimant regarding               $           39.00
          Administration &                                                      claim (all) (.1).
          Objections




                                                                                          188 of 190
 Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 190 of 191 PageID #:53974
                                 EquityBuild ‐ General Allocation Task Detail



Invoice                                      Time      Time Keeper
           Billing Category   Entry Date                            Task Hours                                            Task Description                                                   Task Cost
Month                                       Keeper        Rate
   Sep‐21 Claims                9/10/2021 KBD        $       390.00        0.7 Confer with A. Porter, M. Rachlis, J. Wine regarding claims analysis (all) (.7)                           $         273.00
          Administration &
          Objections
   Sep‐21 Claims                9/13/2021 KBD        $       390.00           0.2 Attention to communication with claimants regarding claims process and documentation issues (all) $                78.00
          Administration &                                                        (.2)
          Objections
   Sep‐21 Claims                9/14/2021 KBD        $       390.00           0.1 attention to communication with claimant regarding claims process (all) (.1).                          $           39.00
          Administration &
          Objections
   Sep‐21 Claims                9/16/2021 KBD        $       390.00           0.1 review correspondence from J. Wine regarding tax claim (all) (.1).                                     $           39.00
          Administration &
          Objections
   Sep‐21 Claims                9/17/2021 KBD        $       390.00           0.1 attention to EB documents database vendor invoice and exchange related correspondence (all) (.1). $                39.00
          Administration &
          Objections
   Sep‐21 Claims                9/20/2021 KBD        $       390.00           0.2 exchange correspondence with A. Porter regarding potential claims and related legal analysis and       $           78.00
          Administration &                                                        considerations (all) (.2).
          Objections
   Sep‐21 Claims                9/22/2021 KBD        $       390.00           0.1 Attention to claimant communication and exchange related correspondence (all) (.1)                     $           39.00
          Administration &
          Objections
   Sep‐21 Claims                9/23/2021 KBD        $       390.00           0.3 study hearing transcript and telephone conference with J. Wine regarding claims analysis issue (all)   $         117.00
          Administration &                                                        (.3)
          Objections
   Sep‐21 Claims                9/28/2021 KBD        $       390.00           0.3 Telephone conference with claimant regarding claims process and various issues (all).                  $         117.00
          Administration &
          Objections
   Sep‐21 Claims                 9/1/2021 AW         $       140.00           0.1 attention to email from claimant regarding claims issue and related email to K. Duff and J. Wine (all) $           14.00
          Administration &                                                        (.1)
          Objections
   Sep‐21 Claims                 9/1/2021 AW         $       140.00           0.1 attention to email from database vendor, related email with J. Wine, and response email (all) (.1).    $           14.00
          Administration &
          Objections
   Sep‐21 Claims                 9/1/2021 JRW        $       260.00           0.1 Confer with database vendor regarding search results and files in database (all) (.1)                  $           26.00
          Administration &
          Objections
   Sep‐21 Claims                 9/2/2021 AW         $       140.00           0.2 Attention to emails from claimants and respond to same (all) (.2)                                      $           28.00
          Administration &
          Objections
   Sep‐21 Claims                 9/2/2021 JRW        $       260.00           0.1 Attention to claimant inquiry (all) (.1)                                                               $           26.00
          Administration &
          Objections
   Sep‐21 Claims                 9/2/2021 JRW        $       260.00           0.3 exchange correspondence with database vendor regarding documents in database (all) (.3).               $           78.00
          Administration &
          Objections
   Sep‐21 Claims                 9/3/2021 JRW        $       260.00           0.2 Exchange correspondence with database vendors regarding issues with system files (all).                $           52.00
          Administration &
          Objections
   Sep‐21 Claims                 9/7/2021 AW         $       140.00           0.1 communicate with J. Wine regarding database issue (all) (.1)                                           $           14.00
          Administration &
          Objections
   Sep‐21 Claims                 9/7/2021 AW         $       140.00           0.1 Attention to email from counsel regarding representation and related email to J. Wine (all) (.1)       $           14.00
          Administration &
          Objections
   Sep‐21 Claims                 9/7/2021 AW         $       140.00           0.2 attention to voice message from counsel, review emails and claimant's discovery responses, and         $           28.00
          Administration &                                                        related email to J. Wine (all) (.2).
          Objections
   Sep‐21 Claims                 9/7/2021 JRW        $       260.00           0.1 confer with A. Watychowicz regarding counsel inquiry (all) (.1).                                       $           26.00
          Administration &
          Objections
   Sep‐21 Claims                 9/7/2021 JRW        $       260.00           0.1 correspond with A. Watychowicz regarding searches and related review of correspondence with            $           26.00
          Administration &                                                        vendor (all) (.1)
          Objections
   Sep‐21 Claims                 9/7/2021 JRW        $       260.00           0.1 Exchange correspondence with database vendors regarding database issues (all) (.1)                     $           26.00
          Administration &
          Objections
   Sep‐21 Claims                 9/8/2021 AW         $       140.00           0.1 confer with J. Wine regarding reminder to claimants about expiration of database and update            $           14.00
          Administration &                                                        docket (all) (.1).
          Objections
   Sep‐21 Claims                 9/8/2021 AW         $       140.00           0.2 Email correspondence to claimant and counsel (all) (.2)                                                $           28.00
          Administration &
          Objections
   Sep‐21 Claims                 9/8/2021 JRW        $       260.00           0.1 attention to claimant inquiry (all) (.1)                                                               $           26.00
          Administration &
          Objections
   Sep‐21 Claims                 9/8/2021 JRW        $       260.00           0.2 exchange correspondence with counsel for claimants regarding EB document database and related          $           52.00
          Administration &                                                        correspondence with K. Duff (all) (.2).
          Objections
   Sep‐21 Claims                 9/8/2021 JRW        $       260.00           0.2 Telephone conference with database vendors regarding reports in database (all) (.2)                    $           52.00
          Administration &
          Objections
   Sep‐21 Claims                 9/9/2021 AW         $       140.00           1.9 Continue work on update of counsel information for claimants (all) (1.9)                               $         266.00
          Administration &
          Objections
   Sep‐21 Claims                 9/9/2021 JRW        $       260.00           0.3 Correspondence with A. Watychowicz regarding counsel representation of claimants and follow‐up         $           78.00
          Administration &                                                        email to claimants' counsel (all) (.3)
          Objections
   Sep‐21 Claims                9/10/2021 AW         $       140.00           0.1 attention to follow up email regarding representation (all) (.1).                                      $           14.00
          Administration &
          Objections
   Sep‐21 Claims                9/10/2021 AW         $       140.00           0.2 Attention to questions from claimant and update his mailing information (all) (.2)                     $           28.00
          Administration &
          Objections




                                                                                            189 of 190
    Case: 1:18-cv-05587 Document #: 1107-9          Filed: 12/22/21 Page 191 of 191 PageID #:53975
                                    EquityBuild ‐ General Allocation Task Detail



  Invoice                                          Time            Time Keeper
             Billing Category        Entry Date                                 Task Hours                                        Task Description                                                       Task Cost
  Month                                           Keeper              Rate
     Sep‐21 Claims                     9/13/2021 AW              $       140.00        0.1 communicate with K. Duff and J. Wine regarding received documents from claimant and related               $           14.00
            Administration &                                                               email to claimant (all) (.1).
            Objections
     Sep‐21 Claims                     9/13/2021 AW              $         140.00          0.2 communicate with claimant regarding claim and his trustee (all) (.2)                                  $           28.00
            Administration &
            Objections
     Sep‐21 Claims                     9/13/2021 AW              $         140.00          0.2 communicate with K. Duff and J. Wine regarding claims percentage issue and related email to           $           28.00
            Administration &                                                                   claimant (all) (.2)
            Objections
     Sep‐21 Claims                     9/13/2021 JRW             $         260.00          0.4 attention to claimant inquiries (all) (.4)                                                            $         104.00
            Administration &
            Objections
     Sep‐21 Claims                     9/13/2021 KMP             $         140.00          0.2 Communications with J. Wine and A. Watychowicz regarding inquiry by claimant (all).                   $           28.00
            Administration &
            Objections
     Sep‐21 Claims                     9/14/2021 AW              $         140.00          0.1 attention to email from claimant and database issues and related email to K. Duff and J. Wine (all)   $           14.00
            Administration &                                                                   (.1).
            Objections
     Sep‐21 Claims                     9/14/2021 AW              $         140.00          0.1 Follow up with J. Wine regarding claimant's email (all) (.1)                                          $           14.00
            Administration &
            Objections
     Sep‐21 Claims                     9/14/2021 JRW             $         260.00          0.1 attention to claimant email (all) (.1).                                                               $           26.00
            Administration &
            Objections
     Sep‐21 Claims                     9/17/2021 JRW             $         260.00          0.2 review invoice and related email exchange with K. Duff (all) (.2)                                     $           52.00
            Administration &
            Objections
     Sep‐21 Claims                     9/17/2021 KMP             $         140.00          0.2 Communicate with K. Duff regarding payment of vendor invoices (all).                                  $           28.00
            Administration &
            Objections
     Sep‐21 Claims                     9/20/2021 AEP             $         390.00          2.4 Research regarding competing lien claims and interests and prepare e‐ mails to K. Duff regarding      $         936.00
            Administration &                                                                   preliminary conclusions (all).
            Objections
     Sep‐21 Claims                     9/21/2021 JRW             $         260.00          0.7 work with database vendor support regarding database issues and training (all) (.7).                  $         182.00
            Administration &
            Objections
     Sep‐21 Claims                     9/22/2021 AW              $         140.00          0.1 attention to email from claimant regarding resolution of claims process and related email response    $           14.00
            Administration &                                                                   (all) (.1)
            Objections
     Sep‐21 Claims                     9/22/2021 AW              $         140.00          0.1 communicate with vendor regarding access to online account (all) (.1)                                 $           14.00
            Administration &
            Objections
     Sep‐21 Claims                     9/22/2021 AW              $         140.00          0.3 Communicate with K. Duff and J. Wine regarding hearing inquiries from claimant and respond to         $           42.00
            Administration &                                                                   emails (all) (.3)
            Objections
     Sep‐21 Claims                     9/22/2021 JRW             $         260.00          0.1 Attention to claimant inquiries (all) (.1)                                                            $           26.00
            Administration &
            Objections
     Sep‐21 Claims                     9/23/2021 JRW             $         260.00          0.1 review records in database and related correspondence with A. Watychowicz regarding claim form        $           26.00
            Administration &                                                                   (all) (.1)
            Objections
     Sep‐21 Claims                     9/23/2021 JRW             $         260.00          0.2 exchange correspondence with A. Porter regarding factual analysis of discovery materials (all) (.2)   $           52.00
            Administration &
            Objections
     Sep‐21 Claims                     9/23/2021 JRW             $         260.00          0.2 exchange correspondence with A. Watychowicz regarding investor discovery relating to other            $           52.00
            Administration &                                                                   groups (all) (.2)
            Objections
     Sep‐21 Claims                     9/23/2021 JRW             $         260.00          0.2 review transcript of proceedings and related email to K. Duff (all) (.2)                              $           52.00
            Administration &
            Objections
     Sep‐21 Claims                     9/24/2021 AW              $         140.00          0.5 Communicate with vendor regarding claimant's proof of claim and substitute corrupted file in          $           70.00
            Administration &                                                                   updated files from vendor (all) (.5)
            Objections
     Sep‐21 Claims                     9/24/2021 JRW             $         260.00          0.1 correspondence regarding proof of claim and database (all) (.1).                                      $           26.00
            Administration &
            Objections
     Sep‐21 Claims                     9/27/2021 AW              $         140.00          0.2 Email response to claimant's voice message (all).                                                     $           28.00
            Administration &
            Objections
     Sep‐21 Claims                     9/27/2021 JRW             $         260.00          0.2 telephone conference with claimants' counsel regarding proofs of claim and related email exchange $               52.00
            Administration &                                                                   (all) (.2)
            Objections
     Sep‐21 Claims                     9/28/2021 AW              $         140.00          0.1 review shared folder from claimant and related email to J. Wine (all) (.1).                           $           14.00
            Administration &
            Objections
     Sep‐21 Claims                     9/28/2021 JRW             $         260.00          0.1 Exchange correspondence with A. Watychowicz regarding investor inquiry (all) (.1)                     $           26.00
            Administration &
            Objections
     Sep‐21 Claims                     9/30/2021 JRW             $         260.00          0.3 confer with claimants' counsel regarding subpoena to title company and review records regarding       $           78.00
            Administration &                                                                   same (all) (.3)
            Objections

                                                                  Total:              3939.2                                                                                                         $    1,066,708.00

[1] General allocation hours have been limited to entries with Asset Disposition, Business Operations, or Claims Administration & Objections billing categories.
[2] Task entries determined as general time have been allocated to all properties in accordance with court‐approved allocation methodology.




                                                                                                          190 of 190
